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                                              United States Bankruptcy Court
                                                     Southern District of Florida
 In re   Vital Pharmaceuticals, Inc.                                                            Case No.
                                                                    Debtor(s)                   Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the Chief Transformation Officer of the corporation named as the debtor in this case, hereby verify that the attached list of creditors

is true and correct to the best of my knowledge.




Date:     October 10, 2022                              /s/ John C. DiDonato
                                                        John C. DiDonato/Chief Transformation Officer
                                                        Signer/Title
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                                                                                                          Creditor Matrix
                                                                                                         as of October 10, 2022


                         Name                     Attention                                Address 1                              Address 2         Address 3                City    State        Zip          Country
 84.51                                                            100 W 5th St                                                                                  Cincinnati          OH       45263-5029
 84.51                                                            100 W 5th St                                                                                  Cincinnati          OH       45263-5029
 84.51                                                            PO Box 635029                                                                                 Cincinnati          OH       45263-5029
 (Nuveen) TGA Cactus DC II LLC                                    4747 W Buckeye Rd                                                                             Phoneix             AZ       85043
 1 World Sync, Inc                                                Dept 781341                                                                                   Detroit             MI       48278-1341
 12M Commercial Properties, LLC                                   PO Box 3546                                                                                   Little Rock         AZ       72203
 1600FLL LLC                                                      200 South Orange Ave Suite 1375                                                               Orlando             FL       32801
 1A Backflow & Services                                           12363 SW 132nd Ct                                                                             Miami               FL       33186-6493
 1AM Management LLC Addison Shaw                                  3601 Maverick St                                                                              Las Vegas           NV       89108-5150
 1AM Management, LLC Taylor Rousseau                              3601 Maverick St                                                                              Las Vegas           NV       89108-5150
 2 D Recycling, LLC - 1-800-Got-Junk?                             7034 Vinnedge Ln                                                                              Highland            CA       92346
 24 Hour Fitness                                                  11991 Landon Dr                                                                               Eastvale            CA       91752-4000
 360 Merchandising Solutions                                      360 Dave Cowens Dr 10th Floor                                                                 Newport             KY       41071
 365 Mechanical, LLC                                              1817 S Horne Suite 10                                                                         Mesa                AZ       85204-6526
 4th Generation Recycling, Inc.                                   1456 W Newport Center Dr                                                                      Deerfield Beach     FL       33442-7778
 5 Star Janitorial, Inc.                                          7349 Milliken Ave                                                                             Rancho Cucamonga    CA       91730-7435
 5 Words Media SGR Media Inc.                                     PO Box 10098                                                                                  Glendale            AZ       85318
 5614,LLC                                                         352 S Lafayette St 403                                                                        Denver              CO       80209-2537
 5B Entertainment, Inc.                                           15260 Ventura Blvd                                                                            Sherman             CA       91403
 7-11 CDFOA Chesapeake Division                                   6715 Commerce St                                                                              Springfield         VA       22150
 7-11 FOAGLA                                                      29720 Garland Ln                                                                              Menifee             CA       92584
 7-11 FOASC                                                       885 Patriot Dr #G                                                                             Moorpark            CA       93021
 7-11 NCASEF                                                      1001 Pat Bookker Rd Suite 206                                                                 Universal City      TX       78148
 7-11 Tri-State FOSE                                              9410 Hartord Rd                                                                               Baltimore           MD       21234
 7459 Extra Space Management, Inc.                                2795 E Cottonwood Pkwy Suite 400                                                              Salt Lake City      UT       84121-7033
 7-Eleven                                                         85 Merritts Rd                                                                                Farmingdale         NY       11735
 7-Eleven FOA San Diego                                           7839 University Ave Suite 108                                                                 La Mesa             CA       91942
 7-Eleven FOAC                                                    953 North Plum Grove Rd B                                                                     Schaumburg          IL       60173
 7-Eleven Franchise Owners Association of South                   225 E Anta Clara St Suite 220                                                                 Arcadia             CA       91006-7234
 7-Eleven Horizon                                                 PO Box 206752                                                                                 Dallas              TN       75320-6752
 7-Eleven MWFOA                                                   1509 Nelson Rd                                                                                New Lenox           IL       60451
 7-Eleven South Florida Franchise Owner                           1075 7th Ave N                                                                                Naples              FL       34102-8110
 7-Eleven, Inc.                                                   3200 Hackberry Rd                                                                             Irving              TX       75063-0131
 86, LLC Matter Media Group Sage Rosen                            120 Udine Way                                                                                 Los Angeles         CA       90077-3733
 91 Express Lanes                                                 PO Box 68039                                                                                  Anaheim             CA       92817
 9397-0085 Quebec Inc. Laurence Bedard                            3030 boul Lévesque Ouest                         Apt 2406                                     Laval               QC       H7V 1C4      Canada
 A & B Distributing Co., Inc. MS                                  10777 High Point Rd                                                                           Olive Branch        MS       38654-3911
 A & B Engineering Services LLC                                   124 N Columbus St                                                                             Randolph            WI       53956-1204
 A Acorn Lock & Safe, Inc.                                        803 Shotgun Rd                                                                                Sunrise             FL       33326
 A desert Oasis Heating & Cooling                                 1731 W RoSE Garden Ln Suite 2                                                                 Phoenix             AZ       85027
 A Holliday Company, Inc.                                         4141 Yonge St                                    Suite 203                                    Toronto             ON       M2P 2A8      Canada
 A Master Build LLC                                               10253 SW 49th Manor                                                                           Cooper City         FL       33328
 A Mom with a Mop Residential Cleaning                            12531 Stonebriar Ridge Dr                                                                     Davidson            NC       28036-8626
 A to Z Environmental                                             PO Box 97654                                                                                  Las Vegas           NV       89193
 A to Z Scales and Calibration LLC                                3515 N 34th Pl                                                                                Phoenix             AZ       85018-5754
 A&B Beverage Co. L.L.C. of Muskogee                              1200 Federal Way                                                                              Lowell              AR       72745
 A&B Beverage Co. L.L.C. of Muskogee                              3901 Tull Ave                                                                                 Muskogee            OK       74403-6234
 A&B Beverage Co. L.L.C. of Muskogee                              5500 W Reno Ave Suite 200                                                                     Oklahoma City       OK       73127
 A&R Sound LLC                                                    8261 SW 157th Ave 506                                                                         Miami               FL       33193
 A. Cappione, Inc.                                                54 Liberty Ave                                                                                Massena             NY       13662
 A. Cappione, Inc.                                                PO Box 580                                                                                    Massena             NY       13662
 A. Gallo & Company                                               85 thomaston Rd                                                                               Litchfield          CT       06759
 A. Gallo & Company                                               PO Box 1048                                                                                   Torrington          CT       06608
 A.B. Beverage Company, Inc. (GA)                                 605 Industrial Park Dr                                                                        Evans               GA       30809
 A.B. Beverage Company, Inc. (GA)                                 PO Box 529                                                                                    Evans               GA       30809
 A.B. Beverage Company, Inc. (SC)                                 1983 Richland Ave E                                                                           Aiken               SC       29801-6716
 A-1 Castle Party Rental. Inc.                                    3460 W 84th St D107                                                                           Hialeah             FL       33018-4926
 AA Action Electric Inc                                           2472 Fowler St                                                                                Fort Myers          FL       33901-5128
 AA Advance Air, Inc                                              1920 NW 32 St                                                                                 Pompano Beach       FL       33064
 AAA Cooper Transportation                                        PO Box 6827                                                                                   Dothan              AL       36302
 AAA Cooper Transportation                                        PO Box 935003                                                                                 Atlanta             GA       31193-5003
 A-Alligator, Inc                                                 PO Box 22856                                                                                  Ft Lauderdale       FL       33335
 AAM REcords Kendra Hall                                          8761 Shadow Wood Blvd                                                                         Coral Springs       FL       33071-6723
 Aaron Aramis Sandoval                                            4800 Fort Suitevens St                           Apt 703                                      Orlando             FL       32822
 Aaron Byrant Stewart & Cross                                     3188 Princeton Rd Suite 217                                                                   Hamilton            OH       45011
 Aaron Evan Rashaad Adamson                                       756 Wales Ct                                     Apt 27                                       Concord             NC       28027
 Aaron Graham                                                     1507 Brookside Dr                                                                             Cedar Falls         IA       50613
 Aaron J Uson                                                     4925 Henley St                                                                                Blaine              WA       98230
 Aaron Jay Rubin                                                  7 Tree Top Dr                                                                                 Rochester           NY       14625
 Aaron Jones                                                      9901 Flower Bonnet Ave                                                                        Concord             NC       28027
 Aaron K Ferguson                                                 741 West Cheryl Ave                                                                           Hurst               TX       76053
 Aaron M Schutte                                                  3905 Promontory Point                                                                         Plano               TX       76712
 Aaron Martinez                                                   549 Heron St                                                                                  Brighton            CO       80601
 Aaron Morgan                                                     115 Divot Ln                                                                                  Statesville         NC       28677
 Aaron Noah Tello                                                 25932 West Wahalla Ln                                                                         Buckeye             AZ       85396



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                                                                                                                                    Creditor Matrix
                                                                                                                                   as of October 10, 2022


                       Name                                    Attention                                             Address 1                              Address 2                 Address 3                  City     State        Zip              Country
 Aaron Reiser                                                                               440 Ashwood Pl                                                                                        Boca Raton             FL       33431
 Aaron Shapiro                                                                              2001 BiscayNE Blvd                                                                                    Miami                  FL       33137
 Aaronda Walton vs. VPX (2022)                Aaronda Walton                                5584 Plunkett St                                                                                      Hollywood              FL       33021
 AAtlantic Locksmith Corp.                                                                  10860 NW 138St C-3                                                                                    Hialeah Gardens        FL       33018
 Abacus Hardware                                                                            1190 KennestoNE Cir Suite 120                                                                         Marietta               GA       30066
 Abbot vs. VPX                                Brendan Abbotc/o Daniel Francis Harvath (Harv PO Box 440393                                                                                         St Louis               MO       53144
 Abby Rao                                                                                   1024 Summit Dr                                                                                        Beverly Hills          CA       90210
 ABC Packaging Machine Corp.                                                                811 Live Oak St                                                                                       Tarpon Spring          FL       34689
 Abd Ali Kamel Sadek                                                                        Rua Sampson 290                                  Apt 24                                               Sao Paulo              SP       03013-040    Brazil
 Abdelrahman Ammar Al-Sharif                                                                14500 North 46th St                              Apt 433 B                                            Tampa                  FL       33613
 Abed A Nagib                                                                               6421 SW 57th St                                                                                       Davie                  FL       33314
 Abel Rene Perez                                                                            10505 Wild Oak Dr                                                                                     Fort Worth             TX       76140
 Abel Viteri                                                                                7582 Northwest 47th Terrace                                                                           Coconut Creek          FL       33073
 Abelardo Ferrer                                                                            2221 North 56 Ave                                                                                     Hollywood              FL       33021
 ABF Freight                                                                                6402 NW 74th Ave                                                                                      Miami                  FL       33166-3635
 ABG Intellectual Property Law, S.L.                                                        Avenida de Burgos 16D                                                                                 Madrid                          28036        Spain
 Abhish Desai                                                                               1966 Clovercroft Rd NW                                                                                Acworth                GA       30101
 Abhish Desai Desai Fitness LLC                                                             1966 Clovercroft Rd Nw                                                                                Atlanta                GA       30101
 Abigail "Abby" Mendoza                                                                     1467 Law St                                                                                           San Diego              CA       92109
 Abigail Jean Wierman                                                                       1001 East Playa Del Norte Driv                   Apt 1107                                             Tempe                  AZ       85281
 Abigail Marie Peleschak                                                                    7560 High Ridge Rd                                                                                    Boynton Beach          FL       33426
 Abigail Ponton Abi                                                                         3235 58th St Sw                                                                                       Nales                  FL       34116
 Abimelek Rodriguez Correa                                                                  1310 Southeast San Sovina Terr                                                                        Port St Lucie          FL       34952
 Abitec Corporation                                                                         PO Box 711715                                                                                         Columbus               OH       43271-1715
 ABOVE DOT 500 INC ABOVE.500 INC                                                            20200 W Dixie Hwy Suite 902                                                                           Miami                  FL       33180-1926
 Abraham Flores                                                                             12161 Calle Sombra #199                                                                               Moreno Valley          CA       92557
 Abraham Lang                                                                               4680 South Yates St                                                                                   Denver                 CO       80236
 Abridge Nutrition, LLC                                                                     2035 Route 27 Suite 3005                                                                              Edison                 NJ       08817
 Abrielle Tucker                                                                            318 Oakwood Ave                                                                                       Glassboro              NJ       08028
 Abril Bracho Velazco                                                                       11824 Old Glory Dr                                                                                    Orlando                FL       32837
 Abril Diaz Roxy                                                                            23654 SW 108th Ct                                                                                     Homestead              FL       33032-6104
 AC Parts Distributors                                                                      PO Box 915919                                                                                         Longwood               FL       32791-5919
 Acacia Ann Ingram                                                                          10401 West Calle De Edens                                                                             Phoenix                AZ       85037
 Accountemps Robert Half                                                                    12400 Collections Center Dr                                                                           Chicago                IL       60693-0124
 ACCRALAW Office Angar Abello Conception                                                    22nd Fl ACCRALAW Tower 2nd Ave Cor               Crescent Park West         Bonifacio Global City     Metro Manila                    1635         Philipines
 Ace Beverage                                                                               401 S Anderson St                                                                                     La Canada Flintridge   CA       90033
 Ace Productions Inc                                                                        398 NE 79th St                                                                                        Miami                  FL       33138
 Ace Tools Co Limited                                                                       No5047 Rd Shennan Dong                                                                                Shenzhen Guangdong                           China
 Aceto Corporation                                                                          4 Tri Harbor Ct                                                                                       Port Washington        NY       11050-4661
 Acme Hardesty Company Jacob Stern and Sons,                                                PO Box 201477                                                                                         Dallas                 TX       75320-1477
 Acoch Productions and Entertainment                                                        1300 Brickell Bay Dr 3606                                                                             Miami                  FL       33131
 Acorn-East                                                                                 16301 NW 15th Avebuw                                                                                  Miami Gardens          FL       33169
 ACS Laboratory                                                                             2424 N Federal Hwy Suite 455                                                                          Boca Raton             FL       33431
 ACS Valves                                                                                 611 Argyle St N                                                                                       Caledonia              ON       N3W 1M1      Canada
 Action Elec. & Mechanical Contractors Action                                               2600 Collins Springs Dr Se                                                                            Atlanta                GA       30339-1720
 Action Fence DBA Bruns Enterprises, Inc.                                                   4663 SW 45 St                                                                                         Davie                  FL       33314
 Action Shred of Texas, LLC                                                                 1420 S Barry Ave                                                                                      Dallas                 TX       75223
 Adalberto Flores Zamora                                                                    5581 North 78th Dr                                                                                    Glendale               AZ       85303
 Adam A Gonzales                                                                            1600 N Park Dr                                                                                        Weston                 FL       33326-3278
 Adam Anthony Gonzales                                                                      4218 Mesa Cove                                                                                        San Antonio            TX       78237
 Adam B Nuckols                                                                             1600 N Park Dr                                                                                        Weston                 FL       33326-3278
 Adam Bryant Nuckols                                                                        6 Shannon Dr                                                                                          Elkton                 MD       21921
 Adam Echeverria                                                                            5734 South 34th Place                                                                                 Phoenix                AZ       85040
 Adam Gordon                                                                                12105 Lymestone Way                                                                                   Cooper City            FL       33026
 Adam Hassan                                                                                8617 Bridle Path Ct                                                                                   Davie                  FL       33328
 Adam King                                                                                  5186 Ollie Roberts Rd                                                                                 Bowling Green          FL       33834
 Adam Lewis                                                                                 85 S Union Blvd #661                                                                                  Lakewood               CO       80228
 Adam Lighterman Lighterman Productions LLC                                                 12430 SW 1St Place                                                                                    Plantation             FL       33325
 Adam M Arch                                                                                20 Pennsylvania Ave                                                                                   Fairless Hills         PA       19030
 Adam N Pis                                                                                 1600 N Park Dr                                                                                        Weston                 FL       33326-3278
 Adam Nicholas Pis                                                                          8260 West 18th Ln                                                                                     Hialeah                FL       33014
 Adam Perry                                                                                 1735 Maizefield Ln                                                                                    Fuquay-Varina          NC       27526
 Adam Quinn                                                                                 4735 Barcelona Ct                                                                                     Calabasas              CA       91302
 Adam Wroten                                                                                1921 Kimball St                                                                                       Brooklyn               NY       11234
 Adams & Miles LLP                                                                          501-2550 Victoria Park Ave                                                                            Toronto                ON       M2J 5A9      Canada
 Adams Air & Hydraulics, Inc                                                                904 S 20th St                                                                                         Tampa                  FL       33605
 Adams Beverages of North Carolina, LLC                                                     160 Hughes Farm Rd                                                                                    Pollocksville          NC       28573
 Adams Beverages of North Carolina, LLC                                                     2026 Us 70                                                                                            Goldsboro              NC       27530
 Adams Beverages of North Carolina, LLC                                                     7505 Stateville Rd                                                                                    Charlotte              NC       28269
 Adams Beverages of North Carolina, LLC                                                     797 Caton Rd                                                                                          Lumberton              NC       28360
 Adams Beverages of North Carolina, LLC                                                     805 N 23rd St                                                                                         Wilmington             NC       28405
 Adams Locksmiths                                                                           4613 N University Dr                                                                                  Coral Springs          FL       33067
 Adan Alberto Flores                                                                        12321 West Florence St                                                                                Avondale               AZ       85323
 Adcor Packaging Group, LLC                                                                 11221 Dolfield Bouvarld Suite 111                                                                     Owings Mills           MD       21117
 Addison Shaw Lacey Shaw                                                                    6501 Leppee Way                                                                                       Fort Worth             TX       76126-6326



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                                                                                                        Creditor Matrix
                                                                                                       as of October 10, 2022


                         Name                  Attention                               Address 1                                Address 2         Address 3                 City    State        Zip             Country
 Adeimar Lujan                                                 12304 Whirlaway Dr                                Apt H                                        Noblesville          IN       46060
 Adele "Emilyn" Albano                                         5122 West Ave L2                                                                               Lancaster            CA       93536
 Adele Emilyn Albano                                           5122 W Ave L2                                                                                  Lancaster            CA       93536-4351
 Adelina Mae Tietz                                             10411 Randall St                                                                               Orange               CA       92869
 Adeline Vowles                                                7500 E Quincy Ave                                                                              Denver               CO       80237
 Adi Fishman                                                   159 Wentworth Dr                                                                               Henderson            NV       89074-1048
 Adisa Malik Howard                                            5611 South 32nd St #283                                                                        Phoenix              AZ       85040
 ADJ Products, LLC                                             6122 S EaSuitern Ave                                                                           Commerce             CA       90040
 Adly Rodelie Lopez                                            8214 West Meadowbrook Ave                                                                      Phoenix              AZ       85033
 ADM Archer Daniels Midland Company                            4666 E Faries Pkwy                                                                             Decatur              IL       62526-5630
 ADM Wild Europe GmbH & Co. KG                                 Rudolf-Wild-Straße 107                                                                         Eppelheim                     69214        Germany
 ADM Wild Europe GmbH & Co. KG                                 Am Schlangengraben 3-5                                                                         Berlin                        13597        Germany
 Adnelys Hernandez                                             302 NW 24th Ave                                                                                Cape Coral           FL       33993
 Adorama Inc,                                                  42 West 18th St                                                                                New York             NY       10011
 ADP                                                           One ADP Blvd                                                                                   Roseland             NJ       07068
 ADP Canada Co                                                 3250 Bloor St West                                                                             Etobiocoke           ON       M8X 2X9      Canada
 ADP, Inc Automatic Data Processing, Inc                       PO Box 842875                                                                                  Boston               MA       02284-2875
 Adria Guajardo                                                5522 Katey Ln                                                                                  Arlington            TX       76017
 Adrian Arredondo                                              4508 Southwest 160th Ave                          Apt 724                                      Miramar              FL       33027
 Adrian C Seebaran                                             10756 W Cearmont C                                                                             Tamarac              FL       33321
 Adrian Castaneda                                              8845 Remick Ave                                                                                Sun Valley           CA       91352
 Adrian Lagunas                                                23340 Lena St                                                                                  Moreno Valley        CA       92553
 Adrian Nicholas Gonzalez                                      20504 SW 5th St                                                                                Pembroke Pines       FL       33029
 Adrian R Valdez                                               1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Adrian Rafael Valdez                                          2201 Westwood Dr                                                                               Arlington            TX       76012
 Adrian Ricketts                                               644 Kathy Ct                                                                                   Margate              FL       33068
 Adrian Vargas                                                 16402 N 31St                                                                                   Phoenix              AZ       85035
 Adriana Allyssa Moya                                          205 West Portland St                              Unit 144C                                    Phoenix              AZ       85003
 Adriana C Corrente                                            12421 SW 50th Ct                                                                               Miramar              FL       33027
 Adriana Corrente Adri                                         12421 SW 50th Ct # 327                                                                         Miramar              FL       33027
 Adriana Gabriela Ramos                                        7381 Southwest 165th St                                                                        Palmetto Bay         FL       33157
 Adriana Gondres Cobas                                         3921 SW 160th Ave #303                                                                         Miramar              FL       33027
 Adriana Grunewald                                             11043 SW 127th Pl                                                                              Miami                FL       33186
 Adrianna Thompson                                             9636 Ashley Lake Ct                               Apt C                                        Charlotte            NC       28262
 Adrienne Florencia Padilla                                    6060 West Royal Palm Rd                           Apt 120                                      Glendale             AZ       85302
 ADT COMMERCIAL ACC#999839533                                  PO Box 382109                                                                                  Pittsburgh           PA       15251-8109
 ADT Security Acc#403958016                                    PO Box 371878                                                                                  Pittsburgh           PA       15250-7878
 Advance Beverage Company, Inc.                                5200 District Blvd                                                                             Bakersfield          CA       93313
 Advance Beverage Company, Inc.                                PO Box 9517                                                                                    Bakersfield          CA       93389-9517
 Advanced Botanical Consulting & Testing                       1169 Warner Ave                                                                                Tustin               CA       92780
 Advanced Chemical Transport, Inc. ACTenviro                   967 Mabury Rd                                                                                  San Jose             CA       95133-1025
 Advanced Florida Calibration, Inc.                            6187 NW 167th St Suite H27                                                                     Hialeah              FL       33015-4352
 Advanced Laboratories, Inc.                                   8969 Cleveland Rd                                                                              Clayton              NC       27520-7198
 Advanced Research Media, Inc.                                 PO Box 2278                                                                                    East Setauket        NY       11733
 Advantage Solutions                                           PO Box 744347                                                                                  Atlanta              GA       30374
 Aero Automatic Sprinkler Company                              21605 N Central Ave                                                                            Phoenix              AZ       85024-5103
 Aerotek, Inc.                                                 3689 Collection Ctr Dr                                                                         Chicago              IL       60693
 Aesus Packaging Systems lnc                                   188 Oneida                                                                                     Pointe-Claire        QC       H9R 1A8      Canada
 Aetna                                                         1340 Concord Hernandez                                                                         Sunrise              FL       33323
 AFCO Insurance Premium Finance                                PO Box 371889                                                                                  Pittsburgh           PA       15250-7889
 Affiniti Architects Holding, LLC                              6100 Broken Sound Parkway Nw                                                                   Boca Raton           FL       33487
 Affordable Buying Group                                       PO Box 1758                                                                                    Tomball              TX       77377-1758
 Affordable Secure Storage- Floral City LLC                    8425 E Rosko Ct                                                                                Floral City          FL       34436
 Affordable Secure Storage-Floral City                         8425 East Rosko Ct                                                                             Floral City          FL       34436
 AFP Dist. Southeast Beverage Company                          60 Elm St                                                                                      Canal Winchester     OH       43110
 AFP Dist. Southeast Beverage Company                          771 W Union St                                                                                 Athens               OH       45701-9410
 AGMZ, LLC                                                     555 Oaks Ln #401                                                                               Pompano Beach        FL       33067
 Agnieska M Fraczek                                            113 W Brandon Ct 31E                                                                           Palatine             IL       60067
 Agnieszka Pietraszkiewicz                                     10444 Northwest 48th Manor                                                                     Coral Springs        FL       33076
 Agora Lab, Inc                                                2804 Mission College Blvd Suite 110                                                            Santa Clara          CA       95054
 AGR Advisors Inc. Affinity Resources, LLC.                    7975 NW 154th St Suite 410                                                                     Miami Lakes          FL       33016
 Agropur Inc.                                                  2701 Freedom Rd                                                                                Appleton             WI       54913-9315
 AGS Safety & Supply                                           3010 S 52nd St                                                                                 Tempe                AZ       85282-3210
 Agustin Damian                                                6925 Tillman St                                                                                Dallas               TX       75217
 Agustin Seco                                                  2069 South Ocean Dr th#16                                                                      Hallandale           FL       33009
 Ahlen (Stone) Ramsey                                          291 Private Rd 7416                                                                            Wills Point          TX       75169
 Ahold USA                                                     3213 Payphere Cir                                                                              Chicago              IL       60674
 AIBMR Life Sciences, Inc.                                     2800 E Madison St                                                                              Seattle              WA       98112
 Aidan Derek Healy                                             138 Flocktown Rd                                                                               Long Valley          NJ       07853-3594
 Aidan Gunningham                                              4641 Refugio Rd                                                                                Frisco               TX       75034
 Aidemy Fashion Co. Ltd                                        Donsgguan                                                                                      Guangdong                     523900       China
 Aiden Ace Akers                                               817 E Roubidoux St                                                                             Nixa                 MO       65714
 Aiden Grobler                                                 22A Samora Machel Unit 7                          Mpumalanga                                   Middelburg                    1050         South Africa
 AIDP, Inc.                                                    19535 E Walnut Dr S                                                                            City Of Industry     CA       91748-2318
 Aileen M Carpenter                                            1600 N Park Dr                                                                                 Weston               FL       33326-3278



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                                                                                                           Creditor Matrix
                                                                                                          as of October 10, 2022


                        Name                    Attention                                  Address 1                               Address 2         Address 3               City    State        Zip           Country
 Aileen Michelle Carpenter                                      4728 Alora Isles Dr                                 Apt 7-309                                    Haverhill          FL       33417
 Ailey Danielle Duvall                                          1013 Greenhill Ct                                                                                Joshua             TX       76058
 Aimee Garcia                                                   12401 West Okeechobee Rd Lot 93                                                                  Hialeah Gardens    FL       33018
 Aimee Laura Santaniello                                        400 Northeast 3rd Ave                               Apt 1226                                     Fort Lauderdale    FL       33301
 Air Masters of Tampa Bay, Inc.                                 4830 N Florida Ave                                                                               Tampa              FL       33603
 Air Science USA, LLC                                           120 6th St                                                                                       Fort Myers         FL       33906-6296
 Air Solutions of Tampa Bay                                     5438 Mobile Villa Dr                                                                             Seffner            FL       33584
 Aitken O'Grady                                                 PO Box 448                                                                                       Neutral Bay                 NSW 2089     Australia
 Ajax Distributing Co. Inc                                      330 Warfield Blvd                                                                                Clarksville        TN       37043-5654
 Ajax Turner Company                                            4010 Centre Pointe Dr                                                                            La Vergne          TN       37086-4955
 AJS Remodeling LLC Jesus Reyes                                 4932 Highbank Dr                                                                                 Arlington          TX       76018
 AK Endeavors Anna K. Immaneni                                  725 Lippincott Ave                                                                               Mooreston          NJ       08057
 Akali LLC Kevin Payaam                                         7460 E RoSE Garden Ln                                                                            Scottsdale         AZ       85255
 Aker BioMarine Antarctic US LLC                                15 S Grady Way Suite 610                                                                         Renton             WA       98057-3218
 Al George LLC                                                  7655 Edgecomb Dr                                                                                 Liverpool          NY       13088-3543
 Al Pugh Distributing Co. Inc.                                  13548 History Land Hwy                                                                           Warsaw             VA       22572
 Alabama Alcoholic Beverage Control Board                       2715 Gunter Park Dr W                                                                            Montgomery         AL       36109
 Alabama Department of Revenue                                  PO Box 327320                                                                                    Montgomery         AL       36132-7320
 Alabama Department of Revenue Individual and                   PO Box 327320                                                                                    Montgomery         AL       36132-7320
 Alabama Merchants Association                                  3 RiverchaSE Office Plaza Suite # 208                                                            Birmingham         AL       35244
 Alabama Office of the Attorney General                         501 Washington Ave                                                                               Montgomery         AL       36104
 Alabev                                                         211 Citation Ct                                                                                  Birmingham         AL       35209
 Alain Vargas                                                   1820 W 53rd St 316                                                                               Hialeah            FL       33012
 Alan Chow                                                      417 S Kenmore Ave 10                                                                             Los Angeles        CA       90020
 Alan J. Perez Lopez                                            3400 Barebacks Pl Sw                                                                             Albuquerque        NM       87105
 Alan Jay Fleet Sales                                           2003 Us Hwy 27 South                                                                             Sebring            FL       33870
 Alan Lendvay                                                   11136 West Spartan Ct                                                                            Sun City           AZ       85351
 Alan Michael Bloom                                             17811 W Bloomfield Rd                                                                            Surprise           AZ       85388
 Alan Picazo                                                    1728 Greenside Trail                                                                             Austin             TX       78665
 Alana Marquez                                                  1116 Shoreview Cir                                  Apt 200                                      Casselberry        FL       32707
 Alana Simpson                                                  10913 Partridge Cross Ln                                                                         Charlotte          NC       28214
 Alanic International Corporation                               19 W 34th St                                                                                     New York           NY       10001
 Alanna Dergan                                                  532 Stanford Rd                                                                                  Burbank            CA       91504-2950
 Alarmnet Security Computer Vision USA36                        3609 SW 161 Terrace                                                                              Miramar            FL       33027
 Alaska Office of the Attorney General                          1031 W 4th Ave Suite 200                                                                         Anchorage          AK       99501
 Alayna Corsolini                                               2955 East 1479th Rd                                                                              Ottawa             IL       61350
 Alba Nelly Prado                                               Interior 2 Calle 68 # 0-25                          Apt 403                                      Bogota                                   Colombia
 Albany Beverage Company                                        1208 Moultrie Rd                                                                                 Albany             GA       31705
 Albany Beverage Company                                        PO Box 586                                                                                       Albany             GA       31702
 Alber & Leff Foods Co.                                         3115 Washington Pike                                                                             Bridgeville        PA       15017
 Albert Carrillo Herrera                                        12941 West Tara Ln                                                                               Surprise           AZ       85374
 Albert Ochoa                                                   8298 LancaSuiter Dr 194                                                                          Rohnert Park       CA       94928-4542
 Albert Rodolfo Rodriguez                                       5754 NE 17th Terrace                                                                             Fort Lauderdale    FL       33334
 Alberto Cortez                                                 5916 Providence Crossing Trail                                                                   Orlando            FL       32829
 Alberto Felix Castillo                                         6644 West Cypress St                                                                             Phoenix            AZ       85035
 Alberto M Urena                                                27612 Pleaseure Ride Loop                                                                        Wesley Chapel      FL       33544
 Alberto Orozco                                                 2311 NW 63rd Ave                                                                                 Sunrise            FL       33313-2922
 Alberto Rios                                                   3500 SE Oak Grove Blvd                              Apt 43                                       Milwaukie          OR       97267
 Albertsons Companies, Inc                                      250 Parkcenter Blvd                                                                              Boise              ID       83706
 Albertsons Companies, Inc                                      PO Box 742918                                                                                    Los Angeles        CA       90074-2918
 Albion Minerals - Balchem Corp.                                PO Box 21812                                                                                     New York           NY       10087-1812
 Albreco, Inc. Proforma Albrecht & Co.                          1040 Technecenter Dr                                                                             Milford            OH       45150
 Albur Films LLC                                                1449 Capri Ln 6202                                                                               Weston             FL       33326
 Alcoholic Beverage Control ABC                                 PO Box 25101                                                                                     Santa Fe           NM       87504-5101
 ALDA South, LLC                                                1900 Ave Of the Stars                                                                            Los Angeles        CA       90067
 Alec Hobbs                                                     13702 N 42nd St                                                                                  Tampa              FL       33613
 Alec Mahsell Smith                                             400 DorcheSuiter Ct                                                                              Chesapeake         VA       23322
 Alejandra Adney-Hernandez                                      4715 Orion Ave                                      Unit 203                                     Sherman Oaks       CA       91403
 Alejandra Gonzalez-Sanabria                                    10720 NW 66th St                                                                                 Doral              FL       33178
 Alejandra Guevara Alli                                         175 Rabbit Run Ln                                                                                Many               LA       71449
 Alejandra Guillen Ale                                          5310 12 Clara St                                                                                 Cudahy             CA       90201
 Alejandra Hernandez                                            2951 Hill St                                                                                     Huntington Park    CA       90255-6421
 Alejandra Hernandez                                            622 N Keystone St                                                                                Burbank            CA       91506
 Alejandra P Fernandez Santana                                  1762 NW 142 Ln                                                                                   Opa Locka          FL       33054
 Alejandro Abreu                                                8275 Southwest 152nd Ave                            Apt D 209                                    Miami              FL       33193
 Alejandro Cesar Martinez                                       3130 Blue Crescent St #811                                                                       Fort Worth         TX       76116
 Alejandro E Gonzales                                           6090 Woodburry Rd                                                                                Boca Raton         FL       33433
 Alejandro Estua                                                1955 Pisces Terrace                                                                              Weston             FL       33327
 Alejandro Figueroa                                             11717 Lakewood Blvd                                 Apt 25                                       Downey             CA       90241
 Alejandro Figueroa Mejia                                       800 Redfield Parkway                                Apt 73                                       Reno               NV       89509
 Alejandro Franco Alex                                          17446 SW 48th St                                                                                 Miramar            FL       33029
 Alejandro Grajales                                             11948 NW 11th St                                                                                 Pembroke Pines     FL       33026
 Alejandro Maldonado                                            7002 W Indian School Rd                                                                          Phoenix            AZ       85033
 Alejandro Posada                                               2913 North Riley Rd                                                                              Buckeye            AZ       85396
 Alejandro Rey Pineda                                           10418 West Montecito Ave                                                                         Phoenix            AZ       85037



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 Alejandro Suarez                                              Calle 134a #9a-09                               Apt 305                                       Bogota                       110111       Colombia
 Ales Arriola                                                  2049 S Ocean Dr                                                                               Hallandale Beach     FL      33009
 Alesi Veale                                                   13800 Little Creek Way                                                                        Fredericksburg       VA      22407
 Alessandra Rabadan Fasce                                      2500 N Federal Hwy                              Apt 310                                       Fort Lauderdale      FL      33304
 Alessandro Buono                                              9715 SW 89th Ct                                                                               Miami                FL      33176
 Alessio La Torraca                                            437 NW 57th Ave # 21S                                                                         Miami                FL      33126
 Alex Chojnowski                                               1100 Crestwood Ct South                         Apt 1108                                      Royal Palm Beach     FL      33411
 Alex Dorlus                                                   12120 NW 15th Ave                                                                             Miami                FL      33167
 Alex Gregory                                                  11618 62nd Ave                                                                                West Palm Beach      FL      33412
 Alex Martinez                                                 11830 Winterset Cove Dr                                                                       Riverview            FL      33579
 Alex Posada                                                   1800 N Bayshore Dr 2404                                                                       Miami                FL      33132-3228
 Alex Rivera                                                   10227 NW 9th St #401                                                                          Miami                FL      33172
 Alex Rodriguez                                                9053 Preston Place                                                                            Tamarac              FL      33321
 Alex Sampson                                                  2 McRorie Ave                                                                                 Atikokan             ON      P0T 1C0      Canada
 Alex Scott Obrien                                             4353 Pinewood Rd                                                                              Melbourne            FL      32934
 Alex Tetzner                                                  614 Cabrillo Villas                                                                           Los Angeles          CA      90042
 Alex Timm                                                     13055 Riverdale Dr                              Suite 500-225                                 Coon Rapids          MN      55448
 Alexa Adams                                                   2512 Temple Hills Dr                                                                          Laguna Beach         CA      92651
 Alexa Quintanilla                                             625 BRdway                                      Apt 1019                                      San Diego            CA      92101
 Alexander Angueira                                            2673 Southwest 14th Ct                                                                        Deerfield Beach      FL      33442
 Alexander Blanco Reyes                                        4120 NW 79 Ave                                  Apt 2C                                        Miami                FL      33166
 Alexander Blanco Reyes                                        6560 NW 7th St 514                                                                            Miami                FL      33126-4477
 Alexander Bouhuys Alex                                        252 Cedarfield Dr                                                                             Bartlett             IL      60103
 Alexander Bracamonte                                          1708 East Grove St                                                                            Phoenix              AZ      85040
 Alexander Carradine                                           3985 East Bijou St                              Apt 307A                                      Colorado Springs     CO      80909
 Alexander Catoni                                              8751 Northwest 166th Terrace                                                                  Miami Lakes          FL      33018
 Alexander Germany                                             9265 West Russell Rd 361A                                                                     Las Vegas            NV      89148
 Alexander Kline                                               387 N 2nd Ave 2D                                                                              Phoenix              AZ      85003
 Alexander L Santacruz                                         2918 N 88th Dr                                                                                Phoenix              AZ      85037-3206
 Alexander Luis Santacruz                                      2918 North 88th Dr                                                                            Phoenix              AZ      85037
 Alexander Michael Alvarez                                     15211 Menteith Place                                                                          Miami Lakes          FL      33016
 Alexander Ospina Piedrahita                                   6017 PiNE Ridge Rd #208                                                                       Naples               FL      34119
 Alexander R Dangel                                            1600 N Park Dr                                                                                Weston               FL      33326-3278
 Alexander Ray Arneson                                         740 Academy Dr 304                                                                            Kissimmee            FL      34744
 Alexander Ray Barron                                          5318 West Apollo Rd                                                                           Phoenix              AZ      85339
 Alexander Ross Dangel                                         2848 Wild Laurel Ct                                                                           Norcross             GA      30071
 Alexander Stamplewski                                         4750 Lincoln Blvd                               Apt 464                                       Marina Del Rey       CA      90292
 Alexander Stemplewski                                         4750 Lincoln Blvd 189                                                                         Marina Del Rey       CA      90292-6987
 Alexander Timm Media, LLC Alex Timm                           13055 Riverdale Dr Nw                                                                         Coon Rapids          MN      55448-8403
 Alexander Viera                                               112 N 12th St #1104                                                                           Tampa                FL      33602
 Alexander Warren Hughes                                       4440 Hayvenhurst Ave                                                                          Encino               CA      91436
 Alexander Zayas                                               13156 Summerton Dr                                                                            Orlando              FL      32824
 Alexandra Cueva Clarke                                        10839 Morrison St 15                                                                          North Hollywood      CA      91601
 Alexandra Elena Izzo                                          7215 Sunnydip Trail                                                                           Los Angeles          CA      90068
 Alexandra Fersch                                              8 Ellen Dr                                                                                    Covington            LA      70433
 Alexandra Granath                                             681 Maypop Ct                                                                                 Boca Raton           FL      33486
 Alexandra Gumz                                                7501 E Mcdowell Rd 3036                                                                       Scottsdale           AZ      85257
 Alexandra Hickling                                            1301 S Howard Ave                               Unit B5                                       Tampa                FL      33606
 Alexandra Olavarria                                           79 SW 12 St                                     Apt 2909                                      Miami                FL      33130
 Alexandra Poffenberger                                        102 Kevins Ct                                                                                 Smithsburg           MD      21783
 Alexandra Tobon                                               17710 Northwest 73rd Ave                        Apt 208                                       Hialeah              FL      33015
 Alexandria Christine Anagnostis                               8891 Southwest 142nd Ave                        Apt 827                                       Miami                FL      33186
 Alexandria Corn                                               7639 Leveson Way                                                                              Nashville            TN      37211
 Alexandria Danielle Messick                                   3240 NE 4th St                                                                                Pompano Beach        FL      33062
 Alexandria M Chojnowski                                       1100 Crestwood Ct South                         Apt 1108                                      Royal Palm Beach     FL      33411
 Alexandria Nicole Zamora                                      740 SW 109th Ave                                Apt 1403 A                                    Miami                FL      33174
 Alexandria Victoria Castro Roman                              27410 Barcelona Dr                                                                            Corona               CA      92883
 Alexi Hamilton                                                15850 SW 148th Terrace                                                                        Miami                FL      33196
 Alexia Vieng Tran                                             5805 Clear Creek Dr                                                                           Haltom City          TX      76137
 Alexis Afshar Lexy Pantera, Lex Luther, INC                   18411 Hatteras St                                                                             Tarzana              CA      91356
 Alexis Blecha                                                 5023 west 120th Ave                                                                           Broomfield           CO      80020
 Alexis Blecha                                                 5403 West 96th Ave 1125                                                                       Westminster          CO      80020
 Alexis Bracamontes                                            1547 E HazeltiNE St                                                                           Ontario              CA      91761-7243
 Alexis Breen                                                  2535 Sunset Dr 262                                                                            Longmont             CO      80216
 Alexis Breen Lexi                                             2525 East 104th Ave # 436                                                                     Thornton             CO      80223
 Alexis Clark                                                  222 NE 25th St 906                                                                            Miami                FL      33137
 Alexis Clark                                                  3425 West Olive Ave                             Unit 552                                      Burbank              CA      91505
 Alexis Glincher                                               4002 Blue Grass Ln                                                                            Davie                FL      33330
 Alexis Gordon                                                 15 Mountain Lakes Rd                                                                          Oakland              NJ      07436
 Alexis Hidalgo                                                81 SW 14th Ave                                                                                Boca Raton           FL      33486
 Alexis Ilene Bracamontes Gutierrez                            1547 East HazeltiNE St                                                                        Ontario              CA      91761
 Alexis Innes                                                  111 N LouiSE St                                                                               Glendale             CA      91206
 Alexis Isbell                                                 7201 Highway 279                                                                              Brownwood            TX      76801
 Alexis Miguel Lerma                                           7433 W Globe Ave                                                                              Phoenix              AZ      85043
 Alexis N. Henderson                                           13840 Emerson St 104                                                                          Palm Beach Gardens   FL      33418



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                        Name                                           Attention                                Address 1                              Address 2                Address 3                 City      State        Zip          Country
 Alexis Nicole Cavo                                                                    911 N Alamo Rd                                                                                       Rockwall               TX       75087
 Alexis Ogier                                                                          10186 W Florence Ct                                                                                  Boise                  ID       83704
 Alexis Semino                                                                         11113 NW 71 Terrace                                                                                  Doral                  FL       33178
 Alexis Serafin Valencia                                                               12153 Brazos Ct                                                                                      Jurupa Valley          CA       91752
 Alexis Simplicio                                                                      10641 SW 47th Ave                                                                                    Ocala                  FL       34476
 Alexis Suarez                                                                         24424 Mistwood Ct                                                                                    Lutz                   FL       33559
 Alexis Van Norman                                                                     332 Azalea Cir West                                                                                  Mobile                 AL       36608
 Alexus Ray                                                                            101 Presidio Point                                                                                   Cross Lanes            WV       25313
 Alexxa Zavala Alexxa                                                                  8842 W Greenbrian Dr                                                                                 Peoria                 AZ       85382
 Alexxus Williams                                                                      22419 South Summit Ridge Cir                                                                         Chatsworth             CA       91311
 Alfonso Razo                                                                          3808 West Pierce St                                                                                  Phoenix                AZ       85009
 Alford Distributing Co.                                                               344 Crown Ct                                                                                         Imperial               CA       92251-9421
 Alfred Gomez                                                                          12425 Laurel Ave                                                                                     Whittier               CA       90605
 Alfredo A Sotelo                                                                      502 SW 18th Ave #306                                                                                 Miami                  FL       33135
 Alfredo Batista                                                                       Suiteinstrabe 17a                                                           Nordrhein-Westfahlen     Uedem                           47589        Germany
 Alfredo Carrillo                                                                      1616 S 80th Dr                                                                                       Phoenix                AZ       85043
 Alfredo Jaycee Ferrera                                                                9247 West 32nd Ln                                                                                    Hialeah                FL       33018
 Alfredo Nieves                                                                        6317 Lawton Ave                                                                                      Las Vegas              NV       89107
 Alfredo Riera                                                                         8620 NW 97th Ave                                 Apt 212                                             Medley                 FL       33178
 Alfredo Rivera                                                                        1148 CambourNE Dr                                                                                    Kissimmee              FL       34758-2912
 Ali Hannah Miller                                                                     620 Whispering Hollow Dr                                                                             Kyle                   TX       78640-4664
 Alicia Adelia Sierra                                                                  3523 West Blvd                                                                                       Los Angeles            CA       90016
 Alicia Beltran                                                                        73 Highlands Blvd                                Apt 10303                                           Savannah               GA       31407
 Alicia Demi Sylvester                                                                 1532 Blake Ct                                                                                        Fairborn               OH       45324
 Alicia Elizabeth Hinze                                                                8179 Midtwon Blvd                                                                                    Dallas                 TX       75231
 Alicia Path                                                                           48771 Kent Ct                                                                                        Novi                   MI       48374
 Alina Bogdanov                                                                        7406 Panache Way                                                                                     Boca Raton             FL       33433
 Alina Fuentes                                                                         19013 NW 32 Ave                                                                                      Miami                  FL       33056
 Alioshka D Shah                                                                       365 NW 33rd Ln                                                                                       Pompano Beach          FL       33069-1382
 Aliou Sow                                                                             4810 Russet Ln                                                                                       Sugarland              TX       77479
 Alishba Sheikh                                                                        38 Balsam Ln Fairport                                                                                Rochester              NY       14450
 Alisia R Braxton                                                                      2510 Gotham Way                                                                                      Valrico                FL       33596
 Alison Nance                                                                          12812 Landale St                                                                                     Studio City            CA       91604
 Alison Ogden                                                                          610 Sylvan Heights Way 338                                                                           Nashville              TN       37209-4988
 Alison R Waldron                                                                      133 Horizon Blvd                                                                                     Schenectady            NY       12306
 Alison Sarzoza                                                                        1439 N Poinsettia Pl                                                                                 Los Angeles            CA       90046-4691
 Alissa Maria Parr                                                                     2959 Lakeside Commons Dr 105                                                                         Tampa                  FL       33613
 Alixandra Austin                                                                      11940 NW 30th Place                                                                                  Sunrise                FL       33323
 Aliyiah Robinson                                                                      805 Summit Run                                                                                       Lewisville             TX       75077
 Aliz Perez                                                                            1600 N Park Dr                                                                                       Weston                 FL       33326-3278
 All Brands Distribution                                                               11909 East Central Ave                                                                               Wichita                KS       67214
 All Brands vs. VPX et al. (2018)                   All Brands Distribution            11909 East Central Ave                                                                               Wichita                KS       67214
 All Coast Appraisals, LLC                                                             6510 Scott St                                                                                        Hollywood              FL       33024
 All Filters.Com                                                                       2256 S 1250 W                                                                                        Woods Cross            UT       84087-2515
 All Pro Pest Services, Inc.                                                           PO Box 529                                                                                           Marietta               GA       30061-0529
 All Pro Plumbing, Heating Air & Electrical, Inc.                                      5001 Ontario Mills Pkwy                                                                              Ontario                CA       91764
 All Star AC And Refrigeration, Inc.                                                   9440 NW 10 St                                                                                        Pembroke Pines         FL       33024
 All temperatures Controlled, Inc.                                                     9457 South University Blvd #507                                                                      Highlands Ranch        CO       80126
 All Texas Fence                                                                       4000 S Suitemmons Frwy                                                                               Lake Dallas            TX       75065
 Allan Catolos                                                                         2051 Carmen St                                                                                       West Covina            CA       91792
 Allan Ziff Carpets, Inc.                                                              8993 NW 51 Place                                                                                     Coral Springs          FL       33067
 Allegiance Crane & equipment                                                          777 S Andrews Ave                                                                                    Pompano Beach          FL       33069
 Allen Beverages, Inc.                                                                 PO Box 2037                                                                                          Gulfport               MS       39505-2037
 Allen Lund Company                                                                    4529 Angeles Crest Hwy Suite 300                                                                     La Canada Flintridge   CA       91011
 Allen Maskell                                                                         1150 21 St 17                                                                                        San Diego              CA       92102
 All-Fill, Inc.                                                                        418 Creamery Way                                                                                     Exton                  PA       19341-2500
 Alli J Hinkes                                                                         50 Christopher Columbus Dr                       Apt 2712                                            Jersey City            NJ       07302
 Alliance Beverage Distributing, LLC Speedway                                          200 HawthorNE Ave                                                                                    St Joseph              MI       49085
 Alliance Beverage Distributing, LLC Speedway                                          2325 Sybrandt Rd                                                                                     Traverse City          MI       49684
 Alliance Beverage Distributing, LLC Speedway                                          4490 60th St Se                                                                                      Grand Rapids           MI       49512
 Alliance Industrial Corporation                                                       208 Tomahawk Industrial Park                                                                         Lynchburg              VA       24502
 Alliance IntraPak Inc                                                                 2200 Transcanadienne                                                                                 Pointe-Claire          QC       H9R 1B1      Canada
 Alliance land Surveying, LLC                                                          7900 N 70th Ave                                                                                      Glendale               AZ       85303
 Allison Aikens                                                                        3520 Tara Dr                                                                                         Ardmore                OK       73401
 Allison Distler                                                                       2000 North 29th Ave                              Apt 108                                             Hollywood              FL       33020
 Allison Smoley                                                                        511 PayNE Hill Rd 195                                                                                Jefferson Hills        PA       15025
 Allisson Rincon Penagos                                                               1068 Lavender Cir                                                                                    Weston                 FL       33327
 All-State Brokerage, Inc.                                                             4663 Executive Dr Suite 12                                                                           Columbus               OH       43220-3627
 Allstate Resource Management Inc.                                                     6900 SW 21St Ct Bldg # 9                                                                             Davie                  FL       33317
 Ally Auto                                                                             PO Box 78234                                                                                         Phoenix                AZ       85062-8234
 Ally Buyak                                                                            1713 N Willington St                                                                                 Philadelphia           PA       19121
 Ally Financial                                                                        500 Woodward Ave                                                                                     Detroit                MI       48226
 Allyn-Michael Espitia                                                                 PO Box 193                                                                                           Maysville              OK       73057
 Allyson Altman                                                                        8101 7th St North                                                                                    St Petersburg          FL       33702
 Allyson Nicole Temple                                                                 1309 Clark Springs Dr                                                                                Keller                 TX       76248



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 All-Zone Air                                                   10690 NW 123rd St Rd Suite 101                                                                Medley                  FL       33178
 Alma Alvarado-Garcia                                           7435 W Beryl Ave                                                                              Peoria                  AZ       85345
 Alondra Espinoza                                               6924 West Cinnabar Ave                                                                        Peoria                  AZ       85345
 Alpha Industrial Supplies, Inc                                 PO Box 75465                                                                                  Tampa                   FL       33675
 Alphonso Raymond                                               555 Southwest Sundance Tr                                                                     Port Saint Lucie        FL       34953
 Alt Legal, Inc.                                                79 Madison Ave                                                                                New York                FL       10016
 Alterna Capital Solutions, LLC Chestnut Hill                   PO Box 936601                                                                                 Atlanta                 GA       31193-6601
 Alternative Hose LLC.                                          20 N 48th Ave                                                                                 Phoenix                 AZ       85043
 Alto Systems (Stoked)                                          2867 Surveyor St                                                                              Pomona                  CA       91768
 Altus Receivables Management                                   2400 Veterans Memorial Blvd                                                                   Kenner                  LA       70062-8725
 Alvarez & Marsal Valuation Services, LLC                       1111 third Ave Suite2450                                                                      Seattle                 WA       98101
 Alvaro Jose Dominguez                                          8423 Northwest 110th Ave                                                                      Doral                   FL       33178
 Alvaro Serna                                                   24219 Pansy Way                                                                               Lake Elsinore           CA       92532
 Alvin Tyler                                                    2916 Northwest 60th St                                                                        Miami                   FL       33142
 Alycia Tirado                                                  800 SW 1St St                                                                                 Boca Raton              FL       33486
 Alynee Campos                                                  5264 NE 6th Ave 18A                                                                           Oakland Park            FL       33334
 Alysia Juanita McGarran                                        2760 West Gregory St                                                                          Apache Junction         AZ       85120
 Alysia Kimberly Rosiles                                        9552 Tangelo Ave                                                                              Fontana                 CA       92335
 Alysia Macedo                                                  725 NE 22nd Ph 2C                                                                             Miami                   FL       33137
 Alyson Smith                                                   8213 Claire Ann Dr 108                                                                        Orlando                 FL       32825
 Alyson Taylor                                                  1500 NW North River Dr                           Apt 2302                                     Miami                   FL       33125
 Alyson Taylor Tone Up With Tay LLC                             3699 PeregriNE Way                                                                            Elgin                   IL       60124-7863
 Alyson Wolski                                                  9811 Copper Creek Dr                             Apt 504C                                     Austin                  TX       78729
 Alyssa Blair                                                   413 Wynbrook                                                                                  Auburn                  GA       30011-2512
 Alyssa Consaul                                                 7830 Northwest 53rd Ct                                                                        Lauderhill              FL       33351
 Alyssa Figueroa                                                112 Candle Wood Dr                                                                            Hendersonville          TN       37075
 Alyssa Grassie                                                 3 Ronnie Dr                                                                                   Manahawkin              NJ       08050
 Alyssa Guglielmi                                               49 Twisting Ln                                                                                Wantagh                 NY       11793
 Alyssa Kent                                                    12410 Fairlawn Dr                                                                             Riverview               FL       33579
 Alyssa Marie Bello                                             502 Chelsea Dr                                                                                Henderson               NV       89014
 Alyssa Murphy                                                  3086 Buffalo Horn Walk                                                                        Ballston Spa            NY       12020
 Alyssa Murphy                                                  5 Depot St                                                                                    Greenwich               NY       12834
 Alyssa Papa                                                    17117 Gulf Blvd                                  Apt 542                                      North Redington Beach   FL       33708
 Alyssa Prinzo                                                  800 Basin St #1-301                                                                           Tallahassee             FL       32304
 Amadou Haidara                                                 255 East Corporate Dr                            Apt 1101                                     Lewisville              TX       75067
 Amal Nemer                                                     50 BiscayNE Blvd 5310                                                                         Miami                   FL       33132-2954
 Amanda Ames Mocherman                                          26100 NarbonNE Ave                               Apt 35                                       Lomita                  CA       90717
 Amanda Dawn Lowe                                               431 E Central Blvd #815                                                                       Orlando                 FL       32801
 Amanda Elise Vazquez-Rios                                      8845 Valencia Oaks Ct                                                                         Orlando                 FL       32825
 Amanda Gilbert Amanda                                          11424 81St Place N                                                                            Seminole                FL       33772
 Amanda Grace Baburam                                           1850 Smoketree Cir                                                                            Apopka                  FL       32712
 Amanda Henriquez                                               6708 Northwest 193rd Terrace                                                                  Hialeah                 FL       33015
 Amanda Ileana Clark                                            4045 NW 11th St                                                                               Lauderhill              FL       33313
 Amanda Keating                                                 1309 Ewing Dr                                                                                 Garland                 TX       75040
 Amanda Lee                                                     6280 W 3rd St                                    Apt 231                                      Los Angeles             CA       90036
 Amanda Lee Morgan A Mom with a mop                             12531 Stonebriar Ridge Dr                                                                     Davidson                NC       28036-8626
 Amanda Saez                                                    4747 Collins Ave 506                                                                          Miami Beach             FL       33140-3289
 Amanda Severson                                                8787 Southside Blvd #2103                                                                     Jacksonville            FL       32256
 Amanda Shearer                                                 4210 Briarcliff Rd                                                                            Allentown               PA       17960
 Amanda Simmons                                                 93 Gadsden Todd Levee Rd                                                                      Humboldt                TN       38343
 Amanda Solis                                                   6306 Inspiration Point                                                                        Arlington               TX       76016
 Amanda Trivizas                                                11655 Iowa Ave #9                                                                             Los Angeles             CA       90025
 Amanda Vance                                                   8386 Dynasty Dr                                                                               Boca Raton              FL       33433
 Amanda Vlcek                                                   14628 S St                                                                                    Omaha                   NE       68137
 Amanda Wightman                                                13386 Windy Grove Dr                                                                          Rancho Cucamonga        CA       91739
 Amanda Yanes                                                   6436 W 22nd Ln                                                                                Hialeah                 FL       33016
 Amanda-Grace Marshall                                          801 Putters Green Way N                                                                       Jacksonville F          FL       32259
 Amani Alzubi                                                   2520 N Waterford St                                                                           Orange                  CA       92867
 Amantha B Rivero                                               902 Spring Cir 204                                                                            Deerfield Beach         FL       33441-8154
 Amar Mujkanovic                                                575 W Mclellan Rd                                                                             Bowling Green           KY       42101-8856
 Amariah Morales                                                3676 Arbor Chase Dr                                                                           Palm Harbor             FL       34683-3717
 Amarpali Sandhu                                                3300 N Scottsdale Rd #4018                                                                    Scottsdale              AZ       85251
 Amaury E Cedeno                                                9375 Fountainbleau Blvd L407                                                                  Miami                   FL       33172
 Amber Audrey Jones                                             7804 thornhill Ln                                                                             Tallahassee             FL       32312
 Amber Balladares                                               11220 SW 147 th Pl                                                                            Miami                   FL       33196
 Amber M. Trujillo                                              2011 Clear Branch Way                                                                         Royse City              TX       75189
 Amber Mai Tran                                                 5805 Clear Creek Dr                                                                           Haltom City             TX       76137
 Amber McCloskey                                                1466 Barcelona Way                                                                            Weston                  FL       33327
 Amber Quinn                                                    2042 Alta Meadows Ln #1712                                                                    Delray Beach            FL       33444
 Amber Serrano                                                  951 East 10th Place                                                                           Hialeah                 FL       33010
 Amber Thompson                                                 3945 St Ives Rd                                                                               Myrtle Beach            SC       29588
 Amber Vick                                                     125 Baker St                                     Apt 143                                      Costa Mesa              CA       92626
 Amelia (Mia) Jones                                             630 Cotanche St                                  Apt 217                                      Greenville              NC       27858
 Amelia Dineen                                                  1704 Boardwalk Ct                                                                             College Station         TX       77845
 Amendment Section Division of Corporations                     2661 Executive Center Cir                                                                     Tallahassee             FL       32301



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                       Name                      Attention                               Address 1                              Address 2         Address 3                 City    State        Zip            Country
 America First Action, Inc.                                      138 Conant St                                                                                Beverly              MA       01915
 American Arbitration Association                                120 BRdway Fl 21                                                                             New York             NY       10271-2700
 American Electrical Contracting, Inc.                           5065 3 St AugustiNE Rd                                                                       Jacksonville         FL       32207
 American Express - Centurion Black Amex                         PO Box 7863                                                                                  Ft Lauderdale        FL       33329-7863
 American Express - Danielle Cohen                               1600 N Park Dr                                                                               Weston               FL       33326-3278
 American Express - Platinum                                     1500 NW 136 Ave                                                                              Sunrise              FL       33323
 American Express -Marketing                                     PO Box 650448                                                                                Dalals               TX       75265-0448
 American Express -Travel Corp Card                              PO Box 650448                                                                                Dallas               TX       75265-0448
 American Express-C Penoucos                                     PO Box 650448                                                                                Dallas               TX       75265-0448
 American Express-Corporate Rewards                              PO Box 650448                                                                                Dallas               TX       75265-0448
 American Express-Meg Liz Owoc                                   PO Box 650448                                                                                Dallas               TX       75265-0448
 American Fence & Supply, LLC.                                   PO Box 33462                                                                                 Charlotte            NC       28233
 American fitness wholesalers of Arizona                         455 W 21st St                                   Suite 107                                    Tempe                AZ       85282-2016
 American Fuji Seal, Inc.                                        1051 Bloomfield Rd                                                                           Bardstown            KY       40004-9794
 American Herbal Products Association AHPA                       8630 Fenton St                                                                               Silver Spring        MD       20910
 American Heritage Life Insurance Company                        1776 American Heritage Life Dr                                                               Jacksonville         FL       32224-6687
 American Heritage Life Insurance Company                        PO Box 4331                                                                                  Carol Stream         IL       60197-4331
 American International Chemical, Inc.                           2000 W Park Dr Suite 300                                                                     Westborough          MA       01581-3957
 American International Foods                                    8066 Fulton St E                                                                             Ada                  MI       49301
 American International Group, Inc                               1271 Ave of the Americas                        Fl 37                                        New York             NY       10020-1304
 American Recycling Company                                      PO Box 820                                                                                   Ceres                CA       95307-0820
 American Retail Services ARS                                    2780 Gateway Rd                                                                              Carlsbad             CA       92009
 American Steamers                                               6761 W SunriSE Blvd #1                                                                       Plantation           FL       33313
 Americredit Financial Services, Inc. d/b/a GM                   801 Cherry St #3500                                                                          Fort Worth           TX       76102
 Americredit Financial Services, Inc. d/b/a GM                   PO Box 78143                                                                                 Phoenix              AZ       85062-8143
 Amerigas Propane LP                                             460 North Gulph Rd                                                                           King Of Prussia      PA       19406
 Aminovita Solution, Inc                                         730 N Diamond Bar Blvd                                                                       Diamond Bar          CA       91765-1038
 Amir Elsaeidy                                                   2533 East 18th St                                                                            Brooklyn             NY       11235
 Amirah Abden Mirah                                              3830 Timberwood Dr                                                                           Grand Rapids         MI       49534
 AMMS Inc.                                                       16043 AginCt Dr                                                                              Huntersville         NC       28078-5856
 Amoricka Dittrich                                               1760 Revere Beach Pkwy                          Apt 365                                      Everett              MA       2149
 Amy Beth Adams Maros                                            871 Bowens Mill Highway                                                                      Fitzgerald           GA       31750
 Amy Byrd                                                        320 Timberview Dr                                                                            Kernersville         NC       27284-8377
 Amy Cino                                                        200 S 31st ave                                  Apt 4813                                     Omaha                NE       68131
 Amy Cino                                                        6235 S 170th St                                                                              Omaha                NE       68135-3051
 Amy Gold                                                        2850 Northeast 14th St Cau                                                                   Pompano Beach        FL       33062
 Amy Jowell                                                      1365 Arch Place                                                                              Dallas               TX       75215
 Amy Leigh-Quine                                                 3 Barnes Wallis Ct High Wycombe                                                              Bucks                         HP111TY      United Kingdom
 Amy Loaisiga                                                    1340 West 41St St                               Apt 202                                      Hialeah              FL       33012
 Amy Lynn McAllister                                             20570 Vine Dr                                                                                Macomb               MI       48044
 Amy Mahony                                                      337 B Main St                                                                                Hobart               IN       46342
 Amy Mariano                                                     34 Union Sq 367                                                                              Union City           CA       94587-8508
 Amy Marie Ozols                                                 66 West Norwalk Rd                                                                           Norwalk              CT       06850
 Amy Puchini                                                     65 Horseshoe Rd                                                                              Guilford             CT       06437
 Amy Renee Aungst                                                1607 Spring Ln                                                                               Brandon              FL       33510
 Amy Troyer                                                      22251 Palm Beach Blvd                                                                        Alva                 FL       33920
 Ana Beatriz Godinho Calcado                                     4395 Banyan Trails Dr                                                                        Coconut Creek        FL       33073
 Ana Labrin                                                      15062 sw 70th St                                                                             Miami                FL       33193
 Ana M Lopera Vargas                                             7775 Tatum Waterway Dr 2                                                                     Miami Beach          FL       33141-1895
 Ana Paula Manzanal Sarmiento Paula                              Aviva Affinity                                  L41                                          San Borja                                  Peru
 Ana Paula Manzanal Sarmiento Paula                              Calle Alberto Ureta 188                         L41                                          San Borja                     15021        Peru
 Ana Sofia Bevarly                                               10580 NE 2nd Place                                                                           Miami Shores         FL       33138
 Ana Sofia De La Rosa                                            5949 Southwest 79th St                                                                       South Miami          FL       33143
 Anabel Ramirez Medina                                           Carrera 83a #32 ee                              Apt 1st                                      Medellin                      050031       Colombia
 Anabela Bello                                                   3301 Northeast 1St Ave                          Apt 1806                                     Miami                FL       33137
 Anabi Family Foundation                                         1450 North Benson Ave Suite A                                                                Upland               CA       91786
 Anaelis Izquierdo                                               1800 NW 36th Ave                                                                             Miami                FL       33032
 Anais Victoria Ojeda                                            892 Northeast 110th Ave                                                                      Plantation           FL       33324
 Anam Msindwana                                                  44A Adrienne St                                 Gauteng                                      Sandton                       2196         South Africa
 Anastasia A Loskutov                                            9608 Northwest 7th Cir                          Unit 1338                                    Plantation           FL       33324
 Anastasiia Kvitko                                               475 Brickell Ave 2415                                                                        Miami                FL       33131
 Anayansi Esther Ramirez Root                                    1421 West Ocotillo Rd                                                                        Phoenix              AZ       85013
 ANC                                                             718 BRdway                                                                                   Evertt               MA       02149
 Anchor Services & Construction, Inc.                            1007 N Federal Hwy # 273                                                                     Ft Lauderdale        FL       33304-1422
 Andersen Material Handling                                      30575 Anderson Ct                                                                            Wixom                MI       48393
 Anderson Merchandisers,LLC                                      5601 Granite Parkway Suite 1400                                                              Plano                TX       75024
 Andra L Pearson                                                 16804 W Paseo Way                                                                            Goodyear             AZ       85338
 Andra Lewis                                                     326 West Brownlee Ave                                                                        Dallas               TX       75224
 Andrae A McNeil                                                 6910 Shenandoah Trail                           Apt 208                                      Austell              GA       30168
 Andre Brown                                                     18 Pleasant View                                                                             Newburgh             NY       12559
 Andre Moore                                                     11935 177th Place                                                                            Jamaica              NY       11434
 Andre Olivo                                                     620 Barston Ln                                                                               Alpharetta           GA       30022
 Andre S Hunter                                                  1600 N Park Dr                                                                               Weston               FL       33326-3278
 Andre Stephaun Hunter                                           5348 El Nuevo Dr                                                                             Las Vegas            NV       89120
 Andre Victor Nascimento Adriano Afreim                          3014 Porto Lago Ct                                                                           Windermere           FL       34786



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 Andre Xavier Hunt                                           2520 Northside Dr 206                                                                                  San Diego              CA       92108-2794
 Andrea Abarca                                               1910 6th St Ct                                                                                         East Moline            IL       61244
 Andrea Abdelnour                                            2923 SW 161St Ave                                                                                      Miramar                FL       33027
 Andrea Aldana Stanley                                       12060 Southwest 19th Ct                                                                                Davie                  FL       33325
 Andrea Blasco                                               16322 Malibu Dr                                                                                        Weston                 FL       33326
 Andrea Carrillo                                             514 River Oak Loop                                                                                     Lawrenceville          GA       30044
 Andrea Del Mar Marcano Reimundez                            4206 Eastgate Dr 3133                                                                                  Orlando                FL       32839
 Andrea Espada                                               23315 Calvert St                                                                                       Woodland Hills         CA       91367
 Andrea Gil                                                  1469 Northwest 153rd Ave                                                                               Pembroke Pines         FL       33028
 Andrea Gonzalez                                             4610 Durban Oaks Dr                                                                                    Katy                   TX       77494
 Andrea Lopez                                                4312 North 63rd Ave                                                                                    Phoenix                AZ       85033
 Andrea Megan Knight                                         1600 Barton Springs Rd                                                                                 Austin                 TX       78704
 Andrea Mesa Atehortua Yudi                                  Unidad Roterdam                                  Avenida 26 #52 -140 Apt 1901    Bello                 Antioquia                                    Colombia
 Andrea Paola Carmona                                        1080 SW 184th Terr                                                                                     Pembroke Pines         FL       33029
 Andrea Rodriguez                                            10010 NW 44th Ter                                Apt 304                                               Doral                  FL       33178
 Andrea Stephania Duque Pinzon                               Calle 27 Sur                                     #12 G 24                                              Bogota                          111811       Colombia
 Andrea Villarroel Velasco                                   2091 Reinaissance Blvd 103                                                                             Miramar                FL       33025
 Andreas Saad                                                877 Philbrook Dr                                                                                       Milton                 ON       19T 5A5      Canada
 Andreina Mendez                                             242 East Riverbend Dr                                                                                  Sunrise                FL       33326
 Andreina Zambrano                                           2091 NW 96th Ter 13-B                                                                                  Pembroke Pines         FL       33024
 Andrelle F Leandre                                          3080 Southwest 1St St                                                                                  Fort Lauderdale        FL       33312
 Andres Mauricio Alfaro Uzuriaga                             Cra 1 B #57-34                                   Bloque 6 Conjunto I             Apt 503               Cali Val                        111811       Colombia
 Andres Rodriguez Andy                                       812 NE 4th St                                                                                          Ft Lauderdale          FL       33317
 Andrew Abamu                                                718 Garner Cir                                                                                         Cedar Hill             TX       75104
 Andrew Alvarez                                              9969 Sepulveda Blvd                              Apt 101                                               Los Angeles            CA       91345
 Andrew Baltazar                                             4727 Dozier St                                                                                         Los Angeles            CA       90022
 Andrew Charles Romero III                                   11251 Lafayette St                                                                                     Northglenn             CO       80233
 Andrew D Wisdom                                             1600 N Park Dr                                                                                         Weston                 FL       33326-3278
 Andrew David Wisdom                                         13805 Northwest 22nd St                                                                                Sunrise                FL       33323
 Andrew de Jesus                                             3698 Casellina Ct                                                                                                             NV       89141
 Andrew Deery                                                3964 Watercourse Dr                              Apt 1267                                              Fort Worth             TX       76109
 Andrew Esquer                                               70 Endicott St Unit 505                                                                                Norwood                MA       02062
 Andrew Gamboa                                               11660 Church St 829                                                                                    Rancho Cucamonga       CA       91730
 Andrew Henderson                                            34 Borough Rd                                                                                          Kingston Upon Thames            KT2 6BD      United Kingdom
 Andrew Honza                                                1109 Fairlake Trace                              Apt 2304                                              Weston                 FL       33326
 Andrew J Colapietro                                         25 Waters Edge Dr                                                                                      Lewiston               ME        4240
 Andrew James Ewy                                            2438 West Angel Way                                                                                    San Tan Valley         AZ       85142
 Andrew Juan De La Torre Jr                                  18928 West Jefferson St                                                                                Buckeye                AZ       85326
 Andrew Jurkiewicz                                           22 Central Ave                                                                                         East Hampton           NY       11937
 Andrew Kwong                                                4151 Hazelbridge Way                             Unti 1280                                             Richmond               BC       V6X 4J7      Canada
 Andrew LaRocca                                              28 Mcevers Branch Ct                                                                                   Acworth                GA       30101
 Andrew Lee Samples                                          8120 East Whitton Ave                                                                                  Scottsdale             AZ       85251
 Andrew MacKenzie Potts                                      6419 Barton Creek Cir                                                                                  Lake Worth             FL       33463
 Andrew Michael Schade                                       21 Abbey Ln                                                                                            Annville               PA       17003
 Andrew Miller                                               14720 ColumbiNE St                                                                                     Thornton               CO       80602
 Andrew Nelson Sorah                                         5451 Redding Rd                                                                                        San Diego              CA       92115
 Andrew Paul Dehetre                                         23 Harbor Mist Dr                                                                                      Fairhaven              MA        2719
 Andrew Risolvato                                            7338 La Vista Dr                                                                                       Dallas                 TX       75214
 Andrew Rivera                                               1148 CambourNE Dr                                                                                      Kissimmee              FL       34758
 Andrew Smith                                                15509 N Scottsdale Rd                                                                                  Scottsdale             AZ       85254-2100
 Andrew Tiansay                                              1330 Braddock Rd                                                                                       Deltona                FL       32725
 Andrew W Esquer                                             70 Endicott St 505                                                                                     Norwood                MA       02062-3070
 Andy Ellquist                                               17840 Domingo Dr                                                                                       Parker                 CO       80134
 Andy Rodriguez                                              1962 South Palomar Dr                                                                                  Deltona                FL       32738
 Andy Weber                                                  7217 Vellex Ln                                                                                         Annandale              VA       22003
 Angel Alfredo Aponte                                        7260 Suiterling Rd 102                                                                                 Hollywood              FL       33024
 Angel Batchelor                                             3755 RedwiNE Rd                                                                                        East Point             GA       30344
 Angel Chua Thilavong                                        304 North Point Dr                                                                                     Venus                  TX       76084
 Angel Coffin                                                4590 Sailbreeze Ct                                                                                     Orlando                FL       32810
 Angel David Alvarez                                         6645 Sylmar Ave 112A                                                                                   Van Nuys               CA       91405
 Angel Fernan Gonzalez Argueta                               6824 Bay Line Dr                                                                                       Fort Worth             TX       76133
 Angel Leogardo Tellez                                       7013 W Catalina Dr                                                                                     Phoenix                AZ       85033
 Angel Ricardo Iglesias                                      880 Sorrento Dr                                                                                        Weston                 FL       33326
 Angel Rodriguez                                             213 SW 159th Way                                                                                       Sunrise                FL       33326
 Angel Rose Faircloth                                        503 Yost Rd                                                                                            Salisbury              NC       28146
 Angel Torres                                                6701 Johnson St # 209                                                                                  Hollywood              FL       33024
 Angela McDavis Ruiz                                         2902 West Sweetwater Ave                         Apt 3009                                              Phoenix                AZ       85029
 Angela Morales                                              7708 Haywood Pl                                                                                        Rancho Cucamonga       CA       91730
 Angela Nicole Henderson                                     1320 Vintage Oak St                                                                                    Simi Valley            CA       93063-4588
 Angela Ricci                                                1720 Conway Gardens Rd                                                                                 Orlando                FL       32806
 Angela Ritossa                                              7325 Ledgewood Dr                                                                                      Kirtland               OH       44094
 Angela Rodriguez                                            2400 Southwest 58th Manor                        Apt 4                                                 Fort Lauderdale        FL       33312
 Angelena Minniti                                            1901 Callowhill St 712                                                                                 Philadelphia           PA       19130
 Angelica Cabrejos                                           1617 South Federal Highway                       Apt 2-516                                             Pompano Beach          FL       33062
 Angelica Lorriane Mac Kenzie                                21891 Victorian Ln                                                                                     Wildomar               CA       92595



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                        Name                   Attention                               Address 1                                 Address 2         Address 3                City     State        Zip           Country
 Angelica Nicole Mazzocca Rauseo                               4160 Pine Ridge Ln                                                                              Weston               FL       33331
 Angelica Streetman                                            444 W College Ave # 707                                                                         Tallahasse           FL       32301
 Angelica Valencia                                             44 W BRdway 1601                                                                                Salt Lake City       UT       84101
 Angelina D Lantieri                                           4310 West Spruce St                              Unit 337                                       Tampa                FL       33607
 Angelina Villarreal                                           1921 Hibiscus                                                                                   Mcallen              TX       78501
 Angeline Varona                                               1800 N Bayshore Dr                               Apt 3301                                       Miami                FL       33132
 Angelique Artistry LLC Angelique Capullo                      18861 NW 63rd Ct Cir E                                                                          Hialeah              FL       33015
 Angelique Gonzalez                                            164 Woodlake Cir                                                                                Greenacres           FL       33463-3084
 Angelique Roux                                                6 Drayton Plac                                   Kwa Zulu Natal                                 Durban                        3629         South Africa
 Angelo Castillo Campaign Account                              455 SW 200th Terrace                                                                            Pembroke Pines       FL       33029
 Angelo Isaac Alvarez                                          815 N 52nd St                                    Apt 2415                                       Phoenix              AZ       85008
 Angelo Reyes                                                  10357 Oakwood Crest                                                                             San Antonio          TX       78245
 Angels Party Retal LLC                                        12309 SW 133 Ct                                                                                 Miami                FL       33186
 Angie Dusak                                                   5608 N College Ave                                                                              Indianapolis         IN       46220
 Angie V. Enterprises LLC Angeline M. Varona                   3401 SW 143 Pl                                                                                  Miami                FL       33175
 Anibal Jose Hernandez                                         630 85th St                                      Apt 203                                        Miami Beach          FL       33141
 Anibal Madrueno                                               5411 South 13th Ave                                                                             Phoenix              AZ       85041
 Anita Steele                                                  PO Box 252                                                                                      Hubbard              TX       76648-0252
 Anizabeth Parra Gonzalez                                      11037 W 33rd Ct                                                                                 Hialeah              FL       33018
 Ankus Consulting Inc                                          12555 Orange Dr                                                                                 Davie                FL       33330
 Anllela Sagra                                                 851 NE 1St Ave                                   Unit 2706                                      Miami                FL       33132
 Anllela Sagra Fit Llc Anllela Sagra                           851 NE 1St Ave                                   Unit 2706                                      Miami                FL       33132
 Anmar Investment Group LLC Mariana Caceres                    1151 Chenille Cir                                                                               Weston               FL       33327-2019
 Anna Burkhardt                                                1341 W 43rd St                                                                                  Norfolk              VA       23508
 Anna Carolyna Edward Hajjar                                   12037 Ashton Manor Way 110                                                                      Orlando              FL       32828
 Anna Elizabeth Shipp                                          12 RevelstoNE Way                                                                               Chapin               SC       29036
 Anna Immaneni                                                 3600 LancaSuiter Ave                                                                            Philadelphia         PA       19104
 Anna J. Wasag                                                 6522 N Oshkosh Ave                                                                              Chicago              IL       60631
 Anna K VonStaehle                                             914 3rd St                                       Apt 6                                          Santa Monica         CA       90403
 Anna Keener                                                   930 Benge Dr                                     Apt 108                                        Arlington            TX       76013
 Anna Louise Whitehead                                         1484 E Predmore Rd                                                                              Oakland              MI       48363
 Anna Moch Anna                                                700 42nd Ave N                                                                                  Saint Petersburg     FL       33703
 Anna Paulina Luna for Congress                                1201 Gandy Blvd North                                                                           St Petersburg        FL       33742
 Anna Shakhbazov                                               2211 Bragg St 3D                                                                                Brooklyn             NY       11229
 Anna Wilhelm                                                  2 Gibbes St                                                                                     Charleston           SC       29401
 Anna Wyatt                                                    313 Saddle Rd                                                                                   White Settlement     TX       76108
 Annabelle Gesson                                              10 Gatehouse Ct                                                                                 Carmel               NY       10512
 Annabelle Gesson                                              1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Annelese Milton                                               367 Willarong Rd                                                                                Caringbah                     NSW 2229     Australia
 Annelise Fierro Quinones                                      13596 Creedmore Dr                                                                              Whittier             CA       90601
 Annie Marie Morales                                           512 East Park Ave                                                                               Chiefland            FL       32626
 Annmarie Rose                                                 2901 Stadium Dr                                  TCU Box 294807                                 Fort Worth           TX       76129
 Annye Carolina Posada                                         1800 North Bayshore Dr                           Apt 2404                                       Miami                FL       33132
 Anslee Michele Horton                                         1120 Creek Farm Run                                                                             Bogart               GA       30622
 Ansley Pacheco                                                18250 NW 86th Ave                                                                               Hialeah              FL       33015-2525
 Anthia Mo                                                     688 N Gramercy Place                                                                            Los Angeles          CA       90004
 Anthony Alejandro Velasquez                                   11657 Marina Dr                                                                                 Jacksonville         FL       32246
 Anthony Anselmo Tony Tony                                     2534 NE 42nd Ave                                                                                Portland             OR       97213
 Anthony Bernard Barnes                                        344 Tidmarsh Ct Nw                                                                              Concord              NC       28027
 Anthony Bisignano                                             6095 Catalina Dr                                 Unit 414                                       North Myrtle Beach   SC       29582
 Anthony C Collins                                             13440 Old Englishtown Rd                                                                        Wellington           FL       33414
 Anthony C. Trucco                                             1309 Sepulveda Blvd 332                                                                         Torrance             CA       90501
 Anthony Calderon                                              8840 Fontainebleau Blvd                          Apt 403                                        Miami                FL       33172
 Anthony Caraballo                                             2435 81St St                                                                                    Highland             IN       46322
 Anthony Castro                                                2444 W 56th St #405                                                                             Hialeah              FL       33016
 Anthony Cerullo                                               5141 Waterwood Dr                                                                               Bartow               FL       33830
 Anthony Charles Campana                                       18 Key West Ct                                                                                  Weston               FL       33326
 Anthony Clayton                                               10401 SW 51St St                                                                                Cooper City          FL       33328
 Anthony Craig Jirouschek                                      301 E Cevallos St 104                                                                           San Antonio          TX       78204
 Anthony D Dolson                                              1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Anthony David Dolson                                          4682 Aventura Canyon Ct                                                                         Las Vegas            NV       89139-7652
 Anthony De Cario                                              7245 SW 138th Ave                                                                               Miami                FL       33183
 Anthony Dennison                                              1024 Edison Ln                                                                                  Allen                TX       75002
 Anthony Domenic Ombrellaro Jr                                 1800 S Ocean Dr                                  Unit 3603                                      Hallandale Beach     FL       33009
 Anthony Fernandez                                             4510 East Wood St                                                                               Phoenix              AZ       85040
 Anthony Gerardo Fernandez Jr                                  5310 W Redfield Rd                                                                              Glendale             AZ       85306
 Anthony J Clements                                            1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Anthony John Passero                                          5464 Cicada Way                                                                                 Palm Beach Gardens   FL       33418
 Anthony Joseph Adriatico                                      1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Anthony Joseph Clements                                       5928 Ave L                                                                                      Santa Fe             TX       77510
 Anthony Joseph Mismanos Adriatico                             3550 Main St                                     Apt 7102                                       Houston              TX       77002
 Anthony Joseph Perriello                                      14708 West Poinsettia Dr                                                                        Surprise             AZ       85379
 Anthony Lacey                                                 8765 South Shore Place                                                                          Mason                OH       45040
 Anthony lawhon, PA                                            5625 Strand Blvd                                                                                Naples               FL       34110
 Anthony Lee Burdine                                           1001 CarriagehouSE Ln                                                                           Garland              TX       75040



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                        Name                                              Attention                                    Address 1                               Address 2              Address 3                City    State        Zip           Country
 Anthony Lee Cleveland Payne                                                                  5000 NW 3rd Ave                                                                                     Boca Raton          FL       33431
 Anthony M Lawhon, P.A.                                                                       3003 Tamiami Train North Suite 200                                                                  Naples              FL       34103
 Anthony M Oropeza                                                                            1600 N Park Dr                                                                                      Weston              FL       33326-3278
 Anthony Marquis Martinez- missing new IG link                                                9 Wallace Ln                                                                                        Woodland Park       NJ       07424
 Anthony Michael Oropeza                                                                      2392 Southeast 16th Alley                                                                           Gresham             OR       97080
 Anthony Michilizzi                                                                           5540 Yellow Birch Dr                                                                                Keller              TX       76244
 Anthony Muro                                                                                 2233 Fairview Rd #H                                                                                 Costa Mesa          CA       92627
 Anthony P Gaudioso                                                                           1600 N Park Dr                                                                                      Weston              FL       33326-3278
 Anthony Patrick Gaudioso                                                                     8577 Boca Glades Blvd W                           Unit C                                            Boca Raton          FL       33434
 Anthony Perez                                                                                11543 Linden Dr                                                                                     Spring Hill         FL       34608
 Anthony Provencio                                                                            844 S Idyllwild Ave                                                                                 Rialto              CA       92376
 Anthony Raul Escobar                                                                         7651 West Marlette Ave                                                                              Glendale            AZ       85303
 Anthony Ray Ortega                                                                           8307 South 47th Ave                                                                                 Phoenix             AZ       85339
 Anthony Reyna                                                                                1716 Denver Ave                                                                                     Fort Worth          TX       76164
 Anthony Rivera                                                                               11512 Doral Ave                                                                                     Porter Ranch        CA       91326
 Anthony Rivera                                                                               4661 Hayvenhurst Ave                                                                                Encino              CA       91436
 Anthony Sabine                                                                               11552 Northwest 87th Place                                                                          Hialeah             FL       33018
 Anthony Sciarrino                                                                            10109 North Golden Elm Dr                                                                           Estero              FL       33928
 Anthony Stefanelli                                                                           8 Annandale Rd                                                                                      Nolbrook            NY       11741
 Anthony Wallace Jr                                                                           3779 Maiden Fern Ln                                                                                 Snellville          GA       30039
 Anthony Xavier Macias                                                                        6321 West Verde Ln                                                                                  Phoenix             AZ       85033
 Antje Utgaard                                                                                6240 W 3rd St 211                                                                                   Los Angeles         CA       90036
 Antje Utgaard                                                                                7560 Devista Dr                                                                                     Los Angeles         CA       90046
 Antoine Sajna                                                                                6616 W Desert Ln                                                                                    Laveen              AZ       85339
 Antoinette Suchenko                                                                          1817 Grieb Ave                                                                                      Levittown           PA       19055
 Anton Geurt Ferreira                                                                         494 Reier Rd                                                                  Gauteng               Pretoria                     0039         South Africa
 Anton L Gholston                                                                             1875 Calida Dr                                    Apt 402                                           West Palm Beach     FL       33411
 Anton Mirashnichenka                                                                         41 Miles Hill                                                                                       Richmond Hill       ON       L4E 4Y9      Canada
 Antonelle Sarah Forte                                                                        130 SW 91 St Av 301                                                                                 Plantation          FL       33324
 Antonio Coronado Jr                                                                          3421 North 64th Dr                                                                                  Phoenix             AZ       85033
 Antonio Guerrero Salcedo                                                                     13281 Northwest 5th St                                                                              Plantation          FL       33325
 Antonio Hernandez                                                                            5280 Oldmill Rd                                                                                     Riverside           CA       92504
 Antonio J Estrada                                                                            4113 West 11th Ct                                                                                   Hialeah             FL       33012
 Antonio J Fallucca                                                                           6001 Southwest 70th St                            Apt 553                                           South Miami         FL       33143
 Antonio Levi Lopez                                                                           6200 Variel Ave 330                                                                                 Los Angeles         CA       91367
 Antonio Lopez                                                                                2597 Rosy RunriSE St                                                                                Las Vegas           NV       89142
 Antonio Marcellos Tracy                                                                      1244 West C St                                                                                      Kannapolis          NC       28081
 Antonio Mongognia                                                                            1891 N Litchfield Rd 229                                                                            Goodyear            FL       85385
 Antonio Ornelas Hernandez                                                                    3210 N 50th Dr                                                                                      Phoenix             AZ       85031
 Antonio Sanchez Ruiz                                                                         5801 S 5th St                                                                                       Phoenix             AZ       85040
 Antonyous Rezk Gerges Rezk                                                                   4201 Monticello Gardens Place                                                                       Tampa               FL       33613
 Antwan Edward Johnson                                                                        2880 Northwest 207th St                                                                             Miami Gardens       FL       33056
 Anvil Consultants, Inc.                                                                      13700 NW 19th Ave                                                                                   Opa Locka           FL       33054-4232
 Apex Refrigeration & Boiler Co.                                                              2801 W Willetta St                                                                                  Phoenix             AZ       85009-3542
 Apollo Retail Specialists, LLC                                                               PO Box 509015                                                                                       San Diego           CA       92150-9015
 Apollonia Shanay Cooley                                                                      501 Hidden Dale Dr                                                                                  Fort Worth          TX       76140
 Apolonio Baez Colunga                                                                        1001 NW 7th St                                    Apt 610                                           Miami               FL       33136
 APP Global, Inc.                                                                             1940 S Lynx Ave                                                                                     Ontario             CA       91761-8054
 Appgate Cybersecurity, Inc.                                                                  2 Alhambra Plz Suite Ph-1-B                                                                         Coral Gables        FL       33134-5202
 April Dunn                                                                                   9065 Yarmouth Cir F                                                                                 Loveland            OH       45140
 April Man                                                                                    907 Alexandra St                                                                                    Stafford            TX       77477
 APS Building Services Air Performance Service                                                PO Box 40447                                                                                        Houston             TX       77240
 Aptus Court reporting LLC                                                                    600 W BRdway Suite 300                                                                              San Diego           CA       92101
 Aqua House Inc.                                                                              4999 South Lulu Ave                                                                                 Wichita             KS       67216
 Aqua Solutions Inc.                                                                          6913 Hwy 225                                                                                        Deer Park           TX       77536
 Aquatic Environmental Services, Inc                                                          2050 Howell Bridge Rd                                                                               Ball Ground         GA       30107
 Aquionics, Inc                                                                               4215-E Uart Andrew Blvd Suite E                                                                     Charlotte           NC       28217-1586
 Aran Andres De las Casas Medina                                                              Calle 97 #8-61 Edificio Chico 97                  Torre 2                     Apt 301               Bogota                       110221       Colombia
 Arandy Reyna Meraz                                                                           1609 West Glendale Ave                            Apt 261                                           Phoenix             AZ       85021
 Arantxa Mendez                                                                               16401 NW 37th Ave                                                                                   Miami Gardens       FL       33054
 Aranza M. Aguilar                                                                            290 12 Carl St # 290                                                                                Pacoima             CA       91331-2587
 Arbitration Place                                                                            333 Bay St                                        Suite 900                                         Toronto             ON       M5H 2R2      Canada
 Arbon Equipment Corporation - Southeast                                                      7060 W State Rd 84                                                                                  Davie               FL       33317
 Arch Specialty Insurance Company                    c/o Peachtree Special Risk Brokers LLC   3525 Piedmont Rd NE Bldg #5                       Suite 700                                         Atlanta             GA       30305
 ARCS Network Cabling Arch Cabling                                                            1025 NW 69th Ave                                                                                    Margate             FL       33063-3448
 Arctic Repair, Inc. Arctic Cooler-Freezer Repair,                                            7331 John T White Rd                                                                                Fort Worth          TX       76120
 Arctic Repair, Inc. Arctic Cooler-Freezer Repair,                                            PO Box 2102                                                                                         Hurst               TX       76053
 Ardagh Metal Beverage USA, Inc.                     Curt Rothlisberger                       8770 W Bryn Mawr Ave Suite 175                                                                      Chicago             IL       60631-3515
 Ardagh Metal Packaging USA Corp.                                                             900 Waltham Way                                                                                     Sparks              NV       89434
 Ardagh vs. VPX & Quash Seltzer, LLC (2022)          Ardagh Metal Beverage USA, Inc           8770 W BRYN MAWR AVE Suite 175                                                                      Chicago             IL       60631-3515
 Area Paving & Excavating                                                                     PO Box 9108                                                                                         Coral Springs       FL       33075
 Arely Ibanez                                                                                 3121 West Walnut Hill Dr                          Apt 1079                                          Irving              TX       75038
 Ares Holdings LLC dba CMS Nextech                                                            1045 S John Rodes Blvd                                                                              Melbourne           FL       32904-2000
 Aria Technology Solutions LLC                                                                1080 Johnson Dr                                                                                     Buffalo Grove       IL       60089
 Ariadna Gonzalez                                                                             2780 West 76th St                                 Apt 212                                           Hialeah             FL       33016



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                       Name                   Attention                               Address 1                                 Address 2         Address 3                 City    State        Zip           Country
 Ariana Abreu                                                 9744 SW 154 Pl                                                                                  Miami                FL       33196
 Ariana Alejandra Carrero Hurtado                             5250 NW 84th Ave                                   Apt 507                                      Doral                FL       33166
 Ariana Blanchard                                             480 NE 31St St                                     Apt 4402                                     Miami                FL       33137
 Ariana Isabel Palacios                                       455 NE 24th St                                                                                  Miami                FL       33137-4798
 Ariana Menendez                                              11233 Carabelee Cir                                                                             Orlando              FL       32825
 Ariana Neff                                                  765 109th Ave N                                                                                 Naples               FL       34108
 Ariana Thompson                                              17035 SW 107th Ct                                                                               Miami                FL       33157
 Arianna Palacios                                             455 NE 24th St                                     Apt 334                                      Miami                FL       33137
 Aric Keonta Leonard                                          8808 N Black Canyon Highway                        Apt 303                                      Phoenix              AZ       85051
 Ariel Gedaly Moya                                            5617 Soft Skies Dr                                                                              Sarasota             FL       34238
 Ariel Hernadez                                               627 Chaparral St                                                                                Fillmore             CA       93015
 Ariel Hernandez                                              627 Chapparel St                                                                                Fillmore             CA       93015-1231
 Ariel Masterson                                              6269 Floosmoor Ave                                                                              Mesa                 AZ       85208
 Ariel Medina                                                 1805 E Overland Rd                                 Apt 34-24                                    Meridian             ID       83642
 Ariel Perez                                                  228 SE Park St                                                                                  Dania Beach          FL       33004
 Arionna T. Morales                                           6722 Sun Acer Way                                                                               Rio Linda            CA       95673
 Arista Music                                                 PO Box 1596 11201                                                                               Brooklyn             NY       11201
 Arista Records LLC                                           888 7th Ave                                                                                     New York             NY       10106
 Arius Michael George                                         1466 Lemon Grove Dr                                                                             Upland               CA       91786-2533
 Arizona Commerce Authority                                   100 North 7th Ave                                                                               Phoenix              AZ       85007
 Arizona Department of Economic Security                      PO Box 6028                                                                                     Phoenix              AZ       85005-6028
 Arizona Department of Revenue                                PO Box 29085                                                                                    Phoenix              AZ       85038-9085
 Arizona Dept. of Economic Security Arizona                   2005 N Central Ave                                                                              Phoenix              AZ       85004-1592
 Arizona Dept. of Liquor Licenses & Contr                     800 W Washington 5th Floor                                                                      Phoenix              AZ       85007
 Arizona Instrumentation and Components                       9274 W Quail Track Dr                                                                           Peoria               AZ       85383-5150
 Arizona Office of the Attorney General                       2005 N Central Ave                                                                              Phoenix              AZ       85004
 Arizona Production & Packaging LLC                           7303 S KyreNE Rd                                                                                Tempe                AZ       85283-4510
 Arizona Professional Painting                                5424 S 39th St                                                                                  Phoenix              AZ       85040
 Arizona Waste Recovery Inc                                   8073 W Sands Dr                                                                                 Peoria               AZ       85383-2190
 Arjenis Ulysis Simiano                                       1313 North 2nd St                                  Apt 1402                                     Phoenix              AZ       85004
 Ark Transportation Ltd.                                      17830 Englewood Dr Suite 23                                                                     Cleveland            OH       44130-3485
 Arkansas Alcoholic Beverage Division                         1515 West 7th St Suite503                                                                       Little Rock          AR       72201
 Arkansas Beverage Sales, Inc. (Suncoast)                     100 Budweiser Ln                                                                                Hot Springs          AR       71901
 Arkansas Beverage Sales, Inc. (Suncoast)                     2996 Hanson St                                                                                  Fort Myers           FL       33916-7510
 Arkansas Beverage Sales, Inc. (Suncoast)                     8 Sardis Rd                                                                                     Morrilton            AR       72110
 Arkansas Business Alliance                                   11330 Arcade Dr Suite 4                                                                         Little Rock          AR       72212
 Arkansas Department of Workforce                             PO Box 8007                                                                                     Little Rock          AR       72203-8007
 Arkansas Office of the Attorney General                      323 Center St Suite 200                                                                         Little Rock          AR       72201
 Arla Foods Ingredients, Inc.                                 645 Martinsville Inc                                                                            Basking Ridge        NJ       07920-0624
 Arla Foods Ingredients, Inc.                                 PO Box 200262                                                                                   Pittsburgh           PA       15251-0262
 Arly Arnaud                                                  138 Kennedy Ave                                                                                 Kannapolis           NC       28083
 Armaan Khwaja                                                14 Woodlawn Dr                                                                                  Feltham                       TW135HX      United Kingdom
 Armada Nutrition LLC                                         4637 Port Royal Rd                                                                              Spring Hill          TN       37174
 ARMANDO MADRIGAL                                             929 Maple St                                                                                    Denton               TX       76201
 Armando Salgado                                              914 West Glendale Ave                              Unit 30                                      Phoenix              AZ       85021
 Armando Santos                                               3637 Torremolinos Ave                                                                           Doral                FL       33178-2916
 Armer Protection                                             3665 Park Central Blvd N                                                                        Pompano Beach        FL       33064
 Armstrong Lock Inc                                           1120 N Mills Ave                                                                                Orlando              FL       32803
 Army & Airforce Exchange Service                             3911 S Walton Walker Blvd                                                                       Dallas               TX       75236-1509
 Arnaldo Jose Barrios Lozano                                  10850 N Kendall Dr 114                                                                          Miami                FL       33176
 Arnall Golden Gregory LLP                                    171 17th St NW Suite 2100                                                                       Atlanta              GA       30363
 Arnold Fitness Expo                                          1215 Worthington Woods Blvd                                                                     Worthington          OH       43085
 Arnold Vosloo                                                48a Kloof Rd                                       Gauteng                                      Johannesburg                  2007         South Africa
 Arpac, LLC                                                   9555 West Irving Park Rd                                                                        Schiller Park        IL       60176
 Arrow Camera LLC Joseph Sanchez                              12720 NE 4th Ave                                                                                North Miami          FL       33161
 Arrow Staffing Services                                      499 W State St                                                                                  Redlands             CA       92373
 Arrowhead Distributing Inc                                   PO Box 118                                                                                      Gering               NE       69341
 ARS Fresno, LLC                                              2780 Gateway Rd                                                                                 Cartsbad             CA       92009
 Arshdeep Soni                                                17 Treadgold House                                 25 Bomore Rd                                 London                        W114HD       United Kingdom
 Art Force LLC                                                2975 SW 27th St                                                                                 Miami                FL       33133
 Arthur R. Gren Co., Inc.                                     1886 Mason Dr                                                                                   Jamestown            NY       14701
 Arthur Steven Alvarado                                       3109 South 100th Ln                                                                             Tolleson             AZ       85353
 Arturo Gomez                                                 13262 Northwest 8th Terrace                                                                     Miami                FL       33182
 Arturo J Benavides                                           24250 N 23rd Ave                                   Unit 2190                                    Phoenix              AZ       85085-1974
 Arturo Reyes                                                 13376 Del Sur St                                                                                San Fernando         CA       91340
 ASAP SERVICES LLC                                            1000 South PiNE Island Rd Suite 330                                                             Plantation           FL       33324
 Ashikah Ismail                                               12 Grosvenor Avondale Atlantis                     Avondale                                     Cape Town                     7349         South Africa
 Ashlee Ramdan                                                8015 Brookgreen Rd                                                                              Downey               CA       90240-2117
 Ashleigh Taylor Hurlbutt                                     2424 Lake Pickett Rd                                                                            Orlando              FL       32823
 Ashleigh Veron                                               46 Waterbuck Silversands                                                                        Cape Town                     7580         South Africa
 Ashley Aguayo                                                3301 SW 129th Ave                                                                               Miami                FL       33175-2717
 Ashley Ann Alguire                                           2787 N Houston St                                  Apt 2065                                     Dallas               TX       75219
 Ashley Ann Alguire                                           2808 Maannay Ave 513                                                                            Dallas               TX       75204
 Ashley Bidelspach                                            18014 Sherman Way 141                                                                           Reseda               CA       91335
 Ashley Bissell                                               5631 Arlington Park Dr                                                                          Dallas               TX       75235



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                         Name                                 Attention                                         Address 1                               Address 2         Address 3                City        State        Zip           Country
 Ashley Campagna                                                                      1227 S 21St Ave 205                                                                             Hollywood               FL       33020
 Ashley Cushman                                                                       2572 Hunters Place                                                                              Highlands Ranch         CO       80129
 Ashley Dew King                                                                      3636 Arlington St                                                                               San Diego               CA       92117
 Ashley E. Fair                                                                       2829 S LakeliNE Blvd 816                                                                        Austin                  TX       78613
 Ashley Eden Kaplan                                                                   301 Southwest 1St Ave                              Apt 2214                                     Fort Lauderdale         FL       33301
 Ashley Franqui                                                                       1115 F Twigs St # 2225                                                                          Tampa                   FL       33602
 Ashley Franqui                                                                       510 N Rome Ave                                     Unit 223                                     Tampa                   FL       33606
 Ashley Gail Price                                                                    86 Alexander Heritage Dr                                                                        Hickory                 NC       28601
 Ashley Humphreys                                                                     3950 W Chandler Blvd 2017                                                                       Chandler                AZ       85226
 Ashley Lauren Arbuckle                                                               5630 Dorothy Dr                                                                                 San Diego               CA       92115
 Ashley M Castro Ulloa                                                                3817 Alpine Track Ave                                                                           North Las Vegas         NV       89032
 Ashley Martin                                                                        620 Michigan Ave NE                                                                             Washington              DC       20064
 Ashley Martin                                                                        6905 Basscroft Ct                                                                               Fort Wayne              IN       46845
 Ashley Ortiz                                                                         17035 Islip Loop #204                                                                           Dumfries                VA       22026
 Ashley Rivera Rivera                                                                 1225 Carlton Arms Cir                              Apt D                                        Bradenton               FL       34208
 Ashley Rogers                                                                        2112 S Cherry Rd                                                                                Spokane                 WA       99216
 Ashley Schankie                                                                      4111 N Drinkwater Blvd B104                                                                     Scottsdale              AZ       85251
 Ashley Tatiana Velasquez Diaz                                                        12221 SW 121St Ave                                                                              Miami                   FL       33186
 Ashley Villanueva                                                                    138 ChaSE St                                                                                    Vallejo                 CA       94590
 Ashley Whipkey                                                                       182 Elmtree rd                                                                                  Rochester               NY       14612
 Ashley Whipkey                                                                       65 WoodstoNE Cir                                                                                Webster                 NY       14580-3125
 Ashley Woo                                                                           14508 Seminole St                                                                               Balch Springs           TX       75180
 Ashlie Myers                                                                         615 Kentucky Cir                                                                                Marysville              OH       43040
 Ashlynn Jade Lawrence                                                                5312 Bright Sun Ct                                                                              Las Vegas               NV       89130
 Ashton Wilson                                                                        509 North Locust St                                                                             Arcola                  IL       61910
 Asif Ali                                                                             4850 Southwest 63rd Terrace                        Apt 114                                      Davie                   FL       33314
 ASK Media Productions, Inc.                                                          2110 Corporate Dr                                                                               Boynton Beach           FL       33426
 Aspen Setaro Aspen Rae                                                               360 S Market St #2008                                                                           San Jose                CA       95113
 Aspen Specialty Insurance Company           c/o Peachtree Special Risk Brokers LLC   3525 Piedmont Rd NE Bldg #5                        Suite 700                                    Atlanta                 GA       30305
 Assemblers Inc.                                                                      2850 W Columbus Ave                                                                             Chicago                 IL       60652-1620
 Assemblies Unlimited, Inc.                                                           141 Covington Dr                                                                                Bloomingdale            IL       60108
 Assets Construction Inc.                                                             2870 Peachtree Rd # 996                                                                         Atlanta                 GA       30305
 Associated Industrial Riggers Corp.                                                  107 Redding Dr                                                                                  Bremen                  GA       30110-2283
 Astrid Corrente                                                                      12421 SW 50th Ct 327                                                                            Miramar                 FL       33027
 Astrid Rivero Tineo Astrid Beauty                                                    1940 Madison St                                                                                 Hollywood               FL       33020-5473
 AT&T                                                                                 PO Box 10330                                                                                    Fort Wayne              IN       46851-0330
 Atema Partners Corporation AP Live                                                   9029 Chardonnay Trace                                                                           Frankin                 TN       37067
 Athena Monahan                                                                       1550 Terrell Mill Rd SE 6B                                                                      Marietta                GA       30067-1617
 Athens Services                                                                      PO Box 54957                                                                                    Los Angeles             CA       90054-0957
 Atilio S Herrarte                                                                    630 South Lake St                                  Unit 203                                     Burbank                 CA       91502
 Atlanta Beverage Company                                                             1250 Atlanta Industrial Dr                                                                      Marietta                GA       30066
 Atlanta Beverage Company                                                             1550 Williamson Rd                                                                              Griffin                 GA       30224
 Atlanta Beverage Company                                                             1599 Kell Ln                                                                                    Griffin                 GA       30224
 Atlanta Beverage Company                                                             5000 Fulton Industrial Blvd                                                                     Atlanta                 GA       30120
 Atlanta Retailers Association, LLC                                                   2055 North Brown Rd Suite 200                                                                   Lawrenceville           GA       30043
 Atlantic Corporation                                                                 PO Box 60002                                                                                    Charlotte               NC       28260
 Atlantic Importing Company                                                           350 Hopping Brook Rd                                                                            Holliston               MA       01746-1458
 Atlantic Partners                                                                    6001 Broken Sound Parkway Suite 506                                                             Boca Raton              FL       33487
 Atlas Copco Compressors LLC                                                          Dept Ch 19511                                                                                   Palatine                IL       60055-9511
 Atlas Distributing, Inc.                                                             44 Southbridge St                                                                               Auburn                  MA       01501
 Atlas Sales Inc.                                                                     2955 Columbia Ave W                                                                             Battle Creek            MI       49015-8640
 Atlassian Pty Ltd                                                                    32151 Collections Center Dr                                                                     Chicago                 IL       60693
 Atmos Energy                                                                         PO Box 790311                                                                                   St Louis                MO       63179-0311
 Atmos Energy                                                                         PO Box 740353                                                                                   Cincinnati              OH       45274-0353
 ATS Electric, Inc                                                                    840 North 52nd Ave                                                                              Phoenix                 AZ       85043
 AU Energy, LLC                                                                       41805 Albrae St                                                                                 Fremont                 CA       94538-3144
 Aubra Moffett III                                                                    27 Lincoln Woods Way                               Apt 1C                                       Baltimore               MD       21128
 Aubri J Baskin                                                                       1600 N Park Dr                                                                                  Weston                  FL       33326-3278
 Aubri Joy Baskin                                                                     1756 Northwest 74th Ave                                                                         Plantation              FL       33313
 Audio Network US, Inc.                                                               246 5th Ave 6th Floor                                                                           New York                NY       10001
 Audrey Bradford                                                                      3041 Weldon Ave                                    Apt 404                                      Los Angeles             CA       90065
 Audrey Deyon                                                                         5353 W Desert Inn 2011                                                                          Las Vegas               NV       89146
 Audrey Deyon                                                                         8065 Kentshire Dr                                                                               Las Vegas               NV       89117
 Audrey Raquel LeClair                                                                1203 White St                                                                                   Ann Arbor               MI       48104-3742
 Auger Fabrication, Inc.                                                              4012 Edges Mill Rd                                                                              Downingtown             PA       19335
 Aurie Gonsman                                                                        8804 Timberloch Ct                                                                              Bakersfield             CA       93311
 Austell Natural Gas System                                                           PO 685                                                                                          Austell                 GA       30168-0685
 Austen Tyler Chetty                                                                  9 Langkloof St                                                                                  Alrode South Alberton            1448         South Africa
 Austin A Teate                                                                       1600 N Park Dr                                                                                  Weston                  FL       33326-3278
 Austin Alonzo Teate                                                                  21043 Northeast 4th Ct                                                                          Miami                   FL       33179
 Austin Bacon                                                                         7458 Celosia St                                                                                 Las Vegas               NV       89113
 Austin Edward Swecker                                                                4590 49th Ave S                                    Apt 211                                      Fargo                   ND       58104
 Austin Felt                                                                          4740 Nebraska Ave                                                                               Sanford                 FL       32771
 Austin Marotta                                                                       11155 Orange Blossom Ln                                                                         Boca Raton              FL       33428
 Austin Spear                                                                         812 Mccranie Rd                                                                                 Lakeland                FL       33809



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                        Name                                       Attention                                               Address 1                                     Address 2         Address 3                 City    State      Zip           Country
 Austin Waller                                                                                    3381 Landing view                                                                                    Tavares              FL     32778
 Austin Waller                                                                                    5304 N Clover Dr                                                                                     Menphis              TN     38120
 Australian Taxation Office                                                                       Locked Bag 1793                                                                                      Penrith                     NSW 1793     Australia
 Auto Now Financial Services Inc                                                                  PO Box 28440                                                                                         Tempe                AZ     85285
 Auto Transport, LLC                                                                              3760 Market St #488                                                                                  Salem                OH     97301
 Automatic Data Processing, Inc. ADP                                                              One Adp Blvd                                                                                         Roseland             NJ     07068
 Autumn Trogdon                                                                                   508 Pistachio Place                                                                                  Windor               CA     95492
 Ava Bangert                                                                                      9813 Moon Valley Pl                                                                                  Las Vegas            NV     89134-6738
 Ava Liegel                                                                                       N8325 Dumke Rd                                                                                       Portage              WI     53901
 Ava Thompson                                                                                     19 Kelly St                                                                                          Nashua               NH     03062
 Avalara, Inc                                                                                     255 S Ing St Suite 1800                                                                              Seattle              WA     98104-3320
 Avanti Nutritional Laboratories, LLC                                                             14050 Palmetto Frontage Rd                                                                           Miami Lakes          FL     33016
 Averell Luedecker vs. VPX (2022)               Averell Luedeckerc/o Peter Clifford (Clifford & C 62 Portland Rd                                                                                       Kennebunk            ME     04043
 Avery Allen Evans                                                                                4734 Doris Ave                                                                                       Charlotte            NC     28205
 Avery Diehl Witherow                                                                             2125 Retreat Dr                                                                                      Mechanicsville       VA     23111
 Avery Edison Rosenzweig                                                                          1317 S Terrace Rd                                      Apt T4028A                                    Tempe                AZ     85281
 Avery Emanuel Woods                                                                              1700 San Pablo Rd South                                Apt 1404                                      Jacksonville         FL     32224
 Aviation Assurance, Inc                                                                          16895 SW 59th Ct                                                                                     Ft Lauderdale        FL     33331
 Avliss LLC Scarlet Vasiljevic                                                                    10117 Jacob Pl 202                                                                                   Las Vegas            NV     89144-6588
 AVSC Holding Corporation Audio Visual                                                            5100 N River Rd Suite 300                                                                            Schiller Park        IL     60176
 Award Hero, LLC dba Lou Scalia's Awards                                                          2333 S University Dr                                                                                 Davie                FL     33324
 AXA Equitable Life Insurance Co.                                                                 PO Box 371405                                                                                        Pittsburgh           PA     15250-7405
 AXA Equitable Life Insurance Company                                                             PO Box 1047                                                                                          Charlotte            NC     28201-1047
 Axis Network Cabling                                                                             2901 NW 28th St                                                                                      Lauderdale Lakes     FL     33311
 AXIS Surplus Insurance Company                 c/o Peachtree Special Risk Brokers LLC            3525 Piedmont Rd NE Bldg #5                            Suite 700                                     Atlanta              GA     30305
 Axon Corp                                                                                        PO 73211                                                                                             Cleveland            OH     44193
 AXS Law Group                                                                                    2121 NW 2nd Ave                                                                                      Miami                FL     33127
 Ayana Iman Evans                                                                                 475 North Federal Highway                              Unit 2513                                     Fort Lauderdale      FL     33301
 Aybar Pardo De Figueroa                                                                          1592 Lake Breeze Dr                                                                                  Wellington           FL     33414
 Ayube Hussain                                                                                    2150 Northwest 75th Way                                                                              Pembroke Pines       FL     33024
 Azuma Onyiri                                                                                     885 Union Station Pkwy 3301                                                                          Lewisville           TX     75057-5175
 B & B Distributors, Inc.                                                                         1600 Porter Rd                                                                                       Rock Hill            SC     29730-8608
 B&B Beverage Company                                                                             6401 W Hamilton Park Dr                                                                              Columbus             GA     31909
 B&E Juice, Inc.                                                                                  550 Knowlton St                                                                                      Bridgeport           CT     06608
 B&H Photovideo.com                                                                               1600 N Park Dr                                                                                       Weston               FL     33326-3278
 B.Real Enterprises, Inc. Bruno Campos                                                            9669 Avellino Ave                                                                                    Orlando              FL     32819
 Bacon Grocery Co. Inc.                                                                           1107 West 12 St                                                                                      Alma                 GA     31510
 Bad Daddy, LLC                                                                                   PO Box 676                                                                                           Petoskey             MI     49770
 Baghouse America                                                                                 2415 E Camelback Rd Suite 700                                                                        Phoenix              AZ     85016-4245
 BagPak Poland LLC                                                                                Kondratowicza Str 18183                                                                              Warsaw                      03-285       Poland
 Baileigh Nicole Bockover                                                                         4033 Lindever Ln                                                                                     Palmetto             FL     34221
 Bailey Knaggs                                                                                    300 S Australian Ave                                   Unit 403                                      West Palm Beach      FL     33401
 Baker Distributing Co.                                                                           130 Orion Dr                                                                                         Colchester           VT     05446
 Baker Distributing Co.                                                                           395 N Shrewsbury Rd                                                                                  N Clarendon          VT     05759-9412
 Baker Tilly US, LLP                                                                              PO Box 7398                                                                                          Madison              WI     53707-7398
 Balboa Capital Corporation                                                                       575 Anton Blvd 12th Floor                                                                            Costa Mesa           CA     92626
 Balboa Capital vs. VPX et al. (2018)           Balboa Capital Corporation                        575 Anton Blvd 12th Floor                                                                            Costa Mesa           CA     92626
 Balgas Amerigas Propane LP                                                                       PO Box 965                                                                                           Valley Forge         PA     19482
 Ball Corporation                                                                                 7 Longs Peak Dr                                                                                      Broomfield           CO     80021
 Ball Metal Beverage Container Corp                                                               10 Longs Peak Dr                                                                                     Broomfield           CO     80021
 Ball Metal et al. vs. VPX (2020)               Ball Metal Beverage Container Corp                9300 W 108th Cir                                                                                     Broomfield           CO     80021
 Balpack, Inc.                                                                                    5438 Ashton Ct                                                                                       Sarasota             FL     34233-3403
 Bama Budweiser of Montgomery Selma                                                               1700 Emory Folmar Blvd                                                                               Montgomery           AL     36110-3262
 Bama Budweiser of Sylacauga, Inc. All Things                                                     2400 Highway 280                                                                                     Harpersville         AL     35078-6767
 Bamko, LLC                                                                                       11620 Wilshire Blvd Suite 360                                                                        Los Angeles          CA     90025
 Bang Canada ULC                                                                                  100 King St W                                          Suite 5600                                    Toronto              ON     M5X 1C9      Canada
 Bang Energy Australia PTY LTD                                                                    Level 14 309 Kent St                                                                                 Sydney                      NSW 2000     Australia
 Bang Energy Brazil LTDA                                                                          Andar 12 Sala 10 Conj 121 1765                                                                       Bela Vista                  01311-930    Brazil
 Bang Energy Chile SpA                                                                            Aveninda Vitacura No 2939                              Oficinia 2202                                 Las Condes                  7550011      Chile
 Bang Energy Colombia SAS                                                                         CL 70 BIS 4 41                                                                                       Bogota                                   Colombia
 Bang Holding Corp                                                                                1400 NE Miami Gardens Dr Suite 208                                                                   North Miami          FL    33179
 Bang Jets, LLC                                                                                   1600 N Park Dr                                                                                       Weston               FL    33326-3278
 Bank of America Credit Card                                                                      PO Box 15796                                                                                         Wilmington           DE    19886-5796
 Bank of America, N.A                                                                             100 N Tyron St                                                                                       Charlotte            NC    28255
 Bannon James Hyland                                                                              17552 West Polaris Dr                                                                                Goodyear             AZ    85338
 Banyan Air Services, Inc                                                                         5360 NW 20th Terrace                                                                                 Ft Lauderdale        FL    33309
 Barbara Eline Ceballos Torres                                                                    Carrera 37a Castropol Front Living 2007                                                              Medellin                   050021        Colombia
 Barbara Franciele Woiciechoski                                                                   R Jose Alfredo da Silva                                720 402                                       Prudente             SP    19023-210     Brazil
 Barbara Hopson                                                                                   2730 Silver Creek Dr # 228                                                                           Arlington            TX    76006
 Barbara Margarita Ramirez                                                                        2829 Southwest 13th Ct                                                                               Fort Lauderdale      FL    33312
 Barbara Martins Jardim                                                                           23 Indian Rd                                                                                         Holbrook             MA    02343
 Barbara Ramirez                                                                                  2303 SE 149th Ave                                                                                    Vancouver            WA    98683
 Barbara Ramirez Barbara Eddiesday Rodriguez                                                      2303 SE 149th Ave                                                                                    Vancouver            WA    98683-8518
 Barbera & Watkins                                                                                6701 W 64th St Suite 315                                                                             Overland Park        KS    66202
 BarCodeWiz, INC                                                                                  1013 Ohio Ave                                                                                        Palm Harbor          FL    34683



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                         Name                                  Attention                                     Address 1                               Address 2                                Address 3                            City    State         Zip             Country
 Baring Industries Inc                                                              3249 SW 42nd St                                                                                                                  Ft Lauderdale        FL       33312
 Barrington Chemical Corporation                                                    500 Mamaroneck Ave                                                                                                               Harrison             NY       10528-1633
 Batool Barry                                                                       10120 Sunrise Lakes Blvd                          Apt 303                                                                        Sunrise              FL       33322
 Battery Express                                                                    3401 W Broward Blvd                                                                                                              Lauderhill           FL       33312
 Bava, LLC                                                                          45091 Glengarry Rd                                                                                                               Canton               MI       48188
 Bay Area Distributing Co., Inc.                                                    1061 Factory St                                                                                                                  Richmond             CA       94801-2161
 Bayardo Detrinidad                                                                 5907 113th Terrace East                                                                                                          Parrish              FL       34219
 BayCare Urgent Care LLC                                                            2995 Drew St (East Bldg 2nd Floor)                                                                                               Clearwater           FL        3375
 Baylee Marie Jane Pfister                                                          11464 W Foxfire Dr                                                                                                               Sun City             AZ       85378
 Baylee Wright                                                                      109 W 38th St                                                                                                                    Anderson             IN       46013
 Bayleigh Lusco                                                                     10104 Summit Park Place 101                                                                                                      Louisville           KY       40241
 BB&T Branch Banking & Trust Co.                                                    PO Box 580050                                                                                                                    Charlotte            NC       28258-0050
 BBN Technology Brianna Naranjo                                                     7774 Trent Dr                                                                                                                    Tamarac              FL       33321
 BBX Interativa LTDA                                                                Jardin Cruzeiro do Sul 12-104                                                                                                    Bauru                SP       17030-370    Brazil
 Beal Distributing, Inc.                                                            4815 N Northview Ave                                                                                                             Sioux Falls          SD       57107
 Beal Distributing, Inc.                                                            PO Box 84905                                                                                                                     Sioux Falls          SD       57118-4905
 Bear Communications, Inc                                                           PO Box 670354                                                                                                                    Dallas               TX       75267-0354
 Bearing Distributing Inc BDI                                                       8870 Boggy Creek Rd Suite 600                                                                                                    Orlando              FL       32824
 Bearing Distributors INC                                                           8000 Hub Pkwy                                                                                                                    Cleveland            OH       44125
 Beau Mullins                                                                       5035 North Carefree Cir                                                                                                          Colorado Springs     CO       80917
 Becker & Poliakoff, P.A.                                                           1 East Broward Blvd                                                                                                              Fort Lauderdale      FL       33301
 Becknell Industrial                                                                2750 East 146th St Suite 200                                                                                                     Camel                IN       46033
 Beijing Meishe Network Technology Co Ltd                                           Room 501 5th Flr                                  Xinaote Science and Technology Building    131 West Fourth Ring North Rd       Beijing                       100086       China
 Beleth Burchard                                                                    2706 Genoa Ave                                    Apt J1                                                                         Lubbock              TX       79407
 Beligoy Productions Service LLC                                                    327 SW 27 Rd                                                                                                                     Miami                FL       33129
 Bellavance Beverage Co., LLC                                                       46 Pettengill Rd                                                                                                                 Londonderry          NH       03053
 Belmer Esteban Ospina Son                                                          15504 Sw 11th Terrace                                                                                                            Miami                FL       33194
 Belmer Esteban Ospina Son                                                          8400 S Dixie Hwy                                                                                                                 Miami                FL       33024
 Belmer Ospina Reina Father                                                         #103-00 Casa 5 Ciudad Jardin                      Calle 15a                                                                      Cali                          760001       Colombia
 Belvac Production Machinery, Inc.           Zach Cheatham                          237 Graves Mill Rd                                                                                                               Lynchburg            VA       24502-4203
 Belvac Production Machinery, Inc. vs. VPX   Belvac Production Machinery, Inc       237 GRAVES MILL RD                                                                                                               Lynchburg            VA       24502-4203
 Bemis Company Inc                                                                  PO Box 669                                                                                                                       Neenah               WI       54957-0669
 Bemiss Distributing Co., Inc.                                                      101 S Industrial Parkway                                                                                                         West Union           IA       52175
 Bemiss Distributing Co., Inc.                                                      PO Box 493                                                                                                                       West Union           IA       52175
 Benjamin A Rosenbaum                                                               1001 Lochness Ln                                                                                                                 Garland              TX       75044
 Benjamin A Smyth                                                                   935 Euclid Ave                                    Apt 10                                                                         Miami Beach          FL       33139
 Benjamin A. Muench                                                                 1305 Viburnum Ln                                                                                                                 Winter Park          FL       32792
 Benjamin Abel Lara                                                                 2112 Y Village Dr                                                                                                                Ruskin               FL       33570
 Benjamin Durfee                                                                    6154 Pine Banks Ct                                                                                                               Las Vegas            NV       89141
 Benjamin Ferro Barrenechea                                                         Daniel Alcides Carrion 170                                                                                                       San Isidro                    15076        Peru
 Benjamin Guez                                                                      318 S Detroit St                                  Apt 102                                                                        Los Angeles          CA       90036
 Benjamin James                                                                     3840 NW 188th St                                                                                                                 Miami Gardens        FL       33055
 Benjamin Knobloch                                                                  2235 West De Palma Cir                                                                                                           Mesa                 AZ       85202
 Benjamin Lee Winters                                                               904 SW Cabriolet St                                                                                                              Bentonville          AZ       72712
 Benjamin Thomas Houselog                                                           255 LenceSuiter Av                                                                                                               North Liberty        IA       52317
 Bennett Intellectual Property                                                      4970 4970 SW 8th St                                                                                                              Margate              FL       33068
 Berendes Media, LLC Joshua Berendes                                                7023 Quay St                                                                                                                     Arvada               CO       80003
 Berger Singerman                                                                   1450 Brickell Ave                                                                                                                Miami                FL       33131-3444
 Berkeley Research Group LLC                                                        2200 Powell St Suite 1200                                                                                                        Emeryville           CA       94608-1833
 Berkemeyer Attorney & Counselors                                                   Edificio Jacaranda                                4th Floor Benjamin Constant                                                835 Asuncion                                   Paraguay
 Berkowitz Oliver LLP                                                               2600 Grand Blvd                                                                                                                  Kansas City          MO       64108-4630
 Bernard Miller                                                                     10212 Mimosa Silk Dr                                                                                                             Fort Myers           FL       33913
 Bernard Vernon McNeill                                                             5761 Heritage Oaks Dr                                                                                                            Kannapolis           NC       28083
 Berner Food & Beverage, LLC                                                        5778 Baxter Rd                                                                                                                   Rockford             IL       61109
 Bernhart Law Firm Trust Account                                                    12555 Orange Dr Fl 2                                                                                                             Davie                FL       33330-4304
 Bernick's                                                                          PO Box 7008                                                                                                                      St Cloud             MN       56302
 Bertrand Jean Charles                                                              2861 Somerset Dr # 117                                                                                                           Lauderdale Lakes     FL       33311
 Best Beverages of West Memphis                                                     800 E Barton Ave                                                                                                                 West Memphis         AR       72301-2705
 Best Beverages of West Memphis                                                     PO Box 496                                                                                                                       Verona               VA       24482
 Best Cartage, Inc.                                                                 829 Graves St                                                                                                                    Kernersville         NC       27284
 Best Doors, Inc.                                                                   9780 NW 79th Ave                                                                                                                 Hialeah              FL       33016
 Better Brands, Inc.                                                                908 Jackson St                                                                                                                   Myrtle Beach         SC       29577-3569
 Betty Dort                                                                         720 NW 38th St                                                                                                                   Oakland Park         FL       33309
 Bevcorp LLC                                                                        5655 Paysphere Cir                                                                                                               Chicago              IL       60674
 Beverage Associates Inc.                                                           Edith Ct                                                                                                                         Dayton               NJ       08810
 Beverage Distributors Inc.                                                         3800 King Ave                                                                                                                    Cleveland            OH       44114-3703
 BevNET                                                                             65 Chapel St                                                                                                                     Newton               MA       02458-1010
 BevSource, LLC                                                                     219 Little Canada Rd E                                                                                                           Little Canada        MN       55117-1456
 Beyond Events Maria Carreno                                                        3288 Adams Ave # 16217                                                                                                           San Diego            CA       92176-7010
 Beyond Exclamation Media Tech LLC                                                  7260 W Azure Suite 140                                                                                                           Las Vegas            NV       89130
 Beyond Technologies LLC                                                            201 N Illinois St                                 16th Floor South Tower                                                         Indianapolis         IN       46204
 BFG Corporation                                                                    7211 N McKinley Rd                                                                                                               Lake Forest          IL       60045
 BGP Asociados Ltda.                                                                Calle 25 Norte # 5AN-21 of 21                                                                                                    Cali                                       Colombia
 Bianca Vasilica                                                                    4981 Lunetto Ave                                                                                                                 Las Vegas            NV       89141
 Bianca Wilshin                                                                     30 Nullaburra Rd                                                                                                                 Newport                       NSW 2106     Australia



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                                                                                                        as of October 10, 2022


                        Name                   Attention                                Address 1                                Address 2                  Address 3                City    State        Zip           Country
 Biblica The International Bible Society                       1820 Jet Stream Dr                                                                                       Colorado Springs    CO       80921
 Big Foot Beverage                                             2440 NE 4th St                                                                                           Bend                OR       97701
 Big Foot Beverage                                             86776 Mcvay Hwy                                                                                          Eugene              OR       97405-9611
 Big Horn Beverages Co., Inc.                                  479 Fort Rd                                                                                              Sheridan            WY       82801
 Big Horn Beverages Co., Inc.                                  PO Box 6063                                                                                              Sheridan            WY       82801-1463
 Big Lots Stores, Inc.                                         4900 E Dublin Granville Rd                                                                               Columbus            OH       43081-7651
 Bill Jhon Southerland                                         10437 Stonebank St                                                                                       Bellflower          CA       90706
 Bill's Distributing                                           5900 Packer Dr Ne                                                                                        Menomonie           WI       54751-4940
 Billy D Parker                                                1337 Franklin St                                                                                         Altamonte Springs   FL       32701
 Billy the duck LTD Julius Dein                                1301 6th Ave Fl 10                                                                                       New York            NY       10019
 Bindu John                                                    16400 Golf Club Rd #204                                                                                  Weston              FL       33326
 Bingqing Cai                                                  4178 Cascade Terrace                                                                                     Weston              FL       33332
 BirdEye, Inc                                                  2479 E Bayshore Rd Suite 175                                                                             Palo Alto           CA       94303-3228
 Bisma Gowani                                                  1010 Brickell Ave                                  Apt 2704                                              Miami               FL       33131
 Bisma Gowani                                                  244 BiscayNE Blvd 4308                                                                                   Miami               FL       33132-3504
 BitSight Technologies, Inc.                                   111 Huntington Ave Suite 2010                                                                            Boston              MA       02199-1700
 Biutiful Corp Bruna Luccas                                    3972 Albatross 5T #202                                                                                   San Diego           CA       92103
 BJ's Wholesale Club, Inc.                                     25 Research Dr                                                                                           Westborough         MA       01581-3680
 BKD, LLP                                                      910 E St Louis St                                  Suite 200                   PO Box 1190               Springfield         MO       65806
 Blach Beverage, LLC                                           1530 BeltliNE Rd                                                                                         Redding             CA       96003
 Blach Beverage, LLC                                           PO Box 492050                                                                                            Redding             CA       96049-2050
 Blach Distributing Co. (Elko)                                 131 West Main St                                                                                         Elko                NV       89801
 Blach Distributing LLC (Susanville)                           474-340 Commercial Way                                                                                   Susanville          CA       96130
 Blackmagic Design                                             2875 Bayview Dr                                                                                          Fremount            CA       94538
 BlackRose Fitness,LLC                                         111 Grand Palms Dr                                                                                       Pembroke Pines      FL       33027-1329
 Blair Epstein                                                 140 Orchard St 10                                                                                        New York            NY       10002
 Blair Grieger                                                 1100 HearthstoNE Dr                                                                                      Burleson            TX       76028
 Blake A Gaftunik                                              210 Corbon Ave Se                                                                                        Concord             NC       28025
 Blake A Pereda                                                981 Lakewood Ct                                                                                          Weston              FL       33326
 Blake Chiuminetta                                             4001 Ross Ave 430                                                                                        Dallas              TX       75204
 Blake Cullen                                                  5101 25th Ave NE #B223                                                                                   Seattle             WA       98105
 Blanche Mina                                                  2236 Morning Dew Ct                                                                                      Allen               TX       75013
 Blayne Braden                                                 19711 Honey Bear Ln                                                                                      North Fort Myers    FL       33917
 BLDG.WORKS                                                    PO Box 165332                                                                                            Irving              TX       75016
 Block One Technologies                                        5920 YellowstoNE Rd Suite 1                                                                              Cheyenne            WY       82009
 BLUE CHAINS DESIGN STUDIO INC,                                84 NW 94th St                                                                                            Miami Shores        FL       33150
 Blue Sky Distributors                                         8724 Alameda Park Dr NE Suite F                                                                          Albuquerque         NM       87113
 Blue Stream                                                   PO Box 660932                                                                                            Dallas              TX       75266
 Blue Stream Communications LLC                                12409 NW 35th St                                                                                         Coral Springs       FL       33065
 Blue Wave Communications                                      10330 Usa Today Way                                                                                      Miramar             FL       33025-3901
 Blue Yonder Inc                                               15059 North Scottsdale Rd Suite 400                                                                      Scottsdale          AZ       85254
 Bluffside Media Robert Krager                                 637 S Main St                                                                                            Burbank             CA       91506
 Blujay Solutions, Inc.                                        915 E 32nd St Suite B                                                                                    Holland             MI       49423-9123
 Bobby Derrell Booker                                          314 Rogers Lake Rd E                                                                                     Kannapolis          NC       28081
 Bobby Fisher Distributing, Inc. Speedway                      2024 Selma Pike                                                                                          Springfield         OH       45505
 Bock & Clark Corporation                                      3550 W Market St Suite 200                                                                               Akron               OH       44333
 BodyShocker Sports Supp Warehouse                             Unit 20A Monkspath Business Park                   Highlands Rd                Solihull                  Shirley                      B90 4NY      United Kingdom
 Boeing Digitial Solutions, Inc                                PO Box 840864                                                                                            Dallas              TX       75284-0864
 Bomiao Xu                                                     7414 18th Ave                                                                                            Lemoore             CA       93245
 Bonnie Browman                                                1910 N Ohio St                                                                                           Kokomo              FL       46901
 Boomi, Inc.                                                   1400 Liberty Ridge Dr Suite 200                                                                          Chesterbrook        PA       19087-5571
 Border States Industries Inc. Border States                   NW 7235 Po Box 1450                                                                                      Minneapolis         MN       55485-1450
 Boston Michael Wyatt                                          9372 West Cordes Rd                                                                                      Tolleson            AZ       85353
 Bottling Group, LLC Pepsi Beverage Company                    1111 WestcheSuiter Ave                                                                                   White Plains        NY       10604
 Bottomley Distributing Co. Inc                                755 Yosemite Dr                                                                                          Milpitas            CA       95035
 Bouwers Incorporated                                          No 6 Albury Rd                                                                                           Johannesburg                 2196         South Africa
 Bowen Shi                                                     3827 Persimmon Cir                                                                                       Fairfax             VA       22032
 Bowman Sales & Equipment                                      10233 Governor Ln Blvd                                                                                   Williamsport        MD       21795
 Boye's Gas Service, Inc.                                      PO Box 101265                                                                                            Fort Lauderdale     FL       33310
 BP Products North America/ BP West Coast                      4 Center Pointe Dr Lpr4-246A                                                                             La Palma            CA       90623
 Brad Schaeffer                                                600 Harbor Blvd                                                                                          Weehawken           NJ       07086
 BRADEN TYLER GUYOT                                            19 Quail Hollow Dr                                                                                       Las Vegas           NV       89014
 Bradley C Mills                                               6944 Windwood Trail                                                                                      Fort Worth          TX       76132
 Bradley Douglas Vogel                                         18 Palisades Dr                                                                                          Oak Brook           IL       60523
 Bradley Gasparovich                                           11900 Bunday Dr                                                                                          Jerome              MI       49249
 Bradley R Pasquale                                            1600 N Park Dr                                                                                           Weston              FL       33326-3278
 Bradley Richard Pasquale Jr.                                  1917 East Kathleen Rd                                                                                    Phoenix             AZ       85022
 Bradley T Hovey                                               1600 N Park Dr                                                                                           Weston              FL       33326-3278
 Bradley Thomas Johnson                                        5400 Tinkerbell Ln 1210                                                                                  Fort Worth          TX       76119
 Bradley Tyler Hovey                                           3320 Roundabout Dr                                                                                       Middleburg          FL       32068
 Bradly Castleberry                                            1046 Highland Dr                                                                                         Vista               CA       92085
 Brady J Leiter                                                13538 Santa Anita Ct                                                                                     Herriman            UT       84096
 Brady Smith                                                   5363 Midnight Run                                                                                        Independence        KY       41051
 Brahiam Giraldo                                               2693 SW 137th Ter                                                                                        Miramar             FL       33027-3932
 Brahiam Stivel Giraldo Gutierrez                              2693 Southwest 137th Terrace                                                                             Miramar             FL       33027



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                       Name                                     Attention                               Address 1                               Address 2         Address 3                 City    State         Zip    Country
 Branden C Fisher                                                               3468 Cortez St                                                                                Riverside            CA       92504
 Brandi Hobbs Brandi Nicole                                                     514 SE 6th Terrace                                                                            Cape Coral           FL       33990
 Brandi L Cavinder                                                              6928 S Star Dr                                                                                Gilbert              AZ       85298
 Brandley Daniel Forir                                                          11508 Emelita St 115085                                                                       N Hollywood          CA       91601-1003
 BrandMarketing Services, LTD Dr. Larry                                         5000 Gasparilla Rd                                                                            Boca Grande          FL       33921
 Brando Rafael Ventura Ortega Ventura Twins                                     16225 SW 96th Terr                                                                            Miami                FL       33196
 Brando T. Alibrandi                                                            21 North East 22nd St                            Apt 1006                                     Miami                FL       33127
 Brando T. Alibrandi                                                            7900 Harbor Island Dr                                                                         North Bay Village    FL       33141
 Brandon A Marable                                                              901 South Dobson Rd                              Apt 1046                                     Mesa                 AZ       85202
 Brandon Alan Sawade                                                            4630 Southwest 75th Way                                                                       Davie                FL       33314
 Brandon Cypert                                                                 6202 Coastal Dr                                                                               Mckinney             TX       75071
 Brandon D Day                                                                  11325 SW 15th St                                                                              Pembroke Pines       FL       33025
 Brandon Daniels                                                                628 Pinebranch Cir                                                                            Winter Spgs          FL       32708-5641
 Brandon Grimes                                                                 2430 Titan Dr                                                                                 Akron                OH       44321
 Brandon Haskell                                                                6052 Royal Birkdale Dr                                                                        Lake Worth           FL       33463
 Brandon Jackson                                                                3517 Hines Way                                                                                Oviedo               FL       32765
 Brandon James Luna                                                             10914 Luana Dr North                                                                          Jacksonville         FL       32246
 Brandon Jarrel Greenfield                                                      729 Northwest 9th Ave                            Apt 3                                        Fort Lauderdale      FL       33311
 Brandon Johnson                                                                1901 Callowhill St 729                                                                        Philadelphia         PA       19130
 Brandon Kokes                                                                  9230 Ironwood Way                                                                             Hghlnds Ranch        CO       80129-6432
 Brandon L Webb                                                                 5112 Pamela Dr                                                                                Ft Worth             TX       76116
 Brandon Luvonoczek Roberts                                                     422 Broward St                                                                                Jacksonville         FL       32204
 Brandon M Houston                                                              10275 SW 1St Ct                                                                               Coral Springs        FL       33071
 Brandon Mercado                                                                7116 Pasture Ct                                                                               Rancho Cucamonga     CA       91739
 Brandon Mittrucker                                                             9820 Creekfront Rd                               Apt 208                                      Jacksonville         FL       32256
 Brandon Moore                                                                  1029 Piedmont Ave NE #202                                                                     Atlanta              GA       30309
 Brandon Pass                                                                   429 NE 14th Ave                                                                               Fort Lauderdale      FL       33301
 Brandon R Holmes                                                               1166 South Fresno Ct                                                                          Chandler             AZ       85286
 Brandon R. Bonfiglio                                                           1087 Barnes St                                                                                Franklin Square      NY       11010
 Brandon Rowland-Browland LLC                                                   5208 Lemona Ave 2                                                                             Sherman Oaks         CA       91411
 Brandon Skinner                                                                1930 WincheSuiter Place                                                                       Fayetteville         AR       72701
 Brandon Talton                                                                 140 Veronica Ave                                                                              Sparks               NV       89435
 Brandon Williams                                                               9001 Grand Summit Blvd                           Apt 9307                                     Concord              NC       28027
 Brandun Lee                                                                    78525 Torino Dr                                                                               La Quinta            CA       92253
 Bravo Law                                                                      1555 Bonaventure Blvd                                                                         Weston               FL       33326
 Braxton Kilgo                                                                  18448 County Rd                                                                               May                  TX       76857
 Braxton Kilgo                                                                  2901 Bledsoe St #1243                                                                         Fort Worth           TX       76107
 Brayan Felix                                                                   10712 Lewis Cir                                                                               Westminster          CO       80021
 Brayden Elijah Crabtree                                                        222 East Jefferson St                            Unit 1012                                    Phoenix              AZ       85004
 Breana Clough                                                                  820 Boxelder Ave                                                                              Minneola             FL       34715-6094
 Breana Wrabek                                                                  107 W Potlitzer St                                                                            Pittsburg            KS       66762-5747
 Breanna Elizabeth Wilson                                                       6027 W Saint Moritz Ln                                                                        Glendale             AZ       85306
 Bree Ann Camacho                                                               597 NW 98th Ave                                                                               Plantation           FL       33324
 Breen Acres Aquatics vs. Bang Energy LLC     Breen Acres Aquatics, Inc         2510 A Rd                                                                                     Loxahatchee          FL       33470
 Breen Acres Aquatics, Inc                                                      2510 A Rd                                                                                     Loxahatchee          FL       33470
 Bremerton Bottling Company                                                     5210 1St St                                                                                   Bremerton            WA       98312
 Brendan Allan Merz                                                             2720 N Mildred Ave                               Apt 2                                        Chicago              IL       60614
 Brendan Najee Darmanie                                                         606 North Verona Ave                                                                          Avon Park            FL       33825
 Brenden Hooker                                                                 22979 W Fawn River Rd                                                                         Sturgis              MI       49091
 Brenna Lark Brown                                                              3461 RoSE Ave                                                                                 Long Beach           CA       90807-4923
 Brent Boucaud                                                                  1944 Southwest 101St Ave                                                                      Davie                FL       33324
 Brent Horsager                                                                 2988 Neal Ave                                                                                 San Jose             CA       95128-3331
 Brett Charles Lundeen                                                          106 Stanway Dr                                                                                Knightdale           NC       27545
 Brett David Henry                                                              20183 W Moonlight Path                                                                        Buckeye              AZ       85326
 Brett Hayes                                                                    4631 Meramec Blvd                                                                             Eureka               MO       63025
 Brett Jason Wein                                                               4750 59th St                                     Apt 2F                                       Woodside             NY       11377
 Brett Michael Carroll                                                          7543 Hope Valley                                                                              Las Vegas            NV       89139
 Brett Pendleton                                                                55 Fair Dr Box 1321                                                                           Costa Mesa           CA       92626
 Brett T Beck                                                                   1906 College Ave                                                                              Gainesville          TX       76240
 Brett Taylor                                                                   1812 Chalcedony St                                                                            San Diego            CA       92109
 Brett Williams                                                                 5667 Elmhurst Cir #109                                                                        Oviedo               FL       32765
 Brewers Distributing Company                                                   2421 W TownliNE Rd                                                                            Peoria               IL       61615-1540
 Bria Courseault                                                                23314 Vida Ct                                                                                 Moreno Valley        CA       92553
 Brian A Godman                                                                 15207 North 28th Dr                                                                           Phoenix              AZ       85053
 Brian A Wilk                                                                   25 Abbotts Crossing Rd                                                                        Coventry             RI        2816
 Brian Bedesem                                                                  823 Edge Hill Rd                                                                              Glenside             PA       19038
 Brian Bonacci                                                                  1 Campus Rd Wagner Athletics                                                                  Staten Island        NY       10301
 Brian Carmona                                                                  6913 NW 173rd Dr                                 Apt N-206                                    Hialeah              FL       33015
 Brian Casutto                                                                  673 Northeast 3rd Ave                            Apt 501                                      Fort Lauderdale      FL       33304
 Brian Chad Johnson                                                             10993 Bluffside Dr #2415                                                                      Studio City          CA       91604
 Brian Clinton Shaw                                                             1205 Juniper Ln                                                                               Benbrook             TX       76126
 Brian David Peterson                                                           1509 Rosemont Dr                                                                              Colorado Springs     CO       80911
 Brian Dean Sherrill                                                            7726 W Orangewood Ave                                                                         Glendale             AZ       85303
 Brian Douglas Krauss                                                           65 CherrystoNE Walk                                                                           Suwanee              GA       30024
 Brian Esperon                                                                  409 Carphilly Ct                                                                              Brentwood            TN       37027-2207



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                                                                                                                         as of October 10, 2022


                         Name                                    Attention                                Address 1                                  Address 2         Address 3                 City    State        Zip           Country
 Brian Esperon                                                                   5525 Case Ave                                     PH4                                             North Hollywood      CA       91601
 Brian Eugene Stewart                                                            11441 Magnolia Ave                                Apt 167                                         Riverside            CA       92505
 Brian F. Spector                                                                13551 SW 57 Ct                                                                                    Miami                FL       33156
 Brian K Baker                                                                   21 New Britain Dr                                                                                 Wilton               NY       12831
 Brian King                                                                      1101 Merchants Ct                                 Apt 2A                                          Chesapeake           VA       23320
 Brian Lawrence Kyle                                                             1597 West Beach Plum Dr                                                                           Citrus Springs       FL       34434
 Brian Lee Martin                                                                19222 N 54th Ln                                                                                   Glendale             AZ       85308
 Brian M Addison                                                                 64 Imperial Dr S                                                                                  Mulberry             FL       33860
 Brian M Trevino                                                                 1600 N Park Dr                                                                                    Weston               FL       33326-3278
 Brian Mcirvin                                                                   13562 SW Macbeth Dr                                                                               King City            OR       97224
 Brian Merritt                                                                   9 Hollandale Rd                                                                                   Danbury              CT       06811
 Brian Michael Trevino                                                           240 Lanier Place                                                                                  Clayton              NC       27527
 Brian Peats                                                                     8330 E Quincy Ave                                 Apt F-310                                       Denver               CO       80237
 Brian R King Brian King Fitness                                                 1101 Merchants Ct 2A                                                                              Chesapeake           VA       23320-7413
 Brian Spina                                                                     113 Salmon St                                                                                     Brick                NJ       08723
 Brian Sweeney                                                                   20702 Settlers Point Place                                                                        Sterling             VA       20165
 Brian W Cavanaugh                                                               107 Northfield Dr                                                                                 Pittsburgh           PA       15237
 Briana Delgado                                                                  13407 Brownell St                                                                                 San Fernando         CA       91340
 Briana Fernandez                                                                11427 Southwest 35th Ln                                                                           Miami                FL       33165
 Briana Hightower Bri                                                            10847 W Olive Ave # 2082                                                                          Peoria               AZ       85345
 Briana Massey Hightower                                                         10847 W Olive Ave # 2082                                                                          Peoria               AZ       85345
 Briana N Donaldson                                                              3791 W State Rd 84 102                                                                            Davie                FL       33312-8809
 Briana Patrice Gutierrez                                                        3061 SW 114th Ave                                                                                 Miami                FL       33165
 Briana Trovato Bri                                                              12617 Joseph Ct                                                                                   Grand Blanc          MI       48439
 Brianis Mazon                                                                   9460 Haitian Dr                                                                                   Miami                FL       33189
 Brianna Cornetta                                                                7630 62nd Way North                                                                               Pinellas Park        FL       33781
 Brianna Guerrero                                                                725 W Grand Ave                                   Apt B                                           Porterville          CA       93257
 Brianna Keely Marincovich                                                       1909 Blue Sage Ct                                                                                 Brandon              FL       33511
 Brianna Kource                                                                  10001 SW 12th St                                                                                  Miami                FL       33174
 Brianna Latorre                                                                 311 Cherrywood Ln                                                                                 Edgewater            FL       32132
 Brianna Leigh North                                                             3152 67 th Terrace S                                                                              St Petersburg        FL       33712
 Brianna M Bolanos                                                               16741 Hemingway Dr                                                                                Weston               FL       33326
 Brianna Sargee                                                                  8615 Fletcher Parkway 424                                                                         La Mesa              CA       91942
 Brianne Provenzale                                                              2601 WebSuiter Dr                                                                                 Plano                TX       75075
 Briars USA, Inc. High Grade                                                     891 Georges Rd                                                                                    Monmouth Junction    NJ       08852
 Briars USA, Inc. High Grade                                                     PO Box 7092                                                                                       North Brunswick      NJ       08902
 Brickell Key Court Reporting, LLC                                               333 SE 2nd Ave Suite 2000                                                                         Miami                FL       33131-2185
 Bridget Nichole Lovelace                                                        6500 Vegas Dr                                     Apt 1052                                        Las Vegas            NV       89108
 Briem & Associates, Inc. dba Briem Engineering                                  4134 Rider Trail North                                                                            Earth City           MO       63045
 Brigard & Urrutia Abogados S.A.S                                                Bis #4-41 Calle 70                                                                                Bogota                        110231       Colombia
 Briggs Equipment                                                                10550 N Suitemmons Freeway                                                                        Dallas               TX       75220
 Briggs Equipment vs. VPX et al (2020)          Briggs Equipment                 10550 N Suitemmons Freeway                                                                        Dallas               TX       75220
 Brightfractal, Inc. dba FRACTL                                                  501 SE 2nd St # 1310                                                                              Ft Lauderdale        FL       33301
 Brightfractal, Inc. Fractl                                                      601 N Congress Ave Suite 206                                                                      Delray Beach         FL       33445
 Brimich Logistics & Packaging Inc.                                              418 Henry St                                                                                      Brantford            ON       N3S 7W1      Canada
 Britney Almeida                                                                 12930 SW 56th Terr                                                                                Miami                FL       33183
 Britney Butler                                                                  3725 Vitruvian Way                                Phase 2 Apt 421                                 Addison              TX       75001
 Britni Siwuda                                                                   2155 S 55th St # 2043                                                                             Tempe                AZ       85282
 Brittanie N Ramos                                                               1600 N Park Dr                                                                                    Weston               FL       33326-3278
 Brittanie Nicole Ramos                                                          11888 Banana Ave                                                                                  Fontana              CA       92337
 Brittany Amber Copp                                                             102 Apollo Rd                                                                                     Garland              TX       75040
 Brittany Austin Brittney                                                        4237 Landing Dr 2D                                                                                Aurora               IL       60504
 Brittany Claxton                                                                573 Ogelthorpe Dr                                                                                 Davenport            FL       33897
 Brittany Ellen Toffan                                                           8752 Harbor Cir                                                                                   Terrell              NC       28682
 Brittany Jade Marie Hasseltine                                                  6504 Quintessa Ct                                                                                 Dayton               OH       45449
 Brittany Lakhani                                                                777 N Ashley Dr 1706                                                                              Tampa                FL       33602
 Brittany Nicole Martin                                                          254 North State Highway 360                       Apt 11101                                       Mansfield            TX       76063
 Brittany Oldehoff                                                               6863 NW 26th Ave                                                                                  Ft Lauderdale        FL       33309-1302
 Brittany Oldehoff                                                               853 SW 176th Terrace                                                                              Pembroke Pines       FL       33029
 Brittany Oskey                                                                  7332 Ramber Ave                                                                                   North Port           FL       34291
 Brittanya Razavi Meow Gang Production                                           10300 Mystic Ledge Ct                                                                             Las Vegas            NV       89149
 Brittnee Khalid                                                                 633 Longbeach Rd                                                                                  Garland              TX       75043
 Brittney iten                                                                   1015 S Fraser Way                                                                                 Aurora               CO       80012
 Broad and Cassel                                                                One Financial Plaza                                                                               Fort Lauderdale      FL       33394
 Broad Street Warehouse Assoc                                                    3950 Deep Rock Rd                                                                                 Henrico              VA       23233-1412
 Broad Street Warehouse Associates Broad                                         3950 Deep Rock Rd                                                                                 Henrico              VA       23233-1412
 Brock Matthews                                                                  32201 116th Ave Se                                                                                Auburn               WA       98092
 Brock Sheldon                                                                   38310 S Patterson Rd                                                                              Rosalia              WA       99170
 Brocotish Entertainment, Inc                                                    435 Buena Vista Ave 102                                                                           Alameda              CA       94501
 Brodie Mark Pawson                                                              24 Antrim St                                                                                      Acacia Ridge                  QLD 4110     Australia
 Brook and Whittle Ltd.                                                          20 Carter Dr                                                                                      Guilford             CT       06437-2125
 Brooke Angela Boney                                                             8323 Run Of the Knolls                                                                            San Diego            CA       92127
 Brooke Bridges                                                                  3619 Regal Pl #5                                                                                  Los Angeles          CA       90068
 Brooke Buckman Curry                                                            10340 City Center Blvd                            Apt 106                                         Pembroke Pines       FL       33025
 Brooke Cavinder                                                                 6928 Star Dr                                                                                      Gilbert              AZ       85298



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 Brooke Davis                                                16422 Woodside Gln                                                                                     Parrish               FL       34219
 Brooke Dumas                                                23602 Rollinford Ln                                                                                    Katy                  TX       77494
 Brooke Hall Underscore Talent Management                    11 Anthem Pointe Ct                                                                                    Henderson             NV       89052-6605
 Brooke Ison Brooke Curtis                                   8435 Bruce Ct Nw                                                                                       Canal Winchester      OH       43110
 Brooke Jordan Roberts                                       204 189 Davonport Tce Propsct                                                                          Adelaide                       SA 5082      Australia
 Brooke Lynette Margaret Whitehouse                          141a Flat 2 High St                                                                                    Barnet                         EN55UZ       United Kingdom
 Brooke Offi                                                 3845 Black Mountain Rd                                                                                 Wickenburg            AZ       85390
 Brooke Roberts                                              189 Devonport TCE                                  Unit 204 Prospect 5082                              Adelaide                       SA 5082      Australia
 Brooke Rowley                                               1110 W Kettleman Ln St #13                                                                             Lodi                  CA       95240
 Brooke Souza                                                45-306 Akimala Place                                                                                   Kaneohe               HI       96744
 Brooke Warren-Hall                                          11 Anthem Pointe Ct                                                                                    Henderson             NV       89052
 Brooklyn Gibbons                                            8001 S Langdale Way                                                                                    Aurora                CO       80016
 Brooklyn Harris                                             14356 SW 158th Pl                                                                                      Miami                 FL       33196-6770
 Brooklyn Newell                                             3000 Mountain Creek Pkwy                                                                               Dallas                TX       75211
 Brookshire Brother's LTD                                    PO Box 1688                                                                                            Lukfin                TX       75902
 Brookshire Grocery Company                                  PO Box 1411                                                                                            Tyler                 TX       75710-1411
 Brothers Plumbing Heating & Electric                        12249 Pennsylvania St                                                                                  Thornton              CO       80241
 Broward County Board of Commissioners                       2401 N PowerliNE Rd                                                                                    Pompano Beach         FL       33069
 BROWARD COUNTY BOARD OF COUNTY                              115 S Andrews Ave # 421                                                                                Ft Lauderdale         FL       33326
 Broward County Local - Business Tax                         115 S Andrews Ave Rm A-100                                                                             Ft Lauderdale         FL       33301-1895
 Broward County Tax Collector - TAX                          115 S Andrews Ave Suite A100                                                                           Ft Lauderdale         FL       33301-1895
 Broward County Tax Collector- TAG Renewal                   1800 NW 66th Ave Suite 100                                                                             Plantation            FL       33313-4523
 Broward Motorsports of Davie                                4101 Davie Rd Ext                                                                                      Hollywood             FL       33024
 Broward Paper & Packaging, INC.                             1201 NE 45th St                                                                                        Fort Lauderdale       FL       33310
 Broward Sheriff's Office                                    2601 W Broward Blvd                                                                                    Ft Lauderdale         FL       33312
 Brown & Brown of Florida Inc.,                              1201 W Cypress Creek Rd Suite 130                                                                      Fort Lauderdale       FL        3330
 Brown Bottling Group, Inc.                                  PO Box 3186                                                                                            Ridgeland             MS       39158
 Brown Distributing Company Speedway                         51 Swans Rd                                                                                            Newark                OH       43055
 Brown, Brittany                                             17101 Tiffany Cir                                                                                      Huntington Beach      CA       92649
 BRT SpartanNash, LLC                                        850 76th St Sw                                                                                         Grand Rapids          MI       49518
 Bruce Nielson                                               1182 W 200 N B409                                                                                      Centerville           UT       84014
 Bruce Taylor                                                16565 Northwest 6th St                                                                                 Pembroke Pines        FL       33028
 Bruhitszach LLC Zach Clayton                                1001 Keeshond Pl                                                                                       Round Rock            TX       78664
 Brumm, Vega & Associates, Inc.                              12864 BiscayNE Blvd # 438                                                                              North Miami           FL       33181-2007
 Bruna Lima                                                  1818 Hollywood Blvd                                Unit 1011                                           Hollywood             FL       33020
 Bruna Luccas                                                3300 NE 188th St                                   Apt 613                                             Aventura              FL       33180
 Bruna Luiza Albuquerque Moreira                             7640 Ripplepointe Way                                                                                  Orlando               FL       34786
 Bruna Rangel Lima                                           202 Coconut Creek Ct                                                                                   Indian River Shores   FL       33073
 Bruno Berti                                                 Av Ipanema 1775                                                                                        Sorocaba                       18070-631    Brazil
 Bruno E. Montes                                             23729 Stagecoach Way                                                                                   Valencia              CA       91354
 Bruno R Paolina                                             1600 N Park Dr                                                                                         Weston                FL       33326-3278
 Bruno Richard Paolina                                       57 Remington Dr                                                                                        Washington            PA       15301
 Bryan A Fite                                                708 Belle Dr                                                                                           N Myrtle Bch          SC       29582-4396
 Bryan Adams Fite                                            806 West 5th St                                    Apt 219                                             Charlotte             NC       28202
 Bryan Anderson                                              6642 Northwest 70th Ave                                                                                Tamarac               FL       33321
 Bryan Caldwell                                              3523 South Bridgeview Ln                                                                               Syracuse              UT       84075
 Bryan Carlin                                                129 Eagle Valley Dr                                                                                    Lyons                 CO       80540
 Bryan Coffigny                                              460 Lark Ave                                                                                           Miami Springs         FL       33166
 Bryan Comora                                                813 BRdway St 302                                                                                      Cincinnati            OH       45202
 Bryan Contreras                                             5343 Virginia Ave 21                                                                                   Los Angeles           CA       90029
 Bryan David Conley                                          2896 Majestic Oaks Ln                                                                                  Green Cove Springs    FL       32043
 Bryan Eichorn                                               1418 45th Ave                                                                                          Greeley               CO       80634
 Bryan Matthew Bernard                                       3126 Dwight Ave                                                                                        Far Rockaway          NY       11691
 Bryan Ramirez                                               6714 E Vernon Ave                                                                                      Scottsdale            AZ       85257
 Bryan Ray Sanders                                           16119 West Adams St                                                                                    Goodyear              AZ       85338
 Bryan Shane Dees                                            12148 Bella Palazzo Dr                                                                                 Fort Worth            TX       76126
 Bryana Danielle Louise Sarmento                             5110 South Manhattan Ave                           Apt 4204                                            Tampa                 FL       33611
 Bryanna Capoy                                               3504 Dorsey Ln                                                                                         Pearland              TX       77584
 Bryanna Williams                                            410 Santa Fe St Se                                                                                     Live Oak              FL       32064
 Bryce Buse                                                  34627 Cattail Dr                                                                                       Eustis                FL       32736-2229
 Bryce Parker                                                7210 Fox ChaSE Way                                                                                     Cumming               GA       30040
 Bryeanna (Anna) Richards)                                   1700 Kingland St                                                                                       Stephenville          TX       76401
 Brylee Cup                                                  903 Mackenzie Dr                                                                                       Maryville             TN       37804
 Bryn Aarflot AS                                             Stortingsgata 8                                                                                        Oslo                           0161         Norway
 Bryson D. Clark                                             480 Oak Grove Clover Hill Church Rd                                                                    Lawndale              NC       28090
 Bryson Everett Heath                                        906 E Roma Ave B                                                                                       Phoenix               AZ       85014
 BTG Spedition und Logistik GmbH                             Iz No Sud                                          Strassee                    Objekt 32               Wiener Neudorf                 2355         Austria
 Buc-ee's Ltd.                                               327 Fm 2004 Rd                                                                                         Lake Jackson          TX       77566-4980
 Buck Distributing                                           15827 Commerce Ct                                                                                      Uppr Marlboro         MD       20774-7400
 Bucket List Fishing charters                                144 North Hammock Rd                                                                                   Islamorada            FL       33036
 Bud Distributing Inc. - Dowagiac                            52332 M 51 N                                                                                           Dowagiac              MI       49047
 Bud Griffin Customer Support                                8220 E Gelding Dr                                                                                      Scottsdale            AZ       85260
 Budweiser Distributing Company Amarillo                     100 S Philadelphia St                                                                                  Amarillo              TX       79104-1023
 Budweiser Distributing Company Amarillo                     PO Box 9358                                                                                            Amarillo              TX       79105
 Budweiser of Chattanooga See 1000426                        200 Shearer St                                                                                         Soddy Daisy           TN       37379



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 Budweiser of Spartanburg                                        6645 Pottery Rd                                                                                        Spartanburg             SC       29303-6752
 Budweiser- The Hand Family Co.                                  200 Shearer St                                                                                         Soddy Daisy             TN       37379-4323
 Budweiser- The Hand Family Co.                                  2059 Wilma Rudolph Blvd                                                                                Clarksville             TN       37040
 Budweiser- The Hand Family Co.                                  307 Sequoia Dr                                                                                         Hopkinsville            KY       42241
 Budweiser- The Hand Family Co.                                  3353 A Williams EnterpriSE Dr                                                                          Cookeville              TN       38506
 Budweiser-Busch Distributing Co, Inc                            1050 E I65 Service Rd N                                                                                Mobile                  AL       36617-1548
 Bueno Beverage Co. - Sequoia Beverage                           PO Box 5025                                                                                            Visalia                 CA       93278-5025
 BUFF Enterprises LLC DBA Supplement                             2091 Fenton Logistics Park                                                                             Fenton                  MO       63026-2507
 Buffalo Rock Company                                            PO Box 2247                                                                                            Birmingham              AL       35201
 Buquet Distributing Company                                     100 Eagles Nest Ct                                                                                     Houma                   LA       70360
 Burke Distributing Co LLC                                       40 Chiefs Way                                                                                          Randolph                MA       02368
 Burke Distributing Co LLC                                       89 Teed Dr                                                                                             Randolph                MA       01501
 Burr & Forman LLP                                               PO Box 380                                                                                             Tampa                   FL       33601
 Business Automation Associates, Inc.                            11811 N Tatum Blvd Suite 3031                                                                          Phoenix                 AZ       85028
 Butemix Audio Inc Jose Marquez                                  1750 NW 107 Ave M-609                                                                                  Miami                   FL       33172
 BV's Cleaning Service Brigida Vargas                            906 S 16th St                                                                                          Rogers                  AZ       72758
 BW Gas & Convenience Retail, LLC                                138 Conant St                                                                                          Beverly                 MA       01915
 BW Integrated Systems                                           25244 Network Pl                                                                                       Chicago                 IL       60673-1252
 Byline Financial Group                                          Bin 88205                                                                                              Milwaukee               WI       53288-8205
 ByoPlanet International,LLC                                     1305 Shotgun Rd                                                                                        Sunrise                 FL       33326
 Byrd Campbell, P.A.                                             180 Park Ave North                                                                                     Winter Park             FL       32789
 Byron Sean Cousin                                               8031 Pike Rd                                                                                           Charlotte               NC       28262
 C & C Distributors, Inc.                                        101 Second St                                                                                          Newport                 AR       72112-3451
 C & H Distribution Co.                                          1272 E 500 S                                                                                           Vernal                  UT       84078-2824
 C&E Underground Solutions Inc.                                  15308 SW 40th Ct                                                                                       Miramar                 FL       33027
 C. Zirkle                                                       3408 NW 68th Ct                                                                                        Ft Lauderdale           FL       33309
 C.H. Robinson                                                   1400 Abbot Suite 420                                                                                   East Lansing            MI       48823
 C.H. Robinson                                                   PO Box 9121                                                                                            Minneapolis             MN       55480-9121
 C.H. Robinson International                                     14701 Charlson Rd Suite 2400                                                                           Eden Prairie            MN       55347
 C.H.R. CORP RUTTER'S FARM STORES                                2295 Susquebanna Trail Suite C                                                                         York                    PA       17404
 C89 Productions, LLC Curtis Child                               3601 NW 206th St                                                                                       Miami                   FL       33056
 Cabot Industrial Value Fund VI Operating CIVF                   One Beacon St Suite2800                                                                                Boston                  MA       02108
 CAC Specialty                                                   50 Fillmore St Suite 450                                                                               Denver                  CO       80206
 CACH, LLC                                                       815 NW 57th Ave Suite 401                                                                              Miami                   FL       33126-2363
 Cache Creek Foods, LLC                                          PO Box 180                                                                                             Woodland                CA       95776-0180
 Caden McGuire                                                   8015 N Cedar Ln                                                                                        Gnadenhutten            OH       44629-9729
 Caden Samuel Novikoff                                           1316 Calle Ultimo                                                                                      Oceanside               CA       92056
 Cadence, Inc.                                                   9 Technology Dr                                                                                        Staunton                VA       24401-3500
 Caffey Distributing Inc.                                        8749 W Market St                                                                                       Greensboro              NC       27409-9653
 Cagri Karakus                                                   Halfmannstrabe 107                                                            Nordrhein-Westfahlen     Duisburg                         47167        Germany
 Caio De Simone Teixeira Leite                                   1011 Bill Beck Blvd                                                                                    Kissimee                FL       34744
 Caio Teixeira                                                   4700 Solara Cir                                   Apt 789323                                           Sanford                 FL       32771
 Caitlin Andrews                                                 424 East 36th St #220                                                                                  Charlotte               NC       28205
 Caitlin Malone                                                  389 Ealge View Dr                                                                                      Ringgold                GA       30736
 Caitlin Matthews                                                38 Lyon Crescent Lorraine                                                                              Port Elizabeth                   6025         South Africa
 Caitlin OConnor Purdy                                           746 South Los Angeles St 903                                                                           Los Angeles             CA       90014
 Caitlin Wheeler                                                 12835 Burbank Blvd                                                                                     Valley Village          CA       91607
 Caitlin Yakopin                                                 186 Moger Dr                                                                                           Washington              PA       15301
 Caitlyn Floyd                                                   11192 62nd Ln N                                                                                        West Palm Beach         FL       33412
 Caitlyn Messina                                                 174 Delmont Ave                                                                                        Warminster              PA       18974
 Caja 59 Film House                                              Apt 101 Altos de Arroyo Hondo Av                                                                       Republica De Colombia            10           Colombia
 Caleb Luke Adair                                                2820 Lexington Ct                                                                                      Oviedo                  FL       32765
 Caleb Porter                                                    1506 S 20th St                                                                                         Philadelphia            PA       19146
 Caleb Samol                                                     5619 Forest Av                                                                                         Parma                   OH       44129
 Caleb Simpson                                                   218 thompson St # 10                                                                                   New York                NY       10012
 Caleb William Wyninger                                          1221 Common St                                                                                         Lake Charles            LA       70601-5253
 Caleb Wyninger                                                  1221 Common St                                                                                         Lake Charles            LA       70601
 California Alcoholic Beverage Control                           3927 LennaNE Dr Suite 100                                                                              Sacramento              CA       95834-2917
 California Department of Tax and fee                            PO Box 942879                                                                                          Sacramento              CA       94279-6001
 California Office of the Attorney General                       PO Box 944255                                                                                          Sacramento              CA       94244-2550
 California State University Northridge                          18111 Nordhoff StBh413                                                                                 Northridge              CA       91330-8214
 Call it 219Whopperia, Inc                                       4770 BiscayNE Blvd Suite 400                                                                           Miami                   FL       33137
 Caloujery Prosper                                               2601 Northwest 47th Terrace                                                                            Lauderdale Lakes        FL       33313
 CalRecycle                                                      PO Box 2711                                                                                            Sacramento              CA       95812-2711
 Cal's Convenience, Inc.                                         7460 Warren Parkway Suite 310                                                                          Frisco                  TX       75034
 Calvin Boling                                                   828 Euclid St                                                                                          Yukon                   OK       73099
 Calvin, Giordano & Associates, Inc                              1800 Eller Dr Suite 600                                                                                Ft Lauderdale           FL       33316
 Calvyn Marcus Beck                                              155 E Butter Rd                                                                                        York                    PA       17404-9628
 Cambria Signor                                                  1236 BlackstoNE Ct Nw                                                                                  Concord                 NC       28027
 Cambx LLC Camilo Moreno                                         108 NW 9th Terrace 201                                                                                 Hallandale Beach        FL       33009
 Camden Grace Morris                                             2106 Sharondale Dr                                                                                     Nashville               TN       37215
 Camen J. Scilluffo                                              1918 West Grace St                                                                                     Tampa                   FL       33607
 Cameron Bryant                                                  3141 Tidal Bay Ln                                                                                      Virginia Beach          VA       23451
 Cameron Casey                                                   1320 Briarwood Ln                                                                                      Northbrook              IL       60062
 Cameron Christopher Becnel                                      85 S Union Blvd 661                                                                                    Lakewood                CO       80228



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                         Name                   Attention                                 Address 1                               Address 2         Address 3                 City    State        Zip              Country
 Cameron Cordova                                                3415 Red Candle                                                                                 Spring               TX       77388
 Cameron Eckberg                                                3447 NE FieldstoNE Ct                                                                           Bedn                 OR       97701
 Cameron Edward Bramer                                          1744 Queens Dr                                                                                  South Park           PA       15129
 Camila Cuesta                                                  3951 NW Flagler Terrace                                                                         Miami                FL       33126
 Camila Garcia                                                  3380 Southwest 139th Ave                                                                        Miami                FL       33175
 Camila Monsalve                                                4003 Kiawa Dr                                                                                   Orlando              FL       32837
 Camila Wirshing                                                8001 Southwest 148th Dr                                                                         Palmetto Bay         FL       33158
 Camille M Acevedo                                              281 NW 151St Ave                                                                                Pembroke Pines       FL       33028
 Camilo A. Samaniego                                            1326 E Saint Charles Ave                                                                        Phoenix              AZ       85042-4448
 Camilo Humberto Novoa-Mera                                     7344 Arlington Garden St                                                                        Las Vegas            NV       89166
 Camilo Samaniego                                               1326 East Saint Charles Ave                                                                     Phoenix              AZ       85042
 Campbell Fletcher                                              10012 County Rd 1230                                                                            Flint                TX       75762
 Campbell Wrapper Corp.                                         1415 FortuNE Ave                                                                                De Pere              WI       54115
 Campus Protein, Inc.                                           4840 Centennial Blvd #201                                                                       Nashville            TN       37209
 CAMPUSdirekt                                                   KurfurSuitendamm 52                                                                             Berlin                        10707        Germany
 Camren Q Kelly                                                 5270 NW 88th Ave 103                                                                            Lauderhill           FL       33321
 Canada Dry Bottling CO of Lansing, INC                         5206 Pierson Highway                                                                            Lansing              MI       48917
 Canada Dry Royal Crown of Scranton Penn                        1010A Underwood Rd                                                                              Olyphant             PA       18447
 Canada Revenue Agengy                                          875 Heron Rd                                                                                    Ottawa               ON       ON K1A 1A2   Canada
 Canal Alarm Devices, Inc. Surveillance Video                   731 Union Parkway                                                                               Ronkonkoma           NY       11779
 Candace Grey                                                   6234 Crowfoot Valley Rd                                                                         Parker               CO       80134
 Candice Henricks                                               3737 Somerville Dr                                                                              Saint Charles        MO       63303
 Candice Kryzaniak                                              1416 Cross Bow Ln                                                                               Spring Hill          FL       34607
 Candy Ken LLC Jakob Hellrigl                                   427 12 N Curson Ave                                                                             Los Angeles          CA       90036-2342
 Candy Ken LLC Joselyn Santos Salazar                           427 12 N Curson Ave                                                                             Los Angeles          CA       90036-2342
 Canon Financial Services, Inc.                                 14904 Collections Center Drive                                                                  Chicago              IL       60693-0149
 Canon Solutions American                                       15004 Collections Center Dr                                                                     Chicago              IL       60693-0150
 Capitol Beverage Sales, LP                                     20240 S Diamond Lake Rd                                                                         Rogers               MN       55374-4912
 Capitol Beverage Sales, LP                                     6982 Hwy 65 Ne                                                                                  Fridley              MN       55432
 Capitol Distributing, Inc.                                     1920 S Kcid Rd                                                                                  Caldwell             ID       83605
 Capitol Records, LLC                                           1750 Vine St                                                                                    Los Angeles          CA       90028
 Capreesa Pilgrim                                               6430 Verner Ave                                    Apt 114                                      Sacramento           CA       95841
 Capsule Supplies LLC                                           PO Box 280                                                                                      Philmont             NY       12565-0280
 Capsuline Inc. Ajix, Capscanada                                3236 SW 30th Ave                                                                                Ft Lauderdale        FL       33312-6714
 Captive-8 Inc Captive8 Promotions                              102 West 38th St 5th Floor                                                                      New York             NY       10018
 Cara Ramos                                                     214 South Keystone                                                                              Burbank              CA       91506
 Cardenas Market LLC                                            2501 E Guasti Rd                                                                                Ontario              CA       91761
 Cardin Distributing Company,Inc                                1219 W College St                                                                               Pulaski              TN       38478-3640
 Cardinal Distributing, LLC                                     269 Jackrabbit Ln                                                                               Bozeman              MT       59718-9487
 CareerBuilder, LLC                                             13047 Collection Center Dr                                                                      Chicago              IL       60693-0130
 CareersInFood.com                                              195 Raymond Hill Rd Suite D                                                                     Newman               GA       30265
 Carey Distributors Inc.                                        PO Box B                                                                                        Fruitland            MD       21826-0030
 Carey Miller                                                   4700 Solara Cir                                    Apt 3033                                     Sanford              FL       32771
 Cargill, Incorporated                                          PO Box 741034                                                                                   Atlanta              GA       30384-1034
 Carissa Ferguson                                               705 Stonebriar Ave                                                                              Raeford              NC       28376
 Carissa Lords Carissa Brooklyn                                 343 S 500 E 515                                                                                 Salt Lake City       UT       84102
 Carla Adams                                                    9920 Northwest 6th Ct                                                                           Plantation           FL       33324
 Carla Andreina Ponceleon                                       4110 Forest Dr                                                                                  Weston               FL       33332
 Carla C.Field Rondon                                           Infinity Carrera 18 a #112-28                      Apt 202                                      Bogota                        33172        Colombia
 Carla Field                                                    600 E 1626 Rd                                      Apt 2103                                     Austin               TX       78748
 Carla Lopez                                                    100 Lincoln Rd                                     Apt 518                                      Miami Beach          FL       33139
 Carla Maria Gomez                                              221 Camilo Ave                                                                                  Coral Gables         FL       33134
 Carla Nery-Carreno                                             2655 Collins Ave #Ph07                                                                          Miami                FL       33140
 Carla Van Zyl                                                  8 Bushbuck Ridge                                                                                Pinetown                      3610         South Africa
 Carlene L St. Rose                                             500 SW 145th St                                    Apt 354                                      Pembroke Pines       FL       33027
 Carley Shaye Sokol                                             3625 E Ray Rd #1017                                                                             Phoenix              AZ       85044
 Carlin A Tucker                                                1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Carlin Andrew Tucker                                           1205 Tree Lodge Parkway                                                                         Lithia Springs       GA       30122
 Carlos Andrés Gutiérrez de Piñeres                             12421 SW 50th Ct                                   Apt 303                                      Miramar              FL       33027
 Carlos Andres Guzman Castaneda                                 3364 Deer Creek Alba Cir                                                                        Deerfield Beach      FL       33442
 Carlos Batista Gonzalez                                        2982 Clipper Cove Ln                               Apt 102                                      Kissimmee            FL       34741
 Carlos D Zamora                                                315 N Hansbarger St                                                                             Everman              TX       76140
 Carlos de Santana Carneiro Filho                               Rua Pierina Peruzzo                                Apt 27                                       Sao Paulo            SP       05353-2 10   Brazil
 Carlos Duranza Jr                                              5841 Southwest 119th Ave                                                                        Cooper City          FL       33330
 Carlos E Alonso                                                9530 Shadow Spring Dr                                                                           Moreno Valley        CA       92557
 Carlos E Rodriguez Sanchez                                     17169 Southwest 49th Place                                                                      Miramar              FL       33027
 Carlos Ernesto Gonzalez                                        8302 NW 7th St #13                                                                              Miami                FL       33126
 Carlos Garza                                                   3010 Calla Lily Trail                                                                           Richmond             TX       77406
 Carlos Gutierrez-Pacheco                                       2480 Valley View Dr                                                                             Denver               CO       80221
 Carlos Herrera                                                 12943 Harding St                                                                                Sylmar               CA       91342
 Carlos Mandela Jones                                           4304 Sawyer Cir                                    Apt A                                        St Cloud             FL       34772
 Carlos McLiberty                                               15780 NE 15th Ct                                                                                North Miami Beach    FL       33162
 Carlos Moreno                                                  7902 Fm3396                                                                                     Kemp                 TX       75143
 Carlos Ornelas Hernandez                                       3210 North 50th Dr                                                                              Phoenix              AZ       85031
 Carlos R Canard                                                9180 Northwest 37th Place                                                                       Coral Springs        FL       33065



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                       Name                  Attention                               Address 1                               Address 2         Address 3                City    State         Zip          Country
 Carlos Riba                                                 406 Lock Rd #18                                                                               Deerfield Beach     FL       33442
 Carlos Sierra                                               9399 NW 121 Terr                                                                              Hialeah Gardens     FL       33018
 Carlos Talamantes                                           10534 West Zak Rd                                                                             Tolleson            AZ       85353
 Carmen (Valeria) Quintero                                   30 Laurel Canyon Village Cir                     Apt 2104                                     Canton              GA       30114
 Carol Brown                                                 11131 N Lakeview Dr                                                                           Pembroke Pines      FL       33026
 Carol Zuniga                                                2342 Liberty St                                                                               Hollywood           FL       33020
 Carolina Beverage Group, LLC                                PO Box 1183                                                                                   Mooresville         NC       28115
 Carolina Carruyo                                            12421 SW 50th Ct 327                                                                          Miramar             FL       33027
 Carolina Eagle                                              1950 N GreeNE St                                                                              Greenville          NC       27834
 Carolina Eagle                                              3231 N Wesleyan Blvd                                                                          Rocky Mount         NC       27804
 Carolina Isabel Echeverria                                  10-12 Ave Aguas Buenas Urb                       Santa Rosa                                   Bayamon             PR       00959
 Carolina Pico Rios                                          Carrera 80 a #32 d-02                            Apt 302                                      Medellin                     50031        Colombia
 Carolina Realty Signs, Inc.                                 2925 Beatties Ford Rd                                                                         Charlotte           NC       28216
 Caroline Byron                                              16 Warwick Park Ln                                                                            Edwardsville        IL       62025
 Caroline De Campos                                          2016 Ivar Ave                                                                                 Los Angeles         CA       90068
 Caroline De Campos                                          2397 Wind Gap                                                                                 Clearwater          FL       33765
 Caroline Elizabeth Bedford                                  11150 Heron Bay Blvd                             Apt 523                                      Coral Springs       FL       33076
 Caroline Hagan                                              98 Scotland Rd                                                                                Reading             MA        1867
 Caroline Maria Derpienski                                   3236 NE 13th St                                                                               Pompano Beach       FL       33062-8106
 Caroline Nancy D' Alessio                                   935 Oasis Palm Cir                               Apt 3404                                     Ocoee               FL       34761
 Caroline Nancy D'Alessio                                    935 Oasis Palm Cir 3404                                                                       Ocoee               FL       34761
 Caroline O'Connell Law                                      27 Pye Brook Ln                                                                               Boxford             MA       01921-1819
 Caroline Party LLC Diana Marcoccia                          11201 NW 89th St 214                                                                          Doeal               FL       33178
 Caroline Susan Zalog                                        1425 Clark Ave 223                                                                            Long Beach          CA       90815
 Caroline Vargas                                             2601 NW 23rd Blvd 161                                                                         Gainesville         FL       32605
 Caroline Zimmerman                                          7201 Ranch Rd 2222                                                                            Austin              TX       78730-3208
 Carpet Cleaning Delux                                       1100 NE 1St Ave Suite B                                                                       Fort Lauderdale     FL       33304
 Carrollton Texas                                            1601 Wallace Dr                                                                               Carrollton          TX       75006
 Carrollton-Farmers Branch I.S.D                             PO Box 208227                                                                                 Dallas              TX       75320-8227
 Carson Caroline Smith                                       2735 Orleans Ave                                                                              New Orleans         LA       70119
 Carson Gutierrez                                            1189 Beall Ave                                   Campus Box 1683                              Wooster             OH       44691
 Carson Nicole Edwards                                       1350 North 77th St                                                                            Scottsdale          AZ       85257
 Carson T Evans                                              15645 North 35th Ave                             Apt 310                                      Phoenix             AZ       85053
 Carsten Gauslow                                             8018 Deerwood Cir                                                                             Tampa               FL       33610
 Carter Jamison LLC                                          3112 NW 184th St                                                                              Edmonds             OK       72012
 Cascabel Grip & Lighting                                    1566 NE 104th St                                                                              Miami Shores        FL       33138-2666
 Cascade Columbia                                            14200 SW Tualatin Sherwood Rd                                                                 Sherwood            OR       97140-9624
 Case Law Reporting, Inc.                                    7001 SW 13th St                                                                               Pembroke Pines      FL       33023
 Casey Elise Hillman                                         15409 Shonan Gold Dr                                                                          Winter Garden       FL       34787
 Casey James Howard                                          1163 West Spur Ave                                                                            Gilbert             AZ       85233
 Casey L Rogers                                              1600 N Park Dr                                                                                Weston              FL       33326-3278
 Casey Lauren Wojciechowski                                  812 NE 8th Ave #3                                                                             Delray Beach        FL       33483
 Casey Lee Rogers                                            802 North Luther Rd                                                                           Candler             NC       28715
 Casey Louise Costelloe                                      11a Maas Parade                                                                               Forresters Beach             NSW 2260     Australia
 Casey Stackles                                              406 Stuyvesant St                                                                             Forked River        NJ       08731
 Casey's General Stores                                      One Convenience Blvd                                                                          Ankeny              IA       50021-9672
 Casey's General Stores, Inc.                                1 SE Convenience Blvd                                                                         Ankeny              IA       50021
 Casey's General Stores, Inc.                                PO Box 3001                                                                                   Ankeny              IA       50021-8045
 Cassandra Garcia                                            9124 SW 180th St                                                                              Miami               FL       33157
 Cassandra Holland Cassie                                    9486 Whitewater Crest Ct                                                                      Las Vegas           NV       89178
 Cassandra Hooks                                             4525 S BRdway Rd                                                                              Braceville          IL       60407
 Cassandra Laoudis                                           1945 S Ocean Dr 707                                                                           Hallandale Beach    FL       33009
 Cassandra Manner                                            44-547 Kaneohe Bay Dr - B                                                                     Kaneohe             HI       96744
 Cassandra Peterson                                          4720 Seminole Dr #2117                                                                        San Diego           CA       92115
 Cassandra Ramaker                                           9902 Triple Crown Cir                                                                         Orlando             FL       32825
 Cassidey Payne                                              8283 Willis Ave 27                                                                            Panorama City       CA       91402
 Cassidy Ann Scott                                           6874 Burgess Dr                                                                               Stansbury Park      UT       84074
 Cassidy Chaleonsouk                                         7428 Edgestone Ln                                                                             Denver              NC       28031
 Cassidy Fukuda                                              12146 Palmer Dr                                                                               Moorpark            CA       93021
 Cassidy Lee Doss                                            5200 SW 89th Terrace                                                                          Cooper City         FL       33328
 Cassidy Payne                                               6041 Variel Ave                                  Apt 505                                      Woodland Hills      CA       91364
 Cassidy R Gierschke                                         313 Bahamas Ave                                                                               Temple Terrace      FL       33617
 Cassidy Swanson                                             11782 Indian Hills Ln                                                                         Victorville         CA       92392
 Cassidy Wachter                                             613 S Canvasback Way                                                                          Meridian            ID       83642
 Cassie Selby                                                370 SE 2nd Ave #G6                                                                            Deerfield Beach     FL       33441
 Cassius Morton                                              1163 W Peachtree NE #2805                                                                     Atlanta             GA       30309
 Castle Global, Inc Hive                                     575 Market St15th Floor                                                                       San Francisco       CA       94105
 Catalina Maya                                               4150 Hardie Ave                                                                               Miami               FL       33133
 Catalina Real                                               660 Stanton Dr                                                                                Weston              FL       33326
 Catalina Restrepo Isaza                                     Sur #44-20                                       Calle 11                                     Medellin                                  Colombia
 Category Solutions                                          1745 Rosamond St                                                                              Petaluma            CA       94954
 Catherine Christine Gago                                    2350 Peach Ct                                                                                 Pembroke Pines      FL       33026
 Catherine Claire Waddington                                 19855 E Sonoqui Blvd                                                                          Queen Creek         AZ       85142
 Catherine Paola Roldan Castro                               J1 cBeacon Cambridge Park                                                                     San Juan                     00926        Puerto Rico
 Catherine Spencer                                           1655 Plymouth Dr                                                                              Bettendorf          IA       52722



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 Cayden Trace Jaeger                                             7211 Boxelder Ct                                                                                Jacksonville             FL       32244
 Cayden Wolfe                                                    136 Kaziar Cir                                                                                  Hyaden                   AL       35079
 CDW Direct, LLC                                                 PO Box 75723                                                                                    Chicago                  IL       60675-5723
 CE Avionics, Inc                                                2789 FlightliNE Ave                                                                             Sanford                  FL       32773
 Cece (Cassondra) Noyen                                          3766 Southview Dr #258                                                                          San Diego                CA       92117
 Ceci Warren                                                     519 Indian Creek Dr                                                                             Trophy Club              TX       76262
 Cedestoni Ayuri Salazar                                         951 South Beach Blvd                               Apt J4081                                    La Habra                 CA       90631
 Cedric Brandon Green                                            270 Gordon St                                                                                   St George                GA       30562
 CEFCO                                                           6261 Central Pointe Parkway                                                                     Temple                   TX       76405
 CEL Supply Chain Consulting LLC                                 1945 S Ocean Dr 605                                                                             Hallandale               FL       33009
 Celia Torres                                                    22955 Monte Cristo Ct B                                                                         Harlingen                TX       78550
 Cellhire USA LLC                                                866 Presidential Dr Suite # 406                                                                 Richardson               TX       75081
 CellMark USA, LLC                                               2 Corporate Dr Fl 5                                                                             Shelton                  CT       06484-6238
 Cenex Zip Trip                                                  16124 East Marietta Ln                                                                          Spokane Valley           WA       99216
 Center Point Flex Owner, LLC                                    31920 Del Obispo St                                Suite 260                                    San Juan Capistrano      CA       92675
 Center Point Flex Owner, LLC                                    1907-1911 US Hwy 301 N                             Bldg D                                       Tampa                    FL       33619
 Centerplate @ Miami Beach Convention Ctr                        1901 Convention Center Dr                                                                       Miami Beach              FL       33139
 Centerpoint (Dogwood)                                           1808 Swift Drive Suite A                                                                        Oak Brook                IL       60523
 Centimark Corp. Questmark Flooring                              2400 W Union Hills Dr Suite # 170                                                               Phoenix                  AZ       85027
 Central Distributors Inc.                                       1876 Lager Ln                                                                                   Jackson                  TN       38301
 Central Distributors Inc.                                       PO Box 1762                                                                                     Jackson                  TN       38302-1762
 Central FL FOA c/o Leslie Dempsey                               1348 Falconcrest Blvd                                                                           Apopka                   FL       32712-2359
 Central States Beverage Co. - High Life sales                   14220 Wyandotte St                                                                              Kansas City              MO       64145-1526
 Certified Oil CO.INC. AND SUBS                                  949 King Ave                                                                                    Columbus                 OH       43212
 Cesar Alberto Montelongo                                        8802 West Pierson St                                                                            Phoenix                  AZ       85037
 Cesar Alejandro Guzman                                          3215 W Swann Ave 8                                                                              Tampa                    FL       33609
 Cesar Gonzalez                                                  694 San Remo Dr                                                                                 Weston                   FL       33326
 Cesar Jose Estrada Nolazco                                      928 Southwest 4th Ave                                                                           Cape Coral               FL       33991
 Cesar Orlando Rodriguez                                         3221 W El Camino Dr                                Apt N137                                     Phoenix                  AZ       85051
 Cetric D. Fletcher                                              1421 N Greenbrier Rd                                                                            Long Beach               CA       90815
 Ceva International Inc                                          15350 Vickery Dr                                                                                Houston                  TX       77032
 CG Community Services Command                                   510 Independence Pkwy Suite 500                                                                 Chesapeake               VA       23320-5180
 CH Robinson-Bang Australia                                      28 McPherson St                                                                                 Banksmeadow                       NSW 2019     Australia
 Chad Crawford Roberson                                          2060 Dunhill Ln                                                                                 Aurora                   IL       60503
 Chad E Snow                                                     1600 N Park Dr                                                                                                           FL       33326-3278
 Chad Eugene Snow                                                11155 SW Hall Blvd                                 Apt 57                                       Tigard                   OR       97223
 Chad Everette Peters                                            1386 Chippendale Rd                                                                             Charlotte                NC       28205
 Chad Hovis                                                      1408 Phillips Dr                                                                                Ennis                    TX       75119
 Chad M Anderson                                                 15 Consella Way                                                                                 Franklinton              NC       27525-7702
 Chad Miracle                                                    8208 West Carlota Ln                                                                            Peoria                   AZ       85383
 Chad Nutsch Global Elite Group                                  9029 Airport Blvd 91018                                                                         Los Angeles              CA       90009
 Chad Ray Sandifer                                               3806 SW 5th Pl                                                                                  Cape Coral               FL       33914
 Chad Rouz-Nel                                                   35 Hilken Dr                                                                                    Umhlanga Rocks                    4019         South Africa
 Chad Tepper                                                     1130 N Laurel Ave                                                                               Los Angeles              CA       90046
 Chad Tyler Colding                                              2702 Wilder Park Dr                                                                             Plant City               FL       33566
 Chad Warriner                                                   3716 Riviera Grove                                 Apt 204                                      Colorado Springs         CO       80922
 Chad Webb                                                       1155 Kyle Dr Northeast                                                                          Iowa City                IA       52240
 Chafin Rollins                                                  3515 Southeast 3rd Place                                                                        Cape Coral               FL       33904
 Challenger Logistics, Inc.                                      300 Maple Grove Rd                                                                              Cambridge                ON       N3E 1B7      Canada
 Chama Laine                                                     7965 SW 7th Ct                                                                                  North Lauderdale         FL       33068
 Champagne Beverage Company. Inc.                                1 Bud Pl                                                                                        Madisonville             LA       70447-3354
 Champion Container Corp.                                        379 thornall St Suite 12                                                                        Edison                   NJ       08837-2233
 Chance Hardeman                                                 1701 Lochamy Ln                                                                                 Jacksonville             FL       32259
 Chancie Saintamour                                              6730 NW 23rd St                                                                                 Margate                  FL       33063
 Chanelle Galanakis                                              15B Chelmsford Rd                                  Vredehoek                                    Cape Town                         8001         South Africa
 Changzhou Xinhua Electronics Co., Ltd.                          1 Linan Rd Lijia                                                                                Changzhou City Jiangsu                         China
 Channing Johnson                                                7504 Folkstone Rd                                                                               Forest Hill              TX       76140
 Chantal Glanert Hernandez                                       19511 Belmont Dr                                                                                Cutler Bay               FL       33157
 Chantal Salas                                                   12775 SW 189th St                                                                               Miami                    FL       33177
 Chaos Covington Inc. Colby Covington                            418 SW 14th Ave                                                                                 Ft Lauderdale            FL       33012
 Charles A. Suiter                                               4401 Carmel Mountain Dr                                                                         Mckinney                 TX       75070
 Charles Alfred Payne                                            4305 Kings Highway                                                                              Cocoa                    FL       32927
 Charles Anthony McIntyre                                        6102 Melanie Dr                                                                                 Killeen                  TX       76542-5475
 Charles Czerny                                                  25671 Onate Dr                                                                                  Moreno Valley            CA       92557
 Charles Davis                                                   1401 N Ganite Reef Rd 1002                                                                      Scottsdale               AZ       85257
 Charles E Jean Noel                                             7200 NW 20th St                                                                                 Sunrise                  FL       33313
 Charles Edward Horaney                                          19173 Innisbrook Ct                                                                             North Fort Myers         FL       33903
 Charles Edward McGee                                            1551 N State Hwy 161                               Apt A1815                                    Grand Prairie            TX       75050
 Charles Mcintyre                                                1627 Neff Dr                                                                                    Copperas Cove            TX       76542
 Charles William Davis III                                       12319 W 129th Terrace                                                                           Overland Park            KS       66213
 Charlie Luckey                                                  1715 Comanche Rd                                                                                Pueblo                   CO       81001
 Charlie Weills                                                  2887 SW 33rd Ave                                                                                Miami                    FL       33133
 Charlit Chris Daecharkhom                                       1011 WeSuitern Ave J                                                                            Glendale                 CA       91201
 Charlotte Abigail Castro                                        120 Raintree Ct 2C                                                                              Rose Hill                NC       28458
 Charlotte Stradley                                              2940 North Mountain Ave                                                                         Claremont                CA       91711



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 Chart Inc.                                                                                     PO Box 88968                                                                                      Chicago             IL     60695-1968
 Charudutt Nookala                                                                              909 W Butterfield Dr                                                                              Peoria              IL     61614-2813
 Chase Advertising Media Shaquira Mendez                                                        1451 W Cypress Creek Rd                            Suite 300                                      Ft Lauderdale       FL     33309-1953
 Chase Bush                                                                                     38 Margery Ave Charlo                              EaSuitern Cape                                 Port Elizabeth             6070         South Africa
 Chase DeMoor                                                                                   3993 N 3rd Ave 256                                                                                Phoenix             AZ     85013
 Chase deMoor                                                                                   6677 Santa Monica Blvd                             Apt 3322                                       Los Angeles         CA     90038
 Chase Mattson                                                                                  17591 Newark Cir                                                                                  Irvine              CA     92614
 Chase Shtogrin                                                                                 7314 Watson'S Parish Dr                                                                           O'Fallon            MO     63368
 Chase T Stiverson                                                                              1046 Mclain Blvd                                                                                  Lancaster           OH     43130
 Chase Wayne Bennett                                                                            6616 Dartmouth Rd                                                                                 Lakeland            FL     33809
 Chavely Casanova                                                                               13230 SW 256 St                                                                                   Homestead           FL     33032
 Chelsea A Mihaylo                                                                              1838 W Aspen Ave                                                                                  Gilbert             AZ     85233-3535
 Chelsea Ann Mihaylo Hum                                                                        1838 West Aspen Ave                                                                               Gilbert             AZ     85233
 Chelsea Hinck Chels                                                                            3602 7th St West #1308                                                                            Williston           ND     58801
 Chelsea Magnusen                                                                               3000 Riomar St                                     Apt 510                                        Fort Lauderdale     FL     33304
 Chelsea Wong                                                                                   2728 McKinnon St                                   Apt 1014                                       Dallas              TX     75201
 Chelsea Wong                                                                                   3870 Ponte Ave 861                                                                                Addison             TX     75001
 Chelsey Hallblade                                                                              3555 East Hopkins Rd                                                                              Gilbert             AZ     85295
 Chelsie Schweers                                                                               1006 Weeping Willow Dr                                                                            Chesapeake          VA     23322
 Chemline dba Sci-Chem Water Treatment                                                          1662 BRd St                                                                                       Kissimmee           FL     34746-4282
 ChemPoint.Com, Inc                                                                             411 108th Ave Ne                                                                                  Bellevue            WA     98004-8404
 Chenique Enslin                                                                                23 Soho 64 Newington St Parklands                  North Blouberg                                 Cape Town                  7441         South Africa
 Cheny Julian                                                                                   13182 Southwest 194th St                                                                          Miami               FL     33177
 Cheny Sanguily Cheny Julian Cheny Julian                                                       18231 SW 144 Ct                                                                                   Miami               FL     33177
 CHEP Canada Inc                                                                                7400 E Danbro Cres                                                                                Mississuaga         ON     L5N 8C6      Canada
 CHEP USA                                                                                       5897 Windward Pkwy                                                                                Alpharetta          GA     30005-2044
 Cherilyn Guy                                                                                   9655 E Edgewood Ave                                                                               Mesa                AZ     85208-3121
 Cherish Petlansky                                                                              411 Harold St                                      Apt 1362                                       Fort Worth          TX     76107
 Cherlyn Angelyca Golangco                                                                      6691 Wood thrush Pl                                                                               North Las Vegas     NV     89084
 Cherokee Chemical Co., Inc dba C.C.I. Chemical                                                 3540 E 26th St                                                                                    Vernon              CA     90058-4103
 Cherokee Pallets R & R Pallets, LLC                                                            PO Box 775                                                                                        Mansfield           TX     76063
 Cherrlyn A Roberts                                                                             11892 Southwest 13th St                                                                           Pembroke Pines      FL     33025
 Cherry Bekaert, LLP                                                                            200 South 10th St Suite 900                                                                       Richmond            VA     23219
 Cheryl Ohel vs. VPX (2018)                     Ohel, Cherylc/o Chris Kleppin (Glasser & Kleppi 8751 W Broward Blvd                                                                               Plantation          FL     33324
 Chevel Ashley Richards Turner                                                                  4640 NW 10th Pl                                    Apt C101                                       Plantation          FL     33313-6734
 Chevol Morris                                                                                  4016 South 24th Place                                                                             Phoenix             AZ     85040
 Chevron Extra Mile                                                                             6001 Bollinger Canyon Rd                                                                          San Ramon           CA     94583
 Cheyenne Beverage DBA Bison Beverage                                                           2208 E Allison Rd                                                                                 Cheyenne            WY     82007-3688
 Cheyenne Cortina                                                                               3350 Appaloosa Way                                                                                Bremerton           WA     98310
 Cheyenne Downs                                                                                 9024 University City Blvd                                                                         Charlotte           NC     28213
 Cheyenne Fahy                                                                                  5540 S University Dr                                                                              Davie               FL     33328
 Cheyenne Petrillo                                                                              990 WoodbiNE Way 915                                                                              Riviera Beach       FL     33418-6558
 Chezmiere Fanning                                                                              333 East Van Buren St                              Apt 214                                        Avondale            AZ     85323
 Chiamaka and Chinonye Olisekwe                                                                 1810 11 Knightsbridge Rd                                                                          Brampton            ON     L6T3X4       Canada
 Chiamaka Olisekwe Chiamaka and Chinonye                                                        1810 Knightsbridge Rd                                                                             Brampton            ON     L6T 3Y1      Canada
 Chicago Title Company, LLC                                                                     200 South Tryon St Suite 800                                                                      Charlotte           NC     28202
 Chirag Vikram Patel                                                                            9124 Stoney Corner Ln                                                                             Charlotte           NC     28210
 Chitrang D Desai                                                                               4945 Deckside Loop                                                                                Lakeland            FL     33812
 Chloe Alexis Martin                                                                            17971 SW 134 Ct                                                                                   Miami               FL     33177
 Chloe Browning                                                                                 4933 W 162nd St                                                                                   Overland Park       KS     66085-7810
 Chloe Dykema                                                                                   2320 Whispering Oaks Ln                                                                           Delray Beach        FL     33445
 Chloe Rosenbaum                                                                                18502 Beach Blvd #208                                                                             Huntington Beach    CA     92648
 Chloe Terae Thomson                                                                            13900 Panay Way Sr102                                                                             Marina Del Rey      CA     90292-6130
 Chloe Thomson                                                                                  13900 Panay Way                                                                                   Marina Del Rey      CA     90292
 Chris Hardeman                                                                                 8782 Park Ln                                       Apt 1024                                       Dallas              TX     75231
 Christa Carlos                                                                                 110 Stardream Dr                                                                                  San Antonio         TX     78216
 Christi Leigh Perez                                                                            945 Browning Rd                                                                                   Odenville           AL     35120
 Christi Martin                                                                                 1712 Oriole St                                                                                    Ennis               TX     75119
 Christiaan Marthinus Swart                                                                     Buffelsdoorn 26                                    North-West                                     Klerksdorp                 2571         South Africa
 Christian Alberto Sosa Torres                                                                  1981 Woolbright Rd                                 Bldg E Apt 205                                 Boynton Beach       FL     33426
 Christian Arriaga Jordan                                                                       1027 Burnett St                                                                                   Oviedo              FL     32765
 Christian Barbosa Balian CB Balian Negocios                                                    Rua Phoenix 271                                    Cotia                                          Sao Paulo                  06709-015    Brazil
 Christian Diaz                                                                                 2226 Pinecrest Ct                                                                                 Fullerton           CA     92831
 Christian Gonzalez                                                                             133 S172nd Dr                                                                                     Goodyear            AZ     85338
 Christian Grimm                                                                                12482 Creekview Ct                                                                                San Martin          CA     95046-9618
 Christian Haynes                                                                               1314 Sofia Ct                                                                                     Jacksonville        NC     28540
 Christian J Malcolm                                                                            10060 Chapel Ridge Dr                                                                             Fort Worth          TX     76116
 Christian James Falvey                                                                         588 Explorer St                                                                                   Brea                CA     92821
 Christian James Longe-Marshall                                                                 16450 West Van Buren St                            Apt 2066                                       Goodyear            AZ     85338
 Christian Maniatakos                                                                           13201 SW 32nd Ct                                                                                  Davie               FL     33330
 Christian Nelson                                                                               619 S Woodward Ave                                                                                Tallahassee         FL     32304
 Christian Olmtak                                                                               333 NE 24th St                                                                                    Miami               FL     33137
 Christian Roca                                                                                 544 N Alma School Rd                                                                              Mesa                AZ     85201
 Christian Sacha Penoucos                                                                       620 Northeast 52nd Terrace                                                                        Miami               FL     33137
 Christian Sasieta                                                                              156 NW 118th Dr                                                                                   Coral Springs       FL     33071



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 Christian Soza                                              1690 Hilton Head Ct                               Apt 2320                                     El Cajon             CA       92019
 Christian Suarez                                            3724 SW 59th Terrace                                                                           Davie                FL       33314
 Christie Ramirez                                            888 Brickell Key Dr 1007                                                                       Miami                FL       33131
 Christina Anderson                                          13922 Dove Wing Ct                                                                             Orlando              FL       32828
 Christina Corsaro                                           2 Windsor Terrace                                                                              Holmdel              NJ       07733
 Christina Guido                                             19 Yerk St                                                                                     Hauppauge            NY       11788
 Christina Henshaw                                           9223 Vintage Hills Way                            Apt 8306                                     Winter Garden        FL       34787
 Christina Kitrel                                            2301 South Voss Rd #2333                                                                       Houston              TX       77057
 Christina M Graff                                           709 Spencer Ln                                                                                 Kannapolis           NC       28081
 Christina M Stewart                                         2200 SW 42nd Way                                                                               Ft Lauderdale        FL       33317
 Christina Martinez                                          597 Buckingham Dr                                                                              Oviedo               FL       32765
 Christina Mendicino                                         8830 NE 8th Ct                                                                                 Miami                FL       33138
 Christina Montaldo                                          201 West Laurel St                                Apt 610                                      Tampa                FL       33602
 Christina Montaldo                                          521 Spring Club Dr                                                                             Altamonte Springs    FL       32714
 Christina Morzella                                          1306 Summerwood Cir                                                                            Wellington           FL       33414
 Christina Rose Muster                                       5614 Panorama Ave                                 Apt 101                                      Charlotte            NC       28213
 Christina Sanggor                                           15800 Highway 3 218                                                                            Webster              TX       77598
 Christina T Porch                                           34710 Wildwood Canyon Rd                                                                       Yucaipa              CA       92399
 Christina Weronik                                           470 Northeast 5th Ave                             Apt 3215                                     Fort Lauderdale      FL       33301
 Christine Foley                                             2021 N Lemans Blvd                                Unit 2209                                    Tampa                FL       33607
 Christine King                                              275 Equestrian Dr                                                                              Rockwall             TX       75032
 Christine M Longero                                         267 Northwood Cmns                                                                             Livermore            CA       94551-3054
 Christine Marie Longero                                     2712 Strand Ln                                                                                 Mckinney             TX       75071
 Christine's Pallets LLC                                     PO Box 446                                                                                     Mendon               MA       01756-0446
 Christohpher H Desneux Jr                                   PO Box 946 25310 S Smoke Rd                                                                    Peculiar             MO       64078
 Christopher A Summers                                       2002 21St N                                                                                    Arlington            VA       22201
 Christopher Alan Johns                                      14433 La Habra Rd                                                                              Victorville          CA       92392
 Christopher Alfieri                                         6289 FernstoNE Trail Nw                                                                        Acworth              GA       30101
 Christopher Ansley DeRiseis                                 17115 Kenton Dr #304A                                                                          Cornelius            NC       28031
 Christopher Blanco                                          421 E Dunbar #65                                                                               Tempe                AZ       85282
 Christopher Carey                                           433 Haverlake Cir                                                                              Apopka               FL       32712
 Christopher Chabot Chris                                    236 Ball Hill Rd                                                                               Princeton            MA       01541
 Christopher Chung                                           9135 Northwest 44th Ct                                                                         Sunrise              FL       33351
 Christopher Colditz                                         3495 Myrna Dr                                                                                  Pittsburgh           PA       15241
 Christopher Deguire                                         3700 Legacy Dr 7207                                                                            Frisco               TX       75034
 Christopher Diaz                                            2046 SE 26th Ln                                                                                Homestead            FL       33035
 Christopher Donavon Smith Williams                          651 Brittany Ct                                                                                Brentwood            CA       94513
 Christopher Equale                                          6808 W Seasmoke Ct                                                                             Las Vegas            NV       89139
 Christopher Equale Hammy and Olivia Inc                     6808 W Seasmoke Ct                                                                             Las Vegas            NV       89139
 Christopher Fahmy                                           5296 Hilton Ct                                                                                 Mississauga          ON       L5M 5B5      Canada
 Christopher Gulley                                          8301 Dunmore Dr                                   Apt M                                        Huntersville         NC       28078
 Christopher H Poland                                        1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Christopher Hall                                            8816 Files St                                                                                  Dallas               TX       75217
 Christopher Harold Malone                                   704 Lance View Ln                                                                              Lawrenceville        GA       30045
 Christopher Honn Poland                                     10348 Glenn Abbey Ln                                                                           Fishers              IN       46037
 Christopher Isaiah Mechell                                  1030 Dallas Dr                                    Apt 437                                      Denton               TX       76205
 Christopher J Mena                                          610 Northwest 109th Ave                           Apt 7                                        Miami                FL       33172
 Christopher J Morrison                                      1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Christopher James Hamian                                    17 Pebble Place                                                                                Commack              NY       11725
 Christopher John Burth-Ice                                  15207 North 28th Dr                                                                            Phoenix              AZ       85053
 Christopher John Morrison                                   301 Southwest 1St Ave                             Apt 1402-B                                   Fort Lauderdale      FL       33301
 Christopher Jones                                           13820 South 44th St                               Unit 1114                                    Phoenix              AZ       85044
 Christopher Joseph McShaffrey                               121 Reflection Blvd                                                                            Auburndale           FL       33823
 Christopher Kebreau                                         1200 Blvd Lucille-Teasdale                        Apt 104                                      Terrebonne           QC       J6V-0C9      Canada
 Christopher Kemble                                          3301 Southwest 97th Terrace                                                                    Miramar              FL       33025
 Christopher L Schwalen                                      1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Christopher Lawrence Schwalen                               704 Auburn Way                                                                                 Morgan Hill          CA       95037
 Christopher Lee Aguilar II                                  610 E 98th St                                                                                  Odessa               TX       79765
 Christopher Lee Crocker                                     1108 Larail Dr                                                                                 Columbia             MO       65203
 Christopher Lopez                                           180 Fillmore St 1A                                                                             Staten Island        NY       10301
 Christopher M Bouwens                                       215 North Power Rd                                Apt 210                                      Mesa                 AZ       85205
 Christopher Mario Mendiola                                  1750 Sleepy Hollow Trail                                                                       Southlake            TX       76092
 Christopher Matthew Steurer                                 13330 SW 1St                                                                                   Miami                FL       33184
 Christopher Matthews                                        1305 Glen Rd                                                                                   West Palm Beach      FL       33406
 Christopher Maymi                                           2161 Pebble Point Dr                                                                           Green Cove Springs   FL       32043
 Christopher McLane                                          80 E Exchange St #487A                                                                         Akron                OH       44308
 Christopher Michael Conner                                  18344 W Mercer Ln                                                                              Surprise             AZ       85388
 Christopher Neil Jackson                                    6439 S Marion Pl                                                                               Centennial           CO       80121
 Christopher Nunez Rees                                      16601 N 12th St 1092                                                                           Phoenix              AZ       85022
 Christopher P Eagen                                         372 Eagle Brook Ln                                                                             Buda                 TX       78610
 Christopher Pavlos Chris Pavlos                             1013 Crane Crest Way                                                                           Orlando              FL       32825
 Christopher Pearson                                         22111 Erwin St R125                                                                            Woodland Hills       CA       91367
 Christopher Richard Campello                                16112 North Freeway                               Apt 233                                      Houston              TX       77090
 Christopher Rosendo                                         1820 Woodland Cir 206                                                                          Vero Beach           FL       32967
 Christopher S Jackson                                       830 W Landoran Ln                                                                              Tucson               AZ       85737



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                        Name                                      Attention                                Address 1                               Address 2              Address 3                 City    State         Zip             Country
 Christopher Shannon                                                              7041 Mariners Landing Dr                                                                            Fayetteville         NC       28306
 Christopher Tomica Jones                                                         1441 East Germann Rd                              Apt 2134                                          Chandler             AZ       85286
 Christopher Troy Gonzalez                                                        9282 Juneberry Ln                                                                                   North Hills          CA       91343
 Christopher Uriah Smith                                                          2119 NW 57th Ave                                                                                    Lauderhill           FL       33313
 Christopher Weatherford                                                          1213 Warbler Ave                                                                                    Forney               TX       75126
 Christy Anne Bare                                                                11340 Northwest 27th Ct                                                                             Plantation           FL       33323
 Christy L Morris                                                                 26 Sunset Hills Cir                                                                                 Choctaw              OK       73020
 Christy Turner                                                                   12656 Southern Highlands Parkway                  Apt 1127                                          Las Vegas            NV       89141
 Christy Turner                                                                   825 South Hill St 3605                                                                              Los Angeles          CA       90014
 ChromaDex, Inc.                                                                  10005 Muirlands Blvd                                                                                Irvine               CA       92618
 ChromaDex, Inc.                                                                  PO Box 74008588                                                                                     Chicago              IL       60674-7400
 Chrysler Capital                                                                 PO Box 660335                                                                                       Dallas               TX       75266
 Chrystal Neria                                                                   322 Karen Ave #505                                                                                  Las Vegas            NV       89109
 CHUBB & SON                                                                      PO Box 382001                                                                                       Pittsburgh           PA       15251-7003
 Church By The Glades                                                             400 Lakeview Dr                                                                                     Coral Springs        FL       33071-4087
 Chyanne Burden                                                                   3376 Fryman Pl                                                                                      Studio City          CA       91604
 CI DAL III-V, LLC - Colony Capital                                               PO Box 209263                                                                                       Austin               TX       78720-9263
 CI421 474 W Buckeye LLC CAM                                                      1900 Ave Of the Stars Suite 320                                                                     Los Angeles          CA       90067-4305
 Cianna Rodriguez                                                                 14217 Amelia Island Way                                                                             Orlando              FL       32828
 Ciara Glaum                                                                      15 Platteklip Apartment                           Derwent Rd                  Gardens               Cape Town                     8001         South Africa
 Ciara Stamper Cici Cici                                                          7309 Franklin Ave 306                                                                               Los Angeles          CA       90046
 Cicklin Lubitz                                                                   515 N Flagler Dr                                                                                    West Palm Beach      FL       33401
 CIJB                                                                             1794 8901 CB                                                                                        Nederland                     8901         United Kingdom
 Cindy D Larez                                                                    5132 Southwest 140th Terrace                                                                        Miramar              FL       33027
 Cindy Fabbri                                                                     11644 Chapman Ave                                                                                   Bonita Springs       FL       34135
 Cindy Prado                                                                      36 NW 66th Ave                                                                                      Miami                FL       33126
 Cindy T Moran                                                                    14 Harding Place 1                                                                                  Dandury              CT       06810
 Cintas Corporation, No. 2                                                        PO Box 630803                                                                                       Cincinnati           OH       45263-0803
 Cintas Corp-Phoenix                                                              PO Box 29059                                                                                        Phoenix              AZ       85038-9059
 Cintas Protection No 2                                                           PO Box 636525                                                                                       Cincinnati           OH       45263-6525
 Cinthia Da Silva Cruz                                                            Antonio Raposo Barreto                            31- Jd Das Flores                                 Sao Paulo                     04904-170    Brazil
 Cinthya Freytes                                                                  3862 Calibre Bend Ln 1010                                                                           Winter Park          FL       32792
 Circle K Midwest Division                                                        4080 West Jonathan Moore Pike                                                                       Columbus             IN       47201
 Circle K Stores, Inc.                                                            PO Box 203253                                                                                       Dallas               TX       75320-3253
 Cisco-Eagle, Inc                                                                 2120 Valley View Ln                                                                                 Dallas               TX       75234
 Citizens Bank                                 Seth McIntyre                      71 S Wacker Drive                                                                                   Chicago              IL       60606
 Citizens Bank, N.A.                                                              PO Box 42001                                                                                        Providence           RI       02940-2001
 CitrusBits Inc.                                                                  5994 W Las Positas Blvd #219                                                                        Pleasanton           CA       94588
 City Beverage Co., Inc.                                                          1471 Weeksville Rd                                                                                  Elizabeth City       NC       27909
 City Beverage-Illinois, LLC vs. VPX (2020)    City Beverage-Illinois, LLC        400 N Elizabeth St                                                                                  Chicago              IL       60642
 City of Charlotte                                                                PO Box 31032                                                                                        Charlotte            NC       28231-1032
 City of Douglasville                                                             6695 Church St                                                                                      Douglasville         GA       30134
 City of Fort Myers                                                               PO Box 30185                                                                                        Tampa                FL       33630-3185
 City of Fort Myers                                                               1825 Hendry St                                                                                      Fort Myers           FL       33901
 City of Los Angeles                                                              10100 Aviation Blvd Suite# 200                                                                      Los Angeles          CA       90045-5903
 City of Miami Beach Parking Department                                           1755 Meridian Ave Suite 200                                                                         Miami Beach          FL       33139-1835
 City of Ontario                                                                  303 East "B" St                                                                                     Ontario              CA       91764
 City of Pembroke Pines                                                           601 City Center WayLbtr                                                                             Pembroke Pines       FL       33025-4459
 City of Pembroke Pines Utitlies Department                                       8300 S Palm Dr                                                                                      Pembroke Pines       FL       33025
 City of Phoenix                                                                  PO Box 29103                                                                                        Phoenix              AZ       85038-9103
 City of Phoenix                                                                  251 West Washington                                                                                 Phoenix              AZ       85003-2295
 City of Port St. Lucie                                                           121 SW Port St Lucie Blvd Bldg B                                                                    Port St Lucie        FL        3498
 City Of Sunrise                                                                  PO Box 31432                                                                                        Tampa                FL       33631-3432
 City of Weston                                                                   17200 Royal Palm Blvd                                                                               Weston               FL       33326
 Citycrete, LLC.                                                                  PO Box 2181                                                                                         Higley               AZ       85236
 City-Wide Cleaning LLC                                                           PO Box 262142                                                                                       Tampa                FL       33685
 CJ America, Inc.                                                                 5700 Wilshire Blvd                                                                                  Los Angeles          CA       90036-3659
 CJA Finance, INC                                                                 1313 South Country Club Dr                                                                          Mesa                 AZ       85201
 CK Afton Ridge II, LLC                                                           6100 Glen Afton Blvd                                                                                Concord              NC       28027
 CK Waitt Industrial, LLC CK Properties, Inc                                      301 South College St                                                                                Charlotte            NC       28202
 CKS Packaging, Inc.                                                              7400 South Orange Ave                                                                               Orlando              FL       32809
 CKS Packaging, Inc.                                                              PO Box 44386                                                                                        Atlanta              GA       30336-1386
 CL&D Graphics LLC dba CL&D Digital                                               1101 W 2nd St                                                                                       Oconomowoc           WI       53066-3401
 Claire Olinda Hughes                                                             1111 Brickell Bay Dr                              PH3303                                            Miami                FL       33131
 Claire Stone                                                                     840 Embarcadero Del Norte                                                                           Golrta               CA       94553
 Claire Tannery                                                                   1089 W Exchange Pkwy 9110                                                                           Allen                TX       75013
 Clara Lindblom                                                                   Tideliusgatan 60                                                                                    Stockholm                     11869        Sweden
 Clarence Cintron                                                                 4087 Grayfield Ln                                                                                   Orange Park          FL       32065-5621
 Clarence Cintron III                                                             4087 Grayfield Ln                                                                                   Orange Park          FL       32065
 Clarence Ford                                                                    1101 NW 10th Terrace                                                                                Fort Lauderdale      FL       33311
 Clarence Horace Parks                                                            6900 Southgate Blvd                               Apt 111                                           Tamarac              FL       33321
 Claribel Laureano                                                                11759 SW 16th St                                                                                    Pembroke Pines       FL       33205
 Clarissa Arroyo                                                                  7951 Etiwanda Ave #14201                                                                            Rancho Cucamonga     CA       91739
 Clarivate Analytics                                                              PO Box 3773                                                                                         Carol Stream         IL       60132-3773
 Clark County Legal News                                                          103 W Victory Rd                                                                                    Henderson            NV       89015



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                       Name                                 Attention                                Address 1                               Address 2         Address 3                 City    State        Zip           Country
 Clark County NV Treasurer                                                  500 S GRAND CENTRAL PKWY                                                                       Las Vegas            NV       89155
 Clark County Water                                                         5857 E Flamingo Rd                                                                             Las Vegas            NV       89122
 Clark County Water Reclamation District                                    PO Box 512210                                                                                  Los Angeles          CA       90051-0210
 Clark Distributing Co, Inc                                                 1248 Pobox                                                                                     Dyersburg            TN       38025
 Clark Distributing Co, Inc                                                 1300 Hwy51 Bypass South                                                                        Dyersburg            TN       38024
 Clark Electrical,LLC                                                       1801 Palmer Ave                                                                                Winter Park          FL       32792
 Clark Kent Villarreal                                                      1801 Colonial Arm Cir 2B                                                                       Virginia Beach       VA       23454
 Classic Beverage of Southern California                                    120 N Puente Ave                                                                               City Of Industry     CA       91746
 Classic Distributing & Bev. Group Inc                                      120 N Puente Ave                                                                               City Of Industry     CA       91746
 Claudia Castro                                                             25 NE 5th St                                      Apt 2310                                     Miami                FL       33132
 Claudia Isabel Gutierrez                                                   9808 Northwest 15th St                                                                         Pembroke Pines       FL       33024
 Claudia Janneth Trejos                                                     9617 Waterview Way                                                                             Parkland             FL       33076
 Claudia M Lopez                                                            1252 Northwest 141St Ave                                                                       Pembroke Pines       FL       33028
 Claudia Patricia Valdes Jordan                                             4157 Southwest 87th Terrace                                                                    Davie                FL       33328
 Claudia Petrizzi                                                           2941 Shaughnessy Dr                                                                            Wellington           FL       33414
 Clay M Hull                                                                10504 Wagon Wheel Way                                                                          Mckinney             TX       75072
 Clayten Thomas VanWingerden                                                147 Forest Edge Dr                                                                             Saint Johns          FL       32259
 Clayton Chantz Bovee                                                       12000 Lake Cypress Cir A304                                                                    Orlando              FL       32828
 CLC Trading Inc.                                                           11450 NW 34th St Suite 200                                                                     Doral                FL       33178-1463
 Clean Cut Landscaping & Maintenance                                        7244 W Sunnyside Dr                                                                            Peona                AZ       85345
 Clean Harbors Industrial Services, Inc.                                    42 Longwater Drpo Box 9149                                                                     Norwell              MA       02061-9149
 Clear Choice Retail LLC                                                    2905 S Walton Blvd Suite 19                                                                    Bentonville          AR       72712
 Clement Maureal                                                            5612 Frost Ln                                                                                  Flower Mound         TX       75028
 Cleo Communications US, LLC                                                4949 Harrison Ave                                                                              Rockford             IL       61108-7946
 Cleonice Glanert                                                           2436 Okeechobee Ln                                                                             Fort Lauderdale      FL       33312
 Click 2 Go - Nicaragua                                                     Barrio Liberacion Union Fenosa                    3 Cuadras Al OeSuite                         Matagalpa                                  Nicaragua
 Cliff Berry, Inc.                                                          PO Box 30396                                                                                   Tampa                FL       33630-3396
 Clifford Jackson Thompson                                                  6097 West Ponderosa Place                                                                      Beverly Hills        FL       34465
 Climatec LLC                                                               2851 W Kathleen Rd                                                                             Phoenix              AZ       85053-4053
 Clinton F Converse                                                         1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Clinton Forrest Converse                                                   512 E Irvine Rd                                                                                Phoenix              AZ       85086
 Clinton Harold Harshman                                                    1223 Dodgeton Dr                                                                               Frisco               TX       75033
 Cloe Dalila Greco                                                          13600 SW 139th Ct                                                                              Miami                FL       33186
 Cloe Dalila Greco                                                          Albarracin 1588                                                                                Ciudad Autonoma               C1424BGD     Argentina
 Cloe French                                                                6528 Fox Crest Ln                                                                              Lakeland             FL       33813
 CMA CGM & ANL Securities B.V.                                              5701 Lake Wright Dr                                                                            Norfolk              VA       23502
 CO2 Meter, Inc                                                             131 Business Center Dr Suite3                                                                  Ormond Beach         FL       32174
 Coash & Coash, Inc.                                                        1802 N 7th St                                                                                  Phoenix              AZ       85006-2132
 Coastal Beverage Company Inc.                                              461 N Corporate Dr                                                                             Wilmington           NC       28401-2305
 Coastal Comfort Inc.                                                       881 W Mcnab Rd                                                                                 Pompano Beach        FL       33060
 Coastal Pacific Food Distributors, Inc.                                    1015 Performance Dr                                                                            Stockton             CA       95206
 Coastal Pacific Food Distributors, Inc.                                    PO Box 12809                                                                                   Norfolk              VA       23541-0809
 CoBank                                       Janet Downs                   6340 S Fiddlers Green Cir                                                                      Greenwood Village    CO       80111
 Coborn’s Inc                                                               1921 Coborn Blvd                                                                               St Cloud             MN       56301
 Coby John Michael Thomas                                                   952 Reed Ave #3                                                                                San Diego            CA       92109
 Coconut Cleaning LLC                                                       665 E Geronimo St                                                                              Chandler             AZ       85225-2464
 Cody Allan Shanley                                                         5216 Bryant Irvin Rd                              Apt 2180                                     Fort Worth           TX       76132
 Cody Cullen                                                                146 Pearl St                                                                                   Clinton              MA        1510
 Cody Lei                                                                   343 Northwest Byron St                                                                         Port St Lucie        FL       34983
 Cody Martin                                                                4910 Tanya Lee Cir 10112                                                                       Davie                FL       33324
 Cody Morgan                                                                1751 Grand AnSE Hwy                                                                            Breaux Bridge        LA       70517-7103
 Cody Murphy                                                                6303 South 56th St                                                                             Rogers               AR       72758
 Cody Phillips                                                              1819 Dove Field Place                                                                          Brandon              FL       33510
 Cody Smargiassi                                                            5345 E Van Buren St 127                                                                        Phoenix              AZ       85008
 Cogent Legal Services Carvajal & Associates,                               6586 Hypoluxo Rd # 212                                                                         Lake Worth           FL       33467-7678
 Cohan Oscar Van Der Byl                                                    12 Grosvenor Avondale Atlantis                    Avondale                                     Cape Town                     7349         South Africa
 Cohen Legal Services., P.A.                                                12 SE 7th St Suite 805                                                                         Ft Lauderdale        FL       33301
 Colbea Enterprises, LLC                                                    2050 Plainfield Pike                                                                           Cranston             RI       02921-2062
 Colby Alan Ah Chin                                                         16061 W Moreland St                                                                            Goodyear             AZ       85338
 Colby Covington                                                            6440 W 20th Ave                                                                                Hialeah              FL       33016
 Cold Stone Creamery                                                        24850 N 107th St                                                                               Scottsdale           AZ       85255
 Cole Carrigan                                                              5440 Tujunga Ave                                                                               North Hollywood      CA       91601
 Cole Palmer                                                                13927 Collections Center Dr                                                                    Chicago              IL       60693
 COLE-PARMER INSTRUMENT COMPANY LLC                                         625 E Bunker Ct                                                                                Vernon               IL       60061
 Colette Lee Morris                                                         124 E Houghton Ave 2                                                                           West Branch          MI       48661
 Colin Ajakaiye                                                             3715 Burnage Hall Rd                                                                           Harrisburg           NC       28075
 Colin C Torrie                                                             64 Whitehall Blvd                                                                              Garden City          NY       11530
 Colin Christoffersen                                                       1406 NW 24th Place                                                                             Cape Coral           FL       33993
 Colin James Meehan                                                         3030 North 7th St                                 Apt 210                                      Phoenix              AZ       85014
 Colin P. Mcintyre                                                          105 Decker Rd                                                                                  North Abington Twp   PA       18414
 Colin P. Mcintyre                                                          120 15th St E                                                                                  Tuscaloosa           AL       35401
 Colin Smith                                                                925 24th St                                                                                    Virginia Beach       VA       23451
 Colin Yarbrough                                                            1595 Hawk View Dr                                                                              Encinitas            CA       92024-1274
 College City Beverage, Inc.                                                700 Railway St S                                                                               Dundas               MN       55019-4071
 Collin James Gunsenhouser                                                  1408 W Piute Ave                                                                               Phoenix              AZ       85027



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                        Name                                   Attention                                 Address 1                                    Address 2              Address 3                City    State      Zip           Country
 Collin Michael Tornstrom                                                      230 Brooke Valley Blvd                                                                                    Knoxville           TN     37922
 Collin Rausch                                                                 1010 Spring RoSE Ln                                                                                       Wesley Chapel       NC     28101
 Collins Fire Protection and Life Safety                                       361 Mulberry Grove Rd                                                                                     Royal Palm Beach    FL     33411
 Collins Mbaku Magwaza                                                         1060 Breedt St Doornport Bakwena View House                                         Gauteng               Pretoria                   0861         South Africa
 Colony Insurance Company                                                      8720 Stony Point Pkwy                                   Suite 400                                         Richmond            VA     23235
 Colony Insurance Company                                                      PO Box 85122                                                                                              Richmond            VA     23285
 Color Brands                                                                  1035 W Lake St Suite 301                                                                                  Chicago             IL     60607-1726
 Colorado Eagle LLC                                                            130 Greenhorn Dr                                                                                          Pueblo              CO     81004
 Colorado Eagle LLC                                                            796 Sawmill Rd                                                                                            Durango             CO     81301
 Colorado Office of the Attorney General                                       Ralph L Carr Judicial Building                          1300 BRdway 10th Fl                               Denver              CO     80203
 ColorDynamics, Inc                                                            200 E Bethany Dr                                                                                          Allen               TX     75002-3804
 Colton Scott Klein                                                            3955 Island Club Cir                                                                                      Lake Worth          FL     33462
 Colton Szostek Colton                                                         4764 Saratoga Ave                                                                                         San Diego           CA     92107
 Columbia Machine, Inc.                                                        PO Box 8950                                                                                               Vancouver           WA     98668-8950
 Colwill Engineering Design Build, Inc.                                        4750 East Adamo Dr                                                                                        Tampa               FL     33605
 Combi Packaging Systems LLC.                                                  PO Box 35878                                                                                              Canton              OH     44735-5878
 Comcast Business                                                              PO Box 71221                                                                                              Charlotte           NC     28272-1211
 Comed                                                                         PO Box 6111                                                                                               Carol Stream        IL     60197-6111
 Comerica Participations                        Cindy Jones                    3551 Hamlin Rd                                                                                            Auburn Hills        MI     48326
 Commerce Bank - Commercial Cards                                              PO Box 414084                                                                                             Kansas City         MO     64141-4084
 Commerce Bank - Commercial Cards                                              PO Box 846451                                                                                             Kansas City         MO     64184-6451
 Commercial Cabling Company                                                    8036 East Sienna St                                                                                       Mesa                AZ     85207
 Commercial Dock & Door Services Atlanta                                       10 Enterprise Blvd                                                                                        Atlanta             GA     30336
 Commercial Services, Inc. FESS Fire Protection                                PO Box 1307                                                                                               Morrisville         NC     27560
 Commonwealth of Kentucky Office of                                            PO Box 948                                                                                                Frankfort           KY     40602-0948
 Commonwealth of Massachusetts William                                         One Ashburton Place                                                                                       Boston              MA     02108-1512
 Commonwealth of Pennsylvania PLCB                                             PO Box 8940                                                                                               Harrisburg          PA     17105-8940
 Commonwealth of Virginia                                                      1300 E Main St                                                                                            Richmond            VA     23219
 Communikay Graphics BeAed LP                                                  1900 Highway 35 Byp N                                                                                     Alvin               TX     77511-4786
 Comp - Air Service Co. Curtis - Toledo                                        PO Box 776925                                                                                             Chicago             IL     60677-6925
 Compass self Storage                                                          7750 Lockwood Ridge Rd                                                                                    Sarasota            FL     34243-4932
 Compass SelfStorage                                                           900 N Krome Ave                                                                                           Florida City        FL     33034
 Compeer Financial                              Kevin Buente                   1560 Wall St Suite 221                                                                                    Naperville          IL     60563
 Compound Solutions, Inc.                                                      PO Box 841466                                                                                             Los Angeles         CA     90084-1466
 Comptroller of Maryland                                                       PO Box 2999                                                                                               Annapolis           MD     21404-2999
 Comptroller of Maryland Revenue Administration                                110 Carroll St                                                                                            Annapolis           MD     21411-0001
 Comptroller of Public Accounts Texas Alcoholic                                5806 Mesa Dr                                                                                              Austin              TX     78731
 Concentra - Occupational Health Centers of the                                PO Box 82549                                                                                              Hapeville           GA     30354
 Concentrated Active Ingredients                                               26522 La Alameda Suite 340                                                                                Mission Viejo       CA     92691-6330
 Concentric, LLC Absolute Motive Power                                         6601 Adamo Dr                                                                                             Tampa               FL     33619
 Concepcion Thomas Montoya II                                                  1816 Lark Bunting Ln                                                                                      Pueblo              CO     81001
 Concours Paint & Body                                                         11415 Anaheim                                                                                             Dallas              TX     75229
 Conico Roro, Inc.                                                             4520 E Thousand Oaks                                    Suite 200                                         Westlake Village    CA     91362
 Conkling Distributing Co. Inc.                                                44414 Sd Highway 50                                                                                       Yankton             SD     57078-6454
 Connecticut Office of the Attorney General                                    55 Elm St                                                                                                 Hartford            CT     06106
 Connecticut State Department of Revenue                                       PO Box 5030                                                                                               Hartford            CT     06102-5030
 ConnectWise                                                                   400 N Tampa St                                          Suite 130                                         Tampa               FL     33602
 ConnectWise, Inc                                                              4110 George Rd                                                                                            Tampa               FL     33634
 Conner James Primrose                                                         2704 Raintree Dr                                                                                          Plano               TX     75074
 Conner Remaly                                                                 356 Blakely Dr                                                                                            Lafayette           IN     47905
 Connor Jackson                                                                12000 Rhya Ln                                                                                             Oklahoma City       OK     73131
 Connor Lee                                                                    13625 Grand Island Shores Rd                                                                              Grand Island        FL     32735
 Connor Murphy Fitness                                                         2800 Barton'S Bluff Ln #1106                                                                              Austin              TX     78746
 Connor Thomas Scanlin                                                         1913 West Saint Lois St                                                                                   Tampa               FL     33607
 Conquest Technology Services                                                  PO Box 440825                                                                                             Miami               FL     33144
 Conrade Mark A Matthews                                                       5172 Clarion Oaks Dr                                                                                      Orlando             FL     32808
 Consuelo Delgadillo                                                           2005 N 103rd Ave 17208                                                                                    Avondale            AZ     85392
 Container And Packaging Supply, Inc.                                          1345 E State St                                                                                           Eagle               ID     83616-6013
 Conteam Melo Taynara Melo de Carvalho                                         921 Carmillion Ct                                                                                         Groveland           FL     34736-3683
 Contec, Inc.                                                                  525 Locust Grove                                                                                          Spartanburg         SC     29303-4832
 Contec, Inc.                                                                  PO Box 530                                                                                                Spartanburg         SC     29304
 Content Star Productions Austin Sprinz                                        2040 E Vista Ave                                                                                          Phoenix             AZ     85020-4735
 Contract Pharmacal Corp.                                                      165 Oser Ave                                                                                              Hauppauge           NY     11788-3710
 Convenient Toy Storage                                                        200 RailRd Ave                                                                                            Edgewater           FL     32132
 Conveyor Solutions, Inc.                                                      1450 N Mclean Blvd                                                                                        Elgin               IL     60123
 Conveyors & Drives, Inc.                                                      1850C Macarthur Blvd                                                                                      Atlanta             GA     30318
 Cooper J. Brunner                                                             21559 SW Kruger Rd                                                                                        Sherwood            OR     97140
 Cooper Leland Woods                                                           1100 East Apache Blvd                                   Apt 5069                                          Tempe               AZ     85281
 CopyScan Technologies Inc                                                     4101 Ravenswood Rd Suite 208                                                                              Ft Lauderdale       FL     33312-5301
 Corali Marquez Iparraguirre                                                   330 Patio Village Terrace                                                                                 Weston              FL     33326
 Coralina Quezada                                                              4025 SW 148th Terrace                                                                                     Miramar             FL     33027
 Coralis Almestica Cintron                                                     55 West Church St                                                                                         Orlando             FL     32801
 COREMARK                                                                      3950 West Harmon                                                                                          Las Vegas           NV     89103
 Core-Mark                                                                     3030 Mulvany Pl                                                                                           Sacramento          CA     95691-5745
 Corey Bailey Trunks Sync LLC                                                  1120 Silent Brook Rd                                                                                      Wake Forest         NC     27587



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                       Name                         Attention                                Address 1                               Address 2         Address 3                City    State        Zip     Country
 Corey Brooks                                                       4312 Avondale Ave                                                                              Dallas              TX       75219
 Corey Connett                                                      2101 James Dr                                                                                  Gadsden             AL       35907
 Corey Grant                                                        2210 Vance Dr                                                                                  Forney              TX       75126
 Corey Leja                                                         850 Spring Creek Ct                                                                            Elk Grove Village   IL       60007
 Corey S Carneau                                                    1600 N Park Dr                                                                                 Weston              FL       33326-3278
 Corey Scott                                                        3204 SagestoNE Dr 5304                                                                         Fort Worth          TX       76177
 Corey Scott Carneau                                                3500 SE Oak Grove Blvd                            Apt 44                                       Milwaukie           OR       97267
 Corina Marshall                                                    16233 Grove Ave                                                                                Oak Forest          IL       60452
 Corinn Crippin                                                     10 Rue Le Petite                                                                               Westville           IL       61883
 Corinne Olympios                                                   2960 Northeast 207th St                           Apt 813                                      Aventura            FL       33180
 Corn Corp Corinne Danielle Olympios                                2960 NE 207th St                                                                               Aventura            FL       33180-1447
 Corporate Creations International, Inc.                            801 Us Highway 1                                                                               North Palm Beach    FL       33408
 Corporation Division Secretary of State-State of                   255 Capitol St NE Suite 151                                                                    Salem               OR       97310-1327
 Corryne E Poskocil                                                 3349 E Loma Vista St                                                                           Gilbert             AZ       85295
 Corsearch Inc.                                                     6060 N Central Expy Suite 334                                                                  Dallas              TX       75206-5204
 Cortes Cortes                                                      7800 Airport Blvd                                                                              Los Angeles         CA       90045
 Cortez INC                                                         700 Roper Parkway                                                                              Ocoee               FL       34761
 Cortni Wash                                                        407 72nd St                                                                                    Holmes Beach        FL       34217
 Corwin                                                             219 S Timm Rd                                                                                  Ridgefield          WA       98642-3343
 Corwin Beverage Co.                                                219 S Timm Rd                                                                                  Ridgefield          WA       98642-3343
 Cory Stringer                                                      4746 W Anita Blvd                                                                              Tampa               FL       33611
 Corynne Elise Carter                                               7875 NW 107th Ave                                                                              Doral               FL       33178
 Costa Event Corp Ray Acosta                                        15135 NW 90th Ct                                                                               Miami Lakes         FL       33018-1366
 CoStar Realty Information Inc. Loopnet                             1331 L St Nw                                                                                   Washington          DC       20005
 Costco Wholesale Corp                                              999 Lake Dr                                                                                    Issaquah            WA       98027-8990
 Couch Distributing Co., Inc.                                       104 Lee Rd                                                                                     Watsonville         CA       95077-5004
 Counsel Press, Inc.                                                PO Box 65019                                                                                   Baltimore           MD       21264-5019
 County Distributing                                                1800 Eagleview Dr                                                                              Sedalia             MO       65301-2398
 Coupang Global LLC                                                 1560 Sierra Ridge Dr                                                                           Riverside           CA       92507-7131
 Courtland Holloway                                                 5102 E Piedmont Rd                                                                             Phoenix             AZ       85044-8610
 Courtnee Lambright                                                 3509 Elgin St                                     Apt 441                                      Houston             TX       77004
 Courtney Ann Hueston                                               15522 Southwest 163rd St                                                                       Miami               FL       33187
 Courtney Ballard                                                   6400 SE 88th St                                                                                Oklahoma City       OK       73135-6130
 Courtney Cotterill                                                 1605 Church St 4010                                                                            Decatur             GA       30033
 Courtney Davis                                                     731 Wright Rd                                                                                  University Park     IL       60484
 Courtney Elizabeth Biegel                                          2121 County Rd 235                                                                             Alvin               TX       77511-6746
 Courtney McDonough                                                 800 El Dorado Parkway                                                                          Plantation          FL       33317
 Courtney R Gibson                                                  2104 Count Fleet Dr                               Apt 712                                      Arlington           TX       76011
 Courtney R. Davis                                                  2100 NE 3rd Ct                                                                                 Boynton Beach       FL       33435-2371
 Courtney Robinson                                                  1177 Hibiscus Dr                                                                               Hoover              AL       35226
 Courtney T. Clenney Courtney Tailor                                12477 Fairfax Ridge Pl                                                                         Austin              TX       78738
 Courtney Vinson                                                    3236 Arden Villas Blvd #19                                                                     Orlando             FL       32817
 Courtney Wicks                                                     5251 Nave St Sw                                                                                Canton              OH       44706-2213
 Courtney Wikie                                                     2706 Taylor St                                                                                 Hollywood           FL       33020
 Covance Laboratories, Inc.                                         PO Box 2464                                                                                    Burlington          NC       27216
 Coverall North America Inc.                                        2955 Momentum Pl                                                                               Chicago             IL       60689-5329
 Coverall of North Florida                                          109 Nature Walk Pkwy 107                                                                       St Augustine        FL       32092-5065
 COX                                                                PO Box 53249                                                                                   Phoenix             AZ       85072
 Cox Communications                                                 PO Box 53249                                                                                   Phoenix             AZ       85072-3249
 COX Communications Arizona, LLC                                    1550 W Deer Valley Rd                                                                          Phoenix             AZ       85027
 Cox Oil Company                                                    623 Perkins St                                                                                 Union City          TN       38261
 Craft Beer Guild Distributing of NY, LLC                           12-14 Utt Corners Rd # 14                                                                      New Paltz           NY       12561-1602
 Craig Allen Bolton                                                 6260 Melody Ln                                    Apt 1017                                     Dallas              TX       75231
 Craig Anthony Beebe                                                1705 Quinn Dr                                                                                  Plainfield          IL       60586
 Craig Calhoun                                                      4012 Brower Dr                                                                                 Seffner             FL       33584
 Craig Jeffery Dalbec                                               8672 West Bajada Rd                                                                            Peoria              AZ       85383
 Craig Lancaster                                                    5035 College Ave                                                                               San Diego           CA       92115
 Craig Verwey                                                       1565 Ibis Dr                                                                                   Orange Park         FL       32065
 Create Social Group                                                16146 Morrison St                                                                              Encino              CA       91436
 Create Social Group, LLC                                           10647 Ashton Ave #103                                                                          Los Angeles         CA       90024
 Creative Circle                                                    350 E Las Olas Blvd Suite 1220                                                                 Ft Lauderdale       FL       33301
 Creative Compounds, LLC                                            PO Box 4011                                                                                    Scott City          MO       63780
 Creative Production & Design JJ Enterprises                        4801 South Congress Ave                                                                        Austin              TX       78745
 Creditsafe USA, Inc.                                               4635 Crackersport Rd                                                                           Allentown           PA       18104
 Creditsafe USA, Inc.                                               PO Box 789985                                                                                  Philadelphia        PA       19178-9985
 Criss M Seoane                                                     4410 Banyan Trails Dr                                                                          Coconut Creek       FL       33073
 Cristhian Hernandez                                                30349 Eagle Ln                                                                                 Big Pine Key        FL       33043
 Cristhyan A Briceno                                                17030 NW 10th St                                                                               Pembroke Pines      FL       33028
 Cristian Alarcon                                                   380 N Linden Ave #1710                                                                         Rialto              CA       92376
 Cristian Diez Mazo                                                 90 SW 3rd St 3106                                                                              Miami               FL       33130
 Cristian Henao Castano                                             2001 BiscayNE Blvd                                Apt 2220                                     Miami               FL       33137
 Cristian Rodriguez                                                 1643 Keena Dr                                                                                  Las Vegas           NV       89011
 Cristian Ruiz                                                      16293 Southwest 11th St                                                                        Pembroke Pines      FL       33027
 Cristiana Guerrero                                                 1860 Spring Pond Point 124                                                                     Winter Springs      FL       32708
 Cristiano Silva                                                    1772 Aspen Ln                                                                                  Weston              FL       33327



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                        Name                                        Attention                                   Address 1                                Address 2                     Address 3                City    State        Zip           Country
 Cristina Maria Benavente                                                              2273 Nova Village Dr                                                                                        Davie               FL       33317
 Critical Systems, LLC                                                                 2242 NW Parkway SE Suite H                                                                                  Marietta            GA       30067
 Crossfit Katy, LLC                                                                    1315 W Grand Parkway S                                                                                      Katy                TX       77494
 Crown Beverages LLC (SC Only)                                                         1600 Charleston Regional Pkwy                                                                               Charleston          SC       29492-8015
 Crown Beverages LLC (SC Only)                                                         916 W Darlington St                                                                                         Florence            SC       29501
 Crown Beverages, Inc.                                                                 1650 Linda Way                                                                                              Sparks              NV       89431
 Crown Castle Fiber, LLC                                                               PO Box 28730                                                                                                New York            NY       10087-8730
 Crown Cork & Seal USA, Inc                      Christine J Horn                      770 Township Line Rd                                                                                        Yardley             PA       19067-4219
 Crown Credit Company                                                                  44 S Washington St                                                                                          New Bremen          OH       45869
 Crown Credit Company                                                                  PO Box 640352                                                                                               Cincinnati          OH       45264-0352
 Crown Equipment Corporation                                                           2971 Center Port Cir                                                                                        Pompano Beach       FL       33064
 Crown Equipment Corporation                                                           PO Box 641173                                                                                               Cincinnati          OH       45264-1173
 Crown Lift Trucks                                                                     2971 Center Port Cir                                                                                        Pompano Beach       FL       33064
 Cryo-Lease, LLC                                                                       48 Pine Road                                                                                                Brentwood           NH       03833
 Crystal Coetzee                                                                       68 Pitout Rd                                      Ravensklip                                                Boksburg                     1459         South Africa
 Crystal Wenrick                                                                       301 Ocean Ave Suite #1                                                                                      Seal Beach          CA       90740
 Crystal Yolanda Ornelas                                                               9122 West Miami St                                                                                          Tolleson            AZ       85353
 CSGBSH PhoenixAZ II LLC Storage Sense -                                               1844 North 43rd Ave                                                                                         Phoenix             AZ       85009
 CSI - Closure Systems International Packaging                                         1900 West Field Ct                                                                                          Lake Forest         IL       60045
 CSK Cole, Scott & Kissane, PA                                                         9150 S Dadeland Blvd Suite 1400                                                                             Miami               FL       33156-7855
 CSPC Healthcare, Inc. CSPC Nutritionals                                               1221 W State St                                                                                             Ontario             CA       91762-4015
 CSPC Innovations USA Inc                                                              1221 W State St                                                                                             Ontario             CA       91762-4015
 CST Diamond LP Core-Mark - RDC Division                                               19500 Bulverde Rd Suite 230                                                                                 San Antonio         TX       78259-3708
 CT Corporation System, as representative of     Attn: SPRS                            330 N Brand Blvd                                  Suite 700                                                 Glendale            CA       91203
 Cube Smart 532 CubeSmart, LP                                                          43357 Division St                                                                                           Lancaster           CA       93535-4643
 Cube Smart 6579 D.Beeks aurora Investments                                            3215 Braemar Dr                                                                                             Santa Barbara       CA       93109-1076
 CUBESMART                                                                             1500 North Park Dr                                                                                          Weston              FL       33326
 CubeSmart Store 5686                                                                  9985 Gayfer Rd Ext                                                                                          Fairhope            AL       36532-4412
 CubeSmart, LP CubeSmart                                                               2200 Heritage Dr                                                                                            Lakeland            FL       33801-8000
 Culligan of Miami Consolidated Water                                                  11540 Interchange Cir North                                                                                 Miramar             FL       33025
 Culver Equipment, LLC.                                                                2487 S Gilbert Rd Suite 106 - 268                                                                           Gilbert             AZ       85295
 Cumberland Farms, Inc.                                                                165 Flanders Rd                                                                                             Westborough         MA       01581-1032
 Cumberland Group, LLC.                                                                Department 4509                                                                                             Carol Stream        IL       60122-4509
 Cummins - Wagner Holdings, Inc. Cummins -                                             PO Box 715976                                                                                               Philadelphia        PA       19171-5976
 Cummins Inc. Cummins Sales and Service                                                PO Box 912138                                                                                               Denver              CO       80291
 Curtis Russell Fleming-Davis                                                          40774 West Portis Dr                                                                                        Maricopa            AZ       85138
 Custom Graphix Sign Works, LLC                                                        1920 W ASuiter Dr                                                                                           Phoenix             AZ       85029-2604
 Cutting Edge Court Reporting                                                          1521 Alton Rd Suite 218                                                                                     Miami Beach         FL       33139
 CV Technology, Inc                                                                    15852 Mercantile Ct                                                                                         Jupiter             FL       33478
 CVS Pharmacy, Inc                                                                     One Cvs 1 Cvs Dr                                                                                            Woonsocket          RI       02895-6146
 CW Carriers Dedicated Inc                                                             509 S Falkenburg Rd                                                                                         Tampa               FL       33619-8005
 CyberCoders                                                                           File #54318                                                                                                 Los Angeles         CA       90074-4318
 Cydney Afton Hatch                                                                    11064 South Old Bridge Rd                                                                                   South Jordan        UT       84009
 Cydney Moreau                                                                         5800 SW 10th St                                                                                             West Miami          FL       33144
 D M Lock and Safe Inc.                                                                5835 Memorial Hwy Suite 15                                                                                  Tampa               FL       33615
 D&R Fencing                                                                           5743 Lincoln St                                                                                             Hollywood           FL       33021
 D&S Automatics, Inc                                                                   23900 W Industrial Dr South                                                                                 Plainfield          IL       60585
 D.H. Pace Company, Inc.                                                               1901 E 119th St                                                                                             Olathe              KS       66061
 Dab Day Productions Cody Edwards                                                      13559 Tarrasa Ct W                                                                                          Jacksonville        FL       32225-3268
 Dache' Ann Marrone                                                                    1715 Amaryllis Cir                                                                                          Orlando             FL       32825
 Daeanne Alvarez                                                                       7921 SW 104th St                                  Apt F210                                                  Miami               FL       33156
 Daeanne Alvarez Cruz                                                                  7921 SW 104th St F120                                                                                       Miami               FL       33156
 Dahian Lorena Munoz                                                                   Calle 109a                                        #18-19                                                    Bogota                       1111112      Colombia
 Daiken                                                                                1765 West Oak Pkwy Suite 500                                                                                Marietta            GA       30062
 Dairelys Chaleton Velazquez                                                           673 East 36th St                                                                                            Hialeah             FL       33013
 Dairy Farmers of America Inc                                                          1405 N 98th St                                                                                              Kansas City         KS       66111-1865
 Dairy Farmers of America Inc                                                          950 Metrecal Trace St                                                                                       Cabool              MO       65689
 Dairy Farmers of America Inc                    c/o Bryan Cave Leighton Paisner LLP   Attn: Robert J. Hoffman                           1200 Main Street, Suite 3800                              Kansas City         MO       64105
 Dairy Farmers v. Vital Pharmaceuticals, Inc.    Dairy Farmers of America Inc          1405 N 98th St                                                                                              Kansas City         KS       66111-1865
 Daisy Duke Promotions, LLC                                                            7132 Washington St                                                                                          Kansas City         MO       64114-1343
 Daisy Fernandez                                                                       7219 NW 5th St                                                                                              Miami               FL       33126
 Daisy Grunewald                                                                       15560 Southwest 136th St                          Unit 211                                                  Miami               FL       33196
 Daisy Keech                                                                           174 Callahan Ln                                                                                             Windsor             CA       95492
 Daitin & Associates Company                                                           4th Floor No 66                                   Ngoc Lam St                     Long Bien District        Hanoi                        084          Vietnam
 Dakota B Clark                                                                        2832 Lafayette Trace Dr                                                                                     St Cloud            FL       34772
 Dakota Elder                                                                          1732 Cliffpoint Dr                                                                                          St George           UT       84790
 Dakota Sales Co., Inc                                                                 1916 Demers Ave                                                                                             Grand Forks         ND       58201
 Dalayla Khoury                                                                        987 Elizabeth Ave                                                                                           Rohnert Park        CA       94928
 DALB, Inc                                                                             73 Industrial Blvd                                                                                          Kearneysville       WV       25430-2733
 Dale Egelston                                                                         7503 Carolina Ln                                                                                            Vancouver           WA       98664
 Dale Seibert                                                                          725 4th Ave                                                                                                 San Diego           CA       92101-6934
 Dale W Morton                                                                         19225 N Carnation Dr                                                                                        Sun City            AZ       85373
 Dale Wayne Morton                                                                     19255 N Carnation Dr                                                                                        Sun City            AZ       85373
 Dalfen Industrial                                                                     700 W 48th Ave                                    Unit S                                                    Denver              CO       80216
 Dallas Forklift Service                                                               11305 KliNE Dr                                                                                              Dallas              TX       75229-3109



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 Dallas Trailer Repair Co Inc                                2447 E State Highway 356                                                                         Irving               TX      75060-3325
 Dallin Delgado                                              987 W 125 N                                                                                      Springville          UT      84663
 Dalton Ross Corbett                                         4699 Kittredge St                                 Unit 3 Apt 333                                 Denver               CO      80239
 Damaris Feliciano                                           990 Coral Ridge Dr #301                                                                          Coral Springs        FL      33071
 Damarys Perez Carreras                                      15886 Southwest 84th St                                                                          Miami                FL      33193
 Damaso Duque Valley Detail                                  9795 Stanwin Ave                                                                                 Arleta               CA      91331
 Damen Griffith                                              15 Estates Ct                                                                                    Longview             TX      75605
 Damian Guerra                                               124 thornwood Dr Sw                                                                              Rome                 GA      30165-3473
 Damian Kwiatkowski                                          512 Ctland Blvd                                                                                  Deltona              FL      32738
 Damien Martin                                               9625 Riverside Dr                                 Apt D8                                         Coral Springs        FL      33071
 Damier Media                                                9701 Wilshire Blvd Suite 1000                                                                    Beverly Hills        CA      90212
 Damion Brown                                                19997 North Herbert Ave                                                                          Maricopa             AZ      85138
 Dana Abdulhay                                               2100 SW 152 Pl                                                                                   Miami                FL      33185
 Dana Distributors Inc.                                      52 Hatfield Ln                                                                                   Goshen               NY      00000
 Dana Ghanem                                                 3885 Stardust Dr                                                                                 Mississauga          ON      L5M 7Z9      Canada
 Dana Gill                                                   1865 Corte Pulsera                                                                               Oceanside            CA      92056
 Dana Higashi                                                812 Kiaala Place                                                                                 Honolulu             HI      96825
 Dana Joy Jacob Lopez                                        2701 Cathedral Ln                                                                                Las Vegas            NV      89108
 Dana Rachel Meltzer                                         108 Reserve Cir #108                                                                             Oviedo               FL      32765
 Dance South Florida                                         11867 SW 7th St                                                                                  Pembroke Pines       FL      33025
 DanceSway, LLC                                              7140 Bird Rd                                                                                     Miami                FL      33155
 Dandy Mini Marts, Inc                                       6221 Mile Ln Rd                                                                                  Sayre                PA      18840-9454
 Dane Nixon                                                  3236 Greenbriar Dr                                                                               Norton               OH      44203
 Dang Studios LLC Matthew Smith                              20515 W Shelly Ln                                                                                Porter Ranch         CA      91326
 D'Angelo Kotae Amous                                        302 Brothers Blvd                                                                                Red Oak              TX      75154
 Daniel A Pereira Alvarez                                    550 Southwest 178th Way                                                                          Pembroke Pines       FL      33029
 Daniel Adeniji Jacque                                       7943 W 2nd Ct 201                                                                                Hialeah              FL      33014
 Daniel Ajibike                                              8417 Seven Hills Rd                                                                              Arlington            TX      76002
 Daniel Alvarez Pereira                                      550 SW 178th Way                                                                                 Pembroke Pines       FL      33029-4101
 Daniel Burnett                                              31877 Corte Montecito                                                                            Temecula             CA      92592
 Daniel Cristobal Thomas Mora                                8767 Amigo Ave                                                                                   Los Angeles          CA      91324
 Daniel Cruz                                                 1103 N Border Rd                                                                                 Alamo                TX      78516
 Daniel D Gray                                               1600 N Park Dr                                                                                   Weston               FL      33326-3278
 Daniel D Palmer                                             5130 Bull Run Dr                                                                                 Baton Rouge          LA      70817
 Daniel Doucet                                               14335 West Piccadilly Ave                                                                        Goodyear             AZ      85395
 Daniel Douglas Gray                                         37 Conner Way                                                                                    Gardnerville         NV      89410
 Daniel Enrique Bolivar                                      19340 Northwest 7th St                                                                           Pembroke Pines       FL      33029
 Daniel Enrique Novoa Ely                                    9804 Beaver Dam Ln                                                                               Mckinney             TX      75071
 Daniel Erskin                                               541 Equestrian                                                                                   Rockwall             TX      75032
 Daniel Fleharty                                             1819 Lenoxburg Rd                                                                                Falmouth             KY      41040
 Daniel Guangorena                                           3161 W Lincoln Ave                                                                               Anaheim              CA      92801
 Daniel Gutierrez                                            8323 West Berridge Ln                                                                            Glendale             AZ      85305
 Daniel Heyer                                                110 Walnut Dr                                                                                    Mckees Rocks         PA      15136
 Daniel Ibanicel Abreu                                       1055 West 77th St                                 Apt 413                                        Hialeah              FL      33014
 Daniel Icenhour                                             4880 Treeline Dr                                                                                 Brunswick            OH      44212
 Daniel James Bencomo                                        100 W Nopal Pl 103                                                                               Chandler             AZ      85225
 Daniel James Bolen                                          14530 S Juniper Shade Dr                                                                         Herriman             UT      84096
 Daniel Jaramillo                                            8900 NW 107th Ct 205                                                                             Miami                FL      33178
 Daniel Jaramillo Gonzalez                                   Diagonal 47A #17 Sur 27                           Apt 316                                        Medellin                     050022       Colombia
 Daniel Jay Fryburg                                          1958 Madeira Dr                                                                                  Weston               FL      33327
 Daniel John Lagnese                                         9000 Jacaranda Ln #206                                                                           Plantation           FL      33324
 Daniel L Rivera                                             6949 Laurel Canyon Blvd 241                                                                      North Hollywood      CA      91605
 Daniel L. Jacob & Co. Inc.                                  2403 E High St                                                                                   Jackson              MI      49203-3421
 Daniel Leon Francoeur                                       13717 N 42nd St                                   Apt 6                                          Tampa                FL      33613
 Daniel Martin Arellano                                      1825 West Apache St                                                                              Phoenix              AZ      85007
 Daniel Martin Lopez                                         8704 W Cp Hayes Dr                                                                               Tolleson             AZ      85353
 Daniel Mesa Palacio                                         3016 West Kirby St                                                                               Tampa                FL      33614
 Daniel Montoya Martinez                                     2050 West Romley Ave                                                                             Phoenix              AZ      85041
 Daniel Neto                                                 1884 SW Jamesport Dr                                                                             Port St Lucie        FL      34953
 Daniel Nguyen                                               8920 West Russell Rd 2050                                                                        Las Vegas            NV      89148
 Daniel Papale                                               1430 RailRd Ave                                                                                  Lutherville          MD      21093
 Daniel Quintero                                             2179 Hacienda Terrace                                                                            Weston               FL      33327
 Daniel R Howell                                             1600 N Park Dr                                                                                   Weston               FL      33326-3278
 Daniel Reid Howell                                          1210 WestminSuiter Way                                                                           Madison              GA      30650
 Daniel Ricardo Alvarado                                     2702 CregstoNE Way                                                                               Fort Mill            SC      29715
 Daniel Rodriguez                                            6641 NW 178th Terr                                                                               Hialeah              FL      33015
 Daniel Ruben Tellez                                         7013 W Catalina Dr                                                                               Phoenix              AZ      85033
 Daniel Sado                                                 6214 Flagler St                                                                                  Hollywood            FL      33023
 Daniel Schneider                                            5620 Fair Haven Trail                                                                            Woodbury             MN      55129
 Daniel Scott Hurtes                                         12431 Baywind Ct                                                                                 Boca Raton           FL      33428
 Daniel Sepulveda                                            1950 Hutchinson Rvr Pkwy #6I                                                                     The Bronx            NY      10461
 Daniel Van Leijenhorst                                      Heijermansstraat 16                               Gelderland                                     Doetinchem                   7002 AG      Netherlands
 Daniel Van Leijenhorst ABN Amro N.V                         Heijermansstraat 16                                                                              Doetinchem           Gelderla7002 AG      Netherlands
 Daniel Vargas                                               1804 Oak Pond St                                                                                 Ruskin               FL      33570
 Daniel Velez                                                901 S Country Club Dr 1008                                                                       Mesa                 AZ      85210



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                        Name                   Attention                                Address 1                                       Address 2                     Address 3                 City    State      Zip             Country
 Daniel Yepes                                                  10328 Boca Springs Dr                                                                                              Boca Raton           FL     33428
 Daniel Yu-Chieh Lee                                           3100 Jeanetta St                                         Apt 101                                                   Houston              TX     77063
 Daniela Arango                                                Calle 27 sur #28-270 Balcones de la Abadia 3             Apt 1201                                                  Antioquia                   50          Colombia
 Daniela Arias                                                 5911 Washngton St 104                                                                                              Hollywood            FL     33023
 Daniela Ayala Prado                                           428 Spring River Dr                                                                                                Orlando              FL     32828
 Daniela Cardona Lopez                                         Av 30 De Agosto 68-125                                   Canaveral 1 Bloque 5 Apt 402    Risaralda                 Pereira                                 Colombia
 Daniela Duque Ruiz                                            SUR # 22-290 Calle 5 Ed Aguas Del Bosque                 Apt 324                                                   Medellin                    050022      Colombia
 Daniela Medina Gutierrez                                      Casas Avignon                                            Casa 143 Calle 23               Sur #25B 69               Antioquia                               Colombia
 Daniela Morales                                               1600 N Park Dr                                                                                                     Weston               FL    33326-3278
 Daniela Perez                                                 10280 NW 63th Terrace #203                                                                                         Doral                FL    33178
 Daniela Quevedo                                               10350 Crestgate Terrace                                  Apt 202                                                   Raleigh              NC    27617
 Daniela Rojas                                                 9100 SW 165th Place                                                                                                Miami                FL    33196
 Daniela Sims                                                  50 Walton Green Way                                      Apt 518                                                   Kennesaw             GA    30144
 Daniela Tamayo                                                Calle 9 B Sur #25-161 Condominio Orion - 302                                                                       Medellin                   55420        Colombia
 Danield Najera-Armenta                                        7622 West College Dr                                                                                               Phoenix              AZ    85033
 Daniella Duran Diaz                                           1219 60 SW 13th St                                                                                                 Miami                FL    33130
 Daniella Fleites                                              13455 SW 291 Ln                                                                                                    Homestead            FL    33033
 Daniella Mares Almada                                         21202 West Encanto Blvd                                                                                            Buckeye              AZ    85396
 Daniella Utterback                                            16119 Cholla Dr                                                                                                    Fountain Hills       AZ    85268
 Daniella Vazquez                                              13266 SW 206th Terrace                                                                                             Miami                FL    33177
 Danielle Ayala                                                1205 S Camden Dr                                                                                                   Los Angeles          CA    90035
 Danielle Ballard                                              38886 County Rd 374                                                                                                Paw Paw              MI    49079
 Danielle Breslau                                              122 thornwood Rd                                                                                                   Massapequa Park      NY    11762-4023
 Danielle Cohen                                                21243 Southwest 89th Ct                                                                                            Cutler Bay           FL    33189
 Danielle Cohn Jennifer Archambault (Mother)                   24921 Palmilla Dr                                                                                                  Calabasas            CA    91302
 Danielle Cooper                                               39 Emerald Rd                                                                                                      Kendall Park         NJ    08824
 Danielle Denittis                                             857 Gas Light Ln                                                                                                   Virginia Beach       VA    23462
 Danielle Ezu Morali                                           12101 NW 5th St                                                                                                    Plantatiton          FL    33325
 Danielle Fortun                                               8385 SW 94 St                                                                                                      Miami                FL    33156
 Danielle Gorman                                               1108 Hardy Dr                                                                                                      Tampa                FL    33613
 Danielle Inzano                                               3420 7th Ave Sw                                                                                                    Naples               FL    34117
 Danielle Lisa Brown                                           13501 AnNE Browers Rd                                                                                              Charlotte            NC    28213
 Danielle Marie Caraturo                                       2421 West Horatio St                                     Apt 824                                                   Tampa                FL    33609
 Danielle McBain                                               2252 Sdilk Tree Dr                                                                                                 Tustin               CA    92780
 Danielle Melissa Brown                                        6517 Flamingo Ln                                                                                                   Coconut Creek        FL    33073
 Danielle Pomerantz                                            11731 Royal Palm Blvd                                                                                              Coral Springs        FL    33065
 Danielle Power                                                2119 SE 10th Ave                                                                                                   Fort Lauderdale      FL    33316
 Danielle T Jakubowski                                         133 Admiral Rd                                                                                                     Buffalo              NY    14216
 Danielson Jean-Baptiste                                       112 S Sequoia Dr                                                                                                   West Palm Beach      FL    33409
 Danilo Cardoso Crespo                                         Rua Antonio Visitacao Lopes Rubio                        66- Conj Cafezal 1                                        Londrina                   86049-010    Brazil
 Danna G. Alfandary                                            3500 Mystic Pointe Dr 1005                                                                                         Aventura             FL    33180-2580
 Danna Serrao                                                  9681 NW 45th Ln                                                                                                    Miami                FL    33178
 Danna-Gift Drzazgowski                                        3417 W MelroSE St 1                                                                                                Chicago              IL    60618
 Danny J Casique                                               2424 East Tracy Ln                                                                                                 Phoenix              AZ    85032
 Danny Kandid Media LLC Danny Korentur                         4556 Jenkins Dr                                                                                                    Plano                TX    75024
 Danny S Benabe                                                44247 Kramer Ln                                                                                                    Maricopa             AZ    85138
 Dante Rodriguez                                               328 Beekman Ave 6J                                                                                                 Bronx                NY    10454-1445
 Danville Distributing Company                                 2848 W Main St                                                                                                     Danville             VA    24541-6253
 Danya Hussain                                                 11780 Southwest 2nd St                                                                                             Plantation           FL    33325
 Danyiel Alvin Evans                                           1121 Northwest 43 Terrace                                                                                          Fort Lauderdale      FL    33313
 Daphne Narvaez                                                18701 Redwing St                                                                                                   Tarzana              CA    91356
 Dara Lynn Bitler Dara                                         4963 White HouSE Trail                                                                                             Evergreen            CO    80439
 Darby McVay                                                   5750 Marquita Ave 12                                                                                               Dallas               TX    75206
 Darell Montel Baptist Jr                                      8694 Via Mar Rosso                                                                                                 Lake Worth           FL    33467
 Dari Farms DF OPCO, LLC Speedway                              210 Essex St                                                                                                       Whitman              MA    02382
 Dari Farms DF OPCO, LLC Speedway                              55 Gerber Dr                                                                                                       Tolland              CT    06084-2851
 Daria Ann Despin Daria                                        1113 Cedar St                                                                                                      Boonton              NJ    07005
 Darian Barnett                                                1017 SW 23rd St                                                                                                    Cape Coral           FL    33991
 Dariel Rodriguez Barrera                                      2040 Northwest 93rd Ave                                                                                            Pembroke Pines       FL    33024
 Dariela Romero Vasquez                                        381 Bermuda Springs Dr                                                                                             Weston               FL    33326
 Darin Alcolea                                                 38 Oak Leaf Ln                                                                                                     Tinton Falls         NJ    07712
 Dario Calderon Loredo                                         2047 North 51St Dr                                                                                                 Phoenix              AZ    85035
 Darion Kenneth Ahonen                                         4665 Mt Zoar Latham Rd                                                                                             Hopkinsville         KY    42240
 Darius Jamal Ingram                                           4737 Exposition Way                                                                                                Fort Worth           TX    76244
 Darla Harris                                                  11037 Pondview Dr                                        Apt 23E                                                   Orlando              FL    32825
 Darlene Marie Rivera                                          11940 SW 19th St                                                                                                   Miramar              FL    33025
 Darlene Munoz                                                 2168 N Beechwood Ave                                                                                               Rialto               CA    92376
 Darline Estima                                                8007 SW 7th St                                                                                                     North Lauderdale     FL    33068
 Darnell Begay                                                 4621 North 19th Ave                                                                                                Phoenix              AZ    85015
 Darrell Bennett                                               2532 Palmetto Dr                                                                                                   Cocoa                FL    32926-4317
 Darrell J Bennett II                                          2532 Palmetto Dr                                                                                                   Cocoa                FL    32926
 Darren Buschman                                               200 South Michillinda Ave                                Unit A                                                    Los Angeles          CA    91024
 Darren Roberts                                                2000 Southwest 96th Terrace                                                                                        Miramar              FL    33025
 Darrin Thomas Woodie                                          6161 W Mcdowell Rd 1171                                                                                            Phoenix              AZ    85035
 Darrius Xavier McCants                                        533 East Pebble Beach Dr                                                                                           Tempe                AZ    85282



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                       Name                                    Attention                                        Address 1                                  Address 2         Address 3                 City    State          Zip             Country
 Darryl Keith Evans Jr.                                                                 1744 Napa Valley Ct Southea                                                                      Smyrna               GA        30080
 Darryl L McClish                                                                       12811 Segovia Dr                                                                                 Litchfield Park      AZ        85340
 Darwin A Umana                                                                         5266 Northwest 24th Ave                                                                          Miami                FL        33142
 Darya Martemyanova Dashamart LLC                                                       2933 SW 53rd St                                                                                  Fort Lauderdale      Florida   33312
 Darya Martsemyanava                                                                    2933 SW 53rd St                                                                                  Fort Lauderdale      FL        33312
 Daryel Lopez Fernandez                                                                 311 73rd Ocean St                                Apt 201                                         Marathon             FL        33050
 Daryl S Lehman                                                                         1600 N Park Dr                                                                                                        FL        33326-3278
 Daryl Scott Lehman                                                                     3442 Hickory Ave                                                                                 Adair                IA        50002
 Dash LLC                                                                               1712 Pioneer Ave                                                                                 Cheyenne             WY        82001
 Datasite LLC                                                                           PO Box 74007252                                                                                  Chicago              IL        60674-7252
 Dave Martin International                                                              PO Box 608150                                                                                    Orlando              FL        32860
 Dave Martin Int'l                                                                      3668 Livernois Rd                                                                                Troy                 MI        48083
 Davelyn G. Davenport                                                                   600 Kristi Ln                                                                                    Cedar Hill           TX        75104
 David A Gil                                                                            17901 NW 48 Ct                                                                                   Miami Gardens        FL        33055
 David A Serrano                                                                        32524 N 133rd Ave                                                                                Peoria               AZ        85383-6090
 David Adrian Guevara                                                                   6570 San Homero Way                                                                              Buena Park           CA        90620
 David Amaechi Medani                                                                   830 SW 355th Ct                                                                                  Federal Way          WA        98023
 David Anderson                                                                         1570 West Curry Dr                                                                               Chandler             AZ        85224
 David Andrade                                                                          1292 Northwest 171St Terrace                                                                     Pembroke Pines       FL        33028
 David Austen Martinez                                                                  8713 North Shadow Ln                                                                             Peoria               AZ        85345
 David Barnes                                                                           17950 N 68th St #3014                                                                            Phoenix              AZ        85054
 David Barnes                                                                           6611 East Mayo Blvd                              Apt 3019                                        Phoenix              AZ        85054
 David Burgess                                                                          408 Tracy Cir                                                                                    Nokomis              FL        34275
 David Buschman                                                                         21550 Box Springs Rd 2062                                                                        Moreno Valley        CA        92557
 David C Acklin                                                                         1600 N Park Dr                                                                                   Weston               FL        33326-3278
 David Castro                                                                           1309 West L St                                                                                   Wilmington           CA        90744
 David Cervantes Jr                                                                     5204 South 85th West Ave                                                                         Tulsa                OK        74107
 David Christopher Aguilar                                                              304 East Beth Dr                                                                                 Phoenix              AZ        85042
 David Cole Acklin                                                                      2616 Morning Grove Dr                                                                            Cordova              TN        38016
 David Cotty David A. Cotty                                                             7072 Sea Star Dr                                                                                 Grand Prairie        TX        75054
 David D Polanco                                                                        1600 N Park Dr                                                                                   Weston               FL        33326-3278
 David DiCristina                                                                       1884 Northwest 97th Ave                                                                          Plantation           FL        33322
 David Do Nascimento Advogados Associados                                               Av Paulista                                      1294 - 16 Andar                                 Sao Paulo                      01310-100    Brazil
 David Dominic Polanco                                                                  1000 Sellers Dr Ne                               Apt 1                                           Albuquerque          NM        87112-5168
 David Edward Lott                                                                      4029 Randall Ln                                                                                  Carrollton           TX        75007
 David Fridkin                                                                          1945 S Ocean Dr                                  Apt 605                                         Hallandale Beach     FL        33009
 David Gueits                                                                           956 Golden CaNE Dr                                                                               Weston               FL        33327
 David Inman                                                                            6513 Woodmere Ct                                                                                 Argyle               TX        76226
 David J Fuelling                                                                       1600 N Park Dr                                                                                   Weston               FL        33326-3278
 David James                                                                            933 Apollo Beach Blvd                            Unit 103                                        Apollo Beach         FL        33572
 David John Podkulski                                                                   1613 Saunders Ave                                                                                Saint Paul           MN        55116
 David Jordan                                                                           483 N Lakeview Dr                                                                                Lake Helen           FL        32744
 David Joshua Fuelling                                                                  105 West EllaiNE Ave                                                                             Pasadena             TX        77506
 David Kizer                                                                            415 Townsquare Ln #219                                                                           Huntington Beach     CA        92648
 David Lee Felton                                                                       11710 Pure Pebble Dr                                                                             Riverview            FL        33569
 David Lee Whaley                                                                       8781 Wiles Rd                                    Apt 201                                         Coral Springs        FL        33067
 David Marshall                                                                         9687 West Cinnabar Ave                           Unit A                                          Peoria               AZ        85345
 David Mauga                                                                            4447 West Earll Dr                                                                               Phoenix              AZ        85031
 David Medani                                                                           621 S Gramercy Pl                                Apt 501                                         Los Angeles          CA        90005
 David Michael Power                                                                    1001 Northwest 94th Terrace                                                                      Plantation           FL        33322
 David Miele                                                                            624 Almond Ct                                                                                    Flemington           NJ         8822
 David Mulgado                                                                          5310 Mission St                                                                                  San Francisco        CA        94112
 David Nebieridze                                                                       220 NW 48th St                                                                                   Miami                FL        33127
 David Nemes                                                                            1134 East Caroline Ct                                                                            Ontario              CA        91764
 David Patrick Cassidy                                                                  540 North May                                    Apt 3103                                        Mesa                 AZ        85201
 David Paul                                                                             3995 Island Club Dr                                                                              Lake Worth           FL        33462
 David Pindell                                                                          6960 Linden Ave                                                                                  Elkridge             MD        21075
 David R Cruz                                                                           7079 Chesapeake Cir                                                                              Boynton Beach        FL        33436
 David Ramirez & Kelly Ocampo vs. VPX (2022)   David Serrano Ramirez and Kelly Ocampo   10350 West McDowell Rd                                                                           Avondale             AZ        85392
 David Rangel                                                                           1813 Hideaway Place                              Apt 101                                         Corona               CA        92881
 David Ray Morelock                                                                     6319 Mill Grove Rd                                                                               Indian Trail         NC        28079
 David Ribeiro                                                                          269 Engelenburg St                               Groenkloof                                      Pretoria                       0181         South Africa
 David Rosenberg Social Media Marketing                                                 931 Glick Ave                                                                                    Allentown            PA        18103-4545
 David Runnebaum                                                                        3400 Dockside Dr                                                                                 Hollywood            FL        33026
 David S York Jr.                                                                       6357 West Cinnabar Ave                                                                           Glendale             NY        85302
 David Santiago                                                                         3520 NW 194 St                                                                                   Miami Garden         FL        33056
 David Serrano Ramirez                                                                  10350 W Mcdowell Rd #3219                                                                        Avondale             AZ        85392
 David Sibley                                                                           919 Timber Isle Dr                                                                               Orlando              FL        32828
 David Smith                                                                            5757 West Eugie Ave                              Apt 2016                                        Glendale             AZ        85304
 David Villalobos                                                                       707 West Saint Kateri Ave                                                                        Phoenix              AZ        85041
 David W Scott                                                                          1385 NW 66 Terrace                                                                               Margate              FL        33063
 David Wayne Gonzalez                                                                   1475 North Quail Ln                                                                              Gilbert              AZ        85233
 Davis & Jones LLC dba Debt Recovery                                                    209 West 2nd St Suite 322                                                                        Forth Worth          TX        76102
 Davis Industrial BMG Conveyor Services of                                              5010 16th Ave South                                                                              Tampa                FL        33619
 Davis Merchandising Group, Inc.                                                        PO Box 7380                                                                                      Huntington Beach     CA        92615



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 Davis P Celestine                                             19933 Dolores Ann Ct                                                                            Lutz                FL       33549
 Davontay D Goode                                              11875 West Mcdowell Rd                             Apt 2138                                     Avondale            AZ       85392
 Dawn Food Products                                            3333 Sargent Rd                                                                                 Jackson             MI       49201-8847
 Dawoud Murad                                                  7625 Hamelin Ln                                                                                 Gainesville         VA       20155
 Daxin Lau-Huang                                               3756 Plantation Oaks Blvd                                                                       Orange Park         FL       32065
 Day Pitney LLP Real Estate Trust                              1201 George Bush Blvd                                                                           Delray Beach        FL       33483
 Dayana Abdulhay                                               2100 Southwest 152nd Place                                                                      Miami               FL       33185
 Dayanna Cabllero Bastos                                       4135 24th Ave Ne                                                                                Naples              FL       34120
 Daylyn Lucky                                                  10550 East Sanger Ave                                                                           Mesa                AZ       85212
 Daymara Saborit                                               14909 SW 80th St 107                                                                            Miami               FL       33193
 DBS Law                                                       155 NE 100th St                                                                                 Seatle              WA       98125
 DDW Enterprises, LLC                                          3111 S Valley View Blvd                                                                         Las Vegas           NV       89102-8317
 De Chalains                                                   PO Box 2854                                                                                     Pretoria                                  South Africa
 DE Enterprises Dave Eisner                                    5127 W Tierra Buena Ln                                                                          Glendale            AZ       85306
 De Jure Praedae, LLC                                          177 Lewis Ave                                                                                   Brooklyn            NY       11221
 De Lage Landen Financial Services, Inc.                       PO Box 41602                                                                                    Philadelphia        PA       19101-1602
 De Troye                                                      PO Box 700257                                                                                   Oostburg            WI       53070
 De WERK Plaats Sittard b.v.                                   Rijksweg Zuid 27                                                                                Sittard                      6131 AL      Netherlands
 Dean Arthur Eksteen                                           308 West Louis Way                                                                              Tempe               AZ       85284
 Dean Distributing, Inc.                                       1215 Ontario Rd                                                                                 Green Bay           WI       54311-8009
 Dean Glass & Mirror Corp                                      1301 West Copans Rd                                                                             Pompano Beach       FL       33064
 Dean Purcell                                                  5415 Oak Bend Trail                                                                             Prosper             TX       75078
 Deandrea Malcolm Bowden                                       1044 Varsity Ln                                                                                 Charlotte           NC       28262
 Deanna Leggett                                                7727 Lankershim Blvd 308                                                                        North Hollywood     CA       91605
 Debora J Duarte                                               1600 N Park Dr                                                                                  Weston              FL       33326-3278
 Debora Jaye Duarte                                            228 Bent Creek Dr                                                                               Hutto               TX       78634
 Debra Schwartzben                                             160 W End Ave 15E                                                                               New York            NY       10023-5609
 Debra Schwartzben                                             5555 Collins Ave                                   Apt 9R                                       Miami Beach         FL       33140
 Debreco Jackson                                               5383 Southern Blvd                                 Apt 339                                      Dallas              TX       75240
 DeCrescente Distributing Co., Inc.                            211 N Main St                                                                                   Mechanicville       NY       12118-1214
 Dedrick Spence                                                323 Dogwood Ridge Rd                                                                            Summerville         SC       29485
 Deeantre DeYoung                                              2907 Bliss Ct                                                                                   Plainfield          IL       60586
 DEIBEL LABORATORIES                                           PO Box 1056                                                                                     Osprey              FL       34229-1056
 Deivy's D' Almeida                                            4510 Colbath Av 8                                                                               Sherman Oaks        CA       91423
 Deivys D'Almeida                                              4510 Colbath Ave 8                                                                              Sherman Oaks        CA       91423
 Delaney Distributors, Inc.                                    510 1St St West                                                                                 Williston           ND       58801
 Delaney Distributors, Inc.                                    PO Box 2140                                                                                     Williston           ND       58802-2140
 Delaney Durk                                                  1215 Roundabout Rd                                                                              Cameron             NC       28326
 Delet Consulting Crop                                         1600 N Park Dr                                                                                  Weston              FL       33326-3278
 Dell Financial Services                                       4307 Collection Center Dr                                                                       Chicago             IL       60693
 Delta Diversified Enterprises                                 425 W Gemini Dr                                                                                 Tempe               AZ       85283
 Deluxe                                                        PO Box 4656                                                                                     Carol Stream        IL       60197-4656
 Delware Valley Franchise Owners Assoc DVFOA                   79 thoroughbred Dr                                                                              Holland             PA       18966
 Demand Resource Solutions, Inc                                9935 D Rea Rd                                                                                   Charlotte           NC       28277
 Demarcus Rashawn Luckey                                       232 Odell Dr Northwest                                                                          Concord             NC       28025
 Demarrious D Weems                                            5712 North 67th Ave                                Apt 103                                      Glendale            AZ       85301
 Demi Haimy Nguyen                                             12323 LuSuiterleaf Dr                                                                           Cypress             TX       77429
 Demi Patterson                                                7215 Derwent Glen Cir                                                                           Land O' Lakes       FL       34637
 Demontris Kenwona Wilson                                      1615 Ramos Dr                                      Apt 43                                       Arlington           TX       76015
 Denis G. Samsonov                                             401 S Burnside Ave 7H                                                                           Los Angeles         CA       90036-5313
 Denis Samsonov                                                401 South Burnside Ave                             Apt 7H                                       Los Angeles         CA       90036
 Denise Coelho                                                 13011 N 58th Dr                                                                                 Glendale            AZ       85304-1873
 Denitra Thomas                                                3025 Coral Ridge Dr                                                                             Coral Springs       FL       33065
 Dennemeyer & Associates, LLC                                  2 N Iverside Plz Suite 1500                                                                     Chicago             IL       60606-2608
 Dennhi Callu                                                  233 Paulin Ave                                     PMB 6285                                     Calexico            CA       92231
 Dennhi Callu Luque                                            1323 Yale St B                                                                                  Santa Monica        CA       90404
 Dennie S Stacy                                                1600 N Park Dr                                                                                  Weston              FL       33326-3278
 Dennie Shane Stacy                                            3397 Loblolly Dr                                                                                Sophia              NC       27350
 Dennis M Pierce                                               13229 Hampton Park Ct                                                                           Fort Myers          FL       33913
 Dennis Ruiz                                                   10700 City Center Blvd                             Apt 5219                                     Pembroke Pines      FL       33025
 Dennis Valdez                                                 1101 North Gilbert Rd                              Apt 85234                                    Gilbert             AZ       85234
 Dennys R Perdomo                                              17938 Northwest 68th Ave                                                                        Hialeah             FL       33015
 Dennys R. Perdomo                                             6705 Miami Lakes Dr 101                                                                         Miami Lakes         FL       33014-8102
 Deon A Bailey                                                 3911 SW 52nd Ave Bldg 5                            Unit 2                                       Hollywood           FL       33023
 Deon A Mosley                                                 11 South 12th St                                   Apt 2116                                     Phoenix             AZ       85034
 Deondric Atkinson                                             1020 Angela Ct                                                                                  Everman             TX       76140
 Deonta D Coley                                                94 North 174th Dr                                                                               Goodyear            AZ       85338
 Department of Revenue State of Mississippi                    PO Box 23075                                                                                    Jackson             MS       39225-3075
 Department of Workforce Development                           7945 Po Box                                                                                     Madison             WI       53707
 Depot Supplies USA Corp                                       12590 Pines Bvld # 260216                                                                       Hollywood           FL       33026
 Dequan Colson Lamont                                          1321 Orvis St                                                                                   Charlotte           NC       28216
 Derek A Wilson                                                5116 West Saint Kateri Dr                                                                       Laveen              AZ       85339
 Derek Graham                                                  1595 Forest Lakes Cir D                                                                         West Palm Beach     FL       33406
 Derek Ray McWilliams                                          1604 Southwest 4th Ave                                                                          Fort Lauderdale     FL       33315
 Derek Simon                                                   11122 Topeka Place                                                                              Hollywood           FL       33026



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                        Name                                   Attention                               Address 1                                     Address 2         Address 3                City     State        Zip           Country
 Derius Jordan King                                                            9229 Harbor Stream Ave                                                                              Las Vegas            NV       89149
 Derius King                                                                   590 Brinkburn Point Ave                                                                             Las Vegas            NV       89178-2407
 Derrick Degaile Clark                                                         645 Whisper Ln                                        Apt 103A                                      Austell              GA       30168
 Derrick L Milligan                                                            3934 Green Pasture                                                                                  Charlotte            NC       28269
 Derrion Renae Keller                                                          2445 W Horizon Ridge Pkwy #100                                                                      Henderson            NV       89052
 Derwin James Robert Sleets                                                    6901 West Mcdowell Rd                                 Apt 1101                                      Phoenix              AZ       85035
 Derwin Venard Suttle Jr                                                       730 West Vogel Ave #241                                                                             Phoenix              AZ       85021
 Derwuin Mendez                                                                2728 Starwood Cir                                                                                   West Palm Beach      FL       33406
 Deshaun Lajarrius Mitchell                                                    4737 Exposition Way                                                                                 Fort Worth           TX       76244
 Desiderio Lora                                                                1600 N Park Dr                                                                                      Weston               FL       33326-3278
 Desiderio Lora Jr                                                             2425 Victory Ave                                      Unit 509                                      Dallas               TX       75219
 Design Group Facility Solutions, Inc.                                         5 Chenell Dr Box 3                                                                                  Concord              NH       03301
 Design Solutions                                                              13582 SW 48 Ln                                                                                      Miami                FL       33175
 Desirae Salinas                                                               4205 Del Norte Dr                                                                                   Arlington            TX       76016
 Desiree Bolanos                                                               13140 SW 54th Ct                                                                                    Miramar              FL       33027
 Desiree Marie Cook                                                            5715 ESuites Ave                                                                                    Fort Worth           TX       76119
 Destani Noel Huffman                                                          1500 N Haskell Ave #3007                                                                            Dallas               TX       75204
 Destek Patent SA                                                              Blegistrasse 13                                                                                     Baar                          6340         Switzerland
 Destiny Alvarez                                                               11854 Southwest 13th St                               Apt 121-11854                                 Pembroke Pines       FL       33025
 Detail 2 U Mobile Auto Detail                                                 9261 Archibald Ave                                                                                  Rancho Cucamonga     CA       91730
 Development Authority of the City of                                          6695 Church St                                                                                      Douglasville         GA       30134
 Deven Bryan                                                                   3600 Windhaven Parkway                                Apt 2208                                      Lewisville           TX       75056
 Devin Bell                                                                    2308 W Oceanfront                                                                                   Newport Beach        FL       92663
 Devin Gordon                                                                  15 Mountain Lakes Rd                                                                                Oakland              NJ       07436
 Devin Jacolby Terrell                                                         2730 Northwest 9th Place                                                                            Fort Lauderdale      FL       33311
 Devin Scott Mabry                                                             1774 North Carolina 109                                                                             Wadesboro            NC       28170
 Devon Andrews                                                                 2361 Waters Edge Blvd                                                                               Columbus             OH       43209
 Devrol Palmer                                                                 8441 SW 39 Ct                                                                                       Davie                FL       33328
 Devyn Ashley O'Brien                                                          6827 S St Andrews Way                                                                               Gilbert              AZ       85298
 Dexter James-Ajani Jackson                                                    15548 Valley High Ln                                                                                Victorville          CA       92394
 DH-C601, LLC Clutch Kitchen and Pour House                                    601 S Cedar St                                                                                      Charlotte            NC       28202
 Dheeritha Polasa                                                              3166 SW 129th Terrace                                                                               Miramar              FL       33027
 DHL Express USA INC                                                           16416 NorthchaSE Dr                                                                                 Houston              TX       77060
 DHL Express USA INC                                                           16592 Collection Center Dr                                                                          Chicago              IL       60693
 Diamond Castillo                                                              20307 NW 32nd Ave                                                                                   Miami Gardens        FL       33056
 Diana Dominguez                                                               15952 SW 306th                                                                                      Homestead            FL       33033
 Diana Forsberg-Rantamaki                                                      Vehkatie 30-34                                        C15                                           Jarvenpaa                     4400         Finland
 Diana Godoy                                                                   2506 SunshiNE Blvd                                                                                  Miramar              FL       33023
 Diana Marcoccia                                                               11201 NW 89th St                                      Apt 214                                       Doral                FL       33178
 Diana Marcoccia Carolina Party                                                11201 NW 89th St 214                                                                                Doral                FL       33178-2376
 Diana Mautone                                                                 3051 South Atlantic Ave                                                                             Daytona Beach        FL       32118
 Diana Ocampo                                                                  8818 NW 109 Terr                                                                                    Hialeah Gardens      FL       33018
 Diana Sofia Rodriguez Serrano                                                 Acuarelas de la Umbria Casa 1 Calle 15                #125-25                                       Cali                                       Colombia
 Diandra Delgado                                                               7826 Toping Canyon Blvd 109                                                                         Canoga Park          CA       91304
 Dianna Bell                                                                   334 Patio St                                                                                        Lehigh Acres         FL       33974
 DiCentral Corporation                                                         1199 Nasa Parkway Suite 101                                                                         Houston              TX       77058
 Dick Distributing Co. Inc.                                                    1303 7th St Ne                                                                                      Grand Rapids         MN       55744
 Dick Family DBA C&L Distributing                                              1020 Industrial Dr S                                                                                Sauk Rapids          MN       56379
 Dick Family DBA C&L Distributing                                              PO Box 457                                                                                          Sauk Rapids          MN       56379-0457
 Didasko Corporation                                                           10001 W Bay Harbor Dr #101                                                                          Bay Harbor Islands   FL       33154
 Dieck & Co. Erfrischunsgetranke OHG                                           Porschestraße 4                                                                                     Hückelhoven                   41836        Germany
 Diego Antonio Corpus Cordova                                                  830 S Dobson Rd #95                                                                                 Mesa                 AZ       85202
 Diego Cobo                                                                    10990 Oceano Way                                                                                    Parkland             FL       33076
 Diego Gargiulo                                                                7712 Northwest 5th St                                 Apt 2B                                        Plantation           FL       33324
 Diego M Sanchez-Rodriguez                                                     2305 Stagecoach St                                                                                  Fort Worth           TX       76133
 Diego Rubio                                                                   15881 SW 79th Terrace                                                                               Miami                FL       33193
 Digital Evidence group                                                        1730 M St Nw                                                                                        Washington           DC       20036
 Digital Influence Productions Corp Florencia                                  842 NE 120th St                                                                                     Biscayne Park        FL       33161
 Dillon Hammel                                                                 310 Plaza Del Sol Park                                                                              Houston              TX       77020
 Dillon Leacook                                                                5040 Calhoun Rd                                       Apt 513B                                      Houston              TX       77004
 Dillon Paul Juarez                                                            13814 Penn St                                                                                       Whittier             CA       90602
 Dillyn Wolmarans                                                              45 Columbus Crescent                                  Unit 4                                        Rivergate Business            7441         South Africa
 Dina Barela                                                                   2856 Radiant Flame Ave                                                                              Henderson            NV       89052
 Dina Luz Vergara Marquez                                                      Miradores de Pontevedra Calle 95                      #71-87                                        Bogota                        110111       Colombia
 Dion (Starlett) Williams                                                      101 Country Ridge Ct                                                                                Red Oak              TX       75154
 Direct Connect Logistix, Inc.                  Leslie Maish                   314 W Michigan St                                                                                   Indianapolis         IN       46202-3204
 Direct Cooling LLC                                                            12311 Saint Simon Dr                                                                                Boca Raton           FL       33428
 Direct Drives & Controls, Inc.                                                2485 N Batavia St                                                                                   Orange               CA       92865
 Direct Edge Denver, LLC                                                       5670 Washington St                                                                                  Denver               CO       80216
 Direct Service, Construction & Design                                         8129 Signed St                                                                                      Houston              TX       77029
 Director Alcohol and Gambling Enforcement                                     445 Minnesota St Suite 1600                                                                         St Paul              MN       55101
 DIS BV                                                                        Doctor Nolenslaan 106                                                                               Sittard                       6136 GT      Netherlands
 DIS BV                                                                        Gasthousgraff 9                                                                                     Sittard                       6136 NLKS    Netherlands
 Display Technologies                                                          111-01 14th Ave                                                                                     College Point        NY       11356
 Displays by Martin Paul, Inc Creative Center                                  9307 Intersate 35                                                                                   Denton               TX       76207



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                        Name                                         Attention                               Address 1                                     Address 2            Address 3                City     State         Zip          Country
 Displays by Martin Paul, Inc Creative Center                                        PO Box 1907                                                                                            Denton               TX       76202
 Ditman Architecture, LLC                                                            1324 West Newport Center Dr                                                                            Deerfield Beach      FL       33442
 Diversifi Talent LLC Aaron Jones                                                    16 Calvin St                                                                                           Lexington            MA       02420-1409
 Diversified Diving Services, Inc                                                    650 SE 7th Ave                                                                                         Pompano Beach        FL       33060
 Diversified Label Images, Inc.                                                      PO Box 101269                                                                                          Irondale             AL       35210-6269
 Division of Alcohol Beverages & Tobacco                                             2601 BlairstoNE Rd                                                                                     Tallahassee          FL       32399-6563
 Dixi Carolina Andrade Ortega                                                        3881 West State Rd 84                                  Apt 205                                         Davie                FL       33312
 Dixie Landscaping, LLC                                                              PO Box 160328                                                                                          Miami                FL       33116
 Dixieland Storage Cubesmart 5527                                                    3521 S Mckenzie St                                                                                     Foley                AL       36535-3711
 DJ Davo Productions, Inc. -                                                         10079 Costa Del Sol Blvd                                                                               Doral                FL       33178
 DJ Stryker LLC Dennis Stricker                                                      6085 Reynolds St                                                                                       West Palm Bch        FL       33411-6403
 DNA Distribution                                                                    7927 Orion Ave                                                                                         Van Nuys             CA       91406-2000
 DNY Distributors Florida                                                            7927 Orion Ave                                                                                         Van Nuys             CA       91406-2000
 DocketTrack Software                                                                2345 Waukegan Rd Suite 155                                                                             Bannockburn          IL       60015-1592
 DocuSign, Inc.                                                                      221 Main St Suite1000                                                                                  San Francisco        CA       94105
 Dodge's Chicken Store                                                               PO Box 1688                                                                                            Tupelo               MS       38802-1688
 Doehler Dry Ingredients Solutions                                                   55190 Bittersweet Rd                                                                                   Mishawaka            IN       46545-5214
 Doehler USA, Inc                                 Paul Graham                        400 High Point Rd SE Suite 100                                                                         Cartersville         GA       30120-6610
 Doehler USA, Inc. vs. VPX (2022) Not Yet Filed   Doehler USA, Inc                   400 High Point Rd SE Suite 100                                                                         Cartersville         GA       30120-6610
 Dogwood Holdings, L.P Parkway Properties                                            4600 Touchton Rd East                                                                                  Jacksonville         FL       32246
 Dohler Dahlenburg G.m.b.H                                                           Gartenstrasse 13                                                                                       Dahlenburg                    21368        Germany
 Doll Distributing, LLC                                                              1901 De Wolf St                                                                                        Des Moines           IA       50316-2729
 Doll Distributing, LLC                                                              419 East 2nd St                                                                                        Spencer              IA       51301
 Doll Distributing, LLC                                                              500 Industrial Ln                                                                                      Worthington          MN       56187
 Dollar Tree                                                                         500 Volvo Pkwy                                                                                         Chesapeake           VA       23320-1604
 Dolline Marie Vance                                                                 92 ASuiter Dr                                          Apt 2114                                        Schaumburg           IL       60173
 Dolphin Products                                                                    5757 Blue Lagoon Dr Suite 190                                                                          Miami                FL       33126
 Domenique Langheir                                                                  28960 Us Hwy 19 N                                                                                      Clearwater           FL       33761
 Domingo Melo Dalina                                                                 2544 East La Jolla Dr                                                                                  Tempe                AZ       85282
 Dominic Andre Milan                                                                 18301 Robbie Cr                                                                                        Villa Park           CA       92861
 Dominic Delisi                                                                      30 Haddock Dr                                                                                          Sewell               NJ        8080
 Dominic Garcia                                                                      11542 Northwest 4th Manor                                                                              Coral Springs        FL       33071
 Dominick Robertson                                                                  5004 Beach Ct                                                                                          Denver               CO       80221
 Dominion Energy                                                                     100 Davidson Hwy                                                                                       Concord              NC       28027
 Dominion Energy North Carolina                                                      PO Box 100256                                                                                          Columbia             SC       29202-3256
 Dominique Columbus                                                                  120 W Wilson Ave                                                                                       Glendale             CA       91203
 Dominique Fenton                                                                    2280 Gulfstream Dr                                                                                     Miramar              FL       33023
 Dominique Garcia                                                                    10901 Cedar Ln                                                                                         Pembroke Pines       FL       33026-3047
 Dominique Garcia Infa Fit Services, Inc                                             6329 NW 179th Ter                                                                                      Hialeah              FL       33015-4450
 Dominique Rashad Scott                                                              106 Franklin Ave                                                                                       Kannapolis           NC       28081
 Domino Amjet, Inc                                                                   3809 Collection Center Dr                                                                              Chicago              IL       60693
 Don L Xiong                                                                         1600 N Park Dr                                                                                         Weston               FL       33326-3278
 Don Lee Xiong                                                                       2614 Caralea Valley Dr                                                                                 North Carolina       NC       28027
 Donaghy Sales, LLC                                                                  2363 S Cedar Ave                                                                                       Fresno               CA       93725-1007
 Donaghy Sales, LLC                                                                  3700 Finch Rd                                                                                          Modesto              CA       95357
 Donald Colin Hall                                                                   173 Storey Ave                                                                                         Newburyport          MA        1950
 Donald Conte                                                                        39915 East River Ct                                                                                    Clinton Township     MI       48038
 Donald De La Haye                                                                   528 Coliseum St 30203                                                                                  Orlando              FL       32828
 Donald J Long                                                                       1600 N Park Dr                                                                                         Weston               FL       33326-3278
 Donald John Long                                                                    810 Comer Square                                                                                       Bel Air              MD       21014
 Donald R Rodriguez                                                                  8913 West Gibson Ln                                                                                    Tolleson             AZ       85353
 Donald Ray Myers                                                                    3205 Burgundy Ln                                                                                       Midlothian           TX       76065
 Donaldson Company, Inc.                                                             PO Box 1299                                                                                            Minneapolis          MN       55440-1299
 Donavin Green                                                                       9409 Wellington Dr                                                                                     Little Elm           TX       75068
 Dongguan City Hengyi Shoes Trade Corp                                               5-6B Build 3 Yihuge                                    Lihu Shanzhuang Houjie Town                     Guangdong                                  China
 DongGuan Panther Sporting Goods Co.,Ltd                                             A615 Hongxi Center No2 Nancheng Tai Yuk Rd                                                             Dongguan Guangdong            52300        China
 Dongguan POP Display & Packing Co.                                                  #15 Ronghua Road                                                                                       Dongguan                                   China
 Donna Schwartz                                                                      A14 Graceland Estate Plumbago St                       Langeberg Ridge                                 Cape Town                     7569         South Africa
 Donna Williams                                                                      4846 NW 95th Ave                                                                                       Sunrise              FL       33351
 Donna Williams vs. VPX & Owoc (2020)             Donna Williams                     4846 Nw 95Th Ave                                                                                       Sunrise              FL       33351
 Donovan Dengler                                                                     1954 Hunters Ridge Dr                                                                                  Bloomfield Hills     FL       48304
 Donovan Sheppard                                                                    713 SW 157th St                                                                                        Oklahoma City        OK       73170
 Donovan Vulgamore                                                                   11512 Palm Springs Ave Ne                                                                              Albuquerque          NM       87111
 Dontrell Allen Nike Finesse                                                         390 Sandpiper Trail                                                                                    Warren               OH       44484
 Dora Montoya                                                                        2350 SW 27th Ave                                       Apt 503                                         Miami                FL       33145
 Dorian Hector                                                                       11049 W Magnolia Blvd 629                                                                              North Hollywood      CA       91601
 Dorian M Sawyer                                                                     3021 NW 187 St                                                                                         Miami Gardens        FL       33056
 Douglas Anthony Fuller                                                              1533 Caslegate Dr West                                                                                 Castle Rock          CO       80108
 Douglas Blanchard                                                                   872 North Stacie Way                                                                                   Chandler             AZ       85226
 Douglas C Bradley                                                                   1600 N Park Dr                                                                                         Weston               FL       33326-3278
 Douglas C Bradley Jr.                                                               1705 Powell Mill Rd                                                                                    Spartanburg          SC       29301
 Douglas County Chamber of Commerce                                                  6658 Church St                                                                                         Douglasville         GA       30134
 Douglas County Tax Commisioner                                                      6200 Fairburn Rd                                                                                       Douglasville         GA       30134
 Douglas County Water& Sewer-GA Location                                             8763 Hospital Dr                                                                                       Douglasville         GA       30134
 Douglas Distributing Retail Co                                                      325 E Forest Ave                                                                                       Sherman              TX       75091



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                        Name                  Attention                                 Address 1                               Address 2         Address 3                 City    State        Zip             Country
 Douglas Ezell                                                4913 Canyon Trail N 2406                                                                        Euless               TX       76040
 Douglas Gerard Savoca                                        18000 Portofino Cir                                Unit 109                                     Palm Beach Gardens   FL       33418
 Douglas Gibson II                                            1430 Northwest 196th Terrace                                                                    Miami                FL       33169
 Douglas Smotherman                                           3028 Jacob Dr                                                                                   Wylie                TX       75098
 Douglas Wright                                               34542 Coastal Dr                                                                                Sterling Heights     MI       48310
 Douglasville-Douglas Country DDCWSA                          PO Box 1157                                                                                     Douglasville         GA       30133
 DPS Nutrition Inc                                            29 Stauffer Industrial Park                                                                     Taylor               PA       18517-9601
 DR Signs Express LLC Fastsigns Davie                         40 NW 3rd St Suite 101                                                                          Miami                FL       33128
 Drake Convenience LLC                                        PO Box 1347                                                                                     Anderson             SC       29622
 Drapeworks                                                   1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Draven Parker                                                8527 West Hampden Ave                              Apt 15-102                                   Lakewood             CO       80227
 DRB Sales & Distributing, LLC                                131 Forrest Dr C                                                                                Frisco               CO       80443
 DRB Sales & Distributing, LLC                                290 Summit Place Shopping Center                   Unit 1A                                      Silverthorne         CO       80498
 DRB Sales & Distributing, LLC                                PO Box 402                                                                                      Dillan               CO       80435
 Drea Carolina Holdings LLC                                   10010 NW 44th Terr                                                                              Miami                FL       33178
 Drea Carolina Holdings LLC Andrea Carolina                   10010 NW 44th Ter 304                                                                           Doral                FL       33178-3327
 Dream Katchers Enterprise LLC Keith Carlos                   225 Taos Pl                                                                                     Palmdale             CA       93550
 Dream Model & Talent Agency                                  14951 Royal Oaks Ln #2504                                                                       Miami                FL       33181
 Drelyn Travis Olivarez                                       1610 Novel Place                                                                                Garland              TX       75040
 Driscoll, LLP                                                4715 N Chestnut St                                                                              Colorado Springs     CO       80907-3531
 Driven Technologies of MSA                                   3120 Medlock Bridge Rd Suite B                                                                  Peachtree Corners    GA       30071-1469
 D-S Beverages, Inc.                                          201 17th St N                                                                                   Moorhead             MN       56560-2331
 DS Services of America Inc.                                  PO Box 660579                                                                                   Dallas               TX       75266-0579
 DSD Partners LLC                                             PO Box 1299                                                                                     Midlothian           VA       23113
 D-Trans LLC                                                  230 Blue Juniper Blvd                                                                           Venice               FL       34292
 Du-Hope International                                        Nanjing                                                                                         Shanghai                      210004       China
 Duilio Aicardi                                               1480 SW 14th Ave                                                                                Deerfield Beach      FL       33441
 Duke Energy                                                  PO Box 1090                                                                                     Charlotte            NC       28201
 Duke Machaka                                                 5573 Pacific Blvd                                  Apt 3515                                     Boca Raton           FL       33433
 Duke Realty Limited Partnership                              75 Remittance Dr Suite 3205                                                                     Chicago              IL       60675-3205
 Dunay, Miskel and Backman, LLP                               14 SE 4th St                                                                                    Boca Raton           FL       33432
 Duncan Aviation                                              3701 Aviation Rd                                                                                Lincoln              NE       68524
 Dunkel Bros                                                  14555 Alondra Blvd                                                                              La Mirada            CA       90638-5602
 Durran D Wagoner                                             1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Durran Dale Wagoner                                          17857 W Desert Ln                                                                               Surprise             AZ       85388
 Du-Shaunt Stegall                                            2121 S Blagg Rd                                                                                 Pahrump              NV       89048
 Dusten B Welch                                               10700 2nd St                                                                                    Mansfield            TX       76063
 Dustin Hadley                                                8433 Teakwood Ct                                                                                Orlando Park         IL       60462
 Dustin James Harrison                                        3625 East Ray Rd                                   Apt 2056                                     Phoenix              AZ       85044
 Dustin Lee Loftman                                           1006 Hansen St                                                                                  West Palm Beach      FL       33405
 Dustin Pierce Tompkins                                       880 South Annie Ln                                                                              Gilbert              AZ       85296
 Dustin Rosser                                                265 Moore St                                                                                    Trion                GA       30753
 Dustin Tacker                                                7750 Secr 3060                                                                                  Corsicana            TX       75109
 Dustin Weeter                                                1616 South Dove St                                                                              Gilbert              AZ       85233
 Dutchess Beer Distributors, Inc                              36 Keiffer Ln                                                                                   Kingston             NY       12401
 Dutchess Beer Distributors, Inc                              5 Laurel St                                                                                     Poughkeepsie         NY       12601-3901
 Dwayne Olandzo Rhymer                                        10725 Sleigh Bell Ln                                                                            Charlotte            NC       28216
 Dwight Ross                                                  129 J C Cir                                        Unit 11                                      Mooresville          NC       28115
 Dwight scott                                                 10032 E Boston #6                                                                               Wichita              KS       67209
 Dylan Anthony Watson                                         15501 Bruce B Downs Blvd                           Apt 3323                                     Tampa                FL       33647
 Dylan Ayres                                                  352 Sadie Ln                                                                                    Webb Citty           MO       64870
 Dylan Bouzigues                                              1210 Garbo Way #6                                                                               San Jose             CA       95117
 Dylan Brand                                                  1045 Canoga Peak Ave                                                                            Las Vegas            NV       89183
 Dylan Cole Bradshaw                                          79 Ashlyn Dr Se                                                                                 Concord              NC       28025
 Dylan Curtis                                                 508 Katherwood Ct                                                                               Deltona              FL       32738
 Dylan Estfan                                                 2266 S Cottonwood                                                                               Mesa                 AZ       85202
 Dylan J Gulliksen                                            27040 East US 380                                                                               Aubrey               TX       76227
 Dylan James Vincent                                          14A Lanner St                                      Gauteng                                      Centurion                     0157         South Africa
 Dylan Lee Ayres                                              5505 West Crestwood Bluff Dr                                                                    Joplin               MO       64801
 Dylan Pawson                                                 404455 Brunswick St                                                                             Fotitude Valley               QLD 0000     Australia
 Dylan Ray Lloyd                                              104 East Wilkerson St                                                                           Itasca               TX       76055
 Dylan Reid Gulledge                                          6234 Chamar Cir                                                                                 Kannapolis           NC       28081
 Dylan W Goy                                                  2177 S Mcqueen Rd                                  Apt 1028                                     Chandler             AZ       85286
 Dynamic Integrated Security Inc. -                           2645 Executive Park Dr Suite 663                                                                Weston               FL       33331-3624
 E2Global Inc.                                                3758 Elizabeth St                                                                               Riverside            CA       92506-2507
 E3 Expo Entertainment software Association                   601 Massachussetts Ave Nw                                                                       Washington           DC       20001
 Eagle Beverage                                               1011 BRdwater Dr                                                                                Great Falls          MT       59405-4079
 Eagle Distributing of Grand Island, LLC                      1100 Bud Blvd                                                                                   Fremont              NE       68025-6269
 Eagle Distributing of Grand Island, LLC                      2810 Ave M                                                                                      Scottsbluff          NE       69361
 Eagle Distributing of Grand Island, LLC                      4221 Juergen Rd                                                                                 Grand Island         NE       68801
 Eagle Distributing of Memphis                                310 Radford Pl                                                                                  Knoxville            TN       37917-4936
 Eagle Distributing of Memphis                                45 Eh Crump Blvd                                                                                Memphis              TN       38106
 Eagle Distributing of Texarkana                              45 Globe Ave                                                                                    Texarkana            AR       71854-3410
 Eagle Distributing, Co., LLC                                 2920 Coram St                                                                                   Knoxville            TN       37917
 Eagle Distributing, Co., LLC                                 310 Radford Pl                                                                                  Knoxville            TN       37917-4936



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                        Name                                   Attention                                             Address 1                               Address 2         Address 3                City     State        Zip           Country
 Eagle Rock Distributing Company, LLC                                                      6205 Best Friend Rd Suite A                                                                     Norcross             GA       30071
 EarthCam, Inc                                                                             650 E Crescent Ave                                                                              Upper Saddle River   NJ       07458-1800
 East Group Properties                                                                     1951 N Commerce Pkwy                               Suite C                                      Weston               FL       33326
 East Group Properties                                                                     7662 Philips Hwy                                   Suites 31-36                                 Jacksonville         FL       32256
 East Group Properties                                                                     7950 Central Industrial Dr #102                                                                 Riviera Beach        FL       33404
 Eastgroup Properties, LP                                                                  PO Box 534563                                                                                   Atlanta              GA       30353-4563
 EBI Fabrics Corporation                                                                   2843 South Hill St                                                                              Los Angeles          CA       90007
 Eby-Brown Company LLC                                                                     1415 W Diehl Rd Suite 300N                                                                      Naperville           IL       60563-1153
 Echo Global Logistics, Inc.                                                               600 W Chicago Ave                                                                               Chicago              IL       60654-2801
 Ecolab Pest Elimination Ecolab, Inc.                                                      26252 Network Place                                                                             Chicago              IL       60673
 ECOLAB, Inc.-CA                                                                           PO Box 100512                                                                                   Pasadena             CA       91189-0512
 ECOLAB, Inc.-NY                                                                           PO Box 21755                                                                                    New York             NY       10087
 EconONE Research Inc.                                                                     550 S Hope St Suite 800                                                                         Los Angeles          CA       90071-2653
 ECRM                                                                                      27070 Miles Rd Suite A                                                                          Solon                OH       44139
 ED F. Davis, Inc.                                                                         2310 Ed F Davis Rd                                                                              Durant               OK       74701
 ED F. Davis, Inc.                                                                         2600 Westside Dr                                                                                Durant               OK       74701-1820
 Eddie Charles Chance                                                                      10001 SW 12th St                                                                                Miami                FL       33174
 Edgar Cerda- Fernandez                                                                    25324 Country Fair Dr                                                                           Menifee              CA       92584
 Edgar Fernandez                                                                           921 N 17 Ct 929                                                                                 Hollywood            FL       33020
 Edgar German Soto                                                                         286 E Raleigh Dr                                                                                Chandler             AZ       85286
 Edgar L Coin Jr.                                                                          1848 East Turney Ave                                                                            Phoenix              AZ       85016
 Edgar Martinez                                                                            1606 West Myrtle Ave                                                                            Visalia              CA       93277
 Edgar Mauricio Macias                                                                     6952 Crowngate Dr                                                                               Miami Lakes          FL       33014
 EDM Distributors, LLC                                                                     3576 California Rd                                                                              Orchard Park         NY       14127-1727
 Edmund Elien vs. VPX (2020)                 Elien, Edmundc/o J Freddy Perera (Perera Barn 12401 Orange Drive                                                                              Davie                FL       33330
 Edson Patete-Perez                                                                        2633 SW 82nd Ave                                                                                Miramar              FL       33025
 Eduarda Castro                                                                            9874 NamaSuite Loop                                Apt 4212                                     Orlando              FL       32836
 Eduarda Panzone de Castro                                                                 1619 North La Brea Ave #228                                                                     Los Angeles          CA       90028
 Eduardo A Alban                                                                           6685 NW 103 Path                                                                                Doral                FL       33178
 Eduardo Espinoza                                                                          309 Carol Dr                                                                                    Grand Prairie        TX       75052
 Eduardo Josue Blandon                                                                     2625 West 72nd Place                                                                            Hialeah              FL       33016
 Eduardo Reyes                                                                             6370 PineSuitead Dr 1411                                                                        Lake Worth           FL       33463
 Eduardo Ruiz                                                                              12537 West Washington St                                                                        Avondale             AZ       85323
 Edward Allen Smith                                                                        904 Northeast 10th Ln                                                                           Cape Coral           FL       33909
 Edward Barrett Eddie                                                                      1301 Aphrodite                                                                                  West Covina          CA       91790
 Edward Corsino                                                                            372 Northeast 36th Terrace                                                                      Homestead            FL       33033
 Edward Diaz                                                                               9444 Woodman Ave                                                                                Arleta               CA       91331
 Edward Jesus Preciado                                                                     1711 Santilian Ave                                                                              Santa Maria          CA       93458
 Edward M Suggs                                                                            9870 Bellasera Cir                                                                              Myrtle Beach         SC       29579
 Edward Mauldin                                                                            110 Wandering Wood Ln                                                                           Mount Holly          NC       28120
 Edward Pilch                                                                              15801 South 48th St                                Apt 1191                                     Phoenix              AZ       85048
 Edwards Anderson                                                                          820 Renaissance Pointe 105                                                                      Altamonte Springs    FL       32714
 Edwards Law Group, LLC                                                                    873 PeregriNE Cir                                                                               Oregon               WI       53575
 Edwin Alejandro Perez                                                                     4080 Fort Dr                                                                                    Riverside            CA       92509
 Edwin Bautista                                                                            1351 West 1St St                                                                                Mesa                 AZ       85201
 Edwin Mejias                                                                              3921 SW 160th Ave 303                                                                           Miramar              FL       33027-4674
 Edwin Mejias Figueroa                                                                     3921 SW 160th Ave #303                                                                          Miramar              FL       33027
 Edwin R Guzman                                                                            1607 Chatman Cir                                                                                Apopka               FL       32703
 Edwin R Reyes                                                                             1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Edwin Ramon Reyes                                                                         1087 Bismarck Dr                                                                                Campbell             CA       95008
 EFL Global BV                                                                             Bedrijenzone Machelen Cargo 832                                                                 Machelen                      VBR1830      Belgium
 Efl Global Logistics Canada Ltd                                                           40 King St W                                       Suite 5800                                   Toronto              ON       M5H 4A9      Canada
 Efren Beltran                                                                             5719 Churchill Ave                                                                              Dallas               TX       75227
 Eileen Velazco                                                                            1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Eileen Velazco-Serrano                                                                    346 Jamacha Rd                                     Apt 135                                      El Cajon             CA       92019
 Eina Marie Watford                                                                        8481 Springtree Dr                                 Apt 303B                                     Sunrise              FL       33351
 Ekaterina Yagodina                                                                        2101 Atlantic Shores Blvd 211                                                                   Hallandale Beach     FL       33020
 Ekaterina Zueva                             Attn: ЗУЗУ                                    Onejskaya St 53 Apt 473                                                                         Moscow                        125414       Russian Federation
 EKB, LLP                                                                                  1900 1040 W Georgia St                                                                          Vancouver            BC       V6E 4H3      Canada
 Ela Ganibegovic                                                                           8504 Brier Dr                                                                                   Los Angeles          CA       90046
 Elaine Fernandes                                                                          4815 Elmhurst Ridge Ct                                                                          Raleigh              NC       27616
 Elaine Fernandes                                                                          8608 Hobhouse Cr                                                                                Raleigh              NC       27615
 Electric Supply, Inc                                                                      917 W Madison St                                                                                Phoenix              AZ       85007-3117
 Electrical Supplies, Inc. - ESI                                                           13395 NW 107th Ave                                                                              Miami                FL       33018
 Elemar International Fowarding, Inc                                                       3475 NW 114th Ave                                                                               Doral                FL       33178-1847
 Elena Belle Theanne                                                                       15260 Ventura Blvd                                                                              Sherman Oaks         CA       91403
 Elena Cruz                                                                                702 2nd Ave N E                                                                                 Lake Worth           FL       33460
 Elena Soboleva                                                                            424 W Diversay Parkway                                                                          Chicago              IL       60614
 Eleonor Giovana Aimini                                                                    4610 NW 113 Terr                                                                                Sunrise              FL       33323
 Elevate Films Alejandro Borjas                                                            7515 SW 152nd Ave A204                                                                          Miami                FL       33193
 ELEVATE GRIP & LIGHTING                                                                   10240 Jamaica Dr                                                                                Cutler Bay           FL       33189-1724
 Elgina Cantave                                                                            4370 NW 12th Ct                                                                                 Lauderhill           FL       33313
 Eli Armando Lugo                                                                          98 West Culver St                                  Apt 6                                        Phoenix              AZ       85003
 Eli Harris                                                                                3531 Old Creek Rd                                                                               Chesterfield         VA       23832
 Eliana Rebecca Morgenstern                                                                8315 Belay St                                                                                   Las Vegas            NV       89166



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                        Name                      Attention                               Address 1                               Address 2         Address 3                City    State         Zip          Country
 Elias Espinoza                                                   629 W Ray                                        Apt A                                        Chandler            AZ       85225
 Elias Marcell Bernardo                                           2427 Allen St                                    Apt 438                                      Dallas              TX       75204
 Elias R Abdou Peiret                                             88 Southwest 7th St                                                                           Miami               FL       33130
 Eliezer Joel De La Garza                                         7010 West Coronado Rd                                                                         Phoenix             AZ       85035
 Elina Sanchez                                                    511 Lakeside Dr                                                                               Sunrise             FL       33326
 Elio Luis Cordova                                                6400 North Sacramento Ave                        Apt 102                                      Chicago             IL       60645
 Eliott Jerome Brown                                              4440 Arques Ave                                                                               Round Rock          TX       78681
 Elisa Cuevas                                                     10004 Southwest 161St Place                                                                   Miami               FL       33196
 Elisa Noel Davis                                                 7508 N Ola Ave                                                                                Tampa               FL       33604
 Elisee Joseph                                                    132 NW 45th Ave                                                                               Plantation          FL       33317
 Elissa Rivera                                                    6110 Southwest 41St Ct                           Apt B                                        Davie               FL       33314
 Elite Nutritional Products, Inc                                  1660 Silverton Rd                                                                             Woodburn            OR       97071
 Eliud I Gaucin Chavez                                            9310 West Bennet Plaza                                                                        Phoenix             AZ       85037
 Elizabeth (Libby) Brooks                                         780 Coachman Dr Apt 5                                                                         Troy                MI       48083
 Elizabeth A Gaffney                                              10075 Lake Miona Way                                                                          Oxford              FL       34484
 Elizabeth Arredondo                                              6280 NW 173rd St 1233                                                                         Hialeah             FL       33015
 Elizabeth C Perez Ballinger                                      348 North 168th Dr                                                                            Goodyear            AZ       85338
 Elizabeth Castillo                                               1600 N Park Dr                                                                                Weston              FL       33326-3278
 Elizabeth Castillo Payero                                        5350 Northwest 84th Ave                          Apt 1803                                     Doral               FL       33166
 Elizabeth Chase                                                  1818 SW 1St Ave #1812                                                                         Miami               FL       33129
 Elizabeth Chase Corrie                                           1818 SW 1St Ave 1812                                                                          Miami               FL       33129
 Elizabeth Faust                                                  278 West Main St                                 Apt 7k                                       Kutztown            PA       19530
 Elizabeth Foster                                                 3046 Spencerhill Dr                                                                           Cincinnati          OH       45226
 Elizabeth Margaret Klopf                                         PO Box 4863                                                                                   Arizona City        AZ       85123
 Elizabeth Marie Trujillo                                         6000 W Floyd Ave                                 Apt 304                                      Denver              CO       80227
 Elizabeth Morales                                                16424 Southwest 61St Way                                                                      Miami               FL       33193
 Elizabeth Nolan Morales                                          9071 Northwest 16th St                                                                        Plantation          FL       33322
 Elizabeth Tran                                                   202 South 6th St D                                                                            Alhambra            CA       91801
 Elizabeth Turnbaugh                                              643 Meadow Ln                                                                                 Libertyville        IL       60048
 Elizabeth Zimmerman Liz                                          1311 12th Ave S F403                                                                          Seattle             WA       98144
 Elizer Hernandez                                                 5836 Harold Way 3                                                                             Los Angeles         CA       90028
 Ellen Lerner                                                     6000 Collins Ave                                 Apt 302                                      Miami Beach         FL       33140
 Elley Torres                                                     13 Greek Way                                                                                  Newark              NJ        7103
 Elley V. Peart                                                   10955 Penny Slope St                                                                          Las Vegas           NV       89141
 Elli-Ana Shaine Hauser                                           4004 Risa Ct                                                                                  San Diego           CA       92124
 Elliot Courtney                                                  121 Riverbank Dr                                                                              Cambridge           ON       N3H4R6       Canada
 Elliot Jonathan Blair                                            12116 Wild Bill Ct                                                                            Newark              TX       76071
 Elliot Watkins                                                   111 Pyrmont St                                                                                Sydney                       NSW 2009     Australia
 Ellwein Brothers, Inc.                                           655 18th St Nw                                                                                Huron               SD       57350
 Ellwein Brothers, Inc.                                           PO Box 136                                                                                    Huron               SD       57350-0136
 Elly Kenzie Whitesell                                            388 Table Rock Rd                                                                             Marietta            SC       29661
 Elnaz Golrokhkalvarzi                                            The Pad Tower Apt #2111                                                                       Dubai                        72206        United Arab Emirates
 Elston R. Joyner II                                              1650 SW Morelia Ln                                                                            Port Saint Lucie    FL       34953
 Elton Castee                                                     17800 Parthenia St                                                                            Sherwood Forest     CA       91325
 Elvia Pineda                                                     5110 SW 87th Terrace                                                                          Cooper City         FL       33328
 Elvira Anvarova                                                  475 Brickell Ave #3808                                                                        Miami               FL       33131
 Ely's Parties LLC                                                1386 Canary Island Dr                                                                         Weston              FL       33327
 Elyssa Mararette Frances                                         9340 Lagoon Pl 104                                                                            Davie               FL       33324-6746
 Elyssa Margarette Frances                                        9340 Lagoon Place                                Apt 104                                      Davie               FL       33324
 Ema Peck                                                         58 NE 44th St                                                                                 Miami               FL       33137
 EMaint Enterprises, LLC                                          307 Fellowship Rd                                                                             Mount Laurel        NJ       08054
 Emalyn Williams                                                  8957 Banyan Cove Cir                                                                          Fort Myers          FL       33919
 Emanuel Rivera                                                   5356 Glasgow Cir                                                                              Orlando             FL       32819
 Embria Health Sciences, LLC                                      PO Box 2815                                                                                   Cedar Rapids        IA       52406-2815
 Emelin Becerra                                                   1826 North 37th Dr                                                                            Phoenix             AZ       85009
 Emiliano A Silva Anthony or Beast Boogie                         12026 N Fairhollow Ln                                                                         Houston             TX       77043
 Emiliano Maya-Tapia Nicolas and Emiliano Maya-                   66-09 Alderton St                                                                             Rego Park           NY       11374
 Emilien De Falco                                                 8206 De Longpre Ave 8                                                                         West Hollywood      CA       90046
 Emilio Felix Carrillo                                            8577 West Denton Ln                                                                           Glendale            AZ       85305
 Emilio Tricoche Ortiz                                            27048 North 104th Ln                                                                          Peoria              AZ       85383
 Emilio Zaragoza                                                  2721 Ave C                                                                                    Fort Worth          TX       76105
 Emillyn Beers                                                    408 NE 7th Ave #9                                                                             Fort Lauderdale     FL       33301
 Emily Ann Wolfe                                                  3821 Dawson St 303                                                                            Pittsburgh          PA       15213
 Emily Arriaga                                                    14230 Judy Ann Dr                                                                             Riverside           CA       92503
 Emily DeAngelis                                                  2275 University Station                          SM 7655                                      Clemson             SC       29631
 Emily Gabriela Barraez Mendoza                                   1394 Northwest 123rd Terrace                                                                  Pembroke Pines      FL       33026
 Emily Gazaway                                                    1316 S Idalia St                                                                              Aurora              CO       80017
 Emily Grace Underwood                                            10533 Plantain Ct                                                                             Charlotte           NC       28213
 Emily Herrera                                                    9230 Southwest 71St St                                                                        Miami               FL       33173
 Emily James                                                      208 SW 3rd Ave                                                                                Kelso               WA       98626
 Emily Kerrin Perez                                               4114 Medical Dr 15106                                                                         San Antonio         TX       78229
 Emily Lauren Brown                                               405 Northeast 2nd St                                                                          Fort Lauderdale     FL       33301
 Emily McCormick                                                  122 Willow Creek Dr                                                                           Folsom              CA       95630
 Emily Miner                                                      8902 W Marshall Ave                                                                           Glendale            AZ       85305
 Emily Minju Lee Emily Lee                                        440 Cranbrooke Cir                                                                            Suwanee             GA       30024



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                       Name                                    Attention                                Address 1                               Address 2         Address 3                 City    State        Zip           Country
 Emily Perez                                                                   18385 Babcock Rd                                  Apt 746                                      San Antonio          TX       78229
 Emily Ryan                                                                    446 Kelton Ave                                                                                 Los Angeles          CA       90024
 Emily Sanchez                                                                 8890 NW 162th Terr                                                                             Miami Lakes          FL       33018
 Emily Wolfe                                                                   3821 Dawson St                                    Apt 303                                      Pittsburgh           PA       15213
 Emma Carolina Luque                                                           1513 Northwest 113th Ave                                                                       Pembroke Pines       FL       33026
 Emma Davies                                                                   7400 Hollywood Blvd 417                                                                        Los Angeles          CA       90046
 Emma Quinn McGuinness                                                         5514 Los Palma Vista Dr                                                                        Orlando              FL       32837
 Emma Stavrakis                                                                22 D Winch Way Bloubergsands                      Blouberg                                     Cape Town                     7441         South Africa
 Emmanuel Duarte                                                               3601 South 65th Dr                                                                             Phoenix              AZ       85043
 Emmanuel Frias                                                                4725 Dandelion Dr                                                                              Orlando              FL       32818
 Emmanuel Naranjo                                                              14036 SW 54 St                                                                                 Miramar              FL       33027
 Emme Zhou                                                                     472 Lowell St                                                                                  Lexington            MA       02420
 Emory Gearing                                                                 3256 Benjamin E Mays Dr Sou                                                                    Atlanta              GA       30311
 EmpHire Staffing, Inc                                                         8320 W SunriSE Blvd Suite 108                                                                  Plantation           FL       33322-5434
 Employment Security Department                                                PO Box 34949                                                                                   Seattle              WA       98124-1949
 Ena Recinos                                                                   11115 W Okeechobee Rd                             Unit 187                                     Hialeah              FL       33018-4276
 Encinitas 101 Association                                                     818 S Coast Highway 101                                                                        Encinitas            CA       92024-4401
 Encompass Technologies, LLP                                                   420 Linden St Suite 200                                                                        Fort Collins         CO       80524-2552
 Enden Clark Trussell                                                          3625 North 24th St                                Unit 4                                       Phoenix              AZ       85016
 Enercon Industries Corp                                                       W140 N9572 Fountain Blvd                                                                       Menomonee Falls      WI       53051
 Engineering Recruiting Experts                                                5991 CheSuiter Ave Suite 211                                                                   Jacksonville         FL       32217
 England Logistics, Inc                          John Oettli                   4701 W 2100 S                                                                                  Salt Lake City       UT       84120-1223
 Englefield Inc Duchess Shoppe                                                 1935 James Parkway                                                                             Heath                OH       43056
 Enmark Stations, Inc Enmarket                                                 1705 Chatham Parkway                                                                           Savanna              GA       31405
 Enola Bedard                                                                  1024 Summit Dr                                                                                 Beverly Hills        CA       90210
 Enola Bedard                                                                  215 Rue Des Lilas Ouest                           App 2                                        Quebec               QC       G1L 1B4      Canada
 Enrique A Zuleta                                                              8727 Cleary Blvd                                                                               Plantation           FL       33324
 Enrique Arellano                                                              4289 S 3760 W                                                                                  West Valley City     UT       84120
 Entercom Communications Corp.                                                 PO Box 74093                                                                                   Cleveland            OH       44194-0159
 Entercom Miami WKIS-FM                                                        PO Box 74093                                                                                   Clevelan             OH       44194
 Enterprise Holdings, Inc. EAN Services, LLC dba                               PO Box 801770                                                                                  Kansas City          MO       64180-1770
 Entrainement Pharmathlete Inc. Christopher                                    4850 Rue de Rouen                                 Ap 6                                         Montreal             QC       H1V 1H7      Canada
 ENV Services, Inc c/o Municipal Authority of                                  PO Box 37836                                                                                   Baltimore            MD       21297-7836
 Environmental Conditioning LLC                                                3636 East AnNE St Suite A                                                                      Phoenix              AZ       85040
 Environmental Conditioning LLC Parker and                                     3636 East AnNE Suite A                                                                         Phoenix              AZ       85040
 Environmental Marketing Services                                              107 Wall St Suite 1                                                                            Clemson              SC       29631
 Envirosure Solutions, LLC                                                     1018 E Guadalupe Rd                                                                            Tempe                AZ       85283
 enVision Staffing Solutions, Inc.                                             1671 NW 144th Terr Suite 107                                                                   Sunrise              FL       33323
 ePac Flexible Packaging ePac Miami                                            3600 NW 59th St                                                                                Miami                FL       33142-2030
 ePac Miami                                                                    3600 NW 59th St                                                                                Miami                FL       33142-2030
 E-Pass Orlando                                                                PO Box 720218                                                                                  Orlando              FL       32872
 Epstein Becker & Green, P.C.                                                  PO Box 30036                                                                                   New York             NY       10087-0036
 Equipment Appraisal Services                                                  241 W Federal St Suite 406                                                                     Youngstown           OH       44503
 Erdem Kaya Patent VE Danismanlik AS                                           Kudret Sok Konah Mah                                                                           Nilofer/Bursa                 16110        Turkey
 Eric A Reedy                                                                  105 Tennessee Ct                                                                               Auburndale           FL       33823
 Eric Amarante                                                                 727 Dakota Dr                                                                                  San Jose             CA       95111
 Eric Behan                                                                    4404 E Glacier Place                                                                           Chandler             AZ       85249
 Eric D Hill                                                                   8202 Willit St                                                                                 Omaha                NE       68122
 Eric Damier                                                                   9701 Wilshire Blvd                                Suite 1000                                   Beverly Hills        CA       90212
 Eric F. Sierra Guerrero                                                       2260 Covenant Heights                                                                          Colorado Springs     CO       80918
 Eric Gene Martinez                                                            11363 West Cocopah St                                                                          Avondale             AZ       85323
 Eric J Beyer                                                                  14508 W Ventura St                                                                             Surprise             AZ       85379-5727
 Eric Joseph                                                                   151 NE 82nd St 3                                                                               Miami                FL       33138
 Eric Joseph Beyer                                                             14508 West Ventura St                                                                          Surprise             AZ       85379
 Eric Justin Allen                                                             12345 Southwest 151St St                          Apt A-203                                    Miami                FL       33186
 Eric K Albrecht                                                               280 West Brisa Dr                                                                              Gilbert              AZ       85233
 Eric N Peters                                                                 1301 West Lambert Ln                              Apt 7104                                     Oro Valley           AZ       85737
 Eric Oyola                                                                    6322 HorSE Mill Pl                                                                             Palmetto             FL       34221
 Eric Patton                                                                   2700 Cedar Creek Ln                               Apt 4022                                     Denton               TX       76210
 Eric R Roberts                                                                1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Eric Ray Roberts                                                              18365 W Santa Alberta Ln                                                                       Goodyear             AZ       85338
 Eric Rodriguez De Alba                                                        5543 Olanda St                                                                                 Lynwood              CA       90262
 Eric Sheer Alex Sampson                                                       275 Ransfield Ln                                                                               Fuquay Varina        NC       27526-3534
 Eric Thomas Gonzales                                                          3011 Rockett Dr                                                                                Carrollton           TX       75007
 Eric Warren Ellis                                                             2328 Sedgefield Dr                                                                             Gastonia             NC       28052
 Eric Yovany Andrade                                                           232 Southwest 23rd St                             Apt 3                                        Fort Lauderdale      FL       33315
 Erica Beauchamp                                                               12304 Partridge Hill Row                                                                       Hudson               FL       34667
 Erica Beauchamp                                                               41511 Elmwood St                                                                               Elyria               OH       44035
 Erica Castelazo                                                               11850 NW 20th Ct                                                                               Plantation           FL       33323
 Erica Jane Carrisoza                                                          2902 West Sweetwater Ave                          Apt 2165                                     Phoenix              AZ       85029
 Erica M Kelley                                                                4716 Tealwood Rd                                                                               Wesley Chapel        FL       33544
 Erica Maria Wasserbach                                                        351 South Manning Blvd                                                                         Albany               NY       12208
 Erica Nicole Morhet                                                           1744 Cranston Grove Dr                                                                         Dickinson            TX       77539
 Erica Ramos                                                                   14872 Casa Loma Dr                                                                             Moreno Valley        CA       92553
 Erica W. Stump, P.A.                                                          110 E Broward Blvd Suite 1700                                                                  Fort Lauderdale      FL       33301



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                        Name                 Attention                                Address 1                               Address 2         Address 3                City    State        Zip              Country
 Erick Gonzalo Perez                                         350 West 20th St                                  Apt 8                                        Hialeah             FL       33010
 Erick Hernandez Calderon                                    1638 Chatsworth Cir                                                                            St Cloud            FL       34771
 Ericka Anton                                                3301 Michelson Dr                                 Apt 1343                                     Irvine              CA       92612
 Ericka Priscilla Anton                                      1529 E 19th St                                                                                 Santa Ana           CA       92705
 Ericka Sampaio Leite Brandao Oliveira                       Av Rogaciano Leite                                250 502                                      Fortaleza                    60810-786    Brazil
 Erie Beer Company                                           PO Box 1205                                                                                    Erie                PA       16512-1205
 Eriez Manufacturing Co.                                     2200 Asbury Rd                                                                                 Erie                PA       16506
 Erik A Santana                                              101 N Park Ct 4                                                                                Springtown          TX       76082
 Erik Bugay                                                  1969 S Vivian St                                                                               Lakewood            CO       80228
 Erik De Santiago                                            17458 Burma St                                                                                 Los Angeles         CA       91316
 Erik Johnson                                                4802 Virginia Woods Dr                                                                         Mckinney            TX       75071
 Erik McKee                                                  747 Washington Crossing Rd                                                                     Newtown             PA       18940
 Erik O Vitela Fernandez                                     4527 West Marlette Ave                                                                         Glendale            AZ       85301
 Erika Cardenas                                              21491 San Simeon Way                              Apt 108                                      North Miami Beach   FL       33179
 Erika E Iglesias Rojas                                      880 Sorrento Dr                                                                                Weston              FL       33326
 Erika Juarez                                                1009 9th St                                                                                    Rubert              ID       83350
 Erika Montenegro                                            519 S Palm Ave                                                                                 Ontario             CA       91762-4346
 Erika Montenegro Hernandez                                  519 South Palm Ave                                                                             Ontario             CA       91762
 Erika Schwegler                                             19 Tierra Vista                                                                                Laguna Hills        CA       92653
 Erin Dennis                                                 945 Lower Bridge Dr 4                                                                          Fayetteville        NC       28303
 Erin Elizabeth Dyer                                         1700 First St                                                                                  Brentwood           TX       76801
 Erin Jane Grier                                             1189 Fraser PiNE Blvd                                                                          Sarasota            FL       34240
 Erin Joy Gleason                                            5317 San Mateo Ct                                                                              Arlington           TX       76017
 Erin Michelle Settlemyre                                    10533 Plantain Ct                                                                              Charlotte           NC       28213
 Erin Rebekah Vivian                                         125 Shapley Way                                                                                San Clemente        CA       92672
 Erin Woods                                                  14020 Schroeder Rd                                Unit 116                                     Houston             TX       77070
 Ernestina Tina Marie Portillo Hernandez                     4413 West Dunbar Dr                                                                            Phoenix             AZ       85339
 Ernesto de la Paz                                           10840 Camarillo St 3                                                                           North Hollywood     CA       91602
 Ernesto Lopez                                               264 East Fairview St                                                                           Chandler            AZ       85225
 eSafety Safety Matters, Inc.                                233 Washington Ave Suite 201                                                                   Grand Haver         MI       49417
 ESHA Research Inc.                                          4747 SkyliNE Rd S Suite 100                                                                    Salem               OR       97306
 Esko - Graphics Inc.                                        8535 Gander Creek Dr                                                                           Miamisburg          OH       45342-5436
 ESP Gaming, LLC Estars, LLC                                 3993 Howard Hughes Pkwy Suite 450                                                              Las Vegas           NV       89169
 Esq. Legal Support Services                                 9737 NW 41St St # 444                                                                          Miami               FL       33178
 Esquibel Communications Company                             2775 NW 49th Ave 205 Pmb 413                                                                   Ocala               FL       34482-6213
 Esquire Deposition Solutions, LLC                           PO Box 846099                                                                                  Dallas              TX       75284-6099
 Esteban Chavez Gaucin                                       9310 West Bennet Plaza                                                                         Phoenix             AZ       85037
 Esteban Gaucin Guerrero                                     9310 West Bennet Plaza                                                                         Phoenix             AZ       85037
 Esteban Gaucin Sr.                                          9310 W Bennet Plz                                                                              Phoenix             AZ       85037-6305
 Esteban J Ramirez                                           6316 North Macarthur Blvd                         Apt 3063                                     Irving              TX       75039
 Estefania Ortiz                                             442 Southwest 4th Ave                                                                          Fort Lauderdale     FL       33315
 Estefania Serrano                                           560 Conservation Dr                                                                            Weston              FL       33327
 Estefany Oliveira                                           650 NE 32nd St                                    Apt 805                                      Miami               FL       33137
 Estefany Oliveira Fefi Oliveira Corp                        5252 Paseo Blvd Ph 2006                                                                        Doral               FL       33166
 Estevan Hernandez                                           44983 W Miraflores                                                                             Maricopa            AZ       85139
 Esthefania Saldarriaga Garzon                               600 NW 207 St                                     Apt 303                                      Miami Gardens       FL       33169
 Esther A Capeluto-Campagna                                  3792 San Simeon Cir                                                                            Weston              FL       33331
 Esther C Polanco                                            6530 Ridgelock Ct                                                                              Davie               FL       33331
 Esther Gomez-Escalonilla                                    150 Hall St                                                                                    Bondi                        2026         Australia
 Estivaliz Lorena Ceballos Lore                              261 Yorktown Dr                                                                                Tulare              CA       93274
 Estudio Olaechea S. Civil De R. L.                          Bernardo Monteagudo 201                                                                        San Isidro                   15076        Peru
 Ethan Haim Cohen                                            8476 S Moondance Cellars Ct                                                                    Las Vegas           NV       89139
 Ethan Joseph Mata                                           3870 Prescott Loop                                                                             Lakeland            FL       33810
 Ethan Meintjes                                              19 Cherry Hills Cresent                           Sunningdale                                  Cape Town                    7441         South Africa
 Ethan Paul Perius                                           1333 North Hillcrest Cir                                                                       Mesa                AZ       85201
 ETS Laboratories                                            214 West Hancock                                                                               Newberg             OR       97132
 Eugene Bonfiglio                                            16442 Indiana Ranch Rd                                                                         Dobbins             CA       95935
 Eugene Bonfiglio                                            1911 Broken Bit Dr                                                                             Plumas Lake         CA       95961
 Eugene Bukovi                                               836 Lavender Cir                                                                               Weston              FL       33327
 Eugene Herman Zeelie                                        23 Clemens Corner Bouvet Ave                      Bellairspark                                 Randburg                     2162         South Africa
 Eugenio Rafael Codina                                       18857 Northwest 64th Ct                                                                        Hialeah             FL       33015
 Eunice Renee Garcia                                         5141 North F St                                                                                San Bernardino      CA       92407
 Eurofins Food Chemistry Testing US Inc.                     2200 RittenhouSE St Suite 175                                                                  Des Moines          IA       50321-3155
 Europa Sports Partners, LLC                                 11401 Granite St                                                                               Charlotte           NC       28273-6400
 Europa Sports Products, Inc.                                11370 Pagemill Rd                                                                              Dallas              TX       75243
 Europa Sports Products, Inc.                                11401-H Granite St                                                                             Charlotte           NC       28273
 Europa Sports Products, Inc.                                1234A Silber Rd                                                                                Houston             TX       77055
 Europa Sports Products, Inc.                                13675 Darice Parkway Suite 200                                                                 Strongsville        OH       44149
 Europa Sports Products, Inc.                                1851 Big Town Blvd Suite 500                                                                   Mesquite            TX       75149
 Europa Sports Products, Inc.                                21024 24th Ave South Suite 111                                                                 Sea Tac             WA       98198
 Europa Sports Products, Inc.                                2121 Diehl Rd Suite 131                                                                        Aurora              IL       60502
 Europa Sports Products, Inc.                                3051 Marion Dr Suite 103                                                                       Las Vegas           NV       89115
 Europa Sports Products, Inc.                                3200 NW 27th Ave Suite 101                                                                     Pompano Beach       FL       33069
 Europa Sports Products, Inc.                                3701 Yale St                                                                                   Houston             TX       77018
 Europa Sports Products, Inc.                                4403 East Central Ave                                                                          Fresno              CA       93725



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                         Name                    Attention                                 Address 1                                    Address 2         Address 3                City    State        Zip              Country
 Europa Sports Products, Inc.                                    5019 SW 91St Terrace                                                                                 Cooper City         FL       33328
 Europa Sports Products, Inc.                                    5250 Fm 1960 East 471                                                                                Humble              TX       77346
 Europa Sports Products, Inc.                                    7272 Kingspointe Highway                                                                             Orlando             FL       38219
 Europa Sports Products, Inc.                                    755 Rainbow Rd Suite A                                                                               Windsor             CT       06095
 Europa Sports Products, Inc.                                    870 East Devon Ave                                                                                   Elk Grove Village   IL       60007
 Europa Sports Products, Inc.                                    PO Box 117200                                                                                        Atlanta             GA       30368-7200
 Eva Maria Jarit Pineda                                          10540 North West St                                     Unit 5-507                                   Doral               FL       33178
 Eva Quiala                                                      16212 SW 62nd Terr                                                                                   Miami               FL       33193
 Eva Quiala                                                      7235 Miami Lakes Dr                                     Apt C1                                       Hialeah             FL       33014
 EVAFOA Eastern Virginia FOA                                     40 Sherry Dell Dr                                                                                    Hampton             VA       23666-1822
 Evan Ressler                                                    18302 Northwest 15th Ct                                                                              Pembroke Pines      FL       33029
 Evan T Beard                                                    1600 N Park Dr                                                                                       Weston              FL       33326-3278
 Evan Thomas Beard                                               203 Depot Ave 5-316                                                                                  Delray Beach        FL       33444
 Evan Thomas Popham                                              395 WestcheSuiter Ave                                   Apt 6E                                       Port Chester        NY       10573
 Evangeline Gallagher                                            6106 Centurion Cir                                                                                   Citrus Heights      CA       95621
 Evangeline Yolette Charles                                      1931 Sasal Palm Dr 207                                                                               Davie               FL       33324
 Evelin Bermudez Mejia                                           8637 Northwest 29th Dr                                                                               Coral Springs       FL       33065
 Evelyn Bianca Talo Lopez                                        2247 S Gordon                                                                                        Mesa                AZ       85209
 Evelyn Escalante                                                7049 Waxberry Dr                                                                                     Dallas              TX       75249
 Evelyn R. Rito                                                  4110 West City Ct                                                                                    El Paso             TX       79902
 Event Tree LLC                                                  6314 98th St E                                                                                       Bradenton           FL       34202-9617
 Events by MS V                                                  1021 North Hiatus Rd                                                                                 Pembroke Pines      FL       33026
 Events Plus, Inc                                                18921 SE 40th St                                                                                     Vancouver           WA       98683
 Everman Trade Center, LP                                        5950 Berkshire Ln Suite 900                                                                          Dallas              TX       75225
 Everman Trade Center, LP                                        160 W Everman Fwy                                                                                    Fort Worth          TX       76134
 Evgeniya De La Fera                                             4237 Via Marina                                         Apt 308                                      Marina Del Rey      CA       90292
 Evgenlya Delafera                                               17560 Atlantic Blvd 317                                                                              Sunny Isles Beach   FL       33160
 Evolution Logistics                                             9800 NW 100th Rd                                                                                     Medley              FL       33178-1239
 Evoqua Water Technologies LLC                                   181 thorn Hill Rd                                                                                    Warrendale          PA       15086
 Evoqua Water Technologies LLC                                   28563 Network Pl                                                                                     Chicago             IL       60673-1285
 EVOX Holding, LLC                                               1099 18th St Suite 2900                                                                              Denver              CO       80202-1929
 Ewals Cargo Care B.V.                                           Ariensstraat 61-63                                                                                                                5931 HM      The Netherlands
 Excel Christian Academy & Pre-School                            6505 Odom Rd                                                                                         Lakeland            FL       33809
 Exces Fabien                                                    7611 SW 10 Ct # D                                                                                    N Lauderdale        FL       33068
 Exclusive Sports Marketing of Florida Matthew                   18 NW 18th St                                                                                        Delray Beach        FL       33444
 Executive Label Inc.                                            5447 NW 24th St Suite 5                                                                              Margate             FL       33063-7773
 Expand International of America, Inc                            400 Long Beach Blvd                                                                                  Stratford           CT       06615
 Expert Aviation, Inc./Modern Jet Solution                       1090 Airglades Blvd                                                                                  Clewiston           FL       33440
 ExpertLink LLC                                                  325 N Saint Paul St Suite 3100                                                                       Dallas              TX       75201
 EXPOFITNESS, LLC                                                848 Brickell Ave #1200                                                                               Miami               FL       33131
 Expolanka USA LLC                                               230-79 International Airport Center Blvd                Springfield Gardens                          Rosedale            NY       11413
 Exsan NV                                                        Zagerijstraat 17                                                                                     Brecht                       2960         Belgium
 Extra Duty Solutions Hart Halsey LLC.                           1 Waterview Dr Suite 101                                                                             Shelton             CT       06484-4368
 Extra Space Storage                                             14051 W Us 290 Hwy                                                                                   Austin              TX       78737-9362
 ExtraMile Convenience Stores LLC                                3450 E Commercial Ct                                                                                 Meridian            ID       83642-8915
 Extreme Process Solutions, LLC                                  5030 SW 29th Ave                                                                                     Ft Lauderdale       FL       33312-5814
 Extreme Productions DJ & Lighting Adam Penias                   10422 SW 56th St                                                                                     Cooper City         FL       33328
 EZ Storage Kirkwood                                             10461 MancheSuiter Rd                                                                                Kirkwood            MO       63122-1522
 F.N. Cuthbert, Inc.                                             3151 South Ave                                                                                       Toledo              OH       43609
 Fabian E Guillen                                                2944 River Creek Place                                                                               Tucson              AZ       85745
 Fabiano Brothers, Inc. - MI                                     1885 Bevanda Ct                                                                                      Bay City            MI       48706-8720
 Fabiano Brothers, Inc. WI                                       7205 Zinser St                                                                                       Schofield           WI       54476-4540
 Fabio Testa                                                     4480 NW 8th Pl                                                                                       Plantation          FL       33317
 Fabiola Excellent                                               5900 Northwest 44th St                                  Apt 808                                      Lauderhill          FL       33319
 Fabricio Martin                                                 500 SW 145th Ave                                        Apt 508                                      Pembroke Pines      FL       33027
 Fabrix Inc                                                      14910 Bel Aire Dr S                                                                                  Pembroke Pines      FL       33027-2228
 Faegre Drinker Biddle & Reath LLP                               One Logan Square Suite2000                                                                           Philadelphia        PA       19103-6996
 Faegre Drinker Biddle & Reath LLP -1 -DO NOT                    222 Delaware Ave                                                                                     Wilmington          DE       19801-1621
 Fahr Beverage Inc                                               1369 Martin Rd                                                                                       Waterloo            IA       50701
 Fairborn Equipment of the Carolinas, Inc                        PO Box 697                                                                                           Locust              NC       28097-0697
 Faith Williams                                                  4010 Southern Pkwy W                                                                                 Bradenton           FL       34205
 Fallon Tortolani                                                84 Mulberry Dr                                          Apt 5-411                                    North Kingstown     RI       02852
 Fallon Williams                                                 1600 ViNE St 1046                                                                                    Los Angeles         CA       90028
 Family Dollar, Inc                                              500 Volvo Pkwy                                                                                       Chesapeake          VA       23320-1604
 Family Express Corporation                                      213 S Sr 49                                                                                          Valparaiso          IN       46383
 Family Media Films Carlos Diaz                                  5604 NW 189th Ter                                                                                    Miami Gardens       FL       33055
 Fanstar Producoes LTDA                                          Avenida Epitacio Pessoa                                 2080 Apt101                                  Rio De Janerio      RJ       22411-072    Brazil
 FANUC America Corporation                                       3900 W Hamlin Rd                                                                                     Rochester Hills     MI       48309
 Farah Abad                                                      14843 Day Lily Ct                                                                                    Orlando             FL       32824-6455
 Farah Thelor                                                    2801 NW 60th Ave 453                                                                                 Sunrise             FL       33313
 Farbod Ahmaripour                                               Flat D 3 Freegrove Rd                                                                                Islington                    N7 9JN       United Kingdom
 Fares Alti                                                      719 Olivia Dr                                                                                        Oxnard              CA       93030
 Faris Alzubi                                                    2520 N Waterford St                                                                                  Orange              CA       92867
 Faris Distributing, Inc,                                        142 N 1St St                                                                                         Connellsville       PA       15425-2551
 Farish Enterprises, LLC.                                        1700 Mccoy Rd                                                                                        Orlando             FL       32809-7816



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                         Name                                         Attention                                              Address 1                               Address 2         Address 3                City      State        Zip            Country
 Farm Credit Bank of Texas                          Alan Robinson                                  4801 Plaza on the Lake Drive                                                                    Austin                TX       78746
 Farmer Mac                                         Kyle Weaver                                    1999 K St NW 4th Floor                                                                          Washington            DC       20006
 Fast Towing                                                                                       3109 Turtle Creek Rd                                                                            Kissimmee             FL       34743
 Fastenal Company                                                                                  1775 E University Dr #180                                                                       Phoenix               AZ       85034
 Faulkner ADR Law, PLLC                                                                            12770 Coit Rd Suite 720                                                                         Dallas                TX       75251-1454
 Favour Sports                                                                                     Bismillah Chowk Pasrur Rd                                                                       Sialkot                        51310        Pakistan
 Federal Arbitration, Inc.                                                                         4083 Transport St                                                                               Palo Alto             CA       94303-4914
 Federal Insurance Company (Chubb)                  c/o Chubb Group of Insurance Companies         202B Hall's Mill Rd                                                                             White House Station   NJ       08889
 Federal Insurance Company (Chubb)                  c/o Chubb Group of Insurance Companies         3000 Bayport Dr                                    Suite 700                                    Tampa                 FL       33607-8410
 Federal Insurance Company (Chubb)                  c/o Chubb Group of Insurance Companies         Capital Center 251 N Illinois                      Suite 1100                                   Indianapolis          IN       46204-1927
 Federica Isabel Santaella                                                                         6081 West Suburban Dr                                                                           Pinecrest             FL       33156
 Fedex Custom Critical Inc                                                                         101 South Fifth St                                                                              Louisville            KY       40202
 FedEx Freight                                                                                     2200 Forward Dr                                                                                 Harrison              AR       72602-0840
 Fedorova Natalia Aleksandrovna                                                                    Sharangovicha 35                                   Apt 135                                      Maladziečna                    220019       Belarus
 Feldmeier Equipment Inc.                                                                          PO Box 474                                                                                      Syracuse              NY       13211-0474
 Felipe Bedoya                                                                                     15021 SW 50th Ct                                                                                Davie                 FL       33331
 Felipe G Kroeff                                                                                   1600 N Park Dr                                                                                  Weston                FL       33326-3278
 Felipe Grando Kroeff                                                                              8300 Northwest 115th Ct                                                                         Doral                 FL       33178
 Felipe Jose Rodriguez                                                                             14920 Castlegate Ave                                                                            Davie                 FL       33331
 Felipe Vergara Aleman                                                                             1915 East Turney Ave                                                                            Phoenix               AZ       85016
 Felix A. Maldonado                                                                                2213 SW 104th Ave                                                                               Miami                 FL       33165
 Felixdaniel Vargas Caicedo                                                                        5570 South University Dr                           Apt 5204                                     Davie                 FL       33328
 Fender Pointe, LLC                                                                                1550 NE 191St St 112                                                                            Miami                 FL       33179-4146
 Ferdinand Charles Carey Jr.                                                                       11851 Northwest 31St St                                                                         Sunrise               FL       33323
 Fernan Lauro Gregorio                                                                             1111 Sonoma Ct                                                                                  Longwood              FL       32750-2920
 Fernanda Flores                                                                                   2150 N Bayshore Dr                                                                              Miami                 FL       33122
 Fernanda Flores                                                                                   455 NE 24th St #415                                                                             Miami                 FL       33137
 Fernanda Zambrana                                                                                 2064 SW 152 Place                                                                               Miami                 FL       33185
 Fernando Monsalve                                                                                 790 E 48th St                                                                                   Hialeah               FL       33013
 Fernando Patricio Parodi Costa                                                                    La Cumbre 128 Casuarinas Surco                                                                  Lima                           15023        Peru
 Fernando Robles                                                                                   2457 Pomeroy Ave                                                                                Los Angeles           CA       90033
 Fernando Valencia                                                                                 6408 West Clarendon Ave                                                                         Phoenix               AZ       85033
 Ferrum Packaging Inc                                                                              2125 Center Ave Suite 507                                                                       Fort Lee              NJ       07024-5874
 Fidel J Lozada                                                                                    8450 NW 102nd Apt 411                                                                           Miami                 FL       33178
 Fidel Lozada                                                                                      8450 NW 102nd Ave                                                                               Doral                 FL       33178-4750
 Fidelity National Title Group National                                                            8363 W Sunset Rd                                                                                Las Vegas             NV       89113
 Fieldworks Events & Marketing, Inc                                                                PO Box 14707                                                                                    Scottsdale            AZ       85267
 Fiesta Mart, LLC                                                                                  PO Box 841766                                                                                   Dallas                TX       75284-1766
 Fiesta Warehousing and Distribution Co. Brokers                                                   302 N Tayman St                                                                                 San Antonio           TX       78226
 Fifth Nutrisupply Inc.                                                                            4951 Holt Blvd                                                                                  Montclair             CA       91763
 Filadelfo Gamino                                                                                  22722 Lukens Ln                                                                                 Perris                CA       92570
 Filter Process & Supply                                                                           45 Stouts Ln # 3                                                                                Monmouth Junction     NJ       08852
 Finally Cordova                                                                                   3021 North Ravine                                                                               Mesa                  AZ       85215
 Finanzamt Dusseldorf-Nord                                                                         Hans-Böckler-Str 36                                                                             Dusseldorf                     40476        Germany
 Finanzamt Kleve                                                                                   Emmericher Strasse 182                                                                          Kleve                          47533        Germany
 Finlay Extracts & Ingredients USA, Inc.                                                           PO Box 358091                                                                                   Pittsburgh            PA       15251-5091
 Fiorella Castaneda                                                                                2011 Arapahoe                                                                                   Tustin                CA       92782
 Fire Controls, INC.                                                                               2721 NW 19th St                                                                                 Pompano Beach         FL       33069-5232
 Fire Systems, Inc.                                                                                4700 Highlands Pkwy Se                                                                          Smyrna                GA       30082-7221
 Fire Zone Sprinklers, Inc.                                                                        1000 PoNE De Leon Blvd Suite 100                                                                Coral Gables          FL       33134
 Firestone Building Products                                                                       PO Box 13664                                                                                    New York              NY       10087-3664
 Firmenich Incorporated                                                                            PO Box 7247 - 8502                                                                              Philadelphia          PA       19170-0001
 First American Title Insurance Company                                                            6 ConcourSE Parkway                                                                             Atlanta               GA       30328
 First Coast Energy, LLP                                                                           7014 Ac Skinner Pkwy Suite 290                                                                  Jacksonville          FL       32256
 First Coast Specialty Services                                                                    4890 County Rd # 218                                                                            Middleburg            FL       32068
 First Insurance Funding                                                                           PO Box 7000                                                                                     Carol Stream          IL       60197
 First Insurance Funding                                                                           450 Skokie Blvd                                    Suite 1000                                   Northbrook            IL       60062
 First Quality Forklit Training LLC                                                                911 S Fidelis St                                                                                Appleton              WI       54915
 Fischer vs. VPX                                    Peter Fischerc/o Daniel Francis Harvath (HarvatPO Box 440393                                                                                   St Louis              MO       53144
 Fischer-Thompson Beverages, Inc.                                                                  25 Ironia Rd                                                                                    Flanders              NJ       07836-9124
 Fisher Scientific Company                                                                         PO Box 404705                                                                                   Atlanta               GA       30384
 Fisher59, LLC                                                                                     5050 W University Dr                                                                            Denton                TX       76207-3107
 Fiske Company                                                                                     1250 S PiNE Island Rd Suite 300                                                                 Plantation            FL       33324-4414
 Fit Life Productions                                                                              17762 SW 139th Ct                                                                               Miami                 FL       33177-7740
 Fitcon                                                                                            PO Box 310                                                                                      Heber City            UT       84032-0310
 Fitking                                                                                           3000 Planters Place                                                                             Charlotte             NC       28216
 Fitnessmith                                                                                       3610 Quantum Blvd                                                                               Boynton Beach         FL       33426
 Fitspiration Personal Training/Nutrition Jessica                                                  13220 SW 13 St                                                                                  Davie                 FL       33325
 Fitzgerald Brothers Beverage, Inc.                                                                PO Box 2151                                                                                     Glens Falls           NY       12801-2151
 Five Points Association, Inc                                                                      532 Congaree Ave                                                                                Columbia              SC       29205-2211
 Flanigan Distributing of Door County Inc                                                          5600 Gordon Rd                                                                                  Sturgeon Bay          WI       54235-8839
 Flathead Beverage Company                                                                         1390 Us Highway 2 W                                                                             Kalispell             MT       59901-3414
 Flavia Laos Urbina                                                                                Calle los Naranjos 263 San Isidro                                                               Lima                           15036        Peru
 Flavio A Marrone                                                                                  1600 N Park Dr                                                                                  Weston                FL       33326-3278
 Flavio Alexandre Marrone Schmidt                                                                  10441 Northwest 11th St                            Unit 101                                     Pembroke Pines        FL       33026



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                         Name                                        Attention                                 Address 1                               Address 2         Address 3                City    State        Zip          Country
 Flavio Rocha                                                                        10750 East Enid Ave                                                                             Mesa                AZ       85208
 Flavor Producers, Inc-DO NOT USE                                                    8521 Fallbrook Ave Suite 380                                                                    West Hills          CA       91304-3239
 Fleetco                                                                             685 BRd St                                                                                      Pensacola           FL       32534
 FleetWash                                                                           PO Box 36014                                                                                    Newark              NJ       07188-6014
 Flocam LLC                                                                          1221 Stirling Rd 103                                                                            Dania               FL       33004
 Floral City Beverages Inc.                                                          720 Huber Dr                                                                                    Monroe              MI       48162
 Florencia Moyano                                                                    4164 Inverrayry Dr                                 Apt 306                                      Lauderhill          FL       33319
 Florencio Rivas                                                                     6700 NW 114th Ave 932                                                                           Doral               FL       33178-5500
 Florida Blue                                                                        4800 Deerwood Campus Parkway                                                                    Jacksonville        FL       32246
 Florida Controls LLC Estevan Luis Mariani                                           7989 SW Jack James Dr                                                                           Stuart              FL       34997-7243
 Florida Department Of Agriculture and Co                                            PO Box 6700                                                                                     Tallahassee         FL       32314-6700
 Florida Department of Revenue                                                       5050 W Tennessee St                                                                             Tallahassee         FL       32399-0100
 Florida Department of Revenue                                                       PO Box 6668                                                                                     Tallahassee         FL       32314
 Florida Department of State Division of                                             PO Box 6800                                                                                     Tallahassee         FL       32314-6800
 Florida Dept of State/Division of Corp                                              2661 Executive Center Cir                                                                       Tallahassee         FL       32301
 Florida Dept of State/Division of Corp                                              PO Box 6327 Amendment Section                                                                   Tallahassee         FL       32314-6327
 Florida Dept. Agriculture & Consumer Services                                       PO Box 6720                                                                                     Tallahassee         FL       32314-6720
 Florida Design Drilling Corp.                                                       7733 Hooper Rd                                                                                  West Palm Bch       FL       33411-3806
 Florida First Project                                                               1101 30th St Nw Suite 125                                                                       Washington          DC       20007
 Florida Industrial Supply & Equipment Sales, Inc.                                   1190 Lape Ln                                                                                    The Villages        FL       32163
 Florida International University Board of Trustees                                  11200 SW 8th St Csc319                                                                          Miami               FL       33199
 Florida Keys Aqueduct Authority                                                     PO Box 5293                                                                                     Key West            FL       33045
 Florida Office of Attorney General                                                  The Capitol Pl-01                                                                               Tallahassee         FL       32399-1050
 Florida Office of the Attorney General             State of Florida                 The Capitol Pl 01                                                                               Tallahassee         FL       32399
 Florida Panthers Hockey Club, Ltd.                                                  One Panther Parkway                                                                             Sunrise             FL       33323
 Florida State Disbursement Unit                                                     PO Box 8500                                                                                     Tallahassee         FL       32314-8500
 Florida State FOP                                                                   PO Box 1349                                                                                     Tallahassee         FL       32302-1349
 Florida Supplement LLC                                                              10301 Commerce Parkway                                                                          Miramar             FL       33025
 FloridaMakes, Inc                                                                   800 N Magnolia Ave Suite 1850                                                                   Orlando             FL       32803
 Florida's Tittle Insurance                                                          1720 Harrison St PenthouSE B                                                                    Hollywood           FL       33020
 Florida-Spectrum Environmental Services                                             1460 W Mcnab Rd                                                                                 Ft Lauderdale       FL       33309-1122
 Flou Films, LLC                                                                     8960 NW 97th Ave 111                                                                            Doral               FL       33178-2592
 Fly Kicks Only Geza Bailey Abshire                                                  2027 S Flagler Ave                                                                              Flagler Beach       FL       32136-3953
 Flying Eagles Entertainment, LLC Eugeniu Pereu                                      735 SW 2 St 402                                                                                 Miami               FL       33130
 FOGG Filler Company                                                                 3455 John F Donnelly Dr                                                                         Holland             MI       49424-9207
 Folium Biosciences                                                                  615 Wooten Rd Suite 110                                                                         Colorado Springs    CO       80915-3523
 Folsom Distributing                                                                 250 Citrus Ln                                                                                   Wood River          IL       62095-1447
 Fona International Canada ULC                                                       2447 Anson Dr                                      Unit #2                                      Mississauga         ON       L5S 1G1      Canada
 Fona International Inc.                            Michelle Stehouwer               1900 Averill Rd                                                                                 Geneva              IL       60134
 FONA UK LTD                                                                         30-34 New Bridge St                                                                             London                       EC4V 6BJ     United Kingdom
 Fonterra (USA) Inc                                                                  PO Box Box 2249                                                                                 Carol Stream        IL       60132
 Food 4 Less / Rancho San Miguel PAQ Inc.                                            8014 Lower Sancramento Rd Suite I                                                               Stockton            CA       95210
 Food and Drug Administration                                                        PO Box 979107                                                                                   St Louis            MO       63197-9000
 Food Lion                                                                           2110 Executive Dr                                                                               Salisbury           NC       28147
 Food Natural Health Centers                                                         5000 Eldorado Pkwy Suite 150                                                                    Frisco              TX       75033-8443
 Force Brands, LLC                                                                   6 Harrison St                                                                                   New York            NY       10013
 Ford Credit - 52186375                                                              PO Box 650575                                                                                   Dallas              TX       75265-0575
 Ford Credit - 54292889                                                              PO Box 650575                                                                                   Dallas              TX       75265-0575
 Forest Coughtry                                                                     6535 Weiser Dr                                                                                  Colorado Springs    CO       80925
 Forever Propane Sales & Service Inc.                                                350 NE 44th St                                                                                  Oakland Park        FL       33334
 Forever Wealthy Michael Le                                                          733 Gazetta Way                                                                                 West Palm Beach     FL       33413
 Forimpex S.A.S                                                                      #15 B 35 Edificio Prisma Camera                    Oficina 311                                  Medellin                                  Colombia
 Forimplex Trading                                                                   900 NW 110 Ave                                                                                  Plantation          FL       33224
 Forrest Eversole                                                                    219 Oxford Rd                                                                                   Williamsburg        VA       23185
 Fort Lauderdale Transfer & Rigging, Inc.                                            4701 SW 36th St                                                                                 Davie               FL       33314-2232
 FORVIS, LLP                                                                         910 E Saint Louis St Suite 400                                                                  Springfield         MO       65806-2570
 Forward Farma, Inc.                                                                 5585 Brooks St                                                                                  Montclair           CA       91763-4547
 Foster LLP                                                                          3 Greenway Plaza Suite 800                                                                      Houston             TX       77046
 Fotronic Corporation Test Equipment Depot                                           99 Washington St                                                                                Melrose             MA       02176
 Four Season Beer Dist Inc                                                           462 East Breitung Ave                                                                           Iron Mountain       MI       49802
 FPL                                                                                 FPL General Mail Facility                                                                       Miami               FL       33188
 Frances Perez                                                                       18333 E Elmendrof Dr                                                                            Denver              CO       80249
 Francesca Lazzara                                                                   10407 Carroll Cove Pl                                                                           Tampa               FL       33612
 Francesca Prochilo                                                                  4202 Greek Park Dr                                                                              Orlando             FL       32816
 Francesca Rose Mancini                                                              851 Scaleybark Rd J                                                                             Charlotte           NC       28209
 Franceska Fournier                                                                  2180 Charbonneau                                                                                Terrebonne          QC       J6Y 1J6      Canada
 Franchise Tax Board California                                                      PO Box 942857                                                                                   Sacramento          CA       94257-0531
 Francine C. Salopek, RPR-CMM                                                        299 E Broward Blvd Room 205F                                                                    Ft Lauderdale       FL       33301
 Francis Massabki                                                                    7330 Ocean Terrace 1101                                                                         Miami Beach         FL       33141
 Francis Wawrzyniak                                                                  4040 Stonefield Dr                                                                              Orlando             FL       32826
 Francisco A Ramirez                                                                 9328 West Miami St                                                                              Tolleson            AZ       85353
 Francisco Anthony Damian                                                            4250 Eileen St                                                                                  Riverside           CA       92504
 Francisco J Vasquez Gamez                                                           4235 West Denton Ln                                                                             Phoenix             AZ       85019
 Francisco Javier Parrilla                                                           4267 SW 183rd Ave                                                                               Miramar             FL       33029
 Francisco Javier Patino                                                             7093 West Sunrise Blvd                                                                          Plantation          FL       33313



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                        Name                        Attention                                Address 1                                 Address 2                 Address 3                 City    State        Zip              Country
 Francisco Mesones - Zevallos                                       2700 Forest Hills Blvd                            Apt 205                                                Coral Springs        FL       33065
 Francisco Zazueta-Osorio                                           22758 West Mohave St                                                                                     Buckeye              AZ       85326
 Frandy Michel                                                      4625 Northwest 9th Dr                                                                                    Plantation           FL       33317
 Frank Brown                                                        4540 W Mineral Ave #201                                                                                  Littleton            CO       80138
 Frank Garrott Coelho                                               3953 Holly Springs Dr                                                                                    Corona               CA       92881
 Frank Gay Services, LLC.                                           3763 Mercy Star Ct                                                                                       Orlando              FL       32808
 Frank Guagenti                                                     4245 Palm Forest Dr South                                                                                Delray Beach         FL       33445
 Frank John Greening                                                8971 York St                                                                                             Thornton             CO       80229
 Frank Michael Marcantoni                                           2506 West Stroud Ave                              Apt 211                                                Tampa                FL       33629
 Frank Murphy                                                       16194 North Desert Sage St                                                                               Surprise             AZ       85378
 Frank Ntshangase                                                   1 Mac St                                                                                                 Piet Retief                   23980        South Africa
 Frank Ortiz Campaing Account                                       1321 NW 114th Ave                                                                                        Pembroke Pines       FL       33026
 Frankie C Lobato Jr                                                3829 Smoke Tree Dr                                                                                       Colorado Springs     CO       80920
 Frankie Mina Wauneka                                               9284 West Denton Ln                                                                                      Glendale             AZ       85305
 Franklin Edward Donn                                               11837 SW 90th Terrace                                                                                    Miami                FL       33186
 Franky Morales                                                     17251 NE Second Ct                                                                                       North Miami Beach    FL        33162
 Franky Morales                                                     210 East 3rd St 311                                                                                      Long Beach           CA       90802
 Fred Abraham Garcia                                                8051 4th St                                       Apt 29                                                 Buena Park           CA       90621
 Fred Martinez                                                      9767 West 34th Ln                                                                                        Hialeah              FL       33018
 Freddie Barnes                                                     13748 Faust Ave                                                                                          Bellflower           CA       90706
 Frederick John Hill                                                210 Kiowa Ct                                                                                             Acworth              GA       30102
 Frederick W Armstrong III                                          6008 PiNE Creek Dr                                                                                       St Augustine         FL       32092
 Free Life Chapel                                                   6780 Socrum Loop Rd                                                                                      Lakeland             FL       33809
 Free Time LLC                                                      159 Wentworth Dr                                                                                         Henderson            NV       89074
 Freeman Audio Visual Canada                                        2365 Matheson Blvd E                                                                                     Mississauga          ON       L4W 5B3      Canada
 Freight Logistics International Rhenus Logistics                   3320 NW 67th Ave 900                                                                                     Miami                FL       33122-2265
 Fremont Distributing                                               425 N BRdway                                                                                             Riverton             WY       82501
 Freyr, Inc                                                         150 College Rd West Suite 12                                                                             Princeton            NJ       08540
 Friedman Recycling                                                 3540 W Lincoln St                                                                                        Phoenix              AZ       85009-5519
 Friesens Corporation                                               PO Box 556                                                                                               Pembina              ND       58271-0556
 Frigoglass Romania SRL                                             DN 59 Timisoara – Moravita                        KM 16                                                  Parta Timis                   307396       Romania
 Frio Distributing, LLC                                             3801 E Highway 90                                                                                        Del Rio              TX       78840-8960
 Frio Distributing, LLC                                             509 Carter St                                                                                            Hondo                TX       78861
 Frisler Clairvil                                                   132 NW 45th Ave                                                                                          Plantation           FL       33317
 Fritz C Tilus                                                      11003 Royal Palm Blvd                                                                                    Coral Springs        FL       33065
 Frontier Communications                                            PO Box 740407                                                                                            Cincinnati           OH       45274-0407
 FTI Consulting, Inc                                                16701 Melford Blvd Suite 200                                                                             Bowie                MD       20715-4418
 Fuel Team                                                          9550 Parksouth Ct Suite 300                                                                              Orlando              FL       32837-8385
 Fuel U Fast                                                        5660 Wind Drift Ln                                                                                       Boca Raton           FL       33433
 Full CIrcle Distributors                                           1200 Watercrest Way                                                                                      Cheswick             PA       15024
 Full Spectrum Group, LLC Full Spectrum                             23332 Mill Creek Dr Suite 205                                                                            Laguna Hills         CA       92653-7929
 Fullscreen, LLC                                                    12180 Millennium Dr                                                                                      Playa Vista          CA       90094
 Fusion Logistics Services, LLC                                     PO Box 33080                                                                                             Lakeland             FL       33807-3080
 Future Perfect Worldwide Inc.                                      3315 Berkmar Dr Suite 2A                                                                                 Charlottesville      VA       22901
 FW Fleet Clean, LLC                                                PO Box 5059                                                                                              Sn Luis Obisp        CA       93403-5059
 Fynn Avery                                                         603 Pittwater Rd                                                                                         Sydney                        NSW 2099     Australia
 G & J Pepsi - Cola Bottlers, Inc. Middle Street                    PO Box 643383                                                                                            Cincinnati           OH       45264-3383
 G & J Pepsi Cola Bottling Company, Inc.                            1241 Gibbard Ave                                                                                         Columbus             OH       43219
 G & J Pepsi Cola Bottling Company, Inc.                            559 South Forbes Rd                                                                                      Lexington            KY       40504
 G & J Pepsi Cola Bottling Company, Inc.                            PO Box 299                                                                                               Frankln Frnce        OH       45629-0299
 G & W Equipment Inc.                                               600 Lawton Rd                                                                                            Charlotte            NC       28216
 G&L Properties, LLC                                                2101 Barrancas Ave                                                                                       Pensacola            FL       32502
 G&L Wholesale                                                      594 Lockhaven Dr                                                                                         River Vale           NJ       07675
 G&M Distributors, Inc.                                             1425 Franklin Grove Rd                                                                                   Dixon                IL       61021
 G&M Distributors, Inc.                                             200 N Linwood Rd                                                                                         Galesburg            IL       61401
 G&M Distributors, Inc.                                             PO Box 509                                                                                               Galesburg            IL       61402-0509
 G2 ID Source Inc.                                                  1511 Montana Ave                                                                                         Jaccksonville        FL       32207
 Gaba Servicos de Internet Eireli Gabriel Bruno                     Rua Eugene Carriere 17 24                         Jardim Das Vertentes                                   Sao Paulo                     05541-100    Brazil
 Gabby J David Delve Creative LLC                                   901 NW Carlon Ave Suite                                                                                  Bend                 OR       97703
 Gabe Matous                                                        3760 Farm To Market Rd 1181                                                                              Ennis                TX       75119
 Gabriel Aglio                                                      581 Itaipu St Delfim                                                                                     Niteroi              RJ       24346-144    Brazil
 Gabriel Aglio Da Silva                                             Av Lucio Costa                                    4500 House 104                Barra da Tijuca          Rio De Janerio                22630-011    Brazil
 Gabriel Angel Rodriguez                                            8357 Waterwood Ln                                                                                        Dallas               TX       75217
 Gabriel Araujo Marins Rodrigues                                    Amelia Pereira St 550                                                                                    Lorena               SP       012606280    Brazil
 Gabriel Bellido                                                    188 NW 106 Terr                                                                                          Pembroke Pines       FL       33026
 Gabriel James Lee Karanopoulos                                     4146 East Mendez St                               Apt 226                                                Long Beach           CA       90815
 Gabriel Johnson                                                    1641 Lamont Ave                                                                                          Conley               GA       30288
 Gabriel Joseph                                                     1055 W 7th St Suite 3331                                                                                 Los Angeles          CA       90017
 Gabriel Lopez                                                      11603 NW 89th St 221                                                                                     Doral                FL       33178
 Gabriel Lopez                                                      North Miami Beach FL 33162                        Apt 221                                                Doral                FL       33178
 Gabriel Mariano Diaz                                               1013 Better Days Place                                                                                   Valrico              FL       33594
 Gabriel Moares Souza                                               725 Coventry Rd                                                                                          Davenport            FL       33897
 Gabriel Moncada                                                    200 BiscayNE Blvd Way                             Unit 4904                                              Miami                FL       33131
 Gabriel Rodrigues                                                  8335 W Sunset Blvd Suite 200                                                                             Los Angeles          CA       90069
 Gabriel Rodriguez                                                  1730 Lancelot Loop                                                                                       Tampa                FL       33619



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                       Name                  Attention                                Address 1                               Address 2         Address 3                 City    State        Zip             Country
 Gabriel Sawyer                                              26512 La Quilla Ln                                                                             Mission Viejo        CA       92692
 Gabriel Soufo Gaby                                          15330 Albright St                                                                              Pacific Palisades    CA       90272
 Gabriel Valencia                                            236 Atwell Dr                                                                                  West Palm Beach      FL       33411
 Gabriela C Padilla Garcia                                   4045 Crescent Creek Pl                                                                         Coconut Creed        FL       33073
 Gabriela Cristina Hernandez Gonzalez                        92 Southwest 3rd St                               Apt 4512                                     Miami                FL       33130
 Gabriela D Garcia Zambrano                                  9935 Northwest 46th St                            Apt 305                                      Doral                FL       33178
 Gabriela Garrigan                                           7410 Panama St                                                                                 Miramar              FL       33023
 Gabriela Hernandez                                          1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Gabriela Orjuela                                            1129 Birchwood Rd                                                                              Weston               FL       33327
 Gabriela Reyes                                              7513 Fountain Ave 3                                                                            West Hollywood       CA       90046
 Gabriela Valdes                                             5004 Long Lake Cir 303                                                                         Lakeland             FL       33805
 Gabriela Valdes                                             6545 Indian Creek Dr                              Apt 306                                      Miami                FL       33141
 Gabriela Zambrano Garcia                                    1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Gabriella Blancas Calderon                                  4329 West Orangewood Ave                                                                       Glendale             AZ       85301
 Gabriella E Gallegos                                        1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Gabriella Elizabeth Gallegos                                6614 Perry Creek Rd                                                                            Raleigh              NC       27616
 Gabriella Ellyse Abutbol                                    1570 Country Club Dr                                                                           Escondido            CA       92029-1838
 Gabriella Fioravanti                                        17650 NW 73rd Ave 210                                                                          Hialeah              FL       33015
 Gabriella Maria Ortiz                                       16776 Northwest 12th Ct                                                                        Pembroke Pines       FL       33028
 Gabriella Verne                                             850 Sunflower Cir                                                                              Weston               FL       33327
 Gabriella Whiting                                           5531 Fulcher Ave                                                                               N Hollywood          CA       91601-2452
 Gabrielle Arline Hounigringer                               2214 Grove St                                                                                  Sarasota             FL       34239-4623
 Gabrielle Avery Baylog                                      2915 Cutter Ct                                                                                 Waxhaw               NC       28173-8064
 Gabrielle Celeste Lopez                                     7013 Sunderland Trail                                                                          Austin               TX       78747
 Gabrielle Connor                                            70 Devon Ct                                                                                    Edwardsville         IL       62026
 Gabrielle David                                             70 General Kershaw Ct                                                                          Harpers Ferry        WV       25425
 Gabrielle Megan McKean                                      504 Bedford Ave                                                                                Weston               FL       33326
 Gadi Ohayon Elite AC LLC - GNH Electric                     6060 CheSuiter Cir                                                                             Jacksonville         FL       32217
 Gaevin Bernales                                             10868 S Holmfield St                                                                           Henderson            NV       89052
 Gage Anthony Bills                                          5743 Northeimer Rd                                                                             Narvon               PA       17555-9686
 Gage Wilson                                                 1812 SW 45th Ln                                                                                Cape Coral           FL       33914
 Galdino Martinez                                            5227 South 46th St                                                                             Phoenix              AZ       85040
 Galie Masri Zerpa                                           627 Hicksville Rd                                                                              Massapequa           NY       11758
 Gallagher & Kennedy, P.A.                                   2575 East Camelback Rd                                                                         Phoenix              AZ       85016
 Garage Door Specialties Door Specialties                    4410 Suiteele St                                                                               Denver               CO       80216
 Garaudy R Antoine                                           10371 Smyrna Dr                                                                                Orlando              FL       32817
 Garett Nolan                                                260 Church St                                                                                  S Williamsprt        PA       17702-7432
 Garratt - Callahan Company                                  50 Ingold Rd                                                                                   Burlingame           CA       94010
 Garrett Peterson                                            3896 Harbor Hills Dr                                                                           Largo                FL       33770
 Garrett Wayne Munchrath                                     1806 Shenandoah Dr                                                                             Euless               TX       76039
 Gartner, Inc.                                               56 Top Callant Rd                                                                              Stamfo               CT       06902
 Gary Francis De Myer                                        10857 Madison Dr                                                                               Boynton Beach        FL       33437
 Gary J Puchalski                                            1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Gary John Puchalski                                         2423 East Detroit Ct                                                                           Chandler             AZ       85225
 Gary Jonathan Carr                                          309 Southeast Navy Ave                                                                         Port St Lucie        FL       34984
 Gary Kenneth Austin                                         475 North Federal Highway                         Apt 2103                                     Fort Lauderdale      FL       33301
 Gaseous Fuel Systems Corp.                                  3360 EnterpriSE Ave Suite 180                                                                  Weston               FL       33331
 Gaslamp District Media                                      1804 Garnet Ave # 434                                                                          San Diego            CA       92109-3352
 Gate Petroleum Company                                      9540 San JoSE Blvd                                                                             Jacksonville         FL       32257-5432
 Gauntlett & Associates                                      18400 Von Karman Ave Suite 300                                                                 Irvine               CA       92612
 Gaven Obrecht                                               6307 Montezuma Rd                                                                              San Diego            CA       92115
 Gavin Guanell                                               3759 South Briarwood Cir                                                                       Idaho Falls          ID       83404
 Gavin Hugh McGrail                                          5150 West Eugie Ave                               Apt 2056                                     Glendale             AZ       85304
 Gavin Teevan                                                243 Erin Ct                                                                                    Greenwood            IN       46142
 Gavin William Stoub                                         1047 Willow Ln                                                                                 Batavia              IL       60510
 GC Evans Sales & MFG Co, Inc.                               14000 Dineen Dr                                                                                Little Rock          AR       72206
 Gehidy Calle                                                2676 NW 99th Ave                                                                               Miami                FL       33178
 GEHL Mediations, Inc                                        600 W Las Olas Blvd 2204                                                                       Ft Lauderdale        FL       33312-7166
 Gehlen Schols Transport & Logistics B.V.                    PO Box 29                                                                                      Kerkrade                      6460 AA      The Netherlands
 Geisy Montealegre Ruano                                     7051 Environ Blvd 132                                                                          Lauderhill           FL       33319
 Gekay Sales and Services                                    15 Dana Way                                                                                    Ludlow               MA       01056
 GEMCAP Logistics                                            7570 NW 14th St                                                                                Miami                FL       33126
 Geminis Girott                                              2600 Paddock Point Place                                                                       Dacula               GA       30019
 GEMS - Gilbert Exposition Management Svs                    9468 American Eagle Way                                                                        Orlando              FL       32837
 Genabolix Lifescience Int'l Co. Ltd                         200233 Gui Ping Rd                                                                             Shanghai                                   China
 Gene C Clinton                                              1600 N Park Dr                                                                                                      FL       33326-3278
 Gene Craig Clinton                                          1004 Rainbow Cliff Ct                                                                          Las Vegas            NV       89123
 Gene Gausselin                                              345 W 44th St                                     Apt 4                                        San Bernardino       CA       92407
 General Distributing Company                                5350 West Amelia Earhart Dr                                                                    Salt Lake City       UT       84116
 General Distributing Company                                PO Box 221210                                                                                  Salt Lake City       UT       84122-1210
 General Motors Financial Company                            801 Cherry St Suite 3900                                                                       Fort Worth           TX       76102
 Genesis Coito                                               1643 11th St Sw                                                                                Naples               FL       34117
 Genesis Global Workforce Solutions                          3000 SW 148th Ave Suite 116                                                                    Miramar              FL       33027-4181
 Genesis Goncalves                                           10801 NW 50th St 105                                                                           Doral                FL       33178
 Geneva Club Beverage Co., Inc.                              1 Pepsi Ln                                                                                     Geneva               NY       14456-1816



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                        Name                  Attention                                Address 1                                Address 2         Address 3                City     State        Zip          Country
 Genisley Bremenkamp                                          414 W 45th St #1R                                                                               New York             NY       10036
 Gentech Generators & Services                                237 NW 48th St                                                                                  Miami                FL       33127-2456
 Geoffrey Hire                                                1264 West Lantana Dr                                                                            Chandler             AZ       85248
 George Anthony Rodriguez Serrato                             2763 Dawn W 1006                                                                                Fort Worth           TX       76116
 George Augustus Mirones                                      1733 North La Rosa Dr                                                                           Tempe                AZ       85281
 George C.J. Moore P.A.                                       2855 Pga Blvd                                                                                   Palm Beach Gardens   FL       33410
 George Darryl Kelly                                          3534 Smithfield St                                 Apt 1705                                     Jacksonville         FL       32217
 George Julian                                                23017 SW 109 Ave                                                                                Miami                FL       33170
 George M Harris                                              1600 N Park Dr                                                                                  Weston               FL       33326-3278
 George M Harris III                                          6262 Seminole Dr                                                                                Olive Branch         MS       38654
 George Ruelas                                                8050 West Gibson Ln                                                                             Phoenix              AZ       85043
 Georgia Bucel                                                720 104th Ave N                                                                                 Naples F             FL       34108
 Georgia Department Of Revenue                                PO Box 740238                                                                                   Atlanta              GA       30374-0238
 Georgia Department Of Revenue                                PO Box 740317                                                                                   Atlanta              GA       30374
 Georgia Dept of Revenue Processing Center                    PO Box 740238                                                                                   Atlanta              GA       30374-0238
 Georgia Gas Distributions, Inc.                              PO Box 250149                                                                                   Atlanta              GA       30325-1149
 Georgia Kerr                                                 6 Williams Evans Rd                                                                             Manor Pa                      KT197DF      United Kingdom
 Georgia Office of the Attorney General                       40 Capitol Sq SW                                                                                Atlanta              GA       30334
 Georgia Waste systems, Inc.                                  1001 Fannin St                                                                                  Houston              TX       77002
 Georgia World Congress Center                                285 Andrew Young International Blvd                                                             Atlanta              GA       30313
 Georgiana Gnibus                                             3883 Rockfield Ct                                                                               Carlsbad             CA       92010
 Georgina Mazzeo                                              3000 Coral Way                                     Apt 1410                                     Miami                FL       33145
 Georgina Mazzeo, LLC                                         3000 Coral Way 1410                                                                             Miami                FL       33145
 Geovannie Valdez                                             8541 SW 109th Ave                                                                               Miami                FL       33173-4443
 GeoVera Specialty Insurance Company                          1455 Oliver Rd                                                                                  Fairfield            CA       94534
 Gerald Antwan Cross                                          1200 Lakepointe Ln                                                                              Plantation           FL       33322
 Gerald Roberson                                              12828 North 57th Ave                                                                            Glendale             AZ       85304
 Gerald Schwartzmeyer                                         15216 North 28th Dr                                                                             Phoenix              AZ       85053
 Geraldine Guaita Vielma                                      4024 Jessica Leigh Ln #110                                                                      Charlotte            NC       28269
 Gerardo Alejandro Rodriguez Otero                            1750 W 46th St                                     Apt 436                                      Hialeah              FL       33012
 Gerardo Eduardo Santos                                       11326 W Citrus Grove                                                                            Avondale             AZ       85392
 Gerardo Hernandez                                            10511 West Heatherbrae Dr                                                                       Phoenix              AZ       85037
 Gerardo Martinez                                             3845 West Cactus Wren Dr                                                                        Phoenix              AZ       85051
 German Tinoco                                                25332 Southwest 108th Ave                                                                       Homestead            FL       33032
 Geronimo G Diaz                                              101 SW 96th Ave                                                                                 Plantation           FL       33324-2353
 Geronimo Gonzalez-Diaz                                       4102 Sapphire Terrace                                                                           Weston               FL       33331
 Gerri Anne Futch                                             4349 Carter Rd                                                                                  St Augustine         FL       32086
 Gerson Lehrman Group, Inc.                                   60 East 42nd St 3rd Floor                                                                       New York             NY       10165-1200
 GET Productions, Inc                                         21851 SW 182 Ave                                                                                Miami                FL       33170
 Ghadeer Faik Nasser                                          16789 Chandler Rd 1536D                                                                         East Lansing         MI       48823
 Ghostninja LLC Nicolas Rokvic                                624 Sanctuary Ln                                                                                Delafield            WI       53018
 GHRA Greater Houston Retailers                               12790 S Kirkwood Rd                                                                             Stafford             TX       77477-3810
 Giancarlo Petrone                                            1319 Crotan Ct                                                                                  Weston               FL       33327
 GiaNina Inc GiaNina Paolantonio                              69 Maywood Run                                                                                  Tinton Falls         NJ       07753-7571
 Gianluca Conte                                               4946 Bellaire Ave                                                                               North Hollywood      CA       91607
 Gianluca Gallone Distinction Talent FZ LLE                   86 Gowan Ave                                                                                    Fulham                        SW6 6RG      United Kingdom
 Gianna Aguilera                                              184 Ralph Ave                                                                                   Babylon              NY       11702
 Gianna Grieco                                                146 Dennis Dr                                                                                   Clovis               CA       93612
 Gianna Mae Polizzi                                           15 MilhouSE Ln                                                                                  Lake Grove           NY       11755-2801
 Gianna Marie Macchiarulo                                     14300 Charter Landing Dr                                                                        Midlothian           VA       23114
 Gianna Polizzi                                               15 Milhouse Ln                                                                                  Lake Grove           NY       11755
 Gianni Martinez                                              4719 Usf Birch Dr                                                                               Tampa                FL       33620
 Gian-Paul Lopez                                              1649 South Kirkman Rd                              Apt 374                                      Orlando              FL       32811
 Giant Eagle, Inc.                                            101 Kappa Dr                                                                                    Pittsburgh           PA       15238-2809
 Gideon Eckhouse                                              5900 Lindenhurst Ave                                                                            Los Angeles          CA       90036
 GigSmart, Inc                                                999 18th St Suite 1750S                                                                         Denver               CO       80202-2499
 Gilby Rivera                                                 4623 Carambola Cir North                                                                        Coconut Creek        FL       33066
 Gilroy Self Storage                                          6500 Cameron Blvd                                                                               Gilroy               CA       95020-7090
 Gimmel Tammuz Realty I-70 Industrial Ctr                     17304 Preston Rd                                                                                Dallas               TX       75252
 Gina Maschenic                                               9141 SW 122nd Ave 205                                                                           Miami                FL       33186
 Gina S De Angelis                                            9840 NW 2nd Ct                                                                                  Plantation           FL       33324
 Ginel Alvarado                                               5470 NW 114th Ave 110                                                                           Doral                FL       33178
 Gino Javier Canales                                          609 SE 15th Terrace                                                                             Cape Coral           FL       33990
 Gintzler International                                       100 Lawrence Bell Dr                                                                            Buffalo              NY       14221
 Giorgio Armani Moreno                                        828 West Julie Dr                                                                               Tempe                AZ       85283
 Giovanna Smith                                               334 S 108th Pl                                                                                  Seattle              WA       98168-1445
 Giovanni Augustine Masters                                   1540 Griswold St                                                                                Hermitage            PA       16148
 Giselle Abutbol                                              21410 NE 24th Ct                                                                                Miami                FL       33180
 Giselle Lisboa                                               11338 NW 70th St                                                                                Doral                FL       33178-4540
 Giuseppe Mannino                                             10115 Elderberry Park Ln                                                                        Tomball              TX       77375
 Giuseppe Sposito                                             60 Madison Ave                                                                                  Westbury             NY       11590
 Givaudan Flavors Corporation                                 1199 Edison Dr                                                                                  Cincinnati           OH       45216-2265
 Glazer's Beer and Beverage of Texas, LLC                     1002 S Callaghan Rd                                                                             San Antonio          TX       78227
 Glazer's Beer and Beverage of Texas, LLC                     14911 Quorum Dr Suite 200                                                                       Dallas               TX       75254-1484
 Glazer's Beer and Beverage of Texas, LLC                     2000 Redbud Ave                                                                                 Mcallen              TX       78504



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                        Name                                      Attention                                     Address 1                               Address 2                   Address 3                City      State        Zip           Country
 Glazer's Beer and Beverage of Texas, LLC                                             2525 Texas Central Pkwy                                                                                   Waco                  TX       76712
 Glazer's Beer and Beverage of Texas, LLC                                             500 S Pagewood Ave                                                                                        Odessa                TX       79765
 Glazer's Beer and Beverage of Texas, LLC                                             7801 Trade Center Ave                                                                                     El Paso               TX       79912
 Glazer's Beer and Beverage of Texas, LLC                                             909 W 62 nd St                                                                                            Shreveport            LA       71106
 Glen C Patrick                                                                       1600 N Park Dr                                                                                            Weston                FL       33326-3278
 Glen Cameron Patrick                                                                 1421 South Owyhee St                                                                                      Boise                 ID       83705
 Glen Fannin                                                                          9874 NamaSuite Loop                                Apt 4205                                               Orlando               FL       32836
 Glen Raven Logistics Inc.                                                            1831 N Park Ave                                                                                           Burlington            NC       27217-1137
 Glenda E Gonzalez Glenda Gonzalez                                                    10250 NW 125th St                                                                                         Hialeah               FL       33018
 Glenn Fontein                                                                        90025 Haagweg 68                                                               Zuid Holland               Rijswijk                       2282 AB      Netherlands
 GLL Properties                                                                       1600 N Park Dr                                                                                            Weston                FL       33326
 Global Bodybuilding Organization, LLC                                                PO Box 270125                                                                                             Flower Mound          TX       75027-0125
 Global Connected LLC - MJJC                                                          2650 Walnut Ave H                                                                                         Tustin                CA       92780
 Global Montello Group Corp.                                                          15 North East Industrial Rd                                                                               Branford              CT       06405
 Global Nutrition Australia                                                           5 Te Kea Place                                                                                            Rosedale Auckland              NSW 0632     Australia
 Global Systems United LLC                                                            4150 W Northern Ave Suite 150                                                                             Phoenix               AZ       85051
 Globase Corporation                                                                  1310 SW 101th Ave                                                                                         Miami                 FL       33174
 Globe Food Equipment, Co.                                                            2153 Dryden Rd                                                                                            Dayton                OH       45439
 Gloria Isabella Solarte                                                              1254 SW 116 Ave                                                                                           Davie                 FL       33325
 Gloria N Soto                                                                        101 Berkley Rd                                     Apt 305                                                Hollywood             FL       33024
 Glory Visuals LLC Darren Curtis Clausen                                              3318 S 126th St                                                                                           Omaha                 NE       68144
 GM Financial 2018 Cadillac                                                           PO Box 78143                                                                                              Phoenix               AZ       85062-8143
 GM Financial New Chevy Vans                                                          PO Box 78143                                                                                              Phoenix               AZ       85062-8143
 GM FleetTrac                                                                         PO Box 731421                                                                                             Dallas                TX       75373-1421
 GMP Investments,LLC                                                                  8565 Magellan Parkway Suite # 400                                                                         Richmond              VA       23227
 GoBrands, Inc                                                                        537 N 3rd St                                                                                              Philadelphia          PA       19123
 Gold Coast Runner Runner's Depot                                                     2233 S University Dr                                                                                      Davie                 FL       33324
 Golden Beverage                                                                      2361 B Ave                                                                                                Ogden                 UT       84401-1201
 Golden Beverage                                                                      2660 Industrial Dr                                                                                        Ogden                 UT       84401
 Golden Eagle Dist., Inc. - KY                                                        5235 Charter Oak Dr                                                                                       Paducah               KY       42001-9692
 Golden Eagle Distributing. - MO                                                      1401 S OSuiteopathy Ave                                                                                   Kirksville            MO       63501
 Golden Eagle Distributing. - MO                                                      449 South Sandy St                                                                                        Jacksonville          IL       62650
 Golden Eagle Distributing. - MO                                                      500 Golden Eagle Dr                                                                                       Mt Pleasant           IA       52641
 Golden Eagle Distributing. - MO                                                      9669 Highway 168                                                                                          Hannibal              MO       63401
 Golden Eagle of Arkansas, Inc.                                                       1900 E 15th St                                                                                            Little Rock           AR       72202-5708
 Golden Eagle of Arkansas, Inc.                                                       45 Globe Ave                                                                                              Texarkana             AR       71854
 Golden Empire Distribution                                                           8826 Ocean View Ave                                                                                       Whitter               CA       90605
 Golden Pantry Food Stores                                                            1150 Golden Way                                                                                           Watkinsville          GA       30677
 Golub Corporation                                                                    PO Box 1392                                                                                               Willinston            VT       05495-1392
 Gonzalo Goette                                                                       5701 Collins Ave                                   Apt 809                                                Miami Beach           FL       33140
 Goofy Gumball Hooman Nouri                                                           61 S Baldwin Ave #1141                                                                                    Sierra Madre          CA       91024
 Gordon & Rees                                                                        1111 BRdway                                                                                               Oakland               CA       94607
 Gordon MacLachlan                                                                    3750 NW 116 Terrace                                                                                       Sunrise               FL       33323
 GPM Investments, LLC EZ Mart EZ Mart                                                 602 Falvey Ave                                                                                            Texarkana             TX       75501-6627
 GPS Tracking Communications                 Attn: Lockbox Operations 515782          Ave 90                                                                                                    Belshaw               CA       20500
 Grace Gilman                                                                         1300 S Miami #1709                                                                                        Miami                 FL       33130
 Grace Hunter                                                                         14645 Gault St                                     Apt 301                                                Van Nuys              CA       91405
 Grace Hunter                                                                         2009 Milburnie Rd                                                                                         Raleigh               NC       27610-2211
 Grace Kathleen Mcavoy Costello                                                       3833 Ingraham St                                   Apt A107                                               San Diego             CA       92109
 Gracielle Gieser                                                                     818 W Edgemont Ave                                                                                        Phoenix               AZ       85007
 Graham Hanna                                                                         392 Westridge Cir                                                                                         Dallas                GA       30132
 Grainger                                                                             2131 SW 2nd St Bldg 8                                                                                     Pompano Beach         FL       33069-3100
 Grainger                                                                             PO Box 419267                                                                                             Kansas City           MO       64141-6267
 Granimport USA Inc DO NOT USE!!!!!                                                   3010 Ave E E                                                                                              Arlington             TX       76011-5212
 Grant Madison Grant L. Madison LLC                                                   413 Morgan Ln                                                                                             Fox River Grove       IL       60021
 Grant Thornton LLP                                                                   801 Brickell Ave                                                                                          Miami                 FL       33131
 Granville Keys                                                                       16 West Alicen Ct                                                                                         Phoenix               AZ       85021
 Graphic Packaging International             Kara D'Amato                             PO Box 404170                                                                                             Atlanta               GA       30384-4170
 Graphic Products, Inc.                                                               9825 SW SunshiNE Ct                                                                                       Beaverton             OR       97005-4190
 Gray's Pallets,LLC                                                                   10117 Rivendell Ln                                                                                        Charlotte             NC       28269
 Grayson Boucher                                                                      18210 Shannon Ridge Pl                                                                                    Canyon Country        CA       91387
 Great Basin Beverage, LLC                                                            PO Box 789                                                                                                Wells                 NV       89835-0789
 Great Lakes Label, LLC.                                                              910 Metzgar Dr Nw                                                                                         Comstock Park         MI       49321-9728
 Great Northern Insurance Company            c/o Chubb Group of Insurance Companies   202B Hall's Mill Rd                                                                                       White House Station   NJ       08889
 Great Plains Distributors LP                                                         5701 E Highway 84                                                                                         Lubbock               TX       79404-8805
 Great Rivers Distribution                                                            4232 Odc Rd 1060                                                                                          Pomona                MO       65789-9606
 GreatAmerica Financial Services                                                      PO Box 660831                                                                                             Dallas                TX       75266-0831
 Greater Austin Merchants Co-Operative                                                8801 Research Blvd Suite 102                                                                              Austin                TX       78758-6514
 Greater Phoenix Chamber of Commerce                                                  2575 E Camelback Rd Suite 410                                                                             Phoenix               AZ       85016-9248
 Green Leaf Trading Corp                                                              1581 Brickell Ave 403                                                                                     Miami                 FL       33129-1233
 Green Mountain Energy                                                                Dept 1233 Po Box 121233                                                                                   Dallas                TX       75312-1233
 Green Mountain Energy                                                                PO Box 328                                                                                                Houston               TX       77001-0328
 Green Peonies, LLC Anastasiia Kyryliuk                                               2210 Taylor St 207                                                                                        Hollywood             FL       33020
 Green Scientific Labs                                                                4001 SW 47th Ave                                                                                          Davie                 FL       33314
 Green Wave Ingredients (GWI)                Elizabeth Preciado                       PO Box 102922                                                                                             Pasadena              CA       91189-2922



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                        Name                                     Attention                                Address 1                                Address 2         Address 3                 City     State         Zip            Country
 Green Way Industries Group Corp                                                 3109 Grand Ave #171                                                                             Miami                 FL       33133
 Greenfield Dynamics, LLC                                                        2152 E Cedar St                                                                                 Tempe                 AZ       85281
 GreenRoad Technologies, Inc                                                     8900 Shoal Creek Blvd Suite 111                                                                 Austin                TX       78757
 GreenStone Farm Credit Services                Mathew Meals                     3225 Walker Ave                                                                                 Grand Rapids          MI       49544
 Greg Terranova                                                                  6816 Osbourne Dr                                                                                Lantana               FL       33462
 Gregg B Fields, PH.D.                                                           15 Carrick Rd                                                                                   Palm Beach Gardens    FL       33418
 Gregg David Titus                                                               4200 Yellowleaf Dr                                                                              Fort Worth            TX       76133
 Gregg Ginalick                                                                  330 Willow Run                                                                                  Prosper               TX       75078
 Gregg Howard Metzger                                                            1513 Northwest 178th Way                                                                        Pembroke Pines        FL       33029
 Gregg W Shore                                                                   1600 N Park Dr                                                                                  Weston                FL       33326-3278
 Gregg William Shore                                                             808 Rogers Ct                                                                                   Casselberry           FL       32707
 Gregorio Cruz                                                                   6755 North 83rd Ave                               Apt 11101                                     Glendale              AZ       85303
 Gregory Donadio                                                                 9059 West Sunrise Blvd                                                                          Plantation            FL       33322
 Gregory F Decker                                                                768 Ilwaco Place Northeast                                                                      Renton                WA       98059
 Gregory M. Parker, Inc                                                          17 W Mcdonough St                                                                               Savannah              GA       31401
 Gregory R Robbins                                                               1901 North Ocean Blvd                             Unit 2C                                       Fort Lauderdale       FL       33305
 Gregory Smith                                                                   3184 NW 32nd Ct                                                                                 Oakland Park          FL       33309
 Grellner Sales & Services, Inc.                                                 3705 Highway V                                                                                  Rolla                 MO       65401-8575
 Gretchen Eggemeyer Superior Heating - Air                                       250 Bryant St                                                                                   Denver                CO       80219
 Gretel Lezcano                                                                  3525 Willowood Cir #1003                                                                        Arlington             TX       76015
 GreyStone Power Corporation                                                     PO Box 6071                                                                                     Douglasville          GA       30154-6071
 Griffin Helms                                                                   4366 Ridgegate Dr                                                                               Peachtree Corners     GA       30097
 Griffin Nichols                                                                 11 Woodstone Rd                                                                                 Northborough          MA        1532
 Griffin Talent Yixing Hu                                                        2516 Hargrave Dr                                                                                Los Angeles           CA       90068
 Griffith Commercial Cleaning Services                                           2422 Gilbert Dr                                                                                 Atlanta               GA       30331
 GRM Information Management Services of                                          PO Box 744494                                                                                   Atlanta               GA       33074-4494
 Grocery Outlet Inc.                                                             5650 Hollis St                                                                                  Wmerville             CA       94608
 Grocery Supply, Co. (GSC)                                                       PO Box 638                                                                                      Sulphur Springs       TX       75482
 Grosel Specialty Products LLC                                                   330 Glasgow Dr                                                                                  Highland Heights      OH       44143-3812
 Grupo Lexter Peru Scrl Fadicrown SA                                             Pueblo Libre 264                                                                                Calle Santander                1100         Peru
 GS1 Canada                                                                      PO Box 4283                                                                                     Toronto               ON       M5W 5W6      Canada
 GS1 The Global Language of Business                                             PO Box 78000 Dept 781271                                                                        Detroit               MI       48278
 GSP Marketing Technologies Circle K Stores,                                     20500 Belshaw Ave                                                                               Carson                CA       90746-3506
 GTT Americas, LLC                                                               PO Box 842630                                                                                   Dallas                TX       75284-2630
 GTX Installations LLC                                                           11825 RossmayNE Dr                                                                              Riverview             FL       33569
 Guadalupe Ybarra                                                                11525 West Wethersfield Rd                                                                      El Mirage             AZ       85335
 Guagenti, Frank                                                                 7 Mercury Ln                                                                                    Levittown             NY       11756
 Guangxi Thebest Paper Product Co., Ltd                                          Unit D Building 1                                 Pinglu Industry Park                          Nanning                        530104       China
 Guardian                                                                        PO Box 677458                                                                                   Dallas                TX       75267-7458
 Guemille Charles                                                                3155 NW 39th St                                                                                 Lauderdale Lakes      FL       33309
 Guerbysen Desir                                                                 3088 N Dixie Hwy                                                                                Boca Raton            FL       33431
 Guglielmo & Associates, PLLC                                                    PO Box 41688                                                                                    Tucson                AZ       85717-1688
 Guillermo Campos                                                                18141 SW 144th Ct                                                                               Miami                 FL       33177
 Guillermo Eiland                                                                14975 West Riviera Dr                                                                           Surprise              AZ       85379
 Guillermo Escalante                                                             6916 Baroque Ct                                                                                 San Bernardino        CA       92407
 Guilna Louis Pierre                                                             5741 Pine Ter                                                                                   Plantation            FL       33317
 Gulal Singh Grewal                                                              4253 Littleworth Way                                                                            San Jose              CA       95135
 Gulf Atlantic Industrial Equipment, LLC                                         PO Box 2169                                                                                     Crystal River         FL       34423
 Gulfstream Aerospace                                                            PO Box 730349                                                                                   Dallas                TX       75373
 Gulfstream vs. VPX (2022)                      Gulfstream Aerospace             PO Box 730349                                                                                   Dallas                TX       75373
 Gunster Yoakley & Stewart, PA                                                   777 South Flagler Dr                              Suite 500 East Tower                          West Palm Beach       FL       33401
 Gurstel Law Firm, P.C.                                                          6681 Country Club Dr                                                                            Golden Valley         MN       55427
 Gushcloud Talent Agency, Inc. John Yiantselis                                   1411 4th Ave Suite 1000                                                                         Seattle               WA       98101
 Gustavo Casias Terrazas                                                         19392 West Woodlands Ave                                                                        Buckeye               AZ       85326
 Gustavo E Paiva                                                                 11745 West Atlantic Blvd                          Apt 36                                        Coral Springs         FL       33071
 Gutember Estriplet                                                              6240 W Oakland Park Blvd                          Apt 190052                                    Lauderhill            FL       33319
 Guyvencchi Dorvil                                                               2231 SW 67th Ave                                                                                Miramar               FL       33023
 Gym Source USA LLC                                                              100 Central Ave                                                                                 Teterboro             NJ       07608
 Gymness S.A.S.                                                                  Ave Manquehue Sur 897                             Local #4                                      Las Conde                                   Chile
 H B Fuller Company                                                              1200 Willow Lake Blvd                                                                           Saint Paul            MN       55110-5146
 H Boyd Nelson, Inc.                                                             3800 Minnesota St                                                                               Alexandria            MN       56308-3335
 H. Cox and Son Inc.                                                             1402 Sawyer Rd                                                                                  Traverse City         MI       49685-9339
 Habib Ur Rahman                                                                 7023 Orinoco Rd                                                                                 Weeki Wachee          FL       34613
 Hach Company                                                                    PO Box 389                                                                                      Loveland              CO       80539-0389
 Hadley Elizabeth Riggs                                                          975 S Rural Rd #7446                                                                            Tempe                 AZ       85281
 Hager Graphics Consultants, Inc. HagerGraphics                                  9629 El Clair Ranch Rd                                                                          Boynton Beach         FL       33437-3313
 Hailee Cono                                                                     3518 Royal Tern Ln                                                                              Boynton Beach         FL       33436
 Hailey Conboy                                                                   10666 SW 115th Ct #101                                                                          Miami                 FL       33173
 Hailey Simone Frost                                                             28452 Via Mambrino                                                                              San Juan Capistrano   CA       92675
 Hailey White                                                                    209 Turnberry Cir                                                                               Carrollton            GA       30116
 Hailey Wood                                                                     6345 El Cajon Blvd                                Unit 1438                                     San Diego             CA       92115
 Haivision Network Video Inc.                                                    750 Estate Dr Suite 104                                                                         Deerfield             IL       60015
 Hal Kevin Gerson                                                                210 Camilo Ave                                                                                  Coral Gables          FL       33134
 Haleigh Booth                                                                   5203 Payton Ln                                                                                  Crestwood             KY       40014-9648
 Haley Rose Sedgewick                                                            10103 L Pavia Blvd                                                                              Venice                FL       34292



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 Haley Sue Gloss                                             461 River Park Rd                                                                                     Belmont               NC       28012
 Halle Nobles                                                14274 Cheval Mayfaire Dr                                 Apt 13-106                                   Orlando               FL       32828
 Hallie Foster                                               6619 Hollis Dr                                                                                        Montgomery            AL       36117
 Hallmark Insurance Company                                  Two Lincoln Center 5420 Lyndon B Johnson Fwy             Suite 1100                                   Dallas                TX       75240-2345
 Hamzah Jamal Saadah                                         3120 NW 163rd Ct                                                                                      Edmond                OK       73013
 Hana Bastrawi Hana                                          22 Northway House                                        4 Acton Walk                                 Whetstone                      N20 9BL      United Kingdom
 Hana Bastrawi Hana                                          60 Lambert Ct                                                                                         Hertpordshire                  WD23 2HL     United Kingdom
 Hana Juliana Giraldo                                        321 South Beverly Dr Suite M                                                                          Beverly Hills         CA       90212
 Hanna Cedillo                                               6300 Landings Way                                                                                     Tamarac               FL       33321
 Hanna Kahhat                                                8918 Via Tuscany Dr                                                                                   Boynton Beach         FL       33472
 Hanna Reid                                                  4449 E Pine Hollow Dr                                                                                 Eagle Mountain        UT       84005
 Hanna Reid                                                  813 Sandcastle Dr                                        Unit 204L                                    Ames                  IA       50010
 Hannah Aghassi                                              23 Perkins St                                                                                         Newton                MA       02465
 Hannah Coney                                                9620 Garfield Blvd Upper                                                                              Garfield              OH       44125
 Hannah Grogis                                               9480 Poinciana Place                                     Unit 5                                       Davie                 FL       33324
 Hannah Joy Williamson                                       7700 Jasmine Falls Dr                                                                                 Las Vegas             NV       89179
 Hannah Lawrence                                             15 Pheasant Ridge Rd                                                                                  Townsend              MA       01469
 Hannah Moreau                                               1908 Mansfield Webb Rd                                                                                Arlington             TX       76002
 Hannah Palmer L.L.C.                                        1411 Eagle Ridge Rd                                                                                   Prescott              AZ       86301
 Hannah Sahr                                                 1590 Arden St                                                                                         Longwood              FL       32750
 Hannah Schwab                                               801 Dell Rio Way                                         Apt 403                                      Merritt Island        FL       32953
 Hannah Sommer                                               2622 Crystal Dr                                                                                       Whitehall             PA       18052
 Hans Miguel Hernandez                                       619 Orton Ave                                            Apt 304                                      Fort Lauderdale       FL       33304
 Happy Mochi LLC Eucina Luks                                 1311 Makaikoa St                                                                                      Honolulu              HI       96821
 Harboe Group                                                Darguner Brauerei Gmbh                                                                                Dargun                         17159        Germany
 Harbor Pacific Bottling , Inc                               50 Schouweiler Tract Rd E                                                                             Elma                  WA       98541-9385
 Harbor Title, Inc. Escrow Account RQ1                       320 SE 18th St                                                                                        Ft Lauderdale         FL       33316
 Harley Caroline Varga                                       9010 University City Blvd                                Apt D403                                     Charlotte             NC       28213
 Harmon Electric Inc                                         945 W Deer Valley Rd                                                                                  Phoenix               AZ       85027
 Harmons City Inc                                            3540 South 4000 West Suite 500                                                                        West Valley City      UT       84120
 Harmony Flores                                              2534 Pepperidge Dr                                                                                    Katy                  TX       77494-0361
 Harmony Holt                                                8839 Chilton Dr                                                                                       Port Richey           FL       34668
 Harold A Flores                                             20314 NW 52nd Ct                                                                                      Miami Gardens         FL       33055-4634
 Harold Alfredo Flores                                       20314 Northwest 52nd Ct                                                                               Miami Gardens         FL       33055
 Harold Levinson Associates, Inc                             21 Banfi Plz N                                                                                        Farmingdale           NY       11735-1544
 Harris Beverages, LLC                                       3505 Hillsborough Rd                                                                                  Durham                NC       27705-2916
 Harris Fahie Jr                                             6330 Southwest 34th St                                                                                Miramar               FL       33023
 Harris Lynch                                                8287 S Robin Hood Dr                                                                                  Trafalgar             IN       46181
 Harrison Samuel Arager                                      5477 Painted Gorge Dr                                                                                 Las Vegas             NV       89149
 Harrison Sanitation, Inc                                    PO Box 218                                                                                            Alexis                NC       28006
 Harrison Wain                                               85 Yarranabbe Rd                                         Unit 13                                      Sydney                         NSW 2027     Australia
 Harry James Hale                                            516 Bankhead Dr                                                                                       Cary                  NC       27519
 Harry Lafont                                                3680 Inverrary Dr 2B                                                                                  Lauderhill            FL       33319
 Hartford Fire Insurance Company                             PO Box 731178                                                                                         Dallas                TX       75373-1178
 Hasan M Awawdeh                                             3908 Sun Valley Ct                                                                                    Irving                TX       75062
 Hassan Jamal Johnson                                        5822 NW 21St St                                                                                       Lauderhill            FL       33313
 Haven Loeung                                                1010 Pakse St.                                                                                        Venus                 TX       76084
 Haven Pauline Hansana                                       1010 Pakse St                                                                                         Venus                 TX       76084
 Havre Distributors, Inc.                                    935 1St St                                                                                            Havre                 MT       59501-3705
 Hawaii Department of the Attorney General                   425 Queen St                                                                                          Honolulu              HI       96813
 Hawk Enterprises, Inc.                                      1010A Underwood Rd                                                                                    Olyphant              PA       18447
 Hawk Enterprises, Inc.                                      1038 N Irving                                                                                         Allentown             PA       18109
 Hawthorne Plumbing Heating & cooling                        PO Box 30187                                                                                          Las Vegas             NV       89173
 Hayden Childers                                             8069 Cord Rd                                                                                          Cord                  AZ       72524
 Hayden Schreier                                             55 Knockerbocker Rd                                                                                   Plainview             NY       11803
 Hayley Bentley                                              3699 Lenox Rd                                            Apt 636                                      Atlanta               GA       30305
 Hayley Hayutin                                              30441 Terracina Pl                                                                                    Casatic               CA       91384
 HBG Events FZ LLC                                           601 Tameem House Barsha Heights                                                                       Dubai                                       UAE
 HD House LLC                                                6308 NW 77th Ct                                                                                       Miami                 FL       33166
 HDI Global Specialty SE                                     Podbielskistrasse 396                                                                                 Hannover                       30659        Germany
 Health City- Guam                                           144 Kayen Chando Suite A106                                                                           Dededo                GU       96929-4906
 Healy Consultants SDN. BHD.                                 Austin 18 Versatile Business Suit                        Jalan Austin Perdana                         Johor Bahru                    81100        Malaysia
 Healy Wholesale Co Inc.                                     PO Box 36157                                                                                          Fayetteville          NC       28303-1157
 Heather Armiak                                              1859 Standing Rock Cir                                                                                Oakland               FL       34787
 Heather Baldwin                                             323 Cottage Place                                                                                     Idaho Falls           ID       83402
 Heather L Gray                                              1600 N Park Dr                                                                                        Weston                FL       33326-3278
 Heather Lutz                                                3818 3rd Ave Dr East                                                                                  Palmetto              FL       34221
 Heather Lynn Gray                                           3427 Nassau St                                                                                        Everett               WA       98201
 Heather Thomas                                              3934 3rd Ave                                                                                          Los Angeles           CA       90008
 H-E-B LP                                                    PO Box 202531                                                                                         Dallas                TX       75320-2531
 H-E-B Tournament of Champions                               PO Box 4346                                                                                           Houston               TX       77210
 Hector Canas                                                101 Mabry Parkway                                                                                     Whitesburg            GA       30185
 Hector Cardoso                                              1513 Plantation Rd                                                                                    Garland               TX       75044
 Hector De Jesus Ortiz                                       39 Roosevelt Rd                                                                                       Hyde Park             NY       12538
 Hector E Diaz                                               11983 Sprout St                                                                                       Norwald               CA       90650



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                       Name                  Attention                                Address 1                                  Address 2               Address 3                 City      State        Zip             Country
 Hector Granillo                                             13535 Valerio St #257                                                                                   Van Nuys               CA       91405
 Hector Jesus Ortiz                                          1600 N Park Dr                                                                                          Weston                 FL       33326-3278
 Hector Labrada                                              4021 NW 189th Terrace                                                                                   Miami Gardens          FL       33055
 Hector Labrada Mendoza                                      4021 NW 189th Ter                                                                                       Miami Gardens          FL       33055-2749
 Hector Luis Torres Santiago                                 8477 Sandstone Lake Dr                               Apt 101                                            Town 'N' Country       FL       33615
 Hector Manuel Lira Salguero                                 12210 West Riverside Ave                                                                                Tolleson               AZ       85353
 Hector Manuel Sanchez Gonzalez                              250 West Juniper Ave                                 Unit 59                                            Gilbert                AZ       85233
 Hector Ortiz                                                968 SW 143rd Ave                                                                                        Pembroke Pines         FL       33027-3302
 Hector Rodriguez                                            5463 Northwest Norris Ave                                                                               Port St Lucie          FL       34986
 Hector Solis                                                1112 East Alan St                                                                                       Pharr                  TX       78577
 Hector Vivas                                                2024 North 23rd Ave                                                                                     Hollywood              FL       33020
 Hedinger Beverage Distributing Co., Inc.                    950 S Saint Charles St                                                                                  Jasper                 IN       47546-2688
 Heely Brown Company                                         1280 Chattahoochee Ave Nw                                                                               Atlanta                GA       30318-3649
 Heimark Distributing LLC                                    12065 Pike St                                                                                           Santa Fe Srings        CA       90670-2964
 Heimark Distributing LLC                                    82851 Ave 45                                                                                            Indio                  CA       92201
 Heinz Grant                                                 366 Yacht Club Dr                                                                                       Newport                NC       28570
 Heitek Automation, LLC                                      2102 W Quail Ave Suite 4                                                                                Phoenix                AZ       85027-2656
 Heith M Washaw                                              1600 N Park Dr                                                                                          Weston                 FL       33326-3278
 Heith Michael Warshaw                                       54 Queen AnNE Ln                                                                                        Wappingers Fall        NY       12590
 Helder Tobar                                                8715 NW 29th Dr                                                                                         Coral Springs          FL       33065-5328
 Helen Kay Burg                                              600 N Mariposa #A                                                                                       Burbank                CA       91506
 Hello Management LTD Kristen Brian                          3 Le Clos De Galles                                  La Rue Du Mon Sejour        Jersey                 St Helier                       JE24HT       Channel Islands
 Henry Barefoot Martinez                                     8451 SW 163rd Pl                                                                                        Miami                  FL       33193
 Henry Deville Simpson                                       5045 N 58th Ave 4A                                                                                      Glendale               AZ       85301
 Henry Diaz                                                  2838 Live Oak St                                                                                        Huntington Park        CA       90255
 Henry Earl Jackson                                          4926 Burnside Ave                                                                                       Dallas                 TX       75216
 Henry Montoya                                               4035 Sotol Dr                                                                                           Las Cruces             NM       88011
 Hensel Phelps Construction Co                               420 6th Ave                                                                                             Greeley                CO       80631
 Hensley Beverage Company                                    10201 E Valley Rd                                                                                       Prescott Valley        AZ       86314
 Hensley Beverage Company                                    120 E Corporate Place                                                                                   Chandler               AZ       85225
 Hensley Beverage Company                                    1850 E Butler Ave                                                                                       Flagstaff              AZ       86001
 Hensley Beverage Company                                    2555 N Nevada St                                                                                        Chandler               AZ       85225
 Hensley Beverage Company                                    4201 N 45th Ave                                                                                         Phoenix                AZ       85031-2109
 Hensley Beverage Company                                    705 E Ajo Way                                                                                           Tucson                 AZ       85713
 Herb Green Health USA, INC                                  14165 Ramona Ave                                                                                        Chino                  CA       91710-5753
 Herc Rentals Inc.                                           PO Box 936257                                                                                           Atlanta                GA       31193-6257
 Heriberto Adorno                                            247 Cascade Bend Dr                                                                                     Ruskin                 FL       33570
 Heuft USA Inc.                                              2820 thatcher Rd                                                                                        Downers Grove          IL       60515
 HF Meyer America Corp.                                      3665 Bonita Rd Suite 1-3                                                                                Bonita Springs         FL       34134
 HI Safety First Corporation                                 5219 SW 91St Ter                                                                                        Cooper City            FL       33328-5024
 Hialeah Printing                                            2404 W 9th Ct                                                                                           Hialeah                FL       33010
 Hien Ho                                                     14101 Village View Dr                                                                                   Tampa                  FL       33624
 Higgs Fletcher & Mack LLP                                   401 West A St Suite 2600                                                                                San Diego              CA       92101
 High Country Beverage                                       2530 High Country Ct                                                                                    Grand Junction         CO       81501
 High Country Beverage                                       4200 Ronald Reagan Blvd                                                                                 Johnstown              CO       80534-6505
 High Peaks Distributing, LLC                                1016 Nys Rt 3                                                                                           Saranac Lake           NY       12983
 High Peaks Distributing, LLC                                20 BurrstoNE Rd                                                                                         New York               NY       13417-1508
 Highkey Enterprises LLC                                     250 Ave Ponce de Leon Suite 301 PMB 0801                                                                San Juan                        00918        Puerto Rico
 Hilario Miguel Rubio                                        2452 N 114th Ln                                                                                         Avondale               AZ       85392-5001
 Hilda Restrepo                                              6120 NW 186th St #206                                                                                   Hialeah                FL       33015
 Hillsborough County Board of County                         601 E Kennedy Blvd 18th Floor                                                                           Tampa                  FL       33602
 Hinson Business Park Association                            3286 Brentwood St                                                                                       Las Vegas              NV       89121-3316
 Hitachi Capital America Corp                                21925 Network Place                                                                                     Chicago                IL       60673-1219
 HK Dragon Top Trading CO.,                                  Bright Way Tower                                     Unit 047                    NO 33 Mong Kok Rd      Kowloon                                      Hong Kong
 HKB Inc Southwest Industrial Rigging                        2802 W Palm Ln                                                                                          Phoenix                AZ       85009-2507
 HNRY Logistics                                              PO Box 775556                                                                                           Chicago                IL       60677-5556
 HNS Nutrition Chile                                         Manuel Montt 145 Buin                                                                                   Region Metropolitana            9500000      Chile
 Hoban Law Group                                             730 17th St Suite 420                                                                                   Denver                 CO       80202
 Hoffman Beverage Co., Inc.                                  4105 S Military Hwy                                                                                     Chesapeake             VA       23321-2701
 Hoist Fitness Systems, Inc.                                 11900 Commy Rd                                                                                          Poway                  CA       92064
 Hole in the Wall                                            2875 S Orange Ave #500-525                                                                              Orlando                FL       32806
 Holiday Stationstores, LLC                                  PO Box 1224                                                                                             Minneapolis            MN       55440
 Holly Barker                                                1600 N ViNE St # 670                                                                                    Los Angeles            CA       90028
 Holly Helms                                                 13040 Old Camden Rd                                                                                     Midland                NC       28107
 Holston Distributing Company                                310 Lafe Cox Dr                                                                                         Johnson City           TN       37604-7444
 Holston Gases, Inc                                          545 W Baxter Ave                                                                                        Knoxville              TN       37921-6846
 Hongkong Fusen Int'l Limited                                523325 DongGuan                                                                                         Guangdong                                    China
 Honickman Affiliates                                        117-02 15th Ave                                                                                         College Point          NY       11356
 Horasio Horosco                                             3353 E Ave T2                                                                                           Palmdale               CA       93550
 Horatio Highland                                            6392 Miramonte Dr 104                                                                                   Orlando                FL       32835
 Horea Pop                                                   1450 Atlantic Shores Blvd                            Apt 319                                            Hallandale Beach       FL       33009
 Horn Beverage Co. Inc                                       104 Industrial Blvd                                                                                     Troy                   AL       36081-3130
 Houchens Food Group, Inc                                    700 Church St                                                                                           Bowling Green          KY       42101-1816
 House of Hits Recording Studio LLC                          300 NE 75th St 112                                                                                      Miami                  FL       33138
 Houston Civic Events, Inc                                   901 Bagby St # F1                                                                                       Houston                TX       77002-2526



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                          Name                                      Attention                                 Address 1                                 Address 2              Address 3                City    State      Zip            Country
 Howard Nouel                                                                       366 Lakeview Dr 102                                                                                    Weston              FL     33326
 Howard S. Simmons Simmons Da Silva LLP                                             200-201 County Ct Blvd                                                                                 Brampton            ON     L6W 4L2      Canada
 HP Ingredients                                                                     707 24th Ave W                                                                                         Brandenton          FL     34205
 HR Direct                                                                          PO Box 669390                                                                                          Pompano Beach       FL     33066
 HSBC                                            Rino Falsone                       2929 Walden Ave C-98                                                                                   Buffalo             NY     14043
 HSBC Bank USA, National Association             Margaret M Lopez                   PO Box 1558                                         EA1W37                                             Columbus            OH     4316-1558
 HTW Motorsports                                                                    356 E Foothill Blvd                                                                                    Upland              CA     91786
 Hudson Roberts                                                                     711 N Mound St                                                                                         Nacogdoches         TX     75961
 Hugo Alberto Araque                                                                408 Lakeview Dr 101                                                                                    Weston              FL     33326
 Hugo Johan Schreuder                                                               26 Speciosa St                                      WeSuitern Province                                 Stellenbosch               7600         South Africa
 Humboldt Beer Distributors                                                         202 Commercial St                                                                                      Eureka              CA     95501-0255
 Humes Distributing, Inc.                                                           400 N 5th St                                                                                           Fort Dodge          IA     50501
 Hungry Eye, Inc.                                                                   1040 So Gaylord St Suite 45                                                                            Denver              CO     80209
 Hunter & Michaels Executive Search                                                 9417 Gatetrail Dr                                                                                      Dallas              TX     75238-1853
 Hunter Ecimovic                                                                    4946 Bellaire Av Valley Village                                                                        North Hollywood     CA     91607
 Hunter Hammonds                                                                    7008 Bentley Ave                                                                                       Fort Worth          TX     76137
 Hunter John Hart                                                                   1906 Elmira Rd                                                                                         Newfield            NY     14867
 Hunter Kovac                                                                       5144 PeregriNE Dr                                                                                      Pueblo              CO     81005
 Hunter Mason Hunter Rae                                                            1104 Largo Dr                                                                                          Orlando             FL     32839
 Hunter Mellen                                                                      646 90th Ave North                                                                                     St Petersburg       FL     33702
 Hunter Michelle Leffler                                                            5904 Reiter Ave                                                                                        Las Vegas           NV     89108
 Hunter Rockwell                                                                    914 12th St 405                                                                                        Sacramento          CA     95814
 Hunter Rowland- Hrowland LLC                                                       5208 Lemona Ave 2                                                                                      Sherman Oaks        CA     91411
 Hunter Weidenbaum                                                                  750 Bilmore Ct                                                                                         Coral Gables        FL     33134
 Huntington Beach Arco                                                              19971 Beach Blvd                                                                                       Huntington Beach    CA     92648
 Huntington National Bank                        Nate Drews                         2445 84th St SW                                                                                        Byron Center        MI     49315
 Huron Consulting Group, Inc.                                                       550 W Van Buren St                                                                                     Chicago             IL     60607-3827
 Huron Distributors, Inc.                                                           509 Cavanaugh St                                                                                       Alpena              MI     49707-2959
 Huron Distributors, Inc.                                                           5555 M-68                                                                                              Indiana River       MI     49749
 Husky Injection Molding Equipment                                                  288 North Rd                                                                                           Milton              VT     05468-3072
 Hussein Delawar                                                                    1500 Stadium Ct                                                                                        Lehigh Acres        FL     33971
 HVGLA LLC Jason West                                                               1600 N Vine                                                                                            Los Angeles         CA     90028
 Hygiena LLC                                                                        941 Avenida Acaso                                                                                      Camarillo           CA     93012
 Hype Delray LLC Matthew Campbell                                                   240 SE 2nd Ave                                                                                         Delray Beach        FL     33444
 Hy-Vee, Inc.                                                                       2500 Dixon St                                                                                          Des Moines          IA     50316
 Hy-Vee, Inc.                                                                       5820 Westown Pkwy                                                                                      Wdm                 IA     50266-8223
 IAC One LLC dba Villages at Metro                                                  PO Box 672108                                                                                          Marietta            GA     30006-0036
 Ian Deshaun Cartwright                                                             4803 N 92nd Ln                                                                                         Phoenix             AZ     85037
 Ian Haueter Kara Haueter (mother)                                                  16423 Gladiola W                                                                                       Rosemount           NM     55068
 Ian Spies                                                                          201 Wildepeer Ave                                   14 Wildeeper Villas          Gauteng               Pretoria                   0182         South Africa
 Ian Walters                                                                        10843 S 175th Dr                                                                                       Goodyear            AZ     85338-5571
 Iana Barladean                                                                     3625 Murano Dr                                                                                         Hollywood           FL     33021-1352
 Iana Bertonetesei                                                                  14561 Morrison St                                                                                      Sherman Oaks        CA     91403
 Iana Bertonetesei                                                                  29561 Mira Loma Dr                                                                                     Temecula            CA     92592
 Ianka Berkenbusch                                                                  11506 Echo Lake Cir                                                                                    Bradenton           FL     34211
 IBC Polska F&P S.A.                                                                Mirkow                                                                                                                            55-095       Poland
 Ibn Javin Roland                                                                   355 East Vista Ridge Mall Driv                      Apt 3633                                           Lewisville          TX     75067
 IBT West LLC                                                                       4203 W Adams St                                                                                        Phoenix             AZ     85009-4631
 Icon Industrial Owner pool, LLC. (GLP)                                             11300 Sherman Way                                                                                      Sun Valley          CA     91352
 Icon Owner Pool 1 LA Non-Business Park LLC-                                        PO Box 843992                                                                                          Los Amgeles         CA     90084-3992
 ID Labeling Systems                                                                425 Park Ave                                                                                           Lake Villa          IL     60046
 Ida Gonzales                                                                       11064 W Canterbury Dr                                                                                  Sun City            AZ     85351
 Idaho Beverage, Inc.                                                               2108 1St Ave N                                                                                         Lewiston            ID     83501
 Idaho Office of the Attorney General                                               700 W Jefferson St Suite 210                                                                           Boise               ID     83720
 Idaho State Tax Commission                                                         11321 W Chinden Blvd                                                                                   Boise               ID     83722-2303
 iEntertain INC Daniel Hygge - Daniel Urdaneta                                      11603 NW 89th St 206                                                                                   Miami               FL     33178
 IES Sales and Service, LLC                                                         2340 NW 147 St                                                                                         Opa Locka           FL     33054
 Ignacio Baladan                                                                    Maurice Utrillo 125 Apt 202                                                                            Lima                       15037        Peru
 Ignacio Banuelos Iggy                                                              10950 Church St 1722                                                                                   Rancho Cucamonga    CA     91730
 Iiona and Suzana Jakic                                                             Pingsdorfer Straße 110                                                                                 Bruhl               Nordrhe50321        Germany
 Ike Auen Distributing, Inc.                                                        102 N Grant Rd                                                                                         Carroll             IA     51401
 Ikenna Ike                                                                         20230 Wyn Terrace                                                                                      Walnut              CA     91789
 Il Tollway                                                                         PO Box 5544                                                                                            Chicago             IL     60680-5544
 Iliana Chavez Rico                                                                 10145 West Hess St                                                                                     Tolleson            AZ     85353
 Iliana Rico                                                                        6055 NW 105th Ct N-117                                                                                 Doral               FL     33178-6664
 Illinois Department of Revenue                                                     PO Box 19035                                                                                           Springfield         IL     62794-9045
 Illinois Liquor Control Commission                                                 100 W Randolph Suite 7-801                                                                             Chiacgo             IL     60601
 Illinois Office of the Attorney General                                            James R Thompson Center                             100 W Randolph St                                  Chicago             IL     60601
 IMAGINutrition, Inc.                                                               32565 Golden Lantern Suite B Pmb 477                                                                   Dana Point          CA     92629
 Imbera S.A. de C.V.                                                                245 Townpark Dr                                                                                        Kennesaw            GA     30144
 IMCD US LLC                                                                        PO Box 5168                                                                                            Carol Stream        IL     60197-5168
 ImDavisss, LLC Davis Dodds                                                         2454 Ovidia Cir                                                                                        Atlanta             GA     30311
 Imer Amador Esquivel                                                               19310 NW 37 Ave                                                                                        Miami Gardens       FL     33056
 Impression Paragraph Inc                                                           8150 Route Transcanadienne                          Suite 100                                          Saint-Lauren        QC     H4S 1M5      Canada
 IMS Distribution                                                                   2905 Haddonfield Rd                                                                                    Pennsauken          NJ     08110



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                         Name                                      Attention                                    Address 1                                  Address 2                 Address 3                 City    State        Zip              Country
 Ina Consuelo Walters                                                                  10843 South 175th Dr                                                                                      Goodyear             AZ       85338
 InCryo Systems, Inc.                                                                  4204 National Guard Dr                                                                                    Plant City           FL       33563
 Incwell, LLC                                                                          1000 S Old Woodward                                                                                       Birmingham           MI       48009
 Independent Buyers Co-op                                                              4602 Park Springs Blvd                                                                                    Arlington            TX       76017-1597
 Indian Harbor Insurance Company                                                       70 Seaview Ave                                                                                            Stamford             CT       06902
 Indiana Attorney General's Office                                                     Indiana Government Center South                      302 W Washington St 5th Fl                           Indianapolis         IN       46204
 Indoff Incorporated                                                                   11816 Lackland Rd                                                                                         St Louis             MO       63146
 Inductive Automation, LLC                                                             90 Blue RaviNE Rd                                                                                         Folsom               CA       95630-4715
 Industrial Cooling Experts LLC                                                        4316 Coconut Rd                                                                                           Lake Worth           FL       33461
 Industrial Physics Bev / Canning Inc.                                                 40 Mccullough Dr                                                                                          New Castle           DE       19720
 Industrial Power Truck & Equipment                                                    712 N Beach St                                                                                            Fort Worth           TX       76111
 Ineliz Otero                                                                          8910 Tiberian Dr                                     Apt 302                                              Kissimmee            FL       34747
 INFERNO FARMS PRODUCTIONS GREGORY                                                     8246 Bryn Glen Way                                                                                        San Diego            CA       92129-4468
 Infinite Lists LLC Caylus Cunningham                                                  18621 E Augusta Ave                                                                                       Spokane Valley       MA       90016
 INFINITY ENTERPRISES INC. D/B/A DEMPSEY                                               1932 Bocale Ct                                                                                            Las Vegas            NV       89123-3998
 InfinityQS International Inc.                                                         12601 Fair Lakes Cir # 250                                                                                Fairfax              VA       22033
 Influencer Venture, LLC                                                               18960 Venture Blvd #170                                                                                   Tarzana              CA       91356
 Influlove Mayra Alejandra Goni Gastiaburu                                             1424 NE Miami Pl                                                                                          Miami                FL       33132-1368
 Informa Media, Inc.                                                                   1100 Superior Ave                                                                                         Cleveland            OH       44114-2518
 Information Resources, Inc. IRi                                                       4766 Paysphere Cir                                                                                        Chicago              IL       60674-0001
 Ingersoll - Rand Industrial US, LLC                                                   800 A Beaty St                                                                                            Davidson             NC       28036
 Ingles Market, Inc.                                                                   PO Box 6676                                                                                               Asheville            NC       28816-6676
 Ingredion Incorporated                                                                5 Westbrook Corporate Ctr                                                                                 Westchester          IL       60154-5749
 Inland Paper Company                                                                  PO Box 3940                                                                                               Ontario              CA       91761-0987
 Inline Filling System, Inc.                                                           216 Seaboard Ave                                                                                          Venice               FL       34285
 Inmar Brand Solutions, Inc                                                            PO Box 751011                                                                                             Charlotte            NC       28275-1011
 Inmar-You Tech, LLC                                                                   PO Box 777843                                                                                             Chicago              IL       60677-7008
 Innophos, Inc                                                                         259 Prospect Plains Rd                                                                                    Cranbury             NJ       08512
 Innovative Displayworks, Inc.                                                         8825 Boston Place                                                                                         Rancho Cucamonga     CA       91730
 Innovative Equipment Services LLC                                                     24654 N Lake Pleasant Pkwy Suite 103-416                                                                  Peoria               AZ       85383
 Innovus Pharmaceuticals, Inc. Supplement Hut                                          8895 Towne Centre Dr                                 Suite 105                     PMB 282                San Diego            CA       92122-5542
 INNUVO                                                                                3300 Corporate Ave Suite 116                                                                              Weston               FL       33331
 Inovar Packaging Florida, LLC                                                         10470 Miller Rd                                                                                           Dallas               TX       75238
 Inovar Packaging Florida, LLC                  Jarvis Garcia                          4061 SW 47th Ave                                                                                          Davie                FL       33314-4023
 Insight Global                                                                        4170 Ashford Dunwoody RdNE Suite 250                                                                      Brookhaven           GA       30319
 Inspiron Logistics                                                                    1970 N Cleveland-Massillon Rd # 526                                                                       Bath                 OH       44210
 Instrumentation and Controls                                                          6829 W Frye Rd                                                                                            Chandler             AZ       85226-3307
 Insured Aircraft Title Services, LLC                                                  PO Box 19527                                                                                              Oklahoma City        OK       73144
 Integrated Cooling Solutions, LLC                                                     10405 NW 37th Terrace                                                                                     Doral                FL       33178
 Intelligent Management Solutions LLC                                                  4400 Bayou Blvd Suite 4                                                                                   Pensacola            FL       32503
 Inter Miami CF LLC                                                                    800 Douglas Rd 12th Floor                                                                                 Coral Gables         FL       33134
 Interior Architects Inc.                                                              500 Sansome St 8th Floor                                                                                  San Francisco        CA       94111-3224
 Intermountain Distributing Co.                                                        1010 Intermountain St                                                                                     Billings             MT       59101-7721
 Intermountain Distributing Co.                                                        PO Box 1772                                                                                               Billings             MT       59103
 Internal Revenue Service                       Ogden Service Center                   PO Box 409101                                                                                             Ogden                UT       84409
 Internal Revenue Service                       Centralized Insolvency Operation       PO Box 7346                                                                                               Philadelphia         PA       19101-7346
 International Chemical Corp                                                           7654 Progress Cir 1748                                                                                    Melbourne            FL       32904
 International Paper Co & Consolidated                                                 6400 Poplar Ave                                                                                           Memphis              TN       38197
 Internet Financial Partners                                                           PO Box 460063                                                                                             Ft Lauderdale        FL       33346
 Intersales South Inc. Intersales South                                                2121 SW 3 Ave Suite 600                                                                                   Miami                FL       33129
 Interstate Packaging Group, Inc.                                                      8828 S Hardy Dr Suite 105                                                                                 Tempe                AZ       85284-2898
 Interworld Highway, LLC                                                               205 Westwood Ave                                                                                          Long Branch          NJ       07740
 Intrado Digital Media, LLC                                                            11808 Miracle Hills Dr                                                                                    Oma                  ID       68154
 Intramodal Warehouse Inc                                                              22 Chemin de Service Sud                                                                                  Pointe-Claire        QC       H9R 1B1      Canada
 Intrastate Distributing Speedway                                                      6400 E 8 Mile Rd                                                                                          Detroit              MI       48234-1111
 Inventa International, S.A                                                            Alameda Dos Oceanos 41K - 21                                                                              Lisboa                        1990-207     Portugal
 Inventus, LLC Legility                         Jo Anna Williams                       PO Box 130114                                                                                             Dallas               TX       75313-0114
 Iowa Beer and Beverage Company DBA Fleck                                              11125 High Life Ct Sw                                                                                     Cedar Rapids         IA       52404-7602
 Iowa Beer and Beverage Company DBA Fleck                                              1181 East Franklin St                                                                                     Eldridge             IA       52748
 Iowa Beer and Beverage Company DBA Fleck                                              2115 NE 58th Ave                                                                                          Des Moines           IA       50313
 Iowa Beverage Systems, Inc.                                                           2115 NE 58th Ave                                                                                          Des Moines           IA       50313-1633
 Iowa Department of Revenue                                                            PO Box 10330                                                                                              Des Moines           IA       50306-0330
 Iowa Office of the Attorney General                                                   Hoover State Office Building                         1305 E Walnut St Rm 109                              Des Moines           IA       50319
 IPFS Corporation - Premium Assignment                                                 PO Box 730223                                                                                             Dallas               TX       75373-0223
 IPnavigent Associates, Inc                                                            419 10th St Suite 350                                                                                     San Francisco        CA       94103-4303
 Irfan Mukhtar                                                                         21719 Flecherwood Ct                                                                                      Spring               TX       77388
 Iridian Adame                                                                         1104 Madison St                                                                                           Borger               TX       79007
 Irina Akimova                                                                         5400 E the Toledo St 306                                                                                  Long Beach           CA       90803
 Irina Caridad Garcia                                                                  11431 Lakeside Dr                                    Apt 1402                                             Doral                FL       33178
 Irina Knyazev                                                                         9350 Kenwood Dr                                                                                           Spring Valley        CA       91977
 Iris Flores Baquedano                                                                 240 Lakeview Dr                                      Apt 305                                              Weston               FL       33326-1039
 Irisdanys Gonzalez Jimenez                                                            5714 North 70th Ave                                                                                       Glendale             AZ       85303
 Irmaos Rocha Producoes Artisticas Ltda                                                Alameda Olga                                         288 Barra Funda               Apt 1010               Sao Paolo            SP       01155-040    Brazil
 Isaac Ayon                                                                            5 Birch Ave                                                                                               Fresno               CA       93611
 Isaac Ayon                                                                            55 Birch Ave                                                                                              Fresno               CA       93611



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                        Name                 Attention                                Address 1                                  Address 2                   Address 3                City    State        Zip           Country
 Isaac N Villa                                               3060 North 63rd Cir                                                                                         Mesa                AZ       85215
 Isabel Bolivar                                              10958 SW 232 Ter                                                                                            Miami               FL       33032
 Isabel Marena Veeris                                        5417 Sonoma Place                                                                                           San Diego           CA       92130
 Isabel Montes                                               11437 W Yavapai St                                                                                          Avondale            AZ       85323-8268
 Isabel Montes Perez                                         11437 West Yavapai St                                                                                       Avondale            AZ       85323
 Isabela Fasanaro                                            2736 Blossom Way                                                                                            Naples              FL       34120
 Isabela Rodriguez Fasanaro                                  215 Manor Blvd 1402                                                                                         Naples              FL       34104
 Isabell Werner                                              Rheinstrabe 24                                                                   Nordrhein-Westfahlen       Kaarst                       41564        Germany
 Isabella Buscemi                                            19366 SW 132 Ave                                                                                            Miami               FL       33177
 Isabella Calle Espitia                                      6311 Northwest 105th Ct                                                                                     Doral               FL       33178
 Isabella Castillo                                           755 Ruthupham Ave                                                                                           San Diego           CA       92154
 Isabella Castro                                             5291 West Hillsboro Blvd                             Apt 307                                                Coconut Creek       FL       33073
 Isabella Donham                                             5705 NW Verlin Dr                                                                                           Parkville           MO       64152
 Isabella Gonzalez Gil                                       2820 Stratford Pointe Dr                                                                                    Melbourne           FL       32904
 Isabella Medina                                             865 B Kainui Dr                                                                                             Kailua              HI       96734
 Isabella Riggs                                              420 S Highland Ave                                                                                          Bloomington         IN       47401
 Isabella Seferoglou                                         7009 NW 81 Ct                                                                                               Tamarac             FL       33321
 Isabella Valentina Fanjul Ortiz Bella                       11562 Westwood Blvd Lexington Place #918                                                                    Orlando             FL       32821
 Isabelle Arboleda                                           3301 NW 126th Ave                                                                                           Sunrise             FL       33323
 Isabelle Audette                                            4975 Jean-Talon Ouest                                Apt 1101                                               Montreal            QC       H4P 1W7      Canada
 Isabelle Moody                                              6915 239th St E                                                                                             Brandenton          FL       34211
 Isaiah Deshield                                             8213 Claire Ann Dr                                   Apt 108                                                Orlando             FL       32825
 Isaiah Stallings                                            3800 Dakeita Cir                                                                                            Concord             NC       28025
 Isaias Urbina                                               11953 Roscoe Blvd                                                                                           Los Angeles         CA       91352
 Isamar Montero                                              10310 Greenhouse Rd                                                                                         Pembroke Pines      FL       33026
 iSEE Store Innovations, LLC                                 3725 Foundry Way                                                                                            Saint Louis         MO       63110-4165
 Isla Altamirano                                             7100 Grindstone Ct                                                                                          Arlington           TX       76002
 Island Off-Road, LLC                                        2858 N Dixie Hwy                                                                                            Boca Raton          FL       33431-6844
 Ismael Enrique Pena                                         13140 Southwest 54th Ct                                                                                     Miramar             FL       33027
 Israel Maldonado                                            133 W 6th St                                                                                                Tempe               AZ       85281
 Israel Penaloza                                             4154 Northwest 90th Ave                              Apt 104                                                Coral Springs       FL       33065
 ISSN                                                        4511 NW 7th St                                                                                              Deerfield Beach     FL       33442
 Italia Sanchez Dorantes                                     4615 East Granada Rd                                                                                        Phoenix             AZ       85008
 ITS Logistics, LLC                                          555 Vista Blvd                                                                                              Sparks              NV       89434
 Ivan Agustin Enriquez                                       909 SE 9th Ave                                                                                              Ocala               FL       34471-3849
 Ivan Eder Rangel Zamora                                     451 E 15St St                                                                                               Hialeah             FL       33010
 Ivan Hidalgo                                                12973 SW 132nd Ct                                                                                           Miami               FL       33186-5820
 Ivan Morales                                                14442 Southwest 179th Ln                                                                                    Miami               FL       33177
 Ivan Nathan Anthony Campbell                                1471 Northwest 112th Terrace                                                                                Pembroke Pines      FL       33026
 Ivan O Morales Rico                                         10810 North 91St Ave                                 Apt 70                                                 Peoria              AZ       85345
 Ivan Perez                                                  27225 Staten Place                                                                                          Valencia            CA       91354
 Ivan Reynoso de la Torre                                    7218 S 40th Ln                                                                                              Phoenix             AZ       85041
 Ivana Grunewald                                             11043 SW 127th Pl                                                                                           Miami               FL       33186
 Ivana Knoll                                                 Turmstrabe 6                                                                                                Konstanz                     78467        Germany
 Ivanna Uscovivch                                            100 Lakeview Dr                                      Apt 202                                                Weston              FL       33326
 IVAR'S Display                                              2314 E Locust St                                                                                            Ontario             CA       91761
 Ivenet Albert                                               7512 Southwest 6th Ct                                                                                       North Lauderdale    FL       33068
 Ivy Henderson                                               345 Eden Trail                                                                                              Lake Mary           FL       32746
 Ivy Van Dusen                                               813 E Anastasia                                                                                             San Tan Valley      AZ       85140
 Iyana Mills                                                 285 Uptown Blvd 123                                                                                         Orlando             FL       32701
 Izobel Van Der Walt                                         Portion 252 of the Farm Boschkop                     Mooiplaats                  East Gauteng               Pretoria                     0049         South Africa
 J & F Fire Extinguisher Co.                                 6801 S Avalon Blvd                                                                                          Los Angeles         CA       90003
 J & J Auto Detail LLC.                                      16503 Caju Rd                                                                                               Clermont            FL       34711
 J & J Fire Protection                                       8233 Gator Ln Suite 11                                                                                      West Palm Bch       FL       33411-3788
 J B Hunt Transport                                          615 J B Hunt Corporate Dr                                                                                   Lowell              AR       72745
 J Robbin Law PLLC                                           200 Business Park Dr Suite 103                                                                              Armonk              NY       10504-1751
 J&K Distribution Inc.                                       26046 Eden Landing Rd #1                                                                                    Hayward             CA       94545
 J&L Pallets, Inc.                                           3061 52nd Ave                                                                                               Sacramento          CA       95823-1021
 J&M distributors, Inc.                                      7821 Doyle Springs Rd Suite B                                                                               Little Rock         AR       72209
 J&S Flawless Group Inc Sandra Jinhee Kwon                   19644 Nashville St                                                                                          Chatsworth          BC       V3B 7W4      Canada
 J.B. Hunt Transport, Inc.                                   615 Jb Hunt Corporate Dr                                                                                    Lowell              AR       72745
 J.J. Keller & Associates, Inc.                              PO Box 6609                                                                                                 Carol Stream        IL       60197-6609
 J.J. Taylor Dist. Co. of FL Inc.                            655 S 16th Ave                                                                                              Tampa               FL       33619
 J.J. Taylor Dist. Co. of MN Inc.                            701 Industrial Blvd Ne                                                                                      Minneapolis         MN       55413
 J.V Vlogs LLC Luan Santos Souza                             7500 Heights View Dr                                                                                        Benbrook            TX       76126
 Jaael Lucien                                                3818 Carroway                                        Apt A                                                  Tampa               FL       33619
 Jabard Torain                                               708 Sawyers Mill Rd 207                                                                                     Charlotte           NC       28262
 Jabez Villalobos                                            1400 Puerto Lago Dr                                                                                         Little Elm          TX       75068
 Jacarvus Gates                                              2800 Westwind Cir                                    Apt 104                                                Fort Worth          TX       76116
 Jacelyn Reno                                                180 Edwards Dr                                                                                              Bowie               TX       76230
 Jack C. Wright Joy Wright (Parent)                          34086 Galleron St                                                                                           Temecula            CA       92592
 Jack Caceres                                                1845 NW 46th St                                                                                             Miami               FL       33142
 Jack Chanthaphoumy                                          3668 Marbon Rd                                                                                              Jacksonville        FL       32223
 Jack Grizzle                                                132 California Blvd Rm34                                                                                    San Luis Obispo     CA       93405
 Jack Hainson Wu                                             8970 West Black Hill Rd                                                                                     Peoria              AZ       85383



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                                                                                                     as of October 10, 2022


                         Name                Attention                              Address 1                                  Address 2                 Address 3                City    State        Zip             Country
 Jack Hilliard Distributing Company, Inc.                    1000 Independence Ave                                                                                   Bryan               TX       77803-2032
 Jack Hilliard Distributing Company, Inc.                    12614 HempSuitead Rd                                                                                    Houston             TX       77092
 Jack Hilliard Distributing Company, Inc.                    14341 Interdr West                                                                                      Houston             TX       77032
 Jack Hilliard Distributing Company, Inc.                    20620 Clay Center Dr                                                                                    Katy                TX       77449
 Jack Hilliard Distributing Company, Inc.                    217 N 12th St                                                                                           Temple              TX       76501
 Jack Hilliard Distributing Company, Inc.                    4018 Caven Rd                                                                                           Austin              TX       78744
 Jack Hilliard Distributing Company, Inc.                    418 S Padre Island Dr                                                                                   Corpus Christi      TX       78405
 Jack Hilliard Distributing Company, Inc.                    5581 Bay Oaks Dr                                                                                        Pasadena            TX       77505
 Jack Hilliard Distributing Company, Inc.                    8600 South Fwy #300                                                                                     Fort Worth          TX       76134
 Jack Kent                                                   610 SE 8th St                                                                                           Ankeny              IA       50021
 Jack Mackay                                                 6550 Yucca St 414                                                                                       Los Angeles         CA       90028
 Jack Nadel International                                    8701 Bellanca Ave                                                                                       Los Angeles         CA       90045
 Jack Neel                                                   240 Lebanon Hill Rd                                                                                     Springfield         KY       40069
 JACK OWOC                                                   1600 N Park Dr                                                                                          Weston              FL       33326
 Jackelin Rodriguez                                          713 Church                                                                                              Brooklyn            MD       21225
 Jackie (Jacqueline) Michelle Bradley                        15638 Hawks Crest Loop                                                                                  Odessa              FL       33556
 Jackson Drake Deal                                          102 Chapel Hill Rd                                                                                      Madison             AL       35233
 Jackson Lewis, P.C.                                         1133 WestcheSuiter Ave Suite S-125                                                                      West Harrison       NY       10604-3580
 Jackson O' Doherty                                          2 Condamine crescent                                                                                    Helensvale                   QLD 4212     Australia
 Jackson O' Doherty                                          4 Calmwater Crescent                                                                                    Helensvale                   QLD 4212     Australia
 Jackson Wholesale                                           129 Armory Dr                                                                                           Jackson             KY       41339
 Jackson Wholesale                                           PO Box 634                                                                                              Jackson             KY       41339
 Jacksons Food Stores, Inc                                   3450 E Commercial Ct                                                                                    Meridian            ID       83642-8915
 Jaclyn Bochicchio                                           25 Delmar Dr                                                                                            Bristol             CT       06010
 Jaclyn Vitale                                               1833 Southeast Dr                                                                                       Point Pleasant      NJ       08742
 Jacob A Ayers                                               16901 Napa St 213                                                                                       North Hills         CA       91343
 Jacob A Jones                                               14320 Mezzaluna Blvd 325                                                                                Oklahoma City       OK       73134-5080
 Jacob A. Colbin                                             4283 Yaquina Bay Rd #2                                                                                  Newport             OR       97365
 Jacob Alan Weddle                                           1320 Academy Dr                                                                                         Arlington           TX       76013
 Jacob Baird                                                 15550 West Harvard St                             Unit 72                                               Goodyear            AZ       85395
 Jacob Chatt Williamson                                      7700 Jasmine Falls Dr                                                                                   Las Vegas           NV       89179
 Jacob Colvin                                                4283 Yaquina Bay Rd                               Apt 2                                                 Newport             OR       97365
 Jacob Daniel Potter                                         4402 N 113th Dr                                                                                         Phoenix             AZ       85037
 Jacob E Tifft                                               29222 Laffer Ave                                                                                        Punta Gorda         FL       33982
 Jacob Edward Avecilla                                       269 Daisy Gold Ct                                                                                       Henderson           NV       89074
 Jacob Harris                                                3360 East Baggett Rd                                                                                    Winston             GA       30187
 Jacob Hinga                                                 6490 S 42nd St                                                                                          Climax              MI       49034
 Jacob Hodge                                                 74 West Toen St                                                                                         Norwich             CT       06360
 Jacob Hogan Choate                                          116 Shepherd Valley Rd                                                                                  Mooresville         NC       28115
 Jacob Manuel Gonzalez                                       9336 RdmaSuiter Ct                                                                                      Las Vegas           NV       89178
 Jacob Masche                                                7930 S Lamar St                                                                                         Littleton           CO       80128
 Jacob Nelson Begaye                                         5101 South Mill Ave                               Apt 125                                               Tempe               AZ       85282
 Jacob Ostroff                                               5366 Las Virgenes Rd                                                                                    Calabasas           CA       91302
 Jacob Payne                                                 1975 Cody St                                                                                            Lakewood            CO       80215
 Jacob Ray Newton                                            7020 West Laurel Ln                                                                                     Peoria              AZ       85345
 Jacob Sorenson                                              936 E Park Modern Dr                                                                                    Tucson              AZ       85719-2617
 Jacob W Marr                                                708 S Lindon Ln 10-13                                                                                   Tempe               AZ       85281-3221
 Jacob Westbrook                                             8083 Stonebrook Parkway #1505                     Apt 1505                                              Frisco              TX       75034
 Jacob William Marr                                          708 South Lindon Ln                               Unit 10 - 13                                          Tempe               AZ       85281
 Jacobo Estrada Lopez                                        5175 Genoa St                                                                                           Ave Maria           FL       34142
 Jacobson Management LLC Spring Lake                         2103 SunriSE Blvd                                                                                       Fort Pierce         FL       34950
 Jacobus Energy, LLC.                                        11815 W Bradley Rd                                                                                      Milwaukee           WI       53224-2532
 Jacqueline Beaz                                             8730 SW 133 Ave Rd B10 315                                                                              Miami               FL       33183
 Jacqueline Gansky                                           122 Skippack Pike                                                                                       Fort Washingotn     PA       19034
 Jacqueline M White-Campbell                                 7270 Stirling Rd                                  Apt 301                                               Davie               FL       33024
 Jacqueline Michelle Ortuno                                  18822 Northwest 89th Ave                                                                                Hialeah             FL       33018
 Jacqueline Patricia Whittaker                               503 West Conference Dr                                                                                  Boca Raton          FL       33486
 Jacqueline Rodriguez Jackey                                 6214 NE 12th Ave #222                                                                                   Amarillo            TX       79107
 Jacqueline Zurita                                           2114 Cleveland St                                                                                       Hollywood           FL       33020
 Jade Chatarina Baltierra                                    11889 TurquoiSE Way                                                                                     Jurupa Valley       CA       91752
 Jade Koscinski                                              501 Fox Gln                                                                                             Southlake           TX       76092
 Jade Lynn Rosario                                           7 Clarissa Ln                                                                                           Commack             NY       11725
 Jade McFarland                                              11240 Knoles Rd                                                                                         Petersburg          IL       62675
 Jade Orion Jacoby                                           4700 North 16th St                                Apt 254                                               Phoenix             AZ       85016
 Jade Rohn                                                   104 Wateredge Ct                                                                                        Safety Harbor       FL       34695
 Jade Russell Bicker                                         3110 North 58th Ave                                                                                     Hollywood           FL       33021
 Jade Sabrina Grobler                                        8 Coho Ct                                                                                               Mountain Creek               QLD 4557     Australia
 Jaden Alexander Conkling                                    6710 Collins Rd                                   Apt 418                                               Jacksonville        FL       32244
 Jaden Deffenbaugh                                           221 31St Ave N 530                                                                                      Nashville           TN       37203-1979
 Jaden Lacaria                                               1234 Suiteelwodd Rd 351A                                                                                Columbus            OH       43212
 Jaeger Keeney                                               386 Auburndale Dr                                                                                       Ponte Vedra         FL       32081
 JAH for TRADEMARKS REGISTRATION                             Golden Tower No 42 Old Salata                     2nd Floor Office No 5        Almeena St               Doha                                      Qatar
 Jaice Martinez                                              4420 SW 52nd Ct 4                                                                                       Fort Lauderdale     FL       33314
 Jaicee Lynn Whipple                                         365 East Meadowlark Ln                                                                                  Monticello          UT       84535
 Jailyne Ojeda Ochoa                                         5223 W Gwen St                                                                                          Laveen              AZ       85339



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                                                                                                                                 as of October 10, 2022


                      Name                                    Attention                                           Address 1                               Address 2         Address 3                 City    State        Zip           Country
 Jaime D Holmes                                                                          1815 North Congress Ave                                                                        West Palm Beach      FL       33401
 Jaime Eduardo Lopez                                                                     11061 SW 25 Ct                                    Apt 11206                                    Miramar              FL       33025
 Jaime Gomez                                                                             2026 Muscadine Ct                                                                              Kissimmee            FL       34741
 Jaime K Redmon                                                                          1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Jaime Kristen Redmon                                                                    1801 Mccord Way                                   Apt 738                                      Frisco               TX       75033
 Jaime Matthews                                                                          420 Northwest 104th Terrace                                                                    Miami                FL       33150
 Jaime Montes                                                                            4742 Canehill Ave                                                                              Lakewood             CA       90713
 Jake Johnson                                                                            536 Arbor Pointe Ave                                                                           Minneola             FL       34715-6046
 Jake Mateo Curbelo                                                                      215 N 31 Ct                                                                                    Hollywood            FL       33021
 Jake Sherman                                                                            7536 Indian Wells Way                                                                          Lone Tree            CO       80124
 Jakob Harn                                                                              3918 Libby Rd Ne                                                                               Olympia              WA       98506
 Jakob Hellrigl                                                                          427 1/2 North Curson Ave                                                                       Los Angeles          CA       90036
 Jakob J. Harvey Greer                                                                   25 Albert Cir                                                                                  Coboconk             ON       K0M1K0       Canada
 Jakob J. Harvey Greer                                                                   7405 Pyramid Place                                                                             Los Angeles          CA       90046
 Jaleel Airic Brown                                                                      9252 Crimson Ct                                                                                Dallas               TX       75217
 Jalen Olumu-Brown                                                                       962 Balmoral Way                                                                               Melbourne            FL       32940
 Jalen Vince Jernigan                                                                    1100 Market St                                                                                 Dresher              PA       19025-1258
 Jaliyah Arshell Simpson                                                                 11012 Hub Plaza 2118D                                                                          Orlando              FL       32826
 Jallaluddin Mohammad Malik                                                              PO Box 5661                                                                                    Diamond Bar          CA       91765
 Jamal R Terry                                                                           10421 W Georgia Ave                                                                            Glendale             AZ       85307-4251
 Jamal Roydel Terry                                                                      10421 West Georgia Ave                                                                         Glendale             AZ       85307
 Jamar Smith                                                                             625 H St NE                                       Apt 228                                      Washington           DC       20002
 Jamell Dennis                                                                           6117 Crestmill Ln                                                                              Sachse               TX       75048
 Jamella Sorko-Ram                                                                       103315 Randall St                                                                              Orange               CA       92869
 James A Findlay                                                                         1600 N Park Dr                                                                                 Weston               FL       33326-3278
 James A Lewis                                                                           452 Settlers Ridge Dr                                                                          Kannapolis           NC       28081
 James Allen Diggs                                                                       1713 Lake Clay Dr                                                                              Lake Placid          FL       33852
 James Andrew Findlay                                                                    6810 N St Andrews Dr                                                                           Hialeah              FL       33015
 James Astacio                                                                           4815 Old Egg Harbor Rd                                                                         Egg Harbor City      NJ       08215
 James Balbes                                                                            7321 Atlanta St                                                                                Hollywood            FL       33024
 James Bernard Lacour                                                                    1415 Genesis Dr                                                                                Mansfield            TX       76063
 James Craig Jr. MacDonald                                                               114 St Francis St B                                                                            San Gabriel          CA       91776
 James Dee Zhu                                                                           9 Clanranald Way                                                                               Greenvale                     VIC 3059     Australia
 James Dominique                                                                         1441 Southwest 97th Ave                                                                        Pembroke Pines       FL       33025
 James Droujinsky                                                                        9203 Beech Forest Ln                                                                           Mechanicsville       VA       23116
 James E Clifton                                                                         10201 West Beaver St                              Lot 72                                       Jacksonville         FL       32220
 James Fisher Perry                                                                      1850 Gray Rd                                                                                   Chattanooga          TN       37421
 James Fisher Perry                                                                      7983 Marantha Way                                                                              Georgetown           TN       37336
 James Fuzi                                                                              7177 West Bajada Rd                                                                            Peoria               AZ       85383
 James Gracely                                                                           7510 Luluwater Cove                                                                            Huntersville         NC       28078
 James Jeudy                                                                             11507 Northwest 43rd St                                                                        Coral Springs        FL       33065
 James Jin Jang                                                                          14505 NW Oak Shadow Ct                                                                         Portland             OR       97229
 James L Johns III                                                                       8694 Via Mar Rosso                                                                             Lake Worth           FL       33467
 James Leon                                                                              319 S Market St                                                                                New Wilmington       PA       16172
 James Leon Jr                                                                           2825 SW 2nd Ct                                                                                 Fort Lauderdale      FL       33312
 James Leroy Walker                                                                      1518 17th Ave North                                                                            Lake Worth           FL       33460
 James Mannella                                                                          4107 Guilford Rd                                                                               Rockford             IL       61107
 James Matthew Hellkamp                                                                  9547 Brehm Rd                                                                                  Cincinnati           OH       45252
 James Mitchell Whitehead Jr.                                                            7930 Granada Blvd                                                                              Miramar              FL       33023
 James P Bracco                                                                          1600 N Park Dr                                                                                 Weston               FL       33326-3278
 James P Ruesy                                                                           2609 Northview Ct                                                                              Flower Mound         TX       75022
 James Paul                                                                              5125 Heron Place                                                                               Coconut Creek        FL       33073
 James Paul Bracco                                                                       110 MatisSE Cir                                                                                Aliso Viejo          CA       92656
 James R Johnson                                                                         1620 E Riverside Dr 4066                                                                       Austin               TX       78741-1027
 James Richard Rutledge                                                                  1714 Lando Ln                                                                                  Orlando              FL       32806
 James Rob Blake Johnson                                                                 420 Circuit Dr                                                                                 Roseville            CA       95678
 James Robert Diamond                                                                    555 Fallwood Dr                                                                                Concord              NC       28025
 James Rodriguez vs. VPX (2021)              James Rodriguezc/o Reza Torkzadeh (The Torkz18650 MacArthur BLVD                                                                           Irvine               CA       92612
 James Rodriguez vs. VPX (2021)              Scarlett Bridget Hernandez-Zavala           9481 Stoneybrock Pl                                                                            Rancho Cucamonga     CA       91730
 James Runey                                                                             2621 Crestfield Dr                                                                             Valrico              FL       33596
 James Schutt                                                                            14584 West Hidden Terrace Loop                                                                 Litchfield Park      AZ       85340
 James Smith                                                                             10081 Lee Vista Blvd                              Apt 10104                                    Orlando              FL       32829
 James T. Berger                                                                         555 Skokie Blvd                                                                                Northbrook           IL       60062
 James Taylor                                                                            6522 Patricia Ln                                                                               Katy                 TX       77493
 James Theodore Sebion                                                                   5607 West Michigan Ave                                                                         Glendale             AZ       85308
 James Thomas                                                                            1502 West State St                                                                             New Castle           PA       16101
 James Thomas Ewens                                                                      7 Midwinter Place Nicholls                                                                     Canberra                      WA 2913      Australia
 James Via                                                                               175 Hidden Lake Loop                                                                           Haines City          FL       33844
 James Wathen                                                                            13121 West Citrus Way                                                                          Litchfield Park      AZ       85340
 James Westley Brown                                                                     9053 North 52nd Ave                                                                            Glendale             AZ       85302
 Jamesly Louis Jean                                                                      1140 NW 46th Ave                                                                               Lauderhill           FL       33313
 Jamie Allen Ovist                                                                       11254 N 186th Ct                                                                               Surprise             AZ       85388
 Jamie Davis                                                                             6284 Wingspan Way                                                                              Bradenton            FL       34203
 Jamie Donelson                                                                          151 Dorothy Ln                                                                                 Mooresville          NC       28117
 Jamie Goff                                                                              18541 Bittern Ave                                                                              Lutz                 FL       33558



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                       Name                    Attention                                Address 1                               Address 2         Address 3                City    State      Zip           Country
 Jamie Herman                                                  123 Washington Ave                                                                             Bakersfield         CA     93308
 Jamie Lee Smerkovitz                                          1 Gregory Ave Melrose North                       Gauteng                                      Johannesburg               2196         South Africa
 Jamie Montgomery                                              14609 Manecita Dr                                                                              La Mirada           CA     90638
 Jamil Muhammad-Ray                                            1618 KatheriNE Kiker Rd                                                                        Charlotte           NC     28213
 Jamileth Gando                                                10404 Stonewind Dr                                Apt 14302                                    Fort Worth          TX     76244
 JAMS, INC.                                                    18881 Von Karman Ave                                                                           Irvine              CA     92612
 Jan Jens Jatina Group LLC                                     1100 BiscayNE Blvd 3902                                                                        Miami               FL     33132
 Jan Stühmer                                                   Berhard-Nocht-Strabe 105                                                                       Hamburg                    20359        Germany
 Janae Alexandria Slater                                       3900 S LoNE PiNE Ave C209                                                                      Springfield         MO     65804
 Janelle C Valle Suarez                                        11685 W Atlantic Blvd 1927                                                                     Coral Springs       FL     33071
 Janene M Miller                                               3920 SW 68th Ave                                                                               Miramar             FL     33023
 Janessa Urra                                                  9530 Sunbelt # 304                                                                             Tampa               FL     33635
 Janet Lee Pierce                                              4415 North Maryvale Parkway                       Apt 14612                                    Phoenix             AZ     85031
 Janet Rivas Gordy                                             15153 SW 109th Ln                                                                              Miami               FL     33196
 Janette Cabral                                                6611 E Mayo Blvd                                  Unit 2098                                    Phoenix             AZ     85054
 Janexy Sanchez and Tyler Lopez                                953 Bentstation Ln                                Apt 419                                      Lake Mary           FL     32746
 Janice Cruz                                                   510 Northwest 86th Ave                                                                         Pembroke Pines      FL     33024
 Jani-King of Phoenix related Services, Inc.                   PO Box 51526                                                                                   Los Angeles         CA     90051-5826
 Janine Delaney                                                9096 Villa Portofino Cir                                                                       Boca Raton          FL     33496
 Janine Delaney Limited                                        650 Park Ave                                                                                   Manhasset           NY     11030
 Jano Coach Lines, INC                                         8930 W State Rd 84 Suite 106                                                                   Davie               FL     33324
 Janson Communications LLC                                     1975 Donna Dr                                                                                  Ashland             KY     41102-7771
 Jaquan L West                                                 10600 Northwest 43rd St                                                                        Sunrise             FL     33351
 Jaqueline Romero                                              5296 West Core Way                                                                             Grand Prairie       TX     75052
 Jared Andrew Forestieri                                       121 Hillman Dr                                                                                 Elmwood Park        NJ     7407
 Jared Charlap                                                 1604 Mcfarland Rd                                                                              Pittsburgh          PA     15216
 Jared Dalton Morrison                                         6250 Mountain ViNE Ave                                                                         Kannapolis          NC     28081
 Jared Emanuele                                                8714 Glenoaks Blvd 209                                                                         Sun Valley          CA     91352-2658
 Jared J Atkins                                                4883 E Ridgecreek                                                                              Houston             TX     77053
 Jared Jimenez                                                 5155 Central Ave                                  Apt 33                                       Riverside           CA     92504
 Jared Lamondra                                                2534 W Main St                                                                                 Tampa               FL     33607
 Jared Wilson                                                  1837 Southlake Dr                                                                              Middleburg          FL     32068
 Jarid L Garrety                                               4017 Brookdale Rd                                                                              Benbrook            TX     76116
 Jarit Marketing Corp Eva Maria Jarit                          777 Brickell Ave Suite 586                                                                     Miami               FL     33131-2809
 Jarrah M Floyde                                               850 S Oneida St B-209                                                                          Denver              CO     80224
 Jarred David Tims                                             901 Ebenezer Rd                                                                                Palmer              TX     75152
 Jarrett Lee Stodghill                                         5727 Canoga Ave 338                                                                            Woodland Hills      CA     91367
 Jarrod M Young                                                2365 West Buckingham Rd                           Apt 2093                                     Garland             TX     75042
 Jaslyn Ramos                                                  1760 NW 7th St 602                                                                             Miami               FL     33125
 Jasmin Arndt                                                  Talbick 19 Radeberg                               Saxony                                       Dresden                    1454         Germany
 Jasmin Folks                                                  10506 Anglecrest Dr                                                                            Riverview           FL     33569
 Jasmin Mora                                                   3605 Arginis St #201                                                                           Las Vegas           NV     89108
 Jasmine Brown                                                 2731 Woodcrest Dr A                                                                            Augusta             GA     30909
 Jasmine Brown                                                 3110 Leaflet Way                                                                               Augusta             GA     30909
 Jasmine Bunn                                                  11047 Otsego St 104                                                                            North Hollywood     CA     91601
 Jasmine Cano                                                  1934 Second St                                                                                 San Fernando        CA     91340
 Jasmine Deniece Johnson                                       4420 SW 21St St                                                                                West Park           FL     33023
 Jasmine Fernandez                                             5901 SW 151St Ct                                                                               Miami               FL     33193
 Jasmine Gonzalez                                              15613 Camp Dubois Cres                                                                         Winter Garden       FL     34787
 Jasmine Jane Mellor                                           10350 Southwest 5th Ct                            Apt 312                                      Pembroke Pines      FL     33025
 Jasmine Lilian Clemente                                       2550 West 56th St 503                                                                          Hialeah             FL     33016
 Jasmine R. Brown                                              50 Schilling Ct                                                                                Brentwood           CA     94513
 Jasmine Sade Lockhart                                         2612 Montclair Ln                                                                              Mesquite            TX     75150
 Jasmine Soler                                                 1371 NW 172nd St                                                                               Miami               FL     33169
 Jasmine Soliz                                                 3585 Griffin Creek Rd                                                                          Medford             OR     97501
 Jasmine Soto                                                  175 Historic Town Square                                                                       Lancaster           TX     75146
 Jasmine Torres                                                6460 N Newland                                                                                 Chicago             IL     60631
 Jasmyne Logan                                                 6239 Planters Wood Ln                                                                          Charlotte           NC     28262
 Jason A Hoak                                                  1600 N Park Dr                                                                                 Weston              FL     33326-3278
 Jason A Sonchik                                               1600 N Park Dr                                                                                 Weston              FL     33326-3278
 Jason Alfredo Aparcana                                        9459 SW 18th St                                                                                Miramar             FL     33025
 Jason Allen Hoak                                              3300 Windsor Dr                                                                                Sacramento          CA     95864
 Jason Allen Sonchik                                           2215 E Crest Ln                                                                                Phoenix             AZ     84024
 Jason Andrew Santiago                                         3136 Via Festiva                                                                               Henderson           NV     89044
 Jason Arthur Jaggon                                           9055 Preston Place                                                                             Tamarac             FL     33321
 Jason Briggs Osborne                                          3236 West Huntington Dr                                                                        Phoenix             AZ     85041
 Jason Dwayne Hinton                                           4446 Lower Meadow Dr                                                                           Mulberry            FL     33860
 Jason J Clower                                                5429 East JustiNE Rd                                                                           Scottsdale          AZ     85254
 Jason L Fuerbach                                              18425 135th St East                                                                            Bonney Lake         WA     98391
 Jason Lee Ocheltree                                           11416 East Quicksilver Ave                                                                     Mesa                AZ     85212
 Jason M Tran                                                  1600 N Park Dr                                                                                 Weston              FL     33326-3278
 Jason Manh Duc Tran                                           32721 Fullerton Ct                                                                             Union City          CA     94587
 Jason Michael Zwiebel                                         857 West Portobello Ave                                                                        Mesa                AZ     85210
 Jason Robert Frederick English                                9950 58th St East                                                                              Parrish             FL     34219
 Jason Robert Trujillo                                         2110 Sweetbroom Cir Bldg 5                                                                     Lutz                FL     33559



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                        Name                 Attention                                Address 1                               Address 2         Address 3                 City     State         Zip          Country
 Jason Schnaible                                             3529 Meadowbrook Dr                                                                            Napa                  CA       94558
 Jason T Criss Johnson                                       120 Wooded Creek Dr                                                                            Red Oak               TX       75154
 Jason Valderrama                                            1513 Montana Ave                                                                               St Cloud              FL       34769
 Jason Whitmire                                              5419 West Tropicana Ave                           Apt 205                                      Las Vegas             NV       89103
 Jason Z Stash                                               5226 Monterey Park Cir                                                                         Las Vegas             NV       89146
 Jasser Torres                                               3732 Ave K                                                                                     Fort Worth            TX       76105
 Jav Auto Tag Agency                                         18655 S Dixie Hwy                                                                              Cutler Bay            FL       33157
 Javaris Thomas                                              3536 Le Bron Rd                                                                                Montgomery            AL       36111-1926
 Javier Alfaro                                               12441 SW 190th St                                                                              Miami                 FL       33177
 Javier Hernandez                                            12775 Southwest 189th Ct                                                                       Miami                 FL       33177
 Javier L Esparza                                            44609 Calston Ave                                                                              Lancaster             CA       93535
 Javier Lopez Quesada                                        6000 De Soto Ave Apt 307                                                                       Woodland Hills        CA       91367
 Javier Nunez                                                7416 West Turney Ave                                                                           Phoenix               AZ       85033
 Javier Padron Gonzalez                                      2500 BiscayNE Blvd #1406                                                                       Miami                 FL       33137
 Javier Romero                                               7400 SW 107th Ave 7208                                                                         Miami                 FL       33173
 Javier Salas                                                17915 SW 138th Ct                                                                              Miami                 FL       33177
 Javier Spiegal                                              662 Vt Route 100                                                                               Stockbridge           VT        5772
 Javon Shandell Baker                                        2034 West Turney Ave                                                                           Phoenix               AZ       85015
 Jay Ferrer                                                  9505 49th St N                                    Apt 2-218                                    Pinellas Park         FL       33782
 Jay M. Thompson                                             6132 Balcony Ln                                                                                Dallas                TX       75241
 Jay Maher                                                   1800 SE Saint Lucie Blvd                          Apt 11-304                                   Stuart                FL       34996
 Jay Nagy                                                    12200 S Gardens Dr                                                                             Palm Beach Gardens    FL       33418
 Jay Nagy                                                    15000 Portofino Cir                               Apt 118                                      Palm Beach Gardens    FL       33418
 Jay Petroleum, Inc                                          533 S 200 W                                                                                    Portland              IN       47371-8309
 Jay Schwartz Campaign Account                               8310 NW 16th St                                                                                Pembroke Pines        FL       33024
 Jayden Hauter Kara Hauter (Mom)                             16423 Gladiola Ave W                                                                           Rosemount             MN       55068
 Jayden Siwa                                                 4870 Vanalden Ave                                                                              Tarzana               CA       91356
 JAYLA THACH                                                 2333 Garden Park Ct                                                                            Arlington             TX       76013
 Jaylin Sutton                                               3115 Running Fawn                                                                              San Antonio           TX       78261
 Jaylon Williams                                             7017 Snowy Owl St                                                                              Arlington             TX       76002
 JaymeLee Rivera                                             3449 Banyan Ln                                                                                 Bartlett              TN       38133
 Jayse Tyler Burkett                                         1291 East Fenway Dr                                                                            Benson                AZ       85602
 Jayson Hinrichsen                                           340 SW 5th St # 315                                                                            Des Moines            IA       50309
 Jayson Pinder                                               404 East St                                                                                    Altamonte Springs     FL       32701
 Jazlyn Gurrola                                              8248 Elion St                                                                                  Orlando               FL       32827
 Jazmine Godinez                                             3301 Collier Ave                                                                               San Diego             CA       92119
 JBK Law Group,LLC Goold Patterson                           1975 Village Center Cir Suite 140                                                              Las Vegas             NV       89134
 JDA Software, Inc.                                          15059 N Scottsdale Rd Suite 400                                                                Scottsdale            AZ       85254
 JEA                                                         PO Box 45047                                                                                   Jacksonville          FL       32232-5047
 JEA                                                         21 West Church Suiteet                                                                         Jacksonville          FL       32202
 Jean Atila                                                  7857 Golf Cir Dr                                  Apt 209                                      Margate               FL       33063
 Jean G Florexil                                             1328 North F St                                                                                Lake Worth            FL       33460
 Jean Paul Cajina                                            8778 NW 141 Terr                                                                               Miami Lakes           FL       33018
 Jean Paul Senior Arzuaga                                    14666 Southwest 126th Place                                                                    Miami                 FL       33186
 Jean R Paul                                                 915 SW 10th Dr 1                                                                               Pompano Beach         FL       33060
 Jean Ralphe Shackleton                                      4399 ASuiter Dr                                                                                Lake Worth            FL       33461
 Jeanette Rodriguez                                          481 SW 131 Ave                                                                                 Davie                 FL       33325
 Jeanine Gonzalez                                            333 SW 78th Terrace                                                                            North Lauderdale      FL       33068
 Jeanny Pacheco                                              3440 Ranch Trl                                    Apt 1422                                     Cedar Park            TX       78613
 Jed Edward Thompson                                         4560 Suiterling Dr                                                                             Big Lake              MN       55309
 Jefferson Distributing Company, Inc.                        799 Mid Atlantic Parkway                                                                       Martinsburg           WV       25404
 Jefferson Distributing Company, Inc.                        PO Box 1185                                                                                    Martinsburg           WV       25402-1185
 Jeffery Hunter Vaughter                                     9526 Hwy 81 South                                                                              Iva                   SC       29655
 Jeffery L Wanous                                            1600 N Park Dr                                                                                 Weston                FL       33326-3278
 Jeffery Lane Wanous                                         11126 20th Dr Southeast                                                                        Everett               WA       98208
 Jeffery R Matous                                            3760 Fm 1181                                                                                   Ennis                 TX       75119
 Jeffrey A Aubrey                                            1600 N Park Dr                                                                                 Weston                FL       33326-3278
 Jeffrey A Lay                                               1600 N Park Dr                                                                                 Weston                FL       33326-3278
 Jeffrey Allen Aubrey                                        1300 Via Lugano Cir                               Apt 209                                      Boynton Beach         FL       33436
 Jeffrey Allen Lay                                           15932 Wolf Run                                                                                 Findlay               OH       45840
 Jeffrey Hubbard                                             3265 Claydor Dr                                                                                Beavercreek           OH       45431
 Jeffrey L Quick                                             1600 N Park Dr                                                                                 Weston                FL       33326-3278
 Jeffrey Lee Quick                                           318 Orchard Cir                                                                                Hayden                AL       35079
 Jeffrey P Reiter                                            1600 N Park Dr                                                                                 Weston                FL       33326-3278
 Jeffrey Paul Clubb                                          1925 S Arizona Blvd Lot 33                                                                     Coolidge              AZ       85128
 Jeffrey Paul Walker                                         5855 South County LiNE Hwy                                                                     Blissfield            MI       49228
 Jeffrey Peter Reiter                                        8710 Ferry Rd                                                                                  Grosse Ile Township   MI       48138
 Jeffrey R. Eisensmith, P.A.                                 5561 N University Dr Suite 103                                                                 Coral Springs         FL       33067-4652
 Jeffrey Rehonic                                             18370 Mediterranean Blvd                                                                       Hialeah               FL       33015
 Jeffrey Samuel Chance                                       1250 W Hwy 287 Bypass 536                                                                      Waxahachie            TX       75165
 Jeffrey Steven Urstadt                                      820 South Park Rd 03-17                                                                        Hollywood             FL       33021
 Jeffrey T Harris                                            6150 Alma Rd 2117                                                                              Mckinney              TX       75070
 Jeffrey T. Huber                                            6828 NW 12th Ct                                                                                Plantation            FL       33313
 Jeffry David Edlen                                          12706 214th Ave East                                                                           Bonney Lake           WA       98391
 Jemima Fried                                                602 105 Stirling St                                                                            Perth                          WA 6000      Australia



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 Jenine Van Der Merwe                                        No 20 Candlewood Extension 22                    Mpumalanga                                           Secunda                      2302         South Africa
 Jenna A. Berman                                             5860 Our Robbies Rd                                                                                   Jupiter              FL      33458
 Jenna Cline                                                 1141 Strada Cristallo                                                                                 Henderson            NV      89011-0953
 Jenna Davidson                                              300 State St 307                                                                                      Knoxville            TN      37902
 Jenna Davidson                                              300 State St                                     Apt 307                                              Knoxville            TN      37902
 Jenna E. Pry                                                201 Swift Ln                                                                                          Cunningham           TN      37052
 Jenna Hauca                                                 1413 Cloverfield Blvd                                                                                 Santa Monica         CA      90404
 Jenna Homsey                                                7712 West Libby St                                                                                    Glendale             AZ      85308
 Jenna Iten                                                  14207 Cyber Pl #204                                                                                   Tampa                FL      33613
 Jenna Kulak                                                 1100 East Apache Blvd                                                                                 Tempe                AZ      85281
 Jenna Marie Bonura                                          350 Northeast 24th St                            Apt 1401                                             Miami                FL      33137
 Jenna Patricia Louis                                        7007 Garden Hill Dr                                                                                   Huntersville         NC      28078
 Jenna Pry                                                   4201 E Hwy 390                                   Apt 7102                                             Panama City          FL      32404
 Jenna Romano                                                9110 West Tropicana Ave                                                                               Las Vegas            NV      89147
 Jenna Steiner                                               9209 S Sooner Rd                                                                                      Guthrie              OK      73044
 Jennifer Arnold                                             8401 RedstoNE View Dr                                                                                 Charlotte            NC      28269
 Jennifer Avila                                              13407 NW 8th Dr                                                                                       Plantation           FL      33325
 Jennifer Carigliano                                         54 Endicott St                                                                                        Congers              NY      10920
 Jennifer Chang                                              9312 SW 157th Ave                                                                                     Miami                FL      33196-1151
 Jennifer Collazo                                            16205 Southwest 52nd Terrace                                                                          Miami                FL      33185
 Jennifer Dominguez                                          311 West Palm Ave                                Apt 2-702                                            Tampa                FL      33602
 Jennifer Gladstone                                          1400 Yale Dr                                                                                          Hollywood            FL      33021
 Jennifer Gordon                                             1919 Southeast 10th Ave                          Apt 2118                                             Fort Lauderdale      FL      33316
 Jennifer Hannah                                             12331 SW 109th Terrace                                                                                Miami                FL      33186
 Jennifer Houser                                             1205 N Garfield St                                                                                    Arlington            VA      22201
 Jennifer Hurtado                                            751 NE 2nd Pl                                                                                         Hialeah              FL      33010
 Jennifer J Bautista                                         6217 N thatcher Ave                                                                                   Tampa                FL      33614-4836
 Jennifer Jiron Jen                                          19891 Beach Blvd                                                                                      Hutington Beach      CA      92648
 Jennifer Keegan                                             2672 Gaines Mill Dr                                                                                   Virginia Beach       VA      23456
 Jennifer L Walker                                           3320 Summergrove Dr                                                                                   Arlington            TX      76001
 Jennifer Lane Gray                                          38 Iannuzzi St                                   Apt #Ph06                                            Toronto              ON      M5V 0S2      Canada
 Jennifer Laraine Smith                                      3897 Sunrise Dr                                                                                       Kannapolis           NC      28083
 Jennifer Lopes                                              8605 Tradewind Cir                               Apt 303                                              Ooltewah             TN      37363
 Jennifer Marie Combs                                        9646 Porta Leona Ln                                                                                   Boynton Beach        FL      33472
 Jennifer Mullin                                             10500 Scott Ave                                                                                       Whittier             CA      90603
 Jennifer Nieman                                             312 Ivy Hill Rd                                                                                       Weaverville          NC      28787
 Jennifer Payne                                              41-569 Makakalo St                                                                                    Waimanalo            HI      96795-1436
 Jennifer Peix                                               2400 Limehouse Ln                                Apt 208                                              Oviedo               FL      32765
 Jennifer Perez                                              7725 Dilido Blvd                                                                                      Miramar              FL      33023
 Jennifer Revezzo                                            9063 Northwest 51St Place                                                                             Coral Springs        FL      33067
 Jennifer Rosa JenniRosa Products Corp                       371 SE 1St Dr                                                                                         Deerfield Beach      FL      33441
 Jenny Giesler                                               Worringer Straße 73                              Apt 73                      Nordrhein-Westfahlen     Dusseldorf                   40211        Germany
 Jenny Pinoargote                                            200 NW 87 Ave J221                                                                                    Miami                FL      33028
 Jensen Kotlar                                               1245 Ginger Cir                                                                                       Weston               FL      33326
 Jereme Velasquez                                            435 Fair Dr 204                                                                                       Costa Mesa           CA      92626
 Jeremiah Bennett                                            36592 Hilltop Ln                                                                                      Murrieta             CA      92563
 Jeremiah McCall                                             444 West Commerce St                             Apt 2115                                             Dallas               TX      75208
 Jeremy A Long                                               1016 E Grove St                                                                                       Phoenix              AZ      85040
 Jeremy Bibeau                                               950 104th Ln                                                                                          Coon Rapids          MN      55433
 Jeremy Bronner                                              2043 Southgate Rd 84                                                                                  Colorado Springs     CO      80906
 Jeremy Cook                                                 7114 W Arbor Trace Dr 810                                                                             Knoxville            TN      37909
 Jeremy D Ashby                                              11212 Longbrooke Dr                                                                                   Riverview            FL      33579
 Jeremy D Young-Rollins                                      14384 Magnolia Ln                                                                                     Balch Springs        TX      75180
 Jeremy David Loo                                            1782 West Gary Dr                                                                                     Chandler             AZ      85224
 Jeremy Gamrin Bennett                                       238 Sudbury St                                                                                        Marlborough          MA      01752
 Jeremy Jay Ybarra                                           2989 N Brooklyn Dr                                                                                    Buckeye              AZ      85396
 Jeremy M Barron                                             1600 N Park Dr                                                                                        Weston               FL      33326-3278
 Jeremy Matthew Carpenter                                    702 Cape Cod Cir                                                                                      Valrico              FL      33594
 Jeremy Michael Barron                                       519 White Wing Ct                                                                                     Dickinson            TX      77539
 Jeremy Michael Hutchens                                     12282 Avenida Consentido                                                                              San Diego            CA      92128
 Jeremy Nowak                                                6435 South Snowmass Dr                                                                                Liberty Township     OH      45011
 Jeremy Stephens                                             7967 Lawrence Woods Ct                                                                                Indianapolis         IN      46236
 Jeremy Sumpter                                              709 Crescent Rd                                                                                       Nashville            TN      37205
 Jeremy Taylor                                               149 Ashby Landing Way                                                                                 St Augustine         FL      32086
 Jeremy Wagner                                               1046 E Hardern St                                                                                     Graham               NC      27253
 Jermaine Brown                                              2601 Woodland Park Dr                                                                                 Houston              TX      77077-6161
 Jermaine Jarrett                                            2396 Northwest 89th Dr                                                                                Coral Springs        FL      33065
 Jermani Kea                                                 1601 Maple Ridge Ct                                                                                   Greensboro           NC      27455-9204
 Jerome Elliot Woods                                         9231 Langdon Ave                                                                                      North Hills          CA      91343
 Jerome Wholesale, Inc.                                      1315 2nd Ave Ne                                                                                       Devils Lake          ND      58301
 Jerriett Jermaine Hand                                      1701 Skipper Rd 158                                                                                   Tampa                FL      33613
 Jerry Doctolero                                             104 E 51St St                                                                                         Long Beach           CA      90755
 Jerry Hensley                                               5009 Calloway St                                                                                      Fort Worth           TX      76114
 Jerry Purpdrank Inc.                                        12000 Rice Dr 210                                                                                     Valley Village       CA      91607
 Jerry Walker                                                2011 Northwest 55th Ave                          Apt 303                                              Lauderhill           FL      33313



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 Jesenia Naya                                                1801 SW 32nd Ave 504                                                                                 Miami                FL       33145
 Jesenia Sanchez                                             18651 Lenaire Dr                                                                                     Cutler Bay           FL       33157
 Jesenia Soria                                               15410 SW 157th Ter                                                                                   Miami                FL       33157
 Jeshua Donisvitch                                           100 Wahoo Way 1122                                                                                   Charlottesville      VA       22903
 Jesika Tihara Royal                                         8750 Azalea Ct                                    Apt 203                                            Tamarac              FL       33321
 Jesse Lance Peterson                                        5597 Somersby Rd                                                                                     Windermere           FL       34786
 Jesse Michal                                                14242 Alderwood Rd                                                                                   Lake Hughes          CA       93532-1448
 Jesse Souligny                                              7525 Flower Meadow Dr                                                                                San Diego            CA       97126
 Jesse Suarez ThatsHymn                                      8136 Astaire Ln                                                                                      Fair Oaks            CA       95628
 Jessel Pena                                                 7 NE 12th Ave                                                                                        Homestead            FL       33030
 Jessenia Soto                                               3511 NW 21St St                                                                                      Coconut Creek        FL       33066
 Jessica Alexandra Leguizamon                                6790 Southwest 10th Ct                                                                               Pembroke Pines       FL       33023
 Jessica Beyer                                               4901 S Calle Los Cerros Dr                                                                           Tempe                AZ       85282
 Jessica Buchs                                               19126 Harborbridge Ln                                                                                Tampa                FL       33558
 Jessica Celine Raygoza                                      1555 Mesa Verde Dr E Apt 001k                                                                        Costa Mesa           CA       92626
 Jessica Celine Raygoza                                      8377 E Hartford Dr Suite 200                                                                         Scottsdale           AZ       85255-5687
 Jessica Cordoves                                            3122 Terry Brook Dr                                                                                  Winter Park          FL       32792
 Jessica Cowley                                              11702 98th Ave Ne                                                                                    Kirkland             WA       98034
 Jessica Cummins                                             303 Shoreview Dr                                                                                     Rockwall             TX       75087
 Jessica D Cespedes                                          2717 S Osceola Ave                                                                                   Orlando              FL       32806
 Jessica Dalpino Bontempi                                    Alameda Campinas                                  1176 Apt 101                                       Sao Paulo                     01404-002    Brazil
 Jessica Garcia                                              1241 San Juan Ave                                                                                    San Jose             CA       95110
 Jessica Gimenez Venegas                                     5130 W Hutchinson St                              Apt 1                                              Chicago              IL       60641
 Jessica Hali Allison                                        796 Hill Dr                                       Apt H                                              West Palm Beach      FL       33415
 Jessica J Pineda                                            1600 N Park Dr                                                                                       Weston               FL       33326-3278
 Jessica Jedrzejczyk                                         35 Delikat Ln                                                                                        Sayreville           NJ       08872
 Jessica Jedrzejczyk                                         8 Hop Brook Ln                                                                                       Holmdel              NJ       07733
 Jessica Joelle Tyree Pineda-Diaz                            10650 Southeast Sunnyside Rd                      Bldg C                                             Clackamas            OR       97015
 Jessica June Foerster                                       2427 Allen St                                     Apt 438                                            Dallas               TX       75204
 Jessica Kiernan                                             20 Hendricks Isle 6                                                                                  Fort Lauderdale      FL       33301
 Jessica Lee Riker                                           22121 Clarendon St                                Apt 327                                            Los Angeles          CA       91367
 Jessica Macrina Vincent                                     5321 Arvada St                                                                                       Torrance             CA       90503
 Jessica Marie Stepp                                         325 Madelyn Dr                                                                                       Lexington            NC       27295
 Jessica Minshall The Amazing Giants LLC                     6969 Worthington Galena Suite 1                                                                      Worthington          OH       43085
 Jessica Moso Luna                                           8949 West Sweetwater Ave                          Apt 222                                            Peoria               AZ       85381
 Jessica Palmadessa                                          4005 Aspen Ln                                                                                        Chino Hills          CA       91709-2910
 Jessica Reising                                             520 SE 10 Ave                                                                                        Pompano Beach        FL       33060
 Jessica Rene Chavez                                         1425 E Us Highway 85 17                                                                              Buckeye              AZ       85326
 Jessica Rose Jess                                           1800 Fuller Wiser Rd #207                                                                            Euless               TX       76039
 Jessica Sade Sturm                                          2142 Van Buren St 504                                                                                Hollywood            FL       33020
 Jessica Sims                                                5717 Laurel Canyon Blvd 315                                                                          Valley Village       CA       91607
 Jessica Tenorio                                             7891 Delta Oak Ct                                                                                    Las Vegas            NV       89147
 Jessica Vincent                                             4815 1/2 Elmwood Ave                                                                                 Los Angeles          CA       90004
 Jessica Wagner                                              N8351 County Rd Fw                                                                                   Beaver Dam           WI       53916
 Jessica Winship                                             737 SW 109th Ave                                                                                     Miami                FL       33174
 Jessical Negromonte Meyer                                   7960 Rafael Rivera Way #1234                                                                         Las Vegas            NV       89113
 Jessika Kolosovas                                           17736 nw 59th ave                                 Apt 102                                            Hialeah              FL       33015
 Jessika Rocio Kolosovas                                     17736 NW 59th Ave                                                                                    Hialeah              FL       33015
 Jessika Stauffer                                            299 PiNE St                                                                                          Ormond Beach         FL       32174
 Jesus A Gutierrez                                           1600 N Park Dr                                                                                       Weston               FL       33326-3278
 Jesus A Rodriguez                                           1318 Bryan Pl                                                                                        Seagoville           TX       75159
 Jesus A Valtierra                                           2134 Fair Weather Dr                                                                                 Lancaster            TX       75146
 Jesus Alcazar                                               8438 N 54th Dr                                                                                       Glendale             AZ       85302-6107
 Jesus Armando Gutierrez                                     3240 Las Vegas Blvd North                         Apt 237                                            Las Vegas            NV       89115
 Jesus Cambon Gutierrez                                      11119 West Okeechobee Rd                          Unit 119                                           Hialeah              FL       33018
 Jesus Cimolai                                               1080 99th St 3-23                                                                                    Bay Harbor Islands   FL       33154
 Jesus Cruz                                                  8939 West Windsor Ave                                                                                Phoenix              AZ       85037
 Jesus David Alfaro                                          25114 Geddy Dr                                                                                       Land O' Lakes        FL       34639
 Jesus E Monter Ortiz                                        534 West Princeton Ave                                                                               Gilbert              AZ       85233
 Jesus Hernandez Ramos                                       530 W Elena Ave                                                                                      Mesa                 AZ       85210
 Jesus Leopoldo Velasquez                                    1007 Peach Grove                                                                                     Riverside            CA       92501
 Jesus Martinez                                              37511 Sabal St                                                                                       Palmdale             CA       93552
 Jesus Serna                                                 17394 Valencia Ave #34                                                                               Fontana              CA       92335
 Jesus Silvio Mendez                                         5211 Southwest 155th Ave                                                                             Miramar              FL       33027
 Jet Support Services, Inc                                   180 N Suitetson Ave 29th Floor                                                                       Chicago              IL       60601-6704
 Jewelya Trippi                                              3193 W Tanner Ranch Rd                                                                               Queen Creek          AZ       85142
 Jezzelin I. Gonzalez                                        18752 E Arkansas Pl                                                                                  Aurora               CO       80017
 Jhana Neshae Hyman                                          12017 Northwest 13th St                                                                              Pembroke Pines       FL       33026
 JHO GA-1 Investment LLC                                     1600 N Park Dr                                                                                       Weston               FL       33326-3278
 JHO NV-1 Investment LLC                                     1600 N Park Dr                                                                                       Weston               FL       33326-3278
 JHO Real Estate Investment                                  1600 N Park Dr                                                                                       Weston               FL       33326-3278
 Ji S Su                                                     10720 Washington St                               Apt 110                                            Pembroke Pines       FL       33025
 Jiaherb, Inc.                                               1 Chapin Rd Suite 1                                                                                  Pine Brook           NJ       07058-9221
 Jiang- Marissa Yang                                         7538 Nova Dr                                                                                         Davie                FL       33317
 Jiaxing Huayou Appareal CO, LTD                             818 No1 N Bldg                                    Xiehe Square                Zhejiang               Jiaxing City                  345586       China



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                        Name                  Attention                               Address 1                                       Address 2                       Address 3                City     State         Zip             Country
 Jilian Alyssa Tortorella                                     2102 Bellcrest Ct                                                                                                   Royal Palm Beach     FL       33411
 Jillian Grenn                                                423 4th Ct                                                                                                          Palm Beach Gardens   FL       33410
 Jimena Villegas                                              12878 Southwest 135th St                                                                                            Miami                FL       33186
 Jimerson Birr, P.A.                                          1 Independent Dr Suite 1400                                                                                         Jacksonville         FL       32202-5011
 Jim's Water Truck Service                                    2415 N Pioneer                                                                                                      Mesa                 AZ       85203-1029
 Jing Guo                                                     785 Heron Rd                                                                                                        Weston               FL       33326
 Jiovani Noelsaint                                            13520 S BiscayNE River Dr                                                                                           Miami                FL       33161
 JJ Jordyn Jones, Inc.                                        8335 West Sunset Blvd Suite 200                                                                                     Los Angeles          CA       90069
 JNI Logistics, Inc                                           1555 E Mcandrews Rd Suite 303                                                                                       Medford              OR       97504
 Jnod, Muhlstein, Levy & Puder Etude Junod,                   Rue Topffer 17                                                                                                      Geneva                        1206         Switzerland
 Joan Christine Hodgson                                       13088 Orange Grove Blvd                                                                                             West Palm Beach      FL       33411
 Joanna Hernandez                                             5175 Jerry Tarkanian Way 20208                                                                                                           NV       89148
 Joanna Jayne Levick                                          11 Centenary Blvd                                     E313 Palm Gate                       Kwa Zulu Natal           Umhlanga                      4319         South Africa
 Joanna Joy Roderique Walker                                  3320 NW 1St St 909                                                                                                  Pompano Beach        FL       33069
 Joao Marcos De Oliveira                                      Rua Sao Bertoldo                                      57 - Vila Jacui                                               Sao Paulo                     08070-380    Brazil
 Joao Vitor Pereira Rodrigues                                 Rua Oliveira Marques                                                                5275                            Dourados             MS       79833-060    Brazil
 Job Joseph                                                   1399 Summit Run Cir                                                                                                 West Palm Bch        FL       33415-4746
 Jocelyn Camba                                                8000 Spring Mountain Rd                               Apt 2109                                                      Las Vegas            NV       89117
 Jodi Tulloch                                                 501 Southwest 178th Way                                                                                             Pembroke Pines       FL       33029
 Joe Angel Rodriguez                                          10801 West 3rd St                                                                                                   Cashion              AZ       85329
 Joe Cavazos                                                  2937 Desert St                                                                                                      Rosamond             CA       93560
 Joe Dan Conley                                               15259 State Highway 205                                                                                             Terrell              TX       75160
 Joei Fulco                                                   6129 W Ave J15                                                                                                      Lancaster            CA       93536
 Joel Litterio                                                2682 S Xanadu Way                                     Unit A                                                        Aurora               CO       80014
 Joel Naburgs                                                 92 Morris St                                                                                                        Tootgarook                    VIC 3941     Australia
 Joel Roberts                                                 9148 West Harmony Ln                                                                                                Peoria               AZ       85382
 Joel Ruiz                                                    4731 Autumn PiNE Ln                                                                                                 Houston              TX       77084
 Joel Spears                                                  89 Sheldon St                                                                                                       Tiverton             RI       02878-2326
 Joel Vennes                                                  6908 East Pearl St                                                                                                  Mesa                 AZ       85207
 Joelle Joanie Siwa                                           4870 Vanalden Ave                                                                                                   Tarzana              CA       91356
 Joelle Oliveros                                              359 WestcheSuiter Dr                                                                                                Brunswick            OH       44212
 Joey Preston Duncan                                          1921 Southwest 29th Terrace                                                                                         Cape Coral           FL       33914
 Joey Reed Inc. Joseph S. Reed                                5727 Canoga Ave 338                                                                                                 Woodland Hills       CA       91367
 JoeyNero Inc Joseph Nero                                     18 Cabot Rd West                                                                                                    Massapequa           NY       11758
 Johan Camilo Gaviria                                         Carrera 38 26 343                                     Apt 1403                                                      Medellin                      050016       Colombia
 Johan Delby Ruiz                                             Torre 10 Apt 401 Transversal 103# 86a -27                                                                           Cali                          760016       United Kingdom
 Johan Fouche                                                 137 RingRd Three Rivers                               Gauteng                                                       Vereeniging                   1929         South Africa
 Johana Francis                                               4350 Southwest 112th Terrace                          Apt 3305                                                      Miramar              FL       33025
 Johana Vargas                                                7915 NW 104th Ave                                     Apt 34                                                        Doral                FL       33178
 Johana Vargas Yv Productions, LLC                            8675 NW 5th Terrace 102                                                                                             Miami                FL       33126
 Johanna Cornelia Faasen                                      41 Breed Str Doornpoort                               Doornpoort                                                    Pretoria                      0186         South Africa
 Johanna Ospina                                               9905 NW 20th St                                                                                                     Pembroke Pines       FL       33024
 Johanna Vasquez                                              5761 NW 98th Pl                                                                                                     Doral                FL       33178-2673
 Johansson Roque                                              7812 Grand Canal Dr                                                                                                 Miami                FL       33144
 John B Helm                                                  629 Gaines Rd                                                                                                       Hernando             MS       38632
 John Bridgman                                                1428 Plantation Lakes Cir                                                                                           Chesapeake           VA       23320
 John Buck                                                    781 N Pennock St                                                                                                    Philadelphia         PA       19130
 John Casey Manion                                            116 Woodbrook Place                                                                                                 Concord              NC       28025
 John Cruz                                                    1845 Quiet Oak Place                                                                                                Fort Worth           TX       76008
 John David Purcell                                           95 Beacon St                                                                                                        Lowell               MA        1850
 John David Reynolds                                          4665 Spacewalk Way                                                                                                  Colorado Springs     CO       80916
 John David Speare                                            509 10th St                                                                                                         Spencer              NC       28159
 John E Self                                                  105 Governors Dr Sw                                                                                                 Leesburg             VA       20175
 John Eric Reyes                                              1206 NE 17St                                                                                                        Grand Prairie        TX       75050
 John Esteban Bernal                                          Carrera 12 #142-64                                                                                                  Bogota                                     Colombia
 John F Morrow                                                7133 Gleason Rd                                                                                                     Edina                MN       55439-1610
 John Fossey Morrow                                           6141 Sherman Cir                                                                                                    Minneapolis          MN       55436
 John H Matthews                                              6434 Renwick Cir                                                                                                    Tampa                FL       33647
 John H Owoc                                                  16720 Stratford Ct                                                                                                  Southwest Ranches    FL       33331
 John James Farrar                                            3719 Northwest 84th Ave                               Apt 3C                                                        Sunrise              FL       33351
 John Jeffrey Arias                                           4610 KeSuiter Ave 8 Sherman                                                                                         Oaks                 CA       91403
 John Kaufman                                                 5570 NW 107th Ave #910                                                                                              Doral                FL       33178
 John Lenore & Company                                        1250 Delevan Dr                                                                                                     San Diego            CA       92102-2437
 John Leonard Hurley                                          925 Whitlock Ave Sw                                                                                                 Marietta             GA       30064-1994
 John Matheson                                                5930 Cherry Oak Dr                                                                                                  Valrico              FL       33596
 John Matthews                                                1324 Arrowsmith Ave                                                                                                 Orlando              FL       32809
 John Melendez                                                10048 SW 220th St                                                                                                   Cutler Bay           FL       33190-1528
 John Melendez Hernandez                                      10048 Southwest 220th St                                                                                            Miami                FL       33190
 John Michael Herrera                                         2134 SW 12th St                                                                                                     Miami                FL       33135
 John P Olkowicz                                              3370 Patterson Rd                                                                                                   Haines City          FL       33844
 John P Smith                                                 2531 SW 2nd Ter                                                                                                     Cape Coral           FL       33991-1201
 John Paul Smith                                              2531 Southwest 2nd Terrace                                                                                          Cape Coral           FL       33991
 John Paul Smith II                                           2531 SW 2nd Terr                                                                                                    Cape Coral           FL       33993
 John Peralta                                                 2640 SW 150th Ct                                                                                                    Miami                FL       33185-5620
 John Puente                                                  7105 NW 70th St                                                                                                     Tamarac              FL       33321



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                       Name                  Attention                                Address 1                               Address 2         Address 3                City     State        Zip           Country
 John R Omeara                                               7079 Chesapeake                                                                                Boyton Beach         FL       33436
 John R. Ames, CTA                                           PO Box 139066                                                                                  Dallas               TX       75313-9066
 John Ryan Bordewich                                         2120 North Brevard St                             Apt 308                                      Charlotte            NC       28206
 John Sadowski                                               891 Enclair St                                                                                 Orlando              FL       32828
 John Schrody                                                711 Longwood Dr                                                                                Allen                TX       75013
 John Sweeney                                                11933 Tree Sparrow Rd                                                                          Charlotte            NC       28278-0092
 John Turner Rosen                                           17560 Atlantic Blvd #317                                                                       Sunny Isles Beach    FL       33160
 John W William                                              1288 NE 150th St                                                                               Miami                FL       33161
 John W. Ruffinelli                                          2417 W Campbell Ave 106                                                                        Phoenix              AZ       85015-4343
 John William Allen Ruffinelli                               2417 West Campbell Ave                            Apt 106                                      Phoenix              AZ       85015
 John William Hall                                           13364 Beach Blvd                                  Unit 940                                     Jacksonville         FL       32224
 John Zappia                                                 636 Dorothy Dr                                                                                 Charlotte            NC       28203
 Johnathan Harris                                            991 Tappan Cir                                                                                 Orange City          FL       32763
 Johnathan Riley Robinette                                   616 Cherry Ave                                                                                 Sumner               WA       98390
 Johnson - Lancaster and Associates, Inc.                    13031 Us 19 N                                                                                  Clearwater           FL       33764-7224
 Johnson & Johnson Inc.                                      197 SW Waterford Ct                                                                            Lake City            FL       32025
 Johnson Controls                                            5757 N Green Bay Ave                                                                           Milwaukee            WI       53209
 Johnson Distributing Co.                                    4571 N Valdosta Rd                                                                             Valdosta             GA       31602-6822
 Johnson Environmental Services All Liquid                   4600 PowerliNE Rd                                                                              Ft Lauderdale        FL       33309-3838
 Johnson Mark LLC                                            PO Box 7811                                                                                    Sandy                UT       84091-7811
 Johny Alcina                                                5945 Dellago Cir #209                                                                          Sunrise              FL       33313
 Joleen Marie Diaz                                           5178 Mowry Ave #240                                                                            Fremont              CA       94536
 Jolene Brieann Gularte                                      3608 Shamrock Way #102                                                                         Tracy                CA       95377
 Jolene Gularte Whiskey Tango Fitness                        849 Cherry Blossom Ln                                                                          Tracy                CA       95377-8295
 JOMAST Corp. DBA: Mahaska                                   1407 17th Ave E                                                                                Oskaloosa            IA       52577-3509
 Jon Michael Lamar                                           103 Russell St                                                                                 Lorena               TX       76655
 Jon N Shepherd                                              713 SW 157th St                                                                                Oklahoma City        OK       73170
 Jon Paul Piques                                             5440 Tujunga Ave                                                                               North Hollywood      CA       91601
 Jonathan Adam Gamboa                                        4139 Paramount Blvd                               Apt 4                                        Pico Rivera          CA       90660
 Jonathan Alphonse                                           4639 Jetty St                                                                                  Orlando              FL       32817
 Jonathan Beck                                               3718 SW 24th Ave 52A                                                                           Gainesvil            GA       32607
 Jonathan Betancur                                           6055 NW 105 Ct                                    Apt 725                                      Doral                FL       33178
 Jonathan Betancur Mejia                                     Carrera 38 #11-48                                                                              Medellin                      50021        Colombia
 Jonathan Bo Blaylock                                        1502 Cannonade Ct                                                                              Lutz                 FL       33549
 Jonathan Castano Acero                                      1703/130 Elizabeth St                                                                          Sydney                        NSW 2000     Australia
 Jonathan D Hairston                                         12201 West Lincoln St                                                                          Avondale             AZ       85323
 Jonathan David Quirarte                                     5504 Kelsey Dr                                                                                 Columbia             MO       65202
 Jonathan Delia                                              18262 Huckleberry Rd                                                                           Fort Myers           FL       33967
 Jonathan E. Hernandez                                       11 E Forsyth St                                                                                Jacksonville         FL       32202
 Jonathan Eric Woods                                         6501 Liberty St                                                                                Hollywood            FL       33024
 Jonathan James Nesbitt                                      9301 Old Bee Caves Rd                             Apt 511                                      Austin               TX       78735
 Jonathan Joseph Popyk                                       9873 Lawrence Rd                                  Apt L108                                     Boynton Beach        FL       33436
 Jonathan Justin Interiano                                   9833 N 41St Ave                                                                                Phoenix              AZ       85051-1012
 Jonathan Klaasen                                            5399 BrookstoNE Ln                                                                             Greenwood            IN       46142
 Jonathan Lingao                                             2370 Conner St                                                                                 Colton               CA       92324
 Jonathan Lowe                                               4525 Fort Mchenry Parkway                                                                      Glen Allen           VA       23060
 Jonathan Lynch                                              130 Jackson Rd                                                                                 Atlantic Beach       FL       32233
 Jonathan M Rivero                                           5284 Wellington Park Cir A17                                                                   Orlando              FL       32839
 Jonathan M. Madrid                                          28797 MoonriSE Way                                                                             Menifee              CA       92584
 Jonathan Manning                                            12393 Windy Ln                                                                                 Forney               TX       75126
 Jonathan Mayer                                              1328 West Renee Dr                                                                             Phoenix              AZ       85027
 JONATHAN MENENDEZ                                           11801 SW 171St Ter                                                                             Miami                FL       33177-2164
 Jonathan Michael Benware                                    1935 South Voyager Dr                                                                          Gilbert              AZ       85295
 Jonathan Michael Rosenberg                                  12650 Southwest 114th Ave                                                                      Miami                FL       33176
 Jonathan Olivares Juarez                                    1610 Paris Dr                                                                                  Grand Prairie        TX       75050
 Jonathan R Rios Rodriguez                                   30984 W Monterey Ave                                                                           Buckeye              AZ       85396
 Jonathan Shih                                               6410 WyndburNE Dr                                                                              Dublin               OH       43016
 Jones Lang LaSalle Americas, Inc. JLL                       200 E Randolph St                                                                              Chicago              IL       60601
 Jonica Keating                                              6500 Halcyon Way                                  Apt 428                                      Alpharetta           GA       30005
 Joogsquad, LLC                                              1 25th Ave                                                                                     Indian Rocks Beach   FL       33785
 Jordan A Cozart                                             2512 River Hills Ct                               Apt 1111                                     Arlington            TX       76006
 Jordan A Sellers                                            124 Chieftain Dr                                                                               Waxahachie           TX       75165
 Jordan Anthony Van Arsdale                                  3425 W Deer Valley Rd                             Apt 146                                      Phoenix              AZ       85027
 Jordan Bradley Trey                                         6152 Mountaindale Rd                                                                           Thurmond             MD       21788
 Jordan Casey                                                7540 East 33rd St                                                                              Tucson               AZ       85710
 Jordan Daniels                                              275 Wren Rd                                                                                    Bowling Green        KY       42101
 Jordan Daniels 1Nation Group LLC                            275 Wren Rd                                                                                    Bowling Green        KY       42101-7448
 Jordan Dwayne Brandon                                       5816 Storm Dr                                                                                  Watauga              TX       76148
 Jordan Forbes                                               8072 Waggonestrace Dr                                                                          Blackick             OH       43004
 Jordan Gaias                                                6418 E Maclaurin Dr                                                                            Tampa                FL       33647
 Jordan Javez Williams                                       905South Wildwood Dr                                                                           Irving               TX       75060
 Jordan Kissler                                              3733 Precision Dr 125                                                                          Fort Collins         CO       80528
 Jordan Lowe                                                 370 Jack Coleman Dr Nw                                                                         Huntsville           AL       35805-2636
 Jordan Lowe                                                 370 Coleman Dr                                                                                 Huntsville           AL       35805
 Jordan Morris                                               710 Randy Dr                                                                                   Mount Vernon         OH       43050



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 Jordan Morris                                               822 Guilford Ave                                                                              Huntington           IN       46750
 Jordan Paul Zariczny                                        13717 North 42nd St                              Apt 7                                        Tampa                FL       33613
 Jordan Pockrus                                              946 E 5000 S                                                                                  Ogden                UT       84403
 Jordan Powell                                               1414 Stickley Ave                                                                             Celebration          FL       34747
 Jordan Renner                                               960 Crockett Ave                                                                              Campbell             CA       95008
 Jordan Ricardo Trejo                                        6024 Tallie Rd                                                                                Fort Worth           TX       76112
 Jordan Smith                                                411 Pinnacle Ln                                                                               Huntersville         NC       28078
 Jordan Tucker                                               3276 Northside Pkwy NW 10106                                                                  Atlanta              GA       30327
 Jordan Tyler Patterson                                      88 Reynolds St                                                                                Bremen               GA       30110
 Jordan Tyler Storey                                         3244 Northwest 84th Ave                          Apt 410                                      Sunrise              FL       33351
 Jordan Watson                                               693 Watson Rd                                                                                 Parkersbury          WV       26104
 Jordan William John Clark                                   1031 SW 113th Terrace                                                                         Pembroke Pines       FL       33025
 Jordy Dominguez                                             14900 Newcastle Ln                                                                            Davie                FL       33331
 Jordyn Aaliyah Johnson                                      3140 Saint RoSE Parkway                          Apt 1192                                     Henderson            NV       89052
 Jorge Alvarez Jr.                                           21220 West Granada Rd                                                                         Buckeye              AZ       85396
 Jorge Cardenas                                              5056 North 71St Ave                                                                           Glendale             AZ       85303
 Jorge Cure                                                  542 Woodgate Cir                                                                              Sunrise              FL       33326
 Jorge G Olivas                                              13740 West Keim Dr                                                                            Litchfield Park      AZ       85340
 Jorge Lucero Olguin                                         4275 Marcwade Dr                                                                              San Diego            CA       92154
 Jorge Luis Rojas Rojas                                      7334 Northwest 75th St                                                                        Tamarac              FL       33321
 Jorge Melo                                                  8787 Woodway Dr                                  Apt 2107                                     Houston              TX       77063
 Jo's Globe Distributing Co.                                 1151 Greenbag Rd                                                                              Morgantown           WV       26508-1533
 Jose A Lopez                                                1600 N Park Dr                                                                                Weston               FL       33326-3278
 Jose A Valle Jr                                             5417 1St Ave E                                   Apt 205                                      Brandenton           FL       34208
 Jose Antonio Vazquez Rosales                                6120 ReeSE Rd                                    Apt 112                                      Davie                FL       33314
 Jose Antonio Viton Garcia                                   10451 SW 56th Terrace                                                                         Miami                FL       33173
 Jose Arango                                                 2441 Caretta Ave                                                                              Springhill           FL       34609
 Jose Arturo Lopez                                           9450 Live Oak Place                              Apt 108                                      Davie                FL       33324
 Jose Carlos Molina Lago                                     3301 Southwest 9th St                            Apt 24                                       Miami                FL       33135
 Jose Carmen Ortiz                                           4641 St Francis Ave                                                                           Dallas               TX       75227
 Jose Chavez                                                 12822 West Apodaca Dr                                                                         Litchfield Park      AZ       85340
 Jose D Zafra Inf Solutions Inc                              19674 NW 84th Pl                                                                              Hialeah              FL       33015
 Jose Daniel Hernandez Budet                                 5041 Southwest 94th Way                                                                       Cooper City          FL       33328
 Jose Daniel Lopez Zabolotnyj                                5416 Northwest 50th Ct                                                                        Coconut Creek        FL       33073
 Jose David Roque                                            2029 Aheahea St                                                                               Kailua               HI       96734
 Jose De Jesus Avalos Villegas                               1138 71St Ave                                                                                 Oakland              CA       94621
 Jose Ernesto Ortiz                                          442 SW 4th Ave                                                                                Fort Lauderdale      FL       33315
 Jose Favela                                                 18069 West Ida Ln                                                                             Surprise             AZ       85387
 Jose Fierros                                                3312 Meadow Trail E                                                                           Dekalb               IL       60115
 Jose G Garcia                                               2409 Fm 1187                                                                                  Crowley              TX       76036-4649
 Jose Guadalupe Garcia Rodriguez                             2409 West Farm To Market 1187                                                                 Crowley              TX       76036
 Jose Hernandez                                              1042 N Ridgewood Pl                                                                           Los Angeles          CA       90038
 Jose Joaquin Torres                                         698 NE 1St Ave 713                                                                            Miami                FL       33132-1813
 Jose Jose Carrion                                           1074 West 69th Place                                                                          Hialeah              FL       33014
 Jose Juan Cruzes                                            7579 West Oregon Ave                                                                          Glendale             AZ       85303
 Jose L Vasquez Javier                                       8205 NW 61St                                     Apt B204                                     Tamarac              FL       33321
 Jose Luis Arias                                             3016 Summer HouSE Dr                                                                          Valrico              FL       33594
 Jose Luis Rodriguez Ortiz                                   4901 Waterway Ct                                 Apt 234                                      Orlando              FL       32839
 Jose Luis Yamasaki                                          7833 Northwest 70th Ave                                                                       Parkland             FL       33067
 Jose M Beltran Castro                                       9152 Pershore Place                                                                           Tamarac              FL       33321
 Jose Manuel Mata                                            3870 Prescott Loop                                                                            Lakeland             FL       33810
 Jose Manuel Sotolongo Travieso                              843 SE 8th Ct                                                                                 Hialeah              FL       33010
 Jose Martinez                                               11272 Cypress Ave                                                                             Riverside            CA       92505
 Jose Martinez-JMoon Productions, LLC                        9370 SW 87th Ave S2                                                                           Miami                FL       33176
 Jose Medina                                                 7410 E Drummer Ave                                                                            Mesa                 AZ       85208
 Jose Miguel Carrasco Escajadillo                            261 Highway 85 Connector                                                                      Brooks               GA       30205
 Jose Miguel Montero                                         4115 Copper Canyon Blvd                                                                       Valrico              FL       33594
 Jose Moreno                                                 3741 West Oregon Ave                                                                          Phoenix              AZ       85019
 Jose Palacios                                               19786 West Lincoln St                                                                         Buckeye              AZ       85326
 Jose Rodriguez                                              5516 Pageant Place                                                                            Margate              FL       33063
 Jose Sandoval                                               9968 Arleta Ave                                                                               Arleta               CA       91331
 Jose Steven Vasquez                                         2343 North Central Ave                           Apt 201                                      Kissimmee            FL       34741
 Jose Torres                                                 910 West Ave                                     Apt 1130                                     Miami Beach          FL       33139
 Jose Vallejo                                                2602 Brittany Dr                                                                              Garland              TX       75040
 Joseeramosefit, LLC Jose Ramos                              5228 Merced Dr                                                                                Fort Worth           TX       76137-5709
 Joseph Angelo Farella                                       10180 N Pine Islan Rd                                                                         Sunrise              FL       33351
 Joseph Anthony Orozco                                       3353 E Ave T2                                                                                 Palmdale             CA       93550-9241
 Joseph Berna Augustin                                       4110 NW 78th Way                                                                              Coral Springs        FL       33065
 Joseph Bravo                                                467 SE 5th St                                                                                 Hialeah              FL       33010
 Joseph Brown                                                1717 E Oak Arbor Dr                                                                           Gilbert              AZ       85234
 Joseph Christopher Johnson                                  263 Timberlake Cir                                                                            Douglasville         GA       30134
 Joseph Clark                                                1601 NW 4th St                                                                                Boca Raton           FL       33486
 Joseph Cottrell                                             1628 Ballard Park Dr                             Unit A                                       Bradenton            FL       34205
 Joseph Douglas Farris                                       1024 N 2nd Ave                                   Apt 436C                                     Phoenix              AZ       85003
 Joseph Dugais                                               2220 West Mission Ln                             Apt 1105                                     Phoenix              AZ       85021



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 Joseph Fermin Hernandez                                        1778 North Desert Willow Stree                                                                  Casa Grande          AZ       85122
 Joseph Figueroa                                                902 Palisade Ct                                                                                 Roseville            CA       95661
 Joseph Francisco Morales                                       291 East 4th Ave                                   Apt 4                                        Hialeah              FL       33010
 Joseph G Hanna                                                 2065 West Lymington Way                                                                         St Augustine         FL       32084
 Joseph Huntowski                                               25262 Trelliage Ave                                                                             Plainfield           IL       60585
 Joseph Huntowski Joe Huntowski Joe Huntowski                   2232 N Sayre Ave                                                                                Chicago              IL       60707-3211
 Joseph Ivan Sanders                                            15345 North Scottsdale Rd                                                                       Scottsdale           AZ       85254
 Joseph J Albanese                                              38 Jeanette Ct                                                                                  Plantsville          CT       06479
 Joseph Jesus Deniz                                             6943 West Hubbell St                                                                            Phoenix              AZ       85035
 Joseph Lopez                                                   1790 Mercer Parkway East                           Apt 3201                                     Farmers Branch       TX       75234
 Joseph Lutfy                                                   1030 Knox Rd                                                                                    Anderson             SC       29625
 Joseph Macklin III                                             2334 West Tanner Ranch Rd                                                                       San Tan Valley       AZ       85142
 Joseph McKim                                                   8771 Wesleyan Dr 1602                                                                           Fort Myers           FL       33919
 Joseph Mendoza                                                 10707 La Reina Ave 102                                                                          Downey               CA       90241
 Joseph Michael Davy                                            15064 Calle Verano                                                                              Chino Hills          CA       91709
 Joseph Michael Gates                                           4904 Needles Ct                                                                                 Las Vegas            NV       89130
 Joseph Michael Perez                                           2241 S Sherman Cir C316                                                                         Miramar              FL       33025
 Joseph Michael Shulkin                                         11508 Emelita St # 11508                                                                        N Hollywood          CA       91601-1003
 Joseph Nickell                                                 1491 Old 122 Rd                                                                                 Lebanon              OH       45036
 Joseph Orefice                                                 7131 Sandusky Blvd                                                                              Concord              NC       28027
 Joseph Pontarelli                                              432 Timonthy Ct                                                                                 Schaumburg           IL       60193
 Joseph Powers                                                  PO Box 537                                                                                      Phoenix              AZ       85001
 Joseph Reed                                                    14646 Kittridge St                                                                              Van Nuys             CA       91405
 Joseph Roosta                                                  16300 Golf Club Rd 214                                                                          Weston               FL       33326
 Joseph Ryan Coles                                              1209 W Fern Dr                                                                                  Fullerton            CA       92833
 Joseph Santoro                                                 30 Buttercup Ln                                                                                 Levittown            NY       11756-2311
 Joseph Serrano Joe                                             5009 Cannon Bluff Dr                                                                            Woodbridge           VA       22192
 Joseph Sim                                                     19644 Nashville St                                                                              Chatsworth           CA       91311-1938
 Joseph Simplicio Joseph                                        10641 SW 47th Ave                                                                               Ocala                FL       34476
 Joseph Tallent                                                 8431 74th Ave N                                                                                 Seminole             FL       33777
 Joseph W Susdorf Jr. Joseph                                    1610 Pebble Beach Blvd                                                                          Green Cove Springs   FL       32043
 Joseph Xavier Sotelo                                           15850 West Caribbean Ln                                                                         Surprise             AZ       85379
 Josephine Lopez                                                7943 West Hess Ave                                                                              Phoenix              AZ       85043
 Josh Dupree                                                    56 The Dr                                                                                       Uxbridge                      UB10 8AG     United Kingdom
 Josh Palerlin LLC Josh Lin (Chi Chen Lin)                      2851 Rolling Hills Dr Spc 182                                                                   Fullerton            CA       92835
 Joshua A Kelly                                                 11831 NW 31St St                                                                                Sunrise              FL       33323
 Joshua A Roles                                                 10911 Northwest 39th St                            Apt 204                                      Sunrise              FL       33351
 Joshua Alan Whitlatch                                          3641 Turtle Run Blvd 922                                                                        Coral Springs        FL       33067-4239
 Joshua Amill                                                   3780 NW 2nd St                                                                                  Lauderhill           FL       33311
 Joshua Avery                                                   2500 166 Pepperwood St                                                                          Farmers Branch       TX       75234
 Joshua Baillargeon                                             4758 Zealand St                                                                                 Dallas               TX       75216
 Joshua Brooks                                                  1335 N La Brea Ave 201                                                                          Los Angeles          CA       90028
 Joshua Cabrera                                                 3468 Foxcroft Rd # 308                                                                          Miramar              FL       33025
 Joshua Cureton                                                 8108 Prescott Glen Parkway                                                                      Waxhaw               NC       28173
 Joshua D Ziner                                                 5037 Wynford Ct                                                                                 Harrisburg           NC       28075
 Joshua Daniel Britton                                          16118 W Miami St                                                                                Goodyear             AZ       85338
 Joshua David Wilson                                            10543 Northwest 3rd St                                                                          Pembroke Pines       FL       33026
 Joshua Edwards                                                 7400 Tallow Wind Trail                             Apt F                                        Fort Worth           TX       76133
 Joshua Eliot                                                   1301 Southwest 82nd Ave                                                                         Plantation           FL       33324
 Joshua Ellison                                                 12704 Waterford Willow Ln 306                                                                   Orlando              FL       32828
 Joshua Eveline                                                 120 SW 332nd St 0110                                                                            Federal Way          WA       98023
 Joshua Griego                                                  5828 Ermemin Ave Northwest                                                                      Albuquerque          NM       87114
 Joshua Griffin                                                 189 Cr 428                                                                                      Lorena               TX       76655
 Joshua Grundner                                                2302 South Maki Rd                                 Apt 5                                        Plant City           FL       33563
 Joshua Jeremiah                                                4 Mount Allison Bay                                                                             Winnipeg             MB       R3T 3L5      Canada
 Joshua Jolly                                                   64 City View Ave                                                                                Jamestown            NY       14701
 Joshua Kaleb Parris                                            1025 Jessica Dr                                                                                 Burleson             TX       76028
 Joshua Keith Baker Jash                                        7301 Canal Dr                                                                                   Sanford              FL       32771
 Joshua Kim                                                     2254 Lake Cove Ct                                                                               Buford               GA       30519
 Joshua Kozak                                                   6048 Madison Ave                                                                                Ottumwa              IA       52501
 Joshua Krumich                                                 1157 Madura Dr                                                                                  Deltona              FL       32725
 Joshua L Cook                                                  679 E Michigan Ave 604                                                                          Foley                AL       36535-3101
 Joshua L Gann                                                  6332 Porthole Ln                                                                                Fort Worth           TX       76179
 Joshua L Hollman                                               5531 S 36th St                                                                                  Greenacres           FL       33463
 Joshua L Mora                                                  917 Ontario Dr                                                                                  Garland              TX       75040
 Joshua Lochner                                                 41 Chearlsey Rd                                                                                 Westville                     3629         South Africa
 Joshua Lynn Cook                                               16790 Edward Dr                                                                                 Gulf Shores          AL       36542
 Joshua Martinez                                                1057 W 73rd St                                                                                  Los Angeles          CA       90044
 Joshua Mathew Itty                                             11776 Southwest 1St St                                                                          Coral Springs        FL       33071
 Joshua Melonas                                                 7590 Utica Dr                                                                                   Littleton            CO       80128
 Joshua Mota Josh                                               1801 NE 62nd St                                                                                 Fort Lauderdale      FL       33308
 Joshua Picore                                                  2904 West Glenhaven Dr                                                                          Phoenix              AZ       85045
 Joshua S Coffee                                                1411 Valleyridge Dr #A                                                                          Austin               TX       78704
 Joshua S Dauenhauer                                            1600 N Park Dr                                                                                  Weston               FL       33326-3278
 Joshua Scott Dauenhauer                                        920 East 18th Ave #4                                                                            Denver               CO       80218



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                        Name                      Attention                               Address 1                               Address 2         Address 3                City    State        Zip          Country
 Joshua Stephen Bryan                                             1243 Bay Area Blvd 2308                                                                       Houston             TX       77058
 Joshua Steve Moreno                                              26788 North Claudette St                         Apt 356                                      Canyon Country      CA       91351
 Joshua Suarez                                                    27803 Audrey CT                                                                               Canyon Country      CA       91351
 Joshua Suarez                                                    600 N Central Ave 653                                                                         Glendale            CA       91203
 Joshua Wayne Roth                                                6715 W Fremont Rd                                                                             Laveen              AZ       85339
 Joshua Whitlatch                                                 3641 Turtle Run Blvd Apt922                                                                   Coral Springs       FL       33067
 Josiah Peterson                                                  5402 West Mescal St                                                                           Glendale            AZ       85304
 Josiry Cirino                                                    25 NE 5th St                                                                                  Miami               FL       33132-1926
 Josney Ruiz                                                      90 SW 3rd St 2202                                                                             Miami               FL       33130
 Jost Chemical Co.                                                8150 Lackland Rd                                                                              Saint Louis         MO       63114-4524
 Josue Vargas Mercado                                             200 NE 38th St 5                                                                              Oakland Park        FL       33334
 Jourdan Ewing                                                    700 Barrywood Ct                                 Apt 1134                                     Fort Worth          TX       76112
 Joxsel I Rodriguez Cortes                                        9552 Tomahawk Trl                                                                             Fort Worth          TX       76244
 JSV Conception, Inc                                              706 S Hill St Suite 770                                                                       Los Angeles         CA       90014
 Juan Alberto Gaytan Donosa                                       299 North Comanche Dr                                                                         Chandler            AZ       85224
 Juan Avila                                                       15225 West Hearn Rd                                                                           Surprise            AZ       85379
 Juan Botero Botero Photography                                   2925 NW 130th Ave                                                                             Sunrise             FL       33323-3085
 Juan C Miranda                                                   2650 Southwest 31St Ct                                                                        Miami               FL       33133
 Juan C Rugliancich                                               2065 Portcastle Cir                                                                           Winter Garden       FL       34787
 Juan C Ruiz                                                      653 Bedford Ave                                                                               Weston              FL       33326
 Juan Camilo Mena Giraldo                                         670 Star Magnolia Dr                                                                          Kissimee            FL       34744
 Juan Carlos Gutierrez                                            14912 Southwest 36th St                                                                       Davie               FL       33331
 Juan Carlos Rios                                                 825 North Rowan Ave                                                                           Los Angeles         CA       90063
 Juan Cura                                                        1604 Blue Jay Dr                                                                              Ennis               TX       75119
 Juan Francisco Garza                                             5010 South 6th St                                                                             Phoenix             AZ       85040
 Juan Gabriel Munoz Nieves                                        5535 Trist Ct                                                                                 Redding             CA       96003
 Juan Gabriel Perez Jimenez                                       531 North PiNE St                                                                             Sebring             FL       33870
 Juan Gonzalo Parra Luxury Rentals                                237 Desert Willow Way                                                                         Austin              TX       78737
 Juan Gonzalo Velez Cock                                          5630 Northwest 114th Path                        Apt 105                                      Doral               FL       33178
 Juan M Arango                                                    5430 NW 90 Terrace                                                                            Sunrise             FL       33351
 Juan M Bustios                                                   4473 Blossom Ln                                                                               Weston              FL       33331
 Juan M Jimenez                                                   1600 N Park Dr                                                                                Weston              FL       33326-3278
 Juan M Ramos                                                     1600 N Park Dr                                                                                Weston              FL       33326-3278
 Juan Manuel Jimenez                                              26487 Arboretum Way                              Unit 2103                                    Murrieta            CA       92563
 Juan Manuel Ramos                                                142 Wilton Dr                                    Apt 3                                        Campbell            CA       95008
 Juan Manuel Rojas Salazar                                        18946 NW 63 Rd Ct Cir                                                                         Hialeah             FL       33015
 Juan Pablo Arenas                                                489 Eastbridge Dr                                                                             Oviedo              FL       32765
 Juan R Lamboy                                                    30555 BirdhouSE Dr                                                                            Wesley Chapel       FL       33545
 Juan Ramirez-Ramirez                                             171 Georgia St Southwest                                                                      Concord             NC       28025
 Juan Rodriguez Valencia                                          12349 NW 52nd Ct                                                                              Coral Springs       FL       33076
 Juan Sebastian Silva Martinez                                    Cr 26 #71b-30                                                                                 Cundimamarca                 111211       Colombia
 Juan Solis                                                       3625 East Chandler Blvd                                                                       Phoenix             AZ       85048
 Juan Somarriba                                                   162 NE 25th St                                                                                Miami               FL       33137
 Juan Trujillo                                                    660 W Millett Dr                                                                              Dallas              TX       75232
 Juana Maria Marin                                                11120 Mckinley Dr                                                                             Venus               TX       76084
 Juanita H Medina                                                 5775 W Roosevelt St #213                                                                      Phoenix             AZ       85043
 Jucary Airam Estrada                                             1725 Main St                                     Apt 1010                                     Houston             TX       77002
 Judith Quevedo                                                   425 NE 22nd St 1908                                                                           Miami               FL       33137
 Jugjit Bains                                                     16515 NW 13th Ct                                                                              Pembroke Pines      FL       33028
 Jules Forney                                                     45 Lyndale Ave                                                                                Nottingham          MD       21236
 Julia Demayo                                                     1201 University Blvd 2442 D                                                                   Orlando             FL       32817
 Julia Gallagher                                                  12101 University Blvd Room                       Apt 2114                                     Orlando             FL       32817
 Julia Mccoy                                                      3030 S Alma School Rd 32                                                                      Mesa                AZ       85210
 Julia Raleigh                                                    30 Patriot Parkway #107                                                                       South Weymouth      MA       02190
 Julia Taylor                                                     847 Enfield St                                                                                Boca Raton          FL       33487
 Julian A Sierra                                                  1600 N Park Dr                                                                                Weston              FL       33326-3278
 Julian Alejandro Mejia                                           2380 NE 183rd Terrace                                                                         Miami               FL       33160
 Julian Andres Sierra                                             1830 Radius Dr                                   Apt 722                                      Hollywood           FL       33020
 Julian Brandon Davis                                             2851 Thornhill Rd                                                                             Winter Haven        FL       33880
 Julian Cerecedo-McFarlane                                        3260 NW 104th Ave                                                                             Coral Springs       FL       33065
 Julian W Feiss                                                   4930 Magnolia Run Dr                                                                          Sugarland           TX       77478
 Juliana Custido De Sousa                                         5835 Sunland St                                                                               Louisville          OH       44641-9391
 Juliana Lloreda                                                  10902 NW 83rd St Building 7 210                                                               Doral               FL       33178
 Juliana MacIas Hurtado                                           11030 SW 25th St 2307                                                                         Miramar             FL       33025
 Julianna Lippe                                                   1535 Everglades Blvd S                                                                        Naples              FL       34117
 Julianne Chanel Hoberg                                           2230 San Diego Ave                               Apt 7                                        San Diego           CA       92110
 Julie Pauline Rodrguez                                           55 SW 9th St                                                                                  Miami               FL       33130
 Julie Pauline Rodriguez Bodies By Pauline, LLC                   55 SW 9th St                                                                                  Miami               FL       33130-3990
 Julietta Celine Duhaime                                          416 Commerce Ae 8                                                                             Morehead            NC       28557
 Juliette Alexandra Rossi                                         4289 Reflections Blvd 203                                                                     Sunrise             FL       33351
 Julio C Carrillo                                                 17302 Chatsworth St                              Apt 6                                        Granada Hills       CA       91344
 Julio G. Alvarez                                                 10 SW South River Dr                                                                          Miami               FL       33130
 JuliusWorks, Inc                                                 114 W 26th St 5th Floor                                                                       New York            NY       10001
 Junior Derival                                                   7530 Ramona St                                                                                Miramar             FL       33023
 Junior Rafael Silverio                                           11974 Philosophy Way                                                                          Orlando             FL       32832



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                        Name                      Attention                               Address 1                                 Address 2                    Address 3                 City    State         Zip          Country
 Jurisco                                                          PO Box 12939                                                                                               Tallahassee          FL       32317-2939
 Just Doors and Motors, Inc. Impact Garage Door                   1305 W 46 St Suite 113                                                                                     Hialeah              FL       33012
 Justice J. Cook                                                  12818 W Monte Vista Rd                                                                                     Avondale             AZ       85392
 Justice Wallace                                                  3756 North 309th Ct                                                                                        Buckeye              AZ       85396
 Justin A Silva                                                   8385 Narcoossee Rd                                                                                         Orlando              FL       32827-5625
 Justin Alexander Scott                                           1416 Vinetice Dr                                                                                           Brandon              FL       33510
 Justin Bauer                                                     6477 Dorset Ln                                                                                             Solon                OH       44139
 Justin Brumfield                                                 4400 Northwest 8th St                                                                                      Coconut Creek        FL       33066
 Justin Campbell                                                  801 North Fairfax 209                                                                                      Los Angeles          CA       90046
 Justin Daniel Nunez                                              13436 Cypress Ave                                                                                          Chino                CA       91710
 Justin DePaul                                                    1600 E SunriSE Blvd 3614                                                                                   Fort Lauderdale      FL       33304
 Justin James Richard Cescenti                                    537 Sagewalk Ct                                                                                            Oakdale              CA       95361
 Justin Jasper                                                    1190 E Washington St                             Unit 402S                                                 Tampa                FL       33602
 Justin Jasper Juntin                                             555 NE 34th St #1608                                                                                       Miami                FL       33137
 Justin M. Stevens                                                4826 W Milada Dr                                                                                           Laveen               AZ       85339-4215
 Justin Michael Castro                                            17617 N 9th St 3105                                                                                        Phoenix              AZ       85022
 Justin Michael Stevens                                           4826 W Milada Dr                                                                                           Phoenix              AZ       85339
 Justin Paul Hollowinski                                          575 West Pecos Rd                                Apt 1016                                                  Chandler             AZ       85225
 Justin Ricardo Jordan                                            1081 Jefferson Ave                                                                                         East Point           GA       30344
 Justin Richard Blomberg                                          14809 North 125th Ave                                                                                      El Mirage            AZ       85335
 Justin Russ                                                      1002 Linden Ave #205                                                                                       Charlottesville      VA       22902
 Justin Shove                                                     10708 NE 65th St                                                                                           Vancouver            WA       98662
 Justin Thomas Niemeyer                                           1720 Northeast 40th Ct                                                                                     Oakland Park         FL       33334
 Justin Ware                                                      25 Glenbrook Rd 517                                                                                        Stamford             CT       06902-2875
 Justine Holmes                                                   856 Jacques St                                   Manhein Estate                Moreleta Park               Pretoria                      0044         South Africa
 K Schlick LLC Big Pine Self Storage                              PO Box 788                                                                                                 Big Pine             CA       93513-0788
 Kaboom!, LLC                                                     19976 Calvert St                                                                                           Woodland Hills       CA       91367
 Kabrick Distributing                                             1809 S Benjamin Ave                                                                                        Mason City           IA       50401
 KAEKO, Inc                                                       451 N Dean Ave                                                                                             Chandler             AZ       85226-2745
 Kai M Bunge                                                      10328 Monaco Dr                                                                                            Jacksonville         FL       32218
 Kai Magnus Tabuchi                                               913 Northeast 17th St                            Apt 2                                                     Fort Lauderdale      FL       33305
 Kailah Caplan                                                    14625 South Mountain Pkwy 2025                                                                             Phoenix              AZ       85044
 Kailey Gillings                                                  9011 North Point Dr                                                                                        Beach City           TX       77523
 Kaili Hill                                                       408 Echaniz Ct                                                                                             Sparks               NV       89441-5511
 Kaiser Downing                                                   1227 Parkhurst Ave Nw                                                                                      Grand Rapids         MI       49504
 Kaitlin Elwyn Alexander                                          1901 NW 79th Ave                                                                                           Margate              FL       33063
 Kaitlin N. Reagan                                                1877 West 8th St                                                                                           Brooklyn             NY       11223
 Kaitlyn Aprile                                                   911 W Park Ave                                                                                             Long Beach           NY       11561
 Kaitlyn Aquino                                                   2356 Treescape Dr                                                                                          Charleston           SC       29414
 Kaitlyn Burkett Katie                                            2173 Timberwood Cir S                                                                                      Tallahassee          FL       32304
 Kaitlyn Jean Anderson                                            10200 Giles St 1303                                                                                        Las Vegas            NV       89183
 Kaitlyn Johnson                                                  9009 WeSuitern Lake Dr 1209                                                                                Jacksonville         FL       32256
 Kaitlyn Plowman                                                  2 Valleywood Dr                                                                                            Schenectady          NY       12309
 Kaitlyn Thomas Katie                                             19783 James Way Dr                                                                                         Strongsville         OH       44149
 Kaitlyn Virginia Rothwell                                        5115 West Orchid Ln                                                                                        Glendale             AZ       85302
 Kajal Shailesh Boghara                                           510 Northeast 17th Ave                           Apt 101                                                   Fort Lauderdale      FL       33301
 Kalani Hilliker Entertainment, Inc.                              9200 Sunset Blvd PenthouSE 22                                                                              Los Angeles          CA       90069
 Kaleigh O'Connell                                                1120 NE Pierce Place                                                                                       Lees Summit          MO       64086
 Kalen Andre Owens                                                4313 Creekstone Dr                                                                                         Plano                TX       75093
 Kalen Bull                                                       6564 Secluded Ave                                                                                          Las Vegas            NV       89110
 Kalena Kelly-Rossop                                              421 N Woodland Blvd                              Unit 7285                                                 Deland               FL       33723
 Kaley Lopresti                                                   9700 Muller Rd                                                                                             Fort Pierce          FL       34945
 Kalis Kleiman & Wolfe                                            7320 Griffin Rd                                                                                            Davie                FL       33314
 Kalmon Laroy Stokes                                              937 Arborfield Dr                                                                                          Matthews             NC       28105
 Kaman Industrial Technologies                                    File 25356                                                                                                 Los Angeles          CA       90074-0001
 Kamogelo Masango                                                 913 Pam St                                       Sedibeng                                                  Tembisa                       1632         South Africa
 Kamogelo Ramaboto                                                Hendrik Van Eck Blvd 3                           Gauteng                                                   Vanderbijlpark                1930         South Africa
 Kamps Pallets                                                    PO Box 675126                                                                                              Detroit              MI       48267
 Kamry Moore                                                      5290 Big Island Dr 1310                                                                                    Jacksonville         FL       32246
 Kamylle Tan                                                      22101 Grand Corner Dr #2205                                                                                Katy                 TX       77494
 Kansas Dept. of Revenue Alcoholic Beverage                       PO Box 3506                                                                                                Topeka               KS       66601-3506
 Kansas Office of the Attorney General                            120 SW 10th Ave 2nd Fl                                                                                     Topeka               KS       66612
 Kansas Secretary of State                                        120 SW 10th Ave                                                                                            Topeka               KS       66612-1594
 Kappa Laboratories, Inc                                          2577 NW 74th Ave                                                                                           Miami                FL       33122-1417
 Kareem Antar                                                     25660 River Bend Dr # 37D                                                                                  Yorba Linda          CA       92887-6275
 Kareem Hesri                                                     3004 PayNE Ranch Rd                                                                                        Chino Hills          CA       91762
 Kareema Annetoinette Jones                                       4327 East Saint Anne Ave                                                                                   Phoenix              AZ       85042
 Karen Jessy Kwan                                                 19028 East Cardinal Way                                                                                    Queen Creek          AZ       85142
 Karen L Karie                                                    7725 S 67th Ln                                                                                             Laveen               AZ       85339-2757
 Karen Louise Karie                                               7725 South 67th Ln                                                                                         Phoenix              AZ       85339
 Karen Pineda                                                     78 Belmont St                                                                                              Englewood            NJ        7631
 Karen Talley                                                     216 Houston St                                                                                             Corsicana            TX       75110
 Karen Villareal                                                  12715 Vidorra Vista Dr                                                                                     San Antonio          TX       78216
 Kari G Murphy                                                    1600 N Park Dr                                                                                             Weston               FL       33326-3278
 Kari Gene Murphy                                                 2699 Wax Rd Southeast                                                                                      Aragon               GA       30104



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                       Name                  Attention                                 Address 1                               Address 2         Address 3                City     State        Zip           Country
 Kari Nichole Haupert                                        501 N Ocean Blvd 3                                                                              Boca Raton           FL       33432
 Karin Albright                                              6616 Dartmouth Rd                                                                               Lakeland             FL       33809
 Karin Moskalensky                                           5540 Pattilar Ave                                                                               Woodland Hills       CA       91367
 Karina Guerrero                                             6055 NW 105th Ct 512                                                                            Doral                FL       33178-6676
 Karina Tabuleau                                             3915 Shoreview Dr                                                                               Kissimmee            FL       34744
 Karise Leonard                                              1049 Beaver Creek Dr                                                                            Webster              NY       14580
 Karissa Ramos                                               3950 Rocky Cir B409B                                                                            Tampa                FL       33613
 Karl Farina                                                 2680 NW 79th Ave                                                                                Margate              FL       33063
 Karla A. Lopez                                              310 S Jefferson St 318                                                                          Placentia            CA       92870
 Karla Alejandra Lopez Ale                                   310 S Jefferson St # 31B                                                                        Placentia            CA       92870
 Karla Marie Management Group, LLC                           60 E Rio Salado Pwky 9th Floor                                                                  Tempe                AZ       85281
 Karlie Gray                                                 5346 Calf Rope Ln                                                                               Jacksonville         FL       32257
 Karlin Van Tonder                                           76 Suiteve Biko St                                                                              Potchefstroom                 2520         South Africa
 Karlville Beyond Converting                                 3600 NW 59th St                                                                                 Miami                FL       33142
 Karly V. Grillo                                             56 Attawan Rd                                                                                   Niantic              CT       06357
 Karolina Oravski                                            715 Crooked Run Rd                                                                              Rural Hall           NC       27045
 Karoline Alves Araujo                                       11841 Jefferson Common Cir                                                                      Orlando              FL       32816
 Karoline Rodriguez Medina                                   #9-70 Etapa 2 Torre 3                              Apt 203 C11 166                              Bogota                        111211       Colombia
 Karsten John Pascua Valeros                                 3018 El Ku Ave                                                                                  Escondido            CA       92025
 Kasey Patrick Peters Kasey                                  1016 Buckinghamn Ln                                                                             Newport Beach        CA       92660
 Kashon Whited                                               4898 WestcheSuiter Dr #4                                                                        Austintown           OH       44515
 Kassidy Floyd                                               11192 62nd Ln N                                                                                 West Palm Beach      FL       33412
 Katelyn Barton                                              310 S Jefferson St #47E                                                                         Placentia            FL       92870
 Katelyn Glick                                               3003 E Kellogg Dr 207                                                                           Wichita              KS       67211
 Katelyn Lordahl                                             8933 Lynwood Dr                                                                                 Seminole             FL       33772
 Katelyn Nicole Sisk                                         8110 Pike Rd                                       Apt 1316                                     Charlotte            NC       28262
 Katelyn Runck                                               3773 Bell Blvd E                                                                                West Fargo           ND       58078-8503
 Katelyn Williams                                            7045 Charmant Dr                                                                                San Diego            CA       92122
 KATHERINE ANDREINA CASTRO                                   381 Bermuda Springs Dr                                                                          Weston               FL       33326
 Katherine Bailey                                            2608 Forsythe Ln                                                                                Concord              NC       28025
 Katherine Correia                                           1001 NW 99th CT                                                                                 Miami                FL       33172
 Katherine E Vargas                                          770 Stanton Dr                                                                                  Weston               FL       33326
 Katherine Eidem                                             1949 E University Dr 4001                                                                       Tempe                AZ       85281-8863
 Katherine Elizabeth Fleshood                                1490 S Wausau St                                                                                Warsaw               IN       46580
 Katherine Michelle Gonzalez                                 20355 Northeast 34th Ct                            Apt 1123                                     Aventura             FL       33180
 Kathleen J Calderon-Sousa                                   1451 Northwest 108th Ave                           Apt 302                                      Plantation           FL       33322
 Kathleen Jimenez                                            12142 SW 249th St                                                                               Homestead            FL       33032
 Kathleen O'Connell                                          313 Northeast 2nd St                               Apt 205                                      Fort Lauderdale      FL       33301
 Kathlyn Rumpca                                              2110 Sioux Conifer Rd                                                                           Watertown            SD       57201
 Kathyrn Kearney                                             2144 Dartmouth Gate Ct                                                                          Wildwood             MO       63011
 Katie Angel Productions LLC                                 1001 NW 99th Ct                                                                                 Miami                FL       33172
 Katie Friedman                                              106 Lincoln Ct                                                                                  Deerfield Beach      FL       33442
 KaTom restaurant Supply, Inc.                               305 Katom Dr                                                                                    Kodak                TN       37764
 Katrina Cienna Villa                                        4949 Marbrisa Dr                                   Apt 1610                                     Tampa                FL       33624
 Katrina Giles                                               7617 Shoal Creek Blvd                                                                           Austin               TX       78757
 Kaufman & Kahn,LLP                                          65 Lefurgy Ave                                                                                  Hastings On Hudson   NY       10706
 Kavin Mcclintock                                            1236 Chalcedony St                                                                              San Diego            CA       92109
 Kaycee Guffey                                               9351 Nelson Park Cir                                                                            Orlando              FL       32817
 Kaycee S Vielma Gil                                         7000 Idyllwild Ln                                                                               Riverside            CA       92503
 Kaycha Holdings, LLC                                        4101 SW 47th Ave                                                                                Davie                FL       33314
 Kayla Bell                                                  1521 W Seybert St                                                                               Philadelphia         PA       19121
 Kayla Bloom                                                 1776 Polk St 616                                                                                Hollywood            FL       33020
 Kayla Breann Pierce Canales                                 125 Integra Village Trl #225                                                                    Sanford              FL       32771
 Kayla Carlile                                               1154 T St                                                                                        Springfield         OR       97477
 Kayla Carlile                                               1555 Fetters Loop                                                                               Eugene               OR       97402-6701
 Kayla Danielle Oglesby                                      1015 Revelle Dr                                                                                 Dixon                CA       95620
 Kayla Davies                                                7400 Hollywood Blvd #417                                                                        Hollywood            CA       90046
 Kayla Desenfants                                            2679 Tackles Dr                                                                                 White Lake           MI       48386
 Kayla Howden                                                350 Roseville Pkwy                                 Apt 2919                                     Roseville            CA       95747
 Kayla M Cosentino                                           11543 Linden Dr                                                                                 Spring Hill          FL       34608
 Kayla Mason                                                 3933 West Eden Roc Cir                                                                          Tampa                FL       33634
 Kayla Nicole Lee                                            1061 Laurel Glen Cir                               Unit 11                                      Spartanburg          SC       29301
 Kayla Ruiz Carpenter                                        1925 Deep Forest Trail                                                                          Raleigh              NC       27603
 Kayla Stewart                                               2442 State Route 343                                                                            Yellow Springs       OH       45387
 Kayla Topper                                                416 Zeffer Ct                                                                                   Spring Hill          TN       37174-0406
 Kayla Yvonne Baker                                          7 Scott's Way                                      Bedfordview                                  Gauteng                       2008         South Africa
 Kaylee A. Norton                                            394 Costa Del Sol Dr                                                                            St Augustine         FL       32095
 Kaylee Ann Summerville                                      1106 W 21St Ave                                                                                 Kennewick            WA       99337-4283
 Kaylee Carlson                                              20 Tracy St                                        Apt 1                                        Rochester            NY       14607
 Kaylee Estes                                                164 Sand PiNE Cir                                                                               Sanford              FL       32773
 Kaylee Grace Carlson                                        20 Tracy St 1                                                                                   Rochester            NY       14607-2479
 Kaylee Midkiff                                              14675 East St                                                                                   Mount Sterling       OH       43143
 Kaylee Victoria Galloway                                    4961 Isaac Ln                                                                                   Mason                OH       45040-1280
 Kaylene Pena                                                1413 Veracruz Ln                                                                                Weston               FL       33327
 Kayley Brogan Evans Newell                                  4246 Pilon Point                                                                                San Diego            CA       92130



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                        Name                 Attention                                Address 1                               Address 2         Address 3                City    State        Zip           Country
 Kayli Ann Phillips                                          366 Alemany Blvd                                                                               San Francisco       CA       94110
 KB Yachts of Florida, Inc.                                  172 S Fig Tree Ln                                                                              Plantation          FL       33317
 KCFOA Association                                           8700 W 95th St                                                                                 Overland Park       KS       66212-4049
 KCI Construction Services, LLC                              921 Mercantile Dr Suite H                                                                      Hanover             MD       21076
 Keafta Dokes                                                1860 Silverbell Terrace                                                                        Weston              FL       33327
 Kean Smith                                                  3611 Clarendon Rd                                                                              Brooklyn            NY       11203
 Kearny Mesa West (San Diego), LLC                           4700 Wilshire Blvd                                                                             Los Angeles         CA       90010
 Keaton Stewart BRUCE WAINE                                  3810 Law St                                                                                    Houston             TX       77005
 Keegan Thaver                                               8537 NW 47th St                                                                                Coral Springs       FL       33067
 Keeira Ford                                                 6610 N 93rd #3080                                                                              Glendale            AZ       85305
 Keely Cartrett                                              2090 LancaSuiter Square                                                                        Roswell             GA       30076
 Keiana Granda                                               3110 SW 118th Ct                                                                               Miami               FL       33175
 Keilly Munoz                                                585 W 25th St                                                                                  Hialeah             FL       33010
 Keion Terrell Cleare-Willis                                 6260 Wiles Ro # 201                                                                            Coral Springs       FL       33067
 Keiran S Larkin                                             5148 W Warner St                                                                               Phoenix             AZ       85043
 Keith Antoine Butler                                        506 Rosemont Dr                                                                                Decatur             GA       30032
 Keith Daniel McCarthy Jr                                    11424 Savannah Lakes Dr                                                                        Parrish             FL       34219
 Keith Redfern                                               9284 West Denton Ln                                                                            Glendale            AZ       85305
 Keith Super                                                 2352 West Sax Canyon Ln                                                                        Phoenix             AZ       85086
 Keith Vanderwarker                                          PO Box 1143                                                                                    Parker              CO       80134
 Keithan Park                                                1839 Locust St                                                                                 Pasadena            CA       91107
 Kela Transport                                              1567 E Summer St                                                                               Hartford            WI       53027
 Keller Logistics, LLC                                       24862 Elliot Rd                                                                                Defiance            OH       43512
 Keller Warehousing & Co-Packing LLC                         24862 Elliot Rd                                                                                Defiance            OH       43512
 Kelley Faulk                                                1408 10th Ave Se                                                                               Ruskin              FL       33570
 Kelley Kronenberg                                           10360 W State Rd 84                                                                            Fort Lauderdale     FL       33324
 Kelli Corrigan                                              3165 N Atlantic Ave B506                                                                       Cocoa Beach         FL       32931
 Kelli Dicicco                                               1921 Sherrye Dr                                                                                Plano               TX       75074
 Kellie Mignoli                                              10761 North Saratoga Dr                                                                        Hollywood           FL       33026
 Kellie Morga                                                859 Mccullough                                    Apt 403                                      Orlando F           FL       32803
 Kelly C Patterson Kelly                                     440 Sglenview Blvd 508N                                                                        Clearwater          FL       33767
 Kelly Distributors, LLC                                     PO Box 927                                                                                     Easton              MD       21601-8917
 Kelly Gardner                                               2700 Bayshore Blvd 4211                                                                        Dunedin             FL       34698
 Kelly Green                                                 1540 Vine St #633                                                                              Los Angeles         CA       90028
 Kelly Jacobi                                                4225 N 12th St                                    Apt 2503                                     Phoenix             AZ       85014
 Kelly Kayla Nguyen                                          8398 West Denton Ln                                                                            Glendale            AZ       85305
 Kelly Lyn Bailey                                            15306 W Banff Ln                                                                               Surprise            AZ       85379
 Kelly Meuanxaygakham                                        9830 W Tropicana Ave #212                                                                      Las Vegas           NV       89147
 Kelly Ocampo                                                10350 West Mcdowell Rd                            Apt 3219                                     Avondale            AZ       85392
 Kelly Quimpo                                                20609 Lenen Dr                                                                                 Hockley             TX       77447
 Kelly Rasoul                                                648 Janae Glen                                                                                 Escondido           CA       92025
 Kelly Services, Inc                                         PO Box 530437                                                                                  Atlanta             GA       30353-0437
 Kelly Smith                                                 307 Main Rd 703 Mount Curtis                      SeaPoint                                     Cape Town                    8005         South Africa
 Kelly X Davis Jr.                                           301 W 43rd Ave                                                                                 Gary                IN       46408
 Kelsey Harper                                               25 Lily Pond Ln                                                                                Chester Springs     PA       19425
 Kelsey Johnson                                              1015 Nutt St                                      Apt 438                                      Wilmington          NC       28401
 Kelsey Maize                                                2902 Lincoln Way                                                                               Ames                IA       50014
 Kelsey Schaneville                                          613 NE 2nd Ave                                                                                 Fort Lauderdale     FL       33304
 Kelsey Shay Gordon                                          115 Middleton St 444                                                                           Nashville           TN       37210-2262
 Kelsi A Tresco                                              6404 Ashington Cir                                                                             Plano               TX       75023
 Kelsie Collins                                              6 Cricket Ln                                                                                   Sandown             NH       03873
 Kelvin Hugo Velasquez                                       259 N Union Ave #106                                                                           Los Angeles         CA       90026
 Kelvion, Inc.                                               5202 West Channel Rd                                                                           Catoosa             OK       74015-3017
 Kely Vargas                                                 4467 NW 185th St                                                                               Miami Gardens       FL       33055-3080
 Kemp for Governor                                           PO Box 250006                                                                                  Atlanta             GA       30325-1006
 Kenadi Brown                                                20 Santee Ct                                                                                   Durham              NH       03824
 Kendal McMakin                                              1440 Harding Place 531                                                                         Charlotte           NC       28204
 Kendall Attwood                                             11857 Lady AnNE Cir                                                                            Cape Coral          FL       33991
 Kendall Debarge                                             5035 Gold Haven Dr                                                                             Richmond            TX       77407
 Kendall Hawkins                                             1613 Saint Gregory Dr                                                                          Las Vegas           NV       89117
 Kendall K. Vertes                                           11 Arbor Ct                                                                                    Irwin               PA       15642
 Kendall Lynn Glueck                                         5028 Jerry St 1                                                                                Lake Charles        LA       70605-5934
 Kendra Pfeil                                                1804 SW 53rd Ave                                                                               Plantation          FL       33317-6040
 Kendrick A Butler                                           1207 E Park Blvd 221                                                                           Plano               TX       75074
 Kendrick Mills                                              9470 Northwest 55th St                                                                         Sunrise             FL       33351
 Kendrick Ramlall                                            6661 Coolidge St                                                                               Hollywood           FL       33024
 Kendy Hora                                                  2025 Northwest 11th Ave                                                                        Fort Lauderdale     FL       33311
 Kenia J Villegas Gomez                                      2820 N Oakland Forest Dr # 202                                                                 Oakland Park        FL       33309
 Kenjo, Inc.                                                 PO Box 4848                                                                                    Maryville           TN       37802-4848
 Kenna Nicole Mikesell                                       1776 East Sierra Madre Ct                                                                      Gilbert             AZ       85296
 Kenneth Andrew Chapman                                      3940 Appletree Dr                                                                              Valrico             FL       33594
 Kenneth Barthelemy                                          1404 Sandpiper Ln                                                                              Lantana             FL       33462
 Kenneth Bernard Fields                                      1834 Northwoods Lake Ct                                                                        Duluth              GA       30096
 Kenneth David Harris                                        6153 N 89th Ave                                                                                Glendale            AZ       85305
 Kenneth Frietchen                                           4520 Angelina Way                                                                              Fort Worth          TX       76137



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                       Name                    Attention                                Address 1                                Address 2                 Address 3                 City       State        Zip           Country
 Kenneth Herrera                                               107-43 Inwood St                                                                                        Jamaica                 NY       11435
 Kenneth J Hartwick                                            1535 Evening Spirit Ave                                                                                 Las Vegas               NV       89183
 Kenneth Jay Averion                                           2648 E Workman Ave #3001109                                                                             West Covina             CA       91791
 Kenneth Juan                                                  4209 West Flora St                                                                                      Tampa                   FL       33614
 Kenneth P Doucet                                              22322 N Arrellaga Dr                                                                                    Sun City West           AZ       85375
 Kenneth Redwine                                               17364 County Rd #663                                                                                    Farmersville            TX       75442
 Kenneth Romero                                                905 Phoenix Way                                                                                         Weston                  FL       33327
 Kenneth Thomas Lirio                                          9008 NW 115th St                                                                                        Hialeah Gardens         FL       33018
 Kenneth Tyler Frank                                           320 Conestoga Way                                  Apt 1304                                             Henderson               NV       89002
 Kenny The Printer                                             675 N Main St                                                                                           Orange                  CA       92868
 Kenton D Powell                                               1600 N Park Dr                                                                                          Weston                  FL       33326-3278
 Kenton Dwayne Powell                                          1477 Pheasant Run                                                                                       New Richmond            WI       54017
 Kentucky Department of Revenue                                501 High St                                                                                             Frankfort               KY       40619-0006
 Kentucky Eagle Inc.                                           2440 Innovation Dr                                                                                      Lexington               KY       40511-8515
 Kentucky Office of the Attorney General                       Capitol Building                                   700 Capitol Ave Suite 118                            Frankfort               KY       40601
 Kerman Desir                                                  484 Westree Ln                                                                                          Plantation              FL       33324
 Kerra Harper                                                  5A Agapanthus Dr                                   Welgedacht                   WeSuitern Cape          Cape Town                        7530         South Africa
 Kerry Ingredients & Flavours Italia Spa                       Via Capitani di Mozzo 12/16                                                                             Mozzo                   BG       24030        Italy
 Kerry Joseph                                                  1300 NE 50 Ct 215                                                                                       Fort Lauderdale         FL       33334
 Keshaad Etrell Johnson                                        17544 W Hearn Rd                                                                                        Surprise                AZ       85388
 Keshaw Buckner & Luiza Musa                                   150 Robson Trail                                                                                        Mcdoungh                GA       30252
 Keshaw Buckner and Luiza Musa                                 7726 Galion Field Ln                                                                                    Cypress                 TX       77433
 Ketone Labs                                                   2157 S Lincoln St                                                                                       Salt Lake City          UT       84106-2306
 Keurig Dr Pepper Inc.                                         6425 Hall of Fame Ln                                                                                    Frisco                  TX       75034
 Kevin A Thompson                                              10619 W Clairmont Cir                                                                                   Tamarac                 FL       33321
 Kevin A. Cervantes                                            4915 Birch Cir                                                                                          Hickory                 NC       28602
 Kevin Andre Hamilton                                          14557 Zachary Dr South                                                                                  Jacksonville            FL       32218
 Kevin Britt                                                   7810 NW 68th Terrace                                                                                    Tamarac                 FL       33321
 Kevin Conde                                                   2829 SW 13th Ct                                                                                         Fort Lauderdale         FL       33312
 Kevin D Maulbetsch                                            3200 Hartley Rd                                    Apt 133                                              Jacksonville            FL       32257
 Kevin Dooley                                                  3501 Jepsen Dr # 3220                                                                                   Forth Worth             TX       72364
 Kevin Einsmann                                                1612 Allenton Ave                                                                                       Brandon                 FL       33511
 Kevin J Foster                                                1600 N Park Dr                                                                                          Weston                  FL       33326-3278
 Kevin James Burress                                           PO Box 1853                                                                                             Concord                 NC       28026
 Kevin Joseph Foster                                           3010 West Yorkshire Dr                             Apt 2009                                             Phoenix                 AZ       85027-3910
 Kevin Junior Jarrett                                          3710 Druids Dr Southeast                                                                                Conyers                 GA       30013
 Kevin Keane                                                   4309 N 18th St                                                                                          Phoenix                 AZ       85016
 Kevin Kennedy                                                 7577 East Calle Granada                                                                                 Anaheim                 CA       92808
 Kevin Koschier                                                10105 N Silver Palm Dr                                                                                  Estero                  FL       33928
 Kevin M Anson                                                 2130 Hacienda Terrace                                                                                   Weston                  FL       33327
 Kevin Maroufkhani                                             7460 E RoSE Garden Ln                                                                                   Scottsdale              AZ       85255
 Kevin McCarty                                                 27005 Maxwell Ct                                                                                        Novi                    MI       48374
 Kevin McGinnis                                                5338 N 77th St                                                                                          Scottsdale              AZ       85250
 Kevin Michael Alston Jr.                                      3299 Tierney Place                                                                                      The Bronx               NY       10465
 Kevin R Hooks                                                 218 W ArmiSuitead Dr                                                                                    Brandon                 MS       39042-2937
 Kevin Rhyne Hooks                                             218 West ArmiSuitead Dr                                                                                 Brandon                 MS       39042
 Kevin Shelp                                                   12395 61St Ln North                                                                                     West Palm Beach         FL       33412
 Kevin Soto                                                    14791 W Luna Cir S                                                                                      Litchfield Park         AZ       85340
 Kevin Thomas Clevenger                                        19126 32nd Ave Nw                                                                                       Stanwood                WA       98292
 Kevin Troy McAllister                                         35 Wagner Ave                                                                                           Piscataway              NJ       08854
 Kevin Villanueva                                              14413 Cool Oak Ln                                                                                       Centrevilla             VA       20121
 Kevin Weiss                                                   8 RoSE Ave                                                                                              East Hampton            NY       11937
 Kevin William Howard                                          1250 Sadler Dr 913                                                                                      San Marcos              TX       78666-7597
 Key & Wees Media LLC Keshawn Buckner /                        3023 Denver St 2                                                                                        Evans                   CO       80620-1127
 Keykavous Parang                                              145 Speckled Alder                                                                                      Irvine                  CA       92618
 KeylessAccessLocks.com B&H Depot LLC.                         20423 State Rd 7 Suite F6400                                                                            Boca Raton              FL       33498
 Keys Engineering Services                                     91700 Overseas Highway Suite 1                                                                          Tavernier               FL       33070
 Keystone Law Firm PA                                          12865 West Dixie Highway                                                                                North Miami             FL       33161
 KGE Window Washing                                            6721 NW 25th Terrace                                                                                    Ft Lauderdale           FL       33309
 Khaleel Abdullah                                              5920 Wandering Run Ct                                                                                   Haymarket               VA       20169
 Khaleel Abdullah Edwina Shadina Bettis-                       5920 Wandering Run Ct                                                                                   Haymarket               VA       20169
 Khalil Sarwar Nutra Health Supply                             10603 Control Pl                                                                                        Dallas                  TX       75238-1334
 Khalsa Transportation Inc                                     13371 South Fowler Ave                                                                                  Selma                   CA       93662
 Khanh Anh Quach                                               251 Antofagasta St                                                                                      Punta Gorda             FL       33983
 Kharakhasheva Anna Vyacheslavovna                             Khoroshevskoe Highway 121 Flat 1543                                                                     Moscow                           125284       Russian Federation
 Kharla Karina Santini                                         2001 Northwest 59th St                                                                                  Miami                   FL       33142
 Khristian Matthew Dec                                         18220 Clear Lake Dr                                                                                     Lutz                    FL       33548
 KHS USA, Inc.                                                 880 Bahcall Ct                                                                                          Waukesha                WI       53186
 Kiala Kieffer                                                 329 Benet Ct                                                                                            Bethel Island           CA       94511
 Kian Joo Canpack Sdn Bhd                                      107 Jalan Permata                                                                                       Kawasan Industri Arab            1 71800      Malaysia
 Kiana Champion                                                2431 Vereda De Encanto                                                                                  Santa Fe                NM       87505
 Kiana Faith Lubbers                                           12852 Woodbridge St 4                                                                                   Studio City             CA       91604
 KickBack Points,LLC KickBack Reward Systems                   1539 Fillmore St                                                                                        Twin Falls              ID       83301-5777
 Kierra Smith                                                  7400 SW Cr 4200                                                                                         Purdon                  TX       76679
 Kiersten Voucolo                                              717 Rosewood Cir                                                                                        Collegeville            PA       19426



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                        Name                                      Attention                                                Address 1                               Address 2            Address 3               City    State      Zip            Country
 Kim Cote-Tremblay                                                                               183 Ave Turcotte                                                                                   Quebec             QC     G1M 1P8      Canada
 Kim Hartnett                                                                                    38 Bevington St                                                                                    Shorncliffe               QLD 4017     Australia
 Kimball Midwest                                                                                 4800 Roberts Rd                                                                                    Columbus           OH     43228-9791
 Kimber Thomson                                                                                  230 S Cherrywood Dr #103                                                                           Lafayette          CO     80026
 Kimberly A Bender                                                                               3909 E Goldfinch Gate Ln                                                                           Phoenix            AZ     85044-4509
 Kimberly A Hodges                                                                               5895 Imperial Ave                                                                                  San Diego          CA     92114
 Kimberly Ann Bender                                                                             3909 East Goldfinch Gate Ln                                                                        Phoenix            AZ     85044
 kimberly Banagan                                                                                315 Wind River Dr                                                                                  Henderson          NV     89014
 Kimberly Bay                                                                                    216 Madison St                                                                                     Denver             CO     80206
 Kimberly Belnap                                                                                 5641 South Magic Dr                                                                                Murray             UT     84107
 Kimberly Campagna                                                                               1227 21St Ave 203                                                                                  Hoyllywood         FL     33020
 Kimberly Lynn Baier                                                                             7921 West Electra Ln                                                                               Peoria             AZ     85383
 Kimberly Ryder                                                                                  201 S Hoskins Rd #214                                                                              Charlotte          NC     28208
 Kimberly Santore                                                                                1778 NE 38th St                                                                                    Oakland Park       FL     33334
 Kimberly Yohanis Tjantra                                                                        1600 N Park Dr                                                                                     Weston             FL     33326-3278
 Kimberly Yohanlis Tjantra                                                                       5025 Collwood Blvd                                 Apt 1409                                        San Diego          CA     92115
 Kimmie Cardenas                                                                                 7901 SW 64th Ave                                                                                   South Miami        FL     33143-4683
 Kimmie Rochelle Cardena                                                                         7901 SW 64th Ave #7                                                                                South Miami        FL     33141
 Kinex Cappers, LLC                                                                              6 Columbia Dr                                                                                      Amherst            NH     03031-2343
 Kinkhorst Brunswick Distributing Co.                                                            1065 E BRdway St                                                                                   Brunswick          MO     65236
 Kinsa Group                                                                                     4600 American Parkway Suite 301                                                                    Madison            WI     53718
 Kinsey & Co Inc Kinsey Wolanski                                                                 5616 Bienveneda Terrace                                                                            Palmdale           CA     93551
 Kinsey Novak                                                                                    416 Kings Point Ln                                                                                 Morgantown         WV     26508-7010
 Kira Hamilton                                                                                   40525 Gibbel Rd                                                                                    Hemet              CA     92544
 Kira Hamilton                                                                                   48 Elm St 1                                                                                        Andover            MA     01810
 Kira Marie Lovas                                                                                1130 North 2nd St                                  Apt 303                                         Phoenix            AZ     85004
 KJM Aluminum Can SDN BHD                                                                        Lot 106 Jalan Permata 1                            Kawasan Perindustrian Nilai                     Negeri Sembilan           71800        Malaysia
 Kleyber Valdes                                                                                  2040 Northwest Flagler Terrace                     Apt 2                                           Miami              FL     33125
 KMR Construction Management, Inc.                                                               10424 W State Rd 84                                                                                Davie              FL     33324
 KMR Roofing, LLC                                                                                10424 W State Rd 84                                                                                Davie              FL     33324-4271
 Knight Transportation Services, Inc.                                                            20002 N 19th Ave                                                                                   Phoenix            AZ     85027-4250
 Kobe King                                                                                       401 La Porte Ave                                   Bldg 1201 Apt 4402                              Valparaiso         IN     46383
 Kody Smith                                                                                      10950 West Belmont Ave                                                                             Littleton          CO     80127
 Koerner Distributor, Inc.                                                                       1601 Pike Ave                                                                                      Effingham          IL     62401-4291
 Koerner Distributor, Inc.                                                                       PO Box 67                                                                                          Effingham          IL     62401
 Kohlfeld Distributing, Inc.                                                                     4691 E Jackson Blvd                                                                                Jackson            MO     63755
 Kohlfeld Distributing, Inc.                                                                     PO Box 660                                                                                         Cape Girardeau     MO     63702-0660
 Kolbie Spagnola-Glionna                                                                         48 Church St                                                                                       Hagaman            NY     12086
 Koliv, Sac                                                                                      La Campiña                                                                                         Chorillos                              Peru
 Kolton Teachey                                                                                  203 Larchmont Ct                                                                                   Burgaw             NC    28425
 Kone Elevator                                                                                   4225 Naperville Rd                                                                                 Lisle              IL    60532
 Konings Drinks BV                                                                               Teteringsedsk 227                                                                                                           ME Breda      The Netherlands
 Konya Seker (etc.) vs. JHO Intellectual Property Konya Seker Sanayi Ve Ticaret Anonim Sirketi c Ataturk Bulvan 199/39                              Kavaklidere/Cankaya/                            Ankara                                 Turkey
 Kouvr Annon                                                                                     4440 Hayvenhurst Ave                                                                               Encino             CA    91439
 Kowal Promotions Daniel Kowal                                                                   257 Central Ave 2G                                                                                 White Plains       NY    10606-1251
 KP Industrial Inc. AVTECH Industrial                                                            7225 W Roosevelt St Suite 172                                                                      Phoenix            AZ    85043-2207
 KP Properties of Ohio                                                                           11300 Longwater ChaSE Ct                                                                           Fort Myers         FL    33906
 KP Properties of Ohio, LLC                                                                      3520 Old Metro Pkwy                                                                                Fort Myers         FL    33916
 KPH Healthcare Services Inc. Kinney Drugs, Inc                                                  29 East Main St                                                                                    Gouverneur         NY    13642
 KQRJR INC Qimmah Russo                                                                          5235 Mission Oaks Blvd #B20                                                                        Camarillo          CA    93012
 Kr85 Productions Corp Kerly Ruiz                                                                9967 NW 49 Ln                                                                                      Doral              FL    33178
 Kraft Chemical Company                                                                          1975 N HawthorNE Ave                                                                               Melrose Park       IL    60160-1103
 Kramer & Amador, P.C.                                                                           225 Reinekers Ln Suite 300                                                                         Alexandria         VA    22314-3199
 Kramer IP Search, LLC                                                                           225 Reinekers Ln Suite 300                                                                         Alexandria         VA    22314
 Krieg Greco                                                                                     121 Barbados Cir                                                                                   Guyton             GA    31312
 Krier Foods, Inc.                                                                               551 Krier Ln                                                                                       Random Lake        WI    53075
 Krishel Law Firm - Daniel Krishel                                                               4500 Park Granada                                                                                  Calabasas          CA    91302
 Krista Ali                                                                                      11737 West Atlantic Blvd                           Apt 6                                           Coral Springs      FL    33071
 Krista M Owoc                                                                                   11807 SW 47th Ct                                                                                   Ft Lauderdale      FL    33330-4007
 Krista Marie Owoc                                                                               11807 Southwest 47th Ct                                                                            Fort Lauderdale    FL    33330
 Krista Schollenberger                                                                           324 Crystal St                                                                                     Milford            MI    48381
 Kristen Kessler                                                                                 90E 600S 146                                                                                       Salt Lake City     UT    84111
 Kristen Oubre                                                                                   3242 West Acoma Dr                                                                                 Phoenix            AZ    85053
 Kristen Thoms                                                                                   501 Northeast 5th Terrace                          Unit 601                                        Fort Lauderdale    FL    33311
 Kristian Ramey                                                                                  1744 W Catalpa St                                                                                  Springfield        MO    65807
 Kristin Aiyana Van Epps                                                                         18637 Rollingdale Ln                                                                               Davidson           NC    28036
 Kristin Rocco                                                                                   1708 Caddo Cir                                                                                     Dalhart            TX    79022
 Kristina Johnson                                                                                2682 Encino Dr                                                                                     Florence           NC    29505
 Kristina Ray Marie Mckinney                                                                     4866 Pacer Ln                                                                                      Colorado Springs   CO    80917
 Kristina Riusech                                                                                132 Southeast 28th Place                           Unit 4                                          Homestead          FL    33033
 Kristine Kelly                                                                                  539 A Halela St                                                                                    Kailua             HI    96734
 Kristine McCaw Caldwell Alicis                                                                  1266 S Military Trail #586                                                                         Deerfield Beach    FL    33442
 Kristopher W Ciganik                                                                            5446 Fulton St                                                                                     Phoenix            AZ    85043
 Kroger                                           Jamie Rave                                     11500 SE Highway 212                                                                               Clackamas          OR    97015-9002
 Krones, Inc.                                                                                    29065 Network Pl                                                                                   Chicago            IL    60673-1290



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                        Name                                  Attention                                Address 1                                       Address 2                 Address 3                 City   State        Zip           Country
 Krynica Vitamin Spółka Akcyjna                                               Matyldy St 35                                                                                                  Warsaw                       03-606       Poland
 Krystal Renee Chambers                                                       1057 North Parkside Dr                                                                                         Tempe                AZ      85281
 Krystal Walker                                                               7877 La Riviera Dr #137                                                                                        Sacramento           CA      95826
 Krystal White                                                                2520 Northside Dr 206                                                                                          San Diego            CA      92108-2794
 Krystell Hernandez                                                           1330 Presidential Dr                                                                                           Columbus             OH      43212
 Krystle Glenn vs. VPX & Owoc (2020)          Krystle Glenn                   125 w Ian Drive                                                                                                Phoenix              AZ      85041
 Krystle Raine De Barry Krystle Raine                                         1119 Englewild Dr                                                                                              Glendora             CA      91741
 Ksenia Khitrova                                                              137 Grimsby St                                                                                                 Staten Island        NY      10306
 Kuckelman Torline Kirkland, Inc.                                             10740 Nall Ave                                                                                                 Overland Park        KS      66211-1367
 Kuehne + Nagel, Inc.                                                         4100 North Commerce Dr                                                                                         East Point           GA      30344
 Kum & Go                                                                     1459 Grand Ave                                                                                                 Des Moines           IA      50309-3005
 Kurt Dunwoody                                                                29 West Southern Ave                                      Lot 29                                               Mesa                 AZ      85210
 Kurt Nicholas Campbell                                                       1444 Briar Oak Ct                                                                                              Royal Palm Beach     FL      33411
 Kurtis Oriez                                                                 870 W 1235 N                                                                                                   Ogden                UT      84404-4625
 Kushnirsky Gerber PLLC                                                       27 Union Sq W Suite 301                                                                                        New York             NY      10003-3305
 Kutak Rock LLP                                                               1650 Farnam St                                                                                                 Omaha                NE      68102
 KW Associates - Columbia Speedway                                            825 Bluff Rd                                                                                                   Columbia             SC      29201-4709
 KW Associates, LLC - Piedmont Speedway                                       2101 Highway 86                                                                                                Piedmont             SC      29673-8324
 Kwame Tasheed McEwan                                                         4484 Norfleet St                                                                                               Concord              NC      28025
 Kweson A Manawar Khan                                                        16217 Old Ash Loop                                                                                             Orlando              FL      32828
 Kwik Fill Advertising                                                        814 Lexington Ave                                                                                              Warren               PA      16365
 Kwik Trip Inc                                                                1626 Oak St                                                                                                    La Crosse            WI      54603-2308
 Kyla Brown                                                                   6950 Burroughs Ln                                                                                              Theodore             AL      36582
 Kyla Paige Lennex                                                            1582 Portals Ave                                                                                               Clovis               CA      93611
 Kylan Joseph Patterson                                                       1435 Balch Rd                                                                                                  Madison              AL      35824
 Kyle A Mabe                                                                  1600 N Park Dr                                                                                                 Weston               FL      33326-3278
 Kyle Aaron Mabe                                                              4026 West Saint Kateri Dr                                                                                      Phoenix              AZ      85041
 Kyle Andrew Kozlowski                                                        8313 Solano Bay Loop                                      Apt 1531                                             Tampa                FL      33635
 Kyle Bengston                                                                3901 SW 38th Ave                                                                                               West Park            FL      33023
 Kyle Buckland                                                                13980 Langley Place                                                                                            Davie                FL      33325
 Kyle Colver                                                                  137 Montgomery Ave                                                                                             Mastic               NY      11950
 Kyle Crutchmer                                                               258 Palm Valley Blvd                                                                                           San Jose             CA      95123
 Kyle Henmi                                                                   308 Via Buena Ventura                                                                                          Redondo Beach        CA      90277-6111
 Kyle Jackson Ocheltree                                                       11416 East Quicksilver Ave                                                                                     Mesa                 AZ      85212
 Kyle John Sverko                                                             1607 Burning Tree Ln                                                                                           Brandon              FL      33510
 Kyle Klimowicz                                                               40 University Dr Mail Box# 693                                                                                 Rindge               NH      03461
 Kyle Massey                                                                  7275 W Fayetteville Rd                                                                                         Riverdale            GA      30296
 Kyle R LaRiviere                                                             19943 Emmerson Dr                                                                                              Maricopa             AZ      85138
 Kyle Robert Limbach                                                          1000 East Apache Blvd                                     Apt 812                                              Tempe                AZ      85281
 Kyle Tanner Satterwhite                                                      710 Redbud Dr                                                                                                  Forney               TX      75126
 Kylee Ambrasas                                                               17531 Haverhill Cir                                                                                            Lakeville            MN      55044
 Kyleigh Henthorn                                                             8750 Pisa Dr 321                                                                                               Orlando              FL      32810-2123
 Kyler M Oswald                                                               3522 East Tulsa St                                                                                             Gilbert              AZ      85295
 Kylie Brelje                                                                 19242 Blount Rd                                                                                                Lutz                 FL      33558
 Kylie Nicole Fisher                                                          2 Villageview Dr                                                                                               Barboursville        WV      25504-9309
 Kyowa Hakko USA                                                              600 3rd Ave Fl 19                                                                                              New York             NY      10016-1901
 Kyra Green                                                                   22858 Burbank Blvd                                                                                             Woodland Hills       CA      91367
 L T B Electrical Services, Inc.                                              3636 SW 21 Ct                                                                                                  Fort Lauderdale      FL      33312
 L&E Bottling Company - Pepsi                                                 3200 Mottman Rd Sw                                                                                             Tumwater             WA      98512-5658
 L&H Distributing Speedway                                                    1309 N Washington St                                                                                           Tullahoma            TN      37388-2321
 L.S. Souza Producoes De Videos Luan Santos                                   Av: Ricardo Muylaert Salgado                              920 Casa 29                 Granja dos Cavaleiros    Macaé                        27930-860    Brazil
 L2 Electric, LLC                                                             PO Box 833366                                                                                                  Richardson           TX      75083
 LA Dept. Water and Power                                                     PO Box 515407                                                                                                  Angeles              CA      90051-6707
 LAAS 88LLC Signarama Davie                                                   11850 W State Rd 84 Suite A7                                                                                   Davie                FL      33325
 Lab Alley, LLC.                                                              22111 Highway 71 W Suite 601                                                                                   Spicewood            TX      78669-6313
 Label-Aire, Inc                                                              550 Burning Tree Rd                                                                                            Fulleton             CA      92833
 LaborLawCenter, LLC                                                          3501 W Garry Ave                                                                                               Santa Ana            CA      92704-6422
 LABRepCo, LLC                                                                101 Witmer Rd Suite 700                                                                                        Horsham              PA      19044
 Lacey Gero                                                                   513 thomas Branslay                                                                                            Williamsburg         VA      23185
 Lacy Consstruction Group Inc. dba The New                                    1339 Sunday Dr                                                                                                 Indianapolis         IN      46217
 Laderick Black                                                               Atten: Erina Mesa - 5400 Preston Oaks Rd 1010                                                                  Dallas               TX      75254
 LADWP - Los Angeles Dept of Water&Power                                      PO Box 30808                                                                                                   Los Angeles          CA      90030-0808
 LaFace Records LLC|                                                          3350 Peachtree Rd Suite 1500                                                                                   Atlanta              GA      30326
 LaGrange Grocery                                                             143 Busch Dr                                                                                                   Lagrange             GA      30241
 LaGrange Grocery                                                             PO Box 1048                                                                                                    Lagrange             GA      30241-0019
 Lagrotta Packaging Group                                                     1455 Strasburg Rd                                                                                              Kitchener            ON      N2R 1H2      Canada
 Lake & Wetland Mgmt.South Florida Inc.                                       5301 N Federal Hwy Suite                                                                                       Boca Raton           FL      33487
 Lake Beverage Corporation                                                    900 John St                                                                                                    West Henrietta       NY      14586
 Laken Hughes                                                                 160 May St                                                                                                     Mount Airy           NC      27030
 Lakeshore Beverage Company Speedway                                          1105 E Lafayette St                                                                                            Bloomington          IL      61701
 Lakeshore Beverage Company Speedway                                          1401 E Algonquin Rd                                                                                            Mount Prospect       IL      60005
 Lakeshore Beverage Company Speedway                                          400 N Elizabeth St                                                                                             Chicago              IL      60642-6534
 Lakeshore Beverage Company Speedway                                          4300 S HalSuited Ave                                                                                           Chicago              IL      60609
 Lakeside Food Sales, Inc                                                     175 E Hawthorn Pkwy Suite 300                                                                                  Vernon Hills         IL      60061-1467
 Lamar Ray Harris                                                             6352 North Sweetwater Rd                                                                                       Lithia Springs       GA      30122



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 Lameen Schand                                                                 3107 Anquilla Ave                                                                                              Clermont            FL       34711
 Lamon Burkley                                                                 8709 Flying Ranch Rd                                                                                           Fort Worth          TX       76134-4168
 LaMonica Beverage Company                                                     4060 Rock Valley Pkwy                                                                                          Loves Park          IL       61111-4470
 LaMotte Company                                                               PO Box 329 802 Washington Ave                                                                                  Chestertown         MD       21620
 Landcare                                                                      1650 Williams Dr                                                                                               Marietta            GA       30066-6292
 Landcare USA LLC Landcare Holdings, Inc.                                      PO Box 669261                                                                                                  Dallas              TX       75266-9261
 Landmark American Insurance Company                                           PO Box 3329                                       Suite 1800                                                   Englewood           CO       80155
 Landmark Custom Homes of Broward, LLC                                         17025 Stratford Ct                                                                                             Southwest Ranches   FL       33331
 Landmark Industries                                                           11111 Wilcrest Green Suite 100                                                                                 Houston             TX       77042
 Landon Zehr                                                                   140 Half Moon Rd                                                                                               Highland            NY       12528
 Lane IP Limited                                                               33 Gulter Ln                                                                                                   London                       EC2V 8AS     United Kingdom
 Lane Ory                                                                      79 Southwest 12th St                              Apt 3305                                                     Miami               FL       33130
 Lane's Beverages, LLC                                                         103 Bradford St                                                                                                Sayre               PA       18840
 Languex, LLC                                                                  6605 Longshore St Suite240                                                                                     Dublin              OH       43017
 Lanice Mechelle Davison                                                       7723 South 45th Ln                                                                                             Phoenix             AZ       85339
 Lanorris Louis Drayton                                                        677 Northwest 42nd Ave                                                                                         Plantation          FL       33317
 Lantech.com LLC                                                               1000 Bluegrass Parkway                                                                                         Louisville          KY       40299
 Lapine Inc                                                                    15 Commerce Rd                                                                                                 Stamford            CT       06902-4549
 Lara Hagopian                                                                 7321 Derby Downs Dr                                                                                            Austin              TX       78747
 Laron Hines                                                                   404 W Meadowbrook Dr                                                                                           Brookhaven          MS       39601
 Laron William Turner                                                          7545 Oso Blanca Rd                                Unit 3209                                                    Las Vegas           NV       89149
 Larry Eugene Thaxton                                                          15310 West Evans Dr                                                                                            Surprise            AZ       85379
 Larry J Morillo Mendez                                                        6420 Northwest 102nd Path                         Apt 303                                                      Doral               FL       33178
 Larry Schlesinger                                                             903 Heritage Groves Dr                                                                                         Brandon             FL       33510
 Larry's Distributing Company                                                  3815 Playbird Rd                                                                                               Sheboygan           WI       53083-1952
 Lasiah R Villalpando                                                          2185 Station Village Way                          Apt 2423                                                     San Diego           CA       92108
 Lasiah Villalpando vs. VPX (2022)           Lasiah R Villalpando              2185 Station Village Way                                                                                       San Diego           CA       92108
 Latenci Inc                                                                   3554 Du Pon Dr                                                                                                 Sterling Heights    MI       48310
 Latham & Watkins LLP                                                          555 11th St Nw                                                                                                 Washington          DC       20004-1300
 Latoya Kilgour                                                                8646 SW 94th St                                                                                                Miami               FL       33156
 Latrena Renee Howard                                                          10563 Northwest 36th St                                                                                        Coral Springs       FL       33065
 Laudices Training & Services LLC                                              1818 Mlk Ave 9E                                                                                                Bradenton           FL       34208
 Laura Dunn                                                                    750 Northwest 98th Cir                                                                                         Plantation          FL       33324
 Laura Fernanda Malagon Navarro                                                2240 N Cypress Bend Dr Ph                         Apt 906                                                      Pompano Beach       FL       33069
 Laura Idarraga                                                                60 NE 14th St                                     Apt 1107                                                     Miami               FL       33132
 Laura Lized Sanchez Hernandez                                                 Calle 37b Sur #28c-01 12                                                                                       Envigado                     55420        Colombia
 Laura Martinez                                                                21070 SW 104 Pl                                                                                                Cutler Bay          FL       33189
 Laura Medrano                                                                 4315 Pensacola Oaks Ln                                                                                         Sugarland           TX       77479
 Laura Perez                                                                   3444 Excalibur Way E                                                                                           Jacksonville        FL       32223
 Laura Powers                                                                  2709 Arnoldson Ave                                                                                             San Diego           CA       92122
 Laura Sagra                                                                   Calle 27D Sur # 27C-51 #1003                                                                                   Envigado                     50022        Colombia
 Laura Sagra                                                                   Carrera 38 N 7A Sur 40 apt 1005                   Building Name: Arvore el poblado    Envigado Antioquia       Medellin                     50022        Colombia
 Laura Sofia Castano                                                           12800 NE 3rd Ave                                                                                               North Miami         FL       33161
 Laura Tamayo Arias                                                            4575 Idaho St 5                                                                                                San Diego           CA       92116
 Laura Taylor                                                                  619 East Jensen St                                Unit 31                                                      Mesa                AZ       85203
 Laura Van, Inc.                                                               1320 West 3rd Ave                                                                                              Hialeah             FL       33010
 Lauran N. Woolley                                                             3291 S Turner Rd                                                                                               Canfield            OH       44406
 Laurel York                                                                   140 Cc Turner Rd                                                                                               Albertson           NC       28508
 Lauren Corazza                                                                2042 N Courntryside Cir                                                                                        Orlando             FL       32804
 Lauren Dascalo                                                                4735 Barcelona Ct                                                                                              Calabasas           CA       91302
 Lauren Dianna Hilton                                                          957 South Rural Rd                                                                                             Tempe               AZ       85281
 Lauren Elizabeth Barnes                                                       11326 N 46th St 416                                                                                            Tampa               FL       33617
 Lauren Fannon                                                                 5701 Collins Ave                                  Apt 310                                                      Miami Beach         FL       33140
 Lauren Garcia                                                                 13807 SW 149 Cir LN                               Unit 3-67                                                    Miami               FL       33186
 Lauren Garcia                                                                 6240 Falconsgate Ave                                                                                           Davie               FL       33331
 Lauren Gibson                                                                 7983 W Queens Ct                                                                                               Boise               ID       83704
 Lauren May                                                                    22121 Clarendon St 528                                                                                         Woodland Hills      CA       91367
 Lauren Pisciotta                                                              185 NW 18th St                                                                                                                     FL       33445
 Lauren Riley                                                                  1643 Lakeside Dr                                                                                               Redding             CA       96001
 Lauren Riley                                                                  9A Mahan Cir                                                                                                   Goose Creek         SC       29445
 Lauren Schiek                                                                 325 Bella Way                                                                                                  Abilene             TX       79602
 Lauren Thomas McLane                                                          480 Southwest 118th Ave                                                                                        Plantation          FL       33325
 Lauren Vongphrasouk                                                           11706 Offley Ave                                                                                               Norwalk             CA       90650
 Lauren Williams Lo                                                            8625 Hickory St #1318                                                                                          Frisco              TX       75034
 Laurence Costa                                                                5410 Marlatt St                                                                                                Jurupa Valley       CA       91752
 Laurie Kilmer                                                                 649 Queen Palm Dr                                                                                              Davenport           FL       33897
 Laurie White                                                                  8681 A C Skinner Parkway #1029                                                                                 Jacksonville        FL       32256
 Laurits R Christensen Assoc                                                   800 University Bay Dr                                                                                          Madison             WI       53705-2278
 Lavon B Lambert                                                               2766 E Marina Dr                                                                                               Fort Lauderdale     FL       33312
 Law Offices of Olaf J Muller                                                  939 S BRdway 808                                                                                               Los Angeles         CA       90015-4488
 Law Offices of Ross Cornell, APC                                              111 W Ocean Blvd                                                                                               Long Beach          CA       90802
 Lawrence John Blackwood                                                       2930 Sandwell Dr                                                                                               Winter Park         FL       32792
 Lawson Ray Rivenbark                                                          5105 Flowes Store Rd                                                                                           Concord             NC       28025
 Layman Candy Company, Inc.                                                    PO Box 1015                                                                                                    Salem               VA       24153-1015
 Lazaro Garcia                                                                 222 East 54th St                                                                                               Hialeah             FL       33013



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                      Name                                     Attention                                          Address 1                               Address 2             Address 3               City     State        Zip              Country
 Lazaro Gonzalez                                                                       6490 Liberty St                                                                                      Hollywood           FL       33024
 Lazaro Medina Revilla                                                                 2665 Havenwood Rd                                                                                    West Palm Beach     FL       33415
 LDF Sales & Distributing, Inc.                                                        10610 E 26th Cir N                                                                                   Wichita             KS       67226-4536
 LDF Sales & Distributing, Inc.                                                        17501 W 98th St Suite 17-33                                                                          Lenexa              KS       66219
 Le Linh Bao                                                                           140 N Berendo St 7                                                                                   Los Angeles         CA       90004
 Lea Elui Lea                                                                          9737 Great Hills Trail Suite 260                                                                     Austin              TX       78759
 Leader Distribution Systems, Inc.                                                     1568 Putney Rd                                                                                       Brattleboro         VT       05301
 Leading Edge Expositions, LLC Cannabis World                                          210 Route 4 East                                                                                     Paramus             NJ       07652
 Leah Fish                                                                             8175 Shoals Branch Rd                                                                                Primm Springs       TN       38476
 Leah Fish 1AM Management LLC                                                          3601 Maverick St                                                                                     Las Vegas           NV       89108-5150
 Leah Fish 1AM Management LLC                                                          8175 Shoals Branch Rd                                                                                Primm Springs       TN       38476
 Leah Talabi                                                                           139 Pantheon                                                                                         Irvine              CA       92620-2824
 Leanna Bartlett                                                                       617 8th St                                                                                           Huntington Beach    CA       92648
 Leanne Hulsmann                                                                       5518 Cabrillo Way                                                                                    Rocklin             CA       95765
 Leda Lerida                                                                           6441 SW 20 Ct                                                                                        Miramar             FL       33023
 Ledaniel K Johnson                                                                    1960 W Keating Ave 520                                                                               Mesa                AZ       85202-7096
 Lee B Kindel                                                                          544 Hartzell School Rd                                                                               Fombell             PA       16123
 Lee County Electric Company                                                           4941 Bayline Dr                                                                                      North Fort Myers    FL       33917
 Lee County Electric Company                                                           PO Box 37779                                                                                         Boone               IA       50037-0779
 Lee County Utilies                                                                    PO Box 60045                                                                                         Prescott            AZ       86304-6045
 Lee Troutman Enterprises LLC                                                          2625 Manor Creek Ct                                                                                  Cumming             GA       30041
 Legal Advantage, LLC Patent Intel                                                     10411 Motor City Dr 750                                                                              Bethesda            MD       20817
 LegalSearch, Inc                                                                      510 East 85th St Suite9F                                                                             New York            NY       10028
 Legend Fitness                                                                        5901 Middlebrook Pike                                                                                Knoxville           TN       37909
 Legend Techical Services of Arizona, LLC                                              17631 N 25th Ave                                                                                     Phoenix             AZ       85023-2114
 Legendary Fitness Miami, LLC                                                          13482 SW 131St St                                                                                    Miami               FL       33186-5891
 Lehrman Beverage Law, PLLC                                                            2911 Hunter Mill Rd Suite 303                                                                        Oakton              VA       22124
 Leia Nicole Meaney                                                                    5509 51St Ave Ct Nw                                                                                  Gig Harbor          WA       98335
 Leila Leigh Dahdal                                                                    5295 N Corte Puesta Del Sol                                                                          Tucson              AZ       85718
 Leilany Stephanie Gonzalez                                                            10630 Northwest 83rd Ct                                                                              Parkland            FL       33076
 Lemal Rasaun Rorie                                                                    8024 Whitehall Executive Center Dr                Apt 6211                                           Charlotte           NC       28273
 Lency Gayle Chiles                                                                    830 Vindicator                                                                                       Colorado Springs    CO       80919
 Leo Alexander Jurcak                                                                  10603 Davis Rd                                                                                       Tampa               FL       33637
 Leon Sounds Solutions Corp                                                            2070 NW 79th Ave                                                                                     Miami               FL       33122
 Leonard Jose Rose                                                                     2045 North Pine Place                                                                                Casa Grande         AZ       85122
 Leonard Norris                                                                        5396 Maverick Ln                                                                                     Gulf Breeze         FL       32563
 Leonardo Cabrero Cifuentes                                                            21502 Southwest 90th Ct                                                                              Cutler Bay          FL       33189
 Leonardo R. Manteca                                                                   1719 W 55th Pl                                                                                       Hialeah             FL       33012-2069
 Leonardo Rafael Manteca                                                               1719 West 55th Place                                                                                 Hialeah             FL       33012
 Leonardo Rafael Manteca Jr                                                            1719 West 55th Pl                                                                                    Hialeah             FL       33012
 Leonardo Robinson                                                                     16232 W Cottonwood St                                                                                Surprise            AZ       85374
 Leonardo Ruben Miranda                                                                603 Avenida Sexta                                 Apt 108                                            Clermont            FL       34714
 Leonardo Zuluaga                                                                      12374 Northwest 12th Ct                                                                              Pembroke Pines      FL       33026
 Leonel Roman                                                                          12057 SW 10th St                                                                                     Miami               FL       33184
 Leonor Margarita Picon Castillo                                                       Jr Las Esmeraldas 1856 Urb Inca Manco                                                                Lima                         15431        Peru
 Lerby Sylvera                                                                         1372 Avon Ln                                      Apt 210                                            North Lauderdale    FL       33068
 Lerisleidi Mirabal                                                                    18611 NW 49th Ct                                                                                     Miami               FL       33055
 Leroy Cobb                                                                            3201 Meridius Place                               Unit 304                                           Kissimmee           FL       34747
 Leslie Perez                                                                          791 SE 7 Ave                                                                                         Hialeah             FL       33010
 Lesliet Hernandez                                                                     9410 Southwest 51St St                                                                               Miami               FL       33165
 Lester Moses Bradley                                                                  6055 Windy Ridge Trail                                                                               Lithonia            GA       30058
 Lev Trading, LLC                                                                      1202 Airport Rd                                                                                      N Brunswick         NJ       08902-1748
 Level 3 Communications LLC CenturyLink                                                100 Centurylink Dr                                                                                   Monroe              LA       71203
 Levis Cordero                                                                         18620 NW 48th Pl                                                                                     Miami               FL       33055
 Leviticus Tomas Meymand                                                               1512 Hollow Hill Dr                                                                                  Bryan               TX       77802
 Lewis Silkin LLP                                                                      5 Chancery Ln                                                                                        London                       EC4A1BL      United Kingdom
 Lewis Thornton Arendall Jr                                                            9680 West Northern Ave                            Unit 1137                                          Peoria              AZ       85345
 Lexee Lynn Crandall                                                                   19410 E Ryan Rd                                                                                      Queen Creek         AZ       85142-5876
 Lexi Harshbarger                                                                      16 Summerwood Dr                                                                                     Stafford            VA       22554
 Lexington Insurance Company                  c/o Peachtree Special Risk Brokers LLC   3525 Piedmont Rd NE Bldg #5                       Suite 700                                          Atlanta             GA       30305
 LexisNexis Risk Solutions Billing ID 5097202                                          28330 Network Place                                                                                  Chicago             IL       60673-1283
 Lext Intellectual                                                                     R Otávio Carneiro                                 100- Sala 1304                Icarai               Niteroi             RJ       24230-101    Brazil
 LGBT CENTER OF RALEIGH, INC                                                           19 W Hargett St Suite 507                                                                            Raleigh             NC       27601-1350
 LGC Science Inc.                                                                      1745 Alysheba Way Suite 160                                                                          Lexington           KY       40509
 Lhaura Rodriguez                                                                      10825 Southwest 88th St                           Apt 140                                            Miami               FL       33176
 Lia Beatrice Panzacchi                                                                1420 Brickell Bay Dr                              Apt 104                                            Miami               FL       33131
 Liam James Massey                                                                     1011 North Paddock Ave                                                                               Tampa               FL       33607
 Liam L. O'Regan                                                                       2060 Oak Hammock Dr                                                                                  Ponte Vedra Beach   FL       32082
 Liana Roman                                                                           10717 NW 76th Ln                                                                                     Doral               FL       33178-2209
 Liana Roman                                                                           10717 Northwest 76th Ln                                                                              Medley              FL       33178
 Liangxi Li                                                                            10371 NW 17th Ct                                                                                     Plantation          FL       33322
 Life Fitness                                                                          2716 Network Pl                                                                                      Chicago             IL       60673-1271
 Life In Color, LLC                                                                    212 N Miami Ave                                                                                      Miami               FL       33128
 Life Sports                                                                           8200 S Quebec St #A3-109                                                                             Centennial          CO       80112
 Life Storage                                                                          10901 Abercorn St                                                                                    Savannah            GA       31419-1818



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 Life Storage Brookwood Properties                                               13605 Coursey Blvd                                                                             Baton Rouge          LA       70817-1304
 Life Storage LP                                                                 420 NW Peacock Blvd                                                                            Port St Lucie        FL       34986-2208
 Lift Power Inc.                                                                 6801 Suemac Place                                                                              Jacksonville         FL       32254
 Light F/X Pro's                                                                 7261 NW 43rd St                                                                                Miami                FL       33166
 Light Vital, LLC Daniel Sado                                                    6214 Flagler St                                                                                Hollywood            FL       33023
 Lightyears Films Inc Ariel Ramon                                                21402 SW 89th Ct                                                                               Miami                FL       33189
 Ligia Pineda                                                                    89-02 Woodhaven Blvd                                                                           Woodhaven            NY       11421
 Lila Borror                                                                     2180 Guava Rd                                                                                  Venice               FL       34293
 Lileth M Rios Mejias                                                            6055 Northwest 105th Ct                           Apt N-117                                    Doral                FL       33178
 Liliana Esquivel                                                                8271 Crespi Blvd #5                                                                            Miami Beach          FL       33141
 Liliana Lisette Acosta                                                          23330 Arlington Ave                               Apt 24                                       Torrance             CA       90501
 Liliana Maseda                                                                  20950 SW 344th St                                                                              Homestead            FL       33034
 Liliana Moya                                                                    2232 Ilex Ave                                                                                  San Diego            CA       92154
 Lilyana Rodriguez                                                               6675 Nicole Ln                                                                                 Loveland             OH       45140
 Lily-Ann Rasco Lily                                                             4575 SE 48th Place Rd                                                                          Ocala                FL       34480
 Limitless Athletics, LLC                                                        34245 Evergreen Hill Ct                                                                        Wesley Chapel        FL       33545-2132
 Lina Albayati                                                                   1501 W Emerald Key Ct                                                                          Gilbert              AZ       85233-6114
 Lina Simmons                                                                    17161 Alva Rd                                     Unit 3022                                    San Diego            CA       92127
 Linc Acquisition LLC                                                            16540 Southpark Dr                                                                             Westfield            IN       46074-8436
 Linc Systems                                                                    16540 Southpark Dr                                                                             Westfield            IN       46074-8436
 Lincoln National Life Insurance Company                                         PO Box 0821                                                                                    Carol Stream         IL       60132-0821
 Linda De Figueiredo                                                             700 SW 1St St                                                                                  Miami                FL       33130-1282
 Linda Esperanza De Figuerdo Castellanos                                         700 SW 1St St                                                                                  Miami                FL       33130
 Linda N Talley                                                                  204 Houston                                                                                    Corsicana            TX       75110
 Linda Serrao                                                                    638 Brook Field Dr                                                                             Largo                FL       33771
 Linden Distributing Inc                                                         1085 S Coy St                                                                                  Bisbee               AZ       85603
 Linden Distributing Inc                                                         20 CochiSE Row                                                                                 Bisbee               AZ       85603
 Linden Distributing Inc                                                         812 Eleventh Ave                                                                               Safford              AZ       85548
 Lindsay Angelica Caruso Wirth                                                   613 Campus St                                                                                  Charlotte            NC       28216
 Lindsay Buck                                                                    342 Oak Ln                                                                                     Broomfield           CO       80020
 Lindsey Elizabeth Hannah                                                        12331 Southwest 109th Terrace                                                                  Miami                FL       33186
 Lindsey Richie                                                                  4223 Natchez Trace Dr                                                                          Saint Cloud          FL       34769
 Linette Rodriguez                                                               11390 SW 28th St                                  Apt 411                                      Miramar              FL       33014
 Linette Rodriguez                                                               6600 Main St 1340                                                                              Miami Lakes          FL       33014-2290
 Linkedln Corporation                                                            62228 Collections Center Dr                                                                    Chicago              IL       60693-0622
 LinkSquares Inc.                                                                60 State St Suite 1800                                                                         Boston               MA       02109-1800
 Lino A Mejia                                                                    7334 North 39th Ave                                                                            Phoenix              AZ       85051
 Lionso Olmos                                                                    1213 West Fogg St                                                                              Fort Worth           TX       76110
 Lisa Fernandez                                                                  1395 NE 33rd Ave 107                                                                           Homestead            FL       33033
 Lisa Joanne Burgess                                                             11298 Rhapsody Rd                                                                              Cooper City          FL       33026
 Lisa Michelle Ray                                                               1307 Hallwood Ln                                                                               Montgomery           AL       36117
 Lisa Patel                                                                      777 N Ashley Drove 2504                                                                        Tampa                FL       33602
 Lisa Soto                                                                       7761 NW 41 St                                                                                  Davie                FL       33024
 Lisandra Parra                                                                  5671 NW 112th Ave 10-113                                                                       Doral                FL       33178
 Lisandra Suarez                                                                 3041 West 7th St                                                                               Los Angeles          CA       90005
 Lisbeth Corona                                                                  1700 SW 78th Ave                                  Apt 907                                      Plantation           FL       33324
 Lisha Stahnke                                                                   34 Kettley Way                                                                                 Cape Town                     8001         South Africa
 Lismary Cedeno                                                                  1600 North Park Dr                                                                             Weston               FL       33326
 Lisney Butron                                                                   3832 Crows Nest Dr                                Apt 102                                      Kissimmee            FL       34741
 Litigation Services & Technologies                                              D Hughes Pkwy Suite 700                                                                        Las Vegas            NV       89169-5983
 Little General Stores, Inc                                                      17 Yellow Wood Way                                                                             Beckley              WV       25801
 Livia Rose Sciulli                                                              300 Waupelani Dr #3016                                                                         State College        PA       16801
 Livia Sciuli                                                                    111 SW 94th TER                                                                                Plantation           FL       33324
 Livingston International, Inc.                                                  670 Young St                                                                                   Tonawanda            NY       14150-4403
 Lizbeth Corona                                                                  574 SW 183rd Way                                                                               Pembroke Pines       FL       33029-4329
 Lizbeth Ruiz                                                                    1118 East 7th St                                                                               Mesa                 AZ       85203
 Lloyd Distributing Co.                                                          23731 State Highway 11                                                                         Kirksville           MO       63501-7709
 Lloyd’s of London                                                               450 Skokie Blvd                                   Suite 1000                                   Northbrook           IL       60062-7917
 Lloyd’s of London                           c/o Falvey Cargo Underwriting       66 Whitecap Dr                                                                                 North Kingstown      RI       02852
 Lloyd’s of London                                                               One Lime St                                                                                    London                        EC3M 7HA     United Kingdom
 LLoydlyn Jean                                                                   6170 SW 5th St                                                                                 Margate              FL       33068-1753
 LMarie LLC Lindsay Brewer                                                       31 Via Di Nola                                                                                 Laguna Niguel        CA       92677
 LMR Auto Transport Brokerage Inc.                                               4395 AmSuiterdam St                                                                            N Charleston         SC       29418-5921
 Loark Nutrition, INC                                                            13618 Cedar Creek Ct                                                                           La Miranda           CA       90638
 Location Resources, inc                                                         311 Lincoln Rd Suite 305                                                                       Miami Beach          FL       33139
 Loc-Doc, Inc                                                                    PO Box 78987                                                                                   Charlotte            NC       28271
 Locksmith Geeks LLC                                                             12726 N Bend Ct                                                                                Rancho Cucamonga     CA       91739-2613
 Logan Beverage                                                                  150 W 14th St                                                                                  Tyrone               PA       16686-1737
 Logan Hayes McMurtrey                                                           5801 Stampede Way                                                                              Bakersfield          CA       93306
 Logan L Anderson                                                                1600 N Park Dr                                                                                 Weston               FL       33326-3278
 Logan Lindy Anderson                                                            563 Harvest Time Ln                                                                            Inman                SC       29349
 Logan Michael Watson                                                            2850 University Square Dr                         Unit 226                                     Tampa                FL       33612
 Logan Patrick Bean                                                              501 Southeast 2nd St                              Apt 1204                                     Fort Lauderdale      FL       33301
 Logan Zehr                                                                      140 Half Moon Rd                                                                               Highland             NY       12528
 LogMein USA, Inc.                                                               PO Box 50264                                                                                   Los Angeles          CA       90074-0264



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 Loma Systems Division                                       283 E Lies Rd                                                                                           Carol Stream         IL       60188
 London Wayne Wilson                                         4337 Hedge Dr East                                                                                      Lakeland             FL       33812
 Lone Star Business Association Coop.                        PO Box 2599                                                                                             Waxahachie           TX       75168-8599
 Lone Star Cable Inc.                                        2340 E Trinity Mills # 300                                                                              Carrollton           TX       75006
 Long Beverage Inc                                           10500 World Trade Blvd                                                                                  Raleigh              NC       27617
 Longbow Advantage USA, Inc.                                 555 Briarwood Cir Suite 118                                                                             Ann Arbor            MI       48108-1686
 Lorena Munguia                                              18301 S Dixie Hwy                                   Apt 337                                             Palmetto Bay         FL       33157
 Lorena Prado                                                27950 SW 140th Ave                                                                                      Homestead            FL       33032
 Lorenzo C Brown                                             1301 NW 55 Terrace                                                                                      Miami                FL       33342
 Lorenzo Lugtigheid                                          Laan Van avant Garde 314                                                                                Rotterdam                     3059RA       Netherlands
 Lorenzo Wright                                              6080 Mason Creek Cir                                Apt 301                                             Indian Land          SC       29707
 Lorissa Hinsch                                              4870 SW 104 Ave                                                                                         Cooper City          FL       33328
 Louceria Sherrell Ford                                      11121 Veterans Memorial Hwy                         Lot 59                                              Douglasville         GA       30134
 Louie Bishop                                                1720 west pine place                                Apt 1                                               Tusla                OK       74127
 Louis Simpson                                               515 Abraham Ct                                                                                          Irving               TX       75060
 Louisiana Office of the Attorney General                    1885 N Third St                                                                                         Baton Rouge          LA       70802
 Lourdes Barsky                                              1844 Southwest 142nd Place                                                                              Miami                FL       33175
 Louwop Entetainment LLC Bishop Louie                        1720 West PiNE Place                                                                                    Tulsa                OK       74127
 Love's Travel Stops & County Stores                         10601 N Pennsylvania Ave                                                                                Oklahoma City        OK       73120-4108
 LSI Scales Town & Country Scales, Phoenix                   2650 N Grantland Ave                                                                                    Fresno               CA       93723
 LSN LLC                                                     2541 Magnolia Place                                                                                     Birmingham           AL       35242
 Lu Li                                                       252 Aspen Way                                                                                           Davie                FL       33325
 Luana Paula Barron Yabar                                    Calle Aruba 110                                                                                         Lima                          15026        Peru
 Lucas Berti                                                 Av Ipanema Jardim Planalto 1775                                                                         Sorocaba                      18070-632    Brazil
 Lucas de Castro Rangel                                      1016 Throughgood Way                                Apt 201                                             Chesapeake           VA       23324
 Lucas Hill                                                  3580 Organ Church Rd                                                                                    Rockwell             NC       28138
 Lucero Alejo                                                5000 Southwest 148th Ave                                                                                Southwest Ranches    FL       33331
 Luciana Alegre                                              3425 W Olive Ave                                    Unit 563                                            Burbank              CA       91505
 Lucila Insausti                                             486 Falcon Ave                                                                                          Miami Springs        FL       33166
 Lucy Martinez                                               5 S PiNE Island Rd 113                                                                                  Plantation           FL       33324
 Ludington Beverage Co. Inc.                                 816 N Washington Ave                                                                                    Ludington            MI       49431-1541
 Ludwig & Associates, Inc                                    3003 Meadow View Ct                                                                                     Harrison City        PA       15636
 Ludwig Distributing Company, Inc.                           503 E 13th St                                                                                           Stuttgart            AR       72160-5419
 Luis A Figueroa                                             24523 SW 110th Pl                                                                                       Homestead            FL       33032-4622
 Luis A Medina Anton                                         1821 Southwest 42nd Terrace                                                                             Fort Lauderdale      FL       33317
 Luis A Rios                                                 18432 NW 22 St                                                                                          Pembroke Pines       FL       33029
 Luis Alberto Gordillo                                       3150 North Palm Aire Dr                             Apt 110                                             Pompano Beach        FL       33069
 Luis Angel De Jesus Figueroa                                2960 Flynn St                                                                                           Deltona              FL       32738
 Luis Angel Guerra                                           23975 Southwest 118 Ave                                                                                 Homestead            FL       33032
 Luis Antonio Nevarez                                        8501 SW 16th Ct                                                                                         Davie                FL       33324
 Luis Arriaza                                                2191 thomasson Dr                                                                                       Naples               FL       34112-6415
 Luis Arriaza                                                5375 Grand Cypress Cir                              Apt 101                                             Naples               FL       34109
 Luis C Villarreal                                           4621 W Ellis St                                                                                         Laveen               AZ       85339-4274
 Luis Capecchi                                               16624 Greens Edge Dr                                                                                    Weston               FL       33326
 Luis Carlos Villarreal                                      4621 West Ellis St                                                                                      Phoenix              AZ       85339
 Luis Carlos Villarreal Jr                                   4522 North 15th Ave                                                                                     Phoenix              AZ       85015
 Luis Diego Leandro                                          645 Southwest 2nd Ct                                                                                    Hallandale Beach     FL       33009
 Luis Eduardo Marin                                          7114 Woodmont Way                                                                                       Tamarac              FL       33321
 Luis Eduardo Sierra Shreddy                                 1040 Avenida De Pio Pico                                                                                Placentia            CA       92870
 Luis Fernando Suarez                                        321 N Bixel St #5                                                                                       Los Angeles          CA       90026
 Luis Hernandez                                              18030 NW 56th Ave                                                                                       Miami Gardens        FL       33055
 Luis Manuel Nevarez                                         3317 East Almeria Rd                                                                                    Phoenix              AZ       85008
 Luis Miguel Garcia Lamas                                    8177 NW 8th St                                      Apt D3                                              Miami                FL       33126
 Luis Ojeda                                                  2900 NE 2nd Ave                                                                                         Miami                FL       33137-4402
 Luis Ojeda                                                  2900 NE 2nd Ave                                     Apt 762                                             Miami                FL       33137
 Luis Orozco                                                 751 SW 109th Ave #208                               Bldg 34                                             Pembroke Pines       FL       33025
 Luis Pedro Mariz Batista                                    Francisco De Brito 270                              Barro Branco Apt 42                                 Sao Paulo                     02344-000    Brazil
 Luis Rafael Reyes Velez                                     4053 Abbey Ct                                                                                           Haines City          FL       33844
 Luis Rafael Rodriguez                                       14440 SW 51St St                                                                                        Miami                FL       33175
 Luis Sanes                                                  6989 Town Harbour Blvd                                                                                  Boca Raton           FL       33433
 Luisa Benjumea                                              8498 Telfair Dr 124                                                                                     Kissimmee            FL       34747
 Luisa F Velez                                               12097 Southwest 7th St                                                                                  Pembroke Pines       FL       33025
 Luisa Fernanda Catano Rios                                  Calle 152c # 72-87                                  Torre 7                     Apto 403 Teca           Bogota                        111110       Colombia
 Luiz Carlos Benette                                         7912 NW 105th Ct                                                                                        Doral                FL       33178
 Luiz K Freire                                               3748 Heron Ridge Ln                                                                                     Weston               FL       33331
 Lukas Allen Gentry                                          26 HawthorNE Gate Dr                                                                                    Dayton               OH       45458
 Luke Black                                                  3709 Briar Oak Cir                                                                                      Mountain Brk         AL       35223-2826
 Luke Charles Short                                          1431 S 43rd Ave                                                                                         Phoenix              AZ       85009-6030
 Luke Charles Toan Short                                     1428 South Terrace Rd                                                                                   Tempe                AZ       85281
 Luke Gervais                                                1419 Coppercrest Dr                                                                                     Spring               TX       77386
 Luke Gregory Taylor                                         70 Mill Rd                                                                                              Thornton             PA       19373-1072
 Luke Locascio                                               7001 NW 5th St                                                                                          Plantation           FL       33317
 Luke Schupp                                                 7351 Amy School Rd                                                                                      Howard City          MI       49329
 Luke Schupp                                                 47830 Rainbow Glen                                                                                      Fallbrook            CA       92028
 Luke William Chop                                           2850 University Square Dr                           Room 478C                                           Tampa                FL       33612



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 Lutao Xie Lu                                                26 Belden Ave # 2325                                                                          Norwalk              CT       06850
 Luya Fang                                                   430 Commodore Dr 501                                                                          Plantation           FL       33325
 Luz Amparo Jaramillo                                        320 SW 187th Ave                                                                              Pembroke Pines       FL       33029
 Luz Andrea Hernandez Andrea Hernandez                       8185 NW 7th St 405                                                                            Miami                FL       33126
 Luz Johanna Morales                                         14831 Southwest 18th St                                                                       Miramar              FL       33027
 Luz Rodriguez                                               402 SW 74th Ave                                                                               North Lauderdale     FL       33068
 Luzelena Echeverria Molina                                  27A 37B Sur 100 Carrera                                                                       Colombia Antioquia                         Colombia
 Lydia Marluce Luz Bush                                      1067 Sweeney Ave                                                                              Las Vegas            NV       89104
 Lydia Yoe                                                   8424 Fair Way                                                                                 Citrus Heights       CA       95610-0405
 Lyna Perez PR LLC                                           200 Dorado Beach Dr 3312                                                                      Dorado               PR       00646-2250
 Lyna Perez PR, LLC Engelyna Perez                           200 Dorado Beach Dr 3312                                                                      Dorado               PR       00646
 Lynette Cornell                                             9040 NW 55th Ct                                                                               Sunrise              FL       33351
 Lynette Villanueve                                          3921 Palmer Meadow Ct                                                                         Katy                 TX       77494
 Lynn Odhiambo                                               2500 University Heights                                                                       Asheville            NC       28804
 Lynnette Villanueva                                         3931 Palmer Meadow Ct                                                                         Katy                 TX       77494-2320
 Lysnel Petit Frere                                          551 NW 42nd Ave 606                                                                           Plantation           FL       33317
 M & C Beverage, Inc.                                        419 N 9th St                                                                                  Miles City           MT       59301-3304
 M & M Distributing                                          339 HomeSuitead Ct                                                                            Bluffton             IN       46714-9271
 M K Distributors, Inc.                                      310 South Linden St                                                                           Pine Bluff           AR       71601
 M Price Distributing Company Speedway                       1 Budweiser St                                                                                Hampton              VA       23661-1774
 M&N Distributing-Kess Investment #10001                     1431 Pendale Rd                                                                               El Paso              TX       79936
 M&P Creative Enterprises, LLC M&P Apparel                   4501 Oak Cir                                                                                  Boca Raton           FL       33431
 M.C. Bass Electrical Contractor, Inc                        1050 Talleyrand Ave                                                                           Jacksonville         FL       32206-6020
 M.M. Fowler, Inc                                            4220 Neal Rd                                                                                  Durham               NC       27705
 Mac Papers                                                  PO Box 745747                                                                                 Atlanta              GA       30374-5747
 Mace Camp                                                   10654 Parthenon St                                                                            Las Vegas            NV       89183
 Macey Ravndalen                                             6511 Century Ln                                                                               Prior Lake           MN       55372-5114
 MacGarry & Associates, Inc.                                 PO Box 267214                                                                                 Weston               FL       33326
 Mach 1                                                      34 Hangar Rd                                                                                  Savannah             GA       31408
 Mackenzie Elsa Kaul                                         42448 North Cross Timbers Ct                                                                  Anthem               AZ       85086
 Mackenzie Sol Williamson                                    240 E Silverado Ranch Blvd #1264                                                              Las Vegas            NV       89183
 Mackenzie Williamson                                        1807 Cahoon Ct                                                                                Henderson            NV       89014
 MacKinnon Equipment Inc                                     Lock Box 841272                                                                               Dallas               TX       75284-1272
 Macpherson Kelley Pty Ltd                                   40-42 Scott St                                                                                Dandenong                     3175         Austria
 Mac's Convenince Stores LLC Circle K                        PO Box 347                                                                                    Columbus             IN       47202
 Mac's Towing Service, Inc                                   418 SW 2nd Pl                                                                                 Dania Beach          FL       33004-3507
 Macy Ann Clem                                               1606 Woodridge Rd                                                                             Tuscaloosa           AL       35406-1912
 Mad Room, LLC Ball & Chain                                  2030 S Douglas Rd #108                                                                        Coral Gables         FL       33134
 Madalyn F. Ardueser                                         1175 Ginger Ave                                                                               Eugene               OR       97404
 Maddilicious Inc.                                           17055 Owl Tree Rd                                                                             Riverside            CA       92504-9573
 Maddison Weatherly                                          2729 Lakeside Dr                                                                              Burleson             TX       76028
 Maddison Wells                                              2181 Portlight Dr                                                                             Orlando              FL       32814-6935
 Madeleine Anderskow Maddie Gray                             2875 Crescent Parkway 1416                                                                    Atlanta              GA       30339
 Madeline Austin                                             3 Lexington Ln E C                                                                            Palm Beach Gardens   FL       33418
 Madeline Dellinger                                          722 Bryson Way                                                                                Southlake            TX       76092
 Madeline G Hubbard                                          1600 N Park Dr                                                                                Weston               FL       33326-3278
 Madeline Grace Hubbard                                      128 Mesa Dr                                                                                   Johnson City         TN       37615
 Madeline Taylor Austin Mandi                                2811 EinSuitein Way 8-201                                                                     Orlando              FL       32826
                                                             1528 Rachels Ridge                                                                            Hermitage            TN       37076
 Madelyn Maestas                                             138 Adams St                                                                                  Monument             CO       80132
 Madesyn Tracy                                               1835 W Call St 216                                                                            Tallahasse           FL       32304
 Madilynn Brown                                              3273 Grove Rd                                                                                 Palm Beach Gardens   FL       33310
 Madison Annabelle Rojas                                     3600 East Fletcher Ave                           Apt 443                                      Tampa                FL       33613
 Madison Bottling Company                                    2369 Hwy 40                                                                                   Madison              MN       56256
 Madison Bottling Company                                    PO Box 68                                                                                     Madison              MN       56256
 Madison Elizabeth Patsey                                    11103 SW 15th Manor                                                                           Davie                FL       33324
 Madison Elizabeth Wells                                     1513 SW 4th Ave                                                                               Boca Raton           FL       33432
 Madison Fannin                                              98 Smokey Hollow                                                                              Paintsville          KY       41240
 Madison Gail O'Brien                                        5193 Parkwood Dr                                                                              Flowery Branch       GA       30542
 Madison Grace Lawrence                                      2712 Jacaranda Ave                                                                            Carlsbad             CA       92009
 Madison Holmes                                              7170 Barton Creek Ct                                                                          Las Vegas            NV       89113
 Madison Mackenzie                                           4024 Shawn Cir                                                                                Orlando              FL       32826
 Madison Martinez                                            18730 Ohara Rd                                                                                Hemlock              MI       48626-9613
 Madison Martinez                                            303 E Broomfield ST                              Celani 404                                   Mt Pleasant          MI       48858
 Madison N Castillo                                          1720 East BRdway Rd                                                                           Tempe                AZ       85282
 Madison Senior                                              2358 Whiteoak Way Se                                                                          Smyrna               GA       30080-7413
 Madison Senior                                              540 Glen Abbey Cir SE                                                                         Mableton             GA       30126
 Madison Sha                                                 16824 Kenneth Rd                                                                              Stilwell             KS       66085
 Madison Suarez                                              1262 SW 144th Ct                                                                              Miami                FL       33184
 Madison Wells                                               2181 Portlight Dr                                Unit 210                                     Orlando              FL       32814
 Madison Wilkes                                              3588 Highland Glen Way W                                                                      Jacksonville         FL       32224
 Maegan Alyssa Calle                                         5035 SW 91 Ave                                                                                Miami                FL       33165
 Maegan Vogel                                                1401 Village Blvd #812                                                                        West Palm Beach      FL       33409
 MAF                                                         7790 NW 15th St                                                                               Pembroke Pines       FL       33024
 Magdiel Elieser Sanchez Reyes                               10777 West Sample Rd                             Apt 212                                      Coral Springs        FL       33065



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 Magic City Beverage Co.                                                      3025 Burdick Expy E                                                                                              Minot               ND       58701-5208
 Magic City Beverage Co.                                                      PO Box 908                                                                                                       Minot               ND       58702
 Magin Arturo Perez                                                           501 SE Second St                                 Apt 523                                                         Fort Lauderdale     FL       33301
 Magna Legal Services                                                         1635 Market St Fl 8                                                                                              Philadelphia        PA       19103-2217
 Magus & Boshi LLC Mathias Sellane                                            1830 S Ocean Dr 907                                                                                              Hallandle Bch       FL       33009-7691
 Maikel J Contreras                                                           1600 N Park Dr                                                                                                   Weston              FL       33326-3278
 Maikel J Contreras Rojas                                                     11665 SW 17th St                                 Bldg 172                                                        Pembroke Pines      FL       33025-1700
 Main Beverage Co                                                             202 S Lansing St                                                                                                 Owosso              MI       48867-2506
 Maine Distributors                                                           5 Coffey St                                                                                                      Bangor              ME       04401-5757
 Maine Office of the Attorney General                                         6 State House Station                                                                                            Augusta             ME       04333
 Maine Revenue Services                                                       PO Box 1065                                                                                                      Augusta             ME       04332-1065
 Mainfreight USA, Inc                                                         1400 Glenn Curtiss St                                                                                            Carson              CA       90746-4030
 Maireny Estrella                                                             27 Bronx River Rd                                                                                                Yonkers             NY       10704-4476
 Majestic Events                                                              571 Richland St B                                                                                                Upland              CA       91786-6760
 Makaila Kuulei Yoshiye Stone                                                 1700 Garnet Ln                                   Apt 2902                                                        Fort Worth          TX       76112
 Makayla Elisabeth Jansen                                                     8248 E Roma Ave                                                                                                  Scottsdale          AZ       85251
 Makenna Austin                                                               18504 Beach Blvd                                 Unit 561                                                        Huntington Beach    CA       92648
 Makenna Cribbs                                                               12348 Shale Dr                                                                                                   Fort Worth          TX       76244
 Makenna N DaCosta                                                            5 Kayla Dr                                                                                                       Fairhaven           MA       02719
 Makenzie T Wiemer                                                            1600 N Park Dr                                                                                                   Weston              FL       33326-3278
 Makenzie Taylor Wiemer                                                       5515 East 5th St                                                                                                 Tulsa               OK       74112
 MALCOLM GREEN                                                                2324 W Scissortail Ct                                                                                            North Las Vegas     NV       89084
 Malcolm Rashad Drummer                                                       2305 Mcilhenny St                                                                                                Houston             TX       77004
 Malcom Roberts                                                               7300 Prince George Rd                                                                                            Baltimore           MD       21207
 Malekae Breton                                                               1515 Colby Ave 116                                                                                               Los Angeles         CA       90024
 Malia Martinez                                                               8486 N Bank Dr                                                                                                   Ventura             CA       93004
 Malkin Law PA                                                                260 95th St Suite 206                                                                                            Miami Beach         FL       33154
 Mallory E Greenfield                                                         1450 Meeting Place 107                                                                                           Orlando             FL       32814
 Maloof & Browne LLC                                                          411 theodore Fremd Ave                                                                                           Rye                 NY       10580
 Mamdemba M Faal                                                              18844 North 2nd Dr                                                                                               Phoenix             AZ       85027
 Managed Mobile, Inc                                                          1901 Nancita Cir                                                                                                 Placentia           CA       92870
 Mango Technologies, Inc. DBA ClickUp                                         350 10th Ave Suite 500                                                                                           San Diego           CA       92101-7497
 Manifesto Multimedia LLC Samuel Romero                                       14860 SW 72nd Ter                                                                                                Miami               FL       33193-1152
 Manjit Gill                                                                  19512 SW 53rd St                                                                                                 Miramar             FL       33029
 Manolito Lopez ML. Sales, LLC                                                4701 Conchita Way                                                                                                Tarzana             CA       91356
 Manouchka Thelusca                                                           5730 Lakeside Dr                                 Apt 410                                                         Margate             FL       33063
 Mansfield Distributing                                                       1245 W Longview Ave                                                                                              Mansfield           OH       44906
 Manuel A Gallardo                                                            7803 Northwest 194th St                                                                                          Hialeah             FL       33015
 Manuel Delgado                                                               2111 NW 98 Ter                                                                                                   Pembroke Park       FL       33024
 Manuel Edward Garcia                                                         3741 W Lasalle St                                                                                                Phoenix             AZ       85041
 Manuel Fraijo                                                                8002 W Orange Dr                                                                                                 Glendale            AZ       85303-5564
 Manuel Hernandez                                                             1046 NE 17th Terr                                                                                                Homestead           FL       33033
 Manuel Jesus Gamez                                                           4032 West Osborn Rd                              Apt 152E                                                        Phoenix             AZ       85019
 Manuel O Costales                                                            18875 NW 63rd Ct Cir                                                                                             Hialeah             FL       33015
 Manuel Paul Fernandez                                                        4121 North 26th St                               Apt 7                                                           Phoenix             AZ       85016
 Manuel Roberto Trujillo                                                      3689 West Valley Green Dr                        Apt 44                                                          Davie               FL       33328
 Manuela A Cristancho                                                         5929 Bent Pine Dr                                Apt 720                                                         Orlando             FL       32822
 Manuela Restrepo Uribe                                                       Calle 27 Sur # 27-92                             Apt 2001                                                        Envigado                     55420        Colombia
 Manuela Sierra                                                               2918 Casabella Dr                                                                                                Kissimmee           FL       34744
 MAPCO Express, Inc                                                           801 Crescent Center Dr Suite 300                                                                                 Franklin            TN       37067
 Maple City Ice Co.                                                           1245 W Longview Ave                                                                                              Mansfield           OH       44906
 Maple City Ice Co.                                                           371 Cleveland Rd                                                                                                 Norwalk             OH       44857
 Marc Damian Powers                                                           6301 Bunker Dr                                                                                                   Locust Grove        GA       30248
 Marc Edward Bower                                                            18133 North Cook Dr                                                                                              Maricopa            AZ       85138
 Marc J Kesten, Esq.                                                          9220 Trotters Ln                                                                                                 Parkland            FL       33067
 Marc Kesten vs. VPX & Owoc (2020)           Marc J Kesten, Esq               9220 Trotters Ln                                                                                                 Parkland            FL       33067
 Marc Scordato                                                                4821 Purdue Dr                                                                                                   Boynton Beach       FL       33436
 Marcela Alzate                                                               1700 E Las Olas Blvd                             Apt 207                                                         Fort Lauderdale     FL       33301
 Marcela Alzate                                                               6532 BiscayNE Shore Ln                                                                                           Tampa               FL       33611
 Marcela Gutierrez                                                            Carrera 27 # 23 Sur 69                           Apt 1805                                                        Envigado                     55420        Colombia
 Marcela Gutierrez Castillo                                                   10320 City Center Blvd                           Apt 110                                                         Pembroke Pines      FL       33025
 Marcela Zarate                                                               1504 Bay Rd                                                                                                      Miami Beach         FL       33139
 Marcell Shippen                                                              5126 N Loop 1604 East 1205                                                                                       San Antonio         TX       78247
 Marcella Calabrese                                                           2507 Palesta Dr                                                                                                  Trinity             FL       34655
 Marcellus Tyree Holley                                                       420 E Church St 964                                                                                              Orlando             FL       32801
 Marcelo Felipe                                                               4431 Koger St                                                                                                    Orlando             FL       32812
 Marcelo Hoban                                                                4767 Marston Ln                                                                                                  Lake Worth          FL       33467
 Marcelo Rafael Angulo Julio                                                  51 708                                                                                                           Medellin                                  Colombia
 Marcelo Rafael Chico Jaramillo SUR LEGAL                                     AstudilloS                                       Edificio Camara Industrias de Cuenca    Piso 8 Fl               Cuenca                                    Ecuador
 Marc-Henry Dominick Gerve                                                    191 NE 23rd St                                                                                                   Pompano Beach       FL       33060
 Marcia Cabrera                                                               1891 NW 33rd Ave                                                                                                 Lauderhill          FL       33311
 Marcia Rodriguez                                                             1320 West 3rd Ave                                                                                                Hialeah             FL       33010
 Marcin Cieslik                                                               733 Herrin Ave                                                                                                   Charlotte           NC       28205
 Marckel Bell                                                                 422 Tala Dr Sw                                                                                                   Concord             NC       28027
 Marco A Hernandez Jr                                                         3907 Margot Dr                                                                                                   Mission             TX       78574



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                       Name                    Attention                                 Address 1                               Address 2                    Address 3                City      State        Zip          Country
 Marco Hall                                                    11 Anthem Pointe Ct                                                                                        Henderson             NV       89052
 Marcos Batista                                                7051 Greenbrier Village Dr                                                                                 Lakeland              FL       33810
 Marcos H. Summers                                             2901 Snapfinger Manor                                                                                      Decatur               GA       30035
 Marcum LLP                                                    One SE third Ave                                                                                           Miami                 FL       33131
 Marcus A Sverko                                               1607 Burning Tree Ln                                                                                       Brandon               FL       33510
 Marcus Andrell Talbert                                        3081 East 110th Dr                                                                                         Northglenn            CO       80233
 Marcus Daniel Woods                                           2701 GrapeviNE Mills Blvd N                        Apt 1816                                                Grapevine             TX       76051
 Marcus M Palma                                                18859 North 75th Dr                                                                                        Glendale              AZ       85308
 Marcus Olin                                                   10925 Bluffside Dr 221                                                                                     Studio City           CA       91605
 Marden - Kane, Inc.                                           575 Underhill Blvd Suite 222                                                                               Syosset               NY       11791
 Margaret Elizabeth Sycalik                                    4406 Feagan St                                     Unit A                                                  Houston               TX       77007
 Margarita Leonor Crespo                                       16475 Golf Club Rd                                 Apt 313                                                 Weston                FL       33326-1676
 Margo Miller                                                  3916 Rohr Dr                                                                                               Toledo                OH       43613
 Marhonda Evans                                                7210 Cascade Ct                                    Apt 827                                                 Fort Worth            TX       76137
 Maria Alejandra Demiranda                                     25080 Southwest 107th Ave                                                                                  Homestead             FL       33032
 Maria Alexa Anderson                                          17850 Glenapp Dr                                                                                           Land O' Lakes         FL       34638
 Maria Angelica Baez                                           1010 Brickell Ave                                  Apt 3207                                                Miami                 FL       33131
 Maria Arzola                                                  8425 NW 41St St                                                                                            Doral                 FL       33166-6221
 Maria Camila Bernal                                           122 SE 33 Ter                                                                                              Homestead             FL       33033
 Maria Camila Gomez Valencia                                   10921 Angel Wing Dr                                                                                        Tamarac               FL       33321
 Maria Camila Morales                                          1480 Northwest North River Dri                     Apt 609                                                 Miami                 FL       33125
 Maria Cecilia Barba Ceci                                      10175 Spencer St #1031                                                                                     Las Vegas             NV       89183
 Maria Corona                                                  574 Southwest 183rd Way                                                                                    Pembroke Pines        FL       33029
 Maria Dalessandro                                             2701 N Ocean Blvd                                                                                          Ft Lauderdale         FL       33308-7575
 Maria de Leon                                                 3513 Salzedo St                                                                                            Coral Gables          FL       33134
 Maria Del Pilar Solis                                         13279 Northwest 5th St                                                                                     Plantation            FL       33325
 Maria Elvira Barrios                                          12323 SW 12th St                                                                                           Pembroke Pines        FL       33025
 Maria Fernanda Bula Henriquez                                 19802 NW 78th Ave                                                                                          Hialeah               FL       33015
 Maria Gabriela Velazco (Briela)                               1612 Columbia Arms Cir                             Apt 138                                                 Kissimmee             FL       34741
 Maria Guadalupe Diaz                                          7906 West Cavalier Dr                                                                                      Glendale              AZ       85303
 Maria Jose Garces                                             Calle 146 #13 - 22                                 Apt 403                                                 Bogota                         110121       Colombia
 Maria Juliana Caicedo                                         Edificio Chico 93                                  Apt 106                     Carrera 16 # 93-38          Bogota                                      Colombia
 Maria Laura Quintero Dangond                                  350 S Miami Ave                                                                                            Miami                 FL       33130
 Maria Lugo                                                    10080 Corso Milano Dr                                                                                      Tampa                 FL       33625-4913
 Maria Magdalena Tchernogorova                                 14016 Bora Bora Way 129                                                                                    Marina Del Rey        CA       90292
 Maria Mercedes Irias                                          8811 SW 132nd Pl 206                                                                                       Miami                 FL       33186
 Maria P. Sanchez Acuna                                        Calle 142 No 16-08                                 Apt 401                                                 Bogota-Cundinamarca                         Colombia
 Maria Paula Espinosa Canon                                    1502 Whitehall Dr                                                                                          Davie                 FL       33324
 Maria Prado                                                   5404 East Michigan St 5                                                                                    Orlando               FL       32812
 Maria Quintero                                                350 S Miami Ave                                    Wind 2514                                               Miami                 FL       33130
 Maria Sanchez-Acuna                                           12341 Boneventure Dr                                                                                       Boynton Beach         FL       33437
 Maria Socorro                                                 4883 NW 167 St                                                                                             Miami                 FL       33055
 Maria Toledo-Flores                                           13000 SW 136th Terrace                                                                                     Miami                 FL       33186
 Maria Valentina Gomez Jaramillo                               Diagonal 85b Campus Reservado 1607                                                                         Rionegro                       54040        Colombia
 Mariah Steele                                                 4532 SW 15th Ave                                                                                           Cape Coral            FL       33914
 Mariam Basha                                                  20971 San Simeon Way Apt 203                                                                               North Miami Beach     FL       33179
 Mariam Basha                                                  9619 Fontainebleau Blvd 516                                                                                Miami                 FL       33172-6872
 Mariana Beltran                                               Calle 40 a sur #24b 105                                                                                    Medellin                       50020        Colombia
 Mariana Briceno                                               3096 12th St 14                                                                                            Astoria               NY       11102
 Mariana Corina Vetencourt                                     832 Waterview Dr                                                                                           Weston                FL       33326
 Mariana Rivera                                                6691 Cow Pen Rd                                    Apt A212                                                Miami Lakes           FL       33014
 Marianyi Escalona                                             4240 NW 107th Ave                                  Apt 4309                                                Doral                 FL       33178
 Maribel Flecha                                                3265 Countryside View Dr                                                                                   St Cloud              FL       34772
 Maribel Yubero                                                55 NE 5th St                                       Unit 3425                                               Miami                 FL       33132
 Maricarmen Rozas                                              14821 SW 54th St                                                                                           Miramar               FL       33027
 Marice Pomo                                                   8421 Sheraton Dr                                                                                           Miramar               FL       33025
 Maricopa County Air Quality Dept                              3800 N Central Ave Suite 1400                                                                              Phoenix               AZ       85012-1911
 Maricopa County Treasurer                                     PO Box 52133                                                                                               Phoenix               AZ       85072-2133
 Marie Ostreal                                                 2830 SW 55th Ave                                                                                           Lauderhill            FL       33313
 Mariel Chavez                                                 15525 Miami Lakeway North                          Apt 206                                                 Miami Lakes           FL       33014
 Mariela Sciandra                                              386 Suiterling Place E                                                                                     Meadow                NY       11554
 Mariela Vecchio Ortiz                                         9871 NW 52nd Ln                                                                                            Doral                 FL       33178-2604
 Mariessa Krystine Francis                                     11131 SW 26th St                                                                                           Davie                 FL       33324
 Marilyn Julieth Oquendo Tamayo                                Carrera 93 A                                       #35b - 94                                               Medellin                                    Colombia
 Marina DeAngelis                                              780 Pippin Orchard Rd                                                                                      Cranston              RI       02921-3603
 Marina Labzo                                                  3635 Northeast 1St Ave                             Apt 1011                                                Miami                 FL       33137
 Marine Corps Community Service Business and                   3044 Catlin Ave                                                                                            Quantico              VA       22134-5003
 Mario Alvarado Gelig                                          12418 West Monroe St                                                                                       Avondale              AZ       85323
 Mario Arauz                                                   19515 NW 55 Cir Pl                                                                                         Miami                 FL       33055
 Mario Armando Trevino                                         5509 Hidden Creek Cir                              Apt 454                                                 Fort Worth            TX       76109
 Mario Ayuso-Henson                                            5111 Jalisco Ln                                                                                            Orlando               FL       32822
 Mario C. Angus                                                8091 NW 21St St                                                                                            Sunrise               FL       33322
 Mario Fernando Perez Salinas y Ramirez                        Av Universidad #473                                Narvarte Poniente           Benito Juarez               Mexico City                    03020        Mexico
 Mario Gomez                                                   4711 Northeast 2nd Terrace                                                                                 Deerfield Beach       FL       33064
 Mario Guerrero                                                436 North Bellflower Blvd                          Apt 118                                                 Long Beach            CA       90814



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                       Name                    Attention                                Address 1                                      Address 2              Address 3                 City    State         Zip          Country
 Mario H Portillo Flores                                       2414 West Seldon Ln                                                                                        Phoenix              AZ       85021
 Mario Rios                                                    7776 North 56th Dr                                                                                         Glendale             AZ       85301
 Mario T Gonzalez                                              407 East Glenhaven Dr                                                                                      Phoenix              AZ       85048
 Mario Toledo                                                  19800 SW 180 Ave Lot 400                                                                                   Miami                FL       33187
 Marisa Bohamed                                                118 Zamora Ave 102                                                                                         Coral Gables         FL       33134
 Marisa Conforti                                               3668 Janus Way                                                                                             Palm Harbor          FL       34685
 Marisol Gonzalez                                              4064 Sanderling Ln                                                                                         Weston               FL       33331
 Marissa A Garcia                                              3958 Devenshire Ct                                                                                         Coconut Creek        FL       33073
 Marissa Hanson                                                5830 SW 57th Ave 200                                                                                       Miami                FL       33146
 Marissa Inthareath                                            16053 West Ashland Ave                                                                                     Goodyear             AZ       85395
 Marissa Louann Wick                                           2055 Kings Dr # 246                                                                                        Charlotte            NC       28204
 Marissa Michelle Rivero                                       19485 NW 24th Pl                                                                                           Pemproke Pines       FL       33029
 Marissa Nicole Arellano                                       1460 Moss Creek Dr                                                                                         Harrisburg           NC       28075
 Marissa Singh                                                 4124 Northwest 88th Ave                                  Apt 107                                           Coral Springs        FL       33065
 Mark A DeBaca                                                 11525 Commy Center Dr                                    Apt D103                                          Northglenn           CO       80233
 Mark Adams                                                    1514 Franklin St                                         Apt 3                                             Santa Monica         CA       90404
 Mark Anthony Euceda                                           5442 Pomona Blvd                                                                                           East Los Angeles     CA       90022
 Mark Bailey                                                   9439 Northwest 49th Ct                                   Apt 22A                                           Sunrise              FL       33351
 Mark Fagan                                                    4649 Gillespie Ln                                                                                          Plant City           FL       33567
 Mark Jay Adams                                                1514 Franklin St 3                                                                                         Santa Monica         CA       90404-3241
 Mark Koenig                                                   6519 Senegal Palm Way                                                                                      Apollo Beach         FL       33572
 Mark Pacada                                                   28501 Foothill Way                                                                                         Santa Clarita        CA       91350
 Mark R Dolatowski                                             2417 Willimette Dr                                                                                         Wesley Chapel        FL       33543
 Mark Ramos                                                    1538 Tallahassee Blvd #52                                                                                  Intercession City    FL       33848
 Mark Sherer                                                   25337 E Geddes Place                                                                                       Aurora               CO       80016
 Mark T Monti                                                  5779 NW 120 Ave                                                                                            Coral Springs        FL       33076
 Mark Thomas, LLC                                              505 Hanna Way                                                                                              Bel Air              MD       21014
 Mark Werkhoven                                                Mauritsstraat 4                                                                                            Utrecht                       3583HN       Netherlands
 Markem-Imaje Corporation                                      PO Box 3542                                                                                                Boston               MA       02241
 Markens Jean-Baptiste                                         44 Pheasant Run Blvd                                                                                       West Palm Beach      FL       33415
 MarksGray                                                     1200 Riverplace Blvd Suite 800                                                                             Jacksonville         FL       32201-0447
 Marksmen Inc.                                                 25 W Main St Ct Suite 200                                                                                  Alpine               UT       84004-5625
 Markstein Beverage Co. of Sacramento                          60 Main Ave                                                                                                Sacramento           CA       95838
 Markstein Beverage Company                                    1645 Dr In Way                                                                                             Antioch              CA       94509
 Markstein Sales Co                                            1645 Dr In Way                                                                                             Antioch              CA       94506
 Marlene Diaz                                                  8330 Northwest 162nd St                                                                                    Hialeah              FL       33016
 Marlene Ruiz                                                  10750 Washington St                                      Apt 207                                           Pembroke Pines       FL       33025
 Marlene Valdes                                                532 NW 159 Ln                                                                                              Pembroke Pines       FL       33028
 Marleny Canela                                                323 Pennsylvania Ave                                                                                       Roosevelt            NY       11575
 Marlin Plumbing of Miami, Inc.                                20145 NE 16th Place                                                                                        North Miami Beach    FL       33179
 Marlis Jannet Prieto Coronel                                  217 Seaver Cir                                                                                             Bridgeport           CT        6606
 Marlisse Angel Garcia                                         6257 Shore PiNE Ct                                                                                         Rancho Cucamonga     CA       91739
 Marliz Colon                                                  2695 Holly PiNE Cir                                                                                        Orlando              FL       32820
 Marlo Giovannini-Sula                                         20 Oxford Cir                                                                                              Southampton          NJ       8088
 Marlon Clayton                                                1140 Petree St 172                                                                                         El Cajon             CA       92020
 Marlon Ngouandi                                               340 Pretoria Ave                                                                     Gauteng               Randburg                      2194         South Africa
 Marlon Olando Mais                                            9520 Northwest 9th Ct                                                                                      Plantation           FL       33324
 Marlon Solorzano Zapata                                       Kilometro 14 via Chia -Cota Vereda Cerca de Pierdra                                                        Cundinamarca                  25001        Colombia
 Marlon Webb                                                   13423 Burbank Blvd 4                                                                                       Van Nuys             CA       91401
 Marmic Fire & Safety Co., Inc. Fire Control                   1014 S Wall Ave                                                                                            Joplin               MO       64801
 Marmon Foodservice Technologies, Inc                          355 Kechoe Blvd                                                                                            Carol Stream         IL       60188-1817
 Marnie Maiel                                                  7011 Silver Brook Ct                                                                                       San Jose             CA       95120
 Marquette Foreman                                             10401 North Macarthur Boulevar                           Apt 101                                           Irving               TX       75063
 Marquis Darion McKinzie                                       1055 E Division St                                                                                         National City        CA       91950
 Marquis G Hopper                                              705 the Heights Dr                                       Apt M                                             Fort Worth           TX       76112
 Marsaeia Dee-Shawndrea Hill                                   3828 Chickasaw Ave                                                                                         Fort Worth           TX       76119
 Marsala Beverage, LP                                          825 StoNE Ave                                                                                              Monroe               LA       71201-8719
 Marshall Brent Morgan II                                      212 Trailing Creek Rd Nw                                                                                   Madison              AL       35757
 Marshall Dillon Bensky                                        427 Palomar Ave                                                                                            San Diego            CA       92037
 Marta Mielczarska                                             256 S Clark Dr                                                                                             Beverly Hills        CA       90211
 Marta Mielczarska                                             3060 West Olympic Blvd 521                                                                                 Los Angeles          CA       90006
 Martha Romero                                                 1409 Sabal Trl                                                                                             Weston               FL       33327
 Martin & Bayley, Inc                                          1311 A Main St                                                                                             Carmi                IL       62821
 Martin A Calderon                                             3403 North Tower Rd                                                                                        Prescott Valley      AZ       86314
 Martin Cullen                                                 9544 Hanberry Blvd                                                                                         Charlotte            NC       28213
 Martin Donoza                                                 862 South Nevada Way                                                                                       Mesa                 AZ       85204
 Martin Gratton                                                990 Montee Saint-Amour                                                                                     Cantley              QC       J8V 3M5      Canada
 Martin Marco Antonio Gonzalez                                 4011 Live Oak St                                                                                           Cudahy               CA       90201
 Martin Rivera Blanco                                          8421 S 7th Ave                                                                                             Phoenix              AZ       85041
 Martina Calabrese                                             2507 Palesta Dr                                                                                            Trinity              FL       34655
 Martino J Montalto                                            39852 Bridgeview St                                                                                        Harrison Township    MI       48045
 Marvel Mayfield                                               200 SW 15th St                                                                                             Pompano Beach        FL       33060
 Mary Arteiro                                                  4220 Greek Park Dr                                                                                         Orlando              FL       32816
 Mary Christine Courtwright                                    3457 Ringsby Ct #325                                                                                       Denver               CO       80216
 Mary Deese Hinson                                             15928 White St                                           Apt 207                                           Charlotte            NC       28278



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                       Name                                     Attention                                  Address 1                                      Address 2         Address 3                 City        State        Zip              Country
 Mary Diaz                                                                         3543 West Grant St                                      Apt A                                        Phoenix                  AZ       85009
 Mary Grace O'Connor Mary Grace                                                    635 Cotanche St 814                                                                                  Greenville               NC       27858
 MAry Isabelle Drelling                                                            7429 Crown Parkway                                                                                   Orange                   CA       92867
 Mary K Winter                                                                     1600 N Park Dr                                                                                       Weston                   FL       33326-3278
 Mary Kate Winter                                                                  2669 Michael Ct Northeast                                                                            Salem                    OR       97305
 Mary Lynne Perkins                                                                590 Brinkburn Point Ave                                                                              Las Vegas                NV       89178
 Mary Macy                                                                         2411 S Olive Ave                                                                                     West Palm Beach          FL       33401
 Mary Mitchell                                                                     20 Satilla Cove Rd                                                                                   Hazlehurst               GA       31539-5290
 Mary Perkins                                                                      590 Brinkburn Point Ave                                                                              Las Vegas                NV       89178-2407
 Maryannah G. Inzunza                                                              3004 S Market St 2046                                                                                Gilbert                  AZ       85295
 Marycruz De la Rosa                                                               13021 Northwest 1St St                                  Unit 08-210                                  Pembroke Pines           FL       33028
 Marygrace Lesniak                                                                 4237 Woodspring Ln                                                                                   Tampa                    FL       33613
 Maryland Office of the Attorney General                                           200 St Paul Pl                                                                                       Baltimore                MD       21202
 Mason Bottling Company                                                            135 W Layayette St                                                                                   Kerrville                TX       78028
 Mason Bottling Company                                                            210 North Ave A                                                                                      Mason                    TX       76856
 Mason Bottling Company                                                            PO Box 369                                                                                           Mason                    TX       76865
 Mason County E Corp                                                               PO Box 27                                                                                            Point Pleasant           WV       25550
 Mason Douglas Fulp                                                                317 11th St                                                                                          Huntington Beach         CA       92648
 Mason Johns                                                                       316 Leslie Ct                                                                                        Bristol                  TN       37620
 Mason Pierce Mich'l                                                               3561 West Arby Ave                                                                                   Las Vegas                NV       89118
 Mason Scott Barns                                                                 185 Seacountry Ln                                                                                    Rancho Santa Margarita   CA       92688
 Massachusetts Department of Revenue                                               PO Box 419272                                                                                        Boston                   MA       02241-9272
 Massachusetts Office of the Attorney General                                      1 Ashburton Place 20th Floor                                                                         Boston                   MA       02108
 Massiel Navedo                                                                    23355 SW 113 Passage                                                                                 Homestead                FL       33032
 Massimo Zanetti Beverage USA vs. VPX (2021)    Massimo Zanetti Beverage USA       10 Empire Blvd                                                                                       Moonachie                NJ       07074
 Massoth Family Properties LLC                                                     1900 Ave Of the Stars Suite320                                                                       Los Angeles              CA       90067
 Mast Law Firm, P.C.                                                               2415 East Camelback Rd                                                                               Phoenix                  AZ       85016
 Master Trailer Rental, Inc.                                                       1255 Hill Ave                                                                                        West Palm Beach          FL       33407
 Matagrano, Inc.                                                                   440 Forbes Blvd                                                                                      S San Fran               CA       94080-2015
 Mataya Sweeting                                                                   400 Jefferson Dr                                        Apt 304                                      Deerfield Beach          FL       33442
 Mataya Sweeting Mataya Modeling Inc.                                              400 Jefferson Dr                                                                                     Deerfield Beach          FL       33442-9470
 Matchbox Mobile, Inc                                                              10695 Dean Martin Dr E 1201                                                                          Las Vegas                NV       89141
 MatDaddy, LLC                                                                     198 Harrison Ln Ne                                                                                   Calhoun                  GA       30701
 Mateo Barrientos                                                                  Calle 66 48-62                                                                                       Medellin                                       Colombia
 Matheson Tri-Gas, Inc                                                             7320 NW 58th St                                                                                      Miami                    FL       33166
 Matheus Felipe Kuasne                                                             Rua Albino Scotton                                      271 Jardim Burle Max                         Londrina                          86047-740    Brazil
 Matheus Monteiro Ferreira                                                         Rua Conselheiro Elias De Carvalho Numero 50             Apt 152                                      Sao Paulo                         04373        Brazil
 Mathew Thomas Laspina                                                             7377 Garnet Creek Ct                                                                                 Las Vegas                NV       89139
 Mathias Brix Pedersen                                                             4305 Laurel Ridge Cir                                                                                Weston                   FL       33331
 Mathias Sellanes                                                                  1830 South Ocean Dr                                     Apt 907                                      Hallandale Beach         FL       33009
 Mathias Sellanes Baez Magus & Boshi LLC                                           1830 South Ocean Drive                                  Apt #907                                     Hallandale Beach         FL       33009
 Mathieu Jean-Charles                                                              2861 Somerset Dr 117F                                                                                Ft Lauderdale Lakes      FL       33311
 Matteo Ricciuti                                                                   1331 N Cahuenga Blvd 4302                                                                            Los Angeles              CA       90028-1919
 Matthew A Phillips                                                                1600 N Park Dr                                                                                       Weston                   FL       33326-3278
 Matthew Abrams                                                                    1501 Larkfield Ln                                                                                    Charlotte                NC       28210
 Matthew Allen Phillips                                                            3042 Southwest Indian Place                                                                          Redmond                  OR       97756
 Matthew Bedosky                                                                   412 7th Ave N                                                                                        Terra Verde              FL       33715
 Matthew Bergbauer                                                                 6226 6226 NW 38th Dr                                                                                 Coral Springs            FL       33067
 Matthew Buswell                                                                   200 E Alessandro #71                                                                                 Riverside                CA       92508
 Matthew Camp                                                                      851 Briargrove Ave                                                                                   Davenport                FL       33837
 Matthew Coello                                                                    1248 Selbydon Way                                                                                    Winter Garden            FL       34787
 Matthew Curtis Madson                                                             3242 Dornich Dr                                                                                      Mount Dora               FL       32757
 Matthew D Goerke                                                                  4700 Tennyson St                                                                                     Denver                   CO       80212
 Matthew David Malone                                                              513 Niagara Falls Dr                                                                                 Anna                     TX       75409
 Matthew Davidson                                                                  5750 Collins Ave                                        Apt 11D                                      Miami Beach              FL       33140
 Matthew Donovan Barnett                                                           900 Battery Ave 532                                                                                  Atlanta                  GA       30339
 Matthew Donovan Barnett                                                           901 Cherokee Trail                                                                                   Smyrna                   GA       30080
 Matthew E Caldwell                                                                3300 W Verdugo Ave                                                                                   Burbank                  CA       91505
 Matthew E Lotterman                                                               600 Fairbanks Ct                                        Unit 2507                                    Chicago                  IL       60611
 Matthew Garza                                                                     605 Bunting Ave                                                                                      Fountain                 CO       80817-1807
 Matthew Grootenboer                                                               153 Cedarhurst Rd                                                                                    Brick                    NJ       08723
 Matthew Harper                                                                    200 Moncton Place                                                                                    Simpsonville             SC       29681
 Matthew J Guilford                                                                4740 W Mockingbird Ln Po Box                            Apt 195552                                   Dallas                   TX       75209
 Matthew J Summey                                                                  425 Planters Way                                                                                     Mount Holly              NC       28120
 Matthew John Powell Jr                                                            121 Southwest 32 St                                                                                  Gainesville              FL       32607
 Matthew L Fearneyhough                                                            1600 N Park Dr                                                                                       Weston                   FL       33326-3278
 Matthew Len Fearneyhough                                                          2754 Greenbrier Dr                                                                                   Cleveland                TN       37312
 Matthew Peter Hanley                                                              4004 West Sailboat Dr                                                                                Cooper City              FL       33026
 Matthew Petitto                                                                   194 Cranford Ave                                                                                     Staten Island            NY       10306
 Matthew Petitto                                                                   20 Loring Ave                                                                                        Staten Island            NY       10312
 Matthew R Tomlinson                                                               3003 EaSuitern Ave                                                                                   Baltimore                MD       21224
 Matthew Ryan Kramer                                                               17777 North Scottsdale Rd #2012                                                                      Scottsdale               AZ       85255
 Matthew S. Smith                                                                  9920 Ashleigh Way                                                                                    Highlands Ranch          CO       80126
 Matthew Scott Peters                                                              40 Watson Blvd                                                                                       Colorado Springs         CO       80911
 Matthew Singh                                                                     4124 NW 88th Ave 107                                                                                 Coral Springs            FL       33065-1838



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 Matthew Smith                                                20342 W Windsor Ln                                                                                 Poter Ranch          CA       91326
 Matthew Stephen Smith                                        4750 Lincoln Blvd                                  Apt 429                                         Marina Del Ray       CA       90292
 Matthew Tyson Cox                                            106 Greenbriar                                                                                     Spartanburg          SC       29302
 Matthew Valentino Thomas                                     4235 North 35th Ave                                Apt 226                                         Phoenix              AZ       85017
 Matthew Vincent Tejeda                                       300 Carriage Dr                                    Unit C                                          Santa Ana            CA       92707
 Matthew Waina                                                8986 Mountainview Dr                                                                               Mentor               OH       44060
 Matthew Weeks                                                7474 S Alkire St                                   Apt 301                                         Littleton            CO       80127
 Matthew Wild                                                 47 Glen Knoll Dr                                                                                   Wylie                TX       75098
 Matthew Wolov                                                4710 Pin Oaks Cir                                                                                  Rockwall             TX       75032
 Matthiesen, Wickert & Lehrer S. C.                           1111 E Summer St Po Box 270670                                                                     Hartford             WI       53027-0670
 Mattia Polibio                                               72 Tracy Ave                                                                                       Totowa               NJ       07512
 Mauricio Andres Gonzalez                                     1600 N Park Dr                                                                                     Weston               FL       33326-3278
 Mauricio Andres Gonzalez-Maya                                3842 San Simeon Cir                                                                                Weston               FL       33331
 Mauricio Cabrera Rodriguez                                   1519 Mcgregor Ave                                                                                  Wichita Falls        TX       76301
 Maverick Distribution LLC                                    1322 E Hartman Ave                                                                                 Omaha                NE       68110
 Maverick Distribution LLC                                    503 6th St                                                                                         Papillon             NE       68046
 Maverick Distribution LLC                                    6210 Abbott Dr                                                                                     Omaha                NE       68110
 Maverik, Inc.                                                185 S State St Suite 800                                                                           Salt Lake City       UT       84111-1549
 Maximum Beverage Mktg                                        4708 Heatherbrook Dr                                                                               Dallas               TX       75244-7636
 Maximus Management LLC Anthony Magan                         605 Elm St 3R                                                                                      Kearny               NJ       07032
 Maya Catering LLC                                            6411 SW 16H Terr                                                                                   Miami                FL       33155
 Maya R Smith                                                 12714 Somerset Oaks St                                                                             Orlando              FL       32828
 Mayca Melo Delduque                                          Rua Padre Bento                                    43 Jardim Ipanema                               Guarulhos            SP       07000-000    Brazil
 Maykel Hernandez                                             5315 Coral ViNE Ln                                                                                 Kissimmee            FL       34758
 Maypro Industries LLC                                        2975 WestcheSuiter Ave Suite 105                                                                   Purchse              NY       10577
 Mayra Alejandra Gil Salcedo                                  Carrera 100 #42-65 Piedra grande 202-2             Valle del Lili                                  Cali                                       Colombia
 Mayra Alejandra Gil Salcedo Camilita Gil                     Carrera 100                                        #42-65 Piedra Grande 202-2                      Narino                                     Colombia
 Mayra Enriques                                               841 W Hollis St                                                                                    Nashua               NH       03062
 Mayra Goni                                                   1424 NE Miami Pl                                                                                   Miami                FL       33132
 Mayra Magana                                                 4026 Cottage Dr                                                                                    San Bernardino       CA       92407
 Mbali Estie                                                  44 Alsatian Rd AH G-GFO2C                          Gauteng                                         Midrand                       1685         South Africa
 MBF International INC                                        17688 SW 11th St                                                                                   Pembroke Pines       FL       33029
 MBI Industrial Medicine Inc.                                 3501 W Osborn Rd                                                                                   Phoenix              AZ       85019-4037
 MC Projects, LLC                                             5399 Playa Vista Dr #E-300                                                                         Playa Vista          CA       90094
 McBrady Engineering, Inc.                                    PO Box 2549                                                                                        Joliet               IL       60434
 MCC Truck Collision                                          1467 Field Park Cir                                                                                Marietta             GA       30066-5946
 MCC/Fort Dearborn Company                                    1530 MorSE Ave                                                                                     Elk Grove Village    IL       60007-5724
 McClure Real Estate Investments DBA                          117 N Flagler Ave                                                                                  Edgewater            FL       32132
 McCollum, Debbie                                             2777 Woodland Park Dr 1604                                                                         Houston              TX       77082
 McCraith Beverages, Inc                                      20 BurrstoNE Rd                                                                                    New York             NY       13417-1508
 Mccray Enterprises Ricky Mccray                              24268 5th St                                                                                       San Bernardino       CA       92410
 McDowell Packaging & Advertising Mc Dowell                   2700 E Plano Pkwy                                                                                  Plano                TX       75074-7417
 McGlinchey Stafford, LLC                                     One E Broward Blvd                                                                                 Fort Lauderdale      FL       33301
 Mckenzi Brooke Howey                                         1431 NW 85th Way                                                                                   Plantation           FL       33322
 McKenzie Leigh Quigley                                       504 West Grand Central Ave                         Apt 716 N                                       Tampa                FL       33606
 McKernan Packaging Clearing House                            PO Box 7281                                                                                        Reno                 NV       89510-7281
 Mckinley Jade Richardson                                     14811 SE 50th St                                                                                   Bellevue             WA       98006
 McKinney Trailer Rentals                                     8400 E Slauson Ave                                                                                 Pico Rivera          CA       90660
 Mckinnis Lehman                                              6045 Mitchaw Rd                                                                                    Sylvania             OH       43560
 McLane Grocery                                               3200 McLn Dr                                                                                       Findlay              OH       45840-8825
 McQuade Distributing Co., Inc.                               1150 Industrial Dr                                                                                 Bismarck             ND       58501-3315
 McQuade Distributing Co., Inc.                               PO Box 1196                                                                                        Bismarck             ND       58502
 MDV SpartanNash                                              1133 Kingwood Ave                                                                                  Norwalk              VA       23502
 MDV SpartanNash                                              1187 Azalea Garden Rd                                                                              Norfolk              VA       23502
 MDV SpartanNash                                              PO Box 809147                                                                                      Chicago              IL       60680-9147
 Meagan Rodriguez                                             7572 SW 157th Place                                                                                Miami                FL       33173
 Mechanical Products SW                                       2620 E RoSE Garden Ln Suite 1                                                                      Phoenix              AZ       85050-4602
 Medium Rare Activations, LLC                                 447 BRdway 2 nd Fl #278                                                                            New York             NY       10013
 Medium Rare Live, LLC Medium Rare, Inc.                      280 Park Ave South 4M                                                                              New York             NY       10010
 Medley Logistics                                             9770 Nw 91 Ct                                                                                      Medley               FL       33178
 Megan Bischoff                                               4006 Longneedle                                                                                    Winter Springs       FL       32708
 Megan Denkler                                                20805 Paseo Panorama                                                                               Yorba Linda          CA       92887
 Megan DuBois                                                 623 Ash St                                                                                         Carleton             MI       48117
 Megan E Boemmel                                              1546 West Lemon St                                                                                 Tampa                FL       33606
 Megan Elizabeth Workman                                      121 Northeast 3rd St                               Apt 811                                         Fort Lauderdale      FL       33301
 Megan Fuhrman                                                2829 Murray Pass                                                                                   Odessa               FL       33556
 Megan Fuhrman                                                598 Trelago Way                                    Apt 301 Bldg 11                                 Maitland             FL       32751
 Megan Gilbert                                                320 Edge Of Woods Rd                                                                               Saint Augustine      FL       32092
 Megan Harbaugh                                               3900 Mcneil Dr                                                                                     Petersburg           MI       49270
 Megan Jeannine Patnode                                       2815 E Isaacs Ave                                                                                  Walla Walla          WA       99362
 Megan Jordan                                                 2214 Jean Dr                                                                                       Marysville           CA       95901
 Megan M. Boetto                                              1909 Houndslake Dr                                                                                 Winter Park          FL       32792
 Megan Magee                                                  35930 Haven Dr                                                                                     Rehoboth             DE       19971
 Megan Mary DeLuca                                            435 Barker Rd                                                                                      Springfield          CA       19064
 Megan Owoc                                                   1721 SW 131 Terrace                                                                                Davie                FL       33325



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 Megan Renay DuBois                                                         623 Ash St                                                                                            Carleton            MI       48117
 Megan Skaggs LLC                                                           1746 SW 38th Ter                                                                                      Gainesville         FL       32607-4108
 Megan Stephanie Skaggs                                                     3545 NW 24th Blvd                                Apt 8-205                                            Gainesville         FL       32605
 Meghan Marion Bischoff                                                     4006 Longneedle Ln #106                                                                               Winter Springs      FL       32708
 Meghan Mcfarland                                                           613 NE 2nd Ave                                                                                        Fort Lauderdale     FL       33304
 Mehall Contracting, LLC                                                    6100 W Gila Springs Place # 19                                                                        Chandler            AZ       85226
 Mehmet Inkaya                                                              SokNo:12-14 Sitesi                                                                                    Camdibi Izmir                57453        Turkey
 Mekai J. Collins                                                           617 Greentree Dr                                                                                      Hillsborough        NC       27278
 Mekinna Lee Garamendi                                                      25 Sommerlyn Rd                                  Apt 110                                              Colorado Springs    CO       80906
 Melanie Aylward                                                            10 Koedoe St                                     Schoongezight                WeSuitern Cape          Cape Town                    7550         South Africa
 Melanie Figueroa Nieves                                                    100 Kings Point Dr                               Unit 1518                                            Sunny Isles Beach   FL       33160
 Melanie Freedman                                                           3436 BoiSE Way                                                                                        Cooper City         FL       33026
 Melanie San Roman                                                          4949 Printers Way                                Apt 282                                              Frisco              TX       75033
 Melissa Alvarez                                                            1000 NW 1St Ave                                  Apt 710                                              Miami               FL       33136
 Melissa Alvarez Tibabbisco International                                   1000 NW 1St Ave 710                                                                                   Miami               FL       33136-3636
 Melissa Diaz-Fernandez                                                     8215 SW 72nd Ave                                                                                      Miami               FL       33143
 Melissa Faccenetti                                                         522 Debra St                                                                                          Livermore           CA       94550
 Melissa Malonson                                                           12911 West Central St                                                                                 Surprise            AZ       85374
 Melissa Morales Gomez                                                      230 NE 4th St # 2311                                                                                  Miami               FL       33132
 Melissa Moreno                                                             10815 StoNE Haven Dr                                                                                  Bakersfield         CA       93306
 Melissa Riso                                                               PO Box 69A82                                                                                          West Hollywood      CA       90069
 Meliza Ocampo Campuzano Meli Ocampo                                        30602 Midtown Ct                                                                                      Wesley Chapel       FL       33545
 Mello Rached Sociedade Advogados                                           Av Brg Faria Lima Ave                            4th Fl 3311                                          Itaim Bibi          SP                    Brazil
 Melody Horbach                                                             6419 Timber Bluff Pt                             Apt 104                                              Colorado Springs    CO       80918
 Melville Law, P.A.                                                         101 NE 3rd Ave                                                                                        Ft Lauderdale       FL       33301
 Melvin A Matias                                                            3150 Southwest 54th Ave                                                                               Davie               FL       33314
 Melvin A Navarrete                                                         1180 Northwest 123rd Place                       Unit 1211                                            Miami               FL       33182
 Menifee Storage                                                            27437 Murrieta Ave                                                                                    Sun City            CA       92585
 Mercedes Goldseth                                                          86607 Illusive Lake Crt                                                                               Yulee               FL       32097
 Mercedes Gutierrez                                                         22068 Seashore Cir                                                                                    Estero              FL       33928
 Mercedesz Meszaros                                                         170 N Church Ln                                                                                       Los Angeles         CA       90049
 Merchandising Services, Co.                                                9891 Montgomery Rd # 320                                                                              Montgomery          OH       45242-6424
 Merchants Bonding Company                                                  PO Box 310180                                                                                         Des Moines          IA       50331-0180
 MERCPL, LLC                                                                1559 SW 21St Ave                                                                                      Ft Lauderdale       FL       33312
 Mercy Garcia                                                               8405 Hammocks Blvd                               Apt 4314                                             Miami               FL       33193
 Meredith Latrise Mayfield                                                  2205 North 27th Place                                                                                 Phoenix             AZ       85008
 Mesa Laboratories, Inc.                                                    12100 W 8th Ave                                                                                       Lakewood            CO       80228
 MeshWrx, Inc.                                                              501 West Southern Ave                                                                                 Orange              CA       92865
 MetLife                                                                    PO Box 804466                                                                                         Kansas City         MO       64180-4466
 MetLife Insurance                                                          PO Box 804466                                                                                         Kansas City         MO       64180-4466
 Metro Beverage of Philadelphia Speedway                                    1200 Watercrest Way                                                                                   Cheswick            PA       15024
 Metro Beverage of Philadelphia Speedway                                    455 Dunksferry Rd                                                                                     Bensalem            PA       19020-5907
 Metro Exhibits, LLC                                                        15 Riverside Dr                                                                                       Pine Brook          NJ       07058
 Metrohm USA, Inc                                                           PO Box # 405562                                                                                       Atlanta             GA       30384
 Mfanelo Allan Khubayi                                                      239 Miriana St                                   Sinoville                                            Pretoria                     0182         South Africa
 MG Legal Group, P.A.                                                       3126 Center St                                                                                        Coconut Grove       FL       33133
 MHW, Ltd/ Doehler NA                        Shelly Alicz                   1129 Northern Blvd Suite 312                                                                          Manhasset           NY       11030-3022
 Mi Kyoung Kim                                                              1701 PayNE St # 204                                                                                   Dallas              TX       75201
 Mia Hayward                                                                4440 Hayvenhurst Av                                                                                   Encino              CA       91436
 Mia Lynn Carastro                                                          4501 S Datura Ave                                                                                     Tampa               FL       33611
 Mia Rodriguez                                                              2106 E Saltsage Dr                                                                                    Phoenix             AZ       85048
 Mia Valencia                                                               18995 S BeltliNE Rd                                                                                   Laveen              AZ       85339
 Mialou Stevens                                                             2028 Barx Dr                                                                                          Little Elm          TX       75068
 Mialou Stevens                                                             2028 Brax Dr                                                                                          Little Elm          TX       75068
 Miami Apparel Group, Inc.                                                  9901 NW 80th Ave #3-C                                                                                 Hialeah Gardens     FL       33016
 Miami Design Studios, Inc.                                                 401 BiscayNE Blvd #N133                                                                               Miami               FL       33132
 Miami-Dade County Fire Department                                          9300 NW 41st St                                                                                       Miami               FL       33178-2414
 Mica                                                                       3130 Millwood Ter                                                                                     Boca Raton          FL       33431-6529
 Micah Elisha Jeron Starks                                                  13903 Cohan Way                                                                                       San Antonio         TX       78253
 Micah Joseph Ornelas                                                       4007 Casita Way                                                                                       San Diego           CA       92115
 Michael Amar                                                               6973 Graceful Cloud Ave                                                                               Henderson           NV       89011
 Michael Andre Britt                                                        306 Southlake Cove Ct                                                                                 Jonesboro           GA       30236
 Michael Anthony Alfaro                                                     4300 Waits Ave                                                                                        Fort Worth          TX       76133
 Michael Anthony Hernandez                                                  13684 West thomas St                                                                                  Casa Grande         AZ       85122
 Michael Anthony Moore                                                      2489 Kimball Dr                                                                                       Ormond Beach        FL       32174
 Michael Anthony Zavala                                                     5518 West Milada Dr                                                                                   Phoenix             AZ       85339
 Michael Anthony Zmerzlikar                                                 4895 Summit View Dr                                                                                   El Dorado           CA       95623
 Michael B Tripp                                                            1600 N Park Dr                                                                                        Weston              FL       33326-3278
 Michael B Tripp II                                                         6341 West Basalt Cove                                                                                 West Jordan         UT       84081
 Michael Barron                                                             5318 West Apollo Rd                                                                                   Phoenix             AZ       85339
 Michael Bruno                                                              11326 N 46 St # 414                                                                                   Tampa               FL       33617
 Michael C Greer                                                            3700 NE Akin Cir B                                                                                    Lees Summit         MO       64064-3701
 Michael C. Taylor Productions, INC                                         4323 NW 103rd                                                                                         Sunrise             FL       33351
 Michael Cabrera                                                            500 N Andrews Ave 179                                                                                 Fort Lauderdale     FL       33301
 Michael Carrion                                                            3195 Coral Ridge Dr                                                                                   Coral Springs       FL       33065



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 Michael Christopher Greer                                     3700 Northeast Akin Cir                             Unit B                                            Lees Summit           MO       64064
 Michael Christopher Schoeman                                  320 Via Villagio                                                                                      Hypoluxo              FL       33462
 Michael Daivd Humphries                                       11340 Wembley Rd                                                                                      Los Alamitos          CA       90720-3855
 Michael Daniel Lutz                                           327 Crescent Hill Dr                                                                                  Havertown             PA       19083
 Michael Del Verne                                             2044 Crown Dr                                                                                         Saint Augustine F     FL       32092
 Michael Delgiudice                                            4703 South Saint Brides Cir                                                                           Orlando               FL       32812
 Michael Dominick Spadea                                       5187 College Ave                                                                                      San Diego             CA       92115
 Michael Douglas Fitch                                         3811 Northwest 90th Way                                                                               Sunrise               FL       33351
 Michael E Diaz II                                             9860 Sheridan St                                    Apt 101                                           Pembroke Pines        FL       33024
 Michael Espinal                                               550 Okeechobee Blvd #1521                                                                             West Palm Beach       FL       33401
 Michael Eugene Dexter                                         1619 S Coral Terrace                                                                                  North Lauderdale      FL       33068
 Michael Eugene O'Rielly                                       15218 South 42nd St                                                                                   Phoenix               AZ       85044
 Michael Ferguson                                              5005 Canvasback Ct                                                                                    Frederick             MD       21703
 Michael Festekjian                                            1265 Coronet Ave                                                                                      Pasadena              CA       91107
 Michael Ford                                                  278 Stonewell Dr                                                                                      Jacksonville          FL       32259
 Michael Gilmer                                                4592 S Point Rd                                                                                       Diamond Springs       CA       95619
 Michael Holston Team Plugged LLC Tarzan                       1495 West BiscayNE Canal Rd                                                                           Miami Shores          FL       33161
 Michael J Cloutier                                            31 Temple Dr                                                                                          Methuen               MA        1844
 Michael J Morgan                                              1201 Meadowlakes Dr                                                                                   Azle                  TX       76020
 Michael J Weddel                                              6731 Grace Hammock Rd                                                                                 St Cloud              FL       34773
 Michael Jacob Wilson Mickey                                   4493 Hwy 550 S                                                                                        Durango               CO       81303
 Michael Joe Perry                                             10361 Huntington Rd                                                                                   Frisco                TX       75035
 Michael Kennedy                                               1727 W CatheriNE Dr                                                                                   Anaheim               CA       92801
 Michael L Christian                                           10828 Peppermill Dr                                                                                   Raleigh               NC       27614
 Michael L Oglesbee Jr                                         3849 Cane River Rd                                                                                    Fort Worth            TX       76244
 Michael L. Prange                                             5636 N Rogers Ave                                                                                     Chicago               IL       60646
 Michael Long                                                  504 Early Wyne Dr                                                                                     Taylorsville          KY       40071
 Michael Marais                                                159 Latania St                                                                  Gauteng               Pretoria                       0182         South Africa
 Michael McGuigan                                              10816 Crushed Grape Dr                                                                                Riverview             FL       33578
 Michael Mcknight                                              605 Ave H                                                                                             Delray Beach          FL       33483
 Michael Monahan                                               2970 Oakland Dr                                                                                       Green Cove Springs    FL       32043
 Michael Montana                                               26 Barksdale Dr                                                                                       Charles Town          WV       25414
 Michael Mulderink                                             10025 Decoursey Pike                                                                                  Ryland Heights        KY       41015
 Michael Newman                                                1612 Woodcrest Dr                                                                                     Daytona Beach         FL       32119
 Michael Noth, TIMES Attorneys                                 Feldeggstrasse 12                                                                                     Zurich                         8024         Switzerland
 Michael P Barth                                               1600 N Park Dr                                                                                        Weston                FL       33326-3278
 Michael P O'Donnell                                           1600 N Park Dr                                                                                        Weston                FL       33326-3278
 Michael Patrick Barth                                         4700 West Guadalupe St                              Apt A220                                          Austin                TX       78751
 Michael Patrick O'Donnell                                     2490 North 212th Ln                                                                                   Buckeye               AZ       85396
 Michael Paul Sayih                                            1119 Northwest 143rd Ave                                                                              Pembroke Pines        FL       33028
 Michael Pluto                                                 12767 StoNE Tower Loop                                                                                Fort Myers            FL       33913
 Michael Prieboy                                               3660 E Kimball Rd                                                                                     Gilbert               AZ       85297
 Michael Ray Wallace                                           2033 Midhurst Dr                                                                                      Allen                 TX       75025
 Michael Ray Watson                                            3848 Aspen Leaf Dr                                                                                    Boynton Beach         FL       33436
 Michael Raymond Tate                                          1019 Enfilar Ln                                                                                       Arlington             TX       76017-6344
 Michael Rivera                                                542 Trellis Ct                                                                                        Orlando               FL       32809
 Michael Sarver                                                642 Sennett St                                                                                        Batavia               IL       60510
 Michael Saylh                                                 1119 NW 118th Dr                                                                                      Coral Springs         FL       33071
 Michael Silfa                                                 1283 South Wulnut St                                                                                  La Porte              IN       46350
 Michael Sodeinde                                              6304 Lotus Dr                                                                                         Arlington             TX       76001
 Michael Stakley Michael                                       13700 Sutton Park Dr # 1228                                                                           Jacksonville          FL       32224
 Michael Sweeney                                               137 Cordillo Pkwy                                   Apt 6402                                          Hilton Head Island    SC       29928
 Michael Tua                                                   1955 Arrowhead Dr Ne                                                                                  Saint Petersburg      FL       33703
 Michael Venditto                                              9994 Robins Nest Rd                                                                                   Boca Raton            FL       33496
 Michael Wesley Renick                                         656 Desert Passage St                                                                                 Henderson             NV       89002
 Michael Westbrook                                             1536 Mayflower Dr                                                                                     Allen                 TX       75002
 Michael Winston Woods                                         3764 Sedgewick St Sw                                                                                  Concord               NC       28027
 Michaela Lindt                                                5107 Ewing St                                                                                         San Diego             CA       92115
 Micheal Bergstrom                                             5804 Stoneshead Ct                                                                                    Westerville           OH       43081
 Micheal Davis                                                 12188 Ruby Ln                                                                                         Riverside             CA       92503
 Micheal Lockwood                                              6580 Lochleigh Ct                                                                                     Alexandria            VA       22315
 Michel Hernandez                                              6961 Southwest 128th Ct                                                                               Miami                 FL       33183
 Michele Catherine Walton                                      142 Meadow View Glen                                                                                  Newnan                GA       30265
 Michele S Ross                                                5521 SW 109th Ave                                                                                     Davie                 FL       33328
 Michelle Abante Shelly                                        9057 Palmas Altas St                                                                                  Las Vegas             NV       89178
 Michelle Elizabeth Parikh                                     76 Lothrop Rd                                                                                         Grosse Pointe Farms   MI       48236-3621
 Michelle Gagne                                                8134 Heartbrook Field Ln                                                                              Cypress               TX       77433
 Michelle Gardner                                              9521 Stanley Ln                                                                                       Tamarac               FL       33321
 Michelle Nylen                                                57 Morton Ave                                                                                         Medford               MA        2155
 Michelle Ojeda                                                2145 NE 163rd St                                    Apt 328                                           North Miami Beach     FL       33162
 Michelle Ruby Castaneda                                       7565 Blanchard Ave                                                                                    Fontana               CA       92336
 Michigan Department of the Attorney General                   G Mennen Williams Building 7th Floor                525 W Ottawa St                                   Lansing               MI       48933
 Mickey Truck Bodies Inc.                                      PO Box 890036                                                                                         Charlotte             NC       28289-0036
 Micro Precision Calibration, Inc.                             22835 Industrial Pl                                                                                   Grass Valley          CA       95949-6326
 Micro Quality Labs, Inc                                       3120 N Clybourn                                                                                       Burbank               CA       91505



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 Midgard Self Storage                                            2600 N Roosevelt Blvd                                                                                      Key West            FL       33040-3903
 Midland Credit Management Inc                                   PO Box 2121                                                                                                Warren              MI       48090-2121
 Midlane Kelly                                                   1265 Andora Falls St                                                                                       Tampa               FL       33619
 Mid-State Beverage Co                                           1805 E 3rd St                                                                                              Williamsport        PA       17701
 Midwives Association of Florida                                 4431 NW 10 St                                                                                              Coconut Creek       FL       33066
 Miele, Incorporated                                             9 Independence Way                                                                                         Princeton           NJ       08540
 Miguel A Orellana                                               20311 Sheridan St                                                                                          Ft Lauderdale       FL       33332-2313
 Miguel A. Rivera                                                4512 Pueblo Peak Way                                                                                       Bakersfield         CA       93311
 Miguel Aguilar                                                  27480 Cherry Creek Dr                                                                                      Valencia            CA       91354
 Miguel Alexander Mejias                                         4304 Pershing Pointe Place 5                                                                               Orlando             FL       32822
 Miguel Angel Orellana Jr                                        7401 Lankershim Blvd                             Unit 403                                                  North Hollywood     CA       91605
 Miguel Espinoza                                                 1650 Sycamore Dr                                                                                           Chula Vista         CA       91911
 Miguel Wenceslao Barajas                                        16428 Ruby Lake                                                                                            Weston              FL       33331
 Miguelina A Santana                                             3323 Northwest 79th Way                                                                                    Hollywood           FL       33024
 Mikael Chabot                                                   13950 NW Passage 206                                                                                       Marina Del Rey      CA       90292
 Mikaila Dancer LLC Mikaila Murphy                               14544 Ellen Dr                                                                                             Livonia             MI       48154
 Mikala Barsaloux                                                8143 Wellsmere Cir                                                                                         Orlando F           FL       32835
 Mikala King                                                     1716 East Park Blvd                                                                                        Plano               TX       75074
 Mikaylah Sayles                                                 44 Windbrooke Cir                                                                                          Gaithersburg        MD       20879
 Mike Alfinez                                                    5090 Palm Hill Dr                                Unit 199                                                  West Palm Beach     FL       33415
 Mike Barron                                                     5318 W Apollo Rd                                                                                           Laveen              AZ       85339-6915
 Mike Hagen                                                      1764 PiNE Ridge Dr Ne                                                                                      Atlanta             GA       30324
 Mike Hanophy                                                    2922 Lexington Glen Blvd                                                                                   Monclova            OH       43542-9791
 Mikealelisha Cash Elisha Cash                                   707 Brentford Place #125                                                                                   Arlington           TX       76006
 Mikeila Jones                                                   15940 Ellington Way                                                                                        Chino Hills         CA       91709
 Milad Abramov                                                   420 Queens Rd                                    Unit 10                                                   Charlotte           NC       28207
 Miles Stephen O' Neill                                          3450 Crump Rd                                                                                              Winter Haven        FL       33881
 Mill Creek Environmental                                        4055 Hwy 53 East                                                                                           Dawsonville         GA       30534
 Millennium Pallet                                               6016 N Main St Se                                                                                          Acworth             GA       30101-3325
 Miller Glass & Glazing, Inc                                     100 Park Central Blvd South                                                                                Pompano Beach       FL       33064
 Miller Stiven Riascos                                           1441 Northwest 19th St                           Apt 229                                                   Miami               FL       33125
 Milling Law Firm, LLC                                           2910 DeviNE St                                                                                             Columbia            SC       29205
 Millwood, Inc.                                                  3708 International Blvd                                                                                    Vienna              OH       44473
 Milos Vucinic Diana Moric                                       Narodnih Heroja 4418                                                                                       Belgrade                     11000        Serbia
 Milva Di Lorenzo                                                11531 SW 12th Ct                                                                                           Davie               FL       33325
 MilwaukeeWarehouse.com LLC                                      4611 N 32nd St                                                                                             Milwaukee           WI       53209
 MINER Florida, Ltd.                                             1131 Gateway Blvd                                                                                          Boynton Beach       FL       33426
 Miner, LTD                                                      PO Box 953381                                                                                              Saint Louis         MO       63195-3381
 Minh Jeffrey Le                                                 236 S Los Angeles St #B512                                                                                 Los Angeles         CA       90012
 Minnesota Department of Revenue                                 PO Box 64622                                                                                               St Paul             MN       55164-0622
 Minnesota Office of the Attorney General                        445 Minnesota St Suite 1400                                                                                St Paul             MN       55101
 Minnesota Revenue                                               1765 Mail Station                                                                                          St Paul             MN       55145-1765
 Mipramar S.A.//Fitness Solution                                 PhH Don Bosco                                    Suite 001-Av de la Paz         Ground Floor               El Ingenio                   0819-10866   Panama
 Miranda Jane Richards                                           6801 Brookshire Dr                                                                                         Canton              MI       48187
 Miranda Taylor Winn                                             751 Bonfire Dr                                                                                             Mebane              NC       27302
 Miriam Reyes Gallo                                              256 Eastwind Ct                                                                                            Westerville         OH       43081
 Mirjam Hornetz                                                  In der old 32                                    Rheinland-pfalz                                           Gusterath                    54317        Germany
 Miss Labrin Fit Inc Ana Labrin                                  15062 SW 70th St                                                                                           Miami               FL       33193-1903
 Mission Beverage Co.                                            PO Box 33256                                                                                               Los Angeles         CA       90033
 Mississippi Office of the Attorney General                      Walter Sillers Building                          550 High St Suite 1200                                    Jackson             MS       39201
 Missouri Attorney General's Office                              Supreme Ct Building                              207 W High St                                             Jefferson City      MO       65101
 Missouri Department of Public Safety Missouri                   1738 E Elm St-Lower Level                                                                                  Jefferson City      MO       65101
 Missouri Department of Revenue                                  PO Box 555                                                                                                 Jefferson City      MO       65105-0555
 Missouri Division of Employment Security                        PO Box 59                                                                                                  Jefferson City      MO       65104-0059
 Missouri Eagle, LLC                                             22953 Professional Ln                                                                                      Lebanon             MO       65536
 Missouri Eagle, LLC                                             242 Highway Mm                                                                                             Lebanon             MO       65536-5417
 Missouri Eagle, LLC                                             3121 EnterpriSE Ave                                                                                        Joplin              MO       64801
 Mister Coliision, Inc                                           14011 N Suitemmons Freeway                                                                                 Farmers Branch      TX       75234
 Misty Sivers                                                    7385 Parkplace Dr Ne                                                                                       Keizer              OR       97303
 Mitchel Lincoln Packaging Ltd                                   3737 Thimens Blvd                                                                                          Montreal            QC       H4R 1V1      Canada
 Mitchell Alexander Tosi                                         13717 North 42nd St                              Apt 2                                                     Tampa               FL       33613
 Mitchell Beverage Gulf Coast, LLC                               100 James E Chaney Dr                                                                                      Meridian            MS       39307-6720
 Mitchell Beverage Gulf Coast, LLC                               12100 Intraplex Pkwy                                                                                       Gulfport            MS       39503
 Mitchell Beverage Meridian, Inc                                 100 James E Chaney Dr                                                                                      Meridian            MS       39307-6720
 Mitchell Beverage Meridian, Inc                                 227 Cdf Blvd                                                                                               Shannon             MS       38801
 Mitchell Beverage of Maryland LLC DBA                           10000 Franklin Square Dr                                                                                   Nottingham          MD       21236-4980
 Mitchell Delta Dist. dba - Shannon                              100 James E Chaney Dr                                                                                      Meridian            MS       39307-6720
 Mitchell Delta Dist. dba - Shannon                              227 Cdf Blvd                                                                                               Shannon             MS       38868
 Mitchell Delta Distributing                                     100 James E Chaney Dr                                                                                      Meridian            MS       39307-6720
 Mitchell Delta Distributing                                     1200 Highway 82 E                                                                                          Leland              MS       38756
 Mitchell Gilliam                                                12211 Windus Ct                                                                                            Charlotte           NC       28273
 Mitsubishi Int'l Food Ingredients, Inc.                         411 Hackensack Ave                                                                                         Hackensack          NJ       07601-6328
 MIX3 SOUND, INC                                                 16405 NW 8th Ave                                                                                           Miami               FL       33169-5812
 MJ TruckNation                                                  3775 Interstate Park Rd                                                                                    Riviera Beach       FL       33404
 MKK Consulting Services, PTY LTD                                PJS Level 1 'The Bub'                                                                                      Capalaba                     QLD 4157     Australia



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                        Name                                    Attention                                Address 1                                 Address 2                Address 3                 City   State        Zip              Country
 ML Servicio De Apoio Empresarial                                               Avenida Paulista                                  1765 12 Floor                                         Sao Paulo                    01311-200    Brazil
 MMI Tank & Industrial Services                                                 3240 S 37th Ave                                                                                         Phoenix              AZ      85009
 MMR Strategy Group                                                             16501 Ventura Group Suite 601                                                                           Encino               CA      91436
 Mobile Force Refueling, LLC                                                    PO Box 13427                                                                                            Tempe                AZ      85284-0058
 Mobilesource Corp.                                                             3500 NW Boca Raton Blvd #603                                                                            Boca Raton           FL      33431
 Mockler Beverage Company                                                       11811 Reiger Rd                                                                                         Baton Rouge          LA      70809-4925
 Model Volleyball, LLC                                                          650 NE 32nd St 3902                                                                                     Miami                FL      33137
 Modern Storage Maumelle Boulevard LLC                                          9800 Maumelle Blvd                                                                                      N Little Rock        AR      72113-7027
 Modesto Sarna                                                                  78494 Ewarton Rd                                                                                        Bermuda Dunes        CA      92203
 Modinco S.A                                                                    N 50-20 Floor 9 Carrera 52                                                                              Medellin                                  Colombia
 Moises Batista                                                                 2982 Clipper Cove Ln 102                                                                                Kissimmee            FL      34741-0889
 Moises Campos Batista                                                          1700 Mindanao Dr 907                                                                                    Jacksonville         FL      32246
 Molly Maid of Colorado Springs                                                 1925 Dominion Way Suite 104                                                                             Colorado Springs     CO      80918
 Molly Maid of Denver West                                                      9797 W Colfax Ave                                                                                       Lakewood             CO      80215
 Monica Day                                                                     638 Hcr 1429                                                                                            Covington            TX      76636
 Monica Marie Lara                                                              8438 North 54th Dr                                                                                      Glendale             AZ      85302
 Monica Michelle Matute                                                         102 Northwest 86th Place                                                                                Miami                FL      33126
 Monica Olender                                                                 9933 Bosque Creek Cir                             Apt 304                                               Tampa                FL      33619
 Monica Risley                                                                  159 SE 27th Ct                                                                                          Boynton Beach        FL      33435
 Monica Rose and Sam Patterson                                                  325 Caliza Cir                                    Apt 8322                                              St Augustine         FL      32084
 Monica Schlosser                                                               11570 Gorham Dr                                                                                         Cooper City          FL      33026
 Monique Angelica Cruz Plevin                                                   235 Valle Vista Ave                                                                                     Hayward              CA      94544
 Monique Ashley Tessier                                                         2321 Laguna Cir 1108                                                                                    North Miami          FL      33181
 Monique Ashley Tessier- Add not returned                                       2321 Laguna Cir Unit 1108                                                                               North Miami          FL      33181
 Monique Gaxiola                                                                10316 Woodley Ave                                                                                       Granada Hills        CA      91394
 Monique Hopley                                                                 5 BrightSuiteet                                   Somerset West                                         Cape Town                    7130         South Africa
 Monroe County Tax collector                                                    1200 Truman Ave Suite 101                                                                               Key West             FL      33040
 Monsee G. Wood VGR Creative Group                                              9 Oak Hill Dr                                                                                           Jackson Springs      NC      27281
 Monster & Reign                                                                1 MonSuiter Way                                                                                         Corona               CA      92879
 Monster Energy Company                         c/o Hueston Hennigan LLP        Attn: John C Hueston                              523 W 6th St                  Suite 400               Los Angeles          CA      90014
 Monster Energy vs. Quang Nguyen (2020)         Quang Nguyen                    211 9th st                                                                                              Marina               CA      93933
 Monster vs. Dees, Shane (2020)                 Bryan Shane Dees                12148 Bella Palazzo Drive                                                                               Fort Worth           TX      76126
 Monster vs. Stephen Cohen (2019)               Stephen Cohen                   1202 Red Bud Ln                                                                                         Canton               GA      30114
 Monster vs. Troglia (2020)                     Shannon Troglia                 1670 W Gunstock loop                                                                                    Chandler             AZ      85286
 Monster vs. VPX & Owoc (2018)                  Monster Energy Company          1 MonSuiter Way                                                                                         Corona               CA      92879
 Montana Maureen Lambdin                                                        8243 E Mackenize Dr                                                                                     Scottsdale           AZ      85251
 Montana Office of the Attorney General                                         215 N Sanders                                     Justice Building Third Fl                             Helena               MT      59601
 Montgomery Flores                                                              3 Chelsea Way                                                                                           San Antonio          TX      78209
 Mooney Container Service Inc.                                                  1112 Winifred Dr                                                                                        Tallahassee          FL      32308
 Moore & Van Allen PLLC                                                         100 North Tyron St Suite 4700                                                                           Charlotte            NC      28202-4003
 Moore Rabinowitz Law, P.A.                                                     8751 W Broward Blvd Suite 300                                                                           Plantation           FL      33324
 Moosoo Corporation                                                             7818 S 212th St Suite A110                                                                              Kent                 WA      98032
 Moove In Self storage-Tiffin                                                   103 Village Dr                                                                                          Tiffin               IA      52340-9227
 Morgan A. Finnie                                                               14 Whitehall Rd C1                                                                                      Eastchester          NY      10709
 Morgan Alexa Yarberry                                                          27258 N 96th Ln                                                                                         Peoria               AZ      85383
 Morgan Gage Spencer                                                            7810 N 14th Place #1028                                                                                 Phoenix              AZ      85020
 Morgan Harvill                                                                 4750 Lincoln Blvd                                                                                       Marina Del Rey       CA      90292-6900
 Morgan Harvill                                                                 4750 Lincoln Blvd                                 Apt 464                                               Marina Del Rey       CA      90292
 Morgan L Duty                                                                  11057 Northwest 8th Ct                                                                                  Plantation           FL      33324
 Morgan Letter                                                                  1695 East Locust Place                                                                                  Chandler             AZ      85286
 Morgan Majka                                                                   759 S Royal Oaks Pkwy                             Apt 202                                               Fayetteville         AR      72701
 Morgan Mchenry                                                                 25608 E Glasgow Place                                                                                   Aurora               CO      80016
 Morgan Smith                                                                   910 W TimberLn Dr                                                                                       Mount Holly          NC      28120
 Morgan Vanasco                                                                 15805 Wheatfield Pl                                                                                     Tampa                FL      33624
 Morningstar of MacArthur                                                       12520 N Macarthur Blvd                                                                                  Oklahoma City        OK      73142-3005
 Morrison Timing Screw dba Morrison Container                                   335 W 194th St                                                                                          Glenwood             IL      60425-1501
 Mose Jr Smith                                                                  917 NW 5th St #1                                                                                        Fort Lauderdale      FL      33311
 Moses Alam                                                                     532 Branaugh Ct                                                                                         Hayward              CA      94544
 Moses Mora                                                                     9300 Lakehurst Ave                                                                                      Rowlett              TX      75089
 Motion Friendly                                                                11113 BiscayNE Blvd #1954                                                                               Miami                FL      33181
 Motion Industries                                                              2501 SW 160th Ave Suite 100                                                                             Miramar              FL      33027
 Motiv Servicing Company LLC Sport Event                                        5904 Warner Ave 475                                                                                     Huntingtn Bch        CA      92649-4689
 Motive Energy Inc.                                                             2911 East Commercial St Bldg B                                                                          Anaheim              CA      92801
 Mountain Eagle                                                                 559 Industrial Park Rd                                                                                  Beaver               WV      25813
 Mountain State Beverage, Inc.                                                  300 Greenbrier Rd                                                                                       Summersville         WV      26651-1826
 Moyle Petroleum Co                                                             PO Box 2860                                                                                             Rapid City           SD      57709-2860
 Mr. Office Furniture                                                           700 NW 57th Ct                                                                                          Fort Lauderdale      FL      33309
 MSC Industrial Supply Co.                                                      2300 East Newlands Dr                                                                                   Fernley              NV      89408-0000
 Mt. Hawley Insurance Company                                                   9025 N Lindbergh Dr                                                                                     Peoria               IL      61615
 MU2 Productions LLC                                                            275 N Swinton Ave                                                                                       Delray Beach         FL      33444
 Muinda Royal                                                                   7820 NW 45th St                                                                                         Lauderhill           FL      33351
 Mullally Distributing Co., Inc.                                                1401 Martin St                                                                                          Cuba                 MO      65453
 Mullally Distributing Co., Inc.                                                Hwy 19 & Ih 44                                                                                          Cuba                 MO      65453
 Multi Packaging Solutions Inc                                                  75 Remittance Dr Dept 3111                                                                              Chicago              IL      60675-3111
 Munanyo LLC Jay Ferrer                                                         9505 49th St N                                                                                          Pinellas Park        FL      33782-5266



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                      Name                   Attention                                Address 1                                 Address 2         Address 3                 City    State        Zip          Country
 Muneer Rahaman                                              18424 NW 13th St                                                                                 Pembroke Pines       FL       33029
 Munson Machinery Co., Inc.                                  210 Seward Ave                                                                                   Utica                NY       13502-5750
 Murchison & Cumming, LLP                                    801 South Grand Ave                                                                              Los Angeles          CA       90017
 Murepha A McKoy                                             2006 Southwest 101St Ln                                                                          Miramar              FL       33025
 Murphy Oil USA                                              PO Box 7300                                                                                      El Dorado            AR       71731-7300
 Muscle Best                                                 235-C Robbins Ln                                                                                 Syosset              NY       11791
 Muscle Foods USA Eurpac Services Inc.                       100 Keystone Industrial Park                        Unit 1-B                                     Dunmore              PA       18512-1517
 Muscle Insider Magazine, Inc.                               PO Box 21                                                                                        New Liskeard         ON       P0J 1P0      Canada
 Muscle Mixers, Inc.                                         17 Federal St 209F                                                                               Worcester            MA       01608
 Mutiny X Media, Inc Elton Castee                            25432 Marina Cir                                                                                 Mission Viejo        CA       92691
 Mutual of Omaha                                             PO Box 2147                                                                                      Omaha                FL       68103-2147
 Muxie Distributing Co.                                      5120 Guernsey St                                                                                 Bellaire             OH       43906
 My Asset Tag                                                300 Cadman Plaza West                                                                            Brooklyn             NY       11201
 My Cleaning Services                                        11345 Sherman Way                                                                                Sun Valley           CA       91352
 Mya Cobb                                                    710 Sedona Dr                                                                                    Norman               OK       73071
 Mykela Brookins                                             2750 NW 11 St                                                                                    Pompano Beach        FL       33069
 Myles Demetrius Robertson                                   5222 W Hasan Dr                                                                                  Laveen               AZ       85339
 Myriam Lemay                                                1202 Adelard-Collette                                                                            Sherbrecke           QC       J1H 4V4      Canada
 Myrlande Ulysse Boni                                        3820 Hunt Rd                                        Unit 204                                     Tampa                FL       33614
 Myron Shannon Brienza                                       845 Aberlady Place                                                                               Birmingham           AL       35242
 N. H. Scheppers Distributing Co.                            1306 Hathman Pl                                                                                  Columbia             MO       65201-5553
 N. H. Scheppers Distributing Co.                            2300 St Mary'S Blvd                                                                              Jefferson City       MO       65109
 N.C. Petroleum & Convenience Marketers                      7300 Glenwood Ave                                                                                Raleigh              NC       27612
 Nackard Bottling Company                                    4980 E Railhead Ave                                                                              Flagstaff            AZ       86004-2420
 NACS                                                        1600 Duke St Suite 700                                                                           Alexandria           VA       22314-3436
 Nadarion Deshawn Newman                                     2929 W Pentagon Pkwy                                Apt 221                                      Dallas               TX       75233-2234
 Nadia Bradley White                                         400 Pharr Rd                                                                                     Atlanta              GA       30305
 Nadia Diaz                                                  101 SW 96th Ave                                                                                  Plantation           FL       33324
 Nadia White                                                 607 Allende Bnd                                                                                  Austin               TX       78748
 Nadia White                                                 400 Pharr Rd 101                                                                                 Atlanta              GA       30305
 Nafeesh Terry                                               5427 NE 22nd Ter                                                                                 Ft Lauderdale        FL       33308-3228
 Naheem Myles                                                277 NW 33rd St 5                                                                                 Miami                FL       33127
 Nahomy Sanchez                                              41 Park Ave                                         Apt 7F                                       New York             NY       10016
 Nahuel Punales Lista                                        2125 Ronald Ln                                                                                   Jacksonville         FL       32216
 Nairobi Erby                                                8107 North 31St Dr                                  Apt 8107                                     Phoenix              AZ       85051
 Nalco US 2 LLC                                              PO Box 70716                                                                                     Chicago              IL       60673-0716
 Nancy Betancourt                                            10120 SW 55th St                                                                                 Miami                FL       33165-7164
 Nancy Cardenas                                              16601 North 12th St                                 Apt 1092                                     Phoenix              AZ       85022
 Nancy Jeeuth                                                1124 White Plains Rd                                                                             Bronx                NY       10472
 Nancy Mahinh                                                16806 South 44th Place                                                                           Phoenix              AZ       85048
 Nancy Torres                                                6701 Johnson St 209                                                                              Hollywood            FL       33024
 Natalia A Perez Moreno                                      1720 Harrison St                                    Apt 11A                                      Hollywood            FL       33020
 Natalia Ann Curry                                           166 N Mar Vista Ave 1                                                                            Pasadena             CA       91106-1445
 Natalia Betancourt Hoyos                                    Carrera 13 # 4B Sur- 97                             Casa 110                                     Medellin                      050022       Colombia
 Natalia Carreno                                             65 Southwest 12th Ave                               Apt 508                                      Deerfield Beach      FL       33442
 Natalia Dominguez Paulson                                   12850 Southwest 4th Ct                              Unit 105                                     Pembroke Pines       FL       33027
 Natalia Duran Holguin                                       400 Sunny Isles Blvd                                Apt 307                                      Sunny Isles Beach    FL       33160
 Natalia M. Barulich                                         411 N Oakhurst Dr 404                                                                            Beverly Hills        CA       90210
 Natalia Martinez Parra                                      1309 Chenille Cir                                                                                Weston               FL       33327
 Natalia Quinones Gomez                                      840 Northeast 199th St                              Apt 207 B                                    Miami                FL       33179
 Natalia Silva Arango                                        Cra 38 #26-343 CaSuitellon De San Diego             Apt 1403                                     Medellin                      050016       Colombia
 Natalie Anderson                                            905 Samar Rd                                                                                     Cocoa Beach          FL       32931
 Natalie Ann Cabrera                                         5482 West 20th Ave                                                                               Hialeah              FL       33016
 Natalie Ann Cavinder                                        6928 Star Dr                                                                                     Gilbert              AZ       85298
 Natalie Avni                                                2002 NW 110th Ln                                                                                 Coral Springs        FL       33071
 Natalie D Contreras                                         9554 La Jolla Farms Rd                                                                           San Diego            CA       92037
 Natalie Estevez                                             5440 NW 182nd St                                                                                 Miami Gardens        FL       33055
 Natalie Somoano                                             6337 SW 14St                                                                                     Miami                FL       33144
 Natasha Andris                                              10542 Versailles Blvd                                                                            Wellington           FL       33449
 Natasha Bedosky                                             412 7th Ave N                                                                                    Tierra Verde         FL       33715
 Natasha Celeste Caravia                                     4600 North 24th St                                  Unit 208                                     Phoenix              AZ       85016
 Natasha Grano                                               43 Cavendish Buildings                              Gilbert St                                   Mayfair                       W1K 5HJ      United Kingdom
 Natasha Marie Woolery                                       14408 W Whispering Wind Dr                                                                       Surprise             AZ       85387
 Natasha Mcguckin                                            75-6091 Paulehia St                                                                              Kailua Kona          HI       96740
 Natasha Montgomery                                          3125 Alafaya Bay Ln                                                                              Orlando              FL       32817
 Nathalia Arbelaez                                           910 West Ave #1130                                                                               Miami Beach          FL       33139
 Nathalie Veiga Crocetti                                     8309 SW 142 Ave G212                                                                             Miami                FL       33183
 Nathalie Veiga-Crocetti                                     8309 SW 142nd Ave G212                                                                           Miami                FL       33183
 Nathalie Villedrouin                                        5835 Washington St                                  Apt 51                                       Hollywood            FL       33023
 Nathan Aaron Nunez                                          27117 Crossglade Ave 4                                                                           Santa Clarita        CA       91351
 Nathan Alexander Tsosie                                     403 Kaibeto Dr                                                                                   Window Rock          AZ       86515
 Nathan Freihofer                                            802 Veterans Parkway 65                                                                          Hinesville           GA       31313
 Nathan Noah Tsuji                                           370 Poppy Wy                                                                                     Aptos                CA       95003
 Nathan Robert Anthony                                       1611 Washington St                                                                               Ramona               CA       92065
 Nathan Ryan Boandl                                          546 6th St                                                                                       Norco                CA       92860



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                        Name                      Attention                                Address 1                                   Address 2         Address 3                City    State        Zip           Country
 Nathanial S. Wyatt                                               6425 Weidlake Dr                                                                                   Los Angeles         CA       90068
 Nathaniel Clark                                                  2890 E Bonanza Ct                                                                                  Gilbert             AZ       85297
 Nathaniel E. Davis Jr                                            11023 Mccormick St #202                                                                            North Hollywood     CA       91601
 Nathaniel Jay Lopez                                              4205 Del Norte Dr                                                                                  Arlington           TX       76016
 Nathaniel Russell                                                485 RidgestoNE Dr                                                                                  Franklin            TN       37064
 National Automatic Merchan. Asso. (NAMA)                         20 N Wacker Dr Suite 3500                                                                          Chicago             IL       60606
 National Beer Wholesalers Association NBWA                       1101 King St Suite 600                                                                             Alexandria          VA       22314-2965
 National Coalition of Associations of 7-Eleven                   1001 Pat Booker Rd Suite 206                                                                       Universal City      TX       78148
 National Construction Rentals, Inc                               PO Box 841461                                                                                      Los Angeles         CA       90084-1461
 National Distributors, Inc.                                      116 Wallace Ave                                                                                    S Portland          ME       04106-6144
 National Fire & Marine Insurance Company                         1314 Douglas St                                                                                    Omaha               NE       68102
 National Fitness Productions Inc TheFit Expo                     722 Americana Way                                                                                  Glendale            CA       91210
 National Independent Halaal Trust                                5770 Corner Topaas                                                                                 Johannesburg                              South Africa
 National Lift Truck Service                                      2110 N Andrews Ave Ext                                                                             Pompano Beach       FL       33069
 National Safety Compliance, Inc.                                 PO Box 3160                                                                                        Laguna Hills        CA       92654-3160
 National Water Restoration, Inc.                                 746 NW 5th Ave                                                                                     Fort Lauderdale     FL       33311
 Nationwide DVM Insurance Agency                                  One West Nationwide Plaza 1-3-404                                                                  Columbus            OH       43215
 Native Construction                                              100 Wrenn St                                                                                       Tavernier           FL       33070-2328
 Natoli Engineering Company, Inc.                                 28 Research Park Cir                                                                               Saint Charles       MO       63304-5624
 Natural Precepts, LLC                                            205 Fair Ave                                                                                       Winnsboro           LA       71295-2119
 Naturex, Inc.                                                    375 Huyler St                                                                                      South Hackensack    NJ       07606
 Naumann Hobbs                                                    4335 E Wood St                                                                                     Phoenix             AZ       85040-2045
 Nauser Beverage Co.                                              6000 Paris Rd                                                                                      Columbia            MO       65202
 Navajo Express, Inc                                              1400 W 64th Ave                                                                                    Denver              CO       80221-2430
 Navigator Business Solutions, Inc.                               170 S Main St                                                                                      Pleasant Grove      UT       84062
 Navigators Specialty Insurance Company                           One Penn Plaza                                     50th Floor                                      New York            NY       10119
 Navy Exchange Service Command NEXCOM                             3280 Virginia Beach Blvd                                                                           Virginia Beach      VA       23452-5724
 Navy Exchange Service Command NEXCOM                             4250 Eucalyptus Ave                                                                                Chino               CA       91710-9704
 Navy Exchange Service Command NEXCOM                             Nex NE Dc Suffolk 1000 Kenyon Ct                                                                   Suffolk             VA       23434
 Nayara de Morais                                                 3221 NW 34th St                                                                                    Miami               FL       33142-5745
 Nayara Morais                                                    5400 Celebration Pointe way                        Apt 304                                         Margate             FL       33063
 Nayeli Garcia                                                    21131 Southwest 85th Place                                                                         Cutler Bay          FL       33189
 Nayer Regalado                                                   13841 SW 136 Place                                                                                 Miami               FL       33186
 Nayer Regalado On Fire Ent LLC                                   10273 SW 157th Ct                                                                                  Miami               FL       33196
 Nayla Nicole Norton                                              2532 Pointe Marie Dr                                                                               Henderson           NV       89044
 NCASEF                                                           1001 Pat Booker Rd Suite 206                                                                       Universal           TX       78148
 Neal's Pallets Company, Inc.                                     8808 Wilkinson Blvd                                                                                Charlotte           NC       28214-8061
 Nebraska Liquor Control Commission                               301 Centennial Mall South 5th Floor                                                                Lincoln             NE       68509-5046
 Nebraska Office of the Attorney General                          2115 State Capitol                                                                                 Lincoln             NE       68509
 Nefertia Jones                                                   570 Northwest 102nd Ave                                                                            Pembroke Pines      FL       33026
 Neftali Lopez                                                    1520 Emerald Lake Cove 104                                                                         Casselberry         FL       32707
 Neftaly Efrain Guevara                                           9968 Arleta Ave                                                                                    Los Angeles         CA       91331
 Neha Alisha Dias                                                 1300 W 9th St                                      Apt 634                                         Cleveland           OH       44113
 Neighborhood Storage Center                                      310 NE 25th Ave                                                                                    Ocala               FL       34470-7040
 Neiko Paolino                                                    1115 Davenport Bridge Ln                           Unit 308                                        Brandon             FL       33511
 Neil Abrahamson                                                  8 Gibbards Close                                                                                   Sharnbrook                   MK441LF      United Kingdom
 Neil Flaxman Professional Association                            80 SW 8th St Suite 3100                                                                            Miami               FL       33130-3004
 Nelly Fernandez Infante                                          12509 West Grant St                                                                                Avondale            AZ       85323
 Nelson Irene                                                     1801 Northeast 41St St                                                                             Oakland Park        FL       33308
 Nelson Ivan Ortiz                                                2222 SW 19th St                                                                                    Miami               FL       33145
 Nelson Jimenez                                                   5169 NW Wisk Fern Cir                                                                              Port Saint Lucie    FL       34986
 Nelson Louis Pierre                                              5741 Pine Ter                                                                                      Plantation          FL       33317
 Nelson Morinvil                                                  820 SW 10th St 2                                                                                   Pompano Beach       FL       33060
 Nelson Mullins Riley & Scarborough LLP                           1320 Main St Fl 17                                                                                 Columbia            SC       29201-3268
 Nelson Roman                                                     120 Rosewood Ct                                                                                    Kissimmee           FL       34743
 Nemont Beverage Corp.                                            174 Mt Hwy 24 North                                                                                Glasgow             MT       59230
 Nemont Beverage Corp.                                            PO Box 432                                                                                         Glasgow             MT       59230
 Neptune Flood Incorporated                                       PO Box 200725                                                                                      Pittsburgh          PA       15251-0725
 Nerilien Leslie Joseph                                           4914 6th St West                                                                                   Lehigh Acres        FL       33973
 Nerymar Gimenez                                                  14050 BiscayNE Blvd                                Apt 50-1001                                     North Miami         FL       33181
 Nesco Resource LLC.                                              PO Box 901372                                                                                      Cleveland           OH       44190
 Network LeasePlan U.S.A.,Inc.                                    1165 Sanctuary Pkwy                                                                                Alpharetta          GA       30009-4738
 Neuman Law, PA                                                   2255 Glades Rd                                                                                     Boca Raton          FL       33431
 Neuren Segara Moore                                              7549 Juliet Ln                                                                                     Fort Worth          TX       76137
 Nevada Beverage                                                  3940 W Tropicana Ave                                                                               Las Vegas           NV       89103-5516
 Nevada Beverage                                                  4250 E Cheyenne Ave                                                                                North Las Vegas     NV       89115
 Nevada Department of Taxation                                    PO Box 51107                                                                                       Los Angeles         CA       90051-5407
 Nevada Dept. of Taxation                                         1550 College Parkway Suite 115                                                                     Carson City         NV       89706
 Nevada Employment Security Division                              500 East third St                                                                                  Carson City         NV       89713-0030
 Nevada Office of the Attorney General                            Old Supreme Ct Building                            100 N Carson St                                 Carson City         NV       89701
 Nevaeh Monet DeSouza                                             2965 ShoreliNE Cir                                                                                 Fairfield           CA       94533-7046
 New Hampshire Distributors Inc.                                  1000 Quality Dr                                                                                    Hooksett            NH       03106
 New Hampshire Distributors Inc.                                  65 Regional Dr                                                                                     Concord             NH       03301-8542
 New Hampshire Employment Security ATTN:                          PO Box 2058                                                                                        Concord             NH       03302-2058
 New Hampshire Office of the Attorney General                     NH Department Of Justice                           33 Capitol St                                   Concord             NH       03301



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                        Name                                    Attention                                Address 1                               Address 2              Address 3                 City    State         Zip            Country
 New Jersey Division of Revenue And Enterprise                                  PO Box 281                                                                                          Trenton              NJ       08695-0281
 New Jersey Division of Taxation Revenue                                        PO Box 222                                                                                          Trenton              NJ       08646-0222
 New Jersey Office of the Attorney General                                      Richard J Hughes Justice Complex                  25 Market St 8th Fl West Wing                     Trenton              NJ       08611
 New Mexico Office of the Attorney General                                      408 GaliSuiteo St                                 Villagra Building                                 Santa Fe             NM       87501
 New West Distributing, Inc                                                     325 E Nugget Ave Suite 101                                                                          Sparks               NV       89431-5856
 New York Office of the Attorney General                                        The Capitol                                                                                         Albany               NY       12224
 New York State - DOT                                                           7150 Republic Airport                                                                               Farmingdale          NY       11735-3999
 New York State Department of State                                             99 Washington Ave                                                                                   Albany               NY       12231-0001
 New York State Department of Taxation And                                      PO Box 15168                                                                                        Albany               NY       12212-5168
 New York State Dept Of Transportation                                          7150 Republic Airport Suite 216                                                                     Farmingdale          NY       11735-3999
 Newman ADR                                                                     5415 Lake Howell Rd Pmb 313                                                                         Winter Park          FL       32792-1033
 Nexem Staffing, Inc.                                                           PO Box 51803                                                                                        Los Angeles          CA       90051
 Next Level Events LLC Rudy DeArmas                                             20311 SW 3rd St                                                                                     Pembroke Pines       FL       33029
 Next Level Stunts                                                              114 Westmont Wat                                                                                    Tyrone               GA       30290
 Nexterra Law RE IOTA Trust Account                                             1691 Michigan Ave                                                                                   Miami                FL       33139
 Nexus Steel, LLC v. VPX, JHO et al. (2022)    Nexus Steel, LLC                 214 S Hamilton Pl                                                                                   Gilbert              AZ       85233
 Neyleen Ashley Calejo                                                          20826 SW 85Ct                                                                                       Cutler Bay           FL       33189
 Nguyet Nguyen                                                                  12374 Carmel Country Rd                                                                             San Diego            CA       92130
 Nia Williams Zeke (Nia) Williams                                               5885 Forest View Rd 811                                                                             Lisle                IL       60532-2985
 Niccola Tomasetti                                                              6223 ParadiSE Point Dr                                                                              Palmetto Bay         FL       33157
 Nichola Vivirito                                                               5311 W Hillsboro Blvd 201                                                                           Coconut Creek        FL       33073
 Nicholas Absher                                                                6355 Naylors Reserve Ct                                                                             Hughsville           MD       20637
 Nicholas Andre Juan Knight                                                     1520 Northwest 125th Ave                          Apt 10201                                         Sunrise              FL       33323
 Nicholas Balestracci                                                           3870 Camden Dr                                                                                      Myrtle Beach         SC       29588
 Nicholas Bean                                                                  7124 Ridge Ln Rd                                                                                    Charlotte            NC       28262
 Nicholas Bean                                                                  7837 Wilkinson ave                                                                                  North Hollywood      CA       91605
 Nicholas Bencivengo                                                            342 Hauser Blvd                                                                                     Los Angeles          CA       90036
 Nicholas Cesar Perez                                                           6 Willow Place                                                                                      Palm Coast           FL       32164
 Nicholas Chad Hill                                                             9016 East Karen Dr                                                                                  Scottsdale           AZ       85260
 Nicholas Chavez                                                                509 Lynne Dr                                                                                        Grand Prairie        TX       75052
 Nicholas D Gurke                                                               4273 East Tyson St                                                                                  Gilbert              AZ       85295
 Nicholas David Zuehlke                                                         360 Pioneer Dr #106                                                                                 Glendale             CA       91203
 Nicholas Earl Ethier                                                           7509 West Willow Ave                                                                                Peoria               AZ       85381
 Nicholas Edward Blanton                                                        1190 Brunner Hill Rd Northwe                                                                        Palmyra              IN       47164
 Nicholas Fry                                                                   570 Parker Place                                                                                    Blythe               CA       92225
 Nicholas Fusco                                                                 3571 Southwest 59th Ave                                                                             Davie                FL       33314
 Nicholas Grosso                                                                73 East Holly Ave                                                                                   Sewell               NJ       08080
 Nicholas Hopkins                                                               40 Greybarn Ln                                    Apt 203                                           Amityville           NY       11701
 Nicholas J Hertzog                                                             1134 NW 7th Ave                                                                                     Ft Lauderdale        FL       33311
 Nicholas James Wiseman                                                         12211 West Layton Ave                                                                               Morrison             CO       80465
 Nicholas L Meinhardt                                                           25725 Lakeland Dr                                                                                   Loxley               AL       36551
 Nicholas Luciano                                                               401 Century Parkway                               Apt 1455                                          Allen                TX       75013
 Nicholas Madlangbayan Niko                                                     688 West Adagio Ln                                                                                  Oro Valley           AZ       85737
 Nicholas Martin                                                                812 Savannah Falls Dr                                                                               Weston               FL       33327
 Nicholas Miles Bridgwood                                                       111 Hamilton St                                                                                     Belchertown          MA        1007
 Nicholas Molde                                                                 114 W Bluejay Way                                                                                   Ontario              CA       91762
 Nicholas Paul Debellis                                                         2716 Southwest 15th St                                                                              Deerfield Beach      FL       33442
 Nicholas R. Austin                                                             440 Hayvenhurst Ave                                                                                 Encino               CA       91436
 Nicholas Ronald Santoro                                                        1814 San Antonio Way #105                                                                           Rockledge            FL       32955
 Nicholas Rubiano                                                               822 Dancer Ln                                                                                       Manalapan            NJ       07726
 Nicholas Ryan Dolan                                                            4231 Craighill Ln                                                                                   Charlotte            NC       28278
 Nicholas Scott Pierson                                                         16120 Myriad Ln                                   Apt 201                                           Fort Myers           FL       33908
 Nichole Marie Bingle                                                           15212 North 28th Dr                                                                                 Phoenix              AZ       85053
 Nicholson Construction Co.                                                     923 Delores Dr                                                                                      Tallahassee          FL       32301
 Nickolas Kyle Kristoff                                                         6035 North 5th Place                                                                                Phoenix              AZ       85012
 Nicks Global Suppliers Ltd. Kajeo Temgona                                      Suite 1301 Scite Tower 22                         Jianguomenwai Dajie                               Beijing                       100004       China
 Nicolas Jon Shepherd                                                           1751 Woodcliff Ave Se                                                                               Grand Rapids         MI       49506
 Nicolas Rokvic                                                                 624 Sanctuary Ln                                                                                    Delafield            WI       53018
 Nicole A Withstandley                                                          1891 N Litchfield Rd                              Apt 229                                           Goodyear             AZ       85395
 Nicole Baber                                                                   133 W 6th St #2237                                                                                  Tempe                AZ       85281
 Nicole Bentancur                                                               25 NE 5th St                                      Apt 3324                                          Miami                FL       33132
 Nicole Betancur                                                                58 NE 14th St 1612                                                                                  Miami                FL       33132
 Nicole Blades                                                                  2725 Pavilion Parkway #1301                                                                         Tracy                CA       95304
 Nicole Brown Laurell                                                           2624 Sidonia Ave                                                                                    Las Vegas            NV       89102
 Nicole Buga                                                                    16892 Southwest 50th St                                                                             Miramar              FL       33027
 Nicole Close                                                                   67-275 KahaoNE Loop                                                                                 Waialua              HI       96712
 Nicole Conrad                                                                  1402 Ironwood Dr                                                                                    Lorain               OH       44053
 Nicole Crescini                                                                2084 Ascot Dr                                     Apt 13                                            Morage               CA       94575
 Nicole Cruz                                                                    366 Southwest 162nd Ave                                                                             Pembroke Pines       FL       33027
 Nicole Cudiamat Mea                                                            8051 Earlsboro St                                                                                   Las Vegas            NV       89139
 Nicole E Wynne                                                                 1600 N Park Dr                                                                                      Weston               FL       33326-3278
 Nicole Elizabeth Bradshaw                                                      977 E Apache Blvd                                 Apt 1022                                          Tempe                AZ       85281
 Nicole Elizabeth Wynne                                                         6565 South SyracuSE Way                           Unit 2211                                         Centennial           CO       80111
 Nicole Florio                                                                  8851 Us Highway 19 #2234                                                                            Pinellas Park        FL       33782
 Nicole Gile                                                                    7361 Carmona Terrace 302                                                                            Boca Raton           FL       33433



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                        Name                     Attention                                Address 1                                  Address 2              Address 3                 City     State         Zip          Country
 Nicole Herbst                                                   18945 62nd Ave N                                                                                       Maple Grove           MN       55311-4675
 Nicole Holdgrafer                                               11717 TimberliNE Cir                                                                                   Fort Myers            FL       33966
 Nicole Howard                                                   1442 North Avon St                                                                                     Burbank               CA       91505
 Nicole Kirkland                                                 12629 Riverside Dr #347                                                                                Valley Village        CA       91607
 Nicole Kristy Soares                                            215 Bradford Creek Trail                                                                               Duluth                GA       30096
 Nicole Margarita Flores                                         8910 Tiberian Dr                                     Apt 302                                           Kissimmee             FL       34747
 Nicole Marie Mejia Cuello                                       8103 North Edison Ave                                                                                  Tampa                 FL       33604
 Nicole Rivera                                                   800 Washingston Ave                                  Apt 303                                           Miami Beach           FL       33139
 Nicole Rivera                                                   919 Winding Oak                                                                                        Tri Lexington         KY       40511
 Nicole Samanez                                                  296 Racquet Club Rd                                                                                    Weston                FL       33326
 Nicole Scarborough                                              10426 Linda Cir                                                                                        Forney                TX       75126
 Nicole Spirito                                                  13 Oakland Hills Dr                                                                                    Mount Sinai           NY       11766
 Nicole Spirito                                                  2925 Cheryl Rd                                                                                         Merrick               NY       11566
 Nicole Spyridakis                                               5213 Sideburn Rd                                                                                       Fairfax               VA       22032
 Nicole Stephenson                                               20 Bambury Ln                                                                                          Jackson               NJ        8527
 Nicole Wayland Billson                                          48 Malabor Rd North                                  Lynwood Glen                Gauteng               Pretoria                       0081         South Africa
 Nicole Zorzetth Quiroz                                          12202 Taylors Crossing Dr                                                                              Tomball               TX       77375
 Nicolette Maniatakos Nikki Maniatakos                           2468 1St Ave N                                                                                         Saint Petersburg      FL       33713
 Nicolette Messier                                               151 SE 1St St #603                                                                                     Miami                 FL       33131
 Nicolle K Martinez                                              291 NW 30th St                                                                                         Miami                 FL       33127
 Nicor Gas                                                       PO Box 5407                                                                                            Carol Stream          IL       60197-5407
 Nidia Luisa Oliva                                               10040 NW 9th St Cir                                  Apt 204                                           Miami                 FL       33172
 Nieves A Reyes                                                  4932 Highbank Dr                                                                                       Arlington             TX       76018
 Nigel Chandler (6 month)                                        8015 Pardue Ct                                                                                         Houston               TX       77088
 Nigel Jones                                                     20445 Sutliff Rd                                                                                       Escalon               CA       95320
 Niki Carillo                                                    35 Huron Ave                                                                                           Wayne                 NJ       07470
 Nikita Sullivan                                                 900 F St 117                                                                                           San Diego             CA       92101
 Nikki (Evelyn) Trejo                                            3900 Rockingham Pl                                                                                     Riveside              CA       92504
 Nikki Lynn Lavelle                                              12503 Northwest 32nd Manor                                                                             Sunrise               FL       33323
 Nikko Entertainment Michael Radice                              1020 Holland Dr #103                                                                                   Boca Raton            FL       33487
 Nikole V Contreras                                              9554 La Jolla Farms Rd                                                                                 San Diego             CA       92037
 Nila Azuero                                                     1900 Southwest 8th St                                Apt E908                                          Miami                 FL       33135
 Nile Torico Holt                                                10103 N Florence Ave                                                                                   Tampa                 FL       33612
 Nilmarie Segarra                                                18550 NW 22nd Ct                                                                                       Pembroke Pines        FL       33029
 Nina Serebrova                                                  215 North New River Dr E                             Apt 1640                                          Fort Lauderdale       FL       33301
 Nina Serebrova Pavlikhin Pavel Sergeevich                       Kavkazsky Bulvar 50238                                                                                 Moscow                         115516       Russian Federation
 Nini V. Nieves                                                  14824 SW 152nd Terrace                                                                                 Miami                 FL       33287
 Ninrod Obed Esteban                                             6039 Miles Ave                                                                                         Huntington Park       CA       90255
 NJ Malin & Associates LLC                                       PO Box 843860                                                                                          Dallas                TX       75284-3860
 NM Rockstars, Inc. Daniel Zappin                                PO Box 391                                                                                             Redondo Beach         CA       90277
 Nnaedozie "Kristopher" Odo                                      3114 Brannon Hill Ln                                                                                   Sugarland             TX       77479
 No Limit Nutrition, Inc.                                        674 Los Verdes Dr 2                                                                                    Rancho Palos Verdes   CA       90275
 Noah Feague-Johnson                                             145 Hubbard Ave                                                                                        Frederica             DE       19946
 Noah Glover                                                     540 SW 38th Terrace                                                                                    Fort Lauderdale       FL       33312
 Noe Ceja                                                        6955 West Cactus Wren Dr                                                                               Glendale              AZ       85303
 Noe Jay Grim                                                    11809 North 76th Dr                                                                                    Peoria                AZ       85345
 Noel Canning                                                    PO Box 111                                                                                             Yakima                WI       98907
 Noel Marcus Figueroa                                            2306 West Henry Ave                                                                                    Tampa                 FL       33603
 Noel Peterson                                                   2321 Nichols Canyon Rd                                                                                 Los Angeles           CA       90046
 Noeli M Rodriguez Delgado                                       800 North Azusa Ave                                  Apt 2                                             West Covina           CA       91791
 Noelia Lopez Rosales                                            1625 East Silverbirch Ave                                                                              Buckeye               AZ       85326
 Noelle Husband                                                  31684 Twin Oaks                                                                                        Chesterfield          MI       48047
 Nolan R. Dickinson                                              7744 Shirley Rd                                                                                        Cherry Valley         IL       61016
 Nonisja Denniston                                               4245 SE Naegeli Ct                                                                                     Portland              OR       97236
 Nor Cal Beverage Company, Inc.                                  2286 StoNE Blvd                                                                                        West Sacramento       CA       95691
 Noraida Herrera                                                 11201 SW 55St Box 376                                                                                  Miramar               FL       33025
 Nordson Corporation                                             PO Box 802586                                                                                          Chicago               IL       60680-2586
 Norflex, Inc.                                                   720 Norflex Dr                                                                                         Hudson                WI       54016
 Norman Industrial Material Industrial Metal                     5150 S 48th St                                                                                         Phoenix               AZ       85040-8875
 Norman Lee Goggins                                              3856 Boring Rd                                                                                         Decatur               GA       30034
 North Carolina ABC Commission                                   400 East Tryon Rd                                                                                      Raleigh               NC       27610
 North Carolina Attorney General's Office                        114 W Edenton St                                                                                       Raleigh               NC       27603
 North Carolina Dept of Revenue NCDOR                            PO Box 25000                                                                                           Raleigh               NC       27640-0650
 North Dakota Office of the Attorney General                     State Capitol 600 E Blvd Ave Dept 125                                                                  Bismarck              ND       58505
 North Dallas Warehouse Equipment, Inc                           2203 Joe Field Rd                                                                                      Dallas                TX       75229
 North Star Marketing, Inc                                       PO Box 5816                                                                                            Eagle River           WI       54521
 North Texas Fence and Deck                                      5760 E Fm 552                                                                                          Royse City            TX       75189
 Northeast Beverage Corp. of Connecticut                         1202 Jefferson Blvd                                                                                    Warwick               RI       02886
 Northeast Beverage Corp. of Connecticut                         32 Robinson Blvd                                                                                       Orange                CT       06477
 Northeast Beverage Corp. of Connecticut                         PO Box 1437                                                                                            Coventry              RI       02816-0026
 Northern Eagle Beverages, Inc.                                  41 BrowNE St                                                                                           Oneonta               NY       13820
 Northern Eagle Beverages, Inc.                                  PO Box 827                                                                                             Oneonta               NY       13820
 Northern Eagle, Inc.                                            333 Jersey Mountain Rd                                                                                 Romney                WV       26757
 Northern Texas Business Alliance dba NTBA Co-                   6142 Campbell Rd                                                                                       Dallas                TX       75248
 Northwest Beverage, Inc - MN                                    1320 Greenwood St West                                                                                 Thief River Falls     MN       56701



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                                                                                                                          as of October 10, 2022


                        Name                                      Attention                                Address 1                               Address 2              Address 3                 City    State        Zip           Country
 Northwest Beverage, Inc - MN                                                     PO Box 575                                                                                          Theif River Falls    MN       56701
 Northwest Beverage, Inc. - SD                                                    28731 Us Hwy 12                                                                                     Mobridge             SD       57601
 Nortilia Demelien                                                                1461 NW 52nd Ave                                                                                    Lauderhill           FL       33313
 Norton James Company Alesa Norton                                                655 SW Glen Crest Way                                                                               Stuart               FL       34997-7255
 NoSo Holdings LLC                                                                9659 N Sam Houston Pkwy E                         Suite 150                                         Humble               TX       77396-1290
 Nouria Energy Retail, Inc                                                        326 Clark St                                                                                        Worcester            MA       01606
 Novel Ingredient Services, LLC                                                   72 Deforest Ave                                                                                     East Hanover         NJ       07936
 Novel Ingredient Services, LLC                                                   PO Box 603633                                                                                       Charlotte            NC       28260-3633
 Novotech Nutraceuticals, Inc.                                                    2897 Palma Dr                                                                                       Ventura              CA       93003-7653
 NSA Property Holdings LLC Personal Mini                                          1970 S Highway 27                                                                                   Clermont             FL       34711-6910
 Nubia Patricia Pineros                                                           13110 Southwest 44th St                                                                             Miramar              FL       33027
 Nucell Pharma Corp                                                               11700 NW 101St Rd Suite 8                                                                           Medley               FL       33178-1019
 Nugget Market                                                                    168 Ct St                                                                                           Woodlands            CA       95695
 Nunnapat Chiralerdsitthikhun                                                     5085 Northwest 7th St                             Apt 1402                                          Miami                FL       33126
 NUPRESS                                                                          2050 NW 94th Ave                                                                                    Doral                FL       33172
 Nupur Sharma                                                                     5044 Fulton Ave                                                                                     Sherman Oaks         CA       91423
 Nuriv LLC                                                                        2160 S Reservoir St                                                                                 Pomona               CA       91766-6405
 Nurys Illidge                                                                    6460 Taft St 220                                                                                    Hollywood            FL       33024
 Nuspark Automation & Packaging System                                            400 Streeprock Dr                                                                                   Toronto              ON       M3J 2X1      Canada
 Nutraceuticals International Group LLC                                           206 Macopin Rd                                                                                      Bloomingdale         NJ       07403
 Nutrasource Pharmaceutical Nutraceutical                                         50 Sindle Ave                                                                                       Little Falls         NJ       07424
 Nutricentro International, Inc.                                                  601 90th St                                                                                         West New York        NJ       07093
 Nutrition Systems                                                                216 Walters Rd                                                                                      Arndell Park                  NSW 2148     Australia
 Nutrition Systems Australia/New Zealand                                          216 Walters Rd                                                                                      Arndell Park                  NSW 2148     Australia
 NV Energy                                                                        PO Box 30150                                                                                        Reno                 NV       89520-3150
 NV Energy                                                                        6226 West Sahara Ave                                                                                Las Vegas            NV       89146
 NV Entertainment, INC Nicolas Vahe                                               12 Pope Rd                                                                                          Brookline            NH       03033
 NV LLC                                                                           417 Bateasville Rd                                                                                  Simpsonville         SC       29681
 NV, LLC                                                                          417 Bateasville Rd                                                                                  Simpsonville         SC       29681
 nVenia LLC                                                                       9555 Irving Park Rd                                                                                 Schiller Park        IL       60176-1960
 N'Ware Technologies                                                              2885 81e Rue                                                                                        St-Georges           QC       G6A 0C5      Canada
 NWO Beverage, Inc.                                                               6700 Wales Rd                                                                                       Northwood            OH       43619-1012
 NXT Gen Technologies, Inc                                                        13384 SW 128th St                                                                                   Miami                FL       33186
 NY Barbell                                          Sam Suresh                   270 Duffy Ave                                                                                       Hicksville           NY       11801-3646
 Nyah Alyssa Aguayo                                                               432 Capitol St                                                                                      Salinas              CA       93901
 NYE, Stirling, Hale & Miller LLP                                                 33 West Mission                                   Suite 201                                         Santa Barbara        CA       93101
 NYIS Law Firm                                                                    1065 6th Ave Suite 1025                                                                             New York             NY       10018
 Nyyear Price                                                                     4711 Hollow Tree Dr                                                                                 Sugarland            TX       77479-6880
 O & G Construction, LLC                                                          16427 N Scottsdale Rd                                                                               Scottsdale           AZ       85254
 OC Marathon LLC                                                                  3100 Airway Ave Suite 104                                                                           Costa Mesa           CA       92626-4604
 Octavious Dexsthon Moring                                                        1726 Southwest Buttercup Avenu                                                                      Port St Lucie        FL       34953
 Odell Thomas Coles                                                               5608 Chiefly Ct                                                                                     Charlotte            NC       28212
 Oettinger Brauerei GmbH                                                          Brauhausstraße 8                                                                                    Oettingen                     86732        Germany
 Oettinger Brauerei GmbH                                                          Friedrich-Seele-Straße 13                                                                           Braunschweig                  38122        Germany
 Off Madison Ave, LLC                                                             5555 E Van Buren St Suite 215                                                                       Phoenix              AZ       85008-3486
 Office Depot Business Credit                                                     PO Box 78004                                                                                        Phoenix              AZ       85062-8004
 Office of the Alcoholic Beverage OABCC                                           820 North French St Suite 325                                                                       Wilmington           DE       19801
 Office of the Attorney General of the District Of                                441 4th St NW Suite 1100                                                                            Washington           DC       20001
 Offprem Technology                                                               12127 Visionary Way Suite 1020                                                                      Fishers              IN       46038
 OGI Environmental LLC                                                            8820 W Russell Rd #140                                                                              Las Vegas            NV       89148
 Ohio Attorney General's Office                                                   State Office Tower                                30 E BRd St 14th Fl                               Columbus             OH       43215
 Ohio Deparment of Taxation                                                       PO Box 530                                                                                          Columbus             OH       43216-0530
 Ohio Division of Liquor Control                                                  6606 Tussing Rd Po Box 4005                                                                         Reynildburg          OH       43068-2480
 Ohio Treasurer of State                                                          PO Box 181140                                                                                       Columbus             OH       43218-1140
 OK Generators                                                                    373 N River Ave                                                                                     Deerfield Beach      FL       33441
 Oklahoma Alcoholic Beverage Laws Enf Com                                         3812 N Santa Fe Suite 200                                                                           Oklahoma City        OK       73118
 Oklahoma office of the Attorney General                                          313 NE 21St St                                                                                      Oklahoma City        OK       73105
 Olatoyosi Olawale                                                                2675 Southwest 81St Terrace                       Apt 2653                                          Miramar              FL       33025
 Old Republic Insurance Company                                                   631 Excel Drive Suite 200                                                                           Mt Pleasant          PA       15666
 Olga Alexandrovna Abramovich                                                     Revolucii 601 Office 522                                                                            Perm                          641000       Russian Federation
 Olga Sovolova (Helga Lovekaty) Sokolov                                           Furazhnii Ln Bldg 5                               Flat 14                     House 2               Pushkin                       196603       Russia
 Olga Sovolova (Helga Lovekaty) Sokolov                                           Koivurinne 26                                                                                       Vantaa                        1680         Finland
 Oliver Pagli                                                                     1100 Brickell Bay Dr                              Apt 35N                                           Miami                FL       33131
 Olivia Andrea Juarez                                                             14245 South 48th St                               PMB 124                                           Phoenix              AZ       85044
 Olivia Aviv                                                                      11936 Southwest 47th St                                                                             Cooper City          FL       33330
 Olivia Balliet                                                                   129 Chandeleur Dr                                                                                   Mooresville          NC       28117
 Olivia Coriaty                                                                   400 Northwest 1St Ave                             Apt 1505                                          Miami                FL       33128
 Olivia Mercedes Rodriguez                                                        2120 Nova Village Dr                                                                                Davie                FL       33317
 Olivia Metsa                                                                     2373 East Evans Ave                               Apt 502D                                          Denver               CO       80210
 Olivia Paladin                                                                   20321 SW Acacia St                                Apt 150                                           Newport Beach        CA       92660
 Olivia Podes                                                                     3196 Caldwell Rd                                                                                    Atlanta              GA       30319
 Olivia Rose Craig                                                                790 East Broward Blvd                             Apt 702                                           Fort Lauderdale      FL       33301
 Olivia Sharpton                                                                  546 West Side Ave                                                                                   Jersey City          NJ       07304
 Olivia Vance                                                                     22079 Dublin Hill Rd                                                                                Mount Sterling       OH       43143
 Ollie's Bargain Outlet, Inc.                                                     6295 Allentown Blvd Suite 1                                                                         Harrisburg           PA       17112-2693



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                                                                                                                                        as of October 10, 2022


                       Name                                   Attention                                        Address 1                                         Address 2                              Address 3               City    State        Zip           Country
 Olwethu Ntobela                                                                      4322 Jalijeera Crescent Blue Valley Golf Estate             Gauteng                                                           Centurion                   0157         South Africa
 Olympia Productions,LLC                                                              2025 S Airport Blvd                                                                                                           Chandler            AZ      33326
 OMalley Beverage, Inc.                                                               1601 North WoodbiNE Rd                                                                                                        St Joseph           MO      64506
 Omar A Favela                                                                        117 Heritage Dr                                                                                                               Crowley             TX      76036
 Omar O Moreno Hernandez                                                              6329 Twin Oaks Dr                                                                                                             Forest Hill         TX      76119
 Omar Olvera                                                                          1505 72nd St Ct East                                                                                                          Palmetto            FL      34221
 Omar Ramirez                                                                         3166 Southwest 23rd St                                                                                                        Miami               FL      33145
 Omar Reina Martinez                                                                  6731 Hollis Ave                                                                                                               Dallas              TX      75227
 Omar Rodriguez                                                                       10052 Barnett Loop                                                                                                            Port Richey         FL      34668
 Omar Rodriguez                                                                       4812 Brewer Ave                                                                                                               Bakersfield         CA      93306
 Omar Rodriguez Pina                                                                  4000 Sigma Rd                                               Apt 5206                                                          Farmers Branch      TX      75244
 On Tyme Design, LLC                                                                  5572 Malt Dr                                                                                                                  Ft Myers            FL      33907
 Once Again Nut Butter                                                                12 S State St                                                                                                                 Nunda               NY      14517
 Once Again Nut Butter Collective, Inc.                                               12 S State St                                                                                                                 Nunda               NY      14517
 OnCue Marketing LLC                                                                  916 N Main                                                                                                                    Stillwater          OK      74075
 Ondreaz Lopez                                                                        2597 Rosy SunriSE St                                                                                                          Las Vegas           NV      89124
 Ondreaz Lopez                                                                        6200 Variel Ave                                             Apt 330                                                           Woodland Hills      CA      91367
 One A Architecture One A LLC                                                         2100 Corporate Dr                                                                                                             Boynton Beach       FL      33426-6644
 OneCBIZ Inc CBIZ Brining Taylor Zimmer                                               401 B St Suite 2150                                                                                                           San Diego           CA      92101-4201
 Oneta Co. DBA Pepsi Cola Bottling                                                    1401 S Padre Island Dr                                                                                                        Corpus Christi      TX      78416-1322
 OnHaskell I, L.P.                                                                    14093 Balboa Blvd                                                                                                             Sylmar              CA      91342
 Only Recycling LLC                                                                   2350 NW 149th St                                                                                                              Opa Locka           FL      33054-3132
 Onsite Consulting, Inc.                                                              6446 E Hampden Ave #250                                                                                                       Denver              CO      80222
 Ontario Auto Spa & Detail Center                                                     670 N Archibald Ave                                                                                                           Ontario             CA      91764
 Ontario Municipal Utilities Company                                                  1333 S Bon View Ave                                                                                                           Ontario             CA      91761-1076
 Ontario Police Department                                                            2500 S Archibald Ave                                                                                                          Ontario             CA      91761
 Ontario Trash and Water                                                              PO Box 8000                                                                                                                   Ontario             CA      91761-1076
 Ontario-Water                                                                        303 East B St                                                                                                                 Ontario             CA      91764
 OO & CO Agency, LLC                                                                  3250 NE 1St Ave #200                                                                                                          Miami               FL      33137
 Oona Aleecia Lawrence                                                                4103 Monticello Gardens Place                               Apt 301A                                                          Tampa               FL      33613
 Open Text Inc                                                                        2950 S Delaware St                                          Bay Meadows Station 3 Bldg             3rd & 4th Fl               San Mateo           CA      94403
 OPG Security LLC                                                                     111 N Orange Ave Suite 800                                                                                                    Orlando             FL      32801-2381
 Optum Financial, Inc                                                                 9900 Bren Rd E                                                                                                                Minnetonka          MN      55343-9664
 Orange Bang & Monster vs. VPX et al. (2020) Orange Bang, Inc                         13115 Telfair Ave                                                                                                             Sylmar              CA      91342
 Orange Bang, Inc.                           c/o Knobbe, Martens, Olson & Bear, LLP   Attn: Steven J Nataupsky                                    2040 Main St                           14th Fl                    Irvine              CA      92614
 Orange County BCC Orange County Comptroller                                          PO Box 38                                                                                                                     Orlando             FL      32802
 Orange County BCC Orange County Finance &                                            PO Box 38                                                                                                                     Orlando             FL      32802
 Orange Show Center for Visionary Art                                                 2334 Gulf Terminal Dr                                                                                                         Houston             TX      77023-5156
 ORBIT Industrial Service & Maintenance                                               5316 W Missouri Ave                                                                                                           Glendale            AZ      85301-6006
 Oregon Department Of Justice                Attn: Consumer Protection                1162 Ct St NE                                                                                                                 Salem               OR      97301
 Oregon Department of Revenue                                                         PO Box 14555                                                                                                                  Salem               OR      97309-0940
 Oregon Dept of Revenue POBox14780                                                    PO Box 14780                                                                                                                  Salem               OH      97309-0469
 Oregon Employment Department State of                                                PO Box 4395                                                                                                                   Portland            OR      97208-4395
 Oregon Liquor Control Commission(OLCC)                                               PO Box 22297                                                                                                                  Milwaukie           OR      97269
 Oregon Neighborhood Store Association                                                1270 Chemeketa St Ne                                                                                                          Salem               OR      97301-4145
 Oren Stambouli                                                                       1800 North Bayshore Dr                                      Apt 3608                                                          Miami               FL      33132
 Org (Hubei) Sales Co., Ltd                                                           69 of Guishan Rd                                                                                                                                                       China
 Oriana Chacon                                                                        9408 N Orleans Ave                                                                                                            Tampa               FL      33612
 Orion McCants                                                                        912 Coade StoNE Dr                                                                                                            Seffner             FL      33584
 Orisme Choisy                                                                        1981 NW 43 Ter # 154                                                                                                          Lauderhill          FL      33313
 Orkin - Denver                                                                       11025 Dover St                                                                                                                Westminster         CO      80021
 Orkin - Houston                                                                      3901 Braxton Dr                                                                                                               Houston             TX      77063-6303
 Orkin Charlotte NC                                                                   PO Box 740473                                                                                                                 Cincinnati          OH      45274-0473
 Orkin LLC- Carrollton                                                                3330 Keller Springs Rd Suite 250                                                                                              Carrollton          TX      75006-5053
 Orkin Pest Control                                                                   PO Box 7161                                                                                                                   Pasadena            CA      91109-7161
 Orkin, LLC-FT. Worth                                                                 3601 NE Loop 820 Suite 100                                                                                                    Forth Worth         TX      76137
 Orlando Daniel Gonzalez                                                              19652 E Country Club Dr                                                                                                       Aventura            FL      33180
 Orlando Gonzalez X fit solutions inc                                                 19652 E Country Club Dr                                                                                                       Aventura            FL      33180-2599
 Orlando Masso                                                                        215 N New River Dr E                                        Apt 4140                                                          Fort Lauderdale     FL      33301
 Orlando Morales                                                                      411 Montpelier Ln                                                                                                             Ovilla              TX      75154
 Orlando Pulido                                                                       500 NE 2nd St 122                                                                                                             Dania Beach         FL      33004
 Orlando Soto                                                                         6937 West Coolidge St                                                                                                         Phoenix             AZ      85033
 Orlando Utilities Commission                                                         PO Box 31329                                                                                                                  Tampa               FL      33631-3329
 Ornella Cohen Gonzalez                                                               1300 South Miami Ave                                        Unit 2904                                                         Miami               FL      33130
 Orthodox Union                                                                       Eleven BRdway 13th Floor                                                                                                      New York            NY      10004
 Oscar A Valdaliso                                                                    5053 NW 195th Ter                                                                                                             Miami Gardens       FL      33055
 Oscar Acista Lorenzo                                                                 7601 E Treasure Dr                                          Unit 1811                                                         North Bay Village   FL      33141
 Oscar D Bravo                                                                        7280 Stirling Rd                                            Apt 205                                                           Hollywood           FL      33024
 Oscar Estrada                                                                        10414 W Crown King Rd                                                                                                         Tolleson            AZ      85353
 Oscar G Garcia Jr                                                                    1063 East MonteleoNE St                                                                                                       San Tan Valley      AZ      85140
 Oscar Jesus Visoso                                                                   30827 W Flower St                                                                                                             Buckeye             AZ      85396
 Oscar Santiago                                                                       25302 Beechwood Dr                                                                                                            Land O' Lakes       FL      34639
 Oshane Orane Samuda                                                                  619 48th St                                                                                                                   West Palm Beach     FL      33407
 Osiris Martinez Medina                                                               Tivoli Plaza                                                Cra 71 #93-37 Conjunto Torre 13 445    Barranquilla               Atlantico                                Colombia
 Osoria's Fences                                                                      1225 Kingston Dr                                                                                                              Lewisville          TX      75067



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 Osprey Beverages, LLC                                       4255 South Hwy 89                                                                                            Jackson                 WY       83001
 Osprey Beverages, LLC                                       PO Box 470                                                                                                   Jackson                 WY       83001-0470
 Osvaldo Espinosa                                            66900 Ironwood Dr 807                                                                                        Desert Hot Springs      CA       92240
 Oswaldo Salazar                                             5851 Holmberg Rd #1212                                                                                       Parkland                FL       33067
 Oswego Beverage Co. LLC - (Eagle Bev.)                      1043 County Route 25                                                                                         Oswego                  NY       13126-5704
 Othman Zainu Deen                                           19221 Northeast 10th Ave                          Apt 206                                                    Miami                   FL       33179
 Otis Elevator Company                                       840 Franklin Ct Suite 200                                                                                    Marietta                GA       30067
 OTR Capital, LLC Trekker Logistics                          PO Box 1000                                                                                                  Memphis                 TN       38148-0390
 Oumiama Gassa                                               Nordstraße                                        Apt 46                             Westfalen               Düsseldorf- Nordrhein            40477        Germany
 Overhead Door                                               4045 Perimeter West Dr Suite 600                                                                             Charlotte               NC       28214
 Overhead Door CO. DuraServ Corp                             11431 Ferrell Dr Suite 200                                                                                   Farmers Branch          TX       75234
 Overhead Door Co. of Ft. Myers Teve Inc.                    2325 Crystal Dr                                                                                              Ft Myers                FL       33907
 Overhead Door Company of Tampa Bay Parson                   7701 Ann Ballard Rd                                                                                          Tampa                   FL       33634
 Overseas Services Corporation dba                           1100 Northpoint Pkwy                                                                                         West Palm Bch           FL       33407-1937
 Ovidio Asprilla Diaz                                        Conjunto Canelo Calle 172A #8-20                  Torre 9                            Apt 301                 Bogota                           110221       Colombia
 OwnBackup, Inc                                              940 Sylvan Ave Fl 1                                                                                          Englewd Cliffs          NJ       07632-3301
 PA Short Distributing Co.                                   440 Industrial Dr                                                                                            Hollins                 VA       24019-8572
 Pablo H Tomasielli                                          1441 SE 20th Rd                                                                                              Homestead               FL       33035
 Pablo Ricardo Ramirez Acevedo                               81 Southwest 91St Ave                             Apt 205                                                    Plantation              FL       33324
 PACER                                                       PO Box 71364                                                                                                 Philadelphia            PA       19176-1364
 Pacific Beverage Co.                                        22255 El Camino Real                                                                                         Santa Margarita         CA       93453
 Pacific Beverage Co.                                        401 Del Norte Blvd                                                                                           Oxnard                  CA       93030
 Pacific Beverage Co.                                        5305 Ekwill St                                                                                               Santa Barbara           CA       93111
 Pacific Beverage Co.                                        900 Fairway Dr Santa Maria                                                                                   Santa Maria             CA       93454
 Pacific Beverage Co.                                        PO Box 6803                                                                                                  Santa Barbara           CA       93160-6803
 Pacific Sportswear Co., Inc.                                1277 N Cuyamaca Suite A-B                                                                                    El Cajon                CA       92020
 Pacifique Rukundo                                           1123 East Apache Blvd                             Apt 103                                                    Tempe                   AZ       85281
 Packaging Corporation of America                            9200 Old Mcgregor Rd                                                                                         Waco                    TX       76712
 Packaging Equipment, Inc.                                   4350 Crosscreek Trl                                                                                          Cumming                 GA       30041-6633
 Padula Bennardo Levine, LLP                                 3837 NW Boca Raton Blvd                                                                                      Boca Raton              FL       33431
 Paige Ashlee Markum                                         5954 Lake Way Mews                                                                                           N Richlnd Hls           TX       76180-5317
 Paige Hansen                                                6381 Vatcher Dr                                                                                              Huntington Beach        CA       92647
 Paige Markum                                                3344 S 3rd St                                     Apt 20                                                     Waco                    TX       76706
 Paige Marx                                                  1036 Oriole St                                                                                               Charlotte               NC       28203
 Paige McCorkle                                              1368 E Clark Dr                                                                                              Gilbert                 AZ       85297
 Paige Moore                                                 1128 Bryan Dr                                                                                                Moore                   OK       73160
 Paige Nagel                                                 1132 Kenworth Dr                                                                                             Apopka                  FL       32712
 Paige Obrecht                                               6172 Mary Ln Dr                                                                                              San Diego               CA       92115
 Paige Olivia Holland                                        2543 Sweet Rain Way                                                                                          Corona                  CA       92881
 Paige Rifkind                                               7736 Travelers Dr                                                                                            Boca Raton              FL       33433
 Paige Vasser                                                8093 Citrus Park Blvd                                                                                        Fort Pierce             FL       34951
 Pair O Docs Professionals LLC                               26 EastbourNE Cir                                                                                            Madison                 WI       53717-1094
 Paisley Moses                                               615 Blossom Hill Rd # 37                                                                                     Los Gatos               CA       95032
 Palace Packaging Machines                                   4102 Edges Mill Rd                                                                                           Dowingtown              PA       19335
 Pallet & Lumber Supply, LLC                                 PO Box 8506                                                                                                  Phoenix                 AZ       85066-8506
 Pallet Industries, Inc.                                     1815 South PowerliNE Rd                                                                                      Deerfield Beach         FL       33442
 Pamela Sanchez                                              22nd Side Rd                                                                  7921                           Acton                   ON       L7J 2M1      Canada
 Pamela Seco Pam                                             2069 S Ocean Dr th 16                                                                                        Hallandale Beach        FL       33009
 Panana LLC                                                  16155 Sierra Lakes Pkwy # 160-161                                                                            Fontana                 CA       92336-1244
 Panzer Incorporated                                         4546 Clemens St                                                                                              Lake Worth              FL       33463
 Paola Andrea Canas Ospina                                   1600 NE 1St Ave                                                                                              Miami                   FL       33132
 Paola Herrera Napolitano                                    7875 Northwest 107th Ave                          Bldg 4                                                     Doral                   FL       33178
 Paola Perez                                                 16471 Blatt Blvd                                  Unit 105                                                   Weston                  FL       33326
 Paola Rocio Scott                                           12154 SW 49th Pl                                                                                             Cooper City             FL       33330
 Paola Usme Castano                                          42 #5 Sur- 46 Carrera                                                                                        Medellin                                      Colombia
 Paola Usme Castano                                          Condominio Sibaris llanogrande                                                                               Rionegro                         54048        Colombia
 Paolas Creations LLC                                        11256 NW 42nd Ter                                                                                            Doral                   FL       33178-1806
 Par Mar Oil Company                                         114A Westview Ave                                                                                            Mariettta               OH       45750
 Paradise Beverage Inc                                       2902 E Val Verde Ct                                                                                          Rancho Dominguez        CA       90221
 Paradise Beverage Inc                                       94-1450 Moaniani St                                                                                          Waipahu                 HI       96797
 Paragon Distributing                                        1807 W 47th Ave                                                                                              Anchorage               AK       99517-3164
 Paragon Distributing                                        5410 12th St East                                                                                            Fife                    WA       98424
 Paragon Distributing                                        6410-12th St East                                                                                            Fife                    WA       98424
 Parallel Products                                           PO Box 775347                                                                                                Chicago                 IL       60677-5347
 Paris Deangelo Kinsey                                       260 Bonita Glen Dr X06                                                                                       Chula Vista             CA       91910-3171
 Parker Allen                                                1501 Timberline Ave                                                                                          Lowell                  AR       72745
 Parker Burros                                               2901 Stadium Dr                                   TCU Box 292904                                             Fort Worth              TX       76129
 Parker Burross                                              2901 Stadium Dr                                                                                              Fort Worth              TX       76129-0006
 Parks Ryan McBride                                          555 Northeast 8th St                                                                                         Fort Lauderdale         FL       33304
 Patent & Law Firm YUS, LLC                                  Prospekt Mira                                     3rd Floor Office XIV               Room 14 6               Moscow                           129090       Russia
 Patents Ink Inc                                             3635 Old Ct Rd                                                                                               Baltimire               MD       21208
 Patken Corp Everlasting Embroidery                          2600 NW 55th Ct Suite 237                                                                                    Ft Lauderdale           FL       33309-2676
 Patreka M Iphill                                            10060 Northwest 14th St                                                                                      Plantation              FL       33322
 Patrice Helen Dewar                                         273 Duval Ct                                                                                                 Weston                  FL       33326
 Patricia Alvarez                                            8134 SW 163rd Place                                                                                          Miami                   FL       33193



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                       Name                  Attention                                Address 1                                 Address 2         Address 3                City    State         Zip         Country
 Patricia Maribel Velez-Ornelas                              1619 Renee St                                                                                    Lancaster           CA       93535
 Patricia Marie Arias Budet                                  120 Lakeview Dr                                     Apt 302                                      Weston              FL       33326
 Patricia Nino                                               1335 Seagrape Cir                                                                                Weston              FL       33326
 Patricia Pearl Eboli                                        331 Wood Dale Dr                                                                                 Wellington          FL       33414
 Patricia Perez                                              2550 W 67 Pl 11                                                                                  Hialeah             FL       33016
 Patricia Perez                                              488 NE 18st                                         Apt 1107                                     Miami               FL       33132
 Patricia Rossana Levano Neyra                               3510 Silver Lace Ln 48                                                                           Boynton Beach       FL       33436
 Patrick A McDonald                                          1600 N Park Dr                                                                                   Weston              FL       33326-3278
 Patrick Allen McDonald                                      42 Crestwood Rd                                                                                  Rockaway            NJ        7866
 Patrick Allen Rutherford                                    16019 West Linden St                                                                             Goodyear            AZ       85338
 Patrick Berry                                               716 Mill Stream Rd                                                                               Ponte Vedra         FL       32082-4145
 Patrick D Arondel De Hayes                                  3807 Edwards Rd                                                                                  Plant City          FL       33567
 Patrick D Hastings                                          1600 N Park Dr                                                                                   Weston              FL       33326-3278
 Patrick Dean Hastings                                       4338 East Hartford Ave                                                                           Phoenix             AZ       85032
 Patrick Edgar Northrop                                      7892 Rocky Mount Rd                                                                              Luthersville        GA       30251
 Patrick Ernst                                               181 Mohawk                                                                                       Cranford            NJ       07016
 Patrick Gueret                                              633 Summerlake Dr East                                                                           Mobile              AL       36608
 Patrick J. Doliny                                           14531 SW 24th St                                                                                 Davie               FL       33325
 Patrick John McDonough                                      12171 Beach Blvd                                    Apt 1425                                     Jacksonville        FL       32246
 Patrick Kiley                                               201 E Mississippi Ave                               Apt 767                                      Denver              CO       80209
 Patrick Knipping                                            15782 Falcon Cir N                                                                               Hugo                MN       55038
 Patrick Kovach                                              3311 Southridge Dr                                  Unit B                                       Acworth             GA       30101
 Patrick McClain                                             321 Hunters Pass Dr                                                                              Duncansville        PA       16635
 Patrick McMahon                                             4367 55th Ave                                                                                    Bettendorf          IA       52722
 Patrick Michael Flynn                                       614 El Gusto Ave                                                                                 North Las Vegas     NV       89081
 Patrick Minor                                               133 W 6th St                                                                                     Tempe               AZ       85281
 Patrick Tarmey                                              2237 SW 2nd Ct                                                                                   Redmond             OR       97756
 Patrick Tarmey                                              728 West Ave                                        Apt 4011                                     Cocoa               FL       32927
 Patrick Toon                                                406 Waterman St Southeast                                                                        Marietta            GA       30060
 Patrick Vilus                                               3673 High PiNE Dr                                                                                Coral Springs       FL       33065
 Patrick Washington                                          3703 North Troy St                                                                               Chicago             IL       60618
 Patrick William Arnold                                      6459 the Kings Way                                                                               Douglasville        GA       30135
 Paul A Marsh                                                10429 Flat Creek Trail                                                                           Mckinney            TX       75070
 Paul Anthony Aviles                                         2406 Deer Creek Rd                                                                               Weston              FL       33327
 Paul Anthony Bowling                                        2322 North 92nd Dr                                                                               Phoenix             AZ       85037
 Paul Butcher                                                32060 Pacific Coast Highway                                                                      Malibu              CA       90265
 Paul D Specter                                              1600 N Park Dr                                                                                   Weston              FL       33326-3278
 Paul Daniel Specter                                         9821 Shallow Creek Dr                                                                            Waco                TX       76708
 Paul E Bojorquez Felix                                      17798 West Calavar Rd                                                                            Surprise            AZ       85388
 Paul Jacques Van Doninck                                    808 Hawthorne Ln                                    Apt 141                                      Charlotte           NC       28204
 Paul Joseph Dubrule                                         650 Southern Dr                                                                                  Buda                TX       78610
 Paul M Borrelli                                             107 Northwest 133rd Terrace Bldg 51 201                                                          Plantation          FL       33325
 Paul Michael Calcaterra                                     9155 Old Orchard Rd                                                                              Davie               FL       33328
 Paul Mustelier                                              906 Echo St                                                                                      Ft Pierce           FL       34982
 Paul Robert Small                                           17051 NE 35th Ave 307                                                                            North Miami Beach   FL       33160
 Paul Stephen Soto                                           7301 North Mahr Ct                                                                               Spokane             WA       99208
 Paul Willkomm                                               2575 Paul Place                                                                                  Arroyo Grande       CA       93420
 Paula Evelyn Benavides                                      7500 NW 23rd St                                                                                  Sunrise             FL       33313
 Paula Galindo                                               2045 BiscayNE Blvd                                  Apt 112                                      Miami               FL       33137
 Paula Galindo LLC                                           3470 NW 82nd Ave Suite 860                                                                       Miami               FL       33122
 Paula Giordano                                              2660 NE 37th Dr                                                                                  Ft Lauderdale       FL       33308
 Paula I Baysinger                                           317 8th Ave                                                                                      Columbia            TN       38401
 Paula Pietra Luccas                                         1600 Hayes St                                                                                    Hollywood           FL       33020-3652
 Paulette Castel                                             6250 Palm Trace Landings Dr                                                                      Davie               FL       33314
 Paulina Bravo                                               210 Kiowa Ct                                                                                     Acworth             GA       30102
 Paulo Vitor Costa Pinto                                     10908 98 St                                         Apt 107                                      Fort St John        BC       V1J 3W3      Canada
 PAX ADR, LLC                                                2101 L St NW Suite 800                                                                           Washington          DC       20037-1657
 Paycom Payroll LLC                                          7501 W Memorial Rd                                                                               Oklahoma            OK       73142
 PayPal                                                      2211 1st St                                                                                      San Jose            CA       95131
 Payton Bryce Matous                                         1957 Silver Falls Dr                                                                             Burleson            TX       76028
 Payton Gabrielle Wallace                                    11326 North 46th St                                 Apt 1103                                     Tampa               FL       33617
 Payton Hooper-Kothe                                         3315 N 147th Ct #1301                                                                            Omaha               NE       68116
 Payton Olivia Brown                                         4907 Keaton Crest Dr                                                                             Orlando             FL       32837
 PB Parent Holdco,LP PYE-Barker Fire &                       11605 Haynes Bridge Rd Suite 350                                                                 Alpharetta          GA       30009-8815
 Pb Productions LLC                                          1686 Pisa Ln                                                                                     Richland            WA       99352
 PBC - Pepsi Bottling of Medford                             510 Airport Rd                                                                                   Medford             OR       97504
 PBC - Pepsi Co. Corvallis                                   2636 NE Belvue St                                                                                Corvallis           OR       97330
 PBC - Pepsi Co. Portland                                    2505 NE Pacific St                                                                               Portland            OR       97232
 PBC - Pepsi Co. Portland                                    999 NE 27th Ave                                                                                  Portland            OR       97232
 PBC - Pepsi Co. Salt Lake                                   3388 W 1987 S                                                                                    Salt Lake City      UT       84104
 PBC - Pepsi Co. Seattle                                     2300 26th Ave S                                                                                  Seattle             WA       98144
 PBC - Pepsi Everett                                         1118 80th St Sw                                                                                  Everett             WA       98203
 PBC - Pepsi Nampa                                           8925 Birch Ln East Building 200                                                                  Nampa               ID       83687
 PBC - Pepsi Spokane                                         11016 E Montgomery Dr #100                                                                       Spokane Valley      WA       99206
 PBC - Pepsi Tacoma                                          3101 South PiNE St                                                                               Tacoma              WA       98409



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                        Name                                         Attention                                 Address 1                                  Address 2                 Address 3                 City    State        Zip             Country
 PBC Pepsi Corp. POS Item                                                             1111 WestcheSuiter Ave                                                                                    White Plains         NY       10604
 PDI of Ashland, Inc.                                                                 2747 Greenup Ave                                                                                          Ashland              KY       41101-1952
 Peachtree Packaging, Inc                                                             770 Marathon Pkwy                                                                                         Lawrenceville        GA       30046-2800
 Peak Activity, LLC vs. VPX (2022)               PeakActivity, LLC                    1880 N CONGRESS AVE Suite 210                                                                             Boynton Beach        FL       33426-8674
 PeakActivity, LLC                                                                    1880 N Congress Ave Suite 210                                                                             Boynton Beach        FL       33426-8674
 Pebbles Gonzalez                                                                     5381 E Eagle St                                                                                           Long Beach           CA       90818
 Pecht Distributors,Inc                                                               514 New St                                                                                                Lawrenceville        VA       23868-1612
 Pedro Francisco Cabrera                                                              3450 West 105th St                                                                                        Hialeah              FL       33018
 Pedro Gonzalez                                                                       2505 Bloods Grove Cir                                                                                     Delray Beach         FL       33445
 Pedro Nolasco                                                                        11117 Leadwell St                                                                                         Los Angeles          CA       91352
 Pedro Romero                                                                         1910 SW 97th Terrace                                                                                      Miramar              FL       33025
 Peking Union Medical College Institute of                                            Dongcheng 东单三条9号 邮政编码:                                                                                    Beijing                       100006       China
 Pelican Insurance Agency, Inc.                                                       499 NW 70th Ave                                                                                           Plantation           FL       33317-7500
 Pembroke Pines Police DMS, Inc Detail                                                20311 Sheridan St                                                                                         Pembroke Pines       FL       33332
 Pendleton Bottling Co                                                                4480 Westgate Dr                                                                                          Pendleton            OR       97801
 Pendragon Title and Escrow, Inc.                                                     1120 102 St #5                                                                                            Bay Harbor Islands   FL       33154
 Peninsula Bottling Co, Inc                                                           311 S Valley                                                                                              Port Angeles         WA       98362
 Penn Beer Sales & Service                                                            2801 Township LiNE Rd                                                                                     Hatfield             PA       19440-1755
 Pennsylvania Office of the Attorney General                                          Strawberry Square 16th Fl                                                                                 Harrisburg           PA       17120
 Penske Truck Leasing                                                                 PO Box 7429                                                                                               Pasadena             CA       91109-7429
 PeopleReady Florida, Inc                                                             1015 "A" St                                                                                               Tacoma               WA       98402
 PeopleSuite, LLC                                                                     222 N Main St                                                                                             Mooresville          NC       28115-2528
 Pepsi Beverages Co.                             c/o Rosenfeld Stein Batta, PA        Attn: Ravi Batta                                     21490 West Dixie Highway                             Aventura             FL       33180
 Pepsi Bottling Ventures (PBV)                                                        4141 Park Lake Ave                                                                                        Raleigh              NC       27612
 Pepsi Bottling Ventures, LLC                                                         4141 Parklake Ave Suite 600                                                                               Raleigh              NC       27612
 Pepsi Cola Bottling Co of Eastern Oregon                                             2404 East H St                                                                                            La Grande            OR       97850
 Pepsi Cola Bottling Co of Eastern Oregon                                             2980 SW 18th Ave                                                                                          Ontario              OR       97914
 Pepsi Cola Bottling Co of Eastern Oregon                                             PO Box F                                                                                                  La Grande            OR       97850
 Pepsi Cola Bottling Co. of Guam                                                      210 Rojas St                                         Harmon Industrial Park      Tamuning                 Guam                          96913
 Pepsi Cola Bottling Co. of Selma Inc.                                                1400 West Highland Ave                                                                                    Selma                AL       36701
 Pepsi Cola Bottling of Winfield Inc.                                                 1766 Bankhead Hwy                                                                                         Winfield             AL       35594-6112
 Pepsi Cola Decatur                                                                   PO Box 2389                                                                                               Decatur              AL       35601
 Pepsi Logistics Company, Inc                                                         5600 Headquarters Dr                                                                                      Plano                TX       75024
 Pepsi of Astoria                                                                     500 29th St                                                                                               Astoria              OR       97103
 Pepsi of Atmore Inc.                                                                 PO Box 1009                                                                                               Atmore               AL       36504-1009
 PepsiCo                                         Eric Hansen                          15 Melanie Ln                                                                                             East Hanover         NJ       07936
 PepsiCo Parts Distribution Center                                                    10417 Fergusson Ln                                                                                        Williamsport         MD       21795
 PepsiCo vs. VPX et al. (2020) 01-20-0015-8060   PepsiCo                              15 Melanie Ln                                                                                             East Hanover         NJ       07936
 PepsiCo vs. VPX et al. (2022) 0:22-cv-60805     c/o Weil, Gotshal & Manges LLP       Attn: Andrew S Tulumello Chantale Fiebig             2001 M St NW                                         Washington           DC       20036
 PepsiCo vs. VPX et al. (2022) 0:22-cv-60805     c/o Weil, Gotshal & Manges LLP       Attn: Edward Soto Biran Liegel                       1395 Brickell Ave           Suite 1200               Miami                FL       33131
 PepsiCo vs. VPX et al. (2022) 0:22-cv-60805     c/o Weil, Gotshal & Manges LLP       Attn: Geoffrey M Sigler                              1050 Connecticut Ave NW                              Washington           DC       20036
 Pepsi-Cola                                                                           700 Anderson Hill Rd                                                                                      Purchase             NY       10577
 Pepsi-Cola Bottling Co. of Luverne Inc.                                              638 S Forest Ave                                                                                          Luverne              AL       36049-1802
 Perfect Season Process Services,LLC                                                  20881 SW 119th Place                                                                                      Miami                FL       33177
 Perfectshaker Inc.                                                                   6405 Inducon Dr West                                                                                      Sanborn              NY       33075
 Perfeos LLC Antonio Lievano                                                          1915 NE 20th Ave                                                                                          Ft Lauderdale        FL       33305-2516
 Performance Staffing Solution Inc.                                                   PO Box 49332                                                                                              Charlotte            SC       28277
 Perla Z Rodriguez Cordova                                                            8520 W Granada Rd                                    Apt 1044                                             Mesa                 AZ       85210
 Perritt Laboratories                                                                 PO Box 147                                                                                                Hightstown           NJ       08501
 Perry C Moore                                                                        15340 Perdido Dr                                                                                          Orlando              FL       32828
 Perry Distributing, Inc.                                                             309 Birch St                                                                                              Hazard               KY       41701-2117
 Personal Mini Storage                                                                1970 South Hwy 27                                                                                         Clermont             FL       34711
 Personnel Concepts Inc. AIO Acquisition Inc                                          3200 East Guasti Rd Suite 300                                                                             Ontario              CA       91761
 Pesay Em                                                                             68 Linwood Ave                                                                                            Colorado             OH       43205
 Pest Pro Rid All, LLC                                                                5812 Johnson St                                                                                           Hollywood            FL       33021-5636
 Peter A DiLorenzo                                                                    195 Somershire Dr                                                                                         Rochester            NY       14617
 Peter Anthony Cinieri                                                                8069 Clear Shores Cir                                                                                     Delray Beach         FL       33446-3470
 Peter Dilorenzo                                                                      21 South Elm St                                                                                           Hicksville           NY       11801
 Peter Gichie                                                                         751 SW 148th Ave                                     Unit 1008                                            Davie                FL       33325
 Peter Kent Consulting, LLC                                                           404 Locust St                                                                                             Denver               CO       80220-5931
 Peter N Leonard                                                                      1508 Lakeview Dr                                                                                          Royal Palm Beach     FL       33411
 Peter Price                                                                          1171 North Hiatus Rd                                                                                      Pembroke Pines       FL       33026
 Peter Roccosalvo                                                                     193 Jerome Ave                                                                                            Staten Island        NY       10305
 Peter Schnebly Schnebly Redlands Winery                                              30205 SW 217th Ave                                                                                        Homestead            FL       33030
 Peter U Nwanze                                                                       6301 Stonewood Dr                                    Apt 822                                              Plano                TX       75024
 Peterson Pierre                                                                      11343 Northwest 49th Dr                                                                                   Coral Springs        FL       33076
 Petitpren Inc.                                                                       44500 N Groesbeck Hwy                                                                                     Clinton Township     MI       48036
 Pettit Kohn Ingrassia Lutz & Dolin                                                   11622 El Camino Real                                                                                      San Diego            CA       92130-2049
 Peyton Murrell                                                                       6447 Frieden Church Rd                                                                                    Gibsonville          NC       27249
 Peyton Pierce                                                                        116 W 5th Ave                                        Unit A                                               Corsicana            TX       75110
 Phaidon International (US) Inc.                                                      622 3rd Ave Fl 8                                                                                          New York             NY       10017-6727
 Phenomenex                                                                           PO Box 749397                                                                                             Los Angeles          CA       90074
 Phi Power Communications, Inc.                                                       255 E 49th St Suite 14D                                                                                   New York             NY       10017
 Philadelphia Insurance Companies                                                     PO Box 70251                                                                                              Philadelphia         PA       19176-0251
 Philip Andres Rosas                                                                  5614 Tranquility Oaks Dr                             Apt 106                                              Tampa                FL       33624



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                        Name                                           Attention                                 Address 1                               Address 2                    Address 3                City    State        Zip             Country
 Philip Burgess                                                                         405 Haddassah Ct                                                                                          Naperville          IL       60565
 Philip DeLuca                                                                          948 Arbor Hill Cir                                                                                        Minneola            FL       34715
 Philip Harrington                                                                      20032 WeSuitern Trails Blvd                                                                               Montgomery          TX       77316
 Phillip A. Miller                                                                      5401 Brookside Blvd                                                                                       Kansas City         MO       64112
 Phillip Arias                                                                          316 Braeburn Dr                                                                                           Shakopee            MN       55379
 Phillip Harris                                                                         8621 NW 53rd St                                                                                           Lauderhill          FL       33351
 Phillip Humaran                                                                        11023 North Kendall Dr                            Apt M203                                                Miami               FL       33176
 Phillip Michael Rodriguez                                                              8609 Priest River Dr                                                                                      Round Rock          TX       78681
 Phillip P Stevens                                                                      2432 Dorm Dr                                                                                              Twin Falls          ID       83301
 Phillip Williams                                                                       2920 29th Ct                                                                                              Jupiter             FL       33477
 Phillipe Henriquez                                                                     8557 Northwest 193rd Ln                                                                                   Hialeah             FL       33015
 Philshandymanservices                                                                  485 East Naples Rd # 23                                                                                   Las Vegas           FL       89169
 Phipps Reporting, Inc                                                                  1551 Forum Place                                                                                          West Palm Beach     FL       33401
 Phoebe Clark                                                                           97 Sloan St                                                                                               Mcdonough           GA       30253
 Phoenix City Hall                                                                      200 W Washington St                                                                                       Phoenix             AZ       85003
 Phoenix Fence Company                                                                  PO Box 21183                                                                                              Phoenix             AZ       85036-1183
 Phoenix Pumps, Inc.                                                                    5100 S 36th St                                                                                            Phoenix             AZ       85040
 Phx Warehouse                                                                          1635 S 43rd Ave                                                                                           Phoenix             AZ       85009
 Pico International LLC                                                                 PO Box 37679                                                                                              Dubai                                     United Arab Emirates
 Pierre Balian                                                                          4145 Pearl St                                                                                             Lake Elsinore       CA       92530
 Pike Distributors Inc.                                                                 353 Us Highway 41 E                                                                                       Negaunee            MI       49866-9624
 Pisani Company, Inc.                                                                   1551 Commerce St                                                                                          Ironwood            MI       49938
 PJKEV Approved, LLC                                                                    4824 Tujunga Ave                                                                                          Los Angeles         CA       91601
 PK Productions                                                                         1400 NW 65th Ave                                                                                          Plantation          FL       33313-4557
 Plaid Pantries, Inc                                                                    10025 SW Allen Blvd                                                                                       Beaverton           OR       97005
 PM Scientific LLC Donald R. Felley                                                     3706 Little Country Rd                                                                                    Parrish             FL       34219-9018
 PNC Bank, N.A                                       Christina Muniz                    One Financial Pkwy                                Locator Z1-Yb42-03-1                                    Kalamazoo           MI       49009
 PNC Bank, National Association                                                         Plaza 300                                         5th Ave                                                 Pittsburgh          PA       15222
 PNC Equipment Finance, LLC                                                             655 Business Center Dr                                                                                    Horsham             PA       19044
 PNC Equipment Finance, LLC                                                             PO Box 94931                                                                                              Cleveland           OH       44101-4931
 Polar Corp /Polar Beverages                                                            1001 Southbridge St                                                                                       Worcester           MA       01610-2218
 Polibio LLC Mattia Polibio                                                             72 Tracy Ave                                                                                              Totowa              NJ       07512-2038
 Police Officer Assistance Trust                                                        1030 NW 111th Ave Suite 232                                                                               Miami               FL       33172
 PoliteMail Software                                                                    300 Constitution Ave Suite 200                                                                            Portsmouth          NH       03801
 Polygram Publishing, Inc.                                                              99440 Collections Center Dr                                                                               Chicago             IL       60693
 POP Display Product (HK) Limited Dongguan                                              #15 Ronghua Rd                                    Juzhou 3Rd Industrial Zone    Shijie Town               Dongguan                                  China
 Portfolio Media, Inc. Law 360                                                          111 W 9th St                                                                                              New York            NY       10011-4115
 Portland Bottling Company                                                              1321 NE Couch St                                                                                          Portland            OR       97232-3007
 Posimat-Bottle Tech, Inc                                                               1646 NW 108th Ave                                                                                         Miami               FL       33172-2007
 Post & Schell P,C.                                                                     1600 John F Kennedy Blvd                                                                                  Philadelphia        PA       19103
 Potential Church                                                                       12401 Stirling Rd                                                                                         Cooper City         FL       33330
 Powdersville Self Storage                                                              11411 Anderson Rd                                                                                         Greenville          SC       29611
 Power and Control Installations, Inc                                                   6431 Pottsburg Dr                                                                                         Jacksonville        FL       32211
 Power and Energy Services, Inc.                                                        PO Box 637                                                                                                Powder Springs      GA       30127-0637
 Power Equipment Company                                                                3050 BRd Ave                                                                                              Memphis             TN       38112
 Power House Gym Fitness Center Daniel Rue                                              9 E Long St                                                                                               Columbus            OH       43015
 Powers CRR. Inc Glenda Powers                                                          13050 SW 6th Ct                                                                                           Davie               FL       33325-3207
 PPF Lincoln Medley                                                                     12600 NW 115th Ave                                                                                        Medley              FL       33178
 PPF Lincoln Medley, LLC - Prime Property Fund,                                         3280 Peachtree Rd Ne                                                                                      Atlanta             GA       30305
 PPT Group Corp.                                                                        45921 Maries Rd Suite 120                                                                                 Sterling            VA       20166-9278
 PR Newswire Association LLC                                                            350 Hudson St                                                                                             New York            NY       10014
 Prayon, Inc                                                                            1610 Marvin Griffin Rd                                                                                    Augusta             GA       30906-3808
 Precision Integrated Systems, LLC.                                                     PO Box 147                                                                                                Wickenburg          AZ       85358
 Precision Roofing Corp                                                                 2646 West 77 Place                                                                                        Hialeah             FL       33016
 Predator Nutrition Ltd                                                                 The Headrow                                                                                               Leeds                        LS1 8TL      United Kingdom
 Premier Distributing Co v. Vital Pharmaceuticals,   Premier Distributing Company       4321 YALE BLVD NE                                                                                         Albuquerque         NM       87107-4141
 Premier Distributing Company                        Julie Ryan                         1017 Santa Fe                                                                                             Clovis              NM       88101
 Premier Distributing Company                                                           1200 Troy King Rd                                                                                         Farmington          NM       87401
 Premier Distributing Company                                                           2680 Saw Mill Rd                                                                                          Santa Fe            NM       87505
 Premier Distributing Company                                                           3535 SanoSuitee                                                                                           Gallup              NM       87301
 Premier Distributing Company                                                           380 Alliance Dr                                                                                           Las Cruces          NM       88007
 Premier Distributing Company                        Julie Ryan                         4321 Yale Blvd Ne                                                                                         Albuquerque         NM       87107-4141
 Premier Nutrition Products, LLC                                                        2203 NW 30th Place Bay 1                                                                                  Pompano Beach       FL       33069
 Premier Packaging LLC                                                                  3900 Produce Rd                                                                                           Louisville          KY       40218-3006
 Premier Pallets, Inc.                                                                  5805 Breckenridge Parkway Suite A                                                                         Tampa               FL       33610
 Premium Beverage Co.                                                                   1311 Dayton St Suite D                                                                                    Salinas             CA       93901
 Premium Beverage vs. VPX et al. (2019)              Premium Beverage Co                1311 Dayton St Suite D                                                                                    Salinas             CA       93901
 Preplex Films, LLC Larry Silva                                                         4000 NE 3rd Ave                                                                                           Pompano Beach       FL       33064
 Presence From Innovation                                                               4847 Park 370 Blvd                                                                                        Hazelwood           MO       63042-4412
 Presidio Networked Solutions LLC                                                       10 Sixto Rd                                                                                               Woburn              MA       01801
 PressPlay Projects LLC Sam and Monica                                                  137 Lake HouSE Rd                                                                                         Pooler              GA       31322-9710
 Primal Fit Miami LLC                                                                   8200 NE 2nd Ave                                                                                           Miami               FL       33138
 Prime Beverage Group                                                                   1858 Kannapolis Pkwy                                                                                      Kannapolis          NC       28027-8550
 Prime Power Services, Inc.                                                             PO Box 1305                                                                                               Colombus            GA       31902
 Prince Kenny Ukoh                                                                      3725 Vitruvian Way Bldg 2-326                                                                             Addison             TX       75001



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                       Name                                      Attention                                     Address 1                                  Address 2                 Address 3                City    State      Zip             Country
 Principal Life Insurance 401K                                                        711 High                                                                                                  Des Moines          IA     50392
 Prinova (Changzhou) Solutions Co. Ltd                                                No 5 Lingxiang Rd                                    Wujin Economic Zone                                  Changzhou                  213149       China
 Prinova Solutions Europe Limited                                                     10 Aldersgate St                                                                                          London                     EC1A 4HJ     United Kingdom
 Prinova Solutions Europe Limited                                                     Priory Park Mills Rd                                                                                      Aylesford                  ME20 7PP     United Kingdom
 Prinova US LLC                                                                       36780 Eagle Way                                                                                           Chicago             IL     60678-1367
 Print Basics, Inc.                                                                   1061 Southwest 30th Ave                                                                                   Deerfield Beach     FL     33442-8104
 Priority-1, Inc                                                                      1800 E Roosevelt Rd                                                                                       Little Rock         AR     72206-2516
 Priscilla Long                                                                       2508 Fresco Ave                                                                                           Hidalgo             TX     78557
 Priscilla Sites                                                                      94 Old Post Rd                                                                                            Mount Sinai         NY     11766
 Pro Sound Inc                                                                        12250 NE 13th Ct                                                                                          Miami               FL     33161
 Pro Transport, Inc                                                                   10800 NW South River Drr                                                                                  Miami               FL     33178
 PRO-BOWL PLUMBING, INC.                                                              12134 Wiles Rd                                                                                            Coral Springs       FL     33076
 Production Automation, Inc.                                                          2075 Exchange St                                                                                          Montgomery          AL     36116
 Professional Account Management                                                      PO Box 3032                                                                                               Milwaukee           WI     53201-3032
 Professional Aircraft Corporation                                                    15715 Lindberg Ln                                                                                         Wellington          FL     33414
 Professional Store Services                                                          20032 WeSuitern Trails Blvd                                                                               Montgomery          TX     77316
 Profitmaster Displays, Inc                                                           6190 Powers Ferry Rd Suite 510                                                                            Atlanta             GA     30339-2967
 Prolock & Safe                                                                       896 SW 70th Ave                                                                                           Miami               FL     33144
 Prologis Targeted Logistics Fund, L.P.                                               1800 Wazee St                                                                                             Denver              CO     80202
 Prontock Beer Dist. Inc.                                                             323 Sandy St                                                                                              Dubois              PA     15801
 Proserv America Janitorial Services, Inc                                             18459 Pines Blvd                                                                                          Pembroke Pines      FL     33029-1400
 Proserv Crane & Equipment, Inc.                                                      455 AldiNE Bender                                                                                         Houston             TX     77060
 Protameen Chemicals, Inc.                                                            375 Minnisink Rd                                                                                          Totowa              NJ     07511
 Protameen Chemicals, Inc.                                                            PO Box 166                                                                                                Totowa              NJ     07511-0166
 Pryor Cashman LLP                                                                    7 Times Sq Fl 3                                                                                           New York            NY     10036-6569
 Public Storage                                                                       701 WeSuitern Ave                                                                                         Glendale            CA     91201-2349
 Public Storage PS Illinois Trust                                                     330 W North Ave                                                                                           Lombard             IL     60148-1207
 Publigraphic,LLC                                                                     8430 NW 61th                                                                                              Miami               FL     33166
 Pulice Land Surveyors, Inc.                                                          5381 Nob Hill Rd                                                                                          Sunrise             FL     33351
 PumpMan Phoenix                                                                      2824 E Washington St                                                                                      Phoenix             AZ     85034-1514
 Pure Air Crothers Cooling & Heating, Inc                                             2043 Trade Center Way                                                                                     Naples              FL     34109
 Pure Beverage Company Speedway                                                       13126 Forest Centre Ct                                                                                    Louisville          KY     40223
 Pure Beverage Company Speedway                                                       1835 Stout Field West Dr # 101                                                                            Indianapolis        IN     46241-4018
 Pure Beverage Company Speedway                                                       2301 Airwest Blvd                                                                                         Plainfield          IN     46168
 Pure water Partners                                                                  PO Box 24445                                                                                              Seattle             WA     98124-0445
 PureCircle USA, Inc                                                                  5 Westbrook Corporate Center                                                                              Westchester         IL     60154
 Purvis Industries                                                                    320 N 51St Ave                                                                                            Phoenix             AZ     85043-2704
 Pyro Distro, LLC                                                                     4011 Avenida De La Plata                                                                                  Oceanside           CA     92056
 QBE Insurance Corporation                                                            One QBE Way                                                                                               Sun Prairie         WI     53596
 Q-Bev Sp. Zo.O. Q-Bev                                                                UI Cybernetyki 7                                                                                          Polska                     02-677       Poland
 Qingdao Zhonghebochuang Industry                                                     167 Chunyang Rd Chengyang District                                                                        Qingdao Shandong                        China
 QP Media LLC Young Park                                                              800 Park Ave #1212                                                                                        Fort Lee            NJ    07024
 Quacy Stephen Moore                                                                  4405 North 103rd Ave                                 Apt 234                                              Phoenix             AZ    85037
 Quail Mountain Inc, dba Pepsi Cola                                                   4033 Miller Ave                                                                                           Klamath Falls       OR    97603
 Quality Brands Distribution, LLC                                                     1717 Marlin Dr                                                                                            Rapid City          SD    57701-0147
 Quality Import Solutions Inc.                                                        #200-4145 North Service Rd                                                                                Burlington          ON    L7L 6A3       Canada
 Quality Smart Solutions                                                              1309 Renfield Dr                                                                                          Burlington          ON    L7M 4Z3       Canada
 Quang Nguyen                                                                         211 9th St                                                                                                Marina              CA    93933
 Quanisha K Wallace                                                                   1035 NW 5th Ave                                                                                           Miami               FL    33311
 Quanzhou Weidao Imp& Export Co., Ltd.                                                Jinjiang Industrial Park                                                         Fujian                   Jinjang City              362200        China
 Quarles & Brady LLP                                                                  411 E Wisconsin Ave Suite 2400                                                                            Milwaukee           WI    53202-4428
 Quash Seltzer LLC Sheridan Building                                                  20311 Sheridan St                                                                                         Ft Lauderdale       FL    33332-2313
 Quash Seltzer vs. PepsiCo (2021)               c/o Weil, Gotshal & Manges LLP        Attn: Andrew S Tulumello Chantale Fiebig             2001 M St NW                                         Washington          DC    20036
 Quash Seltzer vs. PepsiCo (2021)               c/o Weil, Gotshal & Manges LLP        Attn: Edward Soto Biran Liegel                       1395 Brickell Ave           Suite 1200               Miami               FL    33131
 Quash Seltzer vs. PepsiCo (2021)               c/o Gibson, Dunn & Crutcher LLP       Attn: Geoffrey M Sigler                              1050 Connecticut Ave NW                              Washington          DC    20036
 Quebec Quano                                                                         10043 PiNE Valley Ct                                                                                      Baytown             TX    77521
 Queen City Beverage, Inc. Braun Distributing                                         153 26th St West                                                                                          Dickinson           ND    58601
 Queen City Beverage, Inc. Braun Distributing                                         PO Box 1506                                                                                               Dickinson           ND    58601
 Quentin J Wilson                                                                     1025 W Knox Ave                                      Unit D                                               Spokane             WA    99205
 Questyme USA, Inc.                                                                   1828 Snake River Rd                                                                                       Katy                TX    77449
 QuikTrip Corp. Quick N Tasty Foods Inc.                                              4705 S 129th East Ave                                                                                     Tulsa               OK    74134
 QuikTrip Corporation                                                                 4705 S 129th East Ave                                                                                     Tulsa               OK    74134-7005
 Quin O'connell                                                                       3387 Antigua Ln                                                                                           Tampa               FL    33614
 Quincy Dash                                                                          1459 Cherrywood Cir                                                                                       Corona              CA    92881
 Quinones, Kiana                                                                      1600 North Park Dr                                                                                        Weston              FL    33326
 Quinton Burrell                                                                      2451 NW 56th Ave # 205                                                                                    Lauderhill          FL    33313
 Quinton Lashawn Davis                                                                501 Hidden Dale Dr                                                                                        Fort Worth          TX    76140
 Quinton R Smith                                                                      1600 N Park Dr                                                                                            Weston              FL    33326-3278
 Quinton R. Price                                                                     21741 Alvarez                                                                                             Mission Viejo       CA    92691
 Quinton Robert Smith                                                                 5 Vineyard Haven Dr                                                                                       Pooler              GA    31322
 Quotient Technology Inc.                                                             400 Logue Ave                                                                                             Mountain View       CA    94043
 Quran Stenline                                                                       1721 Wilwood Ln                                                                                           Wylie               TX    75098
 Quran Stenline                                                                       5645 Farmdale Ave                                                                                         North Hollywood     CA    91601
 Qwaitraz Vincent Fenner                                                              5400 Rosewood Place                                                                                       Fairburn            GA    30213
 R & K Snacks Enterprices I, Inc.                                                     PO Box 7312                                                                                               Moore               OK    73153



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 R & S Beverage Company                                      17500 Adelanto Rd                                                                                 Adelanto             CA       92301
 R&K Distributors, Inc.                                      PO Box 3244                                                                                       Longview             TX       75606-3244
 R&K Logistics, Inc.                                         PO Box 668                                                                                        Palatine             IL       60078-0668
 R&L Global Logistics                                        3658 Atlanta Industrial Blvd                                                                      Atlanta              GA       30331
 R&L Truckload Services, LLC                                 7290 College Pkwy Suite 200                                                                       Fort Myers           FL       33907-5649
 R.C. Stevens Construction Company                           28 S Main St                                                                                      Winter Garden        FL       34787
 R.H. Barringer Dist. Co., Inc. Speedway                     1015 Ziglar Rd                                                                                    Winston Salem        NC       27105
 R.H. Barringer Dist. Co., Inc. Speedway                     125 7 Oaks Dr                                                                                     Linwood              NC       27299
 R.H. Barringer Dist. Co., Inc. Speedway                     1613 Main Ave NW #B                                                                               Hickory              NC       28601
 R.H. Barringer Dist. Co., Inc. Speedway                     1620 Fairfax Rd                                                                                   Greensboro           NC       27407-4139
 R.H. Barringer Dist. Co., Inc. Speedway                     420 Civic Blvd                                                                                    Raleigh              NC       27610
 R.S. Quality Products, Inc.                                 719 Roble Rd Suite 103                                                                            Allentown            PA       18109
 R4 SO Valid, LLC C/O MBAF, LLC                              1450 Brickell Ave 18th Floor                                                                      Miami                FL       33131
 RA Jeffreys Distributing Co., Inc.                          420 Civic Blvd                                                                                    Raleigh              NC       27610
 RaceTrac Petroleum, Inc.                                    PO Box 930596                                                                                     Atlanta              GA       31193-0596
 Rachael Anne Rudnick                                        20800 Northeast 8th Ct                               Apt 202                                      Miami                FL       33179
 Rachael S Esenwein                                          152 Kennedy Dr                                                                                    Venus                TX       76084
 Racheal Elizabeth Hill                                      5902 West Royal Palm Rd #9                                                                        Glendale             AZ       85302
 Racheal Yeomans                                             5865 Levi Ln                                                                                      Van Nuys             CA       91401-4526
 Rachel Bader                                                831 Forsyth St                                                                                    Boca Raton           FL       33487
 Rachel Brown                                                17401 Northwest 17th Ave                                                                          Miami Gardens        FL       33056
 Rachel Cook, LLC Rachel Cook                                9046 Lindblade St                                                                                 Culver City          CA       90232
 Rachel Goldberg                                             1077 Aurora Ln                                                                                    Corona               CA       92881-8757
 Rachel Lieberman                                            9410 SW 8th St 9                                                                                  Boca Raton           FL       33428
 Rachel M Jackson                                            1600 N Park Dr                                                                                    Weston               FL       33326-3278
 Rachel Malissa Jackson                                      318 thomas Dorsey Dr                                 Apt 9                                        Villa Rica           GA       30180
 Rachel Nicole Hague                                         8249 E Chaparral Rd                                                                               Scottsdale           AZ       85250
 Rachel Ramirez Rach                                         9569 Boca Gardens Parkway A                                                                       Coral Springs        FL       33065
 Rachel Sossamon                                             8539 Albury Walk Ln                                                                               Charlotte            NC       28277
 Rachel Wolfenbarger                                         2739 Horseshoe Dr                                                                                 Plant City           FL       33566
 Rachell Vollori                                             133 East 64th St                                     Apt 11                                       New York             NY       10065
 Rachyle Lauck                                               2344 Soring Eagle Dr                                                                              Bullhead City        AZ       86442
 Rad Franco                                                  2034 E Crescent Way                                                                               Gilbert              AZ       85298
 Rader Foods Inc.                                            16390 NW 52nd Ave                                                                                 Miami Gardens        FL       33014-6210
 Raeleen Gomez                                               181 Lotus Ave                                                                                     Beaumont             CA       92223
 Raelene Portillo                                            120 W Wilson Ave 1606                                                                             Glendale             CA       91203
 Rafeala Zucchi Zucchi                                       225 Kawailani Cir                                                                                 Kihei                HI       96753
 Rahmel Dockery                                              405 6th Ave 502                                                                                   Tacoma               WA       98402
 Raikwaun Lavell Wright                                      8338 West Sheridan St                                                                             Phoenix              AZ       85037
 Rain Kasey Nolden                                           166 Kind Rd                                                                                       Jacksonville         NC       28540
 Raina McCluer                                               3535 Monroe Ave 30                                                                                San Diego            CA       92116-3590
 Rainbow Unicorn Bev LLC                                     1600 N Park Dr                                                                                    Weston               FL       33326-3278
 Raisa Vargas                                                4176 Inverrary Dr #306                                                                            Lauderhill           FL       33319
 Rakeeb A Mehter                                             1600 N Park Dr                                                                                    Weston               FL       33326-3278
 Rakeeb Ahmead Mehter                                        8124 Cantabria Falls Dr                                                                           Boynton Beach        FL       33473
 Ralph "Vino" Matthews                                       439 15th St Unit 15                                                                               Miami Beach          FL       33139
 Ralph Lee Pough                                             2412 Hayes St                                                                                     Hollywood            FL       33020
 Ralph Matthews                                              439 15th St 15                                                                                    Miami Beach          FL       33139-7970
 Ramiro Jimenez                                              4056 Soto Ave                                                                                     Riverside            CA       92509
 Ramiro Tortosa                                              10000 Bay Harbor Ter                                                                              Bay Harbor Islands   FL       33154-1570
 Ramiro Tortosa                                              10000 Bay Harbor Terr Bay Harbor Islands             Apt 204                                      Miami                FL       33154
 Ramiz Ahmed                                                 5080 Camino Del Arroyo                               Apt 468                                      San Diego            CA       92108
 Ramon Luis Martinez                                         6405 Chapel Pines Blvd                                                                            Wesley Chapel        FL       33545
 Ramsay Corporation                                          1050 Boyce Rd                                                                                     Pittsburgh           PA       15241
 Ramses Morales Encarnacion                                  811 Smith Bay Dr                                                                                  Brandon              FL       33510
 Rancho Electrical and Lighting, Inc.                        10700 Jersey Blvd Suite #530                                                                      Rancho Cucamonga     CA       91730
 Randall Damron                                              803 Merlin Roost                                                                                  Katy                 TX       77494
 Randall O'Neal                                              1410 O Shannon Ln                                                                                 Garland              TX       75044-3510
 Randolph C Chase                                            33600 North 27th Dr                                  Unit 1016                                    Phoenix              AZ       85085
 Randstad Professionals                                      PO Box 742689                                                                                     Atlanta              GA       30374
 Randy Edwin Brinkley                                        2600 Whippoorwill Ln                                                                              White Hall           AR       71602
 Randy Gonzalez                                              4611 Magnolia Pines Dr                                                                            Pearland             TX       77584
 Randy James Lehoe                                           3060 W Olympic Blvd                                                                               Los Angeles          CA       90006
 Ranger Construction                                         4240 Morris Field Dr                                                                              Charlotte            NC       28208-5831
 Ranger H-TX LP                                              11707 S Sam Houston Pkwy                             Suite H                                      Houston              TX       77031
 Ranger TX REIT III LLC                                      220 East 42nd St 27th Floor                                                                       New York             NY       10017
 RAQAM Consultancy DMCC                                      3702 X2 Tower CluSuiter X                            JLT                                          Dubai                                      United Arab Emirates
 Raquel Tuati PA                                             20130 W Dixie Highway #22204                                                                      Miami                FL       33180
 Rasha Dhia Kareem                                           7406 West Montebello Ave                                                                          Glendale             AZ       85303
 Raul Guzman                                                 2900 North 24th Ave                                  Apt 7204                                     Hollywood            FL       33020
 Raul I Bautista                                             1600 N Park Dr                                                                                    Weston               FL       33326-3278
 Raul Isaac Bautista                                         4822 W Phelps Rd                                                                                  Glendale             AZ       85306
 Raul Penagos                                                2919 Sera Bella Way                                                                               Kissimmee            FL       34744
 Ray Hatfield                                                1223 Dodgeton Dr                                                                                  Frisco               TX       75033-1432
 Ray Jay Fernades                                            725 Meyer Ave                                                                                     Lyndhurst            NJ       7071



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                        Name                                     Attention                                Address 1                               Address 2         Address 3                City      State        Zip           Country
 Ray Marquez                                                                     3469 Amber Sun Cir                                                                             Castle Rock           CO       80108
 Raylene Roybal                                                                  8415 Lexington Gallatin Rd                                                                     Pico Rivera           CA       90660
 Raymond Doan                                                                    7591 W Vermont Ave                                                                             Glendale              AZ       85303
 Raymond H Sedlacek                                                              4627 Ellwood Dr                                                                                Delray Beach          FL       33445
 Raymond J Wuest                                                                 5543 Executive Dr B6                                                                           New Prt Rchy          FL       34652-3816
 Raymond Joseph Wuest                                                            5543 Executive Dr                                 Apt B6                                       New Port Richey       FL       34652
 Raymond Junior Cartagena                                                        11079 Northwest 8th Ln                                                                         Ocala                 FL       34482
 Raymond Junior Gurule                                                           5038 South Hardy Dr #2081                                                                      Tempe                 AZ       85282
 Raymond Lazinsky                                                                12171 Beach Blvd                                  Apt 806                                      Jacksonville          FL       32246
 Raymond Masciopinto                                                             2817 N Rutherford Ave                                                                          Chicago               IL       60634-4842
 Raymond Masciopintos                                                            2817 N Rutherford                                                                              Chicago               IL       60634
 Raymond Ramirez                                                                 25260 Old Farm St                                                                              Moreno Valley         CA       92553
 Raymundo Diaz                                                                   120 W Wilson Ave 1211                                                                          Glendale              CA       91203
 Rayne Mariah Lindenmuth                                                         2212 Florida Ave                                                                               West Palm Bch         FL       33401-7642
 Raysa Canedo                                                                    6832 NW 179th St #201                                                                          Miami                 FL       33015
 Rayssa Corujo and Jean Bazil                                                    566 Long Beach Bay Dr                                                                          Katy                  TX       77493
 Rayssa Corujo Diaz Rayssa Corujo/Jean Brazil                                    1401 Stuart Ln                                                                                 Poinciana             FL       34759-4651
 RBrothers LLC                                                                   1288 Research Rd                                                                               Gahanna               OH       43230
 RCI Beverage-OH, LLC DBA Dayton Heidelberg                                      3801 Parkwest Dr                                                                               Columbus              OH       43228-1457
 Reaco Dean Vinson                                                               4030 North 44th Ave                                                                            Phoenix               AZ       85031
 ReadyRefresh by Nestle                                                          PO Box 856680                                                                                  Louisville            KY       40285-6680
 Rebeca Ruiz                                                                     12510 Jetty Cove Dr                                                                            La Marque             TX       77568
 Rebecca Bangoim Rebecca Ferrari Bangoim                                         269 Falcons Fire Ave                                                                           Las Vegas             NV       89148
 Rebecca Howell Gunnels                                                          333 West Trade St                                 Unit 1508                                    Charlotte             NC       28202
 Rebecca Ripley                                                                  14 Depot Rd                                                                                    Stratham              NH       03885
 Rebecca Spadaro                                                                 1500 NW North River Dr Wt-1403                                                                 Miami                 FL       33125-2685
 Rebecca Spadaro                                                                 7249 NW 33rd St                                   LRIWT-1403                                   Miami                 FL       33122
 Rebekah Hyun Im                                                                 11711 SW 11th St                                                                               Davie                 FL       33325
 Rebekah Shay Chaves                                                             17326 Apel Ln                                                                                  Huntington Beach      CA       92649
 Rebel Refrigeration, A/C & Plumbing Zears                                       2630 S Highland Dr                                                                             Las Vegas             NV       89109
 Reckart Logistics, Inc                                                          PO Box 908                                                                                     Elkins                WV       26241
 Recycle America LLC                                                             1001 Fannin St                                                                                 Houston               TX       77002-6706
 Red Giant, LLC                                                                  4230 SE King Rd                                                                                Portland              OR       97222
 Red River Beverage Group, LLC                                                   410 Hamilton Rd                                                                                Bossier City          LA       71111
 Reece David Hawkins                                                             18 Seaside Ave                                                                                 Mermaid Beach                  QLD 4218     Australia
 Reece David Hawkins                                                             9b Monday Dr                                                                                   Tallebudgera Valley            QLD 4227     Australia
 Reed Beverages, Inc.                                                            3701 SE 25th Ave                                                                               Amarillo              TX       79103
 Reed Beverages, Inc.                                                            4101 Amarillo St                                                                               Abilene               TX       79602
 Reed Exhibitions Deutschland Gmbh                                               Volklinger Str 4                                                                               Dusseldorf                     40219        Germany
 Reedie Renee Garrtt                                                             3575 Carter Rd                                                                                 Mims                  FL       32754-5325
 Refresco Benelux B.V.                                                           Orange Nasaulan 44                                                                             Maarheeze                      6026 PX      The Netherlands
 Refresco Beverage US Inc. COTT                                                  88033 Expedite Way                                                                             Chicago               IL       60695
 Refresco Beverage US Inc. COTT               Jason Bush                         8112 Woodland Center Blvd                                                                      Tampa                 FL       33614-2403
 Refresco Canada Inc                                                             6525 Viscount Rd                                                                               Mississauga           ON       L4V 1H6      Canada
 Refresco Iberia                                                                 Carretera KM 2069 N-332                                                                        Olivia                         46780        Spain
 Refreshment Services - Quincy, IL                                               PO Box 3035                                                                                    Quincy                IL       62305
 Refreshment Services - Tallahassee, FL                                          3400 Solar Ave                                                                                 Springfield           IL       62707-5713
 Refreshment Services - Terre Haute, IN                                          3875 4th Parkway                                                                               Terre Haute           IN       47804
 Regan Durkin                                                                    12 South Osceola Ave                                                                           Orlando               FL       32801
 Reghan Holder                                                                   1302 Renn Ave                                                                                  Clovis                CA       93611
 Regina Sosa                                                                     460 Lark Ave                                                                                   Miami Springs         FL       33166
 Regina Sosa                                                                     650 E 13th St                                                                                  Hialeah               FL       33010
 Regina Tinoco                                                                   8205 Lake Dr A-106                                                                             Doral                 FL       33166
 Regine Santa Maria ALLR, LLC                                                    10920 SW 114th St                                                                              Miami                 FL       33176-3917
 Regino Gonzalez Fabelo                                                          5505 NW 7th St W 308                                                                           Miami                 FL       33126
 Regis B Varela                                                                  10362 SW 212 St 105                                                                            Miami                 FL       33189
 Registry Clerk, Civil Division                                                  201 SE 6th St                                                                                  Fort Lauderdale       FL       33301
 Regus Management Group, LLC                                                     3000 Kellway Dr                                                                                Carrolton             TX       75006
 Reid Beckner Houchin                                                            8500 East Loma Land Dr                                                                         Scottsdale            AZ       85257
 Reif Harrison Howey                                                             1431 NW 85th Way                                                                               Plantation            FL       33322
 Reign Inferno                                                                   1 MonSuiter Way                                                                                Corona                CA       92879
 Reinbott Dist.                                                                  1736 Sorrel Rd                                                                                 Warrington            PA       18976
 Reiner Ramiro Calderon Guzman                                                   8031 Zelzah Ave                                                                                Los Angeles           CA       91335
 Reliable Fork Lift Sales LLC                                                    2150 E University Dr                                                                           Phoenix               AZ       85034
 Reliable Packaging Systems Astro Packaging                                      1300 N Jefferson St                                                                            Anaheim               CA       92807-1614
 Reliant Gases, LTD                                                              PO Box 671243                                                                                  Dallas                TX       75267-1243
 Reliant Gases, Ltd.                          Reliant - Dept 0954                1501 N Plano Rd                                                                                Richardson            TX       75081
 Reload Management Lindsey Pelas                                                 111 N Everest St #202                                                                          Glendale              CA       91206
 Remote Access Sales Inc                                                         7770 NW 23rd Ave                                                                               Miami                 FL       33147-5545
 Renato Alva Cassina                                                             7330 Northwest 114th Ave                                                                       Doral                 FL       33178
 Renato Miguel Gonzalez Maza                                                     13969 Southwest 155th Terrace                                                                  Miami                 FL       33177
 Rene H Sanchez                                                                  13052 Kagel Canyon St                                                                          Pacoima               CA       91331
 Rene Otero                                                                      4530 Blush Ct                                                                                  Lorain                OH       44053
 Renewed Image Power Washing, LLC                                                6502 Mangrove Dr                                                                               Wesley Chapel         FL       33544
 Rent's Due LLC Kevin Weatherspoon                                               9215 Fair Hill Ct                                                                              Mechanicsville        VA       23116



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 Republic Services #695                                         751 NW 31St Ave                                                                                Ft Lauderdale       FL       33311
 Resolutions, Inc.                                              314 S Federal Hwy                                                                              Dania Beach         FL       33004-4102
 Resort Beverage Company Inc.                                   2903 Route 611                                                                                 Tannersville        PA       18372-7987
 Resource Label Resource Label Group, LLC.                      147 Seaboard Ln                                                                                Franklin            TN       37067-8217
 Resource Management International                              50 Milk St Fl 10                                                                               Boston              MA       02109-5003
 Restaurant Supply, LLC.                                        312 Murphy Rd                                                                                  Hartford            CT       06114
 Retail Merchandising Solutions, Inc.                           2301 Armstrong St Suite 113                                                                    Livermore           CA       94551
 Retail Sports Marketing, Inc                                   10150 Mallard Creek Rd                                                                         Charlotte           NC       28262-9708
 Reuben A. Rios                                                 10432 Stanberry Ave                                                                            Las Vegas           NV       89135-1053
 Reuben J. Snow                                                 1504 Union Ave                                                                                 Chattanooga         TN       37404
 Reuben S Garcia                                                11640 West Brown St                                                                            Youngtown           AZ       85363
 Rex Michael Campbell                                           15555 Huntington Village In #84                                                                Huntington Beach    CA       92647
 Rex Three, Inc.                                                15431 SW 14th St                                                                               Davie               FL       33326-1937
 Rexel USA, Inc                                                 14951 Dallas Pkwy                                                                              Dallas              TX       75254
 Rexford Industrial Realty, L.P.                                710 S Dupont Ave                                                                               Ontario             CA       90074-0028
 Reyes Avelar                                                   5786 Mountain View Ave                                                                         Riverside           CA       92504
 Reyes Luna                                                     7774 W Pipestone Pl                                                                            Phoenix             AZ       85035-5098
 Reyes Luna JR                                                  7774 West Pipestone Place                                                                      Phoenix             AZ       85035
 Reyes Perez                                                    4138 Maris Ave                                                                                 Pico Rivera         CA       90660
 Reynaldo Delgado                                               8461 W Riley Rd                                                                                Phoenix             AZ       85353
 Reynaldo E Angeles                                             12431 NW 15th Place 18305                                                                      Sunrise             FL       33323
 RGF ENVIRONMENTAL GROUP, INC.                                  1101 W 13th St                                                                                 Riviera Beach       FL       33404-6701
 RGN Management Ltd Partnership-Canada                          100 King St W                                                                                  Toronto             ON       M5X 1C9      Canada
 Rhode Island Office of the Attorney General                    150 S Main St                                                                                  Providence          RI       02903
 Ricardo Alvarez                                                Carrera 8 # 84a - 34                                                                           Bogota                                    Colombia
 Ricardo Enrique Molieri                                        14467 Southwest 139th                            Ave Cir West                                  Miami               FL       33186
 Ricardo Flores                                                 25866 West Dunlap Rd                                                                           Buckeye             AZ       85326
 Ricardo L Almeida                                              10044 Burrock Dr                                                                               Santee              CA       92071
 Ricardo Oliveros Prosperi                                      5055 Collins Ave                                 Apt 2G                                        Miami Beach         FL       33140
 Ricardo Ortiz                                                  1120 Ayer Dr                                                                                   Gilroy              CA       95020
 Ricardo Pijuan                                                 12786 Basil St                                                                                 Rancho Cucamonga    CA       91739
 Ricardo Sobalvarro                                             5470 NW 114th Ave O 110                                                                        Doral               FL       33178
 Ricardo Spies                                                  23 Engela St Del Judor                           Mpumalanga                                    Emalahleni                   1034         South Africa
 Richard A Ruiz                                                 1232 Emerald Hill Way                                                                          Valrico             FL       33594
 Richard A Sutherland                                           840 SW 80th Ave                                                                                North Lauderdale    FL       33068
 Richard Brien                                                  5630 NE 8th Ave                                                                                Oakland Park        FL       33334
 Richard C Ramos                                                5150 N 99th Ave #3119                                                                          Glendale            AZ       85305
 Richard D Caruso                                               200 Ryan Lance                                                                                 Meadow Lands        PA       15347
 Richard Daniel Schoening                                       8109 Timber Point Dr                                                                           Jacksonville        FL       32244
 Richard Dylan Wells                                            1767 Foggy Day Dr                                                                              Middleburg          FL       32068
 Richard E Martinez                                             2540 Country Hills Rd 222                                                                      Brea                CA       92821
 Richard E Peery                                                1600 N Park Dr                                                                                 Weston              FL       33326-3278
 Richard E Toledo                                               10401 N Blvd                                                                                   Tampa               FL       33613
 Richard Edward Peery                                           1520 West Ash St                                                                               Rogers              AR       72758
 Richard F. Ashby                                               846 W 3rd Ave                                                                                  Escondido           CA       92025
 Richard Geoffrey Mead                                          1794 Crestridge Dr Southeast                                                                   Marietta            GA       30067
 Richard Hamman                                                 10316 Woburn Keep                                Apt 201                                       Thornton            CO       80229
 Richard J Florance                                             1600 N Park Dr                                                                                 Weston              FL       33326-3278
 Richard J Orta                                                 1600 N Park Dr                                                                                 Weston              FL       33326-3278
 Richard Jefferson                                              1008 Pinehurst Dr                                                                              Pineville           LA       71360
 Richard John Florance                                          2439 1/2 8th Ave N Uppr                                                                        St Petersburg       FL       33713
 Richard John Orta                                              230 East DunNE Ave                               Apt 221                                       Morgan Hill         CA       95037
 Richard L Davis                                                3725 Briar Ln                                                                                  Orange Park         FL       32065
 Richard M Mcguire                                              1600 N Park Dr                                                                                 Weston              FL       33326-3278
 Richard Matthew McGuire                                        9018 Suntree Ln                                                                                Gulfport            MS       39503
 Richard Moreno                                                 804 West 6th St                                                                                Pomona              CA       91766
 Richard Oberhofer                                              5329 W Lake Rd                                                                                 Geneseo             NY       14454-9575
 Richard P. Newbill III                                         1845 Maple Dr                                                                                  Atoka               TN       38004
 Richard Parra                                                  16402 West Monroe St                                                                           Goodyear            AZ       85338
 Richard Pennell                                                12850 W State Rd 84                              Apt 44898                                     Davie               FL       33325
 Richard Phan                                                   61 East 135 N                                                                                  Orem                UT       84057
 Richard Pizzo                                                  3208 West Freeport St                                                                          Broken Arrow        OK       74012
 Richard Rodriguez                                              6099 Overseas Hwy                                Lot 15 E                                      Marathon            FL       33050
 Richard S Zalmanowski                                          9915 Mayfield                                                                                  Livonia             MI       48150
 Richard Thomas Clark                                           5 Scarlet Oak Ct                                                                               Lake Saint Louis    MO       63367
 Richard V Heisler                                              1600 N Park Dr                                                                                 Weston              FL       33326-3278
 Richard Vernon Heisler                                         7225 Hamiltonhills Dr                                                                          Cincinnati          OH       45244
 Richard Vitucci                                                2110 South Seton Ave                                                                           Gilbert             AZ       85295
 Richard Weber                                                  3201 Pleasant Garden Rd 3G                                                                     Greensboro          NC       27406
 Richard Weston Enciso                                          6648 Fair Oaks Dr                                                                              Watauga             TX       76148
 Richelle lehrer                                                20301 W Country Club Dr #825                                                                   Miami               FL       33180
 Richelle Lehrer                                                3635 NE 1st Ave                                  Apt 1501                                      Miami               FL       33137
 Rick Edwards                                                   3645 South Malta Ct                                                                            Aurora              CO       80013
 Ricky Heaven Cleaning Services                                 6307 Hirondel St                                                                               Houston             TX       77087-6814
 Ricky Lamar Millender                                          7940 W Watkins St                                                                              Phoenix             AZ       85043



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 Rico Ray Robinson                                              13120 WeatherstoNE Dr                                                                           Spring Hill          FL     34609
 Riddle Media Inc Gilmher Gilbert Croes                         48 Pos Abao                                                                                     Oranjestad                               Aruba
 Ridgeback Construction, LLC                                    2826 MiNE And Mill Rd                                                                           Lakeland             FL     33801
 Ridgecrest Influence Ashley Kolfage                            2990 Bay Village Ct                                                                             Miramar Beach        FL     32550
 Rigoberto Quiroz Jimenez                                       9920 W Camelback Rd                               Apt 1048                                      Phoenix              AZ     85037
 Rikki Timothy Romero                                           10634 East Knowles Ave                                                                          Mesa                 AZ     85209
 Riley James Greer                                              2134 E BRdway Rd 1050                                                                           Tempe                AZ     85282
 Riley Suiter                                                   4401 Carmel Mountain Dr                                                                         Mckinney             TX     75070
 Rimmel Cadogan                                                 650 NE 57th Ct                                                                                  Ft Lauderdale        FL     33334
 Rina A Abraham                                                 9734 West Tonopah Dr                                                                            Peoria               AZ     85382
 Rinella Company, Inc.                                          2001 Seminary Rd                                                                                Quincy               IL     62301-1477
 Ring Container                                                 1 Industrial Park                                                                               Oakland              TN     38060-4048
 Ring Power Corporation                                         600 W 83rd St                                                                                   Hialeah              FL     33014
 Ring Power Corporation                                         PO Box 935004                                                                                   Atlanta              GA     31193-5004
 Rita Serafina Rendon                                           9821 West Fern Ln                                                                               Miramar              FL     33025
 Rita Varano                                                    2320 T St                                                                                       Richmond             VA     23223
 Rival Graphix                                                  310 Whitfield Ave                                                                               Sarasota             FL     34243
 River Scott                                                    1180 Drifting Cir Dr                                                                            Vista                CA     92081
 Riviera Finance CL Employment Group                            10430 Pioneer Blvd                                                                              Santa Fe Springs     CA     90670
 RJ Murphy                                                      4904 SW Blairemont Rd                                                                           Bentonville          AR     72713
 RL Lipton Distributing Company                                 425 Victoria Rd Suite B                                                                         Austintown           OH     44515
 RLM Retail, LLC                                                2 Main St                                                                                       Topsham              ME     04086
 RMARR Consulting LLC                                           5599 Bermuda Dunes Cir                                                                          Lake Worth           FL     33463-6571
 RMC Distributors, LLC                                          1525 N Newport Rd                                                                               Colorado Springs     CO     80916
 Roadnet Technologies Inc Omnitracs                             PO Box 840720                                                                                   Dallas               TX     72584
 Rob Wallace Expert LLC Robert G. Wallace JR                    669 Oradel Ave                                                                                  Oradel               NJ     07649
 Robbie Marino                                                  16 LouiSE Ln                                                                                    Hopewell             NY     12533
 Robert A. Dixon                                                2245 Roberta Ave                                                                                Marysville           CA     95901
 Robert A. Dixon                                                6413 Tupelo Dr                                    Apt 126                                       Citrus Heights       CA     95621
 Robert Alejandro Laguna                                        8101 West Preston Ln                                                                            Phoenix              AZ     85043
 Robert Alwood                                                  332 Horatio St 4                                                                                Charlotte            MI     48813
 Robert Antonio Ruiz                                            220 SW 116th Av                                   Unit 15-308                                   Pembroke Pines       FL     33025
 Robert Burnett                                                 85 Chrysanthemum Dr                                                                             Ormond Beach         FL     32174
 Robert C McLean                                                12866 SW 31St St                                                                                Miramar              FL     33027
 Robert Campos                                                  4577 E 6th                                                                                      Los Angeles          CA     90022
 Robert Candelaria                                              21608 North 32nd Ave                                                                            Phoenix              AZ     85027
 Robert Casenhiser                                              7740 State Rd                                                                                   Wadsworth            OH     44281
 Robert Cole                                                    205 NW 16th Ave 3                                                                               Portland             OR     97209
 Robert Crouch                                                  PO Box 461                                                                                      Robertsdale          AL     36567
 Robert Douglas Hope                                            55 Brooks Mill Ln                                                                               Dallas               GA     30157
 Robert Earl Kitchen                                            1221 N Dysart Rd                                  Apt 10                                        Avondale             AZ     85323
 Robert Edward Maroney                                          21 South San Remo Ave                                                                           Clearwater           FL     33755
 Robert Forbes & Associates Pty, LTD                            PO Box 123                                                                                      Sydney                      NSW 2038     Austria
 Robert Francis Manchurek                                       25 Selby St                                                                                     Toronto              ON     M4Y 0E6      Canada
 Robert Gaiko II                                                21680 Longs Peak Ln                                                                             Parker               CO     80138
 Robert Gaither Concrete                                        286 W Palamino Dr                                                                               Chandler             AZ     85225
 Robert Gary                                                    708 Myrtle Ave                                                                                  Green Cove Springs   FL     32043
 Robert Gary Miller                                             5446 Latham Manor Dr                                                                            Gainesville          GA     30506
 Robert Hayward                                                 19655 Montana Ln                                                                                Boca Raton           FL     33434
 Robert J Durand                                                912 Fountain Coin Loop                                                                          Orlando              FL     32828
 Robert J Goode                                                 1600 N Park Dr                                                                                  Weston               FL     33326-3278
 Robert J McMurdo                                               221 Shady Oaks Ln                                                                               Red Oak              TX     75154
 Robert James Martin                                            2123 West El Campo Grande Aven                                                                  North Las Vegas      NV     89031
 Robert James Sullivan                                          4916 Olaughlin Ct Southwest                                                                     Mableton             GA     30126
 Robert Joseph Goode III                                        1553 Little Rock Blvd                                                                           Charleston           SC     29412
 Robert JR Rouse                                                3925 Wendover Dr                                                                                Fort Worth           TX     76133
 Robert Lewis Kennedy                                           405 Forest Knoll Dr                               Apt 5                                         Roseville            CA     95678
 Robert Lowell Kennedy                                          6010 Drexel Ln                                    Apt 11-08                                     Fort Myers           FL     33919
 Robert Luis Pena                                               6728 Marina Pointe Village Cou                                                                  Tampa                FL     33635
 Robert M Sullivan                                              1584 East 56th Place                                                                            Hobart               IN     46342
 Robert Manchurek                                               25 Selby St                                       Unit 3204                                     Toronto              ON     M4Y 0E6      Canada
 Robert Manuel-Euan                                             5330 B St                                                                                       Springfield          OR     97478
 Robert Marc Schwartz, P.A.                                     4700 NW Boca Raton Blvd Suite 104                                                               Boca Raton           FL     33431
 Robert McLean Jr                                               12866 SW 31St St                                                                                Miramar              FL     33027
 Robert Mercer                                                  35 Ridge Rd                                                                                     Concord              MA     01742
 Robert Michael Spencer II                                      934 19th Ave                                                                                    Honolulu             HI     96816
 Robert Murphy                                                  25 Meyer Rd                                                                                     Edison               NJ     08817
 Robert P Johnson                                               1600 N Park Dr                                                                                  Weston               FL     33326-3278
 Robert Paul Johnson                                            272 Brookspring Rd                                                                              Columbia             SC     29223
 Robert Richard Beilewicz Bobby B                               11 Suburban Ave                                                                                 Carnegle             PA     15106
 Robert Richards                                                6123 113th Terrace East                                                                         Parrish              FL     34219
 Robert Thomas Gocklin                                          401 Illinois Ave                                                                                St Cloud             FL     34769
 Robert W Gaither Robert W Gaither Concrete                     286 W Palomino Dr                                                                               Chandler             AZ     85225
 Robert Wesley Futrel                                           3604 Chicosa Trail                                                                              Garland              TX     75043
 Roberto Carlos Ceniceros                                       10546 Oxnard St                                                                                 Los Angeles          CA     91606



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 Roberto Enriquez                                               16194 North Desert Sage St                                                                      Surprise             AZ       85378
 Roberto Lamboy                                                 157 Tracy Cir                                                                                   Haines City          FL       33844
 Roberto Orlando Robles                                         1404 E 8th St                                                                                   Ontario              CA       91764
 Roberto Perez                                                  10218 Lev Ave                                                                                   Arleta               CA       91331
 Robin Beckner                                                  804 West Knox St                                                                                Ennis                TX       75119
 Robins Leonardo Bracho Cipriani                                12421 SW 50th Ct # 327                                                                          Miramar              FL       33027
 Rocco J. Testani, Inc                                          29 Phelps St                                                                                    Binghamton           NY       13901
 Rocco J. Testani, Inc                                          PO Box 746                                                                                      Binghamton           NY       13902
 Rocio Baeza                                                    428 Plaza Real 232                                                                              Boca Raton           FL       33432
 Rocio Baeza                                                    499 Mizner Blvd                                   House 22                                      Boca Raton           FL       33432
 Rock Hard Managemeent                                          42 Cambell St                                                                                   Abbotsford                    NSW 2046     Australia
 Rock Hoffman                                                   20 Lenox Ave #4Q                                                                                New York             NY       10026
 Rocky Mountain Bottled Water LLC.                              7502 South Grant St                                                                             Littleton            CO       80122
 Rocky Mountain Climate, Inc. Rocky Mountain                    4815 List Dr # 118                                                                              Colorado Springs     CO       80919
 Rocky Olah                                                     9660 Channelside Way                                                                            Fort Myers           FL       33919
 Rodlando Ramon                                                 4928 Windward Way                                                                               Fort Lauderdale      FL       33312
 Rodney James Brown                                             5550 Twin Oak Dr                                                                                Douglasville         GA       30135
 Rodney L Roberts                                               2597 Carol Cir                                                                                  Douglasville         GA       30135
 Rodney Palmer                                                  3241 NW 208 Terrace                                                                             Miami Gardens        FL       33055
 Rodney Rooplal                                                 1337 Brandy Lake View Cir                                                                       Winter Garden        FL       34787
 Rodney Verl McComb                                             1083 South 224th Ln                                                                             Buckeye              AZ       85326
 Rodolfo Gaytan Donosa                                          40075 West Robbins Dr                                                                           Maricopa             AZ       85138
 Rodrick Leland Brooks                                          2011 NW 43rd Terrace 126                                                                        Lauderhill           FL       33313
 Rodrigo Alonso Rodriguez Gonzalez                              511 Southeast 5th Ave                             Apt 2415                                      Fort Lauderdale      FL       33301
 Rogelio A Alvarenga Canales                                    1007 Skyway Dr                                                                                  Kannapolis           NC       28083
 Roger Jean-Louis                                               6325 Seminole Terrace                                                                           Margate              FL       33063
 Roger Zaldivar                                                 510 NW 7th Ave                                                                                  Cape Coral           FL       33993
 Rogers Coliseum 52 Street, LLC                                 155 East 55 St 5th Floor                                                                        New York             NY       10022
 Rogo Distributors                                              65 Roberts St                                                                                   East Hartford        CT       06108
 Rolando Angel Bolanos                                          25026 SW 107th Ct                                                                               Princeton            FL       33032-6341
 Roldan H. Alcobendas                                           830 NW Norwood St                                                                               Camas                WA       98607
 Roldolfo Alejandro Lopez                                       11603 NW 89th St 221                                                                            Doral                FL       33178
 Roman Charles Ripo                                             390 Deer Run Dr                                                                                 Sarasota             FL       34240
 Roman Joshua Cobarrubio                                        413 Maple St                                                                                    Farmersville         TX       75442
 Romanoff Heating & Cooling Charlotte LLC                       5639 Brookshire Blvd                                                                            Charlotte            NC       28216
 Romeli Inc Melissa Rios Cardenas                               1521 S Gramercy Pl 105                                                                          Los Angeles          CA       90019-4615
 Romer Beverage Co. (YUMA)                                      598 E 20th St                                                                                   Yuma                 AZ       85365
 Romer Beverage Company                                         2908 E Andy DeviNE Ave                                                                          Kingman              AZ       86401-4205
 Romer Beverage Company                                         5040 Whelan Dr                                                                                  Lake Havasu          AZ       86404
 Romer Beverage Company                                         598 E 20th St                                                                                   Yuma                 AZ       85365
 Romero Pineda & Asociados                                      PO Box 025-364                                                                                  Miami                FL       33102-5364
 Romina Guadalupe Lopez                                         3234 Northwest 27th Terrace                                                                     Boca Raton           FL       33434
 Ronal Alexis Jr.                                               8 Bahia Ct Trce                                                                                 Ocala                FL       34472
 Ronald B Cordle                                                7901 Baymeadows Cir East                          Apt 345                                       Jacksonville         FL       32256
 Ronald Franklin Browning                                       18804 West Rancho Dr                                                                            Litchfield Park      AZ       85340
 Ronald J Dewees                                                316 John Hancock Blvd                                                                           Lincoln University   PA       19352
 Ronald James Wilson                                            958 Mariposa Dr                                                                                 Palm Bay             FL       32905
 Ronald Jason Klug                                              9651 East Timpani Ln                                                                            Mesa                 AZ       85212
 Ronald Keith Burgess                                           1101 Wedgewood Plaza Dr                                                                         Riviera Beach        FL       33404
 Ronald L. Nicastro Jr.                                         5022 Willing Ct                                                                                 Fort Mill            SC       29707
 Ronald Milton Johnson                                          134 Juniper Ct                                                                                  Raeford              NC       28376
 Ronan Szwarc                                                   404 E 88th St                                                                                   New York             NY       10128-6613
 Ronen Andres Szwarec                                           404 East 88 St                                    Apt 5G                                        New York             NY       10128
 Ronie J Avendano                                               1965 NE 135th St 204                                                                            North Miami          FL       33181
 Ronn M Williams Jr.                                            PO Box 35                                                                                       Mckinney             TX       75070
 Rony R Gomez Jr                                                11850 Southwest 2nd St                                                                          Miami                FL       33184
 Roof Technologies Partners, LLC.                               323 Bell Park Dr                                                                                Woodstock            GA       30188
 Rooter Hero Phoenix, Inc                                       PO Box 8658                                                                                     Mission Hills        CA       91346-8658
 Rosa I Avitia Bustamante                                       1883 Via Corona Ct                                                                              Las Vegas            NV       89115
 Rosa M Cintron                                                 9529 NW 2nd Place                                                                               Coral Springs        FL       33071
 Rosa Ruiz Shelby                                               900 E Vermont Ave 15203                                                                         Mcallen              TX       78503
 Rosalio Montez                                                 419 Sandy Shores Dr                                                                             Glenn Heights        TX       75154
 Rosangela Espinoza Lopez                                       Av Manuel Olguin Nro 745 Apt A2808                                                              Santioago                     15023        Peru
 Rosangela Sanchez                                              11351 SW 144th Ave                                                                              Miami                FL       33186-6645
 Rosangely Morales                                              3102 Quails Bluff Cir                                                                           Lake Wales           FL       33853
 Rosanna Arkle                                                  9 Drovers Ave                                                                                   Gilston                       QLD 4211     Australia
 Rosanna Cecconi                                                1360 W University Ave #351                                                                      Gainesville          FL       32603
 Rose Marie Roderick                                            515 W Moreland Blvd                                                                             Waukesha             WI       53188-2428
 Roselin Llanes                                                 13847 Jackson St                                                                                Miami                FL       33176-6218
 Rosemarie Spong                                                11811 North Rio Vista Dr                                                                        Sun City             AZ       85351
 Rosemount Inc.                                                 8200 Market Blvd                                                                                Chanhassen           MN       55317-9685
 Rosenberg Consulting Services Inc                              454 Park Ct                                                                                     Hartland             WI       53029-3000
 RosettiStarr LLC                                               7920 Norfolk Ave Suite 800                                                                      Bethesda             MD       20814
 Rosnery Torano                                                 4340 NW 183St                                                                                   Miami Gardens        FL       33055
 Ross Eugene Brown III                                          4849 Cypress Woods Dr                             Apt 1304                                      Orlando              FL       32811



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 Rotary Club of Weston                                         304 Indian Trace #130                                                                            Weston                        FL       33326
 Rothschild & Co US                                            1251 Ave Of the Americas                                                                         New York                      NY       10020
 Roto-Rooter Services Company                                  5672 Collection Center Dr                                                                        Chicago                       IL       60693-0056
 Rotten Robbie                                                 955 Martin Ave                                                                                   Santa Clara                   CA       95050
 Roxana Julian                                                 23017 SW 109th Ave                                                                               Miami                         FL       33170
 Roy A Bryn                                                    3420 Goldenhills St                                                                              Deltona                       FL       32738
 Roy Michael Roberts                                           4323 East Gatewood Rd                                                                            Phoenix                       AZ       85050
 Royriguez Patterson                                           1920 NW 82nd St                                                                                  Clive                         IA       50325
 RPP Containers                                                10111 Evendale Commons Dr                                                                        Cincinnati                    OH       45241
 RR Donnelley RR Donnelly & sons Co.                           PO Box 538602                                                                                    Atlanta                       GA       30353-8602
 RR of South Florida LLC                                       8850 SW 116th St                                                                                 Miami                         FL       33176-4338
 RTCO Packaging                                                80 Coleman Blvd                                                                                  Pooler                        GA       31322-9539
 Ruan Griessel                                                 640 Jan Bantjues                                  47 Zambali Villas                              Pretoria                               0182         South Africa
 Ruan Transport Corporation                                    PO Box 977                                                                                       Des Moines                    IA       50304
 Ruben A Villalobos                                            707 West Saint Kateri Ave                                                                        Phoenix                       AZ       85041
 Ruben Arturo Villalobos Jr                                    9338 Autumn Storm                                                                                San Antonio                   TX       78249
 Ruben Dario Hoyos                                             2708 Upsandown St                                                                                Orlando                       FL       32837
 Ruben Franco                                                  7622 W College Dr                                                                                Phoenix                       AZ       85033
 Ruben Franco JR                                               7622 West College Dr                                                                             Phoenix                       AZ       85033
 Ruben Hernandez                                               20173 West Tonto St                                                                              Buckeye                       AZ       85326
 Ruben Salazar                                                 818 S Flower St                                                                                  Inglewood                     CA       90301
 Ruben Santana                                                 1016 North 191St Ave                                                                             Buckeye                       AZ       85326
 Ruby Dorival                                                  3098 N Dixie Hway                                                                                Boca Raton                    FL       33431
 Ruby Lightfoot                                                2484 Jefferson St                                                                                Arlington Heights             CA       92504
 Ruby Lynn Lightfoot                                           2484 Jefferson St                                                                                Riverside                     CA       92504-4719
 Rudy E Larez                                                  3133 North 81St Dr                                                                               Phoenix                       AZ       85033
 Rudy Leyva Jr                                                 1609 S 5th St                                                                                    Phoenix                       AZ       85004
 Ruichao Sports Co., Ltd Dingzhou Ruichuang                    9 Garden Rd                                                                                      Xiguannan St Dingzhou Hubei            73000        China
 Rumba Miami inc                                               8577 NW 54th St                                                                                  Doral                         FL       33166-3322
 RumbaMiami, Inc                                               8826 W Flagler St                                                                                Miami                         FL       33174-2490
 Runner's Depot                                                2233 S University Dr                                                                             Davie                         FL       33324
 Rush Holland Butler                                           3662 Barham Blvd M321                                                                            Los Angeles                   CA       90068
 Russel Kaffenberger                                           30454 Silver Hawk Dr                                                                             Menifee                       CA       92584
 Russell Marketing Research, Inc.                              One Meadowlands Plaza Suite 1001                                                                 East Rutherford               NJ       07073
 Rustam M Saitov                                               410 Southeast 16th Ct                             Apt 311                                        Fort Lauderdale               FL       33316
 Rusti Hendley                                                 209 Purdue                                                                                       Forney                        TX       75126
 RV Advisor Consumer                                           8 the Grn Suite A                                                                                Dover                         DE       19901-3618
 RWC Idealease LLC                                             2202 S Central Ave                                Suite 2                                        Phoenix                       AZ       85004
 Ryan Abaloz                                                   2935 LakehouSE Cove Isle                          Unit 206                                       Plant City                    FL       33566
 Ryan Bahmiller                                                718 Forest Park Blvd Apartment 118                                                               Oxnard                        CA       93036
 Ryan Briones                                                  11431 Magnolia Ave #103                                                                          Riverside                     CA       92505
 Ryan C Handyside                                              3767 Bishop Landing Way                                                                          Orlando                       FL       32824
 Ryan C Wellbrock                                              1600 N Park Dr                                                                                   Weston                        FL       33326-3278
 Ryan Cameron Garczynski                                       30 Beauregard Dr                                                                                 Spencer                       NC       28159
 Ryan Coulter Wellbrock                                        5902 Lomond Dr                                                                                   San Diego                     CA       92120
 Ryan Donovan-Williams                                         4690 Portofino Way #307                                                                          West Palm Beach               FL       33409
 Ryan Elsharhawy                                               330 Fern Pl                                                                                      Diamond Bar                   CA       91765-1840
 Ryan H O'Neill                                                3211 Arden Villas Blvd                            Apt 10                                         Orlando                       FL       32817
 Ryan Hawkins Cobb                                             1361 Sky Ridge Ct                                                                                San Marcos                    CA       92078
 Ryan Herco Flow Solutions                                     3010 N San Fernando Blvd                                                                         Burbank                       CA       91504
 Ryan J Thornlow                                               1600 N Park Dr                                                                                   Weston                        FL       33326-3278
 Ryan Jackson                                                  8805 Greentree Dr                                                                                Rowlett                       TX       75088
 Ryan Joseph Cavallo                                           3413 North 126th Ln                                                                              Avondale                      AZ       85392
 Ryan Joseph Thornlow                                          5575 Barney Dr                                                                                   Dublin                        OH       43016
 Ryan Kaoud                                                    516 Cool Creek Dr                                                                                Rock Hill                     SC       29732
 Ryan Kellams                                                  9647 Timber Hawk Cir                              Unit 2621                                      Highlands Ranch               CO       80126
 Ryan Kelleher                                                 2025 E Campbell Ave                               Apt 261                                        Phoenix                       AZ       85016
 Ryan Lutz                                                     234 Mcgee Rd                                                                                     Lincolnton                    NC       28092
 Ryan Marshall Broadbent                                       9745 East Empress Ave                                                                            Mesa                          AZ       85208
 Ryan Michael Gassman                                          2975 Bay St                                                                                      Saint Augustine               FL       32084
 Ryan Morgan                                                   8794 Old Springtown Rd                                                                           Springtown                    TX       76082
 Ryan Owoc                                                     11807 SW 47 Ct                                                                                   Cooper City                   FL       33330
 Ryan Riehl                                                    17145 Carlson Dr                                  Apt 134                                        Parker                        CO       80134
 Ryan S. Rutherford                                            1837 N 209th Ave                                                                                 Buckeye                       AZ       85396
 Ryan Seidler                                                  6157 Clybourn Ave                                                                                North Hollywood               CA       91606
 Ryan Transportation Services, Inc.                            9350 Metcalf Ave                                                                                 Overland Park                 KS       66212
 Ryan Vargas                                                   3515 Coventry Commons Ave 105                                                                    Concord                       NC       28027
 Ryan W. Kearns                                                3477 English Oaks Dr Nw                                                                          Kennesaw                      GA       30144
 Ryan William Martin                                           107 Oak Hill Ct                                                                                  Canton                        GA       30115
 Ryann Keely Guy Ryann Guy                                     2175 Schillinger Rd South 318                                                                    Mobile                        AL       36695
 Ryder System Inc.                                             11690 NW 105th St                                                                                Medley                        FL       33178
 Ryder Truck Rental Inc.                                       PO Box 96723                                                                                     Chicago                       IL       60693-6723
 Rylan Thomas Lashua                                           13021 Firth Ct                                    Apt A-25-B                                     Tampa                         FL       33612
 Ryleigh Makay Murphy                                          6504 Park Place Dr                                                                               Richland Hills                TX       76118
 S & S Painting and Waterproofing, LLC                         2801 N PowerliNE Rd                                                                              Pompano Beach                 FL       33069



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                         Name                       Attention                                 Address 1                                Address 2             Address 3                 City    State        Zip          Country
 S & T Group LLC Metal Supermarkets Phoenix                          4625 W Mcdowell Rd Suite 140                                                                        Phoenix              AZ       85035-4155
 S and G Management LLC                                              5131 W Alexis Rd                                                                                    Sylvania             OH       43560
 S Bryan Jennings Brower                                             288 Elm Ave                                                                                         Rahway               NJ       07065
 S&S Distributing, Inc.                                              2000 Riley Rd                                                                                       Sparta               WI       54656-1460
 S&S Petroleum, Inc                                                  12003 Mukilteo Speedway Suite 101                                                                   Mukilteo             WA       98275
 S.R. Perrott, Inc.                                                  PO Box 836                                                                                          Ormond Beach         FL       32175-0836
 S.U.T.G, Enterprise, LLC                                            9668 Milliken Ave Suite 104-344                                                                     Rancho Cucamonga     CA       91730
 Sabetho S.A.S. Sara Uribe Cadavid                                   Carrera 15 Calle 7A-49                            Interior 1706 Cola del Zorro                      Bogota                                     Colombia
 Sable Jeanette Locklear                                             9310 Bonita Ln 1708                                                                                 Charlotte            NC       28262
 Sabrina Argaez                                                      1690 Lincoln Meadows Cir                          Apt 716                                           Schaumburg           IL       60173
 Sabrina Chirino                                                     6128 Strawberry Lakes Cir                                                                           Lake Worth           FL       33461
 Sabrina Gomes Machado                                               1016 Thoroughgood Way                                                                               Chesapeake           VA       23324
 Sabrina Jeudi                                                       2548 Gulfstream Ln                                                                                  Ft Lauderdale        FL       33312
 Sabrina Machado                                                     1016 Thoroughgood Way 201                                                                           Chesapeake           VA       23324-2580
 Sabrina Phoebe Mella                                                17128 West Cunningham Ct                                                                            Libertyville         IL       60048
 Sabrina Ramos                                                       8045 SW 107th Ave 218                                                                               Miami                FL       33173
 Sabrina Semxant                                                     10331 Sunset Strip                                                                                  Sunrise              FL       33322-2623
 Sabrina Victoria Diamond-Ortiz                                      15855 Southwest 143rd Path                                                                          Miami                FL       33177
 Saccani Distributing Company                                        PO Box 1764                                                                                         Sacramento           CA       95812-1764
 Sacramento County                                                   700 H St Room 1710                                                                                  Sacramento           CA       95814
 Safelite Fulfillment, Inc dba Safelite AutoGlass                    PO Box 633197                                                                                       Cincinnati           OH       45263-3197
 Safety Help Today                                                   4010 N 27th Ave Bldg A                                                                              Phoenix              AZ       85017
 Safety Shoe Distributores LLP                                       9330 Lawndale                                                                                       Houston              TX       77012
 Safety Systems Barricades                                           6138 NW 74th Ave                                                                                    Miami                FL       33166
 Safety-Kleen Systems, INC                                           PO Box 382066                                                                                       Pittsburgh           PA       15250-8066
 Saif Al-Shawaf                                                      5414 Turney Dr                                                                                      Mississauga          ON       L5M 4Y8      Canada
 Saige M Wellington                                                  27444 Camden 22L                                                                                    Mission Viejo        CA       92692
 Salesforce.com, Inc.                                                415 Mission St                                                                                      San Francisco        CA       94105-2533
 Salice Rose Social Media LLC Lindsay Salice                         6136 West Ave K-2                                                                                   Lancaster            CA       93536
 Salt River Extraction LLC SRE Transportation                        C - 160 3230 E BRdway Rd                                                                            Phoenix              AZ       85040
 Salvador Solis                                                      5231 SW 122nd Terrace                                                                               Cooper City          FL       33330
 Salvador Vela                                                       1600 N Park Dr                                                                                      Weston               FL       33326-3278
 Salvador Vela III                                                   902 Gembler Rd                                    Apt 1207                                          San Antonio          TX       78219
 Salvatore C Cuccia                                                  207 Marlowe Cir                                                                                     Morgantown           WV       26505
 Sam Asghari                                                         10530 Wilshire Blvd 612                                                                             Los Angeles          CA       90024
 Sam Russell Houx                                                    23722 Decorah Rd                                                                                    Diamond Bar          CA       91765
 Samahi Spruill                                                      333 Belmont Ave                                   Apt 302                                           Los Angeles          CA       90026
 Samantha A Sahn                                                     7717 Northwest 87th Ave                                                                             Tamarac              FL       33321
 Samantha Ashley Meder                                               3325 Bayshore Blvd                                Apt F23                                           Tampa                FL       33629
 Samantha Boyd                                                       920 N 70 th Way                                                                                     Hollywood            FL       33024
 Samantha Castle                                                     14207 Cyber Place                                                                                   Tampa                FL       33613
 Samantha Caudle                                                     240 E Palm Ave 329                                                                                  Burbank              CA       91502
 Samantha Dahn                                                       12405 Weddinton St 19                                                                               Valley Village       CA       91607
 Samantha Donette Villegas                                           108 Reserve Cir                                   Apt 108                                           Oviedo               FL       32765
 Samantha E Deutch                                                   1600 N Park Dr                                                                                      Weston               FL       33326-3278
 Samantha Ellen Deutch                                               856 Coach HouSE Rd                                                                                  Henderson            NV       89002
 Samantha Frawley                                                    65 Trescott Rd                                                                                      Etna                 NH        3750
 Samantha Garcia                                                     1517 Oak Harbor                                                                                     Corpus Christi       TX       78418
 Samantha Grace Toscano                                              151 India St 2L                                                                                     Brooklyn             NY       11222
 Samantha Knezel                                                     305 Dr Mlk Jr St S                                                                                  St Petersburg        FL       33705
 Samantha Lopez                                                      1625 East Silverbirch Ave                                                                           Buckeye              AZ       85326
 Samantha Lorah                                                      35767 Via Las Ramblas                                                                               Temecula             CA       92592
 Samantha Lugo                                                       12315 204 Terrace                                                                                   Miami                FL       33177
 Samantha Lynn Macauley                                              5101 Southwest 60th St Rd                         Apt 1405                                          Ocala                FL       34474
 Samantha Mills                                                      808 S Washington                                  Apt B                                             Mount Pleasant       MI       48858
 Samantha Napieralski                                                706 Paulina Rd                                                                                      Jupiter              FL       33477
 Samantha Pannullo                                                   4500 Winners Cir #2113                                                                              Sarasota             FL       34238
 Samantha Pinkoff Samm Pinkoff                                       3265 Trafalger Cir                                                                                  Boca Raton           FL       33434
 Samantha Ra Mills                                                   808 S Washington St B                                                                               Mt Pleasant          MI       48858-3414
 Samantha Rada                                                       13607 Bolingbrook Ln                                                                                Charlotte            NC       28273
 Samantha Ryan Goure                                                 939 Greenway Ln                                                                                     Castle Pines         CO       80108-8252
 Samantha Scott                                                      10724 Royal Caribbean Cir                                                                           Boynton Beach        FL       33437
 Samantha Steadman                                                   6683 W Ida Place 938                                                                                Littleton            CO       80123
 Samantha Trottier                                                   16087 E Pimlico Dr                                                                                  Loxahatchee          FL       33470
 Samantha Trottier Mate Society, LLC                                 3811 NE 22nd Way                                                                                    Lighthouse Point     FL       33064-7434
 Samantha Wilson                                                     116 Howard Rd                                                                                       West Chester         PA       19380
 Samantha Wolf                                                       6699 Ross Ln                                                                                        Mason                OH       45040
 Sammi Corinne Lockhart Sammi                                        3312 Mack Place C                                                                                   Honolulu             HI       96818
 Sammy Elsharhawy                                                    330 Fern Pl                                                                                         Diamond Bar          CA       91765-1840
 Samora Capital                                                      1441 Huntington Dr Pmb 2000                                                                         S Pasadena           CA       91030-4512
 Samson Appellate Law Daniel M. Samson, P.A.                         201 S BiscayNE Blvd Suite 2700                                                                      Miami                FL       33131-4330
 Samuel Abraham Millner                                              12140 Darwin Dr                                   Unit 13                                           Orlando              FL       32826
 Samuel Gali                                                         3214 Zander Dr                                    Apt 103                                           Kissimmee            FL       34747
 Samuel Griffith Reichley                                            3008 West Las Palmaritas Dr                                                                         Phoenix              AZ       85051
 Samuel Jimenez                                                      6244 1/2 Wilcox Ave                                                                                 Bell                 CA       90201



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                       Name                    Attention                                   Address 1                               Address 2                 Address 3                City    State        Zip              Country
 Samuel Macias Jr                                               1964 Warren St                                                                                           San Fernando        CA       91340
 Samuel Michael Staples                                         950 W Beach Ave                                                                                          Inglewood           CA       90302
 Samuel Miletello                                               6525 El Rancho Rd                                                                                        Shreveport          LA       71129
 Samuel Munoz                                                   1541 Gilstrap Ln Nw                                                                                      Atlanta             GA       30318
 Samuel P Specht                                                4530 West Marcus Dr                                                                                      Phoenix             AZ       85083
 Samuel Pepper                                                  6230 Wilshire Blvd Suite 1189                                                                            Los Angeles         CA       90048
 Samuel Robert Parrish                                          9324 Stanmoor Ln                                                                                         Jacksonville        FL       32244
 Samuel Rodriguez                                               4511 SW 33rd Dr                                                                                          West Park           FL       33023
 Samuel Shaw                                                    1010 Chisholm Estate Dr                                                                                  Saint Cloud         FL       34771
 Samuel Son                                                     1709 FieldstoNE Dr South                                                                                 Shorewood           IL       60404
 Samuel Staples                                                 950 W Beach Ave                                     Apt 2                                                Los Angeles         CA       90302
 Samuel Vicchiollo                                              N1348 Woodland Dr                                                                                        Greenville          WI       54942
 Samuel Wilson                                                  1500 Park Newport                                                                                        Newport Beach       CA       92660
 San Diego County Deputy Sheriff Foundation                     13881 Danielson St                                                                                       Poway               CA       92064
 San Diego Fleet Week Foundation                                3639 Midway DrSuite B-429                                                                                San Diego           CA       92110
 San Diego Gas & Electric                                       PO Box 25111                                                                                             Santa Ana           CA       92799-5111
 San Michele Conversion C/O Element National                    1515 S Federal Highway Suite 302                                                                         Boca Raton          FL       33432
 Sanchez Fischer Levine, LLP                                    1200 Brickell Ave Suite 750                                                                              Miami               FL       33131-3255
 Sandi Demski Sandi                                             13064 Aannandale Dr S                                                                                    Jacksonville        FL       32225
 Sandra Chojnoski                                               1100 Crestwood Court South                          Apt 1108                                             Royal Palm Beach    FL       33411
 Sandra Gabrielle Moro                                          5224 Taft St                                                                                             Hollywood           FL       33021
 Sandra Galaviz Vargas                                          9920 West Camelback Rd #1046                                                                             Phoenix             AZ       85037
 Sandra Herrero Cagigas                                         Antonio del Castillo 20 - 404                       San Rafael                  Cuauhtemoc               Mexico City                  06470        Mexico
 Sandra Teresa Rivera                                           1201 South Ocean Dr                                 Apt 206N                                             Hollywood           FL       33019
 Sandy Salazar                                                  1100 Brickell Bay Dr                                Apt 63D                                              Miami               FL       33131
 SanHerb Biotech, Inc.                                          PO Box 6111                                                                                              Hillsborough        NJ       08844
 SaniCrete                                                      11023 Hi Tech Dr                                                                                         Whitmore Lake       MI       48189
 Santa Clarita Courthouse                                       PO Box 60516                                                                                             Los Angeles         CA       90060-0516
 Santa Hustle Race Series, LLC                                  345 N Eric Dr                                                                                            Palatine            IL       60067
 Santiago Nolasco Q2Media                                       5541 Cabot Cove Dr                                                                                       Hillard             OH       43026
 Santos Reyes                                                   2172 South Trenton Way                              Apt 7-207                                            Denver              CO       80231
 Sanzo Beverage Co., Inc.                                       3165 Ny-16                                                                                               Olean               NY       14760
 Sanzo Beverage Co., Inc.                                       PO Box 396 Olean                                                                                         Olean               NY       14760-0396
 Sara C Hernandez Araizaga                                      90 SW 3rd St 2113                                                                                        Miami               FL       33130
 Sara Damnjanovic                                               Sariceva 5                                                                                               Belgrade                     11253        Serbia
 Sara Eddinger                                                  10755 NW 18th Ct                                                                                         Coral Springs       FL       33071
 Sara Kathleen Sheehan                                          18400 Prairie St 236                                                                                     Northridge          CA       91325
 Sara Lynn De Vecchis                                           24 Bellemeade Ave Suite B                                                                                Smithtown           NY       11787
 Sara Sheperd                                                   39273 Highway 101                                                                                        Port Orford         OR       97465-9547
 Sarah Abelar                                                   13361 Dronfield Ave                                                                                      Sylmar              CA       91342
 Sarah Allevato Talabi                                          139 Pantheon                                                                                             Irvine              CA       92620-2824
 Sarah Blackman Sarah                                           145 N Frontage Rd W C514                                                                                 Vail                CO       81657
 Sarah Del Rio                                                  3176 Starry Night Loop                                                                                   Castle Rock         CO       80109
 Sarah Elizabeth Adams                                          4547 Jeremiah Ct                                                                                         Riverside           CA       92503
 Sarah Elizabeth Scoles                                         1600 N Park Dr                                                                                           Weston              FL       33326-3278
 Sarah Franco                                                   4480 Appleton Cir W                                                                                      Oakland Park        FL       33309-1006
 Sarah Harris                                                   38 Boocock Crescent                                 Orewa                                                Auckland                     0931         New Zealand
 Sarah Houx                                                     2 North Slope Ln                                                                                         Pomona              CA       91766
 Sarah Maria Kacena                                             10025 Boca Vue Dr                                   Apt 208                                              Boca Raton          FL       33428
 Sarah Nguyen                                                   2302 Barberry Dr                                                                                         Dallas              TX       75211
 Sarah Tran                                                     2909 Tres Logos Ln                                                                                       Dallas              TX       75228
 Sarita Bolivar Lopez                                           Cra 39 E CS-103 48                                                                                       Medellin                     103          Colombia
 Sarojnie Dabydeen Sara                                         10103 Ctney Palms Blvd 302                                                                               Tampa               FL       33619
 Sartorius Corporation                                          24918 Network Pl                                                                                         Chicago             IL       60673-1249
 Sasa Rakic Sash                                                117 Burley St                                                                                            Danvers             MA       01923
 Sasha Ferro                                                    5701 Collins Ave                                    Unit 809                                             Miami               FL       33140
 Sasha Nafisi Sasha Bree                                        2219 Century Place                                                                                       Simi Valley         CT       93063
 Sashalo Inc Gonzalo Goette                                     5701 Collins Ave 809                                                                                     Miami Beach         FL       33140
 Sashalo Inc Sasha A. Ferro                                     5701 Collins Ave #809                                                                                    Miami Beach         FL       33140
 Saudia Fernandez                                               30 Patriot Parkway 107                                                                                   Weymouth            MA       02190
 Saul Acosta Espinoza                                           10850 West Roanoke Ave                                                                                   Avondale            AZ       85392
 Saul Falcon                                                    4301 East San Gabriel Ave                                                                                Phoenix             AZ       85044
 Savage Bros. Co.                                               1825 Greenleaf Ave                                                                                       Elk Grove Village   IL       60007
 Savage Isle, LLC                                               PO Box 191126                                                                                            Dallas              TX       75219
 Savanna Rehm                                                   3323 Cowley Way #4                                                                                       San Diego           CA       92117
 Savanna Scotson                                                103 Easy St                                                                                              Calhoun             LA       71225
 SAVANNAH ALLRED                                                8863 QuarterhorSE Ln                                                                                     Las Vegas           NV       89148
 Savannah Clayton                                               2001 Beach Dr Se                                                                                         St Petersburg       FL       33705
 Savannah Demers                                                11036 Moorpark St                                                                                        North Hollywood     CA       91602
 Savannah Dorise Stein                                          6226 Cappadocia St                                                                                       Las Vegas           NV       89148
 Savannah Hale                                                  1541 Strathmore Ln                                                                                       Mount Pleasant      SC       29464
 Savannah Mae Crump                                             4727 Saint Simon Dr                                                                                      Coconut Creek       FL       33073
 Savannah Powell Savvy                                          204 Fife St                                                                                              Brady               TX       76825
 Savannah Rae Demers                                            5543 Austin Rd                                                                                           Lk Cormorant        MS       38641-8500
 Savannah Smith                                                 3163 Integra Lakes Ln                                                                                    Casselberry         FL       32707



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                        Name                                   Attention                                            Address 1                                   Address 2                Address 3                 City    State       Zip            Country
 SC Department of Revenue                                                                Estimated Tax                                                                                               Columbia             SC     29214-0030
 Scalemen of Florida, Inc.                                                               3600 Hacienda Blvd Suite A                                                                                  Davie                FL     33314-2822
 Scarlet Vasiljevic                                                                      1331 North Cahuenga Blvd                                Apt 4302                                            Los Angeles          CA     90028
 Scarlett Hernandez                                                                      9481 Stoneybrock Pl                                                                                         Rancho Cucamonga     CA     91730
 Scheibe v. VPX (2022)                       Jacob Scheibec/o Charles C Weller (Counsel) 11412 Corley Ct                                                                                             San Diego            CA     92126
 Schilling Distributing Company, Inc.                                                    2901 Moss St                                                                                                Lafayette            LA     70501-1241
 Schmidt & Copeland LLC                                                                  1201 Main StSuite 1100                                                                                      Columbia             SC     29201
 Schneider National Carriers, Inc.                                                       3101 Packerland Dr                                                                                          Green Bay            WI     54313-6187
 Schon Kendal Thomas                                                                     3410 Dale St                                                                                                Fort Myers           FL     33916
 School Specialty, Inc.                                                                  32656 Collection Center Dr                                                                                  Chicago              IL     60693-0326
 Schott Distributing Company, Inc                                                        6735 Hwy 14 E                                                                                               Rochester            MN     55904
 Schwencke Spa                                                                           Av Vitacura 2939 of 2202                                                                                    Santiago                    7550011      Chile
 ScissorFilms LLC                                                                        5205 Agnes Ave                                                                                              Valley Village       CA     91607
 Scot R. Zoellner                                                                        19685 E Walnut Rd                                                                                           Queen Creek          AZ     85142
 Scotlynn USA Division                                                                   9597 Gulf Research Ln                                                                                       Fort Myers           FL     33912-4552
 Scott Christopher Karosas                                                               1600 Northwest 110th Ave                                Apt 167                                             Plantation           FL     33322
 Scott E Hemphill                                                                        1600 N Park Dr                                                                                              Weston               FL     33326-3278
 Scott Edward Hemphill                                                                   7103 Redwood Falls Dr                                                                                       Pasadena             TX     77505
 Scott Godwin                                                                            5910 South 67th St                                                                                          Cave Springs         AR     72718
 Scott Hubbard                                                                           10581 E Feltleaf Willow Trl                                                                                 Tucson               AZ     85747
 Scott Kacherian                                                                         24 Lebel Way                                                                                                Rowley               MA      1969
 Scott Laboratories, Inc.                                                                PO Box 888198                                                                                               Los Angeles          CA     90088-8198
 Scott M McEwen                                                                          422 Northwest 118th Ave                                                                                     Coral Springs        FL     33071
 Scott Wiseman                                                                           5400 Radcliffe Dr                                                                                           Waxhaw               NC     28173
 SCP-G Parker Drive, LLC                                                                 6101 Carnegie Blvd                                                                                          Charlotte            NC     28209
 Sea Coast Brokers, LLC                                                                  PO Box 403134                                                                                               Atlanta              GA     30384-3134
 Sean Brown                                                                              1108 Bromfeild Terrace                                                                                      Ballwin              MO     63021
 Sean C Eubanks                                                                          2207 Southwest 1St Ct                                                                                       Fort Lauderdale      FL     33312
 Sean Charles Delveaux                                                                   10139 Baronne Cir                                                                                           Dallas               TX     75218
 Sean Christopher Drake                                                                  3183 Gus Robinson Rd                                                                                        Powder Springs       GA     30127
 Sean Davis                                                                              158 Birdfield Ct                                                                                            St Augustine         FL     32092
 Sean L. Jones                                                                           4034 ParadiSE Rd                                                                                            Las Vegas            NV     89169
 Sean Michael Harrum                                                                     8520 W Palm Ln 1004                                                                                         Phoenix              AZ     85037
 Sean Mikal Green                                                                        4421 East Pershing Ave                                                                                      Phoenix              AZ     85032
 Sean Moritz                                                                             200 Carlisle Dr                                                                                             Miami Springs        FL     33166
 Sean Ramos                                                                              214 Great Yarmouth Ct                                                                                       Kissimmee            FL     34758
 Sean Tapiero                                                                            10622 NW 7th St                                                                                             Plantation           FL     33324-1013
 Seana Mendez-Parra                                                                      9932 SW 158th Ct                                                                                            Miami                FL     33196
 Seaview Beverage                                                                        195 Lehigh Ave                                                                                              Lakewood             NJ     08701-4555
 Sebastian Aguado                                                                        15859 SW 142nd Ter                                                                                          Miami                FL     33196-6725
 Sebastian B. Topete                                                                     8930 Huntington Dr                                                                                          San Gabriel          CA     91775
 Sebastian Buitrago                                                                      Calle 2B #81A 460 Paseo del Parque                      Apt 1015                                            Medellin                    050026       Colombia
 Sebastian Florez                                                                        350 Lakeview Dr 101                                                                                         Weston               FL     33326
 Sebastian Joly                                                                          15142 W 69th Place                                                                                          Arvada               CO     80007
 Sebastian Moy LLC                                                                       2715 SE 25th Ct                                                                                             Ocala                FL     34471
 Sebastian Portillo                                                                      9017 Emerson Ave                                                                                            Surfside             FL     33154
 Sebastian Ramirez SAR Productions LLC                                                   5044 Bakman Av Ph-E                                                                                         North Hollywood      CA     91601
 Secretary of the State of Connecticut                                                   PO Box 150470                                                                                               Hartford             CT     06115-0470
 SecurAmerica, LLC.                                                                      3399 Peachtree St SE Suite 1500                                                                             Atlanta              GA     30326
 Securitas Security Services USA, Inc                                                    4330 Park Terrace Dr                                                                                        Westlake Village     CA     91361-4630
 Securities & Exchange Commission                                                        100 F St NE                                                                                                 Washington           DC     20549
 Securities & Exchange Commission            Office of Reorganization                    950 E Paces Ferry Rd NE                                 Suite 900                                           Atlanta              GA     30326-1382
 Securities & Exchange Commission            Attn: Regional Director                     New York Regional Office Brookfield Place               200 Vesey St                Suite 400               New York             NY     10281-1022
 Sedrick Purnell                                                                         1015 Westway Denton Tx                                                                                      Denton               TX     76201
 SEI Wireless Solutions LLC                                                              5397 Orange Dr Suite 101                                                                                    Davie                FL     33314
 Seidor USA Corporation                                                                  18 Augusta Pines Dr Suite 240                                                                               Spring               TX     77389-3592
 Seidor USA Corporation                                                                  1800 Hughes Landing Suite 175                                                                               The Woodlands        TX     77380
 SEKO WORLDWIDE LLC                                                                      1100 N Arlington Heights Rd Suite 600                                                                       Itasca               IL     60143-3111
 Selena Elsie Rivers                                                                     5528 Chiles Ln                                                                                              Lakeland             FL     33810
 Selena Enriquez                                                                         216 Cedar Ave                                                                                               Chula Vista          CA     91910
 Selena Espinal                                                                          304 Davis Rd                                                                                                Palm Springs         FL     33461
 Selin T Mathai                                                                          11912 NW 12th St                                                                                            Pembroke Pines       FL     33026
 Selvam & Selvam                                                                         First Floor Old No: 9 Valliammal St Kilpauk                                                                 Chennai              Tamil N600010       India
 Seneca Beverage Corp.                                                                   2085 Lake Rd                                                                                                Elmira               NY     14903
 Seneca Beverage Corp.                                                                   PO Box 148                                                                                                  Elmira               NY     14902
 Senergy Petroleum, LLC.                                                                 622 S 56th Ave                                                                                              Phoenix              AZ     85043
 Sensory Analytics LLC. 18-975-7094                                                      405 Poman Dr                                                                                                Greensboro           NC     27407
 SensoryEffects Inc., a Balchem Company                                                  13723 Riverport Dr Suite 201                                                                                Maryland Heights     MO     63043-4819
 Septembrie Harrison                                                                     1600 La Jolla Dr                                        Apt 2249                                            Tempe                AZ     85282
 Serena A. Kirchner Inc.                                                                 2740 Charlestown Rd                                                                                         Lancaster            PA     17603-9702
 Serena Hodson                                                                           416 N Suiteven Peaks Blvd                               Unit 317                                            Provo                UT     84606
 Serena Linda Hodson                                                                     416 N Seven Peaks Blvd                                                                                      Provo                UT     84606-6684
 Serena Totten                                                                           1239 Bermuda Ln                                                                                             El Cajon             CA     92021
 Serge Golota                                                                            260 East Chestnut St                                                                                        Chicago              IL     60611
 Sergio Alejandro Arzate Rojo                                                            3514 West Chambers St                                                                                       Phoenix              AZ     85041



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                      Name                      Attention                                 Address 1                                Address 2          Address 3                 City      State        Zip             Country
 Sergio Miguel Campos                                            5517 Fairbanks                                                                                   El Paso                TX       79924
 Sergio Vasquez                                                  11359 West Hopi St                                                                               Avondale               AZ       85323
 Seriana Tyler                                                   1220 38th Ave                                                                                    Greeley                CO       80634
 Seriana Tyler                                                   1220 38TH AVE                                                                                    Greeley                CO       80634
 Servi - Tech                                                    975 W 850 S                                                                                      Woods Cross            UT       84087
 Servicios De Propiedad Industrial S A S                         7-51 Oficina 902 Calle 123                                                                       Bogota                                       Colombia
 Set Inventors                                                   6881 Bay Dr Suite 4                                                                              Miami Beach            FL       33141
 Set Inventors LLC                                               6881 Bay Dr 4                                                                                    Miami Beach            FL       33141
 Setareh Kaikavousi                                              3580 Gatewood Ln                                                                                 Aurora                 IL       60504
 Seth Ammon Strasburg                                            708 N 153rd Ave                                                                                  Goodyear               AZ       85338
 Seth Anthony Coburn                                             1817 Escalera Cir                                                                                Bullhead City          AZ       86442
 Seth Fogerlie                                                   520 S Burnside Ave                                 Apt 4F                                        Los Angeles            CA       90036
 Seth Fogerlie                                                   7762 West Libby St                                                                               Glendale               AZ       85308
 Seth Holbrook Seth Holbrook Fitness LLC                         7985 Scotts Manor Ct                                                                             Glen Burnie            MD       21061
 Seth Nicholas Deans                                             3228 Glen Laurel Dr                                                                              Concord                NC       28025
 Seyfarth Shaw LLP                                               233 S Wacker Dr Suite 8000                                                                       Chicago                IL       60606
 Shae Lamont Jenkins                                             707 East Eason Ave                                                                               Buckeye                AZ       85326
 Shaela Arianna Green                                            920 South Terrace Rd                               Apt 5055                                      Tempe                  AZ       85281
 Shaerenault Devlin                                              2511 SW 180th Ave                                                                                Miramar                FL       33029
 Shagun Kathuria                                                 8398 Governors Run                                                                               Ellicott City          MD       21043
 Shahin Madinjadsari                                             25 Farmhouse Crescent                                                                            Richmond Hill          ON       L4E0S7       Canada
 Shahin Madinjadsari                                             321 Bantry Ave                                                                                   Richmond Hill          ON       L4B 4M7      Canada
 Shahina Rashid                                                  11911 SW 49 Ct                                                                                   Cooper City            FL       33330
 Shahira Barry                                                   10390 Wilshire Blvd 914                                                                          Los Angeles            CA       90024
 Shai Peterson                                                   7500 State Highway 7                                                                             St Louis Park          MN       55426
 Shakeema Lowery                                                 10418 Shaenfield Rd 9209                                                                         San Antonio            TX       78254
 Shamika A Gayle                                                 971 Northwest 200th Terrace                                                                      Miami                  FL       33169
 Shammi Prasad                                                   17 San Simeon Dr                                                                                 Clear Island Waters             QLD 4266     Australia
 Shamonie J Latham                                               1813 West 67th Place                                                                             Denver                 CO       80221
 Shamyl Hernandez                                                353 Highland Ave                                                                                 Clifton                NJ       07011
 Shane Darrow                                                    5984 Kingslake Dr                                                                                Hilliard               OH       43026
 Shane Hinkle                                                    99 Mayfield Cir                                                                                  Ormond Beach           FL       32174
 Shane Jordan Brown                                              1108 Bromfield Terrace                                                                           Ballwin                MO       63021
 Shanghai Freeman Americas, LLC                                  2035 NJ-27                                         #3005                                         Edison                 NJ       08817
 Shanghai Handim Chemical Co. LTD                                Ln 99; Jinhu Rd Pudong                                                                           Shanghai                        201206       China
 Shanghai Sunwise Chemical Co., Ltd                              201101 PR                                                                                        Shanghai                                     China
 Shaniah Dipuccio                                                520 Burnside Ave 9M                                                                                                     CA       90036
 Shannan U Grunewald                                             2609 SW 119th Way                                                                                Miramar                FL       33025
 Shannon Cohen Shanny Cohen Fitness, LLC                         PO Box 4738                                                                                      Ketchum                ID       83340
 Shannon Comstock                                                1633 Earlmont Avd                                                                                La Canada Flintridge   CA       91011
 Shannon Duwane Swonke                                           18100 West Rd 1310                                                                               Houston                TX       77095
 Shannon Reizz                                                   4 Virginia Ave                                                                                   Cherry Hill            NJ       08002
 Shannon Spoltore                                                17915 41 St Rd North                                                                             Loxahatchee            FL       33470
 Shannon Troglia                                                 1670 W Gunstock Loop                                                                             Chandler               AZ       85286
 SHAOXING JONATHAN                                               No 17 Tanggong Rd                                  Paojiang New District                         Shaoxing                        312071       China
 Shaquira Mendez                                                 Torre LFT                                          Calle Luis F Thmen 156      11B               Santo Domingo                                Dominican Republic
 Sharice Lanette Butler                                          3913 South 103rd Dr                                                                              Tolleson               AZ       85353
 Sharon Amaro                                                    8480 W 91St Ave                                                                                  Westminster            CO       80021
 Sharukh Pithawalla                                              1631 Brycedale Ave                                                                               Duarte                 CA       91010-2806
 Shatoya N Moreland                                              707 West Alverdez Ave                                                                            Clewiston              FL       33440
 Shaun Capilitan                                                 122 Delaware St                                    Apt 1301                                      Kansas City            MO       64105
 Shaun Leftwich                                                  3320 Roundabout Dr                                                                               Middleburg             FL       32068
 Shaun Rezaei                                                    6562 Doral Dr                                                                                    Huntington Beach       CA       92648
 Shawafy Inc Saif Al-Shawaf                                      5414 Turney Dr                                                                                   Mississauga            ON       L5M 4Y8      Canada
 Shawn Allen Walker                                              PO Box 853                                                                                       Newberry               FL       32669
 Shawn Harrs                                                     10382 Doth St                                                                                    Orlando                FL       32836
 Shawn Matthew Smith                                             13867 Osprey Links Rd                              Apt 148                                       Orlando                FL       32837
 Shawn Olivarez                                                  4714 Redwood Dr                                                                                  Garland                TX       75043
 Shawn Patrick Storey                                            3244 Northwest 84th Ave                            Apt 410                                       Sunrise                FL       33351
 Shawn Wylie                                                     2611 Misty Cove Place                                                                            Kannapolis             NC       28083
 Shawna Miller                                                   10820 Cameron Ct #107                                                                            Davie                  FL       33324
 Shay Pritchard                                                  3039 Poplar Grove Ln                                                                             Germantown             TN       38139
 Shayn Patrick Lewis                                             5625 Pinebay Cir North Driv                                                                      Jacksonville           FL       32244
 Shayna Lanzetta                                                 3433 SE Sandpiper Cir                                                                            Port St Lucie          FL       34952
 Shearn Delamore & CO                                            7th Floor Wisma Hamzah Knong Hing No 1                                                           Kuala Lumpur                    50100        Malaysia
 SheerID, INC                                                    620 SW 5th Ave Suite 400                                                                         Portland               OR       97204
 Sheet, Inc. Sheetz Distribution Services LLC                    1737 Whites Kennel Rd                                                                            Burlington             NC       27215-8977
 Sheetz Distribution Services LLC                                242 Sheetz Way                                                                                   Claysburg              PA       16625
 Sheila Diaz                                                     780 E 39th St                                                                                    Hialeah                FL       33013-2855
 Sheila Durades                                                  1971 SW 18th Ave                                                                                 Miami                  FL       33145-2709
 Sheila Lopez                                                    901 N 73rd Ave                                                                                   Hollywood              FL       33024
 Sheila Velasco                                                  1055 S Mollison Ave                                Apt 19                                        El Cajon               CA       92020
 Sheka Kanu                                                      3457 NW 44th St #106                                                                             Lauderdale Lakes       FL       33309
 Shelbi Floyd                                                    11192 62nd Ln N                                                                                  West Palm Beach        FL       33412
 Shelbi Meek                                                     2710 Grand Ave                                     Unit 63                                       San Diego              CA       92109



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                         Name                     Attention                                   Address 1                                      Address 2                 Address 3                City       State        Zip             Country
 Shelburne Sherr Court Reporters, Inc                              501 W BRdway Suite 1330                                                                                         San Diego              CA       92101-8475
 Shelby Bates                                                      7110 Loomis Hills Rd                                                                                            Loomis                 CA       95650
 Shelby Leach                                                      3131 Rosewood Ct                                                                                                Davie                  FL       33328
 Shelby Robins                                                     625 BRdway 619                                                                                                  San Diego              CA       92101
 Sheldon Dennis                                                    107 N Harris St 107                                                                                             Breckenridge           CO       80424
 Sheldon Dennis First                                              20656 E Lake Place                                                                                              Aurora                 CO       80016
 Sheldon Parker Barnes                                             1107 E South Temple 12                                                                                          Salt Lake City         UT       84102
 Shelf-Clips AK Material Handling Systems                          8630 Monticello Ln North                                                                                        Maple Grove            MN       55369
 Shell Canada Products                                             PO Box 100 Station M                                                                                            Calgary                AB       T2P 2H5      Canada
 Shen Lin                                                          20589 Southwest 2nd St                                                                                          Pembroke Pines         FL       33029
 Shen Zhen Jason Yuen Gift Co., LTD                                Xinqiao the 3rd Industrial Zone Shajing Ave             Bao'an District                Guangdong                Shenzhen                                     China
 Shenijua Nicole Johnson                                           1805 Sundance Dr                                                                                                St Cloud               FL       34771
 Shenzhen Long Yi Packaging@Display Co                             4th Floor Xili St                                                                                               Shuguang Community                           China
 Sheree Easley                                                     13476 Bentwood St                                                                                               Oak Hills              CA       92344
 Shereen Frances Grant                                             7415 NW 33 St # 1101                                                                                            Hollywood              FL       33024
 Sheridan Real Estate Investment A LLC                             20311 Sheridan St                                                                                               Ft Lauderdale          FL       33332-2313
 Sherlock Talent, Inc.                                             1666 79th St Cswy Suite 604                                                                                     North Bay Village      FL       33141
 Sherwood Jack Atkinson                                            6504 Bridge Water Way #1001                                                                                     Panama City Beach      FL       32407
 SHI International Corporation                                     PO Box 952121                                                                                                   Dallas                 TX       75395-2121
 Shluv House LLC                                                   1246 El Vago St                                                                                                 La Canada Flintridge   CA       91011
 Shoebox Ltd                                                       80 Aberdeen St                                          Suite 301                                               Ottowa                 ON       K1S 5R5      Canada
 Shonda Wagner                                                     816 N Elm Place                                                                                                 Broken Arrow           OK       74013
 Shonda Wagner Shonda1020 LLC                                      816 N Elm Pl                                                                                                    Broken Arrow           OK       74012-2545
 ShopRite Supermarkets, Inc. Wakefern Food                         5000 Riverside Dr                                                                                               Keasbey                NJ       08832
 Shorr Packaging Corp.                                             4000 Ferry Rd                                                                                                   Aurora                 IL       60502-9540
 Short Line Express Market                                         7330 Eastgate Rd Suite 120                                                                                      Henderson              NV       89011
 Show me Shipping dba Unishippers                                  8106 Claude Gilbert Tri                                                                                         Denver                 CO       28037
 Shutterstock Inc.                                                 350 Fifth Ave 21St Floor                                                                                        New York               NY       10118
 Shutts & Bowen LLP                                                200 S IscayNE Blvd Suite 4100                                                                                   Miami                  FL       33131-2362
 Shweta Gahlot                                                     13712 Blueberry Hill Dr                                                                                         Little Elm             TX       75068
 Siblings Media LLC Romina Muratova                                12 Roosevelt Dr                                                                                                 Woodridge              NJ       07075
 Sichuan Tongsheng Biopharmaceuticals, Co.                         Wumiao Village                                          Tianyuan Develpment Zone       Deyang                   Sichuan                         618000       China
 Sidel Canada Inc                                                  1045 Highway Chomedey 13 E                                                                                      Laval                  QC       H7W 4V3      Canada
 Siemens Industry, Inc.                                            100 Technology Dr                                                                                               Alpharetta             GA       30005
 Sierra Carter Sierra Carter                                       410 Whelk Place                                                                                                 Indialantic            FL       32903
 Sierra Clayton                                                    1610 Suiterling Dr                                                                                              Lakeland               FL       33813
 Sierra Martinez                                                   1320 MontroSE Blvd                                      Apt 741                                                 Houston                TX       77019
 Sierra Rybiski                                                    4063 East Betsy Ct                                                                                              Gilbert                AZ       85296
 Sikander Khan                                                     1320 Southwest 116th Way                                                                                        Davie                  FL       33325
 Silas Aguiar Santos                                               888 Brickell Key Dr                                     Apt 2400                                                Miami                  FL       33131
 Silicon Review LLC                                                3240 East State St Ext                                                                                          Hamilton               NJ       08619
 Silliker Iberica, S.A.U. Merieux NutriSciences                    Clongitudinal 8 n 26                                                                                            Barcelona                       08040        Spain
 Silver Eagle Bev. LLC - San Antonio                               4609 West Us Highway 90                                                                                         San Antonio            TX       78237
 Silver Eagle Distributors Houston LLC                             PO Box 825                                                                                                      Houston                TX       77001-0825
 Silverson Machines, Inc.                                          355 Ox 589                                                                                                      East Longmeadow        MA       01028-0589
 Silvina Andrea Sonin De La Plaza                                  330 Southwest 2nd Ave                                   Apt 15                                                  Hallandale Beach       FL       33009
 Simmi Corinne Lockhart                                            10550 W Jewell Ave 101                                                                                          Lakewood               CO       80232
 Simmons, DaSilva LLP, In Trust                                    201 County Ct Blvd                                      Suite 200                                               Brampton               ON       L6W 4L2      Canada
 Simon Mejia                                                       8771 Wesleyan Dr Apt 1602                                                                                       Fort Myers             FL       33919
 Simon Mejia Usma                                                  430 E Parkwood Ave # C101                                                                                       Maitland               FL       32751
 Simon Pure Marketing Inc.                                         89 Mortimer Ave                                                                                                 Toronto                ON       M4K 2A2      Canada
 Simone Amaris Levy Coate                                          5556 Mary Ln Dr                                                                                                 San Diego              CA       92115
 Simpson Marketing, LLC                                            2258 Harrods Pointe Trace                                                                                       Lexington              KY       40511
 Singh Distributors Inc                                            1536 W Winton Ave                                                                                               Hayard                 CA       94545-1311
 Sino Goods Imp. & Exp. Corp. LTD                                  Room 409 Changfa Tower                                  Hutang Wujin                   Jiangsu                  Changzhou                                    China
 Sixto Raul Lucero                                                 8350 West Desert Inn Rd                                 Apt 1053                                                Las Vegas              NV       89117
 Siyabonga Emmanuel                                                93 Cromwell Rd                                          Redwood Lodge Unit No 47       Kwa Zulu Natal           Durban                          4001         South Africa
 Skip Shapiro Enterprises, LLC                                     318 Hawthorn St                                                                                                 New Bedford            MA       02740-2376
 Skogen's Festival Foods                                           3800 Emerald Dr E                                                                                               Onalaska               WI       54650-6760
 SKY BLUE TECHNOLOGIES, LLC EDMOND                                 9745 SW 138th Ave                                                                                               Miami                  FL       33186-6819
 Sky Control                                                       6919 West Broward Blvd 155                                                                                      Plantation             FL       33317
 Skye Boysen                                                       882 S Barnett St                                                                                                Anaheim                CA       92805
 Skyla Marie Rios                                                  815 W Abram St 1218 D                                                                                           Arlington              TX       76013
 Skyland Distributing Company Inc.                                 1 Overland Industrial Blvd                                                                                      Asheville              NC       28806-1376
 Skylar Gay                                                        12128 Lakeshore Dr                                                                                              Clermont               FL       34711
 Skylar Stegnar                                                    14 Dale Ln                                                                                                      Levittown              NY       11756
 Skyler Carole Stiskin                                             112 North 12th St                                                                                               Tampa                  FL       33602
 Skyler Weiden                                                     3940 Ingraham St 12-207                                                                                         San Diego              CA       92109
 Skylinne Corporation Limited                                      Room 1906                                               22/F Dushilijing Mansion       Jingda Rd 157            Fuzhou City                                  China
 Sleeve Seal, LLC                                                  14000 Dineen Dr                                                                                                 Little Rock            AR       72206-5818
 Smart Technology Solutions                                        3440 NE 192nd St 1L                                                                                             Aventura               FL       33180-2422
 Smartsheet, Inc.                                                  10500 NE 8th St                                                                                                 Bellevue               WA       98004-4345
 Smartsign                                                         300 Cadman Plaza West Suite 1303                                                                                Brooklyn               NY       11201
 SMB Machinery Systems, LLC                                        2563 Airport Industrial Dr                                                                                      Ballground             GA       30107
 SMG/Charles F. Dodge City Center City of                          601 City Center Way                                                                                             Pembroke Pines         FL       33025



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                                                                                                                                        as of October 10, 2022


                        Name                                         Attention                                           Address 1                               Address 2          Address 3                City    State        Zip          Country
 Smith & Green Attorneys at Law, PLLC                                                           3101 N Central Ave Suite 690                                                                    Phoenix             AZ       85004
 Smith Brothers Distributing Company                                                            1207 N 3rd St                                                                                   Bardstown           KY       40004-2617
 Smith Distributing Company                                                                     1195 E Huron Ave                                                                                Bad Axe             MI       48413-8809
 Smith Economics Group, Ltd. Corporate                                                          1165 N Clark St Suite 600                                                                       Chicago             IL       60610
 Smith, Gambrell & Russell, LLP                                                                 50 N Laura St Suite 2600                                                                        Jacksonville        FL       32202
 Smokey Jones, LLC                                                                              4033 W Hillsborough Ave                                                                         Tampa               FL       33614
 SNI Companies                                                                                  PO Box 840912                                                                                   Dallas              TX       75284
 Snipp                                                                                          6708 Tulip Hill Terrace                                                                         Maryland            MD       20816
 Snowy M Decaen                                                                                 4050 W 115th St                                                                                 Chicago             IL       60655
 Social Toaster Inc.                                                                            3600 Clipper Mill Rd Suite 240                                                                  Baltimore           MD       21211
 Sofia Bevarly LLC Ana Sofia Bevarly                                                            9754 Angel Valley Dr                                                                            Las Vegas           NV       89178
 Sofia Debayle                                                                                  8925 SW 108th Pl                                                                                Miami               FL       33176
 Sofia Guerrero                                                                                 403 Alsop A                                                                                     Storrs              CT       06269
 Sofia Lee                                                                                      15250 Quorum Dr                                   Apt 455                                       Addison             TX       75001
 Sofia Teresa Kartofilis                                                                        104 Trillium Pl                                                                                 Venetia             PA       15367-1049
 Sofia V Leboreiro Vasquez                                                                      813 NW 170 Terrace                                                                              Pembroke Park       FL       33028
 Soflo Movement Anthony Tony Roth                                                               1834 Hammock Blvd                                                                               Coconut Creek       FL       33063
 Soily RIvadeneira                                                                              12309 NW 77th Manor                                                                             Parkland            FL       33076
 Solange Bini                                                                                   250 NE 25 St                                                                                    Miami               FL       33137
 Solar Green Biotechnologies, Inc. Wuxi Cima                                                    111 Mccoy St                                                                                    Milford             DE       19963-2309
 Solarwinds Itsm Us, Inc. Samanage                                                              117 Edinburgh South Suite # 100                                                                 Cary                NC       27511
 Solciret Guzman                                                                                585 SW 180th Ave                                                                                Pembroke Pines      FL       33029
 Solid Gold Publishing LLC Lee Goldstein Sole                                                   413 Executive Dr                                                                                Langhorne           PA       19047
 Solitude Lake Management LLC                                                                   1320 Brookwood Dr Suite H                                                                       Little Rock         AR       72202
 Sollich KG                                                                                     Siemensstrasse 17-23                                                                            Bad Salzuflen                32105        Germany
 Solomon Appeals, Mediation & Arbitration                                                       901 South Federal Highway                                                                                           FL       33316
 Sommer Aguilar                                                                                 140 N Lincoln St                                                                                Redlands            CA       92374
 Sommer M Hafiz                                                                                 9487 Chatsworth Ct Northwes                                                                     Concord             NC       28027
 Sommer T Bryant                                                                                17717 Vail St 1525                                                                              Dallas              TX       75287
 Sonbyrne Sales, Inc                                                                            171 Route 5 W                                                                                   Weedsport           NY       13166-9309
 Songs of Universal, Inc.                                                                       99440 Collections Center Dr                                                                     Chicago             IL       60693
 Sonia A Nogueira                                                                               13871 Magnolia Ct                                                                               Davie               FL       33325
 Sonitrol of Fort Lauderdale Sonitrol Security                                                  1770 NW 64th St Suite 630                                                                       Ft Lauderdale       FL       33309-1853
 Sony Music Entertainment                                                                       25 Madison Ave                                                                                  New York            NY       10010
 Sony Music Entertainment US Latin LLC                                                          25 Madison Ave                                                                                  New York            NY       10010
 Sony Music Entertainment vs. VPX & Owoc       All plaintiffs c/o William L Charron (Pryor Cashm7 Times Square                                                                                  New York            NY       10036
 Sophia A Gouveia                                                                               47 Fearing St                                                                                   Amherst             MA       01002-1913
 Sophia Ann Marie Jones                                                                         1030 South Dobson Rd                              Apt 237                                       Mesa                AZ       85202
 Sophia Gouveia                                                                                 47 Fearing St                                                                                   Amherst             MA       01002
 Sophia Marie Gumina                                                                            2368 Torrey Pines Rd #60                                                                        La Jolla            CA       92037
 Sophia Talamas                                                                                 1033 Obispo Ave                                                                                 Coral Gables        FL       33134
 Sophie Swaney                                                                                  219 Reid Hooker N                                                                               Eads                TN       38028
 Sophonie Toussaint Soso                                                                        2867 Forest Hills Blvd 4                                                                        Coral Springs       FL       33065
 Source 1 Solutions                                                                             4904 Creekside Dr                                                                               Clearwater          FL       33760
 Source, Inc.                                                                                   6840 Silverheel                                                                                 Shawnee             KS       66226
 SOUTH CAROLINA CHARITIES, INC D/B/A                                                            104 S Main St Suite 110                                                                         Greenville          SC       29601-4803
 South Carolina Department of Employment &                                                      PO Box 995                                                                                      Columbia            SC       29202
 South Carolina Department of Revenue                                                           PO Box 100123                                                                                   Columbia            SC       29202
 South Carolina Department of Revenue                                                           PO Box 125                                                                                      Columbia            SC       29214-0785
 South Carolina Law Enforcement Division                                                        PO Box 21398                                                                                    Columbia            SC       29221-1398
 South Carolina Office of the Attorney General                                                  Rembert C Dennis Bldg                             1000 Assembly St Rm 519                       Columbia            SC       29201
 South Dakota Department of Revenue Special                                                     445 E Capitol Ave                                                                               Pierre              SD       57501-3100
 South Dakota Office of the Attorney General                                                    1302 E Highway 14 Suite 1                                                                       Pierre              SD       57501
 South Florida Distribution Center, LLC                                                         200 E Broward Blvd                                                                              Fort Lauderdale     FL       33301
 South Florida Manufacturers Association                                                        1451 W Cypress Rd                                                                               Ft Lauderdale       FL       33309
 South Texas Merchants Association                                                              12054 Starcrest Dr                                                                              San Antonio         TX       78247
 Southeast Cold Fill vs. VPX et al. (2020)     NoSo Holdings LLC                                9659 N SAM HOUSTON PKWY E                                                                       Humble              TX       77396-1290
 Southeast Cold Fill vs. VPX et al. (2020)     Southeast Cold Fill, LLC Carolina Canners        PO BOX 1687                                                                                     Cheraw              SC       29520-4687
 Southeast Cold Fill, LLC Carolina Canners                                                      PO Box 1687                                                                                     Cheraw              SC       29520-4687
 Southeast Exhibits & Events                                                                    4062 Peachtree Rd NE Suite 235                                                                  Brookhaven          GA       30319-3021
 Southeast Landscape Management Co, LLC.                                                        PO Box 208                                                                                      Fort Lauderdale     FL       33302
 Southeastern Bottling Co of AZ Inc.                                                            PO Box 1076                                                                                     Safford             AZ       85548
 SOUTHEASTERN EQUIPMENT & SUPPLY, INC                                                           1919 Old Dunbar Rd                                                                              West Columbia       SC       29172
 Southeastern Grocers                                                                           179 GasoliNE Alley Suite 102                                                                    Mooresville         NC       28036
 Southeastern Marketing & Distribution                                                          1017 Shive Ln Suite B                                                                           Bowling Green       KY       42103
 Southeastern Marketing & Distribution                                                          951 Withrow Ct                                                                                  Bardstown           KY       40004
 Southeastern Marketing & Distribution                                                          PO Box 51713                                                                                    Bowling Green       KY       42102-6713
 Southern Beverage Distributors, LLC                                                            1939 Davis Johnson Dr                                                                           Richland            MS       39218-8406
 Southern Beverage Distributors, LLC                                                            401 Industrial Dr                                                                               Batesville          MS       38606
 Southern Beverage Distributors, LLC                                                            6992 Hwy 49 North                                                                               Hattiesburg         MS       39402
 Southern CA Edison                                                                             PO Box 6400                                                                                     Rancho Cucamonga    CA       91729-6400
 Southern California Edison                                                                     4175 S Laspina St                                                                               Tulare              CA       93274
 Southern Crown Partners LLC (GA Only)                                                          1320 Us 80                                                                                      Savannah            GA       31408
 Southern Crown Partners LLC (GA Only)                                                          1912 Transus Dr                                                                                 Vidalia             GA       30474
 Southern Crown Partners LLC (GA Only)                                                          2129 LiNE St                                                                                    Brunswick           GA       31520



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                        Name                                       Attention                                     Address 1                               Address 2          Address 3                City    State        Zip           Country
 Southern Crown Partners LLC (GA Only)                                                  6200 Bowen Rd                                                                                   Blackshear          GA       31516
 Southern Distributing Co. of Laredo                                                    220 Guadalupe St                                                                                Laredo              TX       78041
 Southern Distributing Co. of Laredo                                                    PO Box 333                                                                                      Laredo              TX       78042-0333
 Southern District of Florida Attorneys Office                                          99 NE 4th St                                                                                    Miami               FL       33128
 Southern District of Florida U.S. Trustee       Attn: J Steven Wilkes                  51 SW 1st Ave                                                                                   Miami               FL       33130
 Southern Eagle Sales & Service, LP                                                     5300 Blair St                                                                                   Metairie            LA       70003-2406
 Southern Labware, Inc.                                                                 5810 Cedar Ridge Trl                                                                            Cumming             GA       30028-3406
 Southern Muscle Nutrition, LLC                                                         2056 Badlands Dr                                                                                Brandon             FL       33511
 Southern Specialized Services Inc.                                                     8926 SE Bahama Cir                                                                              Hobe Sound          FL       33455-4311
 Southern Waters Company, Inc                                                           PO Box 5                                                                                        Bell                FL       32619
 Southwest Battery Company                                                              4320 E BRdway Rd                                                                                Phoenix             AZ       85040-8808
 Southwest Beverage Company, Inc.                                                       108 Franklin St                                                                                 Leesville           LA       71446
 Southwest Beverage Company, Inc.                                                       3650 Expansion St                                                                               Alexandria          LA       71302
 Southwest Beverage Company, Inc.                                                       3860 BRd St                                                                                     Lake Charles        LA       70615-3871
 Southwest Convenience Stores LLC                                                       7102 Commerce Way                                                                               Brent               TN       37027
 Southwest Distributors, Inc.                                                           1036 Gordon Covington Rd                                                                        Summit              MS       39666-7000
 Southwest Gas                                                                          1635 S 43rd Ave                                                                                 Phoenix             AZ       85009
 Southwest Gas Corporation                                                              PO Box 98890                                                                                    Las Vegas           NV       89193-8890
 Southwest Machining Engineering Inc.                                                   6316 W Van Buren                                                                                Phoenix             AZ       85043
 Spanish Park Owners Association                                                        8485 W Sunset Rd #100                                                                           Las Vegas           NV       89113-2251
 Sparklets                                                                              200 Eagles Landing Blvd                                                                         Lakeland            FL       33810
 Spartangraphics                                                                        200 Applewood Dr                                                                                Sparta              MI       49345
 SpecCon Systems, Inc                                                                   4502 Southmark Dr                                                                               Salisbury           NC       28147-8264
 Specialty Car Company Rico International Inc.                                          1545 Mountain Industrial Blvd                                                                   Stone Mountain      GA       30083
 Specialty Engineering Consultants, Inc.                                                1599 SW 30th Ave                                                                                Boynton Beach       FL       33426
 Spectrum                                                                               1900 Blue Crest Ln                                                                              San Antonio         TX       78247
 Spectrum                                                                               PO Box 223085                                                                                   Pittsburgh          PA       15251
 Spectrum Business Charter Communications                                               PO Box 60074                                                                                    City Of Industry    CA       91716-0074
 Spectrum Chemical MFG Corp.                                                            769 Jersey Ave                                                                                  New Brunswick       NJ       08901-3605
 Speed Pallets Corp.                                                                    5790 NW 35th Ave                                                                                Miami               FL       33142-2708
 SpeedeeMart                                                                            1188 Wigwam Parkway                                                                             Henderson           NV       89074
 SpeedPro Imaging                                                                       1776 N Commerce Pkwy                                                                            Weston              FL       33326-3277
 Speedway Electric Company LLC                                                          1526 Newgate Ct                                                                                 Concord             NC       28027
 Speedway LLC                                    Chris Johnson                          PO Box 7600                                                                                     Springfield         OH       45501-7600
 Spencer A McGraw                                                                       3816 Eastside Ave 3                                                                             Dallas              TX       75226
 Spencer Duke                                                                           10343 Sweet Bay Manor                                                                           Parkland            FL       33076
 Spencer Sawicki                                                                        3945 St Ives Rd #822                                                                            Myrtle Beach        SC       29588
 Spinnaker Specialty Insurance Company                                                  1 Pluckemin Way                                   Suite 102                                     Bedminster          NJ       07921
 Spirit & Sanzone vs. VPX et al. (2020)          Spirit and Sanzone Dist Co, Inc        6495 Fly Rd                                                                                     East Syracuse       NY       13057
 Spirit and Sanzone Dist. Co., Inc.                                                     6495 Fly Rd                                                                                     East Syracuse       NY       13057
 Spirit and Sanzone Dist. Co., Inc.                                                     PO Box 696                                                                                      East Syracuse       NY       13057
 Sport Supplements South VA                                                             477 Southlake Blvd                                                                              Richmond            VA       23236
 Sportika Export, Inc.                                                                  37 Bentley St                                                                                   Wetherill Park               NSW 2164     Australia
 Sports Supplements Michigan                                                            4699 61St St Suite C                                                                            Holland             MI       49423-9775
 Spot Coolers                                                                           29749 Network Place                                                                             Chicago             IL       60673-1297
 Spotless Cleaning Team LLC                                                             4955 NW 199 St Lot#379                                                                          Miami Gardens       FL       33055
 Spriggs Distributing Co., Inc                                                          1 Childress Place                                                                               South Charleston    WV       25309
 Spriggs Distributing Co., Inc                                                          140 3rd Ave W                                                                                   Huntington          WV       25701-1119
 Spriggs Distributing Co., Inc                                                          38 East Dry Run Rd                                                                              Parkersburg         WV       26104
 Spring Andrews                                                                         12536 August Dr                                                                                 Kasas City          KS       66109
 Spring Lake Storage                                                                    2103 SunriSE Blvd                                                                               Fort Pierce         FL       34950
 Springfield Delivery Services                                                          8 Fairview Dr                                                                                   Southboro           MA       01772
 Sprint Food Stores, Inc                                                                402 E Broward St                                                                                Wrens               GA       30833
 SPS Commerce, Inc.                                                                     PO Box 205782                                                                                   Dallas              TX       75320-5782
 Squire Patton Boggs                                                                    N01 Spinningfields                                1 Hardman Square                              Mannchester                  M3 3EB       United Kingdom
 SRE Environmental                                                                      3230 E BRdway Rd Suite C-160                                                                    Phoenix             AZ       85040-2873
 SRP                                                                                    PO Box 80062                                                                                    Prescott            AZ       86304-8062
 SRP Electric                                                                           3223 W Indian Schol Rd                                                                          Phoenix             AZ       85017
 St. Joseph Beverage, LLC                                                               5509 Corporate Dr                                                                               Saint Joseph        MO       64507-7752
 ST. Onge Company                                                                       1400 Williams Rd                                                                                York                PA       17402
 Stacey Loper                                                                           1047 Highlands Dr                                                                               Hoover              AL       35244
 Stacey Lynette Catalano                                                                1170 South Johnson Ave                                                                          Bartow              FL       33830
 Stacey Womack                                                                          4755 Gramercy Oaks Dr #236                                                                      Dallas              TX       75287
 Staci Desotell                                                                         892 Gill St                                                                                     Oxford              MI       48371
 Staci Mccready                                                                         7003 W Cameron Dr                                                                               Peoria              AZ       85345
 Stacie Dahlbeck                                                                        12616 Joplin Dr                                                                                 Frisco              TX       75034
 Stacy Hatfield                                                                         2829 Flintrock Dr                                                                               Fort Worth          TX       76131
 Stacy Marquez                                                                          2733 Pico Ave                                                                                   Clovis              CA       93611
 Stagnaro Distributing , LLC                                                            12600 Dolwick Dr                                                                                Erlanger            KY       41018
 Stagnaro Distributing , LLC                                                            1600 Dolwick Dr                                                                                 Erlanger            KY       41018
 Stagnaro Distributing , LLC                                                            351 Wilmer Ave                                                                                  Cincinnati          OH       45226-1831
 Standard Beverage Corp - Wichita KS                                                    2526 E 36th Cir N # A                                                                           Wichita             KS       67219-2300
 Standard Distributors, Inc.                                                            1801 Spencer Mountain Rd                                                                        Gastonia            NC       28054
 Standard Distributors, Inc.                                                            PO Box 68                                                                                       Gastonia            NC       28053-0068
 Standard Sales Company, L.P.                                                           200 S Jbs Parkway                                                                               Odessa              TX       79761



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 Standard Sales Company, L.P.                                                            3639 S Jackson                                                                                         San Angelo           TX       76904
 Standard Sales Company, L.P.                                                            3811 Tarry St                                                                                          Wichita Falls        TX       76308
 Standard Sales Company, L.P.                                                            408 E Hunter St                                                                                        Lubbock              TX       79403
 Standard Sales Company, L.P.                                                            4400 Produce Rd                                                                                        Louisville           KY       40218
 Standard Sales Company, L.P.                                                            PO Box 12427                                                                                           Odessa               TX       79768-2427
 Stanimir Petrov                                                                         850 San Francisco Terrace                                                                              Bartlett             IL       60103
 Stanislav Atanassov                                                                     1514 18th St                                                                                           Santa Monica         CA       90404
 Stanley Dabney III Tre Dabney                                                           582 Euclid Ave                                                                                         San Bruno            CA       94066
 Stanton Video Services                                                                  23429 N 35th Dr                                                                                        Glendale             AZ       85310
 StarStone National Insurance Company           c/o Peachtree Special Risk Brokers LLC   3525 Piedmont Rd NE Bldg #5                              Suite 700                                      Atlanta             GA       30305
 Statco Engineering & Fabricators, Inc.                                                  7595 Reynolds Cir                                                                                      Huntingtn Bch        CA       92647-6787
 State of Connecticut                                                                    PO Box 5019                                                                                            Hartford             CT       06102-5019
 State of Connecticut Dept of Revenue Svc                                                PO Box 2936                                                                                            Hartford             CT       06104-2936
 State of Delaware                                                                       3411 Silverside Rd #104                                                                                Wilmington           DE       19810
 State of Idaho                                                                          700 S Stratford Dr Suite 115                                                                           Meridian             ID       83642
 State of Maryland                                                                       PO Box 17052                                                                                           Baltimore            MD       21297-1052
 State of Maryland Dept of Labor                Div Of Unemployment Ins                  PO Box 1683                                                                                            Baltimore            MD       21203-1683
 State of Michigan Michigan Department of                                                PO Box 30774                                                                                           Lansing              MI       48909
 State of Michigan Michigan Liquor Control                                               PO Box 30005                                                                                           Lansing              MI       48909-7505
 State of New Hampshire                                                                  PO Box 1265                                                                                            Concord              NH       03302-1265
 State of New Jersey                                                                     PO Box 222                                                                                             Trenton              NJ       08646-0222
 State of New Jersey                                                                     PO Box 277                                                                                             Trenton              NJ       08695
 State of New Jersey Department of Labor and                                             PO Box 929                                                                                             Trenton              NJ       08646-0929
 State of New York Workers' Compensation                                                 PO Box 5200                                                                                            Binghamton           NY       13902
 State of NJ Division of Taxation Corporation                                            PO Box 257                                                                                             Trenton              NJ       08646-0257
 State of North Carolina                                                                 15720 Brixham Hill Ave #300                                                                            Charlotte            NC       28277-4784
 State of Washington Labor & Industries                                                  PO Box 34022                                                                                           Seattle              WA       98124-1022
 Stater Bros. Markets                                                                    PO Box 150                                                                                             San Bernardino       CA       92402-0150
 States Logistics Services, Inc.                                                         5650 Dolly Ave                                                                                         Buena Park           CA       90621
 Statewide Propane, LLC                                                                  PO Box 901309                                                                                          Homestead            FL       33090
 Stauber Performance Ingredients, Inc.                                                   4120 N Palm St                                                                                         Fullerton            CA       92835-1026
 Staxup Storage-Menifee LP                                                               27437 Murrieta Rd                                                                                      Sun City             CA       92585-9440
 STB Agency Services Operating Acc Truist                                                1200 Weston Rd                                                                                         Weston               FL       33326
 Steadfast Insurance Company                                                             1299 Zurich Way                                                                                        Schaumburg           IL       60196
 Steele Lighting Solutions, LLC - Adam Vidaurri                                          7603 NW 60th Ln                                                                                        Parkland             FL       33067
 Steelo Miami INC                                                                        2533 S Park Rd                                                                                         Hallandale Beach     FL       33009
 Steel-Toe-Shoes.com Cyber Marketing Network,                                            800 Wisconsin St 15                                                                                    Eau Claire           WI       54703-3560
 Stefania Hurtado                                                                        165 Carriage Hills Blvd 163                                                                            Conroe               TX       77384
 Stefano Alexander Galeb                                                                 4427 Northwest 82nd Ave                                                                                Coral Springs        FL       33065
 Steffen Zaiser                                                                          Leiblweg 42                                                                                            Stuttgart            DE       70192        Germany
 Stein Distributing Co., Inc.                                                            PO Box 9367                                                                                            Boise                ID       83707
 Steiner - Atlantic, LLC.                                                                1714 NW 215th St                                                                                       Miami                FL       33056
 Stellar Group, Inc.                            Derek Bickerton                          2900 Hartley Rd                                                                                        Jacksonville         FL       32257-8221
 Stepahnie Szweda                                                                        W1651 Happy Hollow Rd                                                                                  Campbellsport        WI       53010
 Stepan Specialty Products LLC                                                           1101 Skokie Blvd                                                                                       Northbrook           IL       60062-4126
 Stephane A Veillard                                                                     5611 SW 11St B                                                                                         Margate              FL       33068
 Stephania Caicedo                                                                       Kilometro 14 via Chia -Cota Vereda Cerca de Pierdra                                                    Cundinamarca                  25001        Colombia
 Stephania Ruiz                                                                          8290 Lake Dr 442                                                                                       Doral                FL       33166-4676
 Stephanie Ashly Margarucci                                                              10925 Bluffside Dr # 221                                                                               Studio City          CA       91604
 Stephanie Colter                                                                        3201 Zillah St                                           Unit B                                        Tallahassee          FL       32305
 Stephanie Dasilva                                                                       1900 N Bayshore Dr 814                                                                                 Miami                FL       33132
 Stephanie Detert                                                                        11470 Tinder Ct                                                                                        Venice               FL       34292
 Stephanie Harger                                                                        4872 Tiara Dr #202                                                                                     Huntington Beach     CA       92649
 Stephanie Hatch                                                                         20 Flag Pond Rd                                                                                        Saco                 ME        4072
 Stephanie Hernandez                                                                     9521 Meadow St                                                                                         Rancho Cucamonga     CA       91730
 Stephanie Hidock                                                                        25250 Washington St                                                                                    Astatula             FL       34705
 Stephanie Landor                                                                        10928 12 Hartsook St                                                                                   North Hollywood      CA       91601
 Stephanie M. Pappas                                                                     10921 Newbury Ave Nw                                                                                   Uniontown            OH       44685
 Stephanie Medina Moran                                                                  920 North Orange Grove Ave                                                                             Colton               CA       92323
 Stephanie Olvera                                                                        3609 Cotten Dr                                                                                         Denton               TX       76207
 Stephanie Parker Ash                                                                    558 East Stonewall St                                    Apt 386                                       Charlotte            NC       28202
 Stephanie Perry                                                                         737 Indian Blanket Dr                                                                                  Midlothain           TX       76065
 Stephanie Ruiz                                                                          8290 Lake Dr                                             Apt 442                                       Doral                FL       33166
 Stephanie S Khouri                                                                      478 Bay Ln                                                                                             Key Biscayne         FL       33149
 Stephanie SanGiovanni Stephanie Schellenger                                             95 Woodmont St                                                                                         West Springfield     MA       01089
 Stephanie Smith                                                                         2020 Texas St                                                                                          Houston              TX       77003
 Stephanie Suddarth                                                                      1607 Genevieve Dr                                                                                      Wylie                TX       75098
 Stephanie Torrealba                                                                     90 SW 91St Ave 305                                                                                     Plantation           FL       33324
 Stephanie Warden                                                                        4814 NW 58th St                                                                                        Tamarac              FL       33319
 Stephanie Warden Steph                                                                  4814 NW 58H St                                                                                         Tamarac              FL       33319
 Stephannie Andrea Escobar                                                               510 NW 7th Ave                                                                                         Cape Coral           FL       33993
 Stephany Delatour                                                                       8 Eagle Falls Estate 2 Viera Rd                          Amorosa                                       Roodenpoort                   1709         South Africa
 Stephany Gonzalez                                                                       Erick Del Valle PH Atlantis #18A                                                                       Panama                        0801         Panama
 Stephany Saldivar Rubio                                                                 4340 Moraga Ave                                          Apt 6                                         San Diego            CA       92117
 Stephen Calixto Alvar                                                                   5559 Elmhurst Rd                                                                                       West Palm Bch        FL       33417-4471



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                        Name                         Attention                                 Address 1                               Address 2          Address 3                 City        State         Zip    Country
 Stephen Cohen                                                        1202 Red Bud Ln                                                                                 Canton                   GA       30114
 Stephen Earl Quinton                                                 21115 E Estrella Rd                               Apt 2124                                      Queen Creek              AZ       85142-5593
 Stephen Howard Madaras                                               490 19th St Southwest                                                                           Naples                   FL       34117
 Stephen J Santoro                                                    1600 N Park Dr                                                                                  Weston                   FL       33326-3278
 Stephen Jay Wortman                                                  1825 West Roma Ave                                                                              Phoenix                  AZ       85015
 Stephen Joseph Santoro                                               11929 Northeast Prescott St                                                                     Portland                 OR       97220
 Stephen Lawyer                                                       249 Smoke Tree Pl                                                                               Oceanside                CA       92057
 Stephen Ludwig                                                       143 West Franklin St                                                                            Chapel Hill              NC       27408
 Stephen N McLeod                                                     990 Coral Ridge Dr 301                                                                          Coral Springs            FL       33071
 Stephen Shane Hunt                                                   89 Via Poinciana Ln                                                                             Boca Raton               FL       33487
 Stephen Street                                                       4305 North 10th St                                                                              Tampa                    FL       33603
 Stephen Viegas                                                       295 Corbin Ave                                                                                  Staten Island            NY       10308
 Stephon Livias Sykes II                                              2403 West LoNE Cactus Dr                          Apt 179                                       Phoenix                  AZ       85027
 Sterline N Moussignac                                                2925 NW 56th Ave B1                                                                             Lauderhill               FL       33313
 Sterling Products, Inc ACS Auxiliaries Group, Inc                    Department 4509                                                                                 Carol Stream             IL       60122-4509
 Sterling Torres Ster                                                 9768 Maple Sugar Leaf Pl                                                                        Las Vegas                NV       89148
 Sterlitech Corporation                                               22027 70th Ave South                                                                            Kent                     WA       98032
 Steve Brandt Brooks                                                  11609 West Hill Dr                                                                              Avondale                 AZ       85323
 Steve Lawrence Curtis                                                2604 WaterstoNE Dr                                                                              Orange Park              FL       32073
 Steve LeVine Entrainment, LLC                                        7819 E ParadiSE Ln                                                                              Scottsdale               AZ       85260-1797
 Steven Addison                                                       2403 Oakview Dr                                                                                 Jacksonville             FL       32246
 Steven Andrade Moreno Steven                                         15802 Flight Ave                                                                                Chino                    CA       91708
 Steven Cliff Thelisma                                                802 Cochran Dr                                                                                  Lake Worth               FL       33461
 Steven Cochran                                                       137 W 2nd St                                                                                    Corning                  NY       14830
 Steven Curtis McDonald                                               610 Hania Dr Southwest                                                                          Concord                  NC       28027
 Steven D Streeter                                                    2470 Oleander Rd                                                                                Deland                   FL       32724
 Steven Darabos                                                       122 Ricewood Ln                                                                                 Moncks Corner            SC       29461
 Steven Deatley                                                       15021 SW 18th St                                                                                Miramar                  FL       33027
 Steven Douglas Associates, LLC. Steven                               1301 International Pkwy # 510                                                                   Fort Lauderdale          FL       33323
 Steven Gerard Narvaez                                                265 Stonehouse Rd                                                                               Trumbull                 CT        6611
 Steven Houston                                                       5120 East Hampton Ave                             Unit 1048                                     Mesa                     AZ       85206
 Steven J Kriz                                                        16312 Brookefield Dr                                                                            Edmond                   OK       73013
 Steven Jr Soto                                                       13625 South 48th St                               Apt 2146                                      Phoenix                  AZ       85044
 Steven Keith Tubbs                                                   10699 East Verbina Ln                                                                           Florence                 AZ       85132
 Steven Kindl                                                         8217 Fraim Ct                                                                                   Orlando                  FL       32825
 Steven Kunz                                                          1466 East Glacier Place                                                                         Chandler                 AZ       85249
 Steven L Broner                                                      332 North Brett St                                                                              Gilbert                  AZ       85234
 Steven LeClair                                                       106 Wellington Ln                                                                               Loudon                   NH        3307
 Steven Lloyd Johnson                                                 12635 West Glenn Dr                                                                             Glendale                 AZ       85307
 Steven M Kelly                                                       21 Obispo                                                                                       Rancho Santa Margarita   CA       92688
 Steven M Tague                                                       3112 Yellowstone Cir                                                                            Fort Pierce              FL       34945
 Steven Mark Cain                                                     11325 Flamingo Ln                                                                               Dallas                   TX       75218
 Steven Martin Guerrero                                               13415 Cranston Ave                                                                              Sylmar                   CA       91342
 Steven Renard Williams                                               6340 Southwest 34th Ct                                                                          Miramar                  FL       33023
 Steven Sanchez                                                       7421 Indigo Ln                                                                                  Fontana                  CA       92336
 Steven Simpson                                                       241 W Tujunga Ave N                                                                             Burbank                  CA       91502
 Steven Suarez                                                        2100 North 145th Ave                              Apt 1115                                      Goodyear                 AZ       85395
 Steven Vargas Cardozo                                                2618 Collins Ave                                  Unit 408                                      Miami Beach              FL       33140
 Stevenson Beer Distributing Co. Ltd.                                 201 E Madison St                                                                                Trinity                  TX       75862
 Stevie Marie Ryan                                                    1505 Monument Hill Rd                             Apt 3040                                      Charlotte                NC       28213
 Stewart Title Guaranty Company                                       1980 Post Oak Blvd                                                                              Houston                  TX       77056
 Stewart's Shops Corp                                                 PO Box 435                                                                                      Sarataga                 NY       12866
 Sticky.io                                                            2502 N Rocky Point Dr                                                                           Tampa                    FL       33607
 STMA Business, LLC                                                   12054 Starcrest Dr                                                                              San Antonio              TX       78247
 Stoked LLC                                                           1600 N Park Dr                                                                                  Weston                   FL       33326-3278
 Stone Harris McCreight Spiegel                                       850 Leora Ln                                      Apt 3111                                      Lewisville               TX       75056
 Stoyan Raychev                                                       341 NW 21St St                                                                                  Boca Raton               FL       33431
 Stratton Restoration LLC                                             992 W Melody Ave                                                                                Gilbert                  AZ       85233
 Straub Distributing Company Ltd.                                     4633 E La Palma Ave                                                                             Anaheim                  CA       92807-1909
 Stretto, Inc.                                                        410 Exchange                                      Suite 100                                     Irvine                   CA       92602-1331
 Strong Arm Touring, Inc.                                             2635 West 79th St                                                                               Hialeah                  FL       33016
 Stryka Botanics Stracq, Inc.                                         279 HomeSuitead Rd                                                                              Hillsborough             NJ       08844-1907
 STX Business Solutions                                               906 SE J St                                                                                     Bentonville              AR       72712
 Subreena Stacy Ann Philp                                             470 NE 5th Ave 3402                                                                             Fort Lauderdale          FL       33301
 Suburban Propane, LP.                                                PO Box 260                                                                                      Whippany                 NJ       07981-0260
 Suddath Global Logistics                                             815 S Main St                                                                                   Jacksonville             FL       32207
 Suddath Global Logistics                                             PO Box 10489                                                                                    Jacksonville             FL       32247-0489
 Sujata U Santiago                                                    16831 NW 21St                                     Apt 204                                       Pembroke Pines           FL       33028
 Sullivan Hazeltine Allinson, LLC.                                    919 N Market St Suite 420                                                                       Wilmington               DE       19801
 SUMA PRODUCTIONS JESUS GARCIA                                        2322 SW 135th Ave                                                                               Miramar                  FL       33027-2691
 Summer Marie Wyatt                                                   9372 West Cordes Rd                                                                             Tolleson                 AZ       85353
 Summit Distributing                                                  3201 Rider Trl S                                                                                Earth City               MO       63045-1520
 Summit Process Systems, LLC.                                         25604 S 154th St                                                                                Gilbert                  AZ       85298-9707
 Summitt Reprographics                                                2029 Century Park E Suite 4420                                                                  Los Angeles              CA       90067-1917
 Sun State Landscape Management                                       3942 W Lincoln St                                                                               Phoenix                  AZ       85009



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                       Name                                     Attention                                           Address 1                               Address 2          Address 3                City     State        Zip             Country
 Sunbelt Merchant Group Counseling                                                          400 N Sam Houston Pkwy E                                                                       Houston              TX       77060-3548
 SunButter LLC                                                                              501 42nd St N                                                                                  Fargo                ND       58102-3952
 Suncoast Beverage Sales                                                                    2996 Hanson St                                                                                 Fort Myers           FL       33916
 Sundesa, LLC                                                                               250 South 850 East                                                                             Lahi                 UT       84043
 Sunil G Garib                                                                              6770 NW 22nd Ct                                                                                Margate              FL       33063
 Sunny Hill Distributors, Inc.                                                              4518 Burton Rd                                                                                 Hibbing              MN       55746
 Sunny Hill Distributors, Inc.                                                              Highway 169 East Po Box 333                                                                    Hibbing              MN       55746
 Sunpass Operations                                                                         PO Box 447                                                                                     Ocoee                FL       34761
 Sunshine Leather International Limited                                                     No 18 East Jinou Chenbian Village                                                              Guangzhou City                511442       China
 Sunshine Pallets                                                                           13762 W State Rd 84 Suite 228                                                                  Davie                FL       33325
 Sunshine POS, LLC                                                                          40913 North 3rd Ave                                                                            Phoenix              AZ       85086
 SunStream Services                            Lisa Caswell                                 600 Highway 169 South Suite 850                                                                Minneapolis          MN       55426
 Super Secure Packaging Supplies                                                            6467 E Washington Blvd                                                                         Commerce             CA       90040-1823
 Superior Beverage Inc.                                                                     1070 Orchard Rd                                                                                Montgomery           IL       60538-1009
 Superior Beverage, LLC                                                                     12 Randy Johnson St                                                                            Superior             WI       54880-5522
 Superior Equipment Corp.                                                                   PO Box 3003                                                                                    Lantana              FL       33465
 Superior Grocers                                                                           15510 Carmenita Rd                                                                             Santa Fe Springs     CA       90670
 Superior Hardware Products, Inc.                                                           716 Industry Rd                                                                                Longwood             FL       32750
 Superior Product Company                                                                   110 County Rd 53                                                                               Willows              CA       95988-9715
 Suphia Khatun                                                                              5456 NW 184 St                                                                                 Opalocka             FL       33055
 Supplement Safety Solutions, LLC                                                           103 Meirs Rd                                                                                   Cream Ridge          NJ       08514
 Supplement World                                                                           4604 Modern Ln                                                                                 Laredo               TX       78041
 SupplyOne Miami                                                                            3505 NW 112th St                                                                               Miami                FL       33167-3312
 Susan Alexis Mooneyham                                                                     126 County Rd 369                                                                              Oxford               MS       38655
 Susan Ann Devers                                                                           13143 Annandale Dr North                                                                       Jacksonville         FL       32225
 Susan Arevalo                                                                              580 Pacific Grove Dr 6                                                                         West Palm Beach      FL       33401
 Susan Arevalo                                                                              9687 SW 138 Ave                                                                                Miami                FL       33186
 Susan Lynn Jones                                                                           1255 Fairlake Trace                              Apt 311                                       Weston               FL       33326
 Suzanne Elizabeth Kohler                                                                   7880 North 8000 West                                                                           Lehi                 UT       84043
 Svetlana Bilialova                                                                         Akademika Koroleva 41                                                                          Moscow                        129515       Russian Federation
 Swartz and Sons Distributors Speedway                                                      3815 38th St                                                                                   Brentwood            MD       20722
 Swartz and Sons Distributors Speedway                                                      6250 Frankford Ave                                                                             Baltimore            MD       21206
 Swartz and Sons Distributors Speedway                                                      6405 Beckley St                                                                                Baltimore            MD       21224
 Sweetwater Sound Holding, LLC                                                              5501 Us Highway 30 W                                                                           Fort Wayne           IN       46818-8998
 Sydney Baxter                                                                              4052 Paloverde Dr Nw                                                                           Kennesaw             GA       30144
 Sydney Glasscock                                                                           256 Meadow Glen Dr                                                                             Bristol              TN       37620
 Sydney Graber                                                                              6617 Quail Ridge Ln                                                                            Fort Wayne           IN       46804
 Sydney Johnston                                                                            3100 Woolper Rd                                                                                Petersburg           KY       41080
 Sydney Keller & Event Consultants LLC                                                      1000 Brickell Plaza Ph5406                                                                     Miami                FL       33131
 Sydney Langston                                                                            11580 Miller St                                                                                Maple Ridge          BC       V2X0P2       Canada
 Sydney Lint                                                                                2316 Chapel Hill Blvd                                                                          Odenton              MD       21113
 Sydney Marshall                                                                            22040 SW Ribera Ln                                                                             West Linn            OR       97068
 Sydney Sprenger                                                                            1793 Hollybush Rd                                                                              Timmonsville         SC       29161
 Sydni Ferguson                                                                             12368 Hillman Dr                                                                               Palm Beach Gardens   FL       33410
 Syfan Logistics                                                                            PO Box 1294                                                                                    Gainesville          GA       30507
 Sylina Ruiz                                                                                105 Acer Place                                   Apt 202                                       Mooresville          NC       28117
 Sylina Ruiz                                                                                175 Carriage Club Dr                                                                           Moorsesville         NC       28117
 Sylvia Elizabeth Motley                                                                    10937 Northwest 42nd Ct                                                                        Sunrise              FL       33351
 Synerfac Inc                                                                               100 West Commons Blvd Suite 100                                                                New Castle           DE       19720
 Synergy Flavors, Inc.                                                                      PO Box 4543                                                                                    Carol Stream         IL       60122-4543
 Synovus                                       John Quarles                                 839 Navarre Parkway                                                                            Navarre              FL       32566
 Syntegon Processing & Packaging                                                            2440 Summer Blvd                                                                               Raleigh              NC       27616
 Syntegon Technology services, Inc. Syntegon                                                36809 Treasury Ctr                                                                             Chicago              IL       60694-6800
 SZWORLDTOUR Harrison Wain                                                                  11000 Gaviota Ave                                                                              Granada Hills        CA       91344
 T - Bev, Inc.                                                                              1770 Prairie Rd                                                                                Eugene               OR       97402-9734
 T&M Service Center                                                                         31 NE 1St St                                                                                   Pompano Beach        FL       33060
 Tabetha Hawkins                                                                            2208 AnNE Ln                                                                                   Crete                IL       60417
 Tactix Group Inc. Sklar Furnishings                                                        6300 N Federal Hwy                                                                             Boca Raton           FL       33487-3250
 Tadasha Lenorah Hodges vs. Darrell James      Tadasha Lenorah Hodgesc/o Scott Liotta (Dan N7335 W Sand Lake Rd                                                                            Orlando              FL       32819
 Tafara Sampupunga Taffy                                                                    7729 S Mingo Rd # 824                                                                          Tulsa                OK       74133
 Taft Mays                                                                                  2748 S Cupertino Dr                                                                            Gilbert              AZ       85295
 Tahlia Anne Hall                                                                           87 Cowen Terrace                                                                               North Lakes                   QLD 4509     Australia
 Taie Inc. Minuteman Press of Miramar                                                       12004 Miramar Parkway                                                                          Miramar              FL       33025
 Tairi Ortiz                                                                                8960 NW 8th St                                                                                 Pembroke Pines       FL       33024-6410
 TaJuan Bruce Wheeler                                                                       5110 West Bowker St                                                                            Phoenix              AZ       85339
 Takasago Europe G.m.b.H                                                                    Industriestrasse 40                                                                            Zulpich                       53909        Germany
 Takasago International (s) Pte Ltd                                                         No 5 Sunview Rd                                                                                Singapore                     627616       Singapore
 Takasago International Corporation                                                         PO Box 502111                                                                                  Philadelphia         PA       19175-2111
 Tala Golzar                                                                                5525 Canoga Ave 230                                                                            Woodland Hills       CA       91367
 Talia Barretta                                                                             1210 Mollbore Terrace                                                                          Philadelphia         PA       19148
 Talya Smith                                                                                4412 Panorama Dr                                                                               Cohutta              GA       30710
 Tamar Turpin                                                                               10435 Northwest 31St Ct                                                                        Sunrise              FL       33351
 Tamara Jairett                                                                             8007 Arcadian Ct                                                                               Mount Dora           FL       32757
 Tamara Segall                                                                              5644 Av Westluke                                                                               Cote Saint-Luc       QC       H4W 2N2      Canada
 Tamia Stoker                                                                               PO Box 1076                                                                                    Caddo Mills          TX       75135



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                        Name                                  Attention                                  Address 1                               Address 2                Address 3                City    State        Zip           Country
 Tamika S Brunson                                                              825 W Osborn Rd 1018                                                                                   Phoenix             AZ       85013
 Tampa Electric Company TECO                                                   PO Box 31318                                                                                           Tampa               FL       33631-3318
 Tanager Beverages, LLC                                                        22 Rd 2Ab                                                                                              Cody                WY       82414-8431
 Taneth Health Group Corp Nerymar Taneth                                       18021 BiscayNE Blvd 403                                                                                Aventura            FL       33160
 Tania Hernandez                                                               5921 SW 196th Terr                                                                                     Southwest Ranches   FL       33332
 Tania Rodriguez                                                               92 Elm St Bsmi R                                                                                       Southbridge         MA       01550
 Tanisha Coetzee                                                               10993 Bluffside Dr #2413                                                                               Studio City         CA       91604
 Tanner Robert Allford                                                         11802 SW 16th St                                                                                       Pembroke Pines      FL       33025
 Tanya Pierobon Pagan                                                          3191 North Oasis Dr                                                                                    Boynton Beach       FL       33426
 Tanya Scharnick                                                               1141 Tecomaria St                                  Montana Par                   Gauteng               Pretoria                     0151         South Africa
 Tara Herbst                                                                   21501 NW Sydney St 10206                                                                               Hillsboro           OR       97006
 Tara Klein                                                                    258 Oak Forest Dr                                                                                      Brick               NJ       08724
 Target Corporation                                                            PO Box 1455                                                                                            Minneapolis         MN       55440-1455
 Targit US, Inc.                                                               3550 Buschwood Park Dr Suite 270                                                                       Tampa               FL       33618
 Taro Patch Holding LLC                                                        PO Box 452741                                                                                          Los Angeles         CA       90045-8538
 Tarver Distributing                                                           8360 Hiwassee St Nw                                                                                    Charleston          TN       37310
 Tarver Distributing                                                           PO Box 433                                                                                             Charleston          TN       37310-0433
 Tatiana Angel Perez                                                           Calle 125 N 51-42                                  Apt 201                                             Bogota                       111111459    Colombia
 Tatiana Bacchione                                                             138 Hollywood Ave                                                                                      Somerset            NJ       08873
 Tatiana Christine Fyodorov                                                    4462 Maidenhair Cove                                                                                   Oviedo              FL       32765
 Tatum Elizabeth Jarvis                                                        6600 Valleyoak Dr                                                                                      Clemmons            NC       27012
 Tatum McCann                                                                  4655 Coldbrook Ave                                                                                     Lakewood            CA       90713
 Tatyana Lebedinskiy                                                           4894 Bantry Dr                                                                                         West Bloomfield     MI       48322
 Taurus Commercial, Inc.                                                       12200 Ford Rd                                                                                          Dallas              TX       75234
 Tavan Hanley                                                                  5727 Canoga Ave #338                                                                                   Woodland Hills      CA       91367
 Taverick Dewayne Shepherd                                                     10928 Audelia Rd 322                                                                                   Dallas              TX       75243
 Tavian Shanod Grubbs                                                          2680 Hammondville Rd                                                                                   Pompano Beach       FL       33069
 TAW Power Systems, Inc.                                                       6312 78th St                                                                                           Riverview           FL       33578-8835
 Taya Madrid                                                                   659 Ave H                                                                                              Boulder City        NV       89005
 Tayler Holder LLC                                                             104 W Atchley Ave                                                                                      Alvarado            TX       76009
 Tayler Jane Berblinger                                                        5115 63rd St                                                                                           San Diego           CA       92115
 Tayler Thatcher                                                               7644 Kingspost Loop                                                                                    Helena              MT       59602
 Taylor Brown                                                                  3242 Peachtree Rd Nw                               Apt 408                                             Atlanta             GA       30305
 Taylor Bruno Tay                                                              13380 SW 256th St                                                                                      Homestead           FL       33032
 Taylor Cameron                                                                835 Gates Mills Blvd                                                                                   Medina              OH       44256
 Taylor Compton                                                                19714 Augusta Preserve Dr                                                                              Lutz                FL       33549
 Taylor Compton Alesia Holdings LLC                                            6152 Weatherwood Cir                                                                                   Wesley Chapel       FL       33545-4371
 Taylor Cross                                                                  20 Monterey Dr                                                                                         American Canyon     CA       94503
 Taylor Cuccurullo                                                             10337 Parkside Ln                                                                                      Pilot Point         TX       76258
 Taylor Daunt                                                                  152 Crestwood Dr                                                                                       Mabank              TX       75156
 Taylor DeFazio                                                                227 South Armenia Ave #19                                                                              Tampa               FL       33609
 Taylor Duffy                                                                  1322 East Shamrock St                                                                                  Gilbert             AZ       85295
 Taylor Farnham                                                                902 Humboldt Pl 304                                                                                    Louisville          KY       40208
 Taylor Gallo                                                                  109 W Pippen Dr                                                                                        Islamorada          FL       33036
 Taylor Gallo                                                                  17 Miami Dr                                                                                            Key Largo           FL       33037-2516
 Taylor Hohhmann                                                               4820 Park Commons Dr #137                                                                              St Louis Park       MN       55416
 Taylor Jon Frette                                                             1314 Warrior Run Dr                                                                                    Norwalk             IA       50211
 Taylor Karl Gaudreau                                                          871 Bucksaw Pl                                                                                         Longwood            FL       32750
 Taylor Marie Freeman                                                          3200 North Alafaya Trail                                                                               Orlando             FL       32826
 Taylor McCook                                                                 21 Sedona Cove Dr                                                                                      Apopka              FL       32703
 Taylor McTeague                                                               28 Peach Teee Ln                                                                                       Berlin              CT       06037
 Taylor Moore                                                                  1449 Keith Ct                                                                                          Burleson            TX       76028
 Taylor Morgan                                                                 34061 Silver Lantern                                                                                   Dana Point          CA       92629
 Taylor Rousseau                                                               476 Riley Ln                                                                                           Tolar               TX       76476
 Taylor Roye                                                                   3408 North Bay Breeze Ln                                                                               Fort Worth          TX       76179
 Taylor Smith                                                                  18314 OSuitego Dr                                                                                      Fort Myers          FL       33967
 Taylor Team Relocation - TTR Shipping                                         4945 Scarlet Ln                                                                                        Stow                OH       44224
 Taylore Madison Zimolzak                                                      6724 S Opal Dr                                                                                         Chandler            AZ       85249
 Taynara Carvalho                                                              7866 Jubilee Park Blvd                             Apt 1623                                            Orlando             FL       32822
 TCA Fastrak Tolls                                                             PO Box 57011                                                                                           Irvine              CA       92619-7011
 TCI America                                                                   9211 North Harborgate St                                                                               Portland            OR       97203
 TCI America                                                                   PO Box 600906                                                                                          Rantoul             IL       61866-6906
 Team Eagle Logistics                                                          8655 E Via De Ventura Suite E250                                                                       Scottsdale          AZ       85258-3674
 Team Footworks Educational & Fitness                                          5724 Sunset Dr                                                                                         South Miami         FL       33143
 Team SCG Branded Solutions                  c/o SCG & Associates, Inc         New Town Commerce Center                           4001 SW 47th Ave Suite 202                          Davie               FL       33314
 Tec-Distributing of Idaho, LLC                                                2380 Beryl Ave                                                                                         Twin Falls          ID       83301
 Tec-Distributing of Idaho, LLC                                                5478 S Heyrend Dr                                                                                      Idaho Falls         ID       83402
 Tec-Distributing of Idaho, LLC                                                PO Box 1825                                                                                            Twin Falls          ID       83303-1825
 Tech Instrumentation, Inc.                                                    750 East Kiowa Ave                                                                                     Elizabeth           CO       80107
 Technicallink, LLC                                                            3345 Pinewalk Dr North 103                                                                             Margate             FL       33063
 Ted A Leslie                                                                  10214 Evening Trail Dr                                                                                 Riverview           FL       33569
 Ted Burnette                                                                  600 1E Ladera Ln                                                                                       Anaheim             CA       92807
 Tedelta North America, LLC                                                    2335 63 Ave East                                                                                       Brnadenton          FL       34203
 Tekpartners                                                                   PO Box 740473                                                                                          Atlanta             GA       30374-0473
 TeleComp Inc.                                                                 7575 Dr Phillips Blvd Suite 220                                                                        Orlando             FL       32819-7221



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                        Name                                    Attention                                    Address 1                                 Address 2               Address 3                City     State        Zip           Country
 Teledyne TapTone                                                                 49 Edgerton Dr                                                                                           N Falmouth           MA       02556-2821
 TELEPHONEMAN                                                                     3050 North 28 Terrace                                                                                    Hollywood            FL       33020
 Temperature PRO DFW                                                              2081 Hulton Dr Suite 307                                                                                 Carrollton           TX       75006
 Templeton & Company                                                              222 Lakeview Ave Suite 1200                                                                              West Palm Beach      FL       33401
 Temptrol Air Conditioning, Inc.                                                  7169 SW 42nd Ter                                                                                         Miami                FL       33155
 Tennant Sales and Service Company                                                PO Box 71414                                                                                             Chicago              IL       60694
 Tennessee Department of Revenue                                                  500 Deaderick St                                                                                         Nashville            TN       37242
 Tennessee Office of the Attorney General                                         301 6th Ave N                                                                                            Nashville            TN       37243
 Tera M Stroud                                                                    108 Crystalwood Ct Nw                                                                                    Concord              NC       28027
 Terah Davis                                                                      3025 Barnhard Dr                                    Apt 215                                              Tampa                FL       33613
 Terborg Distributor                                                              11501 N 700 W                                                                                            Demotte              IN       46310-8610
 Terborg Distributor                                                              8946 N 700 W                                                                                             Demotte              IN       46310
 Teresa M Hare                                                                    226 R B Baker Dr                                                                                         Chapin               SC       29036
 Teresa Perez                                                                     12870 Southwest 117th St                                                                                 Miami                FL       33186
 Terminix International Company Terminix                                          PO Box 802155                                                                                            Chicago              IL       60680
 Terrance Jerome Wright                                                           312 Van Buven St 3                                                                                       Hollywood            FL       33019
 Terrell Battery Corp                                                             802 S 19th Ave                                                                                           Phoenix              AZ       85009
 Terrelle Vaughn Francis Jr                                                       2045 Reflective Water Ln                                                                                 Villa Rica           GA       30180
 Terrence Banks                                                                   2894 Princeville Dr                                                                                      Pickerington         OH       43147
 Terri Lawrence                                                                   8400 S Maryland Pkwy                                                                                     Las Vegas            NV       89123
 Terri Polimeni Interiors                                                         8645 N Military Trail Suite 406                                                                          Palm Beach           FL       33410
 Terry Eugene Colding                                                             2702 Wilder Park Dr                                                                                      Plant City           FL       33566
 Terymer Collazo                                                                  14441 Lexington Pl                                                                                       Davie                FL       33325
 Tess Homann                                                                      2/471 Bronte Rd                                                                                          Sydney                        NSW 2024     Australia
 Teva Barnea                                                                      1515 Colby Ave #116                                                                                      Los Angeles          CA       90025
 Tevin Jonn Jackson Mitchell                                                      2205 S 84th Ave                                                                                          Tolleson             AZ       85353
 Tevin Walker                                                                     7903 Orion Cir 0238                                                                                      Laurel               MO       20724
 Texas Comptroller of Public Accounts                                             12345 N Lamar Blvd                                  Suite 175                                            Austin               TX       78753
 Texas Office of the Attorney General                                             300 W 15Th St                                                                                            Austin               TX       78701
 Texas Tech University System                                                     PO Box 41105                                                                                             Lubbock              TX       79409-1105
 Texas7-Eleven Franchise Assoc                                                    8951 Crpress Waters Suite 160                                                                            Dallas               TX       25019
 Teyo Branwell                                                                    1621 Shields Ave                                                                                         Encintas             CA       92024
 TFG-Leasing Fund III, LLC                                                        6995 Union Park Center                              Suite 400                                            Cottonwood Heights   UT       84047
 TG Ventures LLC Winston Topper Guild                                             1162 North Wetherly Dr                                                                                   Los Angeles          CA       90069
 TGA Cactus DC II LLC Teachers Ins & Annuity                                      730 third Ave                                                                                            New York             NY       10017
 The A/C Ductologist, LLC                                                         4700 SW 83rd Ter                                                                                         Davie                FL       33328-3712
 The American Bottling Company                                                    5301 Legacy Dr                                                                                           Plano                TX       75024-3109
 The American Bottling Company                                                    6045 Bowdendale Ave                                                                                      Jacksonville         FL       32216
 The American Bottling Company                c/o Swartz Campbell LLC             Attn: Joseph S. Naylor                              300 Delaware Avenue, Suite 1410                      Wilmington                    19801
 The American Bottling vs. VPX et al. (2019)  The American Bottling Company       5301 Legacy Dr                                                                                           Plano                TX       75024-3109
 The ARRO Group                                                                   20527 Old Cutler Rd #110                                                                                 Cutler Bay           FL       33189
 The ATG Group, inc Alyssa Voelcker-Mckay                                         12042 SE Sunnyside Rd #502                                                                               Clackamas            OR       97015
 The Benefits Trust                                                               3800 Suiteeles Ave W                                Suite 102W                                           Vaughan              ON       L4L 4G9      Canada
 The Best Paper Product Co LTD                                                    No 26 Keyuan Xishi Rd                               Xixiangtang District                                 Nanning                       530007       China
 The Brunch! Limited Company                                                      3607 Silouette Cv                                                                                        Friendswood          TX       77546-6071
 The Camera Clinic                                                                250-B Mmercial Blvd Suite B                                                                              Laud By Sea          FL       33308-4460
 The Campanile Foundation                                                         5500 Campanile Dr                                                                                        San Diego            CA       92182
 The Cansultants LLC                                                              6895 Counselors Way                                                                                      Alpharetta           GA       30005
 The Carioca Company                                                              2601 W Dunlap Ave Suite 10                                                                               Phoenix              AZ       85021
 The Cary Company                                                                 1195 W Fullerton Ave                                                                                     Addison              IL       60101-4303
 The Cleaning Company of California, Inc                                          3954 Murphy Canyon Dr Suite D203                                                                         San Diego            CA       92123
 The Club at Admirals Cove                                                        200 Admirals Cove                                                                                        Jupiter              FL       33477
 The Corporate Graphic Center                                                     5400 S University Dr #208                                                                                Davie                FL       33328
 The Dream Remodeling Corp                                                        4757 NW 167th St                                                                                         Miami Gardens        FL       33055
 The EHS Company LLC                                                              PO Box 80619                                                                                             Phoenix              AZ       85060
 The Filter Store, Inc.                                                           1000 Pembroke Rd Suite 203                                                                               Hallandle            FL       33009
 The Foundry Visionmonges Limited                                                 5 Golden Square                                                                                          London                        W1F9HT       United Kingdom
 The Fulfillment Company (TFC)                                                    562 Cain Neville Dr                                                                                      Waterbury            CT       06708
 The Great Dan Company Daniel Bolivar                                             19340 NW 7th St                                                                                          Pembroke Pines       FL       33029
 The Guardian Life Insurance Company                                              10 Hudson Yards                                                                                          New York             NY       10001
 The Gym Team                                                                     3522 West 86 Terrace                                                                                     Hialeah              FL       33018
 The Harrison House LLC DBA Death or Glory                                        116 NE 6th Ave                                                                                           Delray Beach         FL       33483-5423
 The Haskell Company                                                              111 Riverside Ave                                                                                        Jacksonville         FL       32202
 The House of LaRose, Inc. Speedway                                               6745 Southpointe Parkway                                                                                 Brecksville          OH       44141
 The House of LaRose, Inc. vs. VPX (2021)     The House of LaRose, Inc Speedway   6745 Southpointe Parkway                                                                                 Brecksville          OH       44141
 The Huntington National Bank                                                     7 Easton Oval                                                                                            Columbus             OH       43219
 The Huntington National Bank                                                     PO Box 9                                                                                                 Buffalo              NY       14240
 The Hype House LA LLC Thomas Petrou                                              4440 Hayvenhurst Ave                                                                                     Encino               CA       91436
 The Jobsquad                                                                     4101 Edison Lakes Pkwy Ste 350                                                                           Mishawaka            IN       46545-3451
 The JT Couple LLC Janexy Sanchex Tyler Lopez                                     8910 SW 172nd Ave 1402                                                                                   Miami                FL       33196-3066
 The Kent Companies                                                               2408 N Big Sprint St                                                                                     Midland              TX       79705
 The Lagunitas Brewing Company                                                    1280 N Mcdowell Blvd                                                                                     Petaluma             CA       94954-1113
 The Law Office of David W. Barman, P.A.                                          17071 West Dixie Highway                                                                                 North Miami Beach    FL       33160
 The Law Offices of Neil D. Kodsi                                                 1666 JF Kennedy Causeway                            Suite 420                                            North Bay Village    FL       33141
 The Lewis Bear Company                                                           6120 EnterpriSE Dr                                                                                       Pensacola            FL       32505-1858



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 The Lewis Bear Company                                       6484 Dog Track Rd                                                                                          Ebro                      FL       32437-1142
 The Made Rite Company                                        315 E Industrial Dr                                                                                        Longview                  TX       75602
 The Made Rite Company                                        410 Hamilton Ave                                                                                           Bossier City              LA       71111
 The Made Rite Company                                        PO Box 3283                                                                                                Longview                  TX       75606
 The Mercova Group LLC                                        8180 NW 36th St                                                                                            Doral                     FL       33166-6645
 The Moore Law Group                                          PO Box 25145                                                                                               Santa Ana                 CA       92799
 The Morganti Group, Inc.                                     1662 North Us Hwy 1 Suite C                                                                                Jupiter                   FL       33469
 The Nielsen Company LLC                                      PO Box 88956                                                                                               Chicago                   IL       60695-8956
 The Noa law Firm, P.A.                                       PO Box 941958                                                                                              Miami                     FL       33194
 The Noel Corporation DBA Pepsi Yakima                        1001 South First St                                                                                        Yakima                    WA       98901
 The Noel Corporation DBA Pepsi Yakima                        1520 1St St                                                                                                The Dalles                OR       97058
 The Noel Corporation DBA Pepsi Yakima                        2525 West Hopkins St                                                                                       Pasco                     WA       99301
 The Optimist Club of Cooper City, Inc.                       9710 Stirling Rd Suite 107                                                                                 Hollywood                 FL       33024-8018
 The Port Authority of NY & NJ                                PO Box 95000                                                                                               Philadelphia              PA       19195-1517
 The Powerhouse Agency                                        7307 Laura Ln                                                                                              Reseda                    CA       91335-2487
 The Rose Properties, LLC                                     219 South 3rd St                                                                                           Sterling                  CO       80751
 The San Diego Reader SDReader, inc                           2323 BRdway Suite 107                                                                                      San Diego                 CA       92102-1946
 The Sherwin-Williams Co Valspar, Valspar                     PO Box 6027                                                                                                Cleveland                 OH       44101
 The Stone Collection LLC                                     3001 W Copans Rd                                                                                           Pompano Beach             FL       33069
 The Sullivan Group                                           PO Box 14419                                                                                               Long Beach                CA       90853-4419
 The Surface Master                                           1393 Cobb Industrial Way                                                                                   Marietta                  GA       30066
 The Telephone Man                                            3400 SW 26 Terrace #A3                                                                                     Ft Lauderdale             FL       33312
 The Tides Commodity Trading Group Inc.                       PO Box 2323                                                                                                Mt Pleasant               SC       29465-2323
 The Tom Thumb Charity                                        97 W Okeechobee Rd                                                                                         Hialeah                   FL       33010
 The Treadstone Group, Inc.                                   2173 Smith Harbour Dr                                                                                      Denver                    NC       28037
 The Ware Group Johnstone Supply                              1110 Central Parkway                                                                                       Jacksonville              FL       32234
 The Webstaurant Store Inc.                                   40 Citation Ln                                                                                             Lititz                    PA       17543
 The Well Columbia (Church)                                   1412 Trotwood Ave                                                                                          Columbia                  TN       38401
 The Williams Fam LLC Tag Williams                            1297 Saint Johns MiNE Rd                                                                                   Vallejo                   CA       94591
 Theo Quenee                                                  3180 Plaza St                                                                                              Miami                     FL       33133
 Theodore Baker                                               31 W Point Dr                                                                                              Cocoa Beach               FL       32931
 Theresa Jurado                                               15267 North 140th Dr                              Apt 1082                                                 Surprise                  AZ       85379
 Theresa Little                                               11625 Radiant Cir 2-207                                                                                    Parker                    CO       80134
 Thermal Concepts, Inc                                        2201 College Ave                                                                                           Davie                     FL       33317
 Thermo Electron North America LLC                            5225 Verona Rd                                                                                             Madison                   WI       53711
 Thermodyne Services Inc                                      PO Box 6873                                                                                                Jacksonville              FL       32236-6873
 Thida Baker                                                  3345 Wilshire Blvd #812                                                                                    Los Angeles               CA       90010
 Third Rock Events Shawn Cosner                               125 Remount Rd Suite C1 # 3                                                                                Charlotte                 NC       28203-6459
 Thomas A Foss                                                5609 S 30th Gln                                                                                            Phoenix                   AZ       85041-3526
 Thomas A Perez                                               1600 N Park Dr                                                                                             Weston                    FL       33326-3278
 Thomas Allen Foss                                            5609 South 30th Glen                                                                                       Phoenix                   AZ       85041
 Thomas Anthony Perez                                         10236 West Preston Ln                                                                                      Tolleson                  AZ       85353
 Thomas Anthony Sharpe Komodo Media                           84 Mill Hill Rd                                                                                            Sydney                             NSW 2022     Australia
 Thomas Chavez                                                3314 West WindroSE Dr                                                                                      Phoenix                   AZ       85029
 Thomas Fahey                                                 3366 Canyon Oaks Terrace                                                                                   Chico                     CA       95928
 Thomas Garrigan                                              7410 Panama St                                                                                             Miramar                   FL       33023
 Thomas Group LLC DBA Eagle Distributing                      5463 SkyLn Blvd                                                                                            Santa Rosa                CA       95403
 Thomas Group LLC DBA Eagle Distributing                      975 Mazzoni St                                                                                             Ukiah                     CA       95482
 Thomas Group LLC DBA Eagle Distributing                      PO Box 2260                                                                                                Windsor                   CA       95492
 Thomas Hebert                                                2575 Tupelo Ave                                                                                            Mims                      FL       32754
 Thomas J Del Duca                                            985 Colonial Dr                                                                                            Mount Pleasant            SC       29464
 Thomas Jay Ruelas                                            7242 West College Dr                                                                                       Phoenix                   AZ       85033
 Thomas L Ward                                                15620 Meadowbrook Ave                                                                                      Goodyear                  AZ       85395
 Thomas Llewellyn                                             1232 Belhaven Ln                                                                                           Ponte Vedra               FL       32081
 Thomas Marincovich                                           1909 Blue Sage Ct                                                                                          Brandon                   FL       33511
 Thomas Petrou LLC                                            4440 Hayvenhurst Ave                                                                                       Encino                    CA       91436
 Thomas Preston McAlister II                                  7937 Roswell Rd                                   Apt A                                                    Sandy Springs             GA       30350
 Thomas Robert Spain                                          1352 Pyramid Peak St                                                                                       Chula Vista               CA       91913
 Thomas S Principe                                            1600 N Park Dr                                                                                             Weston                    FL       33326-3278
 Thomas Santino Principe                                      1616 Aspen Meadows Dr                                                                                      Henderson                 NV       89014
 Thomas Scientific Holdings, LLC                              1654 High Hill Rd                                                                                          Swedesboro                NJ       08085-1780
 Thomas Sharpe                                                84 Mill Hill Rd                                   Bondi Junction                                           Sydney                             NSW 2022     Australia
 Thomas Unold                                                 450 Baldur Run St                                                                                          Las Vegas                 NV       89148
 Thomas Unold                                                 818 S Lagrave St                                                                                           Paw Paw                   MI       49079-9232
 Thomas Van Beelen                                            Juriaankokstraat 81                               Apt 2586SC                    Zuid Holland               Den Haag                           2595SX       Netherlands
 Thomason Law Firm LLC                                        111 Lomas Blvd NW Suite 200                                                                                Albuquerque               NM       87102-2377
 Thomson Reuters- West                                        PO Box 6292                                                                                                Carol Stream              IL       60197
 Thorntons LLC                                                2600 James thorntown Way                                                                                   Louisville                KY       40245
 Thundrr                                                      5042 Wilshire Blvd #45904                                                                                  Los Angeles               CA       90036
 Tia McCall                                                   PO Box 266824                                                                                              Weston                    FL       33326
 Tiahna Burian                                                1133 11th St N                                                                                             Fargo                     ND       58102
 Tiana Maamari                                                1231 Man O War Place                              Apt 21                                                   Lexingston                KY       40504
 Tiana Musarra                                                3434 Vanderbilt Dr                                                                                         Wellington                FL       33414
 Tianjin Dongda Chemical Group Co.,Ltd.                       728 Kaiwei Rd                                                                                              Binhai New Area Tianjin            300455       China
 Tianna Morse                                                 1491 S Norfolk St                                                                                          Aurora                    CO       80017



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                                                                                                                                   as of October 10, 2022


                        Name                                     Attention                                          Address 1                                 Address 2          Address 3                City       State         Zip            Country
 Tieg Andrew Scott                                                                          550 North Lincoln Ave                            Apt 353                                         Loveland               CO       80537
 Tiffani Hyde                                                                               2900 Falling Acorn Cir                                                                           Lake Mary              FL       32746
 Tiffany Anna Kekhaial                                                                      9065 Janice Glen Ave                                                                             Las Vegas              NV       89148
 Tiffany Bishop                                                                             1368 Eaton Rd                                                                                    San Dimas              CA       91773
 Tiffany Chau                                                                               5644 Eastwind Dr                                                                                 Sarasota               FL       34233
 Tiffany Clemons                                                                            983 Horton Nixon Chapel Rd                                                                       Horton                 AL       35980
 Tiffany Gray Tiffany Toth                                                                  2127 East Brentford Ave                                                                          Orange                 CA       92867
 Tiffany Hallich                                                                            16439 NW 16th St                                                                                 Pembroke Pines         FL       33028
 Tiffany Henriques                                                                          340 Westwind Ct                                                                                  Norwood                NJ        7648
 Tiffany Jeannine Miles                                                                     15497 North 135th Dr                                                                             Surprise               AZ       85374
 Tikristioluwa Ayo-Durojaiye                                                                800 E LancaSuiter Ave                            Villanova Football Office                       Villanova              PA       19085
 TikTok Inc.                                                                                5800 Bristol Pkwy                                                                                Los Angeles            CA       90230-6696
 Timona Alphanso Hendricks                                                                  8855 Okeechobee Blvd                             Apt 204                                         West Palm Beach        FL       33411
 Timothy A Reasoner                                                                         20407 North 29th Way                                                                             Phoenix                AZ       85050
 Timothy A. Rodriguez                                                                       1411 TuLn Dr                                                                                     Richmond               TX       77406
 Timothy Alan Jones                                                                         21069 West Main St                               Apt 210                                         Buckeye                AZ       85396
 Timothy Bartucca Tim                                                                       64 WestcheSuiter Dr                                                                              Attleboro              MA       02703
 Timothy Brown vs. VPX (2022)                    Timothy Brownc/oJonathan Shub (Shub Law Firm
                                                                                            134 Kings Hwy E                                                                                  Haddonfield            NJ       08033
 Timothy Brumfield                                                                          8103 NW 100th Terrace                                                                            Tamarac                FL       33321
 Timothy C Riggs                                                                            2836 Contessa Ct                                                                                 Lake Mary              FL       32746
 Timothy Campbell                                                                           1602 Jackson Keller 1107                                                                         San Antonio            TX       78213
 Timothy Demirijian                                                                         10000 Santa Monica Blvd                                                                          Los Angeles            CA       90067-7000
 Timothy Demirjian                                                                          10000 Santa Monica Blvd                          Apt 1106                                        Los Angeles            CA       90067
 Timothy J Kotowski                                                                         1600 N Park Dr                                                                                   Weston                 FL       33326-3278
 Timothy Jacob Hodges                                                                       6968 Clarkridge Dr                               Apt 302                                         Dallas                 TX       75236
 Timothy Jay Kotowski                                                                       6325 Chadmore Ln Sw                                                                              Ocean Isle Beach       NC       28469
 Timothy Oliver Barnsley Tim Barnsley                                                       4150 Arch Dr 134                                                                                 Studio City            CA       91604
 Timothy P. Evans                                                                           649 Alden St #423                                                                                Fall River             MA       02721
 Timothy Paul Amko                                                                          7383 Southwest 9th Ct                                                                            Plantation             FL       33317
 Timothy T Rogers                                                                           3020 Bickers St 303                                                                              Dallas                 TX       75212
 Tina Le TLDP LLC                                                                           2180 NW Sunset Blvd                                                                              La Canada Flintridge   CA       91011
 Tina Michelle Carter                                                                       7913 Footman Way                                                                                 Raleigh                NC       27615
 Tina Middleton                                                                             12611 Monfort Dr                                                                                 Dallas                 TX       75230
 Tino St George Sangster                                                                    306 Forrest Crest Ct                                                                             Ocoee                  FL       34761
 Title Guaranty of South Florida, Inc.                                                      3265 Meridian Pkwy                                                                               Weston                 FL       33331
 Title365 Company                                                                           750 State Hwy 121 Bypass                                                                         Lewisville             TX       75067
 TK Elevator Corporation Thyssenkrupp Elevator                                              3005 Chastain Meadows Pkwy Suite 100                                                             Marietta               GA       30066
 TMF Chile Asesorias Empresariales Limitada                                                 Mariano Sánchez Fontecilla 310                   Office 201                                      Las Condes                                   Chile
 Toby Dunnagan                                                                              1572 JacqueliNE Ln                                                                               Middleberg             FL       32068
 Tod Alan Ward                                                                              101 Dana Dr                                                                                      Salisbury              NC       28147
 Todd King                                                                                  23009 SE 14th St                                                                                 Sammamish              WA       98075-9339
 Todd W Herrett                                                                             21514 Caribbean Ln                                                                               Panama City Beach      FL       32413
 Tom Barrow Co. dba TBC Supply                                                              732 Joseph Lowerly Blvd Nw                                                                       Atlanta                GA       30318
 Tom Thumb Food Stores, Inc.                                                                97 West Okeechobee Rd                                                                            Hialeah                FL       33010
 Tomas Razo                                                                                 6921 Genevieve                                                                                   Fort Worth             TX       76137
 Tomasz T Leszczynski                                                                       104 Hillvue Dr                                                                                   Seven Fields           PA       16046
 TOMCO2 Systems Company                                                                     3340 Rosebud Rd                                                                                  Loganville             GA       30052
 Tommy Lee Bell                                                                             3360 Berkeley Blvd                                                                               Fort Lauderdale        FL       33312
 Tommy Michael Richard Ruelas                                                               7242 West College Dr                                                                             Phoenix                AZ       85033
 Tommy Ruelas Jr.                                                                           7242 W College Dr                                                                                Phoenix                AZ       85033-1425
 Tonette Carrion                                                                            111 Southeast 2nd St                             Apt 402                                         Delray Beach           FL       33444
 Toney Freeman                                                                              2236 Spring StoNE Ct                                                                             Buford                 GA       30519
 Tonka Holdings, LLC                                                                        13450 Parkers Common Blvd 5                                                                      Fort Myers             FL       33912
 Tony K Nguyen Tony Surphman                                                                1540 N ViNE St #433                                                                              Los Angeles            CA       90028
 Tooling Solutions, Inc.                                                                    PO Box 70925                                                                                     Knoxville              TN       37938
 Topform SP. Z O.O.                                                                         Eudkacji 7                                                                                       Tychy                           43-100       Poland
 Top-Notch Investigation, Inc                                                               1025 Gateway Blvd                                                                                Boynton Beach          FL       33426-8348
 Toppel Career Center University of Miami                                                   5225 Ponce De Leon Blvd                                                                          Coral Gables           FL       33146
 Tops Markets, LLC                                                                          PO Box 1027                                                                                      Buffalo                NY       14240-1027
 Tori Alyxsandra Vild                                                                       7030 Teak Way                                                                                    Alta Loma              CA       91701-5918
 Tori Green                                                                                 1318 N Orange Dr                                                                                 Los Angeles            CA       90028
 Tori Prince                                                                                5535 Pray St                                                                                     Bonita                 CA       91902
 Torie Marino                                                                               120 Gulwinds Dr E                                                                                Palm Harbor            FL       34683
 TORO Pest Management                                                                       1460 NW 107th Ave I                                                                              Miami                  FL       33172
 Torre Locascio                                                                             3051 Red Mangrove Ln North                                                                       Ft Lauderdale          FL       33312
 Torrens Law Firm PLLC                                                                      8045 NW 155th St                                                                                 Miami Lakes            FL       33016
 Torrey A Kyles                                                                             4720 Baileys Lake Rd Nw                          Apt 104                                         Concord                NC       28027
 Tory Centrell Hendrieth                                                                    4174 Inverrary Dr                                Apt 908                                         Lauderhill             FL       33319
 Toshiba America Business Solutions Inc                                                     PO Box 402709                                                                                    Atlanta                GA       30384-2709
 Total 1 AC & Heating                                                                       1040 W 13th St                                                                                   Upland                 CA       91786
 Total Compliance Network, Inc. TCN                                                         5180 W Atlantic Ave Suite 119                                                                    Delray Beach           FL       33484
 Total Compliance Network, Inc. TCN                                                         5646 West Atlantic Blvd                                                                          Margate                FL       33063
 Total Filtration Services, Inc                                                             2521 Commercial Dr                                                                               Auburn Hills           MI       48326-2413
 Total Quality Logistics, LLC TQL                Nicholas Montenarello                      PO Box 634558                                                                                    Cincinnati             OH       45263-4558
 Tow Distributing Corporation                                                               3100 3rd Ave                                                                                     Mankato                MN       56001-2728



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                         Name                                  Attention                                   Address 1                               Address 2          Address 3                 City     State        Zip           Country
 Tow Distributing Corporation                                                   PO Box 3527                                                                                       Mankato               MN       56002
 Town of Medley                                                                 7777 NW 72 Ave                                                                                    Medley                FL       33166
 Town of Southwest Ranches                                                      13400 Griffin Rd                                                                                  Southwest Ranches     FL       33330
 Town Pump Inc.                                                                 600 S Main                                                                                        Butte                 MT       59701
 Toyota Industries Commercial Finance                                           8951 Cypress Waters Blvd Suite 300                                                                Coppell               TX       75019
 Toyota Material Handling Systems Atlanta Fork                                  3111 E Ponce De Leon Ave                                                                          Scottdale             GA       30079
 TPS Investments, Inc The Blindman                                              PO Box 489                                                                                        Harrisburg            NC       28075
 Trace Brazil                                                                   3972 E Torrey Pines Ln                                                                            Chandler              AZ       85249-2102
 Tracey Sparagis Chow Chow Rescue Society                                       6673 Cabello Dr                                                                                   Jacksonville          FL       32226
 Tracy Jeanine DelSalto                                                         8021 Northwest 83rd St                                                                            Tamarac               FL       33321
 Tracy Sterling Brazil                                                          3972 East Torrey Pines Ln                                                                         Chandler              AZ       85249
 Tradeshow                                                                      1600 North Park Dr                                                                                Weston                FL       33326
 Tran T Nguyen Tina Nguyen Tina Nguyen                                          1955 Market Center Blvd                                                                           Dallas                TX       75207
 Trane US Inc,                                                                  PO Box 406469                                                                                     Atlanta               GA       30384-6469
 Trans Coastal Construction                                                     1425 Wilkins Ave                                                                                  West Palm             FL       33401
 Transamerica Employee Benefits                                                 PO Box 742504                                                                                     Cincinnati            OH       45274-2504
 Transcat, Inc. Pippettes.com, A Transcat                                       77 Main St                                                                                        Hopkinton             MA       01748
 Trans-Market, LLC                                                              8915 Maislin Dr                                                                                   Tampa                 FL       33637
 Transverse Specialty Insurance Company                                         15 Independence Blvd                                Suite 430                                     Warren                NJ       07059
 TransWest Investigations, Inc.                                                 30320 Rancho Viejo Rd                                                                             San Juan              CA       90010
 TransWest Investigations, Inc.                                                 30320 Rancho Viejo Rd Suite 1                                                                     San Juan Capistrano   CA       92675-1582
 Travel Centers of America, TA Operating LLC                                    24601 Center Ridge Rd                                                                             Westlake              OH       44145
 Travel Centers of America, TA Operating LLC                                    329 Mason Rd                                                                                      Lavergne              TN       37086-3606
 Travel Centers of America, TA Operating LLC                                    4302 W Buckeye Rd                                                                                 Phoenix               AZ       85043
 Travelers                                                                      PO Box 660317                                                                                     Dallas                TX       75266-0317
 Travelers Property Casualty Company of                                         One Tower Square                                                                                  Hartford              CT       06183
 Travis Allen Deal                                                              5115 63rd St                                                                                      San Diego             CA       92115
 Travis DesLaurier                                                              11023 Mc Cormick St #319                                                                          North Hollywood       CA       91601
 Travis J Cheney                                                                PO Box 9492                                                                                       Colorado Springs      CO       80932
 Travis Mead                                                                    12013 Wheeler Way                                                                                 Oregon City           OR       97045
 Travis Scot Hendrix                                                            7078 Post Rd                                                                                      Winston               GA       30187
 Travis Tyreese Leal-McBride                                                    7751 S Memorial Dr 5106                                                                           Tulsa                 OK       74133
 Travon Hall                                                                    5611 Handel Ct Apartment H                                                                        Richmond              VA       23234
 Treasure Coast Jet Center                                                      3166 Airmans Dr                                                                                   Fort Pierce           FL       34946
 Treasurer State of Maine Division of Liquor                                    8 State HouSE Staion                                                                              Augusta               ME       04333-0008
 Treasurer, State of Connecticut                                                450 Columbus Blvd Suite 801                                                                       Hartford              CT       06103
 Treasurer, State of Maine                                                      28 State HouSE Station                                                                            Augusta               ME       04333-0028
 Tree Connection Inc Laura Malagon Navarrow                                     18946 NW 63rd Ct Cir                                                                              Hialeah               FL       33015-4732
 Tree Connections Inc Juan Manuel Rojas                                         18946 NW 63rd Ct Cir                                                                              Hialeah               FL       33015
 Trenton Ciampi                                                                 7233 West Crown King Rd                                                                           Phoenix               AZ       85043
 Trenton Patrick-Edward Negrete                                                 5739 Jadeite Ave                                                                                  Alta Loma             CA       19737
 Trenton Sy Joseph Kluzek                                                       4200 N Pebble Creek Pkwy                            Apt 1079                                      Goodyear              AZ       85395
 Tres Robert Smith                                                              20317 E Arrowhead Trl                                                                             Queen Creek           AZ       85142-3491
 Trevelyan Todd Bradshaw                                                        79 Ashlyn Dr Se                                                                                   Concord               NC       28025
 Trevor Bell                                                                    3333 BRdway C24H                                                                                  New York              NY       10031
 Trevor David Cates                                                             1142 East Silktassel Trail                                                                        Queen Creek           AZ       85143
 Trevor Garza                                                                   13185 April Dr                                                                                    Riverside             CA       92503
 Trevor Guthrie                                                                 7816 Southside Blvd 187                                                                           Jacksonville          FL       32256
 Trevor O'Neill                                                                 101 Valley Brook Dr                                                                               Silver Spring         MD       20904
 Trey Albright                                                                  6616 Dartmouth Rd                                                                                 Lakeland              FL       33809
 Trey Forest Thompson                                                           329 Farmer Rd                                                                                     Denton                NC       27239
 Treyton Nixon                                                                  4764 Cedarbrook Dr                                                                                Council Bluffs        IA       51503
 Tri Star Energy LLC                                                            1740 Ed Temple Blvd                                                                               Nashville             TN       37208-1850
 Tri State Trade Association                                                    3220 Players Club Pkwy Suite 1                                                                    Memphis               TN       38125
 Triangle Distributing Co.                                                      12065 E Pike St                                                                                   Santa Fe Springs      CA       90670
 Triangle Fire, Inc.                                                            2924 NW 109th Ave                                                                                 Doral                 FL       33172
 Tricia Hernandez                                                               14651 SW 16th St                                                                                  Miami                 FL       33175
 Tri-Eagle Sales                                                                1314 SW 17th St                                                                                   Ocala                 FL       34471-1231
 Tri-Eagle Sales                                                                545 River Birch Rd                                                                                Midway                FL       32343
 Triller INC.                                                                   9737 Great Hills Trails                                                                           Austin                TX       78759
 Trilliant Food & Nutrition, LLC                                                1101 Moasis Dr                                                                                    Little Chute          WI       54140
 Trinh Jenny Goto                                                               2062 E Cameron Way                                  Apt 2053                                      Tempe                 AZ       85281
 Trinity Logistics Inc.                          Laura Dukes                    50 Fallon Ave                                                                                     Seaford               DE       19973-1578
 Trinity Transport, Inc                                                         317 Greenneedles Rd                                                                               Lexington             NC       27295
 Trista M. Tomlinson                                                            5505 Bonner Ave 304                                                                               North Hollywood       CA       91601
 Tristan Marais                                                                 23 Hennie Bingle Ave                                Woodlands Estate                              Potchefstroom                  2521         South Africa
 Tristan Rubiano                                                                822 Dancer Ln                                                                                     Manalapan             NJ       07726
 Tristen Escolastico                                                            3333 Port Royal Dr                                  Apt 706                                       Fort Lauderdale       FL       33308
 Tristen R Ferguson                                                             1600 N Park Dr                                                                                    Weston                FL       33326-3278
 Tristen Robert Ferguson                                                        23675 Southwest 120th Ave                                                                         Homestead             FL       33032
 Tristen Z Penrod                                                               2929 North 70th St                                  Apt 2040                                      Scottsdale            AZ       85251
 Tristian Scott                                                                 1123 Junipero St 3                                                                                Long Beach            CA       90804
 Trivontize D Rollins                                                           6150 Alma Rd                                        Apt 2117                                      Mckinney              TX       75070
 Troi Lake                                                                      11247 SW Barton Way                                                                               Port St Lucie         FL       34987-2788
 Troi Lake                                                                      545 N McClurg CT                                    Apt 1412                                      Chicago               IL       60661



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                        Name                                     Attention                                  Address 1                                 Address 2                        Address 3                             City    State        Zip             Country
 Troy Boone                                                                       6313 Spring HouSE Place                                                                                                       Bridgeville         PA       15017
 Troy S Seydel                                                                    3145 Poppy St                                                                                                                 West Sacramento     CA       95691
 True North Energy, LLC                                                           10346 Brecksville Rd                                                                                                          Breckville          OH       44141
 TrueLook, Inc                                                                    102 W 3rd St Suite 725                                                                                                        Winston-Salem       NC       27101
 Truist Bank                                     Cheryl L Huey                    10500 Little Patuxent Pkwy                          Suite 450                                                                 Columbia            MD       21046
 Truist Bank                                                                      1200 Weston Rd                                                                                                                Weston              FL       33326
 Truist Bank                                     Aimee Kilgore                    50 N Laura St                                                                                                                 Jacksonville        FL       32202
 Truist Bank                                     Cheryl L Huey                    515 E Las Olas Blvd                                 7th Floor                                                                 Ft Lauderdale       FL       33301
 Truist Bank                                     Agency Services Manager          Agency Services                                     303 Peachtree St NE / 25th Floor                                          Atlanta             GA       30308
 Truist Bank                                     c/o Moore & Van Allen            Attn: Charlie Harris                                100 N Tryon St                      Suite 4700                            Charlotte           NC       28202-4003
 Truist Financial Corporation                    Jade Silver                      10500 Little Patuxent Parkway Suite 450                                                                                       Columbia            MD       21046
 Trustpoint Alderson Court Report                                                 3200 Cobb Galleri Parkway Suite200                                                                                            Atlanta             GA       30339
 TSE Industries                                                                   5180 113th Ave N                                                                                                              Clearwater          FL       33760-4835
 TSG Reporting, Inc.                                                              PO Box 95568                                                                                                                  Grapevine           TX       76099-9708
 Tshepiso Edgar Thithi                                                            163 Nelson Mandela Dr                               1706 Loch Logan Dr                                                        Bloemfontein                 9301         South Africa
 TSS South, LLC                                                                   15 Dana Way                                                                                                                   Ludlow              MA       01056-9203
 TTE Laboratories, Inc.                                                           77 Main St                                                                                                                    Hopkinton           MA       01748-3118
 Tucker Hill Air Plumbing & Electric                                              1553 W Elna Rae St Suite 101                                                                                                  Tempe               AZ       85281-5222
 Tucson RV Storage                                                                5450 N Camino De La Tierra                                                                                                    Tuscon              AZ       85705
 Tung Tat                                                                         31176 Old Trail Cir                                                                                                           Muricta             CA       92563
 Turi Haim                                                                        5250 Lankershim Blvd #500                                                                                                     North Hollywood     CA       91601
 Turner Beverage Company, Inc.                                                    1935 Max Luther Dr Nw                                                                                                         Huntsville          AL       35811-1617
 Turning Point USA                                                                217 12 Illinois St                                                                                                            Lemont              IL       60439
 TUV SUD America Inc                                                              10 Centennial Dr                                                                                                              Peaboy              MA       01960
 Twenty - Two Inc. The Yard Ramp Guy                                              19818 W West Shore Dr                                                                                                         Mundelein           IL       60060
 Twin City Security                                                               105 Garfield St S Suite 100                                                                                                   Cambridge           MN       55008-1767
 Twitch Interactive, Inc.                                                         350 Bush St                                                                                                                   San Francisco       CA       94104
 Two Pillar Management, LLC                                                       4700 Millenia Blvd Suite 400                                                                                                  Orlando             FL       32839
 TXU Electric                                                                     PO Box 13326                                                                                                                  Austin              TX       78711-3326
 TXU Energy                                                                       PO Box 650638                                                                                                                 Dallas              TX       75265-0638
 Ty J Meissner                                                                    1600 N Park Dr                                                                                                                Weston              FL       33326-3278
 Ty Jason Meissner                                                                18149 Rachael Dr                                                                                                              Sandy               OR       97055
 Tyler A. March                                                                   5 PrimroSE Ln                                                                                                                 Carlisle            PA       17015
 Tyler A. Zaryki                                                                  3336 Waterside Dr                                                                                                             Akron               OH       44319
 Tyler Abron                                                                      11136 Chandler Blvd 318                                                                                                       North Hollywood     CA       91601
 Tyler Austin Bullerwell                                                          8678 Falling Blue Place                                                                                                       Riverview           FL       33578
 Tyler Burke                                                                      11444 N 28th Dr                                     Apt 12                                                                    Phoenix             AZ       85029
 Tyler Dwayne Nobis                                                               30 W Carter Dr 7-206                                                                                                          Tempe               AZ       85282
 Tyler Geyer                                                                      1136 Northeast 2nd Ave                                                                                                        Fort Lauderdale     FL       33304
 Tyler Gross                                                                      2138 Westgate Dr                                                                                                              Bethlehem           PA       18017
 Tyler Gutierrez                                                                  16914 Obsidian Dr                                                                                                             Ramona              CA       92065-6839
 Tyler Harley Urbach                                                              805 Via Lido Nord                                                                                                             Newport Beach       CA       92663
 Tyler Joseph Kroll                                                               310 5th Ave Ne                                                                                                                St Stephen          MN       56375
 Tyler Lee Brown                                                                  13720 North 88th Ave                                Apt 1027                                                                  Peoria              AZ       85381
 Tyler Purdom                                                                     1405 Village Ln                                                                                                               Winter Park         FL       32792-3411
 Tyler Rosales                                                                    147 Devonshire Trail                                                                                                          Hendersonville      TN       37075
 Tyler S Flanagan                                                                 6151 NW 44th Terrace                                                                                                          Coconut Creek       FL       33073
 Tyler S Richardson                                                               1600 N Park Dr                                                                                                                                    FL       33326-3278
 Tyler Sales Company Inc.                                                         2100 Park St                                                                                                                   Muskegon Hts       MI       49444-1047
 Tyler Salomone                                                                   5731 Northeast 20th Terrace                                                                                                    Fort Lauderdale    FL       33308
 Tyler Sean Schultheis                                                            2622 Flournoy Cir S 2114                                                                                                       Clearwater         FL       33764
 Tyler Smith                                                                      17748 West Mandalay Ln                                                                                                         Surprise           AZ       85388
 Tyler Steven Richardson                                                          6914 Chimney Hill Rd                                                                                                           Crestwood          KY       40014
 Tyriq Kuykendall                                                                 10127 State Hwy 16 #8207                                                                                                       San Antonio        TX       78224
 Tyrone Scott Jackson                                                             10425 West Windsor Ave                                                                                                         Avondale           AZ       85392
 TYSON HARPER                                                                     12803 Orpington St                                                                                                             Orlando            FL       32826
 Tzitel Voss                                                                      8350 141 St W                                                                                                                  Apple Valley       MN       55124
 Tzurumu Tzen Pahva Soda                                                          430 Imperial St                                                                                                                Oxnard             CA       93030
 U.S Pharmacopeial Convention USP                                                 12601 Twinbrook Parkway                                                                                                        Rockville          MD       20852
 U.S. Bank Equipment Finance                                                      1310 Madrid St                                                                                                                 Marshall           MN       56258
 U.S. Bank National Association                                                   1310 Madrid St Suite 100                                                                                                       Marshall           MN       56258-4001
 U.S. Collections West, Inc                                                       PO Box 39695                                                                                                                   Phoenix            AZ       85069
 U.S. Conveyor Solutions, Inc.                                                    3714 County Rd 561                                                                                                             Tavares            FL       32778
 U.S. Copyright Office                                                            101 Independence Ave Se                                                                                                        Washigton          DC       20559-6000
 U.S. Department of Homeland Security                                             10731 Walker St                                                                                                                Cypress            CA       90630
 U.S. Health Works                                                                PO Box 50042                                                                                                                   Los Angeles        CA       90074
 U.S. Legal Support, Inc.                                                         PO Box 4772-12                                                                                                                 Houston            TX       77210-4772
 Uber Frieght LLC                                                                 1455 Market St 4th Floor                                                                                                       San Francisco      CA       94103
 Uber Frieght LLC                                                                 555 Market St 15th Floor                                                                                                       San Francisco      CA       94105
 UBI Logistics (China) Limited Shenzhen Branch                                    #5 South Huancheng Rd                               Room 815-816 Block C1               Bantian Sub-District Longgang District Shenzhen                    518129       China
 UH Structures, Inc. dba Ebtech Industrial                                        2241 Industrial Dr                                                                                                             Connellsville      PA       15425
 Uknow Entertainment LLC                                                          151 SE 1 St #1502                                                                                                              Miami              FL       33131
 UL Verification Services, Inc                                                    333 PfingSuiten Rd                                                                                                             Northbrook         IL       60062-2002
 Uldouz Wallace                                                                   2416 W Victory Blvd #189                                                                                                       Burbank            CA       91506
 Ultimate Boat & RV Storage                                                       22211 West Newberry Rd                                                                                                         Newberry           FL       32669



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                        Name                                             Attention                                           Address 1                                Address 2                       Address 3                 City    State        Zip           Country
 Ultimate OEM, LLC Ken Sanders                                                                      4811 E Sam Houston Pkwy S                                                                                     Pasadena             TX       77505-3963
 Ultra Air Cargo Inc                                                                                17256 S Main St                                                                                               Gardena              CA       90248
 Umar Feyzul                                                                                        2847 Laurelstone Ln                                                                                           Bowling Green        KY       42104-4784
 UMC Recordings, Inc.                                                                               2220 Colorado Ave                                                                                             Santa Monica         CA       90404
 UMG Recordings vs. VPX & Owoc (2021)              All plaintiffs c/o Brendan Stuart Everman(Strooc 200 S Biscayne Blvd                                                                                           Miami                FL       33131
 Underscore Talent Management Marco Hall                                                            11 Anthem Pointe Ct                                                                                           Henderson            NV       89052-6605
 Ungerer & Company                                                                                  4 Ungerer Way                                                                                                 Lincoln Park         NJ       07035-1449
 Unibloc-Pump,LLC                                                                                   1650 Airport Rd Suite 110                                                                                     Kennesaw             GA       30144
 UniChem Enterprises, Inc                                                                           1905 S Lynx Ave                                                                                               Ontario              CA       91761-8055
 Unified Strategies Group, Inc                                                                      1000 Village Dr Suite 200                                                                                     Greensburg           PA       15601
 Unifirst Corp                                                                                      104 N 14th St                                                                                                 Phoenix              AZ       85034
 Union Beer Distributors, LLC Speedway                                                              46 Meadowlands Pkwy                                                                                           Secaucus             NJ       07094
 Union Pacific Railroad Company                                                                     1400 Douglas St                                                                                               Omaha                NE       68179
 UnionTape USA, Inc                                                                                 15230 Herriman Blvd                                                                                           Noblesville          IN       46060
 United Beverages of NC LLC                                                                         PO Box 818                                                                                                    Hickory              NC       28603-0818
 United Community Bank                             Brett Brown                                      1001 Polk St                                                                                                  Marietta             GA       30064
 United Data Technologies, Inc.                                                                     PO Box 850001                                                                                                 Orlando              FL       32885-0627
 United Expert Holding, LLC dba Round Table                                                         909 W Euclid Ave # 1687                                                                                       Arlington Heights    IL       60006-2168
 United Food & Beverage, LLC                                                                        319 Scenter St                                                                                                Hildebran            NC       28637
 United Franchise Owners of North Florida and                                                       8044 Kiawah Trce                                                                                              Port St Lucie        FL       34986-3023
 United Health Care                                                                                 3100 SW 145th Ave 2nd Floor                                                                                   Miramar              FL       33027
 United Healthcare                                                                                  3100 SW 145th Ave                                 2nd Floor                                                   Miramar              FL       33027
 United Pacific                                                                                     4130 Cover St                                                                                                 Long Beach           CA       90808-1885
 United Refrigeration, Inc.                                                                         11401 Roosevelt Blvd                                                                                          Philadelphia         PA       19154
 United Specialty Insurance Company                                                                 1900 L Don Dodson                                                                                             Bedford              TX       76021
 United Specialty Insurance Company                                                                 PO Box 24622                                                                                                  Fort Worth           TX       76124
 United States Treasury                                                                             PO Box 1214                                                                                                   Charlotte            NC       28201-1214
 United Supermarkets, LLC                                                                           PO Box 6840                                                                                                   Lubbock              TX       79493
 United-Johnson Brothers of Alabama, LLC                                                            6000 Greenwood Pkwy Suite 100                                                                                 Bessemer             AL       35022-5689
 Universal Industrial Supply Inc.                                                                   PO Box 706336                                                                                                 Cincinnati           OH       45270-6336
 Universal Music Corp.                                                                              Gravelandseweg 80                                                                                             Hilversum                     1217 EW      Netherlands
 Universal Music Z Tunes LLC                                                                        350 North St Paul St                                                                                          Dallas               TX       75201
 Universal Musica, Inc.                                                                             2220 Colorado Ave                                                                                             Santa Monica         CA       90404
 Universal Music-MGB NA, LLC                                                                        2110 Colo Ave Suite 110                                                                                       Santa Monica         CA       90404
 Universal Pallets                                                                                  4492 Commerce Dr Sw                                                                                           Atlanta              GA       30336
 Universal Protection Service, LP Allied Universal                                                  161 Washington St Suite 600                                                                                   Conshohocken         PA       19428-2083
 University Health Alliance UHA                                                                     PO Box 29590                                                                                                  Honolulu             HI       96820
 University of Georgia                                                                              120 Riverhead Rd                                                                                              Athens               GA       30602
 University of West Florida UWF                                                                     11000 University Parkway                                                                                      Pensacola            FL       32514
 Unlimited Sports MX, Inc.                                                                          PO Box 783606                                                                                                 Winter Garden        FL       34778
 Updike Distribution                                                                                435 South 59th Ave Suite 100                                                                                  Phoenix              AZ       85043
 Upgrade Marketing Group Julian Gregorio                                                            4740 Warner Ave #210                                                                                          Huntington Beach     CA       92649
 Upland Collision Craft, Inc.                                                                       1785 W Arrow Rte B3                                                                                           Upland               CA       91786
 Uprise Management, LLC Andrea Espada                                                               1137 North Central Ave 1205                                                                                   Glendale             CA       91202
 Uprise Manangement LLC Ali Saleh                                                                   2317 Mount Olympus Dr                                                                                         Los Angeles          CA       90046
 UPS Freight                                                                                        PO Box 650690                                                                                                 Dallas               TX       75265
 Urban Shed Concepts LLC                                                                            310 S 43rd Ave                                                                                                Phoenix              AZ       85009
 US Attorney’s Office for the District of Delaware Attn: David C Weiss                              Hercules Building Suite 400                       1313 N Market St Suite 400                                  Wilmington           DE       19801
 US Export Expeditors, LLC                                                                          1050 Connecticut Ave Nw                                                                                       Washington           DC       20036
 US Fire Insurance Company                                                                          305 Madison Ave                                                                                               Morristown           NJ       07960
 USA Shrinkwraps Solutions                                                                          800 SE 11th Ct                                                                                                Fort Lauderdale      FL       33316
 USA Sweeping Inc.                                                                                  PO Box 941496                                                                                                 Miami                FL       33194
 USG-CO-op                                                                                          100 Village Dr                                    Suite 200                           4764 State RT 30        East Greenburg       PA       15601
 USI Insurance Company                                                                              PO Box 62689                                                                                                  Virginia Beach       VA       23466
 USPTO United State Patent and Trademark                                                            600 Dulany St                                                                                                 Alexandria           VA       22314
 Utah Department of Workforce Services                                                              140 East 30 South                                                                                             Salt Lake            UT       84111
 Utah Dept. of Alcoholic Beverage Control                                                           PO Box 30408                                                                                                  Salt Lake City       UT       84130-0408
 Utah Office of the Attorney General                                                                Utah State Capitol Complex                        350 North State St Suite 230                                Salt Lake City       UT       84114
 Utah State Tax Commission                                                                          PO Box 31431                                                                                                  Salt Lake City       UT       84131-9988
 Uthman Ali                                                                                         10437 N Macarthur Blvd 180                                                                                    Irving               TX       75063
 V2 Entertainment Inc.                                                                              3495 South Federal Highway F                                                                                  Boynton Beach        FL       33435
 Vac-U-Max                                                                                          69 William St                                                                                                 Belleville           NJ       07109-3040
 Vadim Lasca                                                                                        1000 Trailmore Ln                                                                                             Weston               FL       33326-2816
 Vahag Leon Tavitian                                                                                13833 West Bola Dr                                                                                            Surprise             AZ       85374
 Vail Valley Foundation                                                                             PO Box 6550                                                                                                   Avon                 CO       81620
 Valencia Pipe Company                                                                              28839 Industry Dr                                                                                             Valencia             CA       91355
 Valencia Producciones FX                                                                           Carrera 22 22                                                                    58                           Bogota                        142          Colombia
 Valentina Camacho Henao VCglam                                                                     3797 NW 164th St                                                                                              Miami Gardens        FL       33054
 Valentina Lopez                                                                                    460 NE 28th St 3008                                                                                           Miami                FL       33137
 Valentina Mata                                                                                     14608 Murfield Ct                                                                                             Charlotte            NC       28278
 Valentina Ortiz Valderrama                                                                         Calle 2 #79-35 Mirador de la Mota                 Apt 506                                                     Medellin                      500          Colombia
 Valentina Ospina Ramirez                                                                           Calle 53                                          #74-125 403                                                 Medellin                                   Colombia
 Valentina Rodriguez                                                                                2601 NW 16th St Rd                                Apt 612                                                     Miami                FL       33125
 Valentina Rodriguez Mammarella                                                                     2601 NW 16th St Rd 612                                                                                        Miami                FL       33125-1489
 Valentina Ruiz                                                                                     3850 Tree Top Dr                                                                                              Weston               FL       33332



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                        Name                                   Attention                                 Address 1                                       Address 2                    Address 3                City       State      Zip              Country
 Valentina Torres                                                               1732 Royal Grove Way                                                                                              Weston                 FL     33327
 Valeria Duque Hernandez                                                        Calle 20 Sur #25 B 109                                    Torres de San Lucas Apt 401    Antioquia                Medellin                      50022        Colombia
 Valeria Gonzalez Sandoval Samos Parceros                                       1861 NW South River Dr O 2503                                                                                     Miami                  FL     33125
 Valeria Orsini                                                                 3000 Coral Way 1008                                                                                               Miami                  FL     33145
 Valeria Sandoval                                                               58 NE 14th St                                             Unit 1612                                               Miami                  FL     33132
 Valerie Constant                                                               7696 Maywood Crest Dr                                                                                             West Palm Beach        FL     33412
 Valerie Cossette                                                               1158 Curé-Labelle                                         Apt 308                                                 Blainville             QC     J7C 3J4      Canada
 Valerie Cossette 9409-9249 Quebec Inc                                          1158 Curé-Labelle                                         App 308                                                 Blainville             QuebecJ7C 3J4       Canada
 Valerie Moniz                                                                  245 Huxley Dr                                                                                                     Brick                  NJ     08723
 Valerie Parmely                                                                120 14th St                                                                                                       Huntington Beach       CA     92648
 Valerie Vargas                                                                 19355 NE 10 Ave                                           Apt 516                                                 North Miami Beach      FL     33179
 Valerie Vargas                                                                 2304 St Johns Bluff Rd S                                                                                          Jacksonville           FL     32246
 Valin Corporation                                                              5225 Hellyer Ave Suite 250                                                                                        San Jose               CA     95138-1023
 Vallarta Supermarkets                                                          12881 Bradley Ave                                                                                                 Sylmar                 CA     91342
 Valley Beverage Distributors, LLC                                              390 N Eucalyptus Ave                                                                                              Blythe                 CA     92225-1554
 Valley Distributors, Inc.                                                      2075 Lisbon Rd                                                                                                    Lewiston               ME     04240-1311
 Valley Distributors, Inc.                                                      PO Box 2007                                                                                                       Lewiston               ME     04241
 Valley Sales Co., Inc.                                                         1218 8th St Se                                                                                                    Jamestown              ND     58401-4934
 Van Marcke Trade Supply                                                        813 E University Dr                                                                                               Phoenix                AZ     85034
 Vance Rahamid Akins                                                            98 Carolina Ave Northeast                                                                                         Concord                NC     28025
 Vaneshea Kaye Anderson                                                         4937 West Myrtle Ave                                                                                              Glendale               AZ     85301
 Vanessa A Coatney                                                              1600 N Park Dr                                                                                                    Weston                 FL     33326-3278
 Vanessa Ann Coatney                                                            405 Kayla St                                                                                                      Troy                   TX     76579
 Vanessa Elizabeth De La Torre                                                  2560 Southwest 140th Ave                                                                                          Miami                  FL     33175
 Vanessa Fernandes De Freitas                                                   16 Da Gama St                                             Dewetshof                                               Johannesburg                  2198         South Africa
 Vanessa Gonzales                                                               136 Sonoma St                                                                                                     Watsonville            CA     95076
 Vanessa Hays                                                                   14800 Pete Dye St                                                                                                 Moreno Valley          CA     92555
 Vanessa Lee Stevens                                                            13202 Briar Forest Dr 3147                                                                                        Houston                TX     77077-2473
 Vanessa Polcari                                                                3248 Arden Villas Blvd #26                                                                                        Orlando                FL     32817
 Vanessa Roldan Bedoya                                                          Edificio Plaza norte Av Carrera 9 # 104a - 51             Apt 106                                                 Bogota                                     Colombia
 Vanessa Salazar                                                                727 West Pinewood Ct                                                                                              Lake Mary              FL    32746
 Vanessa Seco                                                                   3720 Deervale Dr                                                                                                  Sherman Oaks           CA    91403
 Vanessa Twyman                                                                 52 Protea Heights Sugarbush Estates                       Paardeplaats                   Gauteng                  Krugersdorp                  1739          South Africa
 Vango, LLC.                                                                    PO Box 7551                                                                                                       Covington              WA    98042-0044
 Vania Bludau                                                                   488 NE 18th St                                            Apt 4810                                                Miami Beach            FL    33132
 Vania Bludau                                                                   488 NE 18th St 811                                                                                                Miami                  FL    33132
 Vanina Schmid                                                                  3912 Cascade Terrace                                                                                              Weston                 FL    33332
 Vantage Point Corp.                                                            5700 77th St                                                                                                      Kenoshe                WI    53142
 Varni Brothers Corporation                   McClure, Laura                    400 Hosmer Ave                                                                                                    Modesto                CA    95351-3920
 Vasia Alex Coley                                                               2428 Summit Ln                                                                                                    Dallas                 TX    75227
 Vaughn Christian Wilson                                                        8703 Imperial Ct                                                                                                  Tampa                  FL    33635-1513
 Vault Reciprocal Exchange                                                      300 First Ave South                                                                                               St Petersburg          FL    33701
 Vaxxen Labs Incorporated                                                       5310 Warren Ave                                                                                                   Cortland               OH    44410
 VB Quality Solutions LLC                                                       5720 Bozeman Dr 11521                                                                                             Plano                  TX    75024-5704
 VDF FutureCeuticals, Inc                                                       300 W 6th St                                                                                                      Momence                IL    60954-1136
 Vedit LLC Matthew Gonzalez                                                     1246 El Vago St                                                                                                   La Canada Flintridge   CA    91011
 Vegas Maid LLC                                                                 8545 W Warm Springs Rd Suite A4182                                                                                Las Vegas              NV    89113
 Vegas Propane, Inc                                                             4610 Eaker St                                                                                                     N Las Vegas            NV    89081
 Vendors Supply Inc. - North Carolina                                           PO Box 1441                                                                                                       Salisbury              NC    28145
 Venessa Nieto                                                                  2900 NE 7th Ave 2906                                                                                              Miami                  FL    33137
 Venner Shipley LLP                                                             200 Aldersgate                                                                                                    London                       EC1A 4HD      United Kingdom
 Ventura Twins(Brando, Brayan)                                                  16225 SW 96th Ter                                                                                                 Miami                  FL    33196
 Vera Rosas Registro e Legalizacao LTDA                                         Jardim Paulista 376                                                                                               Sao Paulo              SP    01423-010     Brazil
 Verbatim Reporting Limited                                                     2 E Mifflin St Suite 102                                                                                          Madison                WI    53703-4268
 Verc Enterprises In.                                                           5 Chestnut St Po Box 2809                                                                                         Duxbury                MA    02331
 Veritex, LLC                                                                   290 W Pleasant Ave                                                                                                Livingstone            NJ    07039
 Veritext                                                                       2 South AyNE Blvd Suite 2250                                                                                      Miami                  FL    33131-1815
 Veritiv Operating Company dba All American                                     1000 Albernathy Rd NE                                     Bldg 400                       Suite 1700               Atlanta                GA    30328-5658
 Verizon                                                                        PO Box 489                                                                                                        Newark                 NJ    07101
 Verizon                                                                        PO Box 15069                                                                                                      Albany                 NY    12212
 Vermont Attorney General's Office                                              109 State St                                                                                                      Montpelier             VT    05609
 Vermont Dept. of Liquor and Lottery                                            13 Green Mountain Dr                                                                                              Montpelier             VT    05602
 Vermont Information Processing                                                 402 Water Tower Cir                                                                                               Colchester             VT    05446
 Veronica Aizpurua                                                              8184 SW 163 Ct                                                                                                    Miami                  FL    33193
 Veronica Espinosa                                                              1098 W Shamrock St                                                                                                Rialto                 CA    92376
 Veronica Fasulo                                                                4 Manning Ct                                                                                                      Hamilton               ON    L9A3E5        Canada
 Veronica Gonzalez                                                              3635 NE 1St Ave 1010                                                                                              Miami                  FL    33137
 Veronica Gussie                                                                4028 Center Ave                                                                                                   Lyons                  IL    60534
 Veronica Lagor                                                                 6920 SW 44th St                                           Apt 204                                                 Miami                  FL    33155
 Versatille Packaging of Tampa                                                  933 Chad Ln                                                                                                       Tampa                  FL    33619-4331
 Vestra Solutions LLC                                                           PO Box 25105                                                                                                      Tamarac                FL    33320-5105
 VFS Fire & Security Services Bernel Inc.                                       501 W Southern Ave                                                                                                Orange                 CA    92865
 Vianca Paola Patino                                                            4443 Aruba Blvd                                                                                                   Clermont               FL    34711
 Viasat                                                                         20511 Seneca Meadows Pkwy                                 Suite 200                                               Germantown             MD    20876
 Viasat Business Internet                                                       6155 El Camino Real                                                                                               Carlsbad               CA



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                                                                                                                                     as of October 10, 2022


                         Name                                  Attention                                              Address 1                               Address 2          Address 3                 City    State        Zip          Country
 Vicarelys Gutierrez Roman                                                                   119 Passaic Ave 417                                                                             Kearny               NJ       07032
 Victor Donald Rodriguez                                                                     8913 West Gibson Ln                                                                             Tolleson             AZ       85353
 Victor J La Tempa                                                                           7642 East Boise St                                                                              Mesa                 AZ       85207
 Victor M Figueroa                                                                           24523 Southwest 110th Place                                                                     Homestead            FL       33032
 Victoria Albano                                                                             13051 SW 17th Ct                                                                                Miramar              FL       33027
 Victoria Ballanti                                                                           3924 Osprey Ct                                                                                  Weston               FL       33331
 Victoria Hughes                                                                             6044 NW 83rd Terrace                                                                            Parkland             FL       33067
 Victoria Ives Raimondi                                                                      3301 West Baylor Ln                                                                             Chandler             AZ       85226
 Victoria Kennedy                                                                            15 Wenderly Dr                                                                                  Aurora               ON       L4G 1V2      Canada
 Victoria Konovalova                                                                         1815 S Westside Dr                                Unit 5116                                     Anaheim              CA       92805
 Victoria Marie Allen Tori                                                                   3501 South Maryland Parkway                                                                     Las Vegas            NV       89169
 Victoria Rose Mckay                                                                         1245 North 9th St                                                                               East Alton           IL       62024
 Victoria Schexnayder                                                                        1222 S 11th St # 7201                                                                           Waco                 FL       76706
 Victoria Skillings Tori Skillings                                                           9500 Daly Dr                                                                                    Plano                TX       75025
 Victoria Xavier                                                                             6580 Ambrosia Ln #310                                                                           Carlsbad             CA       92011
 Victoria Yurievna Austin                                                                    209 West Riverbend Dr                                                                           Sunrise              FL       33326
 Victory Marketing LLC Sprint Mart                                                           PO Box 2296                                                                                     Ridgeland            MS       39158
 Video for the Legal Profession, Inc.                                                        2500 Hollywood Blvd Suite 309-4                                                                 Hollywood            FL       33020-6615
 Viktoria Shchorba                                                                           518 S Rainbow Dr                                                                                Hollywood            FL       33021
 Village of Palatine                                                                         200 East Wood St                                                                                Palatine             IL       60067
 Vincent Joseph Calaci                                                                       17175 Carlson Dr                                  Apt 515                                       Parker               CO       80134
 Vincent Michael Milano                                                                      2490 Martin Ave                                                                                 Bellmore             NY       11710
 Vincent Richard Rodriguez                                                                   3581 South Holguin Ct                                                                           Chandler             AZ       85248
 Vinton Packaging Group, Inc.                                                                3766 Habour Landing Dr                                                                          Gainsville           GA       30506
 VIP Custom Events LLC                                                                       PO Box 656                                                                                      Tye                  TX       79563
 VIP Vending LLC                                                                             3542 E BRdway Rd                                                                                Phoenix              AZ       85040
 Viper Tradeshow Services                                                                    2575 Northwest Pkwy                                                                             Elgin                IL       60124
 Viral Nation Inc.                                                                           2355 Skymark Ave                                  #200                                          Mississauga          ON       L4W 4Y6      Canada
 Virgil Leroy Osborn III                                                                     2616 Sands Rd                                                                                   Lakeland             FL       33810
 Virginia Alcoholic Beverage Control                                                         2901 Hermitage Rd                                                                               Richmond             VA       23220
 Virginia Department of Taxation             Attn: Virgina Tax Office of Customer Services   PO Box 1115                                                                                     Richmond             VA       23218-1115
 Virginia Eagle Distributing Company, LLC                                                    100 Lichford Ln                                                                                 Lynchburg            VA       24502
 Virginia Eagle Distributing Company, LLC                                                    2100 Monte Vista Dr                                                                             Pulaski              VA       24301
 Virginia Eagle Distributing Company, LLC                                                    224 Industrial Ct                                                                               Frederickburg        VA       22151
 Virginia Eagle Distributing Company, LLC                                                    3425 Valley Pike                                                                                Winchester           VA       22602
 Virginia Eagle Distributing Company, LLC                                                    669 Gold Eagle Dr                                                                               Charlottesville      VA       22903
 Virginia Eagle Distributing Company, LLC                                                    6839 Industrial Rd                                                                              Springfield          VA       22151
 Virginia Eagle Distributing Company, LLC                                                    827 Lee Hwy                                                                                     Verona               VA       24482-2811
 Virginia Office of the Attorney General                                                     202 N Ninth St                                                                                  Richmond             VA       23219
 Vista Color Corporation                                                                     1401 NW 78th Ave                                                                                Doral                FL       33126-1616
 Vista Retail Solutions, LLC                                                                 135 Quail Bluff Ln                                                                              Aledo                TX       76008-5828
 Vistar - Performance Food Group, Inc.                                                       1 Ikea Dr                                                                                       Elizabeth            NJ       07207
 Vistar - Performance Food Group, Inc.                                                       1 Performance Blvd                                                                              Springfield          MA       01104
 Vistar - Performance Food Group, Inc.                                                       101 Esplanade Blvd Suite 100                                                                    Houston              TX       77060
 Vistar - Performance Food Group, Inc.                                                       1047 17th Ave                                                                                   Santa Cruz           CA       95062
 Vistar - Performance Food Group, Inc.                                                       1109 Commerce Blvd                                                                              Swedesboro           NJ       08085
 Vistar - Performance Food Group, Inc.                                                       115 E CrossRds Parkway Suite B                                                                  Bolingbrook          IL       60440
 Vistar - Performance Food Group, Inc.                                                       12475 Mustang Rd                                                                                Sparks               NV       89434
 Vistar - Performance Food Group, Inc.                                                       125 Smith St                                                                                    Farmingdale          NY       11735
 Vistar - Performance Food Group, Inc.                                                       12626 International Parkway                                                                     Dallas               TX       75228
 Vistar - Performance Food Group, Inc.                                                       1333 Avondale Rd                                                                                New Windsor          MD       21776
 Vistar - Performance Food Group, Inc.                                                       150 E Greg St Suites 101102103                                                                  Sparks               NV       89431
 Vistar - Performance Food Group, Inc.                                                       1560 Howard St                                                                                  Elk Grove Village    IL       60007
 Vistar - Performance Food Group, Inc.                                                       16270 Jurupa Ave Suite 200                                                                      Fontana              CA       92337
 Vistar - Performance Food Group, Inc.                                                       16295-B NW 13th Ave                                                                             Miami                FL       33169
 Vistar - Performance Food Group, Inc.                                                       16639 E Gale Ave                                                                                City Of Industry     CA       91745
 Vistar - Performance Food Group, Inc.                                                       1700 Ave B                                                                                      Kissimmee            FL       34758
 Vistar - Performance Food Group, Inc.                                                       175 Sullivan Ave                                                                                South Windsor        CT       06074
 Vistar - Performance Food Group, Inc.                                                       1800 Elm Hill Pike                                                                              Nashville            TN       37210
 Vistar - Performance Food Group, Inc.                                                       18201 NE Portal Way Suite 106                                                                   Portland             OR       97230
 Vistar - Performance Food Group, Inc.                                                       19606 NE San Rafael                                                                             Portland             OR       97230
 Vistar - Performance Food Group, Inc.                                                       20 Dalton Rd                                                                                    Augusta              ME       04330
 Vistar - Performance Food Group, Inc.                                                       201 Lawton Ave                                                                                  Monroe               OH       45050
 Vistar - Performance Food Group, Inc.                                                       204 North Brownson                                                                              Victoria             TX       77901
 Vistar - Performance Food Group, Inc.                                                       211 Alton Hall Rd                                                                               Cairo                GA       39828
 Vistar - Performance Food Group, Inc.                                                       215 Waterloo Valley Rd                                                                          Budd Lake            NJ       07828
 Vistar - Performance Food Group, Inc.                                                       2160 Breckinridge Blvd                            Bldg 300                                      Lawrenceville        GA       30043
 Vistar - Performance Food Group, Inc.                                                       2324 Bayou Blue Rd                                                                              Houma                LA       70364
 Vistar - Performance Food Group, Inc.                                                       2434 S 10th St                                                                                  Phoenix              AZ       85034
 Vistar - Performance Food Group, Inc.                                                       2590 Elm Rd Ne                                                                                  Warren               OH       44483
 Vistar - Performance Food Group, Inc.                                                       2701 Stanley Gault Parkway                                                                      Louisville           KY       40223
 Vistar - Performance Food Group, Inc.                                                       2801 Alex Lee Blvd                                                                              Florence             SC       29506
 Vistar - Performance Food Group, Inc.                                                       290 East El Prado Ct                                                                            Chandler             AZ       85225
 Vistar - Performance Food Group, Inc.                                                       2901 Titan Row Suite 136                                                                        Orlando              FL       32809
 Vistar - Performance Food Group, Inc.                                                       301 Heron Dr                                                                                    Swedesboro           NJ       08085



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                       Name                                   Attention                                Address 1                               Address 2          Address 3                City    State        Zip            Country
 Vistar - Performance Food Group, Inc.                                         3150 N Gallagher Rd                                                                            Dover               FL       33527
 Vistar - Performance Food Group, Inc.                                         3160 Hanford Dr                                                                                Lebanon             PA       17046
 Vistar - Performance Food Group, Inc.                                         33000 Smith Rd                                                                                 Romulus             MI       48174
 Vistar - Performance Food Group, Inc.                                         350 Clark Dr Suite W1                                                                          Budd Lake           NJ       07828
 Vistar - Performance Food Group, Inc.                                         3501 Old Oakwood Rd                                                                            Oakwood             GA       30566
 Vistar - Performance Food Group, Inc.                                         3595 NW 125th St                                                                               Miami               FL       33167
 Vistar - Performance Food Group, Inc.                                         3737 North Broadway                                                                            St Louis            MO       63147
 Vistar - Performance Food Group, Inc.                                         3765 Port Union Rd                                                                             Fairfield           OH       45014
 Vistar - Performance Food Group, Inc.                                         3909 Holt Rd                                                                                   Holt                MI       48842
 Vistar - Performance Food Group, Inc.                                         40 Melville Park Rd                                                                            Melville            NY       11747
 Vistar - Performance Food Group, Inc.                                         401 Maddox Simpson Pkwy                                                                        Lebanon             TN       37090
 Vistar - Performance Food Group, Inc.                                         40B Cotters Ln                                                                                 East Brunswick      NJ       08816
 Vistar - Performance Food Group, Inc.                                         4141 Lucius Mccelvey Dr                                                                        Temple              TX       76503
 Vistar - Performance Food Group, Inc.                                         455 S 75th Ave                                                                                 Phoenix             AZ       85043
 Vistar - Performance Food Group, Inc.                                         4551 West Junction                                                                             Springfield         MO       65802
 Vistar - Performance Food Group, Inc.                                         4754-B Mcconnell Center Dr                                                                     Greensboro          NC       27405
 Vistar - Performance Food Group, Inc.                                         4825 NW 41St St Suite 100                                                                      Riverside           MO       64150
 Vistar - Performance Food Group, Inc.                                         4901 Asher Ave                                                                                 Little Rock         AR       72204
 Vistar - Performance Food Group, Inc.                                         4905 New York Ave Suite 101                                                                    Arlington           TX       76018
 Vistar - Performance Food Group, Inc.                                         4935 Outland Center Dr Suite 101                                                               Memphis             TN       38118
 Vistar - Performance Food Group, Inc.                                         5030 BaseliNE Rd                                                                               Montgomery          IL       60538
 Vistar - Performance Food Group, Inc.                                         506 Highway 35 N                                                                               Batesville          MS       38606
 Vistar - Performance Food Group, Inc.                                         5225 Investment Dr                                                                             Dallas              TX       75236
 Vistar - Performance Food Group, Inc.                                         5262 Air Park Blvd                                                                             Morristown          TN       37813
 Vistar - Performance Food Group, Inc.                                         543 12th St Dr Nw                                                                              Hickory             NC       28603
 Vistar - Performance Food Group, Inc.                                         557 S Stratford Rd                                                                             Winston-Salem       NC       27103
 Vistar - Performance Food Group, Inc.                                         580 Port Carteret Dr                                                                           Carteret            NJ       07008
 Vistar - Performance Food Group, Inc.                                         6145 New Jessup Highway                                                                        Brunswick           GA       31523
 Vistar - Performance Food Group, Inc.                                         6211 Las Positas                                                                               Livermore           CA       94551
 Vistar - Performance Food Group, Inc.                                         625 Division St North                                                                          Rice                MN       56367
 Vistar - Performance Food Group, Inc.                                         665 Independence Ave Suite A                                                                   Mechanicsburg       PA       17055
 Vistar - Performance Food Group, Inc.                                         6703 Haggerty Rd                                                                               Belleville          MI       48111
 Vistar - Performance Food Group, Inc.                                         6721 York St                                                                                   Denver              CO       80229
 Vistar - Performance Food Group, Inc.                                         6746 Romiss Ct                                                                                 Berkeley            MO       63134
 Vistar - Performance Food Group, Inc.                                         6855 Business Park Dr                                                                          Houston             TX       77041
 Vistar - Performance Food Group, Inc.                                         7420 Rance Rd                                                                                  Richmond            VA       23228
 Vistar - Performance Food Group, Inc.                                         7587 Las Positas Rd                                                                            Livermore           CA       94551
 Vistar - Performance Food Group, Inc.                                         8001 E 88th Ave                                                                                Henderson           CO       80640
 Vistar - Performance Food Group, Inc.                                         8001 Tpc Rd                                                                                    Rock Island         IL       61201
 Vistar - Performance Food Group, Inc.                                         8555 Revere Ln Suite 100                                                                       Maple Grove         MN       55369
 Vistar - Performance Food Group, Inc.                                         8745 Chamberlin Rd                                                                             Twinsburg           OH       44087
 Vistar - Performance Food Group, Inc.                                         8835 Commerce Dr Suite 105                                                                     Southaven           MS       38671
 Vistar - Performance Food Group, Inc.                                         910 Highway 461                                                                                Somerset            KY       42503
 Vistar - Performance Food Group, Inc.                                         9300 Kirby Dr Suite 700                                                                        Houston             TX       77054
 Vistar - Performance Food Group, Inc.                                         9310 South Mckemy St                                                                           Tempe               AZ       85284
 Vistar - Performance Food Group, Inc.                                         9848 FirestoNE Blvd                                                                            Downey              CA       90241
 Vistar - Performance Food Group, Inc.                                         N173W21441 Northwest Passage                                                                   Jackson             WI       53037
 Vistar - Performance Food Group, Inc.                                         One Roma Blvd                                                                                  Piscataway          NJ       08854
 Vistar - Performance Food Group, Inc.                                         PO Box 5487                                                                                    Denver              CO       80217-5487
 Vitacoat Corp.                                                                50 Romanelli Ave                                                                               S Hackensack        NJ       07606-1424
 Vital Mass Nutrition                                                          110 11350 NW 25 St                                                                             Miami               FL       33172
 Vital Mass Nutrition                                                          Ave Belgrano 1876 6A                                                                           Caba                                      Argentina
 Vital Pharmaceuticals, Inc.                                                   1600 N Park Dr                                                                                 Weston              FL       33326-3278
 Vital Pharmaceuticals, Inc. Bang Energy Peru                                  Bernardo Monteagudo 201                                                                        San Isidro                   15076        Peru
 Vital Pharmaceuticals, Inc. Candemonium LLC                                   20311 Sheridan St                                                                              Ft Lauderdale       FL       33332-2313
 Vital Pharmaceuticals, Inc. vs. TikTok (2022)   TikTok Inc                    5800 BRISTOL PKWY                                                                              Los Angeles         CA       90230-6696
 Vitalyzdtv Inc                                                                375 N Am Cienega                                                                               West Hollywood      CA       90048
 Vitamin Shoppe-North Bergen NJ                                                2101 91St St                                                                                   North Bergen        NJ       07047
 Vitamin World USA Corp.                                                       1430 E Greg St                                                                                 Sparks              NV       89431
 Vitamin World USA Corp.                                                       14969 Summit Dr Building #2                                                                    Eastvale            CA       92880
 Vitoria Camporeale                                                            PO BOX CP162                                                                                   Condell Park                 NSW 2200     Australia
 Vitoria de Castro Granha                                                      Bloco 4 Rua Glicerio                             301 1615                                      Liberdade                    01514-000    Brazil
 Vivens Lee Bernard                                                            975 Southwest 180th Terrace                                                                    Pembroke Pines      FL       33029
 Viviana Eugenia Muci Torres                                                   10710 Northwest 66th St                          Apt 105                                       Doral               FL       33178
 VIVIANA MUCI                                                                  10710 NW 66th St 105                                                                           Doral               FL       33178-4552
 Vladimir Joas Pierre                                                          6317 Southwest 22nd Ct                                                                         Miramar             FL       33023
 Vladyslava Pineda                                                             4201 W Rochelle Ave                              Apt 1059                                      Las Vegas           NV       89103
 VMB Fire Protection, Inc.                                                     1464 E Colton Ave                                                                              Redlands            CA       92374
 Voigt - Abernathy Sales Corporation Voigt -                                   2598 Alton Rd                                                                                  Birmingham          AL       35210
 Volcano Entertainment III LLC                                                 71 West 23rd St                                                                                New York            NY       10001
 Volha Khomchyk                                                                1508 Bay Rd #1431                                                                              Miami               FL       33139
 Volha Khomchyk                                                                400 NW 1st Ave                                   Apt 3500                                      Miami               FL       33128
 Volume Logistics LLC                                                          PO Box 150127                                                                                  Ogden               UT       84415-0127
 Volunteer Beer Distributing Co.                                               1 Volunteer Place                                                                              Dresden             TN       38225
 Volunteer Beer Distributing Co.                                               PO Box 30                                                                                      Dresden             TN       38225-0030



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                                                                                                                                                 as of October 10, 2022


                         Name                                            Attention                                             Address 1                                        Address 2                    Address 3                City    State        Zip           Country
 Vomela Specialty Company Inc.                                                                        274 Fillmore Avee                                                                                                  St Paul             MN       55107
 Vortek Industries, Co.                                                                               17950 E Ajax Cir                                                                                                   City Of Industry    CA       91748
 Vortex Industries , Inc.                                                                             1801 W Olympic Blvd                                                                                                Pasadena            CA       91199-1095
 Voss Belting & Specialty Company                                                                     6965 N Hamlin Ave                                                                                                  Lincolnwood         IL       60712
 VPR Brands LP                                                                                        3001 Griffin Rd                                                                                                    Ft Lauderdale       FL       33312
 VPX & Bang Jets vs. Gulfstream & Expert            Expert Aviation Incc/o Zaden, Richard Joseph (L2850 North Andrews Ave                                                                                                Fort Lauderdale     FL       33311-2514
 VPX & JHO vs. Ignite Int'l & Gracely et al. (2021) Ignite International, Ltd                         3275 S Jones Blvd                                                                                                  Las Vegas           NV       89146
 VPX & JHO vs. Ignite Int'l & Gracely et al. (2021) Ignite Beverages, Inc                             6005 Las Vegas Blvd S                                                                                              Las Vegas           NV       89119-3257
 VPX & JHO vs. Ignite Int'l & Gracely et al. (2021) James Gracely                                     7510 Luluwater Cove                                                                                                Huntersville        NC       28078
 VPX & JHO vs. PhD (2020)                           PHD MARKETING, INC                                1356 RIDGEWAY                                                                                                      Pomona              CA       91768
 VPX DSD                                                                                              1600 N Park Dr                                                                                                     Weston              FL       33326-3278
 VPX DSD                                                                                              1601 Wallace Dr Suite 102                                                                                          Carrollton          TX       75006
 VPX DSD                                                                                              1909 N US Hwy 301                                         Bldg D                       Suite 140-150               Tampa               FL       33619
 VPX DSD                                                                                              1951 N Commerce Parkway                                                                                            Weston              FL       33326
 VPX DSD                                                                                              28875 Industrial Dr                                                                                                Valencia            CA       91355
 Vpx Dsd
 VPX Promo Account                                                                                    1600 North Park Dr                                                                                                 Weston              FL       33326-3278
 VPX vs Orange Bang & Monster. (2020)               c/o Hueston Hennigan LLP                          Attn: John C Hueston Moez M Kaba Allison Libeu            523 W 6th St                 Suite 400                   Los Angeles         CA       90014
 VPX vs Orange Bang & Monster. (2020)               c/o Knobbe, Martens, Olson & Bear, LLP            Attn: Steven J Nataupsky Lynda Zadra-Symes Matthew Belling2040 Main St                 14th Fl                     Irvine              CA       92614
 VPX vs. Arnold Classic Australia (2021)            Arnold Classic Australia PTY, LTD                 155 Clarence St                                                                                                    Sydney                                    Australia
 VPX vs. Bang Diamonds (2022)                       Bang Diamonds                                     861 6th Ave                                                                                                        San Diego           CA       92101
 VPX vs. Berlin Manufacturing (2021)                Berlin Packaging LLC                              525 W Monroe St                                                                                                    Chicago             IL       60661
 VPX vs. Brandyn Alejos et al. (2012)               Brandyn Alejos                                    7011 NW 78th Terrace                                                                                               Tamarac             FL       33321
 VPX vs. Brightfractl et al. (2020)                 Brightfractal, Inc Fractl                         501 Se 2Nd St Apt # 1310                                                                                           Ft Lauderdale       FL       33301
 VPX vs. Dang Foods (2021)                          Dang Foods LLC                                    3254 Adeline                                                                                                       Berkeley            CA       94703
 VPX vs. Drink King Distributing (2021)             Drink King Distributing Co, Inc Speedway          120 FIELDCREST AVE                                                                                                 Edison              NJ       08837-3656
 VPX vs. Elegance Brands et al. (2020)              All plaintiffsc/o Jonathan Edgar Pollard (Pollard 100 SE 3rd Ave                                                                                                     Fort Lauderdale     FL       33301
 VPX vs. Elegance Brands et al. (2020)              Robert William Wilkins Jones Foster PA (Interes505 South Flagler Drive                                                                                               West Palm Beach     FL       33401
 VPX vs. Europa Sports Partners (2022)              Europa Sports Partners, LLC                       11401 GRANITE ST                                                                                                   Charlotte           NC       28273-6400
 VPX vs. GNC et al. (2020)                          GNC Distribution                                  300 6th Ave                                                                                                        Pittsburgh          PA       15222
 VPX vs. Leading Edge Expositions et al. (2022) Leading Edge Expositions, LLC Cannabis World 210 Route 4 East                                                                                                            Paramus             NJ       07652
 VPX vs. Lloyds London (2022)                       Lloyds London                                     1 Lime St                                                                                                          London                       EC3M 7HA     United Kingdom
 VPX vs. Machado, Alejandro (2017)                  Machado, Alejandro                                133 Riverwalk Cir                                                                                                  Sunrise             FL       33326
 VPX vs. Monster & Markerly et al. (2019)           MARKERLY, INC                                     1107 S 8th St                                                                                                      Austin              TX       78704
 VPX vs. Monster & Reign et al. (2019) 0:19-cv- Reign Beverage Company LLC                            251 Little Falls Drive                                                                                             Wilmington          DE       19808
 VPX vs. Monster & Reign Inferno et al. (2020) 20- c/o Stack Fernandez & Harris, PA                   Attn: Brian J Stack Robert Harris Sammy Epelbaum          1001 Brickell Bay Dr         Suite 2650                  Miami               FL       33131
 VPX vs. Monster & Reign Inferno et al. (2020) 20- c/o Knobbe, Martens, Olson & Bear, LLP             Attn: Suiteven J Nataupsky Lynda J Zadra-Symes Brian C Hor2040 Main St                 14th Fl                     Irvine              CA       92614
 VPX vs. Monster & Rodney Sacks (2022)              Rodney Sacks                                      383 Pinecrest Dr                                                                                                   Laguna Beach        CA       92651
 VPX vs. PepsiCo (2022) 2:22-cv-00591               c/o Weil, Gotshal & Manges LLP                    Attn: Andrew S Tulumello Chantale Fiebig Claire L Chapla  2001 M St NW                 Suite 600                   Washington          DC       20036
 VPX vs. PepsiCo (2022) 2:22-cv-00591               c/o Burnsbarton PLC                               Attn: Christine Burns Benjamin N Naylor                   2201 E Camelback Rd          Suite 360                   Phoenix             AZ       85016
 VPX vs. PepsiCo (2022) 2:22-cv-00593               c/o Weil, Gotshal & Manges LLP                    Attn: Andrew S Tulumello Chantale Fiebig Claire L Chapla  2001 M St NW                 Suite 600                   Washington          DC       20036
 VPX vs. PepsiCo (2022) 2:22-cv-00593               c/o Burnsbarton PLC                               Attn: Christine Burns Benjamin N Naylor                   2201 E Camelback Rd          Suite 360                   Phoenix             AZ       85016
 VPX vs. Premier Nutrition Products, LLC & Derik Premier Nutrition Products, LLC                      2203 NW 30TH PLACE BAY 1                                                                                           Pompano Beach       FL       33069
 VPX vs. Premier Nutrition Products, LLC & Derik Derik Fay                                            3761 Bay Creek Drive                                                                                               Bonita Springs      FL       34134
 VPX vs. ProSupps et al. (2012)                     Professional Supplements LLC d/b/a Wisconsin 1641 Worthington Rd                                                                                                     West Palm Beach     FL       33409
 VPX vs. Suddath Global Logistics et al. (2021)     Suddath Global Logistics                          815 S Main St                                                                                                      Jacksonville        FL       32207
 VPX vs. Triller et al. (2020)                      Triller, Inc and Carnegie Technologies, LLC       9737 Great Hills Trails                                                                                            Austin              TX       78759
 VPX vs. Vani Deva Hari a/k/a “Food Babe”           Vani Deva Hari a/k/a “Food Babe”                  1409 Devon Drive                                                                                                   Charlotte           NC       28209
 VPX vs. Yaritza Lozano (2022)                      Yaritza Lozano                                    948 SW 1144 Ave                                                                                                    Pembroke Pines      FL       33027
 VPX vs. Yepes, Daniel (2021)                       c/o Kent B Frazer, Esq (THE FRAZER FIRM, PA601 Heritage Dr                                                                                                           Jupiter             FL       34585
 VPX, JHO & Elite vs. PepsiCo (2022)                c/o Weil, Gotshal & Manges LLP                    Attn: Andrew S Tulumello Chantale Fiebig Claire L Chapla  2001 M St NW                 Suite 600                   Washington          DC       20036
 VPX, JHO & Elite vs. PepsiCo (2022)                c/o Burnsbarton PLC                               Attn: Christine Burns Benjamin N Naylor                   2201 E Camelback Rd          Suite 360                   Phoenix             AZ       85016
 VS Carbonics Inc                                                                                     3491 NW 79th St                                                                                                    Miami               FL       33147-4532
 VWR International                                                                                    PO Box 640169                                                                                                      Pittsburgh          PA       15264-0169
 Vyctoria M Sanchez                                                                                   10418 Wagner Way                                                                                                   Riverside           CA       92505
 W. B. Jones Spring Company, Inc.                                                                     140 South St                                                                                                       Wilder              KY       41071
 W.A. DeHart, Inc.                                                                                    1130 Old Route 15                                                                                                  New Columbia        PA       17856-9310
 W2 Performance William Joseph Ratelle                                                                2414 W Fallcreek Ct                                                                                                Grand Forks         ND       58201-5255
 WageWorks                                                                                            PO Box 224547                                                                                                      Dallas              TX       75222
 Walling Distributing Company Inc Virginia                                                            306 Walling Rd                                                                                                     Bristol             VA       24201-1853
 WAL-MART DC 6006R-REGULAR                                                                            2200A 7th Ave Southwest                                                                                            Cullman             AL       35055-6333
 WAL-MART DC 6009R-REGULAR                                                                            Invoice Control #8002                                                                                              Bentonville         AR       72716-0333
 WAL-MART DC 6010R-REGULAR                                                                            1401 Baker Hwy W                                                                                                   Douglas             GA       31533-2111
 WAL-MART DC 6011R-REGULAR                                                                            2210 Manufacturers Blvd Ne                                                                                         Brookhaven          MS       39601-9560
 WAL-MART DC 6012R-REGULAR                                                                            3101 Quincy St                                                                                                     Plainview           TX       79072-1951
 WAL-MART DC 6016R-REGULAR                                                                            Invoice Control # 8002                                                                                             Bentonville         AR       72716-0333
 WAL-MART DC 6017R-REGULAR                                                                            2106 E Tipton St                                                                                                   Seymour             IN       47274-3570
 WAL-MART DC 6018R-REGULAR                                                                            2202 South Main St                                                                                                 Searcy              AR       72143
 WAL-MART DC 6019R-REGULAR                                                                            7506 East CrossRds                                                                                                 Loveland            CO       80538
 WAL-MART DC 6020R-REGULAR                                                                            4220 Kettering Rd                                                                                                  Brooksville         FL       34602
 WAL-MART DC 6023R-REGULAR                                                                            21502 Cox Rd                                                                                                       Sutherland          VA       23885
 WAL-MART DC 6024R-REGULAR                                                                            3910 Southwest Blvd                                                                                                Grove City          OH       43123
 WAL-MART DC 6025R-REGULAR                                                                            Invoice Control #8002                                                                                              Bentonville         AR       72716-0333
 WAL-MART DC 6026R-REGULAR                                                                            10813 State Highway 99W                                                                                            Red Bluff           CA       96080-7747
 WAL-MART DC 6027R-REGULAR                                                                            210 Owens Rd                                                                                                       Woodland            PA       16881



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 WAL-MART DC 6031R-REGULAR                                                         23701 West Southern Ave                                                                         Buckeye             AZ      85326-4928
 WAL-MART DC 6035R-REGULAR                                                         3270 Nevada Ter                                                                                 Ottawa              KS      66067
 WAL-MART DC 6037R-REGULAR                                                         Wal-Mart Dc 6037R-Regular                                                                       Hermiston           OR      97838
 WAL-MART DC 6038R-REGULAR                                                         8827S Old River Rd                                                                              Marcy               NY      13403-3030
 WAL-MART DC 6039R-REGULAR                                                         1657 Pottertown Rd                                                                              Midway              TN      37809
 WAL-MART DC 6040R-REGULAR                                                         1020 Wal-Mart Dr                                                                                Hope Mills          NC      28348
 WAL-MART DC 6043R-REGULAR                                                         512 Jonesville Rd                                                                               Coldwater           MI      49036
 WAL-MART DC 6048R-REGULAR                                                         3024 Highway 743                                                                                Opelousas           LA      70570-0578
 WAL-MART DC 6054R-REGULAR                                                         345 Callaway Church Rd                                                                          Lagrange            GA      30241-9391
 WAL-MART DC 6066R-REGULAR                                                         696 Crenshaw Blvd                                                                               Hopkinsville        KY      42240-6824
 WAL-MART DC 6068R-REGULAR                                                         225 Lois Rd                                                                                     Sanger              TX      76266
 WAL-MART DC 6069R-REGULAR                                                         1106 Matlock Dr                                                                                 Saint James         MO      65559-9026
 WAL-MART DC 6070R-REGULAR                                                         230 Wal Mart Dr                                                                                 Shelby              NC      28150
 WAL-MART DC 6080R-REGULAR                                                         500 Veterans Dr                                                                                 Tobyhanna           PA      18466-8990
 WAL-MART DC 6092R-REGULAR                                                         3120 Illinois Hwy 89                                                                            Spring Valley       IL      61362
 WAL-MART DC 6094R-REGULAR                                                         5821 SW Regional Airport Blvd                                                                   Bentonville         AR      72713
 WAL-MART DC 7026R-REGULAR                                                         917 North State Rd 138                                                                          Grantsville         UT      84029
 WAL-MART DC 7033R-REGULAR                                                         21345 Johnson Rd                                                                                Apple Valley        CA      92307
 WAL-MART DC 7034R-REGULAR                                                         4880 Wheatleys Pond Rd                                                                          Smyrna              DE      19977-3799
 WAL-MART DC 7035R-REGULAR                                                         18223 NW 115th Ave                                                                              Alachua             FL      32615
 WAL-MART DC 7038R-REGULAR                                                         4013 S Jenkins Rd                                                                               Fort Pierce         FL      34981
 WAL-MART DC 7039R-REGULAR                                                         113 Distribution Way                                                                            Beaver Dam          WI      53916
 WAL-MART DC 7045R-REGULAR                                                         6006 Walton Way                                                                                 Mt Crawford         VA      22841
 Walter Boyd                                                                       2201 Rockbrook Dr                                 Apt 1924                                      Lewisville          TX      75067
 Walter Eugene Lewis                                                               228 Sifford Ln                                                                                  Orlando             FL      32811
 Walter L Kimble Jr                                                                1207 North 48th St                                Apt 226                                       Phoenix             AZ      85008
 Walton Beverage                                                                   1350 Pacific Pl                                                                                 Ferndale            WA      98248-8985
 Wantz Distrubitors Inc.                                                           11743 Hopewell Rd                                                                               Hagerstown          MD      21740-2184
 Warehouse Wizard                                                                  533 William St # 3                                                                              Key West            FL      33040
 Warner Music Group vs. VPX & Owoc (2022)      Warner Music Group                  1633 BRdway                                                                                     New York            NY      10019
 Washington Office of the Attorney General                                         1125 Washington St SE                                                                           Olympia             WA      98501
 Washington State Department of Revenue                                            PO Box 47464                                                                                    Olympia             WA      98504-7464
 Wasjoek Alexandrovna (Ina)                                                        Bandoengplantsoen 15                              Flevoland                                     Almere                      1335GX       Netherlands
 Wasjoek Alexandrovna Sergei Kazrbajev Inna                                        Bandoengplantsoen 15                              --                                            Almere              Flevola 1335gx       Netherlands
 Waste Management                                                                  PO Box 43350                                                                                    Phoenix             AZ      85080
 Waste Management - LAX                                                            PO Box 541065                                                                                   Los Angeles         CA      90054
 Waste Management Inc.                                                             PO Box 4648                                                                                     Carol Stream        IL      60197-4648
 Waste Management of Denver                                                        PO Box 78251                                                                                    Phoenix             AZ      85062-8251
 Waste Management of Texas                                                         PO Box 660345                                                                                   Dallas              TX      75266
 Waste Management of Texas, Inc.                                                   800 Capital St Suite 3000                                                                       Houston             TX      77002
 Waste Pro                                                                         7329 7th Pl N                                                                                   West Palm Beach     FL      33411-3859
 Waste Pro                                                                         PO Box 947217                                                                                   Atlanta             GA      30394
 Waste Pro-Atlanta                                                                 3512 Oakcliff Rd                                                                                Atlanta             GA      30340-3003
 Waste Repurposing International, inc dba                                          1101 E th St                                                                                    Austin              TX      78702-3210
 Waterlogic USA LLC                                                                3175 Bass Pro Dr                                                                                Grapevine           TX      76051-1987
 Waukesha County Clerk of Court                                                    515 W Oreland Blvd Suite 226                                                                    Waukesha            WI      53188-2428
 Wawa,Inc                                                                          260 W Baltimore Pike                                                                            Media               PA      19063-5620
 Wayne Automatic Fire Sprinklers, Inc                                              1500 S PowerliNE Rd Suite A                                                                     Deerfield Beach     FL      33442-8185
 WB Warehousing & Logistics, Inc.                                                  3700 River Rd                                                                                   West Bend           WI      53095
 WBS Technologies Visual Edge, Inc.                                                3874 Highland Park Nw                                                                           North Canton        OH      44720
 WDI, LLC Wisconsin Distributors                                                   1100 Wilburn Rd                                                                                 Sun Prairie         WI      53590
 WDI, LLC Wisconsin Distributors                                                   3010 Zuehlke Dr                                                                                 Appleton            WI      54912
 WDI, LLC Wisconsin Distributors                                                   900 Progress Way                                                                                Sun Prairie         WI      53590-9199
 We Insure, Inc                                                                    3415 Galt Ocean Dr                                                                              Ft Lauderdale       FL      33308
 Webb & Gerritsen                                                                  1308 Poplar Dr                                                                                  Waukesha            WI      53188
 Webb & Gerritsen                                                                  16705 W Lincoln Ave                                                                             New Berlin          WI      53151
 Webb & Gerritsen vs. VPX (2019)               Webb & Gerritsen                    1308 Poplar DR                                                                                  Waukesha            WI      53188
 Webbank                                                                           6440 S Wasatch Blvd                               Suite 300                                     Salt Lake City      UT      84121
 Weber Scientific                                                                  2732 Kuser Rd                                                                                   Hamilton            NJ      08691
 Weigel's Stores, Inc.                                                             3100 X 650                                                                                      Powell              TN      37849-0650
 Weinstein Beverage                                                                410 E Peters St                                                                                 Wenatchee           WA      98801
 Weiss Design Group, Inc.                                                          12535 Orange Dr                                                                                 Davie               FL      33330
 Welbic WF Management LLC                                                          641 S Vermont St                                                                                Pallatine           IL      60067
 Wellcare Passenger Transport Luxury Car LLC                                       PO Box 391357                                                                102                Dubai                       391375       United Arab Emirates
 Wendel Galdamez                                                                   18 Minerva Pl 2D                                                                                Bronx               NY      10468-1641
 Wendell Distributing Co., Inc.                                                    650 Madison Ave                                                                                 Cape Charles        VA      23310
 Wendell Distributing Co., Inc.                                                    PO Box 112                                                                                      Cape Charles        VA      23310
 Wendy Carver                                                                      2841 S Palmer Dr                                                                                Charleston          SC      29414
 Werner Enterprises, Inc.                                                          PO Box 45308                                                                                    Omaha               NE      68145
 Wesco Inc.                                                                        1460 Whitehall Rd                                                                               Muskegon            MI      49445
 Wesley Barnes                                                                     4255 Pebble Ridge Cir                             Apt 102                                       Colorado Springs    CO      80906
 Wesley Dale Witter Jr.                                                            8249 West Dreyfus Dr                                                                            Peoria              AZ      85381
 Wesley Haring                                                                     1200 Scotia Dr                                    Apt 401                                       Hypoluxo            FL      33462
 Wesley Jovan Rodriguez                                                            20565 SW 122nd Ave # 106                                                                        Miami               FL      33177
 Wesley P Baker                                                                    1600 N Park Dr                                                                                  Weston              FL      33326-3278



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                       Name                                       Attention                                Address 1                               Address 2          Address 3                 City    State        Zip           Country
 Wesley Paul Baker                                                                 14722 Baytown Ct                                                                               Huntersville         NC       28078
 Wesley Simpson                                                                    2112 Waters Edge Trail                                                                         Roswell              GA       30075
 West Atlantic Logistics, Corp.                                                    PO Box 167                                                                                     Concord              NC       28026-0167
 West Corporation, West LLC                                                        11808 Miracle Hills Dr                                                                         Omaha                NE       68154
 West Side Storage                                                                 2061 W Ave J8                                                                                  Lancaster            CA       93536
 West Virginia Alcohol Beverage Control                                            900 Pennsylvania Ave                                                                           Charleston           VA       25302
 West Virginia Office of the Attorney General                                      State Capitol 1900 Kanawha Blvd E                Building 1 Rm E-26                            Charleston           WV       25305
 West Virginia State tax Department                                                PO Box 11425                                                                                   Charleston           WV       25339
 Western Beverage                                                                  1055 Terry St                                                                                  Eugene               OR       97401
 Western Beverage                                                                  1075 Owen Loop South                                                                           Eugene               OR       97402
 Western Beverage                                                                  18300 NE Portal Way                                                                            Portland             OR       97230
 Western Beverage                                                                  910 Mason Way                                                                                  Medford              OR       97501
 Western Distributing Company                                                      PO Box 1969                                                                                    Casper               WY       82602-1969
 Western Environmental Equipment Co.                                               14455 N 79th St Suite A                                                                        Scottsdale           AZ       85260
 Western Inspectors                                                                12969 N 33rd St                                                                                Phoenix              AZ       85032
 Western Packaging North, Inc. Western                                             1041 Ave M                                                                                     Grand Prairie        TX       75050
 Western Refining Retail, LLC                                                      1250 W Washington St Suite 101                                                                 Tempe                AZ       85281
 Western States Fire Protection Co. dba Signal                                     4346 E Elwood St Suite 100                                                                     Phoenix              AZ       85040-0901
 Western Wyoming Beverages, Inc.                                                   100 Reliance Rd                                                                                Rock Springs         WY       82901
 Western Wyoming Beverages, Inc.                                                   PO Box 1336                                                                                    Rock Springs         WY       82902-1336
 Westley Misilagi                                                                  10431 Cochran Ave                                                                              Riverside            CA       92505
 Weston Lombard                                                                    2440 Geary Blvd                                  Apt B                                         San Francisco        CA       94115
 Weston Lombard                                                                    33 Hemway Terrace                                                                              San Francisco        CA       94117
 WestRock CP, LLC                                                                  PO Box 4098                                                                                    Norcross             GA       30071
 WestRock Multi Packaging Solutions, Inc                                           1040 West Marietta St Nw                                                                       Atlanta              GA       30318
 WestRock Multi Packaging Solutions, Inc                                           75 Remittance Dr Dept 3111                                                                     Chicago              IL       60675-3111
 Wex Bank                                                                          PO Box 6293                                                                                    Carol Stream         IL       60197-6293
 Wheeler Material Handling                                                         9839 S Tyron St                                                                                Charlotte            NC       28273
 Whitco Roofing, Inc.                                                              PO Box 19720                                                                                   Atlanta              GA       30325
 White & Amundson, APC                                                             402 W Rdway Suite 1140                                                                         San Diego            CA       92101-8513
 Whitney Byers Blumberg                                                            517 Highland View Dr                                                                           O'Fallon             IL       62269
 Whitney Frost                                                                     401 Marietta Dr                                                                                Hopkinsville         KY       42240
 Whitney M. Pease                                                                  600 South Macarthur Blvd 2321                                                                  Coppell              TX       75019
 Wholesale Dynamics                                                                9325 Uptown Dr Suite 900                                                                       Indianapolis         IN       46256-1039
 Wiam Oussir                                                                       2142 Van Buren St                                Apt 504                                       Hollywood            FL       33020
 Wil Fischer Companies                                                             3539 W Farm Rd 142                                                                             Springfield          MO       65807-0967
 Wild Flavors, Inc.                              Mike Schneider                    1261 Pacific Ave                                                                               Erlanger             KY       41018
 Wild Flavors, Inc.                                                                75 Remittance Dr                                                                               Chicago              IL       60675-1046
 Wild House Inc.                                                                   4121 SW 3rd St                                                                                 Plantation           FL       33317
 Wildhouse Inc. Maricel Zambrano                                                   4121 SW 3rd St                                                                                 Plantation           FL       33317
 Wilhelmus Marius Burger                                                           6 Ash St SE 3                                    Gauteng                                       Vanderbijlpark                1911         South Africa
 Will Gilbert Petersen                                                             5249 Rosewood Place                                                                            Fairburn             GA       30213
 Will Lambert                                                                      316 Rolling Rd Dr                                                                              Franklin             KY       42134
 William A Suiter                                                                  9160 Pomelo Rd East                                                                            Ft Myers             FL       33967
 William Abbott-Klostermann                                                        27535 North 33rd Ave                                                                           Phoenix              AZ       85083
 William Adolphus Wylie                                                            526 Mary Charlotte Dr                                                                          Charlotte            NC       28262
 William Alvarez                                                                   722 E 37th St                                                                                  Hialeah              FL       33013
 William Bethel                                                                    597 Southwest Ray Ave                                                                          Port St Lucie        FL       34983
 William C Housley                                                                 106 Hillcrest Way                                                                              Crandall             TX       75114
 William C Mize                                                                    1600 N Park Dr                                                                                                      FL       33326-3278
 William Castillo                                                                  11720 NW 31 St St                                                                              Sunrise              FL       33323
 William Christopher Mize                                                          90 Austin Cir                                                                                  Oakland              TN       38060
 William Clyde Bauman                                                              5754 High Ridge Loop                                                                           Lakeland             FL       33812
 William Cruz                                                                      45006 Alamendras St                                                                            Maricopa             AZ       85139
 William Davis                                                                     11-8 SkyliNE Dr                                                                                Fishkill             NY       12524
 William Ellison                                                                   2522 Merrick Ct                                                                                Abingdon             MD       21009
 William Harrington                                                                15820 NW 19th Ave                                                                              Miami Gardens        FL       33054
 William Joseph Ratelle                                                            2414 West Fallcreek Ct                                                                         Grand Forks          ND       58201
 William Joseph Shea                                                               526 North Entrada St                                                                           Chandler             AZ       85226
 William M Dunwoody                                                                4418 Shrewbury Pl                                                                              Land O' Lakes        FL       34638
 William Malnar                                                                    5325 Austin Rd                                                                                 Lake Cormorant       MS       38641
 William Michael Tamalii Campbell                                                  3442 Spoleto Ave                                                                               Las Vegas            NV       89141
 William Sikora Sikora Enertainment                                                5845 Carlton Way 410                                                                           Los Angeles          CA       90028
 William Thompson                                                                  264 Galapago A                                                                                 Denver               CO       80223
 William Wymer                                                                     233 Lincoln Ave                                                                                West Berlin          NJ       08091
 Williams James Ritter                                                             7321 W Mathews Dr                                                                              Frankfort            IL       60423
 Williams, Mullen, Clark & Dobbins, P.C.                                           200 South St Suite 1600                                                                        Richmond             VA       23219-4061
 Williams, Wightman & Hernandez vs. VPX          Amanda Wightman                   13386 Windy Grove Dr                                                                           Rancho Cucamonga     CA       91739
 Williams, Wightman & Hernandez vs. VPX          Jasmine Sade Williams             929 Knollwood Dr                                                                               Desoto               TX       75115
 Williams, Wightman & Hernandez vs. VPX          Scarlett Hernandez                9481 Stoneybrock Pl                                                                            Rancho Cucamonga     CA       91730
 Willie Allen Coggins                                                              7446 Williams Rd                                                                               Flowery Branch       GA       30542
 Willie B Powell Jr                                                                19310 Southwest 54th St                                                                        Miramar              FL       33029
 Willie Christopher Reaves                                                         7602 Stonedraw Ct                                                                              Douglasville         GA       30134
 Willie J Davis Jr                                                                 1061 FlagstoNE Ct                                                                              Apopka               FL       32703
 Willie Rodriguez Givens                                                           30 MoonriSE Xing                                                                               Dallas               GA       30132



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                       Name                      Attention                                  Address 1                               Address 2          Address 3                City    State        Zip             Country
 Willio Sainnegis                                                 2780 Somerset Dr P202                                                                            Lauderdale Lakes    FL       33311
 Wills Massalon & Allen LLC                                       97 BRd St                                                                                        Charleston          SC       29401-2202
 Wilson Baker Inc Country Corners Market                          PO Box 250                                                                                       Milton              DE       19968
 Wilson Desire                                                    7118 NW 78th Ave                                                                                 Tamarac             FL       33321
 Wilson Elser Moskowitz Edelman & Dicker LLP                      150 East 42nd St                                                                                 New York            NY       10017
 Wilson Lue                                                       250 University Ave                                                                               Toronto             ON       M5H 3E5      Canada
 Wilson-McGinley, Inc.                                            123 36th St                                                                                      Pittsburgh          PA       15201-1921
 Winnie Wilson                                                    2018 Balfour Cir                                                                                 Tampa               FL       33619
 Winsight LLC                                                     PO Box 844604                                                                                    Boston              MA       02284
 Winston Egbert Williams                                          9520 Northwest 9th Ct                                                                            Plantation          FL       33324
 Wirenet Communications, Inc                                      4355 E Airport Dr                                                                                Ontario             CA       91761
 Wisconsin Attorney General's Office                              114 E State Capitol                                                                              Madison             WI       53702
 Wisconsin Department of Revenue                                  PO Box 930208                                                                                    Milwaukee           WI       53293
 Wisconsin Dept. of Revenue                                       PO Box 8902                                                                                      Madison             WI       53708-8902
 Wislaine Jean-Baptiste                                           2110 N Cypress Rd                                                                                Pompano Beach       FL       33060
 WJW Associates                                                   203 Midler Park Dr                                                                               Syracuse            NY       13206
 Wodika Devine, Inc.                                              25625 Southfield Rd                                                                              Southfield          MI       48075
 Wolf Transportation LLC                                          20253 W Sherman St                                                                               Buckeye             AZ       85326
 World Class Tint & Accesories                                    14501 Hampton Place                                                                              Davie               FL       33325
 World Intellectual Property Organization WIPO                    34 Chemin Des Colombettes                                                                        Switzerland                  1211         Switzerland
 Wright Express Fleet Services                                    PO Box 6293                                                                                      Carol Stream        IL       60197-6293
 Wright National Flood Insurance Company                          PO Box 33003                                                                                     St Petersburg       FL       33733-8003
 Wuzhi County Zhihui Sci & Tech Co, Ltd                           Wuzhi County                                                                                     Henan                        454950       China
 Wyatt James Miller                                               14355 NW 67th St                                                                                 Parkville           MO       64152
 Wyoming Office of the Attorney General                           Kendrick Building                                  2320 Capitol Ave                              Cheyenne            WY       82002
 Xavier A Garrido                                                 14 Freddy st                                                                                     Rio Grande City     TX       78582
 Xavier Guerrero                                                  824 Lewis St                                                                                     Pomona              CA       91768
 Xavier Paul Chavira                                              7905 West thunderbird Rd                           Unit 271                                      Peoria              AZ       85381
 Xavier Washington                                                4737 Exposition Way                                                                              Fort Worth          TX       76244
 XCEL Energy                                                      PO Box 9477                                                                                      Minneapolis         MN       55484
 Xcel Events                                                      3808 Norwich Ln                                                                                  Plano               TX       75025-4336
 XcelEvents Erin Elizabeth Heath                                  3808 Norwich Ln                                                                                  Plano               TX       75025-4336
 Xiaoxi Liao                                                      104 NW 133rd Terrace                               Apt 201                                       Plantation          FL       33325
 XPO Global Forwarding, Inc                                       13777 Ballantyne Corporate Place                   Suite 400                                     Charlotte           NC       28277
 XPO Global Forwarding, Inc                                       27839 Network Place                                                                              Chicago             IL       60673-1278
 XPO Logistics Express, LLC                                       429 Post Rd                                                                                      Buchanan            MI       49107
 XSTATIC PRO INC                                                  55 Hook Rd # 46A                                                                                 Bayonne             NJ       07002-5006
 Xtra Companies, Inc                                              PO Box 219562                                                                                    Kansas Ciry         MO       64121
 Xtreme Air Services                                              308 Us Hwy 80E                                                                                   Sunnyvale           TX       75182
 Xtreme Sports Nutrition, Inc.                                    3725 Swenson Ave                                                                                 St Charles          IL       60174-3439
 Xue Jiang                                                        5334 Peck Rd                                                                                     El Monte            CA       91732
 Xzavian S Smith                                                  1413 NW 214th Terrace                                                                            Miami               FL       33169
 Yadelin Luzardo                                                  6651 Falconsgate Ave                                                                             Davie               FL       33331
 Yadira Alvarez Ochoa                                             1787 Lime Ave                                                                                    Sanger              CA       93657
 Yadira Paredes                                                   20400 SW 118th Pl                                                                                Miami               FL       33177
 Yagan Moore                                                      24 Davis St                                                                                      Speerspoint                  NSW 2284     Australia
 Yamil Maldonado                                                  481 SW 131St Ave                                                                                 Davie               FL       33325
 Yamilex Rodriguez                                                579 Paseo Lindo St                                                                               Rio Grande City     TX       78582
 Yan K Munoz Santiago                                             9405 East Gobbler Dr                                                                             Floral City         FL       34436
 Yanet del Campo                                                  1723 SW 2nd Av # 908                                                                             Miami               FL       33129
 Yanette Rendon                                                   8382 W San Juan Ave                                                                              Glendale            AZ       85305
 Yanilis Polito-Guzman                                            4200 Sheridan St                                   Apt 201                                       Hollywood           FL       33021
 Yarelis E Cabrera                                                1600 N Park Dr                                                                                   Weston              FL       33326-3278
 Yarelis Eunice Cabrera                                           3300 West Rolling Hills Cir                        Apt 201                                       Davie               FL       33328
 Yarianis Castro                                                  1269 West 26th Place                               Apt 3                                         Hialeah             FL       33010
 Yariel Cruz Delgado                                              4112 S Birch Pl                                                                                  Broken Arrow        OK       74011
 Yarishna Ayala                                                   2900 NE 2nd Ave                                    Apt 762                                       Miami               FL       33137
 Yarishna Ayala                                                   801 Cts Brickell Keys 806                                                                        Miami               FL       33131
 Yashira Camacho                                                  721 N Pine Island Rd                               Apt 416                                       Plantation          FL       33324
 Yaskawa America, Inc. Motoman Robotics                           100 Automation Way                                                                               Miamisburg          OH       45342-4962
 Yaslen Clemente                                                  8275 Central Park Blvd                                                                           Doral               FL       33166
 Yaslen xoxo Corp Yaslen Clemente                                 11301 NW 62 Ct                                                                                   Hialeah             FL       33012
 Yasmine Sonya Harrell                                            5180 Northwest 64th Dr                                                                           Coral Springs       FL       33067
 Yaylin Duran                                                     5583 NW 200th Ln                                                                                 Miami               FL       33055
 Ydalia Rosalie Lubin                                             10237 Northwest 7th St                                                                           Coral Springs       FL       33071
 Yeison Blayas Copete                                             2222 N Cypress Bend Dr # 308                                                                     Pompano Beach       FL       33069
 Yelida Veronica Crimmins                                         451 Northwest 190th Ave                                                                          Pembroke Pines      FL       33029
 Yellowstone Landscape - Southeast, LLC.                          PO Box 101017                                                                                    Atlanta             GA       30392-1017
 YEM Builders Inc                                                 13128 SW 26 Terr                                                                                 Miami               FL       33175
 Yendry Lobo                                                      14391 Spring Hill Dr Suite 294                                                                   Spring Hill         FL       34609
 Yenelipse Torres                                                 7301 W 29th Way                                                                                  Hialeah Gardens     FL       33018
 Yeraldin Grajales Arias                                          Calle 135c                                                                    104                Bogota                       111000       Colombia
 Yesenia Yeslin Gonzalez                                          Hillside Meadow Place                                                                            Brandon             FL       33610
 Yessica Nicole Irizarry                                          9826 NW 26th St                                                                                  Sunrise             FL       33322
 Yessica Santos                                                   701 W Rio Salado Pkway                             Apt 4037                                      Tempe               AZ       85281



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                                                                                                       Creditor Matrix
                                                                                                      as of October 10, 2022


                        Name                 Attention                                 Address 1                                Address 2                                Address 3                City    State      Zip             Country
 Yi Sun                                                       1133 Fairlake Trace #2006                                                                                              Weston              FL     33326
 Yiadelish Cruz Fontanez                                      7038 Greenbrier Village Dr                                                                                             Lakeland            FL     33810
 Yineth Arlenis Medina Sotto                                  Transversal 13D N 166-50                          Etap3 Torre                                  Apto 1002               Bogota                     110131       Colombia
 Yinghui Li                                                   1018 Highland Park Pl                                                                                                  Birmingham          AL     35242
 Yinuo Li                                                     1202 Adelard-Collette                                                                                                  Sherbrooke          QC     J1H 4V4      Canada
 Yneiris De Los A Maggiolo Carrera                            1223 Fairlake Trace                               Apt 816                                                              Weston              FL     33326
 Yongkang Gomax Industry & Trade CO., LTD                     11th Floor Jinping Mansion                                                                     Zhejiang                Yongkang City              321300       China
 Yordani Gonzalez                                             8655 Brookhollow Blvd                             Apt 12110                                                            Frisco              TX     75034
 Yorgelys Alejandra Cabrera Reyes                             152 Aurora Springs Dr                                                                                                  Katy                TX     77493
 Yotpo, Inc                                                   400 Lafayette St Fl 4                                                                                                  New York            NY     10003-6900
 You Can't Teach That, INC.                                   4 Coach Hill Ct                                                                                                        Newark              DE     19711
 Young Park                                                   800 Park Ave                                      Apt 3902                                                             Fort Lee            NJ     07024
 Your Handyman Resource                                       3145 Gus Robinson Rd                                                                                                   Power Springs       GA     30127
 Your Sign Solution, Inc.                                     4611 SW 44th Ave                                                                                                       Ft Lauderdale       FL     33314
 Your Tampa Markets LLC Gwendolyn Harding                     301 W Platt St # 225                                                                                                   Tampa               FL     33606-2292
 You've Got MAIDS                                             1945 Ibis Bay Ct                                                                                                       Ocoee               FL     34761
 Youvensky Saint Vil                                          6611 NW 98th Ave                                                                                                       Tamarac             FL     33321
 YRC Freight                                                  PO Box 7914                                                                                                            Overland Park       KS     66207-0914
 YRC Freight                                                  PO Box 93151                                                                                                           Chicago             IL     60673-3151
 Yu Zhao                                                      13491 SW 7th Place                                                                                                     Davie               FL     33325
 Yubelkis Colon                                               8411 Northwest 24th Ct                                                                                                 Sunrise             FL     33322
 Yuli Sanchez                                                 575 Vista Ridge Dr                                                                                                     Ruskin              FL     33570
 Yuliana Toledo Avila                                         4901 West thomas Rd                               Apt 202                                                              Phoenix             AZ     85031
 Yuliia Bystriukova Juliia Bounty LLC                         16919 N Bay Rd 520                                                                                                     Sunny Isles Beach   FL     33160
 Yuly Paolin Rodriguez Pajaro                                 2100 Northeast 29th St                                                                                                 Fort Lauderdale     FL     33306
 Yunior Sanchez Garcia                                        300 S Luna Ct 5                                                                                                        Hollywood           FL     33021-7418
 Yusuf Abraham Kamara                                         1945 Dove Ln 213                                                                                                       Carlsbad            CA     92009-4084
 Yusuf Mehdavi Brecci                                         28133 Saint Tropez Pl                                                                                                  Hayward             CA     94544
 Yvens Darius                                                 1127 Lake Terry Dr                                Apt E                                                                West Palm Beach     FL     33411
 Yves Christian St Hibaire                                    2790 Somerset Dr                                  Apt Q-315                                                            Lauderdale Lakes    FL     33311
 Yvette M Atondo                                              7702 Roundrock Rd                                                                                                      Dallas              TX     75248
 Zac Wolfe                                                    162 Terrace Rd                                                                                                         Saint Marys         PA     15857
 Zacharie Taylor Beckner                                      566 Lakeshore Dr                                                                                                       Ennis               TX     75119
 Zachary C Reyes                                              1600 N Park Dr                                                                                                         Weston              FL     33326-3278
 Zachary Charles Reyes                                        4625 45th Ave Se                                  Apt C3                                                               Lacey               WA     98503-5909
 Zachary Cortese                                              714 Washington Ave                                                                                                     Laurel              MT     59044
 Zachary Cox                                                  2015 State St                                                                                                          Pekin               IL     61554
 Zachary J Lollis                                             1600 N Park Dr                                                                                                         Weston              FL     33326-3278
 Zachary Jared Greenfield                                     415 Northwest 9th St                              Apt 19                                                               Miami               FL     33136
 Zachary John Lollis                                          24912 El Caprice                                                                                                       Aliso Viejo         CA     92656
 Zachary John Owoc                                            196 Hanging Moss Dr                                                                                                    Oviedo              FL     32765
 Zachary Levin                                                5564 S Lansing Ct                                                                                                      Englewood           CO     80111
 Zachary Lindsey                                              1848 Openwoods Rd                                                                                                      Middleburg          FL     32068
 Zachary McDaniel                                             23405 W Mohave St                                                                                                      Buckeye             AZ     85326
 Zachary Palmisano                                            236 3rd Ave                                       Apt 1B                                                               Venice              CA     90291
 Zachary S Blum                                               8021 East Osborn Rd                               Apt 211A                                                             Scottsdale          AZ     85251
 Zachary Zane                                                 115 Poniu Cir                                                                                                          Wailuku             HI     96793
 Zack Palmisano                                               10394 RocheSuiter Ave #09                                                                                              Los Angeles         CA     90024
 Zakiah Taha                                                  8566 Club HouSE Dr                                                                                                     Rancho Cucamonga    CA     91730
 Zalika M Robinson                                            209 North Trail St                                                                                                     Crowley             TX     76036
 Zane Austen Shay                                             3745 Pondywood Rd                                                                                                      Adams               TN     37010
 Zavier M. James                                              2700 E College Ave                                                                                                     Decatur             GA     30030
 Zeb Bewak                                                    2708 Havitur Way                                                                                                       Anchorage           AK     99504
 Zeeshan Saroya                                               3537 32nd St 2F                                                                                                        Astoria             NY     11106
 Zeke (Nia) Williams- Will not renew                          5885 Forest View Rd Apt 811                                                                                            Lisle               IL     60532
 Zenkraft Inc                                                 200 Delaware Dr Suite 401                                                                                              Newark              DE     19713
 Zhara Sabina Magdalena Nilsson                               Kalmarvagen 4                                     VaSuiternorrland                                                     Sundsvall                  85730        Sweden
 Zhihui Zheng                                                 252 Aspen Way                                                                                                          Davie               FL     33325
 Zhongshan Yipin Home Product Co., Ltd.                       3/F Building 1 13 Xiangfu Rd                      Torch Hi -tech Industrial Development Zone                           Zhongshan                               China
 Zimmer Kunz PLLC                                             310 Grant St Suite 3000                                                                                                Pittsburgh          PA    15219
 Zion Packaging                                               575 Alcoa Cir Suite B                                                                                                  Corona              CA    92878-9203
 Zip Beverage                                                 1301 Scott St                                                                                                          Missoula            MT    59802-2428
 Zip Beverage                                                 3941 WynNE Ave                                                                                                         Butte               MT    59701
 Zitlaly Berenice Esparza                                     16632 Rorimer St                                                                                                       La Puente           CA    91744
 Zixuan Zheng                                                 640 Francisco St Unit 1515                                                                                             San Francisco       CA    94133
 ZJ Events Llc                                                591 Suitewart Ave Suite 520                                                                                            Garden City         NY    11530
 Zoe Drane                                                    11025 Hub Plaza # 32826                                                                                                Orlando             FL    32826
 Zoe Klopfer                                                  1561 Mesa Dr                                      Apt 32                                                               Newport Beach       CA    92660
 Zoe Klopfer                                                  934 Merced St                                                                                                          Redlands            CA    90028
 Zoey Aune                                                    4946 Bellaire Ave                                                                                                      North Hollywood     CA    91607
 Zoho Corporation                                             4141 Hacienda Dr                                                                                                       Pleasanton          CA    94588
 Zomba Recording LLC                                          550 Madison Ave                                                                                                        New York            NY    10022
 Zuleima Collier                                              3101 NW 47 Terrace #324                                                                                                Lauderdale Lakes    FL    33319
 Zurama (Sury) Rodriguez                                      8301 NW 15th Ct                                                                                                        Coral Springs       FL    33071-6212
 Zuzanna Maria Antonow                                        8820 Moody Ave                                                                                                         Morton Grove        IL    60053



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